Case 2:25-cv-06135   Document 1-1   Filed 07/07/25   Page 1 of 263 Page ID #:16




                       Exhibit A

        Plaintiffs’ Summons and
                Complaint

  Los Angeles County Superior
   Court, No. 25STCV15972




                                     14
Case 2:25-cv-06135              Document 1-1             Filed 07/07/25            Page 2 of 263 Page ID #:17
                                                                                                      CT Corporation
                                                                                       Service of Process Notification
                                                                                                                   06/05/2025
                                                                                                      CT Log Number 549303053


  Service of Process Transmittal Summary

  TO:       Joseph Mullins, Us Corporate Counsel Secretary
            ILUKA Resources Inc.
            4701 OWENS WAY STE 500
            PRINCE GEORGE, VA 23875-2369

  RE:       Process Served in Florida

  FOR:      Iluka Resources Inc. (Domestic State: DE)


  ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

  TITLE OF ACTION:                        LAURENCE J. GRAHAM AND BETTY PATRICK GRAHAM vs. DuPont de Nemours, Inc.

  CASE #:                                 25STCV15972

  PROCESS SERVED ON:                      C T Corporation System, Plantation, FL

  DATE/METHOD OF SERVICE:                 By Process Server on 06/05/2025 at 15:34

  JURISDICTION SERVED:                    Florida

  ACTION ITEMS:                           SOP Papers with Transmittal, via UPS Next Day Air

                                          Image SOP

                                          Email Notification, Joseph Mullins joe.mullins@iluka.com

                                          Email Notification, Donna Huff donna.huff@iluka.com

  REGISTERED AGENT CONTACT:               C T Corporation System
                                          1200 South Pine Island Road
                                          Plantation, FL 33324
                                          877-467-3525
                                          SmallBusinessTeam@wolterskluwer.com



  The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion,
  and should not otherwise be relied on, as to the nature of action, the amount of damages, the answer date, or any other
  information contained in the included documents. The recipient(s) of this form is responsible for reviewing and interpreting the
  included documents and taking appropriate action, including consulting with its legal and other advisors as necessary. CT
  disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be
  contained therein.




                                                                                                                        Page 1 of 1



                                                            15
         Case 2:25-cv-06135    Document 1-1     Filed 07/07/25   Page 3 of 263 Page ID #:18


                                                                           Wolters Kluwer

                              PROCESS SERVER DELIVERY DETAILS



Date:                                     Thu, Jun 5, 2025
Server Name:                              l uzeneida gonzalez




 Entity Served                 ILUKA RESOURCES INC.

 Case Number                   25STCV15972
 J urisdiction                  FL



                                                Inserts




                                                  16
          Case 2:25-cv-06135                  Document 1-1               Filed 07/07/25             Page 4 of 263 Page ID #:19


                                                                                                                                                   SUM-100
                                                   SUMMONS                                                               (
                                                                                                                             FOR COURT USE ONLY
                                                                                                                          SOLO PARA LISO DE LA CORM)
                                            (CITACION JUDICIAL)
                                                                                                                       FILED
 NOTICE TO DEFENDANT: J q                                                                                   Eupoeor Court of California
(AVISO AL DEMANDADO):                               B                                                         County of Los Anaaies

 DuPont de Nemours, Inc...et-ell (see attachment)
                                                                                                                     JUN 02 2025
 YOU ARE BEING SUED BY PLAINTIFF:                                                               tigvidW Sviton, Executive OlfteerfClerk ot Court
(LO ESTA DEMANDANDO EL DEMANDANTE):
                                                                                                     .9y. a Robinson, Deputy
 Laurence J. Graham and Betty Patrick Graham
                                                                                         v  s-r
                                                                                            ,

 NOTICE!You have been sued. The court may decide against you without your being heard unless you respork within 36 days. Read the information
 below.
     You have 36 CALENDAR,DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
 served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
 case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
 Online Self-Help Center(www.courtinfo.oa.gov/selfhef0, your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask the
 court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages. money, and property may
 be taken without further warning from the court.
    There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
 referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
 these nonprofit groups at the California Legal Services Web site (www,lawhelpcalifornia.org), the California Courts Online Self-Help Center
(wwwcourtinfo.ca.gov/selthefp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
 costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
 1.4V/SOI Lo hen demanded°. St no responde denfro de 30 dies, fa code puede decidir en su contra sin escuchar su version. Lea is informaciOn a
 continusciOn.
     Tiene 30 DIAS DE CALENDARIO despues de qua le entreguen esta.citacion ypaperes legates pare presenter una respuesta par escrito en esta
 code y hacer que se entregue une Copie at demandante. Una carts o una Ilamada telefi5nica no lo pmtegen. Su respuesta por escrito Ilene qua ester
 en format° legal correcto si doses que procesen su case en la code. Es posible que haya an formularto qua usted puede user pare su respuesta.
 Puede encontrar estos formularios de la code y mas informed& en el Centro de Ayude de lea Codes de California (www.sucor(e.ca.gov), en la
  biblioleca de byes de su condado o en la code que le quede mas cerca. Si no puede pager Ia cuota de presentecion, Oa al secreterio de la carte que
 le de wi formulano de exenciOn de pago de cuatas. Si no presenk su respuesta a tiempo, puede pettier el case par incvmplirniento y le code k podia
 guitar su sueldo, dinero y bienes sin Inas advertencia.
     Hay otros requisitos legates. Es recomendable que blame a an abogado inmediatamente. Si no conoce a un abogado, puede Hamar a an servicio de
  remisiOn a abogados. Si no puede pager a an abogado, es posible qua wimple con los requisitos pare obtener servicios legates gratullos de an
 programa de servicios legates sin fines de !Liao. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
(www.lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de California,(www.sucorte.ca.gov) o poniendose en contacM con la carte o e/
 coregio de abogados locales. AVISO:Pot ley, be cotta tiene derec-ho a rectemar ias cuotas y los costos exentas par imponer un gravamen sabre
 cualquier recuperacian de $10,0000 mos de valor recibida mediante an acuerdo o una concesion de arbitrafe en un case de derecho                   Tiene que
  pager at gravamen de la code antes de que be coda puede desechar el case.
The name and address of the court Is:
(El nombre y direccion de le carte es): Las Angeles Superior Court                              otszzurt15S T C
 111 North Hill Street Los Angeles, CA 90012
                                                                                                                           V1.5972
 The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
(El nombre, la direccian yet flamer° de telefono del abogado del demandante, o del demandante que no tiene abogado, es):
 Laurence J. Graham and Betty Patrick Graham                      cleke2$,cA
                                                                         An.zaerk,               qt303-1                         .
 DATE:4  (47 /<::"AiS44        .k\ R4t sk e t'     3 L°5                    by                                          ,Deputy
(Fecha).      JUN 0 21U                 David W.Slayton (Secretario)                                   Robinson G.     (Adjunto)
(For proofof service of this summons, use  Proof of Service of Summons    (form  POS-010).)
(Para prueba de entrega de esta citation use el formu)ario Proof of Service of Summons,(POS-010)).
                                      NOTICE TO THE PERSON SERVED: You are served
                                      1. ri as an individual defendant.
                                      2. ni as the person sued under the fictitious name of (specify):

                                       3.   r---1 on behalf of(specify): Iluka Resources Inc., a Delaware Corporation
                                          under:r1 CCP 416.10 (corporation)                 .1-7 C• CP 416.60(minor)
                                                   EiC• CP 416.20(defunct corporation)                      E--7
                                                                                                 C• CP 416.70(consen:atee)
                                                ni C• CP 416.40(association or partnership) [ —I CCP 416.90 (authorized person)
                                                F-]other (specify):
                                       4. F-1 by personal delivery on (date):06/05/2025
                                                                                                                                                       Page 1 oil
 RIM Adopted For Mandatory Use                                                                                                Code of Civil Procedure 5§ 412_20.4t%
   Aefrciel Counci of California
                                                                       SUMMONS
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   SUM-100 (Rev. July 1.20091
 For your protection and privacy, please press the Clear
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          Case 2:25-cv-06135                Document 1-1             Filed 07/07/25            Page 5 of 263 Page ID #:20


                                                                                                                                SUM-200(A)
     SHORT TITLE:                                                                                 CASE NUMBER:
     Laurence J. Graham and Betty Patrick Graham vs. DuPont de Nemours, Inc., et al.                  25STCV15972

                                                               INSTRUCTIONS FOR USE
      —> This form may be used as an attachment to any summons if space does not permit the listing of all parties on the summons.
      —> If this attachment is used, insert the following statement in the plaintiff or defendant box on the summons:"Additional Parties
         Attachment form is attached."

     List additional parties(Check only one box. Use a separate page for each type ofparty.):
           ED Plaintiff       =]Defendant           ED Cross-Complainant          1=1 Cross-Defendant
     EItiRoaLde-Nerneisserlac.,a Delaware Corporation; and, The Dow Chemical Company; a Delaware Corporation; and,
     Dow Inc., a Delaware Corporation; and, Corteva, Inc., a Delaware Corporation; and, The Chemours Company,a Delaware
EP   Corporation; and, Occidental Petroleum Corporation, a Delaware Corporation; and, Iluka Resources Inc., a Delaware Corporator; and,
      Iluka Resources Limited, an Australian public company; and,Tronox, LLC, a US limited liability company; and,Tronox Holdings plc, an
      Australian company; and, Tronox Limited, an Australian public company; and, Huntsman Corporation, a Delaware Corporation; and,
     Kronos(US), Inc., a Delaware Corporation; and, Kronos Worldwide, Inc., a Delaware Corporation; and, National Industrialization
     Company,a limited company organized, existing, and do1n9 business under, and by virtue of, the laws of the Kingdom of Saudi Arabia;
      and,'Venator Materials, LLC,a US limited liability corporation; and, Venator Materials, plc, a United Kingdom company; and, hew
     Group Limited, a private limited company organized under the laws of the United Kingdom; and, Titanium Metals Corporation, a
     Delaware Corporation; and, Precision Castparts Corp., an Oregon Corporation; and, Berkshire Hathaway Inc., a Delaware Corporation;
      and,'mos Pigments USA Inc, a Delaware Corporation.; and,INEOS Enterprises US Holdco LLC,a limited liability corporation -
     organized In Delaware; and, Kinder Morgan,Inc., a Delaware Corporation; and, Charles 0. Holliday, Jr., an individual person and
     resident of Washington, DC; and, Hunton Andrews Kurth LLP,a Limited Liability Partnership with offices in California and Florida and a
      citizen of both California and Florida; and, Kenneth Reed Mayo,an Individual person and resident of Virginia; and. Reed Mayo Law
     Firm, P.C., a Virginia professional corporation; and, J-M Manufacturing Company, Inc., a Delaware Corporation; and, DOES 1-25,
     Inclusive,
     Defendants.




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                                                                                                                                       Pae1 of
      Farm Adopted for Mandatory Use
        Judicial C.ouncl of California
                                                   ADDITIONAL PARTIES ATTACHMENT
     SUM•200(A)Ray.January 1.20071                       Attachment to Summons
     For your protection and privacy, please press the Clear
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                                                                                                    4,01


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      Case 2:25-cv-06135        Document 1-1    Filed 07/07/25     Page 6 of 263 Page ID #:21




 1Laurence J. Graham
  4647 Kingswell Ave Ste 105
2
  Los Angeles, CA 90027                                                   FLED
3 Telephone:(510)435-5707                                           ,nor Court of California
                                                                 Bum'
                                                                   County of Los Angeles
  E-mail: lg.lega125@gmail.com
4 Betty Patrick Graham
                                                                        JUN 02 2025
  c/o Laurence J. Graham
5
  4647 Kingswell Ave Ste 105                                wow Sirflort, Executive Oita'Clerk of Court
6 Los Angeles, CA 90027                                           By: G.'Robinson, Deputy
  Telephone:(510)435-5707
7 E-mail: lg.1ega125@gmail.com
  Pro se,
8

9

10
                                       SUPERIOR COURT OF CALIFORNIA
11
                                           COUNTY OF LOS ANGELES
12

13

14

15     VERIFIED COMPLAINT FOR RELIEF BASED UPON RESCISSION OF CONTRACTS
                          AND DEMAND FOR JURY TRIAL
16

17

18

19
     LAURENCE J. GRAHAM AND BETTY                    Case No.: Case No:         25S1CV159
     PATRICK GRAHAM
20
                  Plaintiffs,
                                                     VERIFIED COMPLAINT FOR RELIEF
21
                                                     UNDER CAL.CIVIL CODE SEC. 1692
     VS.
22                                                   BASED UPON RESCISSION OF
                                                     CONTRACTS BASED ON BREACH OF
     DuPont de Nemours,Inc., a Delaware
23
                                                •    FIDUCIARY DUTIES;FRAUD(CAL. CIVIL
     Corporation; and, The Dow Chemical
                                                     CODE SECTION 1572); CONSPIRACY
24   Company; a Delaware Corporation; and,
                                                     CACI NO.3600; AND,ONGOING
     Dow Inc., a Delaware Corporation; and,
25                                                   CONSPIRACY CACI 3601
     Corteva, Inc., a Delaware Corporation; and,
     The Chemours Company,a Delaware
26
     Corporation; and, Occidental Petroleum
27   Corporation, a Delaware Corporation; and,Iluk
     Resources Inc., a Delaware Co oration; and,
28




                                                 19
      Case 2:25-cv-06135       Document 1-1       Filed 07/07/25   Page 7 of 263 Page ID #:22
                                                     , • `-41,„




 1  Iluka Resources Limited, an Australian public
    company; and, Tronox, LLC,a US limited
  2
    liability company; and, Tronox Holdings plc, an
  3 Australian company; and, Tronox Limited, an
    Australian public company; and, Huntsman
  4 Corporation, a Delaware Corporation; and,
    Kronos(US), Inc., a Delaware Corporation;
  5
    and, Kronos Worldwide,Inc., a Delaware
  6 Corporation; and, National Industrialization
    Company,a limited company organized,
  7 existing, and doing business under, and by
    virtue of, the laws ofthe Kingdom ofSaudi
  8
    Arabia; and, Venator Materials, LLC,a US
  9 limited  liability corporation; and, Venator
    Materials, plc, a United Kingdom company;
10 and,Ineos Group Limited, a private limited
    company organized under the laws ofthe Unite
11
    Kingdom; and, Titanium Metals Corporation, a
12  Delaware    Corporation; and, Precision Castparts
    Corp., an Oregon Corporation; and, Berkshire
13 Hathaway Inc., a Delaware Corporation; and,
    Ineos Pigments USA Inc, a Delaware
14
    Corporation.; and,INEOS Enterprises US
15 Holdco LLC,a limited liability corporation
    organized in Delaware; and, Kinder Morgan,
 16 Inc., a Delaware Corrioration; and, Charles 0.
    Holliday, Jr., an individual person and resident
17
    of Washington, DC;and, Hunton Andrews
18 Kurth LLP,a Limited Liability Partnership with
    offices in California and Florida and a citizen of
19 both California and Florida; and, Kenneth Reed
    Mayo, an individual person and resident of
20
    Virginia; and, Reed Mayo Law Firm,P.C., a
21  Virginia professional corporation; and, J-M
    Manufacturing Company,Inc., a Delaware
22 Corporation; and, DOES 1-25, inclusive,

23                  Defendants.
24

25

26

27

28                                                   2




                                                    20
      Case 2:25-cv-06135        Document 1-1       Filed 07/07/25      Page 8 of 263 Page ID #:23




 1               VERIFIED COMPLAINT FOR RELIEF UNDER CALIFORNIA CIVIL CODE
      SECTION 1692 BASED ON RESCISSION OF CONTRACTS; AND,DEMAND FOR JURY
2
                                      TRIAL
3

4
     Verified complaint for relief under Cal. Civil code Sec. 1692 based on rescission of ten mining
     leases based on breach of fiduciary duties; fraud (Cal. Civil Code Sec. 1572); Conspiracy CACI
5
     No. 3600; Ongoing Conspiracy CACI 3601
6

7
     Laurence J. Graham (also known as: Laurence John Graham, Laurence Graham,and Larry
8
     Graham)on behalf of himself, and as attorney-in-fact for Betty P. Graham (also known as: Betty
9    Patrick Graham, Betty Graham), and Laurence John Graham as Agent and attorney-in-fact for
10   Betty P. Graham); and, Betty Patrick Graham (also known as: Betty P. Graham).
11   Pro Se,
12

13
     Plaintiffs,

14
     VS.
15

16
     DuPont de Nemours,Inc., a Delaware Corporation ("Dupont"); and,The Dow Chemical
17
     Company; a Delaware Corporation("Dow"); and, Dow Inc., a Delaware Corporation("Dow
18   Chemical"); and, Corteva, Inc., a Delaware Corporation ("Corteva, Inc."); and, The Chemours
19   Company,a Delaware Corporation ("Chemours"); and,Iluka Resources Inc., a Delaware
20   Corporation("Iluka"); and, Iluka Resources Limited, an Australian public company ("Iluka
21   AUS"); and, Tronox Limited is a public company organized, existing, and doing business under,

22
     and by virtue ofthe laws of Western Australia, with its executive offices located in, Stamford,
     Connecticut("Tronox Limited"); and, Tronox, LLC,a US limited liability corporation ("Tronox
23
     LLC"); and, Tronox Holdings plc, a public company organized, existing, and doing business
24
     under, and by virtue of the laws of Western Australia, with its executive offices located in,
25
     Stamford, Connecticut("Tronox Holdings plc"); and, Huntsman Corporation, a Delaware
26
     Corporation ("Huntsman"); and, Kronos(US),Inc., a Delaware Corporation ("Kronos US"); and,
27   Kronos Worldwide, Inc., a Delaware Corporation("Kronos Worldwide"); and, Titanium MetEls
28                                                    3




                                                     21
      Case 2:25-cv-06135        Document 1-1      Filed 07/07/25     Page 9 of 263 Page ID #:24




     Corporation, a Delaware Corporation("Timer); and, Precision Castparts Corp., an Oregon
2    Corporation ("Precision Castparts Corp."); and, Berkshire Hathaway Inc., a Delaware

3    Corporation ("BH"); and, Venator Materials, LLC,a limited liability company organized in
     Delaware ("Venator LLC"); and; Venator Materials, plc, an entity organized and existing under
     the laws of the United Kingdom ("Venator plc"); and, Occidental Petroleum Corporation, a
5
     Delaware Corporation("OXY"); and, Ineos Group Limited, a private limited company organized
6
     under the laws ofthe United Kingdom ("Ineos Group Limited"); and, Ineos Pigments USA.Inc:,
7
     a Delaware Corporation("Ineos Pigments USA Inc"); and,Ineos Enterprises US Holdco LLC,a
8
     limited liability company organized in Delaware("Ineos Enterprises, LLC"); and, Kinder
9    Morgan, Inc., a Delaware Corporation("KM"); Charles 0. Holliday, Jr:,an individual person
10   and resident of Washington, DC("Mr. Holliday"); and, Kenneth Reed Mayo,an individual
11   person and resident of Virginia("Reed Mayo"); and, Reed Mayo Law Firm, P.C., a Virginia
12   professional corporation(" Reed Mayo Law Firm"); and, Hunton & Williams, a Virginia

13
     company("H&W"); and, Hunton & Williams LLP,a limited liability partnership ("Hunton");
     and, Hunton Andrews Kurth LLP,a limited liability partnership("HAK"); and, National•
14
     Industrialization Company, a limited company organized, existing, and doing business under,
15
     and by virtue of,the laws ofthe Kingdom of Saudi Arabia("TASNEE"); and, J-M
16
     Manufacturing Company,Inc., a Delaware Corporation ("J-M"); and, JM Eagle, a Delaware
17
     Corporation("JM"); and,
18   DOES 1-25, inclusive,
19   Defendants.
20

21

22
      Verthed complaint for relief under Cal. Civil code Sec. 1692 based on rescission of ten mining
     leases based on breach of fiduciary duties; fraud (Cal. Civil Code Sec. 1572);Sand, Conspiracy
23
     (CACI No. 3600)
24

25
             Plaintiffs Laurence J. Graham (also known as Laurence John Graham), Betty Patrick
26
      Graham (also known as Betty P. Graham), Laurence J. Graham as Agent for Betty P. Graham
27   (also known as: attorney-in-fact for Betty P. Graham), and Laurence J. Graham as attorney-in-
28                                                   4




                                                    22
     Case 2:25-cv-06135         Document 1-1       Filed 07/07/25      Page 10 of 263 Page ID #:25




 1   fact for Betty P. Graham ("Plaintiffs") are informed and believe and on that basis allege as
2    follows:
3           1. Iluka, AKA Iluka Resources,Inc.("Iluka")is already in receipt ofa copy of Betty P.

4                Graham's durable power ofattorney titled: FLORIDA GENERAL DURABLE
                 POWER OF ATTORNEY dated 7/18/2014 which was executed in Massachusetts; I,
5
                 Laurence J. Graham,am Betty P. Graham's Agent(also known as her attorney-in-
6
                 fact); I, Laurence J. Graham, have the powers to bring, prosecute, and settle all claims
7
                 held by Betty P. Graham. Betty P. Graham may be referred to as("Betty") herein. I
8
                 may be referred to as("Laurence") herein. The 9/29/03 Settlement Agreement
9                attached hereto as("Exhibit A")is also written authorization for Laurence to act on
10               Betty's behalf which he does in this amended complaint.
11
                                                    GENERAL ALLEGATIONS
12
            7.   Whenever reference is made in this VERIFIED COMPLAINT FOR RELIEF BASED
13               ON RESCISSION OF CONTRACTS AND DEMAND FOR JURY TRIAL to any act
14               ofany corporate or other business defendant, such allegation shall mean that said
15               defendant and its officers, direct6rs, agents, employees, representatives, or aider or

16               abettor did or authorized such acts while engaged in the management, operation,

17
                 direction, or control ofthe affairs of such defendant and while acting within the sccpe
                 and course oftheir duties.
18

19          3. Whenever reference is made in this VERIFIED COMPLAINT FOR RELIEF BASED

20               ON RESCISSION OF CONTRACTS AND DEMAND FOR JURY TRIAL to
                 concealing the quantity of sales of any product or concealing the volume of sales of
21
                 any product, the term "quantity" is interchangeable with the term "volume" and both
22
                 refer to the amount of sales by weight.
23
                                      NATURE OF ACTION AND BACKGROUND
24
            4. Betty P. Graham and her sisters Julia P. Boyd (also Known as Julia H. Parson), and
25
                 Ann P. Everett were conveyed title, in equal shares, to tangible real property minerals
26
                 ofevery kind and character located below the surface often parcels ofland totaling
27
                 more than 1,150 acres by a certain Deed of Gin dated the 19th Day of May 1997
28                                                     5




                                                      23
     Case 2:25-cv-06135            Document 1-1          Filed 07/07/25        Page 11 of 263 Page ID #:26




                 which is recorded in the Clerk's Office of Sussex County, VA in Deed Book 155
                 Page 637 and the Clerk's Office of Dinwiddie County, VA in Deed Book 410 Page
                 204,(hereinafter "the 97 Deed")attached as("Exhibit B") which, by its written
                 language, is said to be drafted by one attorney who, although we did not know it at
                 the time, had a history of performing work for RGC(USA)Minerals Inc., AKA RGC
                (USA)Minerals, Inc.(hereinafter,"RGC"); but, we did know that he was working on
                 the 97 Deed with RGC and that the McGuire Woods law firm was involved.

             5. With the conveyance of title to more than 1,150 acres ofsubsurface minerals located
8
                 below ten parcels of land, without limitation, the physical, tangible, real property,
9
                 subsurface mineral estate was conveyed by the 97 Deed with the inherent right of
10
                  priority use over the surface estate including the rights of(ingress and egress),and
11
                 possession at all times for the purpose of mining', drilling, and operating for said
12
                  minerals and the maintenance of facilities and means necessary or convenient for
13                producing, treating and transporting such minerals; furthermore, the 97 Deed also
14               transferred all of Betty's parents' royalties due under ten certain October 13, 1989
15               Deeds of Mining Lease and lessor rights in the Leases to Betty P. Graham, Julia P.

16               Boyd, and Ann P. Everett except for the next two annual advance royalty payments;

17
                 said ten certain October 13, 1989 Deeds of Mining Lease were signed by Betty's
                 father George L. Parson, Jr. and Betty's mother Mary E. Parson and RGC and are
18
                  intertwined; therefore, they are one contract and are also known as the 1,169.86 acre
19
                  lease by Betty, her parents, and RGC since the recording ofthe 97 Deed,
20
                  memorandums of said leases being ofrecord in the Clerk's Office ofthe Circuit Co
21
                  of Sussex County, Virginia and the Clerk's Office of the Circuit Court of Dinwiddie
22                County, Virginia(hereinafter "the Leases") attached as("Exhibit C"). The 97 Deed
23                severed the 1,169.86 acre lease from the 1,196.61 acre lease that Betty's parents and
24                RGC entered into. At the time Betty's parents executed the 97 Deed,they owned all

25

26

27
     1 Mining is the process of extracting the subsurface minerals conveyed by the 97 Deed.
28                                                           6




                                                            24
     Case 2:25-cv-06135        Document 1-1      Filed 07/07/25      Page 12 of 263 Page ID #:27




 1           right, title and interest in and to the minerals within and underlying the ten parcels of
2            land listed in the 97 Deed which total more than 1,150 acres although said minerals

3            were subject to the Leases. E.I. Du Pont De Nemours and Company("DuPont")

4            drilled into the subsurface minerals located below the ten parcels of land listed in the
             97 Deed and tested the quality ofthe minerals therefrom and made representations
5
             about the tonnage of minerals contained below the surface ofthose acres of land to
6
             Betty's father George L. Parson, Jr. which he relied upon while signing the Leases
7
             that RGC prepared. DuPont and RGC were separate companies; therefore, they were
8
             not affiliates.
9
          6. Accordingly, Betty P. Graham, Julia P. Boyd,and Ann P. Everett were each
10
             conveyed title to a separate one-third share ofthe physical tangible real property
11
              minerals located below the surface of the ten parcels ofland listed in the 97 Deed
12
             together with the inherent right of ingress and egress, and possession at all times for
13           the purpose of mining, drilling and operating for said minerals and the maintenance o
14           facilities and means necessary or convenient for producing, treating and transporting
15           such minerals, and each ofthem also received one-third ofthe royalties due under the

16           Leases by the 97 Deed except for the next two annual advance royalty payments, and
             each ofthem also received one-third ofthe Parsons lessor rights, also known as lessor
17
             standing, by the 97 Deed.
18

19                              Action for relief under Cal. Civil Code Sec. 1692

20        7. This is an action for relief, by jury trial, based on the rescission ofthe portion of the
21           Leases pertaining to the one-third share ofthe minerals conveyed to Betty by the 97
22           Deed and later recovered, as saleable minerals,from the ore that was extracted from

23           the ten parcels of land listed in the 97 Deed based on Ilulca's breaches offiduciary
              duties one of which is the failure of consideration for said saleable minerals in
24
              California another is the failure to deliver reporting about the minerals that were
25
              extracted from the ten parcels ofland listed in the 97 Deed and the saleable minerals
26
              recovered from the ore that was extracted from the ten parcels of land listed in the 97
27
              Deed. Iluka did the extracting of the minerals and the other Defendants aided
28                                                  7




                                                   25
     Case 2:25-cv-06135      Document 1-1       Filed 07/07/25      Page 13 of 263 Page ID #:28




 1            and abetted Iluka's breaches of fiduciary duties by providing encouragement
2             and substantial assistance to Iluka while knowing that it would not deliver fair

3             and equitable consideration to us for the one-third share of the minerals conveyed

4
              to Betty by the 97 Deed and later recovered, as saleable minerals,from the ore that
              was extracted from the ten parcels ofland listed in the 97 Deed. The California
5
              Superior Court has general jurisdiction for an action for relief under Cal. Civil Code.
6
              Sec. 1692 based on recession of contracts. Cal. Civil Code Sec. 1646 provides, "A
7
              contract is to be interpreted according to the law and usage ofthe place where it is to
8
              be performed; or, ifit does not indicate a place ofperformance, according to the Law
9             and usage ofthe place where it is made." We noticed 481 N Santa Cruz Ave #178
10            Los Gatos, CA 95030 as the place of performance pursuant to section 33 of the
11            Leases which provides for notices.
12
                                               Offer to Restore Iluka
13
              Plaintiffs have already offered to restore Iluka 28.2 million dollars and contend that
14
              they have rescinded the Leases based on Ilulca's breaches offiduciary duties, one of
15
              which is the failure of consideration, for the one-third share of the minerals conveyed
16            to Betty by the 97 Deed that were recovered from the ore that was extracted from the
17            ten parcels of land listed in the 97 Deed.
18
          8. The Leases provide that the Lessor shall name the place of performance and
19
              California law governs torts when the place of performance is California per Cal.
20            Civil Code Section 1646.
21
          9. Plaintiffs named California as the place of performance per the attached letters
22
             "EXHIBIT D"
23
           10. With California being the place of performance, Cal. Civil Code Sec. 1692 governs
24
              rescission.
25
           11. Cal. Civil Code Sec. 1692 controls rescission of the Leases based on torts when the
26
              place of performance is California.
27

28                                                  8




                                                    26
     Case 2:25-cv-06135      Document 1-1       Filed 07/07/25      Page 14 of 263 Page ID #:29




 1        12. The failure of consideration happened in California by Iluka's 2/12/2023 letter mailed
2             to Los Gatos, see "EXHIBIT E" at page 1.
3
          13. Arbitration is an unavailable forum for the relief sought because, among other
4             reasons, the American Arbitration Association rules in place at the time the Leases
5             were entered in 1989 did not allow the arbitrator to award punitive damages and legal
6             fees and punitive damages are available for the relief sought under Cal. Civil Code

7             Sec. 1692. Legal fees are also available under Cal. Civil Code Sed. 1692 which is
              another reason that arbitration is an unavailable forum.
8

9         14. None of the defendants were parties to the Leases in 1989; therefore, none ofthe
io            defendants have a right to compel arbitration nor seek the protections of it.

11        15. Betty executed a 2000 Deed of Gift in Florida that assigned 60% of her royalties to
12            Laurence. Betty's 2000 Deed of Gift also assigned lessor standing in the Leases to
13            Laurence.

14
          16. As agreed in the 9/29/03 Settlement Agreement, Laurence controls the one-third sh
15            oftangible subsurface minerals conveyed to Betty by the 97 Deed together with the
16            royalties and lessor rights assigned to Betty by the 97 Deed.
17
         . 17. Laurence and has lessor standing to rescind the portion ofthe Leases pertaining to the
18            entire one-third share ofthe minerals conveyed to Betty by the 97 Deed.
19
           18. Betty retained the one-third share of the tangible real property minerals conveyed to
20
              her by the 97 Deed.
21
           19. Betty is the owner of the one-third share ofthe tangible real property minerals
22
              conveyed to her by the 97 Deed.
23
           20. In 2006 there were Palm Beach County,FL guardianship and incapacity cases, Case
24
              Nos. 502006GA000650XXXXSB & 502006M1-I002068N:XXXSB, which were
25
              effectively ended by orders from the DISTRICT COURT OF APPEAL OF THE
26
              STATE OF FLORIDA FORTH DISCRICT,see
27
              https://4dca.flcourts.gov/content/download/164619/opinion/Opinion_07-996.pdf
28                                                  9




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       Case 2:25-cv-06135     Document 1-1        Filed 07/07/25      Page 15 of 263 Page ID #:30




  1            which we request that the Court take judicial notice of which is also attached as
  2           ("EXHIBIT G")], with which the Court determined that the appointment of Betty's

  3            other son Luke P. Graham as temporary guardian was invalid and that no authority to

  4
               act for Betty was given to any person nor entity by the orders ofthe Palm Beach
               County Florida Court and the Court determined that the trial court did not find any
  5
               valid reason to revoke Betty's advance care directives by which Betty gave Laurence
  6
               broad and sweeping powers to make health care and financial decisions for Betty
  7
               which determination is also binding in California courts and prevails over any case
  8
               law precedent in California that forbids an attorney-in-fact also known as "Agent"
  9            from representing a person in a California court with an advance care directive if that
 10            person cannot represent themselves without regard to any conflict oflaws. As
 11            provided by said order, Florida law dictates that representing an infirm person with
 12            the powers granted by that person's advance care directive is a less restrictive

 13
               alternative to.guardianship and we argue that the California courts must respect
               Betty's right to have Laurence represent her in court as her Agent and attorney-in-fact
 14
               because Betty's advance care directives, by which Laurence has the powers to
 15
               represent her interests in Court, are a less restrictive alternative to guardianship and
 16
               that such powers are valid in this Court. Also,the Court did determine that Betty is
 17
               the owner ofthe minerals located below the ten parcels of land listed in the 97 Deed
 18            and,the inherent right to rents therefrom. Furthermore, the defendants alleged in the
 19            San Francisco litigation that Betty has been intellectually incapacitated since 2006.
 20
            21. Iluka Resources Inc. claims to be successor to RGC(USA)Minerals Inc. by merger
 21
               as evidenced in the 6/12/2023 Notice of Termination of Mining Leases sent to Los
 22            Gatos, CA,see attached "EXHIBIT F" at page 1, which is fraud directed at us in
 23            California that purposefully availed Iluka Resources Inc. and Iluka Resources
 24            Limited, and HAK,and Reed Mayo, and Reed Mayo Law Firm and the other

 25            defendants that aided and abetted Iluka ofthe jurisdiction of the California Superior
               Court because RGC(USA)Minerals Inc. filed an annual report in Florida in 2012,
 26
               see "EXHIBIT H", after Iluka Resources Limited defined the process by which it
' 27
               changed the name of its subsidiaries when it changed the name of RGC(USA)
 28




                                                     28
     Case 2:25-cv-06135     Document 1-1        Filed 07/07/25      Page 16 of 263 Page ID #:31




 1           Mineral Sands Inc. to Iluka Resources Inc., see EXHIBIT H,at pages 1-4; therefore,
2            Iluka Resources Limited became successor to RGC(USA)Minerals Inc. by merger

3            and Iluka's claim that it became successor by said merger, can't be true which is all

4            further evidence that neither Iluka Resources Limited nor Iluka Resources Inc. nor the
             other defendants has clean hands, that neither entity is a signatory to the Leases, that
5
             neither entity entered the Leases in 1989, that neither entity has the right to compel
6
             arbitration, that both entities engaged in undue influence, and that any statute of
7
             limitations is tolled by this conduct; however, Iluka Resources Inc. claims to be
8
             successor to RGC(USA)Minerals Inc. and we served it a copy of the complaint
9            thereby rescinding the Leases. Furthermore,the 06/12/2023 Notice of
10           Termination of Mining Lease is a fraud because CHRISTOPHER LANCE
11           EVERETT AND LEE RANDOLPH E'VERETT do not have any interest in the
12           minerals that were below Sussex County Virginia Tax Map Parcels 101-A-17

13           and 101-A-17A and it does not identify any lessor for the one-third portion of the
             lessor rights also known as lessor standing assigned to Betty.
14

15        22. Plaintiffs rescinded the Leases by previously serving a copy of a verified complaint

16           for relief under Cal Civil Code Sec. 1692 to Iluka.

17                                   VENUE IS PROPER IN CALIFORNIA
18
          23. Venue is proper in California because defendant Iluka breached a fiduciary duty to
19
             deliver fair and equitable consideration for the one-third share of the saleable
20           minerals recovered form the ore that was extracted from the ten parcels of land listed
21           in the 97 Deed in California thereby subjecting Iluka to California jurisdiction and
22           venue for relief based on rescission of the Leases and because each of the other

23           defendants intended to assist Iluka in its breach of fiduciary duty to deliver fair and

24
             equitable consideration to us for said one-third share of the saleable minerals
              wherever and whenever it occurred and it occurred in California; therefore, each of
25
             the defendants intended to harm us in California and purposefully availed itself ofthe
26
             jurisdiction ofthe California Superior Court which has general jurisdiction for the
27
             relief sought. Furthermore each ofthe defendants acted with actual knowledge of tie
28                                                 11




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     Case 2:25-cv-06135     Document 1-1        Filed 07/07/25      Page 17 of 263 Page ID #:32




 I           the plan to cause a failure of consideration to us for said one-third share of the
2            saleable minerals and intended to cause a failure of consideration to us for said one-
-3           third share ofthe saleable minerals and provided substantial encouragement and

4            assistance with some of such conduct occurring in California. When the defendants
             aided and abetted Iluka's breach offiduciary duty to deliver fair and equitable
5
             consideration to us.for the one-third share ofthe saleable minerals recovered from the
6
             ore that was extracted from the ten parcels ofland listed in the 97 Deed,the
7
             defendants purposefully availed themselves ofthe jurisdiction ofthe state court
8
             wherever that failure of consideration occurred and it occurred in California; and,
9            leading up to said failure of consideration, each ofthe defendants committed
10           intentional acts to aid and abet said failure of consideration that were expressly aimed
11           at California and caused us ham and contributed to the brunt ofthe harm which was
12           the failure of consideration for said one-third share ofthe saleable minerals in

13           California. Each ofthe Defendants, except for BH,Kinder Morgan,Inc.("KM")and
             Hunton Andrews ICruth LLP("HAK"),Kenneth Reed Mayo,Reed Mayo Law Firm,
14
             and Corteva, Inc. separately shipped products to and sold products in Los Angeles
15
             County California and elsewhere in California containing saleable minerals recovered
16
             from the ore that was extracted from the ten parcels of land listed in the 97 Deed.
17
             Ilulca sold some of the saleable minerals in Los Angeles and elsewhere in California
18           which is purposeful availment and conduct intended to harm us in California. The
19           other defendants except for BH,KM,HAK,Kenneth Reed Mayo,Reed Mayo Law
20           Firm, and Corteva, Inc. each separately sold products in California that included, but
21           are not limited to, titanium dioxide pigment and things that were made with titanium

22
             dioxide pigment such as paint,PVC pipe, plastics, etc. and each such defendant
             underreported the sales ofthose products to assist Iluka in its breaches of fiduciary
23
             duties to us which is also conduct directed to harm us in California and which caused
24
             substantial harm to us. We allege that both DuPont and Chemours operated large
25
             distributorships in Alameda County California for products containing the saleable
26
             minerals and that, after Chemours was spun offfrom DuPont,Chemours started using
27           third party distributorships to conceal such conduct in an effort to reduce contacts
28                                                 12




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     Case 2:25-cv-06135     Document 1-1        Filed 07/07/25      Page 18 of 263 Page ID #:33




 1           within California but has purposefully availed itself ofjurisdiction in California as
 2           have all ofthe defendants with their conduct directed at us. The defendants that did

 3           not ship products to and sell products in California that contained said saleable

4            minerals were aware ofthat conduct and the underreported production price-fixing
             scheme and participated in the scheme in various ways, some of which conduct
 5
             occurred in California and some of which conduct was directed at us in California.
6
             The defendants that are not in contractual privity with us also intended to aid and abet
7
             Iluka's failure of consideration to us in California which is purposeful availment, and
8
             all the defendants benefited financially from participation in the underreported
9            production price-fixing scheme and caused us substantial harm."The elements of a
10           claim for aiding and abetting a breach of fiduciary duty are:(1)a third party's breach
11           offiduciary duties owed to plaintiff;(2)defendant's actual knowledge ofthat breach
12           offiduciary duties;(3)substantial assistance or encouragement by defendant to the

13           third party's breach; and (4)defendant's conduct was a substantial factor in causing
             harm to plaintiff.(Judicial Council of Cal., Civ. Jury Instns.(CACI)(2014)No. 3610
14
               .)."(Nasrawi v. Buck Consultants LLC(2014)231 Cal.App.4th 328, 343[179
15
             Cal.Rptr.3d 813].) A defendant who acts with actual knowledge ofthe intentional
16
             wrong to be committed and provides substantial assistance to the primary wrongdoer
17
             is not an accidental participant in the enterprise."(Upasani v. State Farm General Ins.
18           Co.(2014)227 Ca1.App.4th 509, 519[173 Cal.Rptr.3d 784], original italics, internal
19           citations omitted.) Huntsman Corporation mixed coatings in Los Angeles County
20           with titanium dioxide pigment that it knew was produced with the saleable minera13.
21           Titanium Metals Corporation ("Timet") used the saleable minerals at its plant in

22
             Vallejo, CA through calendar year 2020 although it claims to have ceased productim
             at that plant. Furthermore, it is highly probable that there are witnesses living in
23
             California that were employed by some ofthe defendants including, but not limited
24
             to, private investigators and former employees of E.I. du Pont de Nemours &
25
             Company's Antioch, CA titanium dioxide pigment plant and Timet's Vallejo, CA
26
             plant and current employees of Huntsman Advanced Materials in Los Angeles
27           County California. Furthermore venue is proper in California because in-state
28                                                 13




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     Case 2:25-cv-06135     Document 1-1        Filed 07/07/25      Page 19 of 263 Page ID #:34




 1           defendant J-M is a citizen of California with its principal place of business in Los
2            Angeles and HAK has partners in San Francisco and Los Angeles. Jurisdiction exists

3            over each of the defendants because they each engaged in the underreported

4            production price-fixing scheme alleged in the paragraphs below that resulted in
             Iluka's failure to deliver fair and equitable consideration to us for the one-third share
5
             ofthe minerals conveyed to Betty P. Graham by the 97 Deed and later recovered, as
6
             saleable minerals,from the ore that was extracted from the ten parcels of land listed
7
             in the 97 Deed in California. Venue in Los Angeles County, CA is also proper
8
             because the market for the saleable minerals recovered from the ten parcels ofland
9            listed in the 97 Deed was suppressed within Los Angeles,CA and San Francisco, CA.
10           Each ofthe defendants participated in the underreported production price-fixing
11           scheme alleged in the paragraphs below and each defendant's conduct was a
12           substantial factor in causing Iluka's failure to deliver fair and equitable consideration

13           to us in California for the one-third share of the minerals conveyed to Betty by the 97
             Deed and later recovered, as saleable minerals,from the ore that was extracted from
14
             the ten parcels ofland listed in the 97 Deed. For all these reasons, the Defendants
15
             purposefully availed themselves of California jurisdiction and venue and are subject
16
             to California law for the relief that we seek based on rescission ofthe Leases
17
             pertaining to at least a share ofthe minerals conveyed by the 97 Deed and later
18           recovered, as saleable minerals,from the ore that was extracted from the ten parcels
19           of land listed in the 97 Deed and a jury trial for a bare money judgement and the
20           punitive damages and the California Superior Court at the Stanley Mosk courthouse
21           has general jurisdiction for the relief sought when the place of performance is

22
             California per Cal. Civil Code Sections 1646 and 1692. Furthermore, Laurence and
             Betty are residents of Los Angeles California.
23

24        24. I, Laurence John Graham, allege that I spoke with the head geologist employed by
25           Iluka who explained that there were 30 to 35 million tons of heavy minerals left to be

26
              mined in the Old Hickory Heavy Mineral Reserve and that 80% to 85% ofthose tons.
              would be recovered as saleable minerals and confirmed that 24 million tons of
27
             saleable minerals would be sold and I questioned Iluka's officer about Iluka's
28                                                 14




                                                  32
      Case 2:25-cv-06135        Document 1-1       Filed 07/07/25      Page 20 of 263 Page ID #:35




                geologist's representations and Iluka's officer denied them and he also represented
 2              Iluka to notify me that the owners of minerals and royalties were not allowed to know

 3              such information at that time and not allowed to know it until the end of Iluka's

 4              undertaking of extracting and receiving payment for the minerals conveyed to Betty
                P. Graham,Julia P. Boyd,and Ann P. Everett by the 97 Deed and not allowed to
 5
                know it before Iluka determined who was to receive all of Betty P. Graham's royalty
 6
                payments; Iluka's officer explained to me that the minerals conveyed to Betty P.
 7
                Graham, Julia P. Boyd, and Ann P. Everett by the 97 Deed would be mined from the
 8
                ten parcels with simultaneous mining and that the minerals from those parcels would
 9
           •    be comingled.
10
           25. We allege that by letters served and sent to Iluka by certified mail in December of
11
                2022 and in 2023 we demanded that Iluka disclose to us how many tons ofeach kind
12
                of mineral that it had extracted from the acres ofland described in the 97 Deed and
13              the location of each of those tons; and, those letters include, but are not limited to the
14             ("Exhibit D").
15
           26. We allege that by demanding that Iluka disclose to us how many tons of each kind of
16              mineral that it has extracted from the acres of land described in the 97 Deed and the
17              location ofeach ofthose tons that we thereby demanded that Iluka disclose to us how
18              many tons of each kind of mineral that it has extracted from the ten parcels ofland
19              listed in the 97 Deed and the location of each ofthose tons.

20         27. We allege that by demanding that Iluka disclose to us how many tons of each kind of
21              mineral that it has extracted from the acres of land described in the 97 Deed and the
22              location of each ofthose tons and the per ton fair market value ofeach kind of

23              mineral that was extracted from the acres of land described in the 97 Deed that we

24
                thereby demanded that Iluka disclose to us how many tonsi of each type of mineral
                that it has extracted from the ten parcels ofland listed in the 97 Deed and the location
25
                ofeach ofthose tons and the per ton fair market value of each type of mineral that
26
                was extracted from the ten parcels ofland listed in the 97 Deed.
27

-28                                                   15




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     Case 2:25-cv-06135     Document 1-1        Filed 07/07/25     Page 21 of 263 Page ID #:36




 1        28. In response to our demands for Iluka to disclose to us how many tons of each kind of
2             mineral it has extracted from the acres ofland described in the 97 Deed,the location
3            ofeach ofthose tons, and the per ton fair market value ofeach kind of mineral

4            extracted from the acres of land described in the 97 Deed,Iluka concealed all the
             information that we demanded it disclose to us but delivered its royalty statement into
5
             California.
6

7         29. RGC wrote the royalty rate into the Leases at 8% and there were also land lease

8
             payments to be disbursed that RGC wrote into the Leases.

9         30. With Iluka concealing the number of tons of each kind of mineral that was extracted
10           from the acres ofland described in the 97 Deed,the location of each of those tons,

11           and the per ton fair market value of each kind of mineral extracted from the acres of
             land described in the 97 Deed and the with the failure of consideration by Iluka with
12
             the representation of slightly over 2.5 million dollars ofroyalties delivered by Iluka
13
           • into California, Laurence John Graham calculated that ore containing a sum total of
14
             28.125 million short tons(2000 pounds per ton)of zircon mineral tons and titanium
15
              mineral tons was extracted from the ten parcels of land listed in the 97 Deed and that
16           a sum total of22.5 million saleable short tons of minerals were recovered from that
17           ore including, and limited to, tons of saleable zircon and titanium minerals and he
18           calculated the value of those 22.5 million short tons of saleable minerals at
19           $67,275,000,000.00(67.275 billion dollars).

20        31. We allege that Iluka's 02/12/2023 letter to Los Gatos, California, see "EXHIBIT E"
21            at page 1, represented the royalties as over 2.5 million rather than the exact amount of
22            royalties in an effort to obstruct rescission ofthe Leases and that such conduct tolled
23            any statute oflimitations that may apply to rescission although we allege that no

24
              statute of limitations applies to rescission because of Iluka's undue influence and
              ongoing tortious and duress causing treatment of us.
25

26        32. Iluka also concealed the dollar amount disbursed for the minerals conveyed by the 97

27            Deed and later recovered, as saleable minerals,from the ore that was extracted from

28                                                 16




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     Case 2:25-cv-06135      Document 1-1       Filed 07/07/25      Page 22 of 263 Page ID #:37




 1           the ten parcels of land listed in the 97 Deed in an effort to obstruct rescission ofthe
2            Leases which also tolls any statute of limitations.

3
          33. With Iluka concealing information to obstruct rescission ofthe Leases, Laurence John
4            Graham calculated that the sum total amount in dollars disbursed to Betty's parents,
5             their three daughters, and their grandchildren for the minerals conveyed by the 97
6             Deed and later recovered, as saleable minerals,from the ore that was extracted from

7            the ten Nrcels of land listed in the 97 Deed is less than 28.2 million dollars and now
             clarifies that less than 27 million dollars ofroyalties were disbursed for the minerals
8
             conveyed by the 97 deed and later recovered; as saleable minerals,from the ore that
9
              was extracted from the ten parcels of land listed in the 97 Deed and that less than 1.2
10
              million dollars of land lease payments were disbursed which adds up to less than 28.2
11
              million dollars that has been disbursed; accordingly, less than 27 million dollars of
12
             consideration was disbursed for the 22.5 million short tons ofsaleable minerals
13            recovered from the ore that was extracted from the ten parcels of land listed in the 97
14           Deed.
15
          34. Laurence John Graham also calculated that the value of a one-third share of the
16            saleable minerals recovered from the ore that was extracted from the ten parcels of
17            land listed in the 97 Deed is $22,425,000,000.00(22.425 billion dollars).
18
          35. Plaintiffs further allege that the number of allegations in this complaint exceeds the
19
              number of paragraphs in this complaint and that each of the allegations stands
20            individually as legal basis for rescission ofthe Leases under California law.
21
          36. We allege that within close proximity to but prior to October 13, 1989, DuPont drille
22
              into the subsurface minerals located below the ten parcels ofland listed in the 97
23            Deed and tested the quality ofthe minerals therefrom and knowingly made fraudulent
24            and misleading representations to Betty P. Graham's father regarding the number of
25            tons of minerals located below the surface of the ten parcels of land listed in the 97
26            Deed.

27

28                                                 17




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      Case 2:25-cv-06135     Document 1-1       Filed 07/07/25     Page 23 of 263 Page ID #:38




           37. Laurence spoke with the geologist that was DuPont's head geologist for heavy
              minerals exploration in Virginia in 1989 and drilled the property with a team of
 3            several geologists for months in 1989 and did testing ofthe drill samples and other

 4            samples gathered by excavation. Betty's parents informed Laurence that DuPont's
              geologists spent several months on the ten parcels of land listed in the 97 Deed and
 5
              made representations to them about the quality of the heavy minerals and tons of
 6
              heavy minerals located below the ten parcels of land listed in the 97 Deed which they
 7
              relied upon when entering the Leases because DuPont's geologists had spent so muzh
              time making reserve calculations on the ten parcels ofland.
 9
           38. We allege that DuPont had a long history of mining the heavy minerals in the US that
10
              'it used in its titanium dioxide pigment production and was was wary of entering into
11
              leases to mine the ten parcels ofland listed in the 97 Deed because ofthe size and
12
              high heavy mineral percentage ofthe reserves below them and concluded that
13            concealing the fraud would require a mining company with operations in other
14            countries to conceal the production by claiming that the production came from other
15            mining operations in other countries and encouraged RGC to enter the leases to

.16           facilitate the underreported production price-fixing scheme that DuPont designed.

17         39. We further allege that DuPont was prosecuted by the Federal Trade Commission
18           ("FTC")in 1979 for monopolistic conduct in the titanium dioxide pigment production
19            industry.

20         40. We allege that E.I. Du Pont De Nemours and Company merged with The Dow
21             Chemical Company("Dow")to form DowDuPont.
22
           41. We allege that Corteva, Inc.("Corteva, Inc.") was formed by a spinofffrom
23             DowDuPont and is a Delaware corporation with its principal place of business in
24             Indiana.
25
           42. We allege that The Chemours Company is a Delaware Corporation with its principal
26
               place of business in Delaware.
27

28




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     Case 2:25-cv-06135      Document 1-1       Filed 07/07/25     Page 24 of 263 Page ID #:39




 1        43. We allege that Iluka Resources Inc. is a Delaware Corporation with its principal place
 2           of business in Virginia.
 3
          44. We allege that Dow Inc.("Dow Chemical") was formed by a spinofffrom
4            DowDuPont and is a Delaware Corporation with its principal place of business in
 5           Michigan.
6
          45. We allege that DowDuPont changed its name to DuPont de Nemours,Inc. "Dupont''
 7
             after the Dow Chemical spinoff and that Dupont is a Delaware Corporation with its
 8           principal place of business in Delaware.
9
          46. We allege that Occidental Petroleum Corporation "OXY"is a Delaware corporation
10
              with its principal place of business in Texas.
11
          47. We allege that Huntsman Corporation is a Delaware corporation with its principal
12
             place of business in Texas.
13
          48. We allege that J-M Manufacturing Company,Inc."J-M"is a Delaware corporation
14
              with its principal place of business in Los Angeles, California.
15

16        49. We allege Kerr-McGee Corporation("Kerr-McGee")spun off its titanium dioxide
              manufacturing business into Tronox, plc and then sold its remaining business to
17
              Anadarko Petroleum Corporation with the assumption of liabilities related to its
18
              business and we allege that Anadarko Petroleum Corporation was acquired by
19
             Occidental Petroleum Corporation("OXY")with the assumption of liabilities related
20
             to its business.
21
          50. We allege that the National Industrialization Company("TANSEE")is a citizen of
22
             Saudi Arabia with its principal place of business in Saudi Arabia and that it obtained
23
              Millennium Inorganic Chemicals,Inc. and Millennium Chemicals,Inc.(collectively
24
             "Millennium") with the assumption of liabilities related to its business.
25
          51. We allege that Tronox Holdings, plc is also known at Tronox Limited and Tronox plc
26
             and that it owns and controls multiple entities, one of which is Tronox, LLC and that
27
             they are all collectively and hereinafter referred to as("Tronox"). The original entity
28                                                 19




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     Case 2:25-cv-06135     Document 1-1       Filed 07/07/25     Page 25 of 263 Page ID #:40




 1           of Tronox was formed by spinofffrom Kerr-McGee Corporation and remained a
2            closely related entity to Kerr-McGee Corporation after its spinoff.

3
          52. We allege that Tronox and TANSEE are closely related entities by the Tronox-Tansee
4            Settlement Agreement and that TANSEE owns more than 10% of Tronox and exerts
5            significant control over Tronox and is a member of Tronox and that service of
6            TASEE can be made c/o Tronox.

7         53. Tronox Limited is a public company organized, existing, and doing business under,
8            and by virtue ofthe laws of Western Australia, with its executive offices located at
9            263 Tresser Blvd,#1100, Stamford, Connecticut. We allege that its principal place of
10           business is in Stamford Connecticut by virtue ofthe "nerve center" test, see Hertz

11           Corp. v. Friend, 559 U.S. 77(2010); and, by information provided in a settlement
             agreement found at:
12
             https://www.ftc.gov/system/files/documents/cases/171_0085_tronox_ctistal_do.pdf,
13
             which it agreed to.
14

15
          54. We allege that Ineos Group Limited acquired the Ashtabula, OH titanium dioxide
             pigment plants,(with its subsidiaries, one of which is INEOS Joliet US Holdco, LLC
16
             and a research facility in Glenn Burnie, MD by a settlement agreement found at:
17
             https://www.ftc.gov/system/files/documents/cases/171_0085_tronox_cristal_do.pdf
18
            ("Tronox-Tansee ")and the FTC entered an order found at:
19
              https://www.ftc.gov/system/files/docurnents/cases/d09377_tronox_decision_and_orde
20           r.pdf and we request that the Court take judicial notice ofthe settlement agreement,
21           order, and the docket. INEOS Joliet US Holdco, LLC changed its name to INEOS
22           Enterprises US Holdco LLC, which comprised of The National Titanium Dioxide
23           Company's Cristal USA,Inc. plants in Ashtabula, Ohio and its administrative

24
              research center in Glen Burnie, Maryland. Ineos Group Limited is a private limited
              company organized under the laws ofthe United Kingdom with its principal place of
25
              business in the UK. Following the acquisition, Ineos Enterprises changed the name
26
              of Cristal USA Inc. to Ineos Pigments USA,Inc. INEOS Enterprises US Holdco
27
              LLC,and Ineos Group Limited are collectively referred to as("Ineos"). We allege
28                                                20




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     Case 2:25-cv-06135     Document 1-1         Filed 07/07/25    Page 26 of 263 Page ID #:41




 1           that both Tronox and Ineos were aware of TANSEE's participation in the
 2           underreported production price-fixing scheme prior said settlement agreement and

 3           provided substantial assistance to TANSEE to conceal it while carrying out the terms

4            of said settlement agreement which is ongoing. We further allege that Ineos has been
             aware ofthe minerals located below the ten parcels of land listed in the 97 Deed
5
             before it acquired Cristal USA,Inc. and that Ineos was also aware ofthe minerals
6
             located below the ten parcels of land listed in the 97 Deed from Cristal USA,Inc.'s
7
             employees that became Ineos employees.
8
          55. We allege that Iluka Resources Limited ("Iluka AUS")is an Australian public
9
             company and has is principal place of business in Australia and that it is the owner of
10
             Iluka and conducts business in Los Angeles County California and is at home in
11
             California, see attached bills oflading("Exhibit I") at pages 1-15. We also allege that
12
             Iluka ACS owns Iluka Resources(TN)LLC which is a business authorized to
13           conduct business in California which is another reason that it is at home in California.
14            We further allege that neither RGC(USA)Minerals Inc. nor Iluka Resources Limited
15           nor Iluka notified Betty ofthe 1998 merger that formed Iluka Resources, Inc. and

16           have been concealing the particulars ofthat merger and the sequence ofsuccessor to

17
             obstruct rescission which tolls any statute of limitations; however, Iluka claims to be
             successor.
18

19        56. We allege that Precision Castparts Corp. is an Oregon corporation with its principal

20           place of business in Oregon and the owner of Titanium Metals Corporation, a
             Delaware Corporation which maintains its principal place of business in Oregon by
21
              virtue ofthe "nerve center" test, see Hertz Corp. v. Friend, 559 U.S. 77(2010).
22

23        57. We allege that the ten October 13, 1989 Deeds of Mining Lease identified

24
             hereinabove, involving the ten parcels ofland listed in the 97 Deed, are intertwined;
             therefore, they are one contract.
25

26

27

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     Case 2:25-cv-06135      Document 1-1        Filed 07/07/25     Page 27 of 263 Page ID #:42




 I        58. We allege that the ten October 13, 1989 Deeds of Mining Lease identified
2             hereinabove are intertwined; therefore, they are one contract and we allege that
3            performance is not divisible.

4         59. We allege that the ten October 13, 1989 Deeds of Mining Lease identified
5             hereinabove are intertwined; therefore, they are one contract and we allege that the
6             royalty payments are not divisible.

7
          60. We allege that we demanded that Iluka disclose to us how many tons of each kind of
8             mineral that it has extracted from the ten parcels of land listed in the 97 Deed,the
9             location of each of those tons, and the per ton fair market value of each kind of
10            mineral that it has extracted from the ten parcels of land listed in the 97 Deed and that

11           Iluka is concealing all of this information from us. •

12        61. We allege that Reed Mayo,Esq., as attorney for Iluka, sent several letters containing
13           IluIca's representation of royalties due under the Leases into California, see attached
14          (2/12/2023, 4/12/2023, and 4/26/2023 letters ("Exhibit E")), which ncitified of slightly

15
              over 2.5 million dollars of royalties thereby subjecting Iluka to California law for
              rescission of the Leases.
16

17        62. We allege that the slightly over 2.5 million dollars ofroyalties reported by Iluka into

18            California was a final royalty calculation.

19        63. We allege that Iluka was the extractor ofthe ore from the ten parcels of land listed in
20            the 97 Deed from which the sum total of 22.5 million saleable short tons ofzircon
21            and titanium minerals were recovered.

22        64. We allege that less than 27 million dollars of royalties was disbursed for the 22.5
23            million short tons of saleable minerals recovered from the ore that was extracted from
24            the ten parcels of land listed in the 97 Deed which is severely insufficient

25            consideration and therefore is a failure of consideration to us by Iluka.

26        65. We allege that the land lease payments were consideration for the right to have
27            priority use over the surface ofthe land in preparation for extracting minerals and
28                                                  22




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     Case 2:25-cv-06135      Document 1-1       Filed 07/07/25      Page 28 of 263 Page ID #:43




 1            priority use while extracting minerals; therefore, payment of land lease payments was
2            not consideration for the saleable minerals recovered from the ore that was extracted

3            from the ten parcels ofland 97 Deed; however, we had included the land lease

4            payments with 27 million dollars of royalties into our offers to restore Iluka with 28.2
              million dollars because Iluka's failure of consideration for the minerals conveyed by
5
             the 97 Deed and later recovered as 22.5 million short tons of saleable minerals from
6
             the ten parcels of land listed in the 97 Deed is so severe, that 28.2 million dollars is
7
             not fair and equitable consideration for said saleable minerals either; therefore,
8
             returning money to Iluka is not applicable. Iluka is also concealing the amount of
9            royalties disbursed for the saleable minerals recovered from the ore extracted from
10           ten parcels ofland listed in the 97 Deed to obstruct rescission which tolls any statute
11           oflimitations for the relief sought under Cal. Civil Code Sec. 1692 and bars any
12           defenses to the relief sought under Cal. Civil Code Sec. 1692 and we allege that ajury

13            must determine any such defenses.

14        56. We allege that we relied on the production information that Iluka reported to the
15            Virginia Department of Mines Minerals and Energy("DMME").

16        67. We allege that Iluka breached a fiduciary duty by not delivering fair and equitable
17           consideration to us for a share of 22.5 million short tons of saleable minerals
18           recovered from the ore that was extracted from the ten parcels of land listed in the 97
19           Deed. The elements ofa cause ofactionfor breach offiduciary duty are the existence

20
             ofafiduciary relationship, its breach, and damage proximately caused by that
              breach. (Knox v. Dean (2012) 205 Cal.App.4th 417, 432-433[140 Cal.Rptr.3d 569].)
21
              Nofraudulent intent is required. (See Civ. Code,§1573 (defining "constructive
22
             fraud"))("Whether afiduciary duty exists is generally a question oflaw.
23
             "[E]xamples ofrelationships that impose afiduciary obligation to act on behalfof
24
              andfor the benefit ofanother are 'ajoint venture, a partnership, or an agency.'But,
25            Itihose categories are merely illustrative offiduciary relationships in which
26           fiduciary duties are imposed by law.'"('Cleveland, supra, 209 Cal.App.4th atp.
27            1339, internal citation omitted.) Whether the defendant breached that duty towards
28                                                 23




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     Case 2:25-cv-06135      Document 1-1        Filed 07/07/25      Page 29 of 263 Page ID #:44




              the plaintiff is a question offact."(Marzec v. Cal. Public Employees' Retirement
 2            System (2015)236 Cal.App.4th 889,915 [187Cal.Rptr.3d 452], internal citation
 3            omitted.)"). Under California state law, because of the complexity ofthe

4             transaction, the Leases necessarily imply a fiduciary duty. RGC was expert in the
              mineral sands mining business and the unsophisticated party, Betty's Parents, were
5
              not expert in the mineral sands mining business and had no way to discover the fraud.
6
              The maintaining and operation of a stock account by RGC as provided by the Leases
7
              also necessarily implies a fiduciary duty.
8
          68. Iluka We further allege that this breach of a fiduciary duty is basis for rescission of
9
              the Leases and the relief that we seek under Cal Civil Code Section 1692.
10

11        69. We also allege that DuPont,Dow,Chemours, Dupont, and Dow Chemical aided and
              abetted Iluka's breach of a fiduciary duty to deliver fair and equitable consideration to
12
              us for the saleable minerals recovered from the ore that was extracted from the ten
13
              parcels of land listed in the 97 Deed by knowingly receiving tons of saleable minerals
14
              recovered from the ore that was extracted from the ten parcels ofland listed in the 97
15
              Deed while knowing that Iluka was underreporting the number oftons of saleable
16            minerals recovered from the ten parcels ofland listed in the 97 Deed and the entire
17            Old Hickory Heavy Mineral Reserve to the DMME,while knowing that this
18            underreported production price-fixing scheme designed by DuPont would cause Iluka
19            to not deliver fair and equitable consideration.to us for the saleable minerals

20            recovered from the ore that was extracted from the ten parcels of land listed in the 97
              Deed and by giving encouragement and substantial assistance to Iluka in its breach of
21
              a fiduciary duty to deliver fair and equitable consideration to us for the saleable
22
              minerals recovered from the ore that was extracted from the ten parcels of land listed
23
              in the 97 Deed and we allege that financial gain motivated DuPont, Dow,Chemours,
24
              Dupont, and Dow Chemical to aid and abet Iluka in its breach of a fiduciary duty to
25            deliver fair and equitable consideration to us for the saleable minerals recovered from
26            the ore that was extracted from the ten parcels of land listed in the 97 Deed and that
27            each entity benefited financially from aiding and abetting Iuka's breach of a fiduciary
28                                                 24




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     Case 2:25-cv-06135     Document 1-1       Filed 07/07/25      Page 30 of 263 Page ID #:45




 1           duty to deliver fair and equitable consideration to us for the saleable minerals
2            recovered from the ore that was extracted from the ten parcels of land listed in the 97

3            Deed and that each entitie's contribution caused us substantial harm. The substantial

4
             assistance that DuPont provided Iluka includes, but is not limited to, DuPont
             knowingly receiving many more tons of saleable minerals recovered from the ore that
5
             was extracted from the ten parcels of land listed in the 97 Deed than the number of
6
             tons of saleable minerals that Iluka reported producing from the entire Old Hickory
7
             Heavy Mineral Reserve to the DMME and concealing the receipt of these tons from
8
             the DMME and its other US regulators including, but not limited to the
9            Environmental Protection Agency("EPA"), as part of the underreported production
10           price-fixing scheme after DuPont encouraged and designed said underreported
11           production price-fixing scheme to obtain saleable minerals recovered from the ore

12           that was extracted from the ten parcels of land listed in the 97 Deed by false

13
             pretenses, as the architect of it, and DuPont converted said tons of saleable minerals
             recovered from the ore that was extracted from the ten parcels of land listed in the 97
14
             Deed into titanium dioxide pigment some of which DuPont sold as titanium dioxide
15
             pigment and some of which DuPont sold in products containing titanium dioxide
16
             pigment while DuPont underreported the production oftitanium dioxide pigment to
17
             its regulators including, but not limited to, the EPA and we allege that this
18           underreported production oftitanium dioxide pigment was part of the underreported
19           production price-fixing scheme for saleable minerals recovered from the ten parcels
20           ofland listed in the 97 Deed and also thwarted competition and that both financial
21           gain and the exclusion and elimination ofcompetition motivated DuPont's conduct.

22
             We allege that DuPont did a spinoff of its titanium dioxide pigment manufacturing
             business into Chemours in an effort to conceal this conduct and after said spinoff
23
             continued to receive large quantities oftitanium dioxide pigment and titanium dioxide
24
             pigment containing products from Chemours while encouraging Chemours to
25
             underreport production of titanium dioxide pigment to its regulators including, but nc
26
             limited to, the EPA to conceal Iluka's failure of consideration to us for the saleable
27           minerals while knowing that said titanium dioxide pigment and titanium dioxide
28                                                25




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     Case 2:25-cv-06135     Document 1-1       Filed 07/07/25      Page 31 of 263 Page ID #:46




 1           pigment containing products were made with saleable minerals recovered from the
2            ore that was extracted from the ten parcels of land listed in the 97 Deed while
3            knowing that Iluka was underreporting the tons of saleable minerals recovered from

4            the ore that was extracted from the ten parcels ofland listed in the 97 Deed and the
             entire Old Hickory Heavy Mineral Reserve to the DMME as part of the underreported
5
             production price-fixing scheme that it designed and while knowing that Iluka would
6
             not deliver fair and equitable consideration to us for the tons ofsaleable minerals
7
             recovered from the ore that was extracted from the ten parcels ofland listed in the 97
8
             Deed. We allege that Chemours knew about the massive reserves listed below the ten
9            parcels of land listed in the 97 Deed because it was a formed by a spinoff of DuPont's
10           titanium dioxide pigment manufacturing business and that officers and other
11           employees from DuPont became Chemours officers and employees and knew that the
12           spinoff was done to conceal the underreported production price-fixing scheme for the

13
             saleable minerals recovered from the ore that was extracted from the ten parcels of
             land listed in the 97 Deed. We further allege that DuPont disguised and concealed
14
             payment to Chemours for said titanium dioxide pigment to aid and abet Iluka's failure
15
             ofconsideration to us for the salable minerals used to make it; and, we allege that
16
             Dow was the largest purchaser of titanium dioxide pigment from DuPont and
17
             Chemours and knew that DuPont and Chemours were underreporting production of
18           titanium dioxide pigment to the EPA add other regulators that regulated their
19           titanium dioxide pigment plants and receiving the tons of saleable minerals to make
20           said titanium dioxide pigment from the Old Hickory Heavy Mineral Reserve and that
21           Iluka was underreporting the production of saleable minerals from the Old Hickory

22
             Heavy Mineral Reserve to the DMME and that Iluka would breach its fiduciary duty
             to pay fair and equitable consideration for said saleable minerals; and, we allege that
23
             Dow provided substantial assistance to Iluka by receiving millions oftons oftitanium
24
             dioxide pigment and products containing titanium dioxide pigment from DuPont and
25
             Chemours that they did not report producing while concealing receipt ofthose tons
26
             and the tons of products it sold containing said tons of titanium dioxide pigment from
27           its regulators including but not limited to the IRS to aid and abet Iluka's failure of
28                                                26




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      Case 2:25-cv-06135     Document 1-1        Filed 07/07/25      Page 32 of 263 Page ID #:47




 1            consideration to us for said saleable minerals and benefit financially and that it did
 2            benefit financially and that its conduct caused us substantial harm. By knowingly

 3            concealing the number of tons of said titanium dioxide pigment and products

 4
              containing titanium dioxide pigment that it received from DuPont and Chemours,
              Dow knowingly participated in the concealment of the number oftons of saleable
 5
              minerals recovered from the ore that was extracted from the ten parcels ofland listed
 6
              in the 97 Deed and Dow engaged in accounting practices to disguise and conceal
 7
              payment to DuPont and Chemours for titanium dioxide pigment and titanium dioxide
 8
              pigment containing products in the furtherance of this underreported production
 9            price-fixing scheme, and we allege that Dow benefited financially by receiving said
•10           tons oftitanium dioxide pigment and titanium dioxide pigment containing products at
•11           extremely low prices and later merged with DuPont thereby forming DowDuPont to

12            conceal the underreported production price-fixing scheme for saleable minerals

13            recovered from the ore that was extracted from the ten parcels of land listed in the 97
              Deed and we allege that DowDuPont aided and abetted Iluka in its breach of a
14
              fiduciary duty to deliver fair and equitable consideration to us for the 22.5 million
15
              short tons of saleable minerals recovered from the ore that was extracted from the ten
16
              parcels of land listed in the 97 Deed by conduct that includes, but is not limited to,
17
              providing substantial assistance to Chemours by receiving more tons of titanium
18            dioxide pigment and products containing titanium dioxide pigment from Chemours
19            than Chemours was reporting that it produced to its regulators including, but not
20            limited to, the EPA while receiving said tons of titanium dioxide pigment from
21            Chemours at below market prices while knowing that Chemours was making those

22
              tons oftitanium dioxide pigment with saleable minerals recovered from the ore that
              was extracted from the ten parcels ofland listed in the 97 Deed, while knowing that
23
              Iluka was underreporting the number oftons of saleable minerals that it was
24
              recovering from the ore that was extracted from the ten parcels ofland listed in the 97
25
              Deed and the entire Old Hickory Heavy Mineral Reserve to the DMME while
26
              knowing that this conduct was part of a price-fixing scheme for saleable minerals
27            recovered from the ore that was extracted from the ten parcels of land listed in the 97
28                                                  27




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     Case 2:25-cv-06135      Document 1-1        Filed 07/07/25     Page 33 of 263 Page ID #:48




 1           Deed, and while knowing that Iluka would not deliver fair and equitable
2            consideration to us for the tons ofsaleable minerals recovered from the ore that was
3            extracted from the ten parcels of land listed in the 97 Deed,and we allege that the

4            payment from DuPont and Chemours to Iluka for the tons ofsaid saleable minerals
             that they received was a small percentage ofthe fair market value of said tons of
5
             saleable minerals and that they obtained them by false pretenses and that it was their
6
             intention to cause loss and damage to us by said underreported production price-
7
             fixing scheme and that they knowingly and maliciously caused us loss and harm and •
8
              we allege that the succeeding entities of Dupont, Dow Chemical, and Corteva, Inc.
9            each have liability to us for it.
10
          70. We also allege that the officers in the seed and crop protection businesses within
11
             DuPont and Dow were aware ofthe underreported production price-fixing scheme
12
             alleged herein and participated in it and that revenues from the titanium dioxide
13           pigment manufacturing business,PVC plastics business, and other products that used
14           large amounts oftitanium dioxide pigment were being disguised and concealed
15            within the seed and crop protection business segments and other business segments

16            within DuPont and Dow and that the development and growth of the seed and crop

17
             protection businesses was funded with ill-gotten profits from the underreported
              production price-fixing scheme and DowDuPont did a spinoffof the seed and crop
18
              protection businesses into Corteva, Inc. to conceal this conduct. We further allege
19
             that Corteva, Inc.'s officers are aware ofthe accounting fraud of ill-gotten profits
20
             concealed within the prior seed and crop protection businesses of DuPont, Dow,and
21
             DowDuPont to assist Iluka's failure of consideration to us for the saleable minerals
22            and that after the spinoff Corteva, Inc. has engaged in fraudulent transactions to
23            conceal the fraudulent accounting, ill-.gotten revenue and equity preserved within it to
24            provide substantial assistance to Iluka to conceal its breach of a fiduciary duty to

25            deliver fair and equitable consideration to us for the saleable minerals and continues

26
              to reinvest the fraudulently obtained profits concealed within it from the unreported
              production price-fixing scheme for saleable minerals recovered from.the ore that was
27
              extracted from the ten parcels ofland listed in the 97 Deed. We further allege that
28                                                 28




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      Case 2:25-cv-06135     Document 1-1        Filed 07/07/25     Page 34 of 263 Page ID #:49




 I             DuPont's operational consulting and training businesses were part ofthe ongoing
 2             underreported production price-fixing scheme and that DuPont encouraged large
 3             titanium dioxide pigment purchasers to participate in fraudulent transactions for these

 4
               operational consulting and training services and that DuPont delivered significant
               quantities oftitanium dioxide pigment and products containing titanium dioxide
               pigment to these large customers and received consideration for it booked as the sale
 6
               ofoperational consulting and training services. The customers that engaged in these
 7
               accounting practices, or knew about them, knew that DuPont was underreporting the
 8
               production oftitanium dioxide pigment. We also allege that, in addition to the        -
 9             outright sale of titanium dioxide pigment produced with saleable minerals recovered
10             from the ore that was extracted from the ten parcels of land listed in the 97 Deed,
1.1            many ofthe products sold by DuPont, Chemours, and Dow contained large amounts
12             oftitanium dioxide pigment including, but not limited to, paint and coatings and that

13             the titanium dioxide pigment in these products was produced with saleable minerals
               recovered from the ore that was extracted from the ten parcels ofland listed in the 97
14
               Deed. DuPont sold several products that were essentially batches containing large
15
              _ weight-percentages oftitanium dioxide pigment that customers needing titanium
16
               dioxide pigment could have mixed internally in their manufacturing processes and
17
               such products were utilized by DuPont to disguise the sale oftitanium dioxide
18             pigment produced with saleable minerals recovered from the ore that was extracted
19             from the ten parcels ofland listed in the 97 Deed.
20
            71. We also allege that the conduct complained of in this complaint is also common law
21
               conversion however, we only choose the bases for rescission and remedies available
22             for ajury trial about the proportional liability of each defendant for the 22.425 billion
23             dollar value ofthe one-third share ofthe saleable miners recovered from the ore that
24             was extracted from the ten parcels ofland listed in the 97 Deed and the punitive
25             damages due from each defendant under California law which include ajury trial for

26
               a bare money judgement for the value of the one-third share of the minerals conveyed
               to Betty P. Graham by the 97 Deed and later recovered, as saleable minerals, from the
27
               ore that was extracted from the ten parcels ofland listed in the 97 Deed and the      .
28                                                  29




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         Case 2:25-cv-06135      Document 1-1        Filed 07/07/25      Page 35 of 263 Page ID #:50




     1            punitive damages in this action for relief under Cal. Civil Code Sec. 1692 based on
    2             rescission as determined by ajury and each ofthe Defendants has liability to us in the
    3             jury trial for rescission due to their participation in the underreported production

    4             price-fixing scheme which caused Iluka's failure of consideration to us for the one-
                  third share ofthe minerals conveyed to Betty P. Graham by the 97 Deed and later
    5
                  recovered, as saleable minerals,from the ore that was extracted from the ten parcels
                  ofland listed in the 97 Deed.
    7
               72. We allege that Kerr-McGee Corporation knowingly received tons ofsaleable
    8
                  minerals recovered from the ore that was extracted from the ten parcels ofland listed
    9
                  in the 97 Deed while engaging in price-fixing with Iluka to obtain said saleable
    10
                  minerals at below fair and equitable prices while knowing that Iluka was
    11
                  underreporting the tons ofsaleable minerals recovered from the ore that was extracted
    12
                  from the ten parcels of land listed in the 97 Deed and the entire Old Hickory Heavy
    13            Mineral Reserve to the DIVIME while knowing that Iluka would not deliver fair and
    14            equitable consideration to us for the tons ofsaleable minerals recovered from the ore
    15            that was extracted from the ten parcels of land listed in the 97 Deed while it
    16            underreported production oftitanium dioxide pigment to the DMME.

    17        73. We allege that Dupont and its officers, and directors are actively participating in an
    18            ongoing fraudulent scheme to deprive Betty P. Graham and her family offair and
    19            equitable consideration for the one-third share ofthe minerals conveyed by the 97

    20            Deed and later recovered, as saleable minerals,from the ore that was extracted from
                  the ten parcels ofland listed in the 97 Deed.
    21

    22        74. We allege that Dow Chemical and is actively participating in an'ongoing fraudulent
    23            scheme to deprive Betty P. Graham and her family of fair and equitable consideration

    24
                  for the one-third share ofthe minerals conveyed by the 97 Deed and later recovered,
                  as saleable minerals,from the ore that was extracted from the ten parcels of land
    25
                  listed in the 97 Deed.
•   26

    27

    28                                                  30




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     Case 2:25-cv-06135     Document 1-1        Filed 07/07/25      Page 36 of 263 Page ID #:51




          75. We allege that Chemours is actively participating in a fraudulent scheme to deprive
2            Betty P. Graham and her family offair and equitable consideration for the one-third
 3           share ofthe minerals conveyed by the 97 Deed and later recovered, as saleable

4             minerals,from the ore that was extracted from the ten parcels ofland listed in the 97
             Deed.
5

6         76. We allege that Corveta,Inc. is actively participating in a fraudulent scheme to deprive

7            Betty P. Graham and her family offair and equitable consideration for the one-third

8
             share ofthe minerals conveyed by the 97 Deed and later recovered, as saleable
             minerals,from the ore that was extracted from the ten parcels ofland listed in the 97
9
             Deed.
10

11        77. We allege that Iluka is actively participating in a fraudulent scheme to deprive Betty
             P. Graham and her family offair and equitable consideration for the one-third share
12
             ofthe minerals conveyed by the 97 Deed and later recovered,as saleable minerals,
13
             from the ore that was extracted from the ten parcels ofland listed in the 97 Deed.
14

15
          78. We allege that Dupont,Dow Chemical, Corteva, Inc., and Chemours are collectively
             the largest financial beneficiary of lluka's failure of consideration to us for the
16
             saleable minerals recovered from the ore that was extracted from the ten parcels of
17
             land listed in the 97 Deed and continue to actively conceal the underreported
18
              production price-fixing scheme that deprived Betty P. Graham and her family offair.
19
             and equitable consideration for the saleable minerals recovered from the ore that was
20           extracted from the ten parcels of land listed in the 97 Deed.
21
          79. We allege that Tronox knowingly engaged in price-fixing to obtain tons of saleable
22
              minerals that were recovered from the ore that was extracted from the ten parcels of
23
              land listed in the 97 Deed at below fair and equitable prices while knowing that Iluka
24            was underreporting the tons ofsaleable minerals recovered from the ore that was
25            extracted from the ten parcels of land listed in the 97 Deed to the DMME,as part of
26           the underreported production price-fixing scheme, while knowing that Iluka would

27            not deliver fair and equitable consideration to us for the saleable minerals recovered

28                                                 31




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     Case 2:25-cv-06135        Document 1-1       Filed 07/07/25      Page 37 of 263 Page ID #:52




             from the ore that was extracted from the ten parcels of land listed in the 97 Deed
2               while it underreported production oftitanium dioxide pigment produced with said
3            saleable minerals at its Savanna,GA and Hamilton, MS titanium dioxide plants to its

4            regulators including, but not limited to, the EPA as it used said saleable minerals to
              produce titanium dioxide pigment at its Hamilton, MS and Savanna GA titanium
5
             dioxide plants; and, we allege that Tronox sold some ofsaid titanium dioxide pigment
6
              in Los Angeles County California, Los Angeles County California, and elsewhere in
7
              California while concealing the volume ofthese sales. We allege that the tons of the
8
              saleable minerals obtained by Tronox that were recovered from the ore that was
.9              extracted from the ten parcels of land listed in the 97 Deed were obtained by false
10              pretenses. We allege that Tronox provided substantial encouragement to Iluka to
11              breach its fiduciary duty to deliver fair and equitable consideration to us for said
12            saleable minerals and that it provided substantial assistance to Iluka by

13
                underreporting its production of titanium dioxide pigment to said regulators and that
                it benefited financially by obtaining said tons ofsaleable minerals at below fair and
14
                equitable prices. We allege that the tons of the saleable minerals obtained by Tronox
15
                that were recovered from the ore that was extracted from the ten parcels of land listed
16
                in the 97 Deed were obtained by false pretenses.
17
          80.
18

19        81. We allege that Millennium Inorganic Chemicals, Inc., and Millennium Chemicals,

20              Inc. collectively ("Millennium")knowingly engaged in price-fixing to obtain tons of
                saleable minerals that were recovered from the ore that was extracted from the ten
21
                parcels ofland listed in the 97 Deed at below fair and equitable prices while knowing
22
                that Iluka was underreporting the.tons ofsaleable minerals recovered from the ore
23
                that was extracted from said parcels to the DMME as part of the underreported
24
                production price-fixing scheme while knowing that Iluka would not deliver fair and
25              equitable consideration to us for the saleable minerals recovered from the ore that was
26              extracted from the ten parcels ofland listed in the 97 Deed while it underreported its
27              Baltimore Maryland and Ashtabula Ohio titanium dioxide plants' production to its
28                                                    32




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     Case 2:25-cv-06135      Document 1-1       Filed 07/07/25      Page 38 of 263 Page ID #:53




              regulators including, but not limited to the states of Maryland, Ohio, and the EPA to
              aid and abet Iluka's failure of consideration to us for said saleable minerals and that
              this conduct caused us substantial harm; and, we allege that Millennium sold some of
              said titanium dioxide pigment in California while concealing the quantity ofthese
              sales to aid and abet Ilulca's failure ofconsideration to us for said saleable minerals.
              We allege that Millennium provided substantial encouragement to Iluka to breach its
              fiduciary duty to deliver fair and equitable consideration to us for said saleable
              minerals and that it provided substantial assistance to Iluka by underreporting its
              production oftitanium dioxide pigment to said regulators and that it benefited
9             financially by obtaining said tons of saleable minerals at below fair and equitable
10            prices. We allege that the tons ofthe saleable minerals obtained by Millennium that
11            were recovered from the ore that was extracted from the ten parcels ofland listed in
12            the 97 Deed were obtained by false pretenses.

           82. We allege that the National Industrialization Company("TANSEE")provided
14            substantial encouragement to Iluka to breach its fiduciary duty to deliver fair and
15            equitable encouragement to us for the one-third share of the saleable minerals

16            recovered from the ten parcels of land listed in the 97 Deed and engaged in price-

17
              fixing to obtain tons ofsaleable minerals that were recovered from the ore that was
              extracted from the ten parcels of land listed in the 97 Deed at below fair and equitable
18
              prices while knowing that Iluka was underreporting the tons of saleable minerals
19
              recovered from the ore that was extracted from        parcels to the DMME as part of
20
              the underreported production price-fixing scheme while knowing that Iluka would not
21
              deliver fair and equitable consideration to us for the saleable minerals recovered from
22            the ore extracted from the ten parcels_of land listed in the 97 Deed and provided
23            substantial support to llulca by underreporting its production of titanium dioxide
24            pigment to its regulators including but not limited to the EPA to aid and abet Iluka in
25            its failure of consideration to us for said saleable minerals and that TANSEE profited

26
              from this conduct that caused us substantial harm; and, we allege that TANSEE sold
              some ofsaid titanium dioxide pigment in California while concealing the quantity of
27
              these sales. We further allege that TANSEE knew about us and the minerals located
28                                                  33




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     Case 2:25-cv-06135      Document 1-1        Filed 07/07/25      Page 39 of 263 Page ID #:54




 1            below the ten parcels ofland listed in the 97 Deed. We further allege that TANSEE
2             obtained said saleable minerals by false pretenses.
3
          83. We allege that the National Titanium Dioxide Company Ltd. provided substantial
4             encouragement to Iluka to breach its fiduciary duty to deliver fair and equitable
5             consideration to us for the saleable minerals extracted from the ore that was recovered
6             from the ten parcels of land listed in 97 Deed and engaged in price-fixing to obtain

7             tons of saleable minerals that were recovered from the ore that was extracted from the
              ten parcels ofland listed in the 97 Deed at below fair and equitable prices while
8
              knowing that Iluka was underreporting the tons of saleable minerals recovered from
9
              the ore that was extracted from said parcels to the DMME as part of the
10
              underreported production price-fixing scheme while knowing that Iluka would not
11
              deliver fair and equitable consideration to us for the saleable minerals recovered from
12
              the ore that was extracted from the ten parcels of land listed in the 97 Deed while it
13            underreported its production oftitanium dioxide pigment to its regulators including,
14            but not limited to the EPA to aid and abet Iluka's failure of consideration to us for
15            said saleable minerals and that it did all of these bad acts for profit and profited
16            substantially from engaging in this conduct that was directed at us wherever and

17
              whenever the failure of consideration occurred and it occurred in California and this
              conduct caused us substantial harm; and, we allege the National Titanium Dioxide
18
              Company Ltd sold titanium dioxide pigment containing some of said titanium dioxide
19
              pigment California while concealing the quantity ofthose sales to aid and abet Iluka's
20
              failure of consideration to us for said one-third share ofthe saleable minerals. We
21
              allege that the National Dioxide Company Ltd. We allege that National Titanium
22            Dioxide Company Ltd. knew about us and the minerals located below the ten parcels
23            of land listed in the 97 Deed. We further allege that Cristal obtained said saleable
24            minerals by false pretenses.
25         84. We allege that Cristal was acquired by Ineos and that Tronox was involved in
26            facilitating the transaction while both Ineos and Tronox knew that TANSEE,National
27            Titanium Dioxide Company, Ltd., and Cristal provided substantial encouragement to
28                                                  34




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     Case 2:25-cv-06135     Document 1-1        Filed 07/07/25      Page 40 of 263 Page ID #:55




 1           Iluka to breach its fiduciary duty to deliver fair and equitable consideration to us for
2             the saleable minerals and provided substantial assistance to Iluka by underreporting
 3            its production oftitanium dioxide pigment at its Ashtabula, OH titanium dioxide

4
              pigment plants knowingly received tons ofsaleable minerals that were recovered
             from the ore that was extracted from the ten parcels of land listed in the 97 Deed
5
              while knowing that Iluka was underreporting production to the DMME,as part ofthe
6
              underreported production price-fixing scheme, while knowing that Iluka would not
7
              deliver fair and equitable consideration to us for the saleable minerals recovered from
8
              the ore that was extracted from the ten parcels ofland listed in the 97 Deed while it
9             underreported production oftitanium dioxide pigment to its regulators including, but
10            not limited to, the EPA;and, we allege that Cristal sold some of said titanium dioxide
11            pigment in Los Angeles California while concealing the quantity ofthese sales to aid
12            and abet Iluka's breach offiduciary duty to deliver fair and equitable consideration to

13
              us for said saleable minerals and benefited financially from such conduct that caused
              us substantial harm.
14

15        85. We allege that Ineos engaged in price-fixing to obtain tons ofsaleable minerals that
16            were recovered from the ore that was extracted from the ten parcels ofland listed in

17
              the 97 Deed at below fair and equitable prices while knowing that Iluka was
              underreporting the tons of saleable minerals recovered from the ore that was extracted
18
             from said parcels to the DMME,as part ofthe underreported production price-fixing
19
              scheme, while knowing that Iluka would not deliver fair and equitable consideration
20
              to us for the saleable minerals recovered from the ore that was extracted from the ten
21
              parcels ofland listed in the 97 Deed while Ineos provided substantial encouragement
22            to Iluka to breach its fiduciary duty to us and provided substantial assistance to Iluka
23            in its failure of consideration to us by underreporting production of titanium dioxide
24            pigment at its Ashtabula, OH titanium dioxide plant to its regulators including, but
25            not limited to the state of Ohio.and the EPA; and,that it sold some of said titanium

26
              dioxide pigment in California while concealing the quantity ofthese sales to aid and
              abet Iluka's breach offiduciary duty to us and benefited,financially by doing so,
27
              purposefully availed itself of California jurisdiction by doing so and caused us
28                                                 35




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           Case 2:25-cv-06135     Document 1-1        Filed 07/07/25       Page 41 of 263 Page ID #:56




       1            substantial harm by doing so. We allege that the Ineos obtained said tons ofsaleable
      2             minerals by false pretenses and that Ineos was aware of us and the minerals located
      3             below the ten parcels of land listed in the 97 Deed.

      4         86. We allege Kronos Worldwide,Inc.("Kronos Worldwide")is a Delaware corporation
      5             with its principal place of business in Texas and that it drilled into the subsurface
      6             minerals located below the ten parcels ofland listed in the 97 Deed and tested the
      7             quality ofthe minerals therefrom because Betty's parents.told us so and because a

      8
                    geologist that drilled and tested said parcels in 1989 told Laurence Laurence did not
                    directly talk to any geologists that were employed by Kronos to confirm so. We
      9
                    further allege that Kronos Worldwide had the expertise to build the Lake Charles
      10
                    Louisiana titanium dioxide pigment plant and built it with the intention of acquiring
      11
                    saleable minerals recovered from the ten parcels of land listed in the 97 Deed by false
      12
                    pretenses. We allege that Huntsman Corporation("Huntsman")and Kronos
      13            Worldwide owned the Lake Charles Louisiana titanium dioxide pigment plant and
•     14            partnered in a joint venture named Louisiana Pigment Company,L.P.("LPC")to
      15            operate the Lake Charles Louisiana titanium dioxide pigment plant. We allege that
      16            Kronos World Wide and Huntsman provided substantial encouragement to Iluka by

    • 17
                    encouraging it to underreport the production ofsaleable minerals extracted from the
                    ten parcels of land listed in the 97 Deed and breach its fiduciary duty to deliver fair
      18
                    and equitable consideration to us for said saleable minerals and informed Iluka that it
      19
                    would help conceal said underreported production by, among other things,
     20
                    underreporting titanium dioxide pigment production ofthe LPC titanium dioxide
     21
                    pigment plant to the EPA and state regulators. We allege that Kronos and Huntsman
     22             knowingly engaged in price-fixing to obtain tons ofsaleable minerals that were
     23             recovered from the ore that was extracted from the ten parcels of land listed in the 97
     24             Deed at below fair and equitable prices while knowing that Iluka was underreporting
     25             the tons ofsaleable minerals recovered from the ore that was extracted from said

     26
                    parcels to the DMME,as part ofthe underreported production price-fixing scheme
                    and they benefited financially by doing so and caused us harm by doing so because
     27
                    they knew that Iluka would not deliver fair and equitable consideration to us for the
     28                                                  36




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     Case 2:25-cv-06135     Document 1-1        Filed 07/07/25     Page 42 of 263 Page ID #:57




 I           *saleable minerals recovered from the ore extracted from the ten parcels of land listed
2            in the 97 Deed and we allege that they purposefully availed themselves of California
3            jurisdiction by aiding and abetting the failure of consideration wherever and

4
             whenever it occurred and it occurred in California. We further allege that Kronos and
             Huntsman sold some ofsaid titanium dioxide pigment in California, while concealing
5
             the volume of said sales to aid and abet Iluka's failure of consideration to us. We
6
             further allege that Huntsman knowingly used some of said titanium dioxide pigment
7
             in Los Angeles California to make other products that contained some ofsaid
8
             titanium dioxide pigment and sold products in Los Angeles California that contained
9            some of said titanium dioxide pigment, while concealing the volume of said sales to
10           help conceal Iluka's failure ofconsideration to us; and, we allege that Huntsman spun
11           offits titanium dioxide manufacturing business and its share of Louisiana Pigment
12           into Venator Materials plc which owns and controls several entities and subsidiaries

13
             including Venator Materials LLC. Venator Materials plc and Venator Materials LLC
             are collectively ("Venator")and that after said spinoff Huntsman knowingly
14
             purchased and used titanium dioxide pigment from produced from saleable minerals
15
             that were recovered from the ore that was extracted from the ten parcels ofland listed
16
             in the 97 Deed to make other products in California while knowing that LPC and
17
             Venator Materials plc, and Kronos Worldwide were underreporting their Lake
18           Charles Louisiana titanium dioxide pigment plant's production to their regulators
19           including, but not limited to, the state of Louisiana and the EPA,as part of the
20           underreported production price-fixing scheme, while knowing that Iluka would not
21           deliver fair and equitable consideration to us for the saleable minerals recovered from

22
             the ore extracted from the ten parcels of land listed in the 97 Deed to aid and abet
             Iluka's failure of consideration to us wherever and whenever it occurred and it
23
             occurred in California; therefore, they purposefully availed themselves of California
24
             jurisdiction; and, we allege that Venator sold some ofsaid titanium dioxide pigment
25
             in California while concealing the volume ofthese sales to aid and abet Iluka's failure
26
             ofconsideration to us. We allege that Venator and Kronos obtained said saleable
27           minerals by false pretenses.
28                                                37




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        Case 2:25-cv-06135     Document 1-1        Filed 07/07/25      Page 43 of 263 Page ID #:58




             87. We allege that Venator Materials plc is an entity organized and existing under the
  2             laws ofthe United Kingdom with its principal place of business in the United
  3             Kingdom.

  4          88. Venator Materials, LLC is a limited liability company organized in Delaware and a
  5             citizen of Delaware.
  6
             89. We allege that OXY is a large producer ofPVC plastics and participated in the
  7
                underreported production price-fixing scheme for saleable minerals recovered from
  8             the are that was extracted from the ten parcels ofland listed in the 97 Deed while
  9             knowing that Iluka would not deliver fair and equitable consideration to us for the
 10             saleable minerals recovered from the ore that was extracted from the ten parcels of

 11             land listed in the 97 Deed; and, we allege that OXY sold products containing some of
                said saleable minerals in California and concealed the quantity of such sales to aid
 12
                and abet Ilulca's failure ofconsideration to us for said third-share ofthe saleable
 13
                 minerals wherever and whenever it occurred which is purposeful availment of
'14
                jurisdiction in California because the failure ofconsideration occurred in California.
 15
                 We further allege that OXY inherited Kerr-McGee Corporation's liabilities and has
 16
                certain assets in the US that may be liquidated to pay for its liability to us. We further
 17             allege that OXY was aware ofthe minerals located below the ten parcels ofland
 18              listed in the 97 Deed,the conveyance of the one-third share of said minerals by the 97
 19             Deed and that lluka was involved in the 02-26 contested deed litigation prior to the

 20 ,           settling ofsuch litigation because Laurence talked with a Kerr-McGee executive
                about the minerals located below the ten parcels ofland listed in the 97 Deed and the
 21
                02-26 contested deed litigation and that Kerr-McGee suddenly changed from a firm
 22
                 that was interested in entering leases to mine the minerals located below the ten
 23
                 parcels ofland listed in the 97 Deed to an entity that was not interested and informed
 24
                 Laurence thereof by their executive informing Laurence that he was concerned about,
 25             ‘`...getting his head blown off by one ofthese big Australian mining companies." We
 26              believe that DuPont and Iluka influenced Kerr-McGee to make that veiled threat to
 27             Laurence. We further allege that Kerr-McGee provided substantial assistance to Iluka
 28                                                   38




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     Case 2:25-cv-06135      Document 1-1       Filed 07/07/25      Page 44 of 263 Page ID #:59




 1           to breach its fiduciary duty to deliver fair and equitable consideration to us for said
2            one-third share ofthe saleable minerals by underreporting the production oftitanium

3            dioxide pigment at its Hamilton Mississippi titanium dioxide plant and Savanna

4            Georgia titanium dioxide plant to its regulators including, but not limited to, the EPA
             and obtained said tons of saleable minerals by false pretenses. We further allege that
5
             OXY concealed the volume of sales ofPVC and other products containing titanium
6
             dioxide pigment made with our saleable minerals to aid and abet Iluka's breach of
7
             fiduciary duties to deliver fair and equitable consideration to us for said saleable
8
              minerals and that some of such conduct occurred in California which is purposeful
9            availment of Californiajurisdiction and caused us substantial harm.
10
          90. We allege that Precision Castparts Corp. is a Delaware corporation with its principal
11
              place of business in acquired Titanium Metals Corporation with the assumption of
12
             liabilities related to its business. Precision Castparts Corp. and Titanium Metals
13           Corporation are collectively referred to as("TIMET-PCP"). TEMET-PCP provided
14           substantial encouragement and assistance to Iluka by knowingly engaging in price-
15           fixing to obtain tons ofsaleable minerals that were recovered from the ore that was

16           extracted from the ten parcels ofland listed in the 97 Deed at below fair and equitable

17
              prices while knowing that Iluka was underreporting the tons ofsaleable minerals
             recovered from the ore that was extracted from said parcels and the entire Old
18
              Hickory Heavy Mineral Reserve to the DMME,as part of the underreported
19
              production price-fixing scheme that it knew DuPont designed and that it knew the
20
              titanium dioxide pigment producers where engaging in, while knowing that Iluka
21
              would not deliver fair and equitable consideration to us for the saleable minerals
22           recovered from the ore that was extracted from the ten parcels of land listed in the 97
23           Deed and we allege that TIMET-PCP caused us substantial harm by participating in
24            the underreported production price-fixing scheme and sold products containing some

25            of said saleable minerals in California. We allege that TIMET-PCP also produced
              titanium sponge in Vallejo California with the saleable minerals obtained from Iluka
26
              throughout 2020, and likely produced some during the period of2021-224 that it is
27
              concealing it to thwart rescission and aid and abet Iluka's breach of fiduciary duties to
28                                                 39




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     Case 2:25-cv-06135      Document 1-1       Filed 07/07/25      Page 45 of 263 Page ID #:60




 1            us. We allege that TIMET-PCP obtained tons of saleable minerals in California and
2             elsewhere from Iluka by false pretenses.
3
          91. We allege that Berkshire Hathaway Inc.("BH")is a Delaware Corporation with its
4             principal place of business in Omaha Nebraska. We allege that BH acquired Precision
5             Castparts Corp. with the assumption of liabilities related to its business; therefore, BH
6             owns Precision Castparts Corp. and Titanium Metals Corporation and owns all ofthe

7             liability to us that they have and are insolvent for. Although we have great respect

8
              and admiration for the charitable contributions that its chairman has made to various
              causes, it has a large amount of liability to us and we expect that it will embrace our
9
              PFAS settlement fund because it will also be a charitable contribution; and, BH will
10
              pay whatever portion ofthe 125 billion dollars plus jury award that it has to pay to us
11
              although we would rather settle with BH and have it become an advocate for the
12
              PFAS settlement fund before we render Dupont,Dow Chemical, Corteva, Inc.,
13            Chemours, and certain of the other defendants insolvent for the liability that they ha
14            to us. Because BH owns Precision Castparts Corp. and Titanium Metals Corporation
15            and they have purposefully availed themselves ofthe jurisdiction ofthe California

16            Superior Court, as alleged in this complaint,BH has also availed itself of said
              jurisdiction. Furthermore,BH is at home in California as it owns numerous
17
              businesses in California and has numerous employees in California in addition to the
18
              employees of Precision Castparts Corp. and Titanium Metals Corporation located in
19
              California who are witnesses.
20
           92. We allege that Kinder Morgan,Inc.("KM")is a Delaware Corporation with its
21
              principal place of business in Houston Texas has been the operator of warehouses and
22
              property used to store the saleable minerals recovered from the ore that was extracted
23
              from the ten parcels ofland listed in the 97 Deed and provided substantial
24
              encouragement and assistance to Iluka while knowingly participating in the
25            underreported production price-fixing scheme for saleable minerals recovered from
26            the ore that was extracted from the ten parcels ofland listed in the 97 Deed while
27            knowing that Iluka would not deliver fair and equitable consideration to us for the
28                                                  40




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     Case 2:25-cv-06135     Document 1-1       Filed 07/07/25     Page 46 of 263 Page ID #:61




 1           saleable minerals recovered from the ore that was extracted from the ten parcels of
2            land listed in the 97 Deed; and that KM stored some ofsaid saleable minerals and

3            products containing some of said saleable minerals in Los Angeles California and that

4
             KM may still have some ofthe saleable minerals stored in Los Angeles California
             and elsewhere in California. We allege that before any minerals were ever extracted
5
             from the ten parcels of land listed in the 97 Deed,KM was involved in the advance
6
             planning ofthe unreported production price-fixing scheme by acquiring warehouse;v
7
             and property to store said saleable minerals and provided substantial encouragement
8
             and assistance to Iluka to proceed with the underreported production price-fixing
9            scheme. KM profited substantially from the underreported production price-fixing
10           scheme and because the amount of production was not reported, KM did not pay
11           taxes on the profits that it made and concealed this information from regulators to
12           further aid and abet Iluka and that the other defendants that had minerals shipped to

13
             their plants at our expense because KM knew that Iluka would not deliver fair and
             equitable consideration to us for said minerals. KM provided substantial assistance to
14
             conceal the stockpiling of minerals that Iluka could not do in Virginia for fear of
15
             exposing underreported production price-fixing scheme. We allege that KM aided
16
             and abetted the defendants that received said saleable minerals by false pretenses and
17
             Iluka's failure of consideration to us and benefited financially for said conduct which
18           caused us harm. Furthermore, some ofsaid conduct occurred in California; therefore,
19           KM purposefully availed itself ofthe jurisdiction ofthe California Courts.
20
          93. We allege that DuPont was the architect ofthe underreported production price-fixing
21
             scheme for saleable minerals recovered from the ore that was extracted from the ten
22            parcels of land listed in the 97 Deed and knowingly engaged in price-fixing to obtain
23           tons of said saleable minerals at below fair and equitable prices while knowing that
24           Iluka was underreporting the tons of saleable minerals recovered from the ore that

25            was extracted from said parcels to the DMME,as part ofthe underreported
              production price-fixing scheme, while knowing that Iluka would not deliver fair and
26
              equitable consideration to us for the saleable minerals recovered from the ore that was
27
              extracted from the ten parcels of land listed in the 97 Deed while DuPont
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     Case 2:25-cv-06135      Document 1-1        Filed 07/07/25      Page 47 of 263 Page ID #:62




 I            underreported its De Lisle Mississippi, Edge More Delaware, New Johnsonville
2             Tennessee, and Altamira Mexico plants' production oftitanium dioxide pigment to its

3             regulators including, but not limited to, their state regulators and the EPA as it used

4             said saleable minerals to produce titanium dioxide pigment at its at its De Lisle
              Mississippi, Edge More Delaware, Altamira Mexico, and New Johnsonville
5
              Tennessee plants; and, we allege that DuPont sold some ofsaid titanium dioxide
6
              pigment and other products containing some ofsaid titanium dioxide pigment in
7
              California while concealing the volume ofand revenue from those sales to aid and
8
              abet Iluka's breach of a fiduciary duty to deliver fair and equitable consideration to us
9             for said saleable minerals whenever and wherever it occurred and it occurred in
10            California and we allege that DuPont obtained said saleable minerals by false
11            pretenses.
12
           94. We allege that Chemours knowingly engaged in price-fixing to obtain tons ofsaid
13            saleable minerals that were recovered from the ore that was extracted from the ten
14            parcels of land listed in the 97 Deed at below fair and equitable prices while knowing
15            that Iluka was underreporting the tons of saleable minerals recovered from the ore

16            extracted from said parcels to the DMME,as part of the underreported production
              price-fixing scheme while knowing that Iluka would not deliver fair and equitable
17
              consideration to us for the saleable minerals recovered from the ore that was extracted
18
              from theten parcels ofland listed in the 97 Deed while Chemours underreported its
19
              De Lisle Mississippi, Edge More Delaware, Altamira Mexico,and New Johnsonville
20
              Tennessee plants' production oftitaniunidioxide pigment to its regulators including,
21
               but not limited to, its state regulators and the EPA to aid and abet Iluka's failure of
22            consideration to wherever and whenever it occurred and it occurred in California
23             while it used said saleable minerals to produce titanium dioxide pigment at its at its
24            De Lisle Mississippi, Edge More Delaware, Altamira Mexico, and New Johnsonville

25            Tennessee plants; and, we allege that Chemours sold some ofsaid titanium dioxide
               pigment and other products containing some ofsaid titanium dioxide pigment in Los
26
               California while concealing the volume of and revenue from these sales to aid and
27
               abet Iluka's breach of a fiduciary duty to deliver fair and equitable consideration to us
28                                                  42




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     Case 2:25-cv-06135     Document 1-1       Filed 07/07/25      Page 48 of 263 Page ID #:63




 1           for said saleable minerals all of which conduct caused us substantial harm. We allege
2            that Chemours obtained said saleable minerals by false pretenses. We allege that
3            Dupont, Dow Chemical, Chemours, Corveta, Inc., OXY, Huntsman,KM,Kronos

4
             Worldwide, Venator, HAK,TIMET-PCP,Ineos,JM,TANSEE,Reed Mayo and other
             unnamed companies and individuals referred to herein as DOES are actively
5
             participating in a fraudulent scheme to deprive Betty P. Graham and her family offair
6
             and equitable consideration for the one-third share ofthe minerals conveyed by the 97
7
             Deed and later recovered, as saleable minerals,from the ore that was extracted from
             the ten parcels of land listed in the 97 Deed and that each ofthese entities and other
9            unnamed companies referred to herein as DOES has liability to us for their evil and
10           malicious participation in the underreported production price-fixing scheme alleged
11           above that caused loss and harm to us and the liability is equal to one-third ofthe
12           present fair market value ofthe saleable minerals recovered from the ore that was

13
             extracted from the ten parcels of land listed in the 97 Deed plus punitive damages.
             The secret meetings started in 1989 on the ten parcels ofland listed in the 97 Deed
14
             and continued at annual titanium dioxide industry conferences dating back into the
15
             early 1990s and more recently the TiO2 Summit conferences that date back to the
16
             early 2000s in various iterations in which these defendants met annually in locations
17
             in the US and around the world to conspire about obtaining our saleable minerals by
18           false pretenses and they also did so substantially with continuous communications to
19           and meetings at Kinder Morgan storage facilities and terminals in California,
20           Pennsylvania, and the other Kinder Morgan terminals and storage facilities near the
21           other titanium dioxide plants, and ports beginning in the early 2000s before 2002 and

22
             it is ongoing. The Pennsylvania Terminal was a location for continuous meetings and
             communications between Iluka and DuPont and Kinder Morgan officers before the
23
             beginning of mining until the end and afterwards with the concealment and harboring
24
             ofthe minerals obtained by false pretenses for dissipation to plants in the region att
25
             up to Ohio as well as the export of tons ofzircon and titanium minerals. We are going
26
             to discover off-shore entities that they created and used to conceal their obtaining the
27

28                                                43




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     Case 2:25-cv-06135     Document 1-1        Filed 07/07/25     Page 49 of 263 Page ID #:64




 1            minerals by false pretenses and we'll track down the dissipation ofthe ill-gotten gains
2             to corrupt officers and agents that preserve them.
3
          95. We allege that J-M has used thousands oftons oftitanium dioxide pigment per year
4            containing saleable minerals recovered from the ore that was extracted from the ten
5             parcels of land listed in the 97 Deed to manufacture PVC pipe and obtained said
6             titanium dioxide pigment from some ofthe titanium dioxide pigment producers that

7             have been named as defendants in this action while knowing that they were engaged
              in the underreported production oftitanium dioxide pigment while J-M provided
8
              substantial assistance to said titanium dioxide pigment producers and Iluka as it aided
9
              and abetted the underreported production oftitanium dioxide pigment and the
10
              underreported production of saleable minerals recovered from the ore that was
11
              extracted from the ten parcels ofland listed in the 97 Deed while knowing that Iluka
12
              was underreporting the production ofsaleable minerals recovered from the Old
13            Hickory Heavy Mineral Reserve to the DMME and would not deliver fair and
14            equitable consideration for said saleable minerals. J-M is engaged in secret meetings
15            and communications to aid and abet and the underreported production price-fixing

16            scheme alleged herein from which J-M financially benefited by obtaining thousands
              oftons oftitanium dioxide pigment per year made with the saleable minerals
17
              recovered from the or that was extracted from the ten parcels ofland listed in the 97
18
              Deed at below market prices while knowing that the underreported production of
19
              titanium dioxide pigment by the titanium dioxide pigment producing defendants was
20
              part of the underreported production price-fixing scheme to aid and abet Iluka's
21
              failure of consideration for the saleable minerals recovered from the ten parcels of
22            land listed in the 97 Deed; and, we allege that J-M sold products containing some of
23            said saleable minerals in California while concealing the volume ofsaid sales to aid
24            and abet Iluka's failure ofconsideration for the saleble minerals recovered from the

25            ore that was extracted from the ten parcels of land listed in the 97 Deed.

26         96. We allege that Dupont, Dow Chemical, Chemours,Corveta, Inc., OXY, Huntsman,

27            KM,ICronos Worldwide, Venator, HAK,TIMET-PCP,Ineos, JM,TANSEE,Reed
28                                                 44




                                                  62
     Case 2:25-cv-06135      Document 1-1        Filed 07/07/25     Page 50 of 263 Page ID #:65




 1            Mayo and other unnamed companies and individuals referred to herein as DOES
2            continue to actively participate in a fraudulent scheme to conceal the failure of
3            consideration by Iluka to us for the minerals conveyed by the 97 Deed and later

4
             recovered, as saleable minerals, from the ore that was extracted from the ten parcels
             ofland listed in the 97 Deed to aid and abet Iluka's breach of a fiduciary duty to
5
             deliver fair and equitable consideration to us for said saleable minerals.
6

7         97. We request that the Court take judicial notice of
              https://www.lawyerdb.org/lawyer/kenneth-reed-mayo/ and all other directories of
8
             lawyer credentials regarding Kenneth Reed Mayo's prior employment as proof that
9
              he was an associate in Hunton & Williams and Hunton & Williams LLP,collectively
10
             and hereinafter("HW"). The firms of Hunton & Williams LLP and Andrews Kurth
11
             Kenyon LLP merged to form Hunton Andrews Kurth LLP("HAK")and HAK
12
              provided substantial assistance to Iluka by advising Iluka to aid and abet Iluka in its
13            breach of its fiduciary duty to deliver fair and equitable consideration to us for the
14           saleable minerals recovered from the ten parcels of land listed in the 97 Deed and on
15            how to breach its fiduciary duty to disclose how many tons of each kind of mineral •
16            that it has extracted from the acres ofland described in the 97 Deed and the location

17
             of each of those tons to us in California which was done with malice and evil intent
              towards each of us, see attached letter from Iluka to Los Gatos, CA dated 6/12/2023
18
              which included the MEMORANDUM OF TERMINATION OF MINING LEASE
19
              prepared by HAK("EXHIBIT F")as evidence of HAK's evil and malicious conduct
20
              ofaiding and abetting Iluka to deprive us offair and equitable consideration for the
21
              saleable minerals recovered from the ten parcels of land listed in the 97 Deed in
22            California and evidence of HAK's liability for its evil and malicious conduct of
23            aiding and abetting Iluka's breach of its fiduciary duties to deliver reporting to us
24            about the saleable minerals to us in California and aiding and abetting breach of
25            fiduciary duties to disclose information about the saleable minerals to us in

26
              California, concealment, and aiding and abetting Iluka's failure to deliver fair and
              equitable consideration to us for the saleable minerals in California.
27

28                                                  45




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     Case 2:25-cv-06135      Document 1-1        Filed 07/07/25      Page 51 of 263 Page ID #:66




          98. We also allege an ongoing conspiracy to commit and conceal fraud by Dupont, Dow
2            Chemical, Chemours,Iluka, and each ofthe other named defendants and other
3            unnamed companies referred to herein as DOES with secret meetings and

4            communications between these defendants to conceal the failure ofconsideration for
             the minerals conveyed by the 97 Deed and later recovered, as saleable minerals,from
5
             the ore that was extracted from the ten parcels of land listed in the 97 Deed and that
6
             such conduct amounts to an enterprise engaged to commit fraud.
7

8
          99. We allege that the defendants conspired to committed fraud in litigation against us in
             California Superior Court County of San Francisco Case #: CGC-24-611963,"San
9
             Francisco litigation", to cause us expense and delay and that this conduct also tolled
10
             any statute oflimitations.
11
          100.    We allege that the defendants' reference to saleable minerals as ore is evidence of
12
             fraud, active concealment,and ongoing conspiracy to conceal the failure of
13
             consideration to us for the saleable minerals recovered from the ore that was extracted
14
             from the ten parcels of land listed in the 97 Deed because ore is the sediment that
15
              minerals exist within when in the ground and the failure ofconsideration that formed
16           the basis for rescission occurred in California and is for saleable minerals that were
17            recovered from ore not ore.
18
           101.   We allege that the defendants that obtained the tons oftitanium minerals by price-
19
             fixing and the titanium dioxide pigment produced therefrom also have liability to us
20           for the failure of consideration to us for the tons ofzircon minerals because the failure
21            of consideration to us for the zircon minerals was part ofthe furtherance of said
22            scheme that they aided and abetted and financially benefited from and they were all
23            aware of it as they aided and abetted Iluka's failure of consideration to us for all the

24
              tons ofsaleable minerals recovered from the ore that was extracted from the ten
              parcels of land listed in the 97 Deed.
25

26         102.   We allege that the defendants that obtained the tons oftitanium minerals,obtained

27            them by false pretenses and also have liability to us for the failure of consideration to

28                                                  46




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     Case 2:25-cv-06135     Document 1-1       Filed 07/07/25      Page 52 of 263 Page ID #:67




 1           us for the tons ofzircon minerals because the failure ofconsideration to us for the
2            zircon minerals was part ofthe furtherance ofsaid scheme that they aided and abetted

3            and financially benefited from and they were all aware of it as they aided and abetted

4
             Iluka's failure ofconsideration to us for all the tons ofsaleable minerals recovered
             from the ore that was extracted from the ten parcels ofland listed in the 97 Deed.
5

6         103.   We also allege that Iluka, Iluka Aus,DuPont, Chemours,Kerr-McGee

7            Corporation, Millennium, Huntsman,Kronos Worldwide, Venator, TANSEE,
             Tronox, Ineos, and TIMET-PCP, were engaged in ongoing price-fixing for the
8
             saleable minerals recovered from the ore that was extracted from the ten parcels of
9
             land listed in the 97 Deed, with DuPont being succeeded by Chemours, Millennium
10
             being succeeded by and that the succeeding entities are now engaged in ongoing
11
             price-fixing to suppress the market prices of minerals similar to the saleable minerals
12
             recovered from the ore that was extracted from the ten parcels of land listed in the 97
13           Deed to conceal the prior price-fixing of said saleable minerals, the failure of
14           consideration to us for said saleable minerals, and reduce the value received by us for
15           the rescission ofthe Leases pertaining to the one-third share ofthe minerals conveyed

16           by the 97 Deed and later recovered, as saleable minerals,from the ore that was

17
             extracted from the ten parcels ofland listed in the 97 Deed and this this conduct
             suppressed the prices of said saleable minerals and similar saleable minerals in
18
             California and continues to do so.
19

20        104.   We also allege that DuPont, Chemours,Kerr-McGee Corporation, Millennium,
             Huntsman,ICronos Worldwide, Venator, TANSEE,Tronox,Ineos, and TIMET-PCP,
21
             were engaged in price-fixing for the saleable minerals recovered from the ore that
22
             was extracted from the ten parcels of land listed in the 97 Deed and that the
23
             succeeding entities were also engaged in said price fixing and that the succeeding
24
             entities are now engaged in ongoing price-fixing to suppress the market prices of
25           minerals similar to the saleable minerals recovered from the ore that was extracted
26           from the ten parcels ofland listed in the 97 Deed to conceal the prior price-fixing of
27           said saleable minerals, the failure ofconsideration to us for said saleable minerals,
28                                                47




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      Case 2:25-cv-06135     Document 1-1        Filed 07/07/25      Page 53 of 263 Page ID #:68




              and reduce the value received by us for the rescission ofthe Leases pertaining to the
2             one-third share of the minerals conveyed by the 97 Deed and later recovered, as

3             saleable minerals, from the ore that was extracted from the ten parcels of land listed

4             in the 97 Deed and this this conduct suppressed the prices of said saleable minerals
              and similar saleable minerals in California.
5

6          105.   We also allege that the above alleged underreported production price-fixing

7             scheme for saleable minerals recovered from the ore that was extracted from the ten

8
              parcels of land listed in the 97 Deed is tortious interference with the Leases and that
              Dupont, Dow Chemical, Chemours, Corveta,Inc., OXY, Huntsman,KM,ICronos
9
               Worldwide, Venatot, Iluka, HAK,TIMET-PCP,and Ineos and other unnamed                .
10
              companies referred to herein as DOES caused us harm by their evil and malicious act
11
              of engaging in said tortious conduct and each ofthese Defendants and other unnamed
12
              companies referred to herein as DOES has liability to us for the loss and damage
13            caused to us by said conduct.
14
           106.   We also allege that the underreported production price-fixing scheme for saleable
15
               minerals recovered from the ore that was extracted from the ten parcels of land listed
16          • in the 97 Deed is tortious interference with contract expectations as the fair and
17            equitable consideration that we expected under the Leases was not delivered to us by
18            Iluka and each of Defendants and the other unnamed companies referred to herein as
19.           DOES caused us harm by their evil and malicious act of engaging in said tortious

20            conduct and each ofthe Defendants and other unnamed companies referred to herein
               as DOES has liability to us for the loss and damage caused to us by said conduct.
21

22         107.    We allege that none of the Defendants were a party to the Leases when signed;

23            therefore, none of the defendants have a right to compel arbitration and the

24
               unavailability of punitive damages and legal fees is a surprise.

25         108.    We allege that Iluka did not exist in 1989.
26
           109.    We allege that the leases were fraudulently induced in 1989 but neither Betty nor
27             Laurence nor Betty's other son Luke P. Graham ("Luke") was in Virginia in 1989.
28                                                  48           •




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         Case 2:25-cv-06135     Document 1-1       Filed 07/07/25      Page 54 of 263 Page ID #:69




              110.   We allege that by concealing the number oftons of each kind of mineral extracted
    2            from the acres ofland described in the 97 Deed that Iluka concealed the number of
    3            tons of each kind of saleable mineral recovered from the ore that was extracted from

    4            the ten parcels of land listed in the 97 Deed.

    5         111.   We also allege that Iluka breached a fiduciary duty by its concealment ofthe
    6            number of tons of each kind of mineral that was extracted from the acres of land

    7            described in the 97 Deed that included the ten parcels ofland listed in the 97 Deed.

    8
                 We further allege that this breach of a fiduciary duty is basis for rescission ofthe
                 Leases and the relief we seek under Cal Civil Code Section 1692.
    9

    10        112.   We also allege that Iluka breached a fiduciary by its concealment of the number

    11           oftons ofeach type of mineral that were extracted from the acres ofland described in
                 the 97 Deed that included the ten parcels ofland listed in the 97 Deed and the fair
    12
                 market value of each ofthose tons. We further allege that this breach of a fiduciary
    13
                 duty is basis for rescission of the Leases and the relief that we seek under Cal Civil
    14
                 Code Section 1692.
    15
              113.   We also allege that Iluka breached a fiduciary by its concealment of the number
•   16
                 oftons of each kind of mineral that it has extracted from the acres ofland described
    17
                 in the 97 Deed that included the ten parcels ofland listed in the 97 Deed and the fair
    18
                 market value of each ofthose tons. We further allege that breach ofa fiduciary duty is
    19
                 basis for rescission ofthe Leases and the relief that we seek under Cal Civil Code
    20           Section 1692. We further allege that this breach of a fiduciary duty is basis for
    21           rescission ofthe Leases and the relief that we seek under Cal Civil Code Section
    22            1692.
    23
              114.   We also allege further malicious and evil conduct which includes, but is not
    24           limited to, the manipulative and tortious use of undue influence by Iluka's officers,
    25           Reed Mayo,HW,and other rogue attorneys to induce Betty and Luke into a 2002
    26           Sussex County Virginia court case that contained 02-26 in the case number; and, your

    27           manipulation of Betty's parents is also appalling. Bringing you to justice with guilty

    28                                                49




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     Case 2:25-cv-06135     Document 1-1        Filed 07/07/25     Page 55 of 263 Page ID #:70




 1           pleas from your officers, Reed Mayo, and other attorneys that aided and abetted you
2            is an important part of this. You know that the Sussex County, VA 02-26 contested

3            deed litigation ("02-26 lawsuit") was life threateningly stressful and harmful to Betty

4            and tremendously stressful and harmful to Laurence and that it was motivated by the
             furtherance of a fraudulent scheme. HW provided substantial assistance to Iluka in
5
             planning and implementing the tortious inducement of Betty and Luke into the 02-26
6
             lawsuit. The severe undue influence that put Betty and Luke under duress included,
7
             but is not limited to, Iluka's threatening not to mine over Laurence's inquiries about
8
             the minerals that elicited the instruction not to mine from Betty and quickly turned
9            into threats to sue Betty and destroy her financial securitS,from Iluka and its agents
10           all while Iluka and its agents sought to deprive Betty of her rights. In 2001 or 2002
11           HW was brought in to help Iluka gain access to the minerals conveyed by the 97
12           Deed and advised Iluka to continue with threats to sue Betty that Iluka had been

13            making since early in 2001 and also provided substantial assistance to Iluka by
             drafting the complaint for the 02-26 lawsuit that was designed to gain access to the
14
              minerals conveyed by the 97 Deed, which Laurence and Betty had denied by telling
15
             Iluka not to mine; and, HW advised Iluka in the recruitment of Harry Benjamin
16
              Vincent, Esq.("Mr. Vincent")(now deceased)and helped Iluka gain his loyalty to
17
             help Iluka file and prosecute the 02-26 lawsuit. I, Laurence J. Graham, spoke with
18            lulca's officer by telephone in 2002 and he threatened to sue me to set aside Betty's
19            10/23/200 Deed of Gift explaining that HW had drafted a complaint to set aside
20            Betty's Deed of Gift to me and my brother Luke based on undue influence and that
21            Iluka's attorney Mr. Vincent would file it if! kept requesting information about the

22            minerals. I, Laurence J. Graham,spoke with Iluka's officer multiple times and he was
              commonly evasive and aggressive and I fear for my safety after enduring the duress
23
              leading up to, during, and since the 02-26 lawsuit. Iluka and its agents had destroyed
24
              Betty's free will before the filing ofthe 02-26 lawsuit with evil and malicious intent
25
              to do so and HW was aware of it and participated in it with evil and malicious intent.
26
              The evil and Malicious treatment of Betty by Iluka and its agents caused Betty to be
27            admitted into a mental health hospital and stay for several days and she was later
28                                                 50




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      Case 2:25-cv-06135     Document 1-1       Filed 07/07/25      Page 56 of 263 Page ID #:71




              admitted into an assisted living facility. Iuka, HW,and Mr. Vincent proceeded to
 4.           effect the filing ofthe 02-26 lawsuit with Iluka as a defendant, then HW advised Iluk
3             to delay the resolution of the 02-26 lawsuit and directed the litigation with Iluka by

4             instructing Mr. Vincent to take actions to prolong the 02-26 lawsuit and thwart
              settlement. HW knew before it joined in the design and implementation ofthe 02-26
5
              lawsuit,that after gaining access to the minerals conveyed by the 97 Deed was
6
              achieved, depriving us offair and equitable consideration for the saleable minerals
7
              recovered from the ten parcels ofland listed in the 97 Deed would be the objective
8
              and that lluka would not deliver fair and equitable consideration to us for the saleable
9              minerals recovered from the ten parcels ofland listed in the 97 Deed although it knew
10            that Iluka had a fiduciary duty to do so which is aiding and abetting the breach of a
11            fiduciary duty and HW did it for financial gain.
12
           115.   We also allege that, in the operation oftheir fraudulent scheme, the defendants
13             have committed numerous,tortous and criminal acts in attempt to deprive Betty of
14            her rights which is an ongoing source of harm to Betty and Laurence.
15
           116.   We allege that each ofthe Defendants participated in the underreported
16            production price-fixing scheme and helped to conceal the underreported volume of
17            products sold in California that contained the saleable minerals recovered from the
18            ore that was extracted from the ten parcels ofland listed in the 97 Deed which is
19            aiding and abetting Iluka's breach of a fiduciary duty to deliver fair and equitable

20            consideration to us for the one-third share of said saleable minerals and that this
              conduct by each ofthe defendants is purposeful availment ofjurisdiction in Californa
21
              and that it was directed at us wherever and whenever the failure ofconsideration
22
              occurred and it occurred in California.
23

24
           117.   We also allege that Iluka has been concealing the amount ofconsideration that it
              disbursed for the saleable minerals recovered from the ore that was extracted from the
25
              ten parcels of land listed in the 97 Deed in attempt to thwart and obstruct the
26
              rescission ofthe Leases but, with Iluka's final representation ofroyalties due for the
27
              saleable minerals recovered from the ore that was extracted from the ten parcels of
28                                                 51




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     Case 2:25-cv-06135     Document 1-1        Filed 07/07/25      Page 57 of 263 Page ID #:72




 1           land listed in the 97 Deed, Laurence calculated that the total amount disbursed for the
2            minerals conveyed by the 97 Deed and later recovered, as saleable minerals, from the

3            ore that was extracted from the ten parcels ofland listed in the 97 Deed at less than 27

4            million dollars and there were land lease payments disbursed that Laurence calculated
             to be less than 1.2 million dollars.
5

6         118.    Virginia is not a convenient venue for either of us and we have never appeared in

7            court there and Betty fears that the defendants will falsely imprison her in Virginia
             and we hereby notify you that we object to any legal proceedings in Virginia. I, Betty
8
             Patrick Graham, hereby notify you that I fear that Iluka seeks to weaponize Virginia
9
             courts to harm by the use of unethical and unlawful tactics intended to delay and
10
             deprive and that it is a threat to me to ever have to appear in any legal proceeding in
11
              Virginia, therefore I object to it. We object to any legal proceedings in Virginia
12
              because, among other reasons, it is an inconvenient venue; and, we reserve the right
13           to assert other bases to determine Virginia courts inappropriate for any litigation
14            involving us which may include, but is not limited to, you perpetrating frauds in and
15            upon Virginia courts. Furthermore, it is important to note that the delay tactics used

16            by Iluka are enormously harmful and have taken so much ofour lives and its efforts

17
              to delay and try to avoid wire fraud charges and likely prosecution for other criminal
              charges is also part ofthe furtherance of a fraudulent scheme.
18

19         119.   I, Laurence John Graham,believe that you have spent millions trying to deprive

20            Betty P. Graham of her rights. It may be discovered that the amount of questionable
              payments made to rogue lawyers and others acting unlawfully to influence the
21
              outcome of litigation involving us is many times more than the 6.445 million dollar
22
              payment that DuPont made to the law firm of Friedman, Rodriguez, Ferraro, and St.
23
              Louis that was alleged to have influenced a Miami,FL Benlate case. Betty and I
24
              empathize with the Benlate victims who valiantly soughtjustice against DuPont. The
25            reported sum total that DuPont paid out for judgments and settlements in Benlate
26            litigation seems unconscionably low as are the PFAS settlements and we intend to set
27            forth a plan for all the cancer victims and their survivors. Abuse and alleged
28                                                  52




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     Case 2:25-cv-06135     Document 1-1        Filed 07/07/25      Page 58 of 263 Page ID #:73




 1           corruption of the justice sysiern by DuPont de Nemours, Inc.,("Dupont"), Corteva,
2            Inc., Dow Inc. The Dow Chemical Company, and The Chemours Company is also a

3            public interest concern as the 6.445 million dollar payment that DuPont made to the

4            law firm of Friedman, Rodriguez, Ferraro, and St. Louis was alleged to have
             influenced a Miami,FL Benlate case and now their PFAS settlements are
5
             unconscionably low. Plaintiffs don't believe that most PFAS cancer victims and their
6
             survivors have a fair chance in court against these defendants and our experience
7
             reinforces that belief, see, https://www.ewg.org/news-insights/news/why-are-dupont-
8
             and-chemours-still-discharging-most-notorious-forever-chemical which we request
9            that the Court take judicial notice of. Considering the 22.425 billion dollar value of a
10           one-third share of the saleable minerals recovered from ore that was extracted from
11           the ten parcels of land listed in the 97 Deed and the punitive damages due to us in tEs
12           action for relief under Cal. Civil Code Sec. 1692 for rescinding the Leases, we

13
             believe that we will recover over 125 billion dollars and will only consider offers for
             settlement that exceed 125 billion dollars with 120 billion of it going into a PFAS
14
             settlement fund for the PFAS cancer victims and their survivors. As we have learned
15
             more about these chemicals called "forever chemicals" that stay in the soil and
16
             groundwater and accumulate in people and cause cancer, we determined that it is
17
             more equitable to contribute a large portion ofthe proceeds from the liquidation of
18           the insolvent defendants and a large portion ofthe proceeds from any judgement
19           solvent defendants to PFAS victims. PAFS chemicals may stay in the environment
20           for thousands of years so 120 billion is not going to pay for injury to all of the
21           victims, some of which haven't even been born yet. Increasing awareness ofthe

22
             PFAS crisis is important to stopping production ofthese chemicals and finding
             solutions. Certain ofthese defendants are known for changing the name ofPFAS
23
             chemicals and altering them slightly to avoid regulation. Rendering these defendants
24
             insolvent due to the liability that they have to us and our donation to a PFAS
25
             settlement fund will be meaningful not only because those who have been harmed
26
             will be compensated but because it will stop certain ofthese defendants from
27           continuing to produce PFAS chemicals. The PFAS settlement fund needs to have the
28                                                 53




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      Case 2:25-cv-06135     Document 1-1        Filed 07/07/25      Page 59 of 263 Page ID #:74




 I             money to.pay viatimS and then pay it out because the justice system is not working
 2             for the victims. Many ofthe victims are sick and grieving and have adversely       •
 3.            impacted income, depleted savings and other challenges that render them unable to

4              endure the bad faith frauds upon courts that these defendants commit. We also want
               to consider the pension obligations ofthe insolvent defendants and have requested
 5
               auditable accounting of such obligations from some ofthe insolvent defendants but
6
               the pensions ofsenior executives such as Charles 0. Holliday, Jr.("Mr. Holiday"),
 7
               who was president ofthe titanium dioxide division of DuPont and became chief
 8
               executive officer, will not be honored because he participated in the design ofthe
9              underreported production price-fixing scheme and became CEO of DuPont to
1.0            implement the company-wide accounting fraud. However,there are many thousands
11             of pensioners other than the board members, senior managers, and senior plant
12             engineers who knew about the underreported production at those plants and the

13             resulting environmental damage and reduced tax revenue, see
               https://iehn.org/resources/resolution/dupont-costslof-pfoa-related-pollution-
14
               remediation-trom-facilities which we request that the Court take judicial notice of.
15
               We are taking this case to ajury and Mr. Holliday can have his time before the jury
16
               which should result in a perp walk and a conviction. He was the scienter ofthe
17
               underreported production price-fixing scheme and we expect that his attorneys will
18             argue that he does not have to go to jail because he exited DuPont. He did exit
19             DuPont and we believe that he did so to avoid a several decades long prison sentence
20             which could have exceeded his life. He then applied his law firm connections and
21             scorched earth litigation prowess to help Bank of America avoid financial crisis

22
               liability. Mr. Holliday was CEO ofDuPont when DuPont made the 6.445 million
               dollar payment to the law firm ofFriedman, Rodriguez, Ferraro, and St. Louis that
23
               was widely criticized as a payoff to influence litigation, see
24
               firmhttps://archive.blogs.harvard.edu/ethicalesq/2003/09/10/ethics-charges-come-
25
               late-in-miami-benlate-case/ which we request that the Court take judicial notice of;
26
               see also, https://www.panna.org/archive/panna-dupont-convicted-racketeering-
27             benlate-case/ which we request that the Court take judicial notice of. However,there
I.                                                  54




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     Case 2:25-cv-06135             Document 1-1           Filed 07/07/25        Page 60 of 263 Page ID #:75




 1                are more pensioners that know and feel what it means to be a citizen ofthis country
2                 than the defendants can stifle. The pensioners who worked in titanium dioxide
3                 pigment plants and PVC plants can come clean and will deserve respect for doing so.

4                 Those who are willing to turn over evidence against these defendants will be given
                  consideration to keep their pensions vested. Unfortunately, the unreported production
5
                  oftitanium dioxide pigment is also a large environmental crime. Titanium dioxide
6
                  pigment plants are known to be the largest emitters of dioxins into the atmosphere of
7
                  all US industrial plants and the executives ofthe titanium pigment producing
8
                  defendants knew it in 1989 which has been a motivating factor for underreported
9                 production at these plants and continues to be a motivating factor for concealing the
10                underreported production given the storms and wildfires that the emissions ofthe
11                titanium dioxide pigment plants are a measurable contributor to. Now we are left to
12                deal with winding down and liquidating the insolvent defendants and we will do a

13                better job of it than the management that is participating in concealing the
                  underreported production price-fixing scheme and we are going to do it with
14
                  compassion for the pensioners. Initially our plan was to donate part ofthe proceeds of
15
                  the jury award to charities that have a record ofsuccessful contribution but knowing
16
                  about DuPont's conduct in the Benlate litigation and seeing the bad faith conduct by
17
                  the defendants in the San Francisco litigation has opened our eyes to the PFAS
18                litigation and the PFAS crisis. See, https://chemsec.org/reports/the-top-12-pfas-
19                producers-in-the-world-and-the-staggering-societal-costs-of-pfas-pollution/ which we
20                request that the Court take judicial notice of. As anyone can see by the defendants'
21                conduct in the San Francisco litigation their officers and directors are only increasing

22
                  their liability. The defendants don't have any valid defense for their liability to us and
                  committed fraud in court as is evidenced by the declaration ofJoseph Mullins
23
                 ("EXHIBIT J")2 which they all adopted in support. Said declaration is fraudulent for
24
                  many reasons, one of which is found in EXHIBIT J at page 2, at lines 7-9 which is
25

26

27
     2 EXHIBIT J includes pages 1-5 of the declaration of Joseph Mullins, exhibits are excluded.

28                                                            55




                                                             73
     Case 2:25-cv-06135      Document 1-1        Filed 07/07/25     Page 61 of 263 Page ID #:76




              paragraph 5 by which Iluka and the other defendants claimed that, "...Iluka supplied
              minerals within a geographic market that almost exclusively included consumers of
3             mineral sands products primarily in Ohio, Delaware, South Carolina, Alabama,

4             Tennessee, New York and New Hampshire.", which is a fraudulent statement, part of
              a fraudulent declaration, perjury, and clearly intended to conceal the fact that the
5
              titanium dioxide pigment plants in Mississippi and Louisiana were continuously
6
              supplied with saleable minerals that were recovered from the ore that was extracted
7
             from the ten parcels of land listed in the 97 Deed,see the attached map showing the
8
              location of many ofthe plants that were supplied with saleable minerals recovered
9            from the ore that was extracted from the ten parcels of land listed in the 97 Deed.
10            Furthermore, the claim that New Hampshire is a significant state in which minerals
11            are distributed is not plausible because there aren't any plants in New Hampshire. In
12            light ofthe map that Iuka produced,EXHIBIT K,in which Iluka delineated the

13            location of its customers, the Court must conclude that the defendants have
              committed fraud and perjury in the San Francisco litigation with the Joseph Mullins
14
              declaration, EXHIBIT J. The reason that the defendants have committed fraud and
15
              perjury in court with the Joseph Mullins declaration, EXHIBIT J, is because they
16
              have a large amount of liability to us without any valid defense. Most of the
17
              defendants are insolvent for their liability to us.
18
           120.   As was required by California law, prior to rescinding the Leases, I, Laurence
19
              John Graham,first offered to restore Iluka. Although I allege that the portion ofthe
20
              Leases pertaining to the one-third share of the minerals conveyed to Betty by the 97
21
              Deed and later recovered, as saleable minerals,from the ore that was extracted from
22            the ten parcels of land listed in the 97 Deed Leases has been rescinded and that I have
23            previously offered to restore Iluka prior to rescinding said portion of the Leases, I will
24            here again offer to restore Iluka although this offer does not and cannot disturb the

25            prior rescission ofsaid portion ofthe Leases. Now, by the powers that I have, to

26
              bring, prosecute, and settle all claims involving the one-third share ofthe minerals
              conveyed to Betty by the 97 Deed, which include, but are not limited to, the powers
27
              and authority to represent Betty's interests and Luke's interests which were awarded
28                                                  56




                                                   74
     Case 2:25-cv-06135     Document 1-1        Filed 07/07/25     Page 62 of 263 Page ID #:77




 1           to me in the settlement ofthe 02-26 lawsuit by the 9/29/03 settlement agreement, I
2            hereby offer to return 9 million dollars of royalties to Iluka which is more than the
3            maximum amount that was disbursed for the one-third share ofthe minerals conveyed

4
             to Betty by the 97 Deed and later recovered, as saleable minerals, from the ore that
             was extracted from the ten parcels ofland listed in the 97 Deed and I also offer to
5
             return $400,000.00 dollars ofthe land lease payments; and, by such powers, I hereby
6
             also offer to return 9 million dollars of royalties to Iluka which is more than the
7
             maximum amount that was disbursed for the one-third share ofthe minerals conveyed
8
             to Julia P. Boyd,(also known as Julia H.Parson) by the 97 Deed and later recovered,
9
             as saleable minerals,from the ore that was extracted from the ten parcels ofland
10           listed in the 97 Deed and I also offer to return another $400,000.00 dollars ofthe land
11           lease payments; and, by such powers, I hereby to also offer to return 9 million dollars
12           ofroyalties to Iluka which is more than the maximum amount that was disbursed for

13
             the one-third share ofthe minerals conveyed to Ann P. Everett by the 97 Deed and
             later recovered, as saleable minerals, from the ore that was extracted from the ten
14
              parcels ofland listed in the 97 Deed and I also offer to return another $400,000.00 of
15
             the land.lease payments.
16
          121.   Although,in the paragraph above,I again offered to restore Iluka more than the
17
             total amount in dollars that was disbursed to Betty's parents, their three daughters,
18
             and their grandchildren for the minerals conveyed by the 97 Deed and later recovered,
19
             as saleable minerals,from the ore that was extracted from the ten parcels ofland
20
              listed in the 97 Deed which I, Laurence John Graham,calculated to be less than 27
21
              million dollars ofroyalties that were disbursed as consideration for said saleable
22            minerals. I also calculated that less than $1,200,000.00 of land lease payments were
23            disbursed although they aren't consideration for the saleable minerals and I offered to
24            restore Iluka those land lease payments in addition to 27 million dollars of royalties
25            but the $22,425,000,000.00(22.425 billion dollars) value ofa one-third share of the
              minerals recovered, as saleable minerals,from the ore that was extracted from the ten
26
              parcels ofland listed in the 97 Deed exceeds 28.2 million dollars; therefore, returning
27
              money to Iluka is not applicable; and, ajury must determine the value of the punitive
28                                                 57




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     Case 2:25-cv-06135     Document 1-1        Filed 07/07/25      Page 63 of 263 Page ID #:78




 1           damages which will probably increase the recovery to over 125 billion dollars which
2            is an additional reason that returning money to Iluka is not applicable.
3
          122.   I, Laurence J. Graham, have the powers to bring, prosecute, and settle all claims
4            involving the minerals conveyed to Betty by the 97 Deed, which include, but are not
5            limited to,the powers and authority to represent Betty's interests and Luke's interests
6             which were awarded to me in the settlement ofthe 02-26 lawsuit by the 9/29/03

7            settlement agreement,and based upon a failure ofconsideration for the minerals

8
             conveyed to Betty P. Graham by the 97 Deed and later recovered, as saleable
              minerals, from the ore that was extracted from the ten parcels ofland listed in the 97
9
             Deed and each separate allegation made hereinabove, I have already rescinded the
10
             portion ofthe Leases pertaining to 60% of the one-third share ofthe minerals
11
             conveyed to Betty by the 97 Deed and later recovered, as saleable minerals,from the
12
             ore that was extracted from the ten parcels of land listed in the 97 Deed and the other
13           40% ofthe one-third share ofthe minerals conveyed to Betty by the 97 Deed and later
14           recovered, as saleable minerals,from the ore that was extracted from the ten parcels
15            ofland listed in the 97 Deed and,to the extent that it is determined that I did not
16           rescind said portions ofthe Leases,I hereby separately rescind them based upon a

17
             failure of consideration; and, by such powers, and based upon a failure of
             consideration for the one-third share of the minerals conveyed to Julia P. Boyd (also
18
              known as Julia H,Parson) by the 97 Deed and later recovered, as saleable minerals,
19
             from the ore that was extracted from the ten parcels of land listed in the 97 Deed and
20
              the other separate allegations made herein above,I separately rescinded the portion of
21
              the Leases pertaining to the one-third share ofthe minerals conveyed to Julia P. Boyd
22           (also known as Julia H. Parson) by the 97 Deed and later recovered, as saleable
23            minerals, from the ore that was extracted from the ten parcels ofland listed in the 97
24            Deed and,to the extent that it is determined that I did not rescind said portion ofthe
25            Leases, I hereby separately rescind it based upon a failure of consideration; and, by

26
              such powers, and based upon a failure ofconsideration for the one-third share of the
              minerals conveyed to Ann P. Everett by the 97 Deed and later recovered, as saleable
27
              minerals,from the ore that was extracted from the ten parcels of land listed in the 97
28                                                 58




                                                   76
         Case 2:25-cv-06135     Document 1-1       Filed 07/07/25      Page 64 of 263 Page ID #:79




     1           Deed and the other separate allegations made herein above, I separately rescinded the
    2            portion pfthe Leases pertaining to the one-third share ofthe minerals conveyed to

    3            Ann P. Everett by the 97 Deed and later recovered, as saleable minerals,from the ore

    4
                 that was extracted from the ten parcels of land listed in the 97 Deed and,to the extent
                 that it is determined that I did not rescind said portion ofthe Leases, I hereby rescind
    5
                 it based upon a failure of consideration. Now,I demand that you immediately pay
    6
                 $22,396,800,000.00(22.3968 billion dollars)for the one-third share ofthe minerals
    7
                 conveyed to Betty by the 97 Deed and later recovered, as saleable minerals,from the
    8
                 ore that was extracted from the ten parcels of land listed in the 97 Deed by sending a
    9            check c:o Laurence J. Graham to 4647 Kingswell Ave Ste 105 Los Angeles, CA
    10           90027 as this is my address for payment ofthe rescission money.
    11
              123.   Immediate proofthat you have the money to pay $125,000,000,000.00 is
    12
                 demanded from you and I reserve the right to demand proof of additional liquid
    13           funds; recovering these funds is the avenue that I choose as having a bankruptcy court
    14           dissolve your companies is not the relief sought; however, I reserve all rights to
    15           recoverthe money judgement that is sought herein together with punitive damages.

    16        124.   I, Betty Patrick Graham, believe that the sum total of royalties disbursed for the
    17           one-third share ofthe minerals that were conveyed to me by the 97 Deed and later
    18           recovered, as saleable minerals,from the ore that was extracted from the ten parcels
    19           ofland listed in the 97 Deed is severely insufficient and therefore a failure of

    20
                 consideration for the one-third share ofthe minerals conveyed to me by the 97 Deed.
                 and later recovered, as saleable minerals,from the ore that was extracted from the ten
    21
                 parcels ofland listed in the 97 Deed; therefore, I, Betty Patrick Graham offered to
    22
                 return 9 million dollars ofroyalties to Iluka which is more than the maximum sum
    23
                 total amount that was disbursed for the one-third share of the minerals conveyed to
    24
                  me by the 97 Deed and later recovered, as saleable minerals, from the ore that was
    25           extracted from the ten parcels of land listed in the 97 Deed and I also offered to return
    26           $400,000.00 of land lease payments. Although I allege that the portion ofthe Leases
•   27           pertain:11g to the one-third share ofthe minerals conveyed to me by the 97 Deed and
    28                                                 59




                                                      77
     Case 2:25-cv-06135     Document 1-1        Filed 07/07/25      Page 65 of 263 Page ID #:80




             later recovered, as saleable minerals, from the ore that was extracted from the ten
2            parcels of land listed in the 97 Deed Leases has been rescinded and that I have

3            previously offered to restore Iluka prior to rescinding said portion ofthe Leases,I will

4            here again offer to restore Iluka although this offer does not and cannot disturb the
             rescission of said portion ofthe Leases. Now,I here again offer to return 9 million
5
             dollars ofroyalties to Iluka which is more than the maximum amount that was
6
             disbursed for the one-third share of the minerals conveyed to me by the 97 Deed and
7
             later recovered, as saleable minerals, from the ore that was extracted from the ten
8
             parcels of land listed in the 97 Deed and I also offer to return $400,000.00 dollars of
9            the land lease payments but the $22,425,000,000.00(22.425 billion dollars) value of
10           one-third share ofthe saleable minerals recovered from the ore that was extracted
11           from the ten parcels of land listed in the 97 Deed exceeds 28.2 million dollars;
12           therefore, returning money to Iluka is not applicable; and, ajury must determine the

13
             value of the punitive damages which will probably increase the recovery to over 125
             billion dollars which is an additional reason that returning money to Iluka is not
14
             applicable; and, I offered to return another 18 million dollars of royalties to Iluka
15
             which amounts to a total of27 million dollars of royalties that I offered to return to
16
             Iluka which is much more than they disbursed to my parents, their three daughters
17
            (one of which is me Betty), and their grandchildren for the minerals conveyed by the
18           97 Deed and later recovered, as saleable minerals, from the ore that was extracted
19           from the ten parcels ofland listed in the 97 Deed and I also offered to return an
20           additional $800,000.00 ofland lease payments to Iluka which amounts to a total of
21           $1,2000.000.00 of land lease payments that I also offered to restore Iluka in addition

22
             to 27 million dollars of royalties but the $67,275,000,000.00(67.275 billion dollars)
              value of all the minerals conveyed by the 97 Deed and later recovered, as saleable
23
              minerals, from the ore that was extracted from the ten parcels ofland listed in the 97
24
             Deed exceeds 28.2 million dollars; therefore,returning money to Iluka was not
25
              applicable and, if it is determined that I, my son Laurence, or Laurence and I did not
26
              rescind such portion of the Leases, I have.already offered to restore Iluka. Now,I
27            here again offer to return said sums of money but the $22,425,000,000.00(22.425
28                                                 6- 0



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     Case 2:25-cv-06135     Document 1-1       Filed 07/07/25      Page 66 of 263 Page ID #:81




 1           billion dollars) value of only a one-third share of the saleable minerals recovered
2            from the ore that was extracted from the ten parcels of land listed in the 97 Deed

3            exceeds 28.2 million dollars; therefore, returning money to Iluka is not applicable;

.4
             and, ajury must determine the value ofthe punitive damages which may increase the
             recovery to a multiple of 125 billion dollars which is an additional reason that
5
             returning money to Iluka is not applicable. Based upon a failure ofconsideration and
6
             each separate allegation made hereinabove and the other separate allegations made
7
             herein above,I already have rescinded the portion ofthe Leases pertaining to 60% of
8
             the one-third share ofthe minerals conveyed to me by the 97 Deed and later
9            recovered, as saleable minerals, from the ore that was extracted from the ten parcels
10           ofland listed in the 97 Deed and the other 40% of the one-third share ofthe minerals
11           conveyed to me by the 97 Deed and later recovered, as saleable minerals, from the
12           ore that was extracted from the ten parcels land listed in the 97 Deed; however, if it is

13           determined that said portions ofthe Leases have not been rescinded, I hereby
             separately rescind each ofthem; and,if rescinding a portion of the Leases was not
14
             possible, I rescinded the Leases pertaining to all the minerals conveyed by the 97
15
             Deed and later recovered, as saleable minerals,from the ore that was extracted from
16
             the ten parcels ofland listed in the 97 Deed based upon Ilulca's failure of
17
             consideration for all the minerals conveyed by the 97 Deed and later recovered, as
18           saleable minerals, from the ore that was extracted from the ten parcels land listed in
19           the 97 Deed and based on each separate allegation made hereinabove; and, if it is
20           determined that the portion ofthe Leases pertaining to the one-third share ofthe
21           minerals conveyed to me by the 97 Deed and later recovered, as saleable minerals,

22           from the ore that was extracted from the ten parcels of land listed in the 97 Deed has
             not been rescinded, I hereby rescind it; and,to the extent that it is determined that
23
             rescinding said portions ofthe Leases is not possible, I hereby rescind the Leases
24
             pertaining to all the minerals conveyed by the 97 Deed and later recovered, as
25
             saleable minerals,from the ore that was extracted from the ten parcels ofland listed
26
             in the 97 Deed based upon Iluka's failure of consideration for all the minerals
27           conveyed by the 97 Deed and later recovered, as saleable minerals,from the ore that
28                                                61




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     Case 2:25-cv-06135     Document 1-1        Filed 07/07/25      Page 67 of 263 Page ID #:82




1            was extracted from the ten parcels land listed in the 97 Deed and each separate
2            allegation made hereinabove; now,I again demand that you immediately pay

3            $22,396,800,000.00(22.3968 billion dollars) for the one-third share ofthe minerals

4            conveyed to me by the 97 Deed and later recovered, as saleable minerals, from the
             ore extracted from the ten parcels of land listed in the 97 Deed by sending a'check c/o
5
             Laurence to 4647 Kingswell Ave Ste 105 Los Angeles, CA 90027 as this is my
6
             address for receipt ofthe rescission money.
7
          125.   I, Laurence J. Graham, as Agent for Betty P. Graham (also known as attorney-in-
8
             fact for Betty P. Graham)believe that the royalties disbursed for the one-third share
9
             ofthe minerals conveyed to Betty P. Graham by the 97 Deed and later recovered, as
10
             saleable minerals, from the ore that was extracted from the ten parcels of land listed
11
             in the 97 Deed is severely insufficient and therefore a failure of consideration for the
12
             one-third share ofthe minerals conveyed to Betty P. Graham by the 97 Deed and later
13           recovered, as saleable minerals,from the ore that was extracted from the ten parcels
14           ofland listed in the 97 Deed; and,as Agent for Betty P. Graham (also known as
15           attorney in-in-fact for Betty P. Graham)and as attorney-in-fact for Betty P. Graham,I

16           offered to return 9 million dollars of royalties to Iluka which is more than the
             maximum amount that was disbursed for the one-third share of the minerals conveyed
17
             to Betty by the 97 Deed and later recovered, as saleable minerals,from the ore that
18
              was extracted from the ten parcels of land listed in the 97 Deed and I also offered to
19
             return $400,000.00 dollars ofthe land lease payments and I here again offer to return
20
             said sums of money but the $22,425,000,000.00(22.425 billion dollars) value ofa
21
             one-third share of the saleable minerals recovered from the ore that was extracted
22           from the ten parcels ofland listed in the 97 Deed exceeds 28.2 million dollars;
23            therefore, returning money to Iluka is not applicable; and, ajury must determine the
24            value ofthe punitive damages which will probably increase the recovery to over 125

25            billion dollars; and, by such powers, I offered to return 9 million dollars ofroyalties
              to Iluka which is more than the maximum amount that was disbursed for the one-third
26
              share of the minerals conveyed to Julia P. Boyd,(also known as Julia H. Parson) by
27
              the 97 Deed and later recovered, as saleable minerals,from the ore that was extracted
28                                                 62




                                                  80
     Case 2:25-cv-06135      Document 1-1       Filed 07/07/25     Page 68 of 263 Page ID #:83




 1           from the ten parcels ofland listed in the 97 Deed and I also offered to return another
2            $400,000.00 dollars of the land lease payments and here again offer to return said

3             sums of money but the $22,425,000,000.00(22.425 billion dollars) value ofa one-

4            third share ofthe minerals recovered, as saleable minerals,from the ore that was
             extracted from the ten parcels of land listed in the 97 Deed exceeds 28.2 million
5
             dollars; therefore, returning money to Iluka is not applicable; and,ajury must
6
              determine the value ofthe punitive damages which will probably increase the
7
             recovery to a multiple of 125 billion dollars; and, by such powers,I offered to return
8
             9 million dollars ofroyalties to Iluka which is more than the maximum amount that
9
              was disbursed for the one-third share ofthe minerals conveyed to Ann P. Everett by
10            the 97 Deed and later recovered, as saleable minerals, from the ore that was extracted
11           from the ten/parcels of land listed in the 97 Deed and I also offered to return another
12           $400,000.00 ofthe land lease payments and I here again offer to return all such

13            money but the $22,425,000,000.00(22.425 billion dollars) value of a one-third share
              ofthe minerals recovered, as saleable minerals,from the ore that was extracted from
14
              the ten parcels ofland listed in the 97 Deed exceeds 28.2 million dollars; therefore,
15
              returning money to Iluka is not applicable; and, a jury must determine the value ofthe
16
              punitive damages which will probably increase the recovery to a multiple of 125
17
              billion dollars.
18
          126.    Although we offered to restore Iluka the total amount in dollars that was
19
              disbursed to Betty P. Graham parents;their three daughters(one of which is Betty),
20
              and their grandchildren for the minerals conveyed by the 97 Deed and later recovered,
21
              as saleable minerals, from the ore that was extracted from the ten parcels of land
22            listed in the 97 Deed which I, Laurence J. Graham,as Agent for Betty P. Graham
23           (also known as attorney-in-fact for Betty P. Graham), calculated to be less than the 27
24            million dollars ofroyalties disbursed as consideration for said minerals and I

25            calculated that less than $1,200,000.00 of land lease payments were also disbursed

26
              which I also offered to restore Iluka but the $22,425,000,000.00(22.425 billion
              dollars) value of a one-third share of the minerals recovered, as saleable minerals,
27
             from the ore that was extracted from the ten parcels ofland listed in the 97 Deed
28                                                 63




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     Case 2:25-cv-06135      Document 1-1        Filed 07/07/25      Page 69 of 263 Page ID #:84




 I           exceeds 28.2 million dollars; therefore, returning money to Iluka is not applicable;
2            and,a jury must determine the value ofthe punitive damages which will probably

3            increase the recovery to over 125 billion dollars; therefore, returning money to Iluka

4            is not applicable.

5         127.   Based upon a failure of consideration and each separate allegation made
6            hereinabove, I, Laurence J. Graham,as Agent for Betty P. Graham (also known as

7            attorney in-in-fact for Betty P. Graham)and attorney-in-fact for Betty P. Graham
             rescinded the portion of the Leases pertaining to 60% ofthe one-third share ofthe
8
              minerals conveyed to Betty P. Graham by the 97 Deed and later recovered, as
9
             saleable minerals,from the ore that was extracted from the ten parcels ofland listed
10
             in the 97 Deed and the other 40% ofthe one-third share ofthe minerals conveyed to
11
             Betty P. Graham by the 97 Deed and later recovered, as saleable minerals, from the
12
             ore that was extracted from the ten parcels of land listed in the 97 Deed and, if it is
13           determined that I and/or Betty did not rescind said portions ofthe Leases I, Laurence
14            J. Graham,as Agent for Betty P. Graham (also known as attorney-in-fact for Betty P.
15            Graham) and as attorney-in-fact for Betty P. Graham hereby rescind said portions of

16           the Leases. I have rescinded the portion of the Leases pertaining to the one-third share
              ofthe minerals conveyed to Betty by the 97 Deed and later recovered, as saleable
17
              minerals, from the ore that was extracted from the ten parcels of land listed in the 97
18
             Deed and,if it is determined that I and/or Betty have not, I, Laurence J. Graham, as
19
              Agent for Betty P. Graham (also known as attorney-in-fact for Betty P. Graham)and
20
              as attorney-in-fact for Betty P. Graham hereby rescind it. However,if it is determined
21
              that rescinding a portion ofthe Leases is not possible, I, Laurence J. Graham,as
22            Agent for Betty P. Graham (also known as attorney-in-fact for Betty P. Graham)and
23            as attorney-in-fact for Betty P. Graham rescinded the Leases pertaining to all the
24            minerals conveyed by the 97 Deed and later recovered, as saleable minerals,from the

25            ore that was extracted from the ten parcels of land listed in the 97 Deed and, if it is
              determined that I and/or Betty did not effectuate such rescission, I, Laurence J.
26
              Graham, as Agent for Betty P. Graham (also known as attorney-in-fact for Betty P.
27
              Graham) and as attorney-in-fact for Betty P. Graham hereby rescind the Leases
28                                                  64




                                                   82
     Case 2:25-cv-06135         Document 1-1       Filed 07/07/25      Page 70 of 263 Page ID #:85




 1              pertaining to the minerals conveyed by the 97 Deed and later recovered, as saleable
2               minerals,from the ore that was extracted from the ten parcels ofland listed in the 97

 3              Deed; and,I demand that you immediately pay $22,396,800,000.00(22.3968 billion

4               dollars) to 4647 Kingswell Ave Ste 105 Los Angeles, CA 90027 do Laurence J.
                Graham for the one-third share ofthe minerals conveyed to Betty by the 97 Deed and
5
                later recovered, as saleable minerals, from the ore that was extracted from the parcels
6
                ofland listed in the 97 Deed.
7
            128.    I, Betty Patrick Graham,emphasize that my son Laurence J. Graham is my Agent
8
               (also known as my attorney-in-fact) and that he is the only person authorized to bring,
9
                prosecute, and settle claims for me; accordingly, my son, Laurence J. Graham has the
10
                authority to do all things necessary to prosecute this rescission and recover the value
11
                ofthe minerals conveyed to me by the 97 Deed and later recovered, as saleable
12
                minera13,from the ore that was extracted from the ten parcels of land listed in the 97
13              Deed plus the punitive damages determined by a jury. My son Laurence J. Graham
14              also has the authority to donate the majority ofthe 22.3968 billion dollars plus the
15              punitive damages to charity.

16          WHEREFORE,Plaintiffs pray for ajury trial to determine each defendants separate
17   proportional liability for the 22.3968 billion dollar value of the one-third share of the minerals
18   conveyed to Betty P. Graham by the 97 Deed and later recovered, as saleable minerals, from the
19   ore that was extracted from the ten parcels ofland listed in the 97 Deed and the punitive damages

20   due in our action for relief under Cal Civil Code Sec 1692; and,
            For ajury ta determine any affirmative defenses raised by any ofthe Defendants; and,
21
            For the costs incurred herein; and,
22
            For postjudgement interest; and,
23
            For attorneys' fees incurred herein; and,
24
            For interest on the 22.3968 billion dollars due for delays by the Defendants; and,
25          For the Court to order that Iluka pay the slightly over 2.5 million dollars of royalties
26          represente in its 2/12/2023 letter to Laurence so that plaintiffs will have resources to
27          maintain this action for relief under Cal. Civil Code Sec. 1692; accordingly, we request
28                                                    65




                                                      83
     Case 2:25-cv-06135        Document 1-1        Filed 07/07/25      Page 71 of 263 Page ID #:86




 1          for the Court to order Iluka to pay $2,500,000.01 to Laurence within 5 business days and
2           that the acceptance of said money by Laurence shall be done with the reservation of all
3           rights and claims and that plaintiffs shall maintain their action for relief under Cal. Civil

4
            Code Sec. 1692 after Laurence receives said funds free and clear in his personal bank
            account; and,                      .
5
            For such other and further relief that the Court deems proper including, but not limited to,
6
     ordering the return to of any tons ofsaleable minerals, that were recovered from the ore that was
7
     extracted from the ten parcels ofland listed in the 97 Deed that the Court determines are not
8
     subject to the Leases; accordingly, Betty's address for the return any tons of said saleable
9    minerals, that are not subject to the Leases, is 114TH SW AVE AND SOUTHWEST MCBRIDE
10   PL BEAVERTON,OR 97005 and,if said tons of saleable minerals are not available, her address
11   for payment ofthe present fair market value of all such tons ofsaleable minerals is 4647
12   Kingswell Ave Ste 105 Los Angeles CA 90027; however, Laurence's address for return of any

13
     tons ofsaleable minerals that were recovered from the ore that was extracted from the ten parcels
     of land listed in the 97 Deed that the Court determines are not subject to the Leases is in front of
14
     4647 Kingswell Ave. Ste 105 Los Angeles, CA 90027 and,if not available, his address for
15
     payment ofthe present fair market value of all such tons ofsaleable minerals is 4647 Kingswell
16
     Ave. Ste 105 Los Angeles,.CA 90027
17
     Dated: June,2 2025
18   We now sign this VERIFIED COMPLAINT FOR RELIEF BASED ON RESCISSION OF
19   CONTRACTS AND DEMAND FOR JURY TRIAL in Los Angeles California.
20   Respectfully Submitted,
21   Betty Patrick Graham for Betty Patrick Graham:g       diAd pat/1jititalvipen-
22
     Betty P. Graham for Betty P. Graham:                                      aintlf
23

24
     Laurence J. Graham as attorney-in-fact for Betty P. Graham: )4A446              A016-4471
25

26
     Laurence J. Graham as Agent for Betty P. Graham:
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     Case 2:25-cv-06135     Document 1-1     Filed 07/07/25   Page 72 of 263 Page ID #:87




 1   Laurence J. Graham for Laurence J. Graham: a
2    Laurence John Graham for Laurence John Graham:
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Case 2:25-cv-06135       Document 1-1        Filed 07/07/25      Page 73 of 263 Page ID #:88




                     SETTLEMENT AGREEMENT AND MUTUAL RELEASE
          THIS SETTLEMENT AGREEMENT AND
                                                     MUTUAL RELEASE (the "Settlement
       Agreement") is made this,n clay of September, 2003,
                                                                 by and among Betty P.
       Graham ("Betty"), Luke P. Graham ("Luke") and Laurence
                                                                   J. Graham
     ("Laurence").
       Recitals
          A. WHEREAS, Betty is the mother of Luke and Laurence;
            B. WHEREAS, G. L. and Mary Elizabeth Parson (the
      "Parsons") are the parents of Betty and the grandparents of Luke and
      Laurence;
         C. WHEREAS,the Parsons were the owners of certain real estate
      interests in the Counties of Sussex and Dinwiddie, Virginia, including
      valuable minerals (including titanium) in, on and under the surface of the
      real property identified on Exhibit"A" attached hereto (hereinafter the
     "Real Property");
         D. WHEREAS, the Parsons entered into with RGC(USA) Minerals,
      Inc.("RGC'") certain Deeds of Mining Lease dated October 13, 1989,(the
     "Leases"), wherein the Parsons granted to RGC the right to explore for, mine
      and remove the minerals on and below the Real Property;
         E. WHEREAS, lluka Resources, Inc. now claims to be the
     successor in interest to RGC(USA) Minerals, Inc.;
         F. WHEREAS,the Parsons executed a Deed of Gift dated May 19,
      1997, and which is recorded in the Office of the Circuit Court of Dinwiddie
      County, Virginia at Deed Book 410, Page 204 and in the Office of the Clerk
     of the Circuit Court of Sussex County, Virginia at Deed Book 155, Page 626
     (the "Parsons' Deed of Gift"), a copy of which is attached hereto as Exhibit

        G. WHEREAS,the Parsons' Deed of Gift conveyed all right, title
     and interest in and to the minerals of every kind and character, in, on and
     under the Real Property and their Lessor management power and rights and all
     other title interest in the Leases to the Parsons' three (3)daughters,
     including Betty, as tenants in common, in equal one-third (1/3) parts,
     reserving only to themselves the next two "advance royalty payments" that
     remained due and payable under the Leases at that time and the annual
     "Rental Payments" under the Leases;
        H. WHEREAS, Betty executed a Deed of Gift dated October 23,
     2000, and which is recorded in the Office of the Clerk of the Circuit Court
     of Dinwiddie County, Virginia in Deed Book 493 at Page 152 and in the Office
     of the Clerk of the Circuit Court for Sussex County, Virginia in Deed Book
     175 at Page 181 (the "Graham Deed of Gift"), a copy of which is attached as
     Exhibit "C";
        I. WHEREAS, the Graham Deed of Gift conveyed all of the
     interests conveyed to Betty by the Parsons' Deed of Gift, including but not
     limited to the interests in the mineral rights in, on and under the surface
     of the Real Property and her Lessor management power and rights, and all
     other title interest in the Leases (all of such interests are hereinafter
     referred to as the "Property"), to Luke and Laurence with Luke receiving
     forty percent(40%)of Betty's interests and Laurence receiving sixty
      percent(60%)of Betty's interests;
        J. WHEREAS, it was the intent of Betty that Laurence was to
     have control over the Property conveyed to Luke and Laurence;
         K WHEREAS,a dispute has arisen regarding the validity of the
     Graham Deed of Gift;
         L. WHEREAS, Betty and Luke filed a Bill of Complaint in the



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      Case 2:25-cv-06135         Document 1-1         Filed 07/07/25        Page 74 of 263 Page ID #:89



       Circuit Court of the County of Sussex (the "Circuit Court"), styled Betty P.
       Graham and Luke P. Graham v. Laurence J. Graham and Iluka Resources, Inc.,
       Chancery No. 02-26 as well as a Bill of Complaint in the action styled Betty
       P. Graham and Luke P. Graham v. Laurence J. Graham in the Circuit Court for
       the County of Sussex, Virginia, Chancery No. 02-1033 (collectively, the
       "Actions");
            M. WHEREAS, pursuant to the Decree entered by the Circuit Court
       on April 16, 2002, the Clerk of the Circuit Court is holding as of September
       2 14,1'2003, $513/35g .6       .3 made up of funds paid to the Clerk by Iluka and
       interest(the "Court Held Funds");
       N. WHEREAS, in lieu of further litigation, Betty, Luke and Laurence
       each desire to compromise, resolve and settle all claims, causes, disputes
       or other issues among them arising out of or relating to the Actions, the
       Leases, the Parson's Deed of Gift, the Graham Deed of Gift and any other
       issues among them relating thereto.
            NOW, THEREFORE,for and in consideration for the mutual covenants
       and agreements set forth herein and other good and valuable consideration,
       the mutual receipt and legal sufficiency of which are hereby acknowledged,
       the Parties expressly agree as follows:
       1. All of the foregoing "WHEREAS" clauses are hereby incorporated by
       reference as if fully set forth herein.
       2. Except for the rights and obligations set forth in this Settlement Agreement and in
       consideration of the terms and conditions of this Settlement Agreement, Betty, Luke and
       Laurence, each on their behalf and on behalf of their respective heirs, executors, estate
       administrators, successors, and assigns does hereby and unconditionally forever waive,
       release, remise, discharge and covenant not to sue each other, from and against any and all
        liabilities, claims, lawsuits, causes of action, demands, actions, appeals, costs, expenses, interest
       on money, and attorney's fees which they now have or may hereinafter have against each
       other, whether known or unknown, arising out of, possibly arising out of or relating in any way to
       the Actions, the Leases, the Parson's Deed of Gift, the Graham Deed of Gift, any allegation
        raised in the Actions or which could have been raised in the Actions by any party to this
       Settlement Agreement, or any other issues among them relating thereto with respect to any of the
       foregoing, arising or accruing prior to the date hereof.
       3. Betty and Luke hereby acknowledge and confirm the validity of the Graham Deed of Gift as
       of the date of its execution of October 23, 2000, and forever waive, release and relinquish any
       claim of duress, undue influence, mental illness or incompetence as a defense to the Graham
        Deed of Gift or as a basis for setting aside, challenging or avoiding the Graham Deed of Gift.
        All parties represent, acknowledge and agree that by virtue of the Parson's Deed of Gift and the
        Graham Deed of Gift, Laurence and Luke are the owners, as tenants in common, of the Property
       conveyed to Betty, with Luke owning 40% of the interests in the Property and Laurence owning
       60% of the interests in the Property conveyed to Betty. Laurence and Luke have the
       sole right to receive all royalty payments and all income due on account of the Property including,
        but not limited to revenues derived from the sale of the Property and royalty payments under the
        Leases (including any amendment, renewal, extension or renegotiation payments they are
        entitled to receive as Lessors) with Luke receiving 40% of any such payments and Laurence
        receiving 60% of any such funds; however Laurence shall allow the Court Held Funds to be
        disbursed 50% to him and 50% to Luke with Luke reimbursing Laurence for taxes on the Larry to
        Luke portion of such disbursement being approximately $50,000.00.

        4. The parties agree that this Settlement Agreement does not constitute an assignment of any
        of Laurence's rights under the Graham Deed of Gift to Betty and/or Luke and shall not be
        construed as such. Similarly this Settlement Agreement does not constitute an assignment of any
        of Luke rights under the Graham Deed of Gift to Betty. This Settlement Agreement shall not be
        construed as a ratification of any Lease or conduct by Iluka or a waiver of any claims and rights
"c)     against Iluka.
        5. The parties agree that should any third party contest or challenge that Laurence and Luke s



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Case 2:25-cv-06135          Document 1-1         Filed 07/07/25        Page 75 of 263 Page ID #:90



  are the owners, as tenants in common or otherwise, of the Property including the Leases, or
  assert, allege, seek declaratory relief, claim, question or testify that Betty by the Parsons' Deed of
  Gift or that Laurence and Luke by the Graham Deed of Gift received only an assignment of the
  royalties to be paid under the Leases or less than lessor and title interest in the Leases
 (hereinafter collectively referred to as a "Tenancy in Common Challenge"), that they will each
 contest any such Tenancy in Common Challenge and not take any position contrary to
  paragraphs 3,4 and 5 of this Settlement Agreement. For the purpose of fulfilling the obligations
 contained in this paragraph 5, Betty hereby grants a power of attorney to Laurence and appoint
  Laurence as her true and lawful attorney-in-fact, with full authority to act on their behalf with
  respect to a Tenancy in Common Challenge, including, but not limited to, the right to
 commence, prosecute, discontinue, defend and settle any or all actions or other legal
  proceedings related thereto. The power of attorney contained in this paragraph 5 is a durable
  power of attorney coupled with an interest and is irrevocable.
 6. Betty hereby assigns, transfers and conveys to Laurence any and all claims she may have,
  known or unknown, against Iluka and/or RGC relating to the Leases, including, but not limited to,
 all fraud claims or breach of contract claims, if any. To the extent any of such claims are personal
 and not assignable, Betty hereby grants a power of attorney to Laurence and appoints Laurence
 as her true and lawful attorney-in-fact, with full authority to act on her behalf with respect to any
 such claim, including, but not limited to, the right to commence, prosecute, discontinue, defend
 and settle legal actions or other legal proceedings, and further assigns, transfers and conveys to
  Laurence any settlement or recovery from such claims. The power of attorney contained in this
  paragraph 6 is a durable power of attorney coupled with an interest and is irrevocable.
 7. Betty shall, within 60 days of the full execution of this Settlement Agreement, transfer her
 assets, real and personal (excluding her personal residence in Naples, Florida, personal affects
 and Nusehold goods)to the Trustee of The Graham Family Trust Agreement, dated
Seff.g,1,4,4- 2/, 2003, a copy of which is attached hereto as Exhibit"D"(hereinafter the "Graham
 Trust"), to be held and administered pursuant to the terms of the Graham Trust
 8. Within 60 days of receiving and at his discretion choosing to accept any money, royalty or
  other payment from or relating to the Real Property, the mineral rights below the surface of the
  Real Property and the Leases (including as the Lease may be modified, amended, changed or
 extended)(hereinafter "Laurence's Mineral Proceeds"), Laurence shall pay to Luke, by certified or
  bank check, a sum of money equal to one-sixth or 16.67% of Laurence's Mineral Proceeds after
  deducting estimated taxes which may be owed or due on account thereof as determined by a
 certified public accountant(the "Larry-to-Luke Payment"). With respect to disbursement of the
  Court Held Funds, Laurence hereby authorizes the direct payment to Luke of the gross Larry to
  Luke payment, and Luke shall, at his expense, retain a CPA to determine the applicable gift and
  income taxes due by Laurence for the 16.67% Larry to Luke payment( approximately
 $50,000.00) given by Laurence, and refund Laurence said amount for taxes within 60 Days.
 Thereafter, within 60 days of receiving and at his discretion choosing to accept Laurence's
  Mineral Proceeds, Laurence shall pay of sum of money equal to 33.33% of Laurence's remaining
  Mineral Proceeds to the Trustee of the Graham Trust, to be held and administered pursuant to
  the terms of the Graham Trust. Laurence shall make such payment to the Trustee of the Graham
  Trust until such time as Laurence has paid an aggregate total of $350,000.
 9. Within 60 days of receiving and at his discretion choosing to accept any money, royalty or
  other payment from or relating to the Property, the mineral rights below the surface of the
  Property and the Leases (including as the Lease may be modified, amended, changed or
 extended)(hereinafter "Luke's Mineral Proceeds") and receipt of the Larry-to-Luke Payment,
  Luke shall pay a sum of money equal to 33.33% of Luke's Mineral Proceeds after deducting any
 estimated taxes which may be owed or due on account thereof as determined by a certified public
 accountant to the Trustee of the Graham Trust, to be held and administered pursuant to the terms
 of the Graham Trust. Luke shall make such payment to the Trustee of the Graham Trust until
 such time as Luke has paid an aggregate total of $350,000.
  10. The discretion referenced in 8 and 9 above is only applicable in the event that a lessee
  including, but not limited to Iluka makes a payment accompanied by the assertion or requirement
 that Laurence and/or Luke ratify the Leases or waive any claims or rights against the lessee. In
 the event that such payment is tendered by a Lessee and Larry or Lpye refuse toaccept then            / 1:\
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      Case 2:25-cv-06135          Document 1-1         Filed 07/07/25        Page 76 of 263 Page ID #:91



        Luke or Laurence shall have 180 days to resolve the dispute out or court or initiate litigation over
        the same. Neither Laurence or Luke can interfere with the others ability to exercise discretion.
        1 1. Notwithstanding anything contained herein, the parties agree that Laurence has the right, at
        his own cost and expense, to commence, prosecute, discontinue, defend and settle legal actions,
        claims and other legal proceedings against any lessee, including, but not limited to, Iluka
        and/or RGC, relating to the Property or the Leases including, but not limited to, breach of contract
        claims and the right to have the Leases set aside or rendered invalid; and Luke and Betty agree
        that they will not intentionally interfere with or take positions contrary to such claims.
        Commensurate with this right, Laurence shall have the right to negotiate the resolution of those
        claims and/or a sale or transfer of all or a portion of this interests and Luke's interests in the
        Property or Leases to a third party, including, but not limited to Iluka. Luke shall be bound by
        such resolution and/or contract to sell or transfer and shall transfer his interests in the Property or
        Leases to such third party provided: (1) Laurence also transfers or sells the same share of his
        interests in the Property or Leases to such third party as Luke transfers or sells(2) Laurence and
        Luke receive the same amount of money from the transfer or sale of their interests in the
        Property; and (3) Luke receives for his interests a cashiers check, bank check or immediate
        entitlement to escrowed funds in an amount equal to the greater of:(a) an amount equal to the
        present value of Luke's share of the estimated royalty payments to be paid under the Leases(as
        estimated by Iluka and shown on Exhibit "E" attached hereto), after deductions for all advance
        royalty payments and royalty payments paid through such time, and (b)the net proceeds paid for
        Luke's interest, after deducting 50% of reasonable compensation earned by attorneys and costs
        and expenses incurred by Laurence in pursuing and resolving claims relating to the Property and
        Leases. Upon satisfaction of the conditions set forth in this paragraph, Luke agrees to
        simultaneously execute the appropriate documentation to transfer or sell his interests in the
        Property to a third party within fourteen (14)calendar days of receipt of written demand (the
        "Written Demand") by Laurence or such third party. The parties agree that a copy of the Written
        Demand shall be sent at the same time counsel for Luke. Should and only upon satisfaction of
        the conditions set forth in this paragraph and Luke's failure to executed the appropriate
        documentation to transfer or sell his interests in the Property within fourteen (14) calendar days of
         receipt of the Written Demand, Luke hereby grants a power of attorney to Laurence and appoints
         Laurence as his true and lawful attorney-in-fact, with full authority to act on his behalf for the
         limited purpose of transferring or selling Luke's interests in the Property.
            12. Without ratifying the Leases, reserving all rights, without prejudice to any rights and
        without waiving or altering the rights granted to Laurence in paragraph 11 above, and reserving
        all such rights, the parties agree that in accordance with the Graham Deed of Gift, Laurence is
        entitled to receive 60% of the Court Held funds and Luke is entitled to receive 40% of the Court
         Held funds.
         13. Luke and Laurence represent and warrant to each other that they have not assigned nor are
         there any liens against or affecting any of their rights relating to the Property, including the
         mineral rights below the surface of the Real Property and the Leases. Betty represents and
         warrants that she transferred all of her interests in the Property and Leases by the Graham Deed
        of Gift free and clear of any liens against or affecting any of the rights relating to the Property and
        the Leases, and other than the Graham Deed of Gift, she did not make, and has not made, any
         other assignment or transfer of such interests.
            14. It is the intent of the parties to this Settlement Agreement that this agreement and the
         actions to be taken hereunder, are not intended to and shall not ratify the Leases, is entered into
         with full reservation of all rights and claims under the Leases and without prejudice to those
         rights. Subject to the rights and obligations set forth in this Settlement Agreement, Laurence and
         Luke further recognize and agree that they hold the Property as tenants in common with neither
         party having control over the Property nor control over nor ability to act on behalf of the other's
         interest in the Property. The parties further agree that any transfer, exchange or payment of
         rights, interests or amount of money under this Settlement Agreement has been made for the
        sole purpose of settling the Actions and resolving all disputes between the parties.
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         15. The parties agree to the entry by the Circuit Court of the order in the form attached as
         Exhibit "G"(1) directing the Clerk of the Circuit Court of Sussex County to disburse the Court
         Held Funds; and (2) dismissing with prejudice the Actions and all claims related theizto. The
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      Case 2:25-cv-06135         Document 1-1          Filed 07/07/25        Page 77 of 263 Page ID #:92



        parties shall cooperate and take all necessary and appropriate action to accomplish the same
        without delay. In the event the Circuit Court will not enter the order as presented, the settlement
        of the Actions and this Settlement Agreement will stand as binding upon the parties, and the
        parties agree to endorse a new order that encompasses the covenants and agreements within
        this Settlement Agreement.

        16. The parties shall bear their own costs and legal fees in connection with the Actions.
        17. The parties agree that the execution of this Settlement Agreement and the release of any
        claims hereunder shall not constitute nor be deemed an admission of liability or wrongdoing by
        any party.
        18. This Settlement Agreement and the respective covenants, provisions, terms, conditions and
        agreements contained herein shall inure to the benefit of, and be binding upon, the parties hereto
        and their respective heirs, executors, estate administrators, successors and assigns.
        Notwithstanding the foregoing, Iluka, RGC and their successors cannot be beneficiaries,
        third-party or otherwise, of any of the releases contained in this Settlement Agreement.
        19. The parties agree and affirm that they have each sought the advice of legal counsel with
        respect to the Settlement Agreement and by signing each party certifies that he or she has
        reviewed the terms of the Settlement Agreement with counsel of his or her choice, has had all
        questions and concerns regarding the Settlement Agreement answered or resolved to his or
        her complete satisfaction and fully understands and agrees to such terms.
        20. In entering into this Settlement Agreement, each party represents that he or she has relied
        exclusively on his or her own judgment, investigation and analysis of the facts, and has not relied
        on any representations or conditions not included in this Settlement Agreement.
           21. In the event legal action is commenced to enforce or interpret this Agreement or for
        declaratory relief with respect thereto, the prevailing party or parties in such action shall be
        entitled to recover from the non-prevailing party or parties the reasonable attorneys fees and
        costs incurred by the prevailing party in such action, in such amount as
        determined by the Court.
           22. The parties agree to act in good faith to carry out the terms and intent of this Agreement.
        The parties shall also, at all times in the future, upon the reasonable request of the other or
        others, execute and delivery to the others, or to cause the execution and delivery of, all
        additional documents which may be reasonably necessary to fully consummate and carry out the
        terms and intent of this Settlement Agreement. However, nothing contained in this section shall
        require any party or other entity to assume any liability, expense, obligation or duty not expressly
        required by the terms of this Settlement Agreement.
        23. The parties agree that this Settlement Agreement and the Graham Trust shall constitute the
        entire agreement among the parties relating to the subject matter hereof and the obligations set
        forth hereunder may not be altered, amended, or modified in any respect except by and in writing,
        duly executed by all parties. This Settlement Agreement supercedes any and all prior oral or
        written understandings, agreements, guarantees, contracts and arrangements between the
        parties, with the exception of the Graham Deed of Gift.
        24. The parties agree that no presumption of construction exists against either party based
        upon the drafting of the Settlement Agreement.
        25. Each provision of this Settlement Agreement is a separate and independent clause. If any
        provision of this Settlement Agreement is held invalid, such invalidity shall not invalidate the entire
        agreement, and the remainder of the Settlement Agreement will not be affected.
        26. The terms and conditions of this Settlement Agreement are confidential, and the parties
        agree that they will not disclose to or discuss with others the nature, terms and amount of the
        settlement which has been reached among the parties, except as may be necessary for the
        compliance with the terms and conditions contained herein, as may be required by law or with the
        prior written approval of the party not seeking to disclose such information.

        27. The execution of this Settlement Agreement shall include four (4) duplicate original copies,
CO'     including exhibits, each initialed on each page by each of the parties and signed by each of the
        parties and notarized.
        28. The Settlement Agreement shall be governed and construed in accordance/with the laws of


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Case 2:25-cv-06135                Document 1-1          Filed 07/07/25            Page 78 of 263 Page ID #:93



  the Commonwealth of Virginia.
  29. The parties agree that any litigation arising out of a dispute over the Settlement Agreement
  shall occur in Collier County Circuit Court in the State of Florida, without regard to the conflict of
  laws. The parties agree that they will mediate any such dispute arising out of this Settlement
  Agreement prior to initiating litigation.



   BE      P. GRAHAM;{SEAL}                                    A   in

  COMMONWEALTH OF 11.

  CITY/COUNTY OF 1                             to wit

    The foregoing was acknowledged before me this                       day ofAdignist,
  2003, by Betty P. Graham.
                                                                                          NANCY D. LONG
                   otar1                                                             Notary Public, State of Florida
               N                                                                    My comm. expires Mar. 9, 2007
                        public
                                                                                            No. DD 178836

  My commission expires:


  LUKE GRAHAM:{SEAL}

  COMMONWEALTH OF K-

  CITY/COUNT44V01°‘1
                  , -wit

    The foregoing was acknowledged before me this                       *day of    , t,
  2003, by Luke Graham.

                              C                                                            NANCY D. LONG
           •          Npfiry Public                                                   Notary Public, State of Florida
                                                                                     My comm. expires Mar. 9, 2007
                                                                                             No. DD 178836
   My commission expires:




  LAURENCE GRAHAM:{SEAL}                                                            *-

     COMMONWEALTH OF-K-

  CITY/COUNTY OF21A                          L ,to wit:

    The foregoing was acknowledged before me this>H day
  2003, by Lprence Graham.
                                         ,
                       No                                      My commission expires:N6EZt
                           N ANCY D. LONG
        1 .\         My comm.   expires
                             No.DO 178836
                                         Mar.
                                             Florida
                      Notary Public, State of 9,2007
                                                                                          ,

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Case 2:25-cv-06135   Document 1-1   Filed 07/07/25   Page 79 of 263 Page ID #:94




                              EXHIBIT B




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Case 2:25-cv-06135   Document 1-1    Filed 07/07/25    Page 80 of 263 Page ID #:95
                                             Vnwictate
              Deed I97-1974

            This Document Prepared By:    Grantees' Address:
            Thomas H. Rose, Jr.           Betty P. Graham
            Attorney at Law               6157 Westwood Terrace
            P. 0. Drawer B                Norfolk, Virginia 23508
            Stony Creek, Virginia 23882-0075
            (804-246-4941)                Ann...P.._.EYArett



                                             Jul/a P. HDY0




             THIS DEED IS EXEMPT FROM RECORDATION TAXES PURSUANT TO
             SECTION 58.1-811D OF THE CODE OF VIRGINIA, 1950, AS AMENDED.


             • • THIS. DEED OF -GIFT; made this 19th day of May; 1997, by '
              and between George Lee PARSON; Jr. and. Mary Elizabeth .
             -PARSON, his wife, Par-ties of the First Part and hereinafter
              styled "Grantors", and Betty P. GRAHAM, Ann P..EVERETT, and
              Julia P. BOYD, Parties of the Second Part and hereinafter
              styled "Grantees".


                                 WITNESSETH


                  That for and in consideration of the sum of Ten Dollars
             ($10.00) cash in hand paid by the Grantees to the Grantors,
             the receipt of which is hereby acknowledged, the Grantors do
             hereby give, grantlnd convey unto Betty P. Graham, Ann P.
             Everett and Julia P Boyd, in. equal shares, all of their
             right, title and interest in and to the minerals of every
             kind and character in, on and under those certain tracts of
             parcels, of land situate in Stony Creek Magisterial District,
             Sussex County, Virginia, and Sappny District, Dinwiddie
             County, Virginia, containing a total.of'1169.86 acres, more
             or less, being shown and described on Exhi.bits A thru J.
             attached to this Deed of Gift, together with the right of
             ingress and egress, and possession at All times for the
             purpose of mining, drilling and operating for said minerals
             and the maintenance of facilities and means necessary or
             convenient for producing, treating and transporting such
             minerals.. .

                  This'conveyance is made subject to certain Deeds of
             Mining Lease dated October 13, 1989, between the Grantors
             and RGCAUSA) Minerals, Inc., a Delaware Corporation, the
             First Amendments to Deeds of Mining Lease dated June 30,
             1994, and'the Second Amendments to Deeds of Mining. Lease
             dated February 23, 1996, but, for the same consideration
             hereinabOve mentioned, the respective Grantees, their heirs,
             successors or assigns, all of the royalties accruing or to
             accrue under said leases for the above described land except
             as hereinafter reserved.

                  The Grantors reserve and except from the' conveyance the
             advance royalty payments from RGC (USA) Minerals, Inc. as
             set forth in the First Amendments to Deeds of Mining Lease
             dated June 30, 1994, it being.understood that two (2) annual
             advance payments retain due And payable under. each lease.




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                         DEED BOOK 410 • PAGE 2041
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Case 2:25-cv-06135              Document 1-1     Filed 07/07/25      Page 81 of 263 Page ID #:96

                                                     -,
                     The Grantor.? further raierve'lfird except the -annual
                rental payments from RGC (USA) Minerals, Inc., as set forth
                in the Deeds of Mining Lease dated October 13, 1989.
                       WITNESS the fo1lowina signatures and seals:
                                                                CPez_A"s„,h, Vi1( EAL)
                                               George cyee Parson, Jr.


                                                                                   (SEAL)
                                              ViVillEfttgtiMtsoo.
                  1 OF VIRGINIA
                 ;A7
              ;       /cOUNTY OF                     , to-wit:
                      The foregoing instrument was acknowledged before me
                 thia5a4ft4 day of vvo,             , 19'C1, by George Lee
                 Parson, Jr. and M    Elizabeth Parson.
                        My term expires:           M.'6V    XG011

                                                                                   (SEAL)
                                                            Public




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Case 2:25-cv-06135
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      _George Lee Parson, Jr. and Mary Elizabeth Parson

       Exhibit A




                                       - • --    - -- • --     - •
      That same tract or parcel of land conveyed to G. L. Parson, Jr. by
      Warranty Deed, dated December 18, 1972, and recorded in Deed Book
      160 at page 61, in Clerk's Office of Circuit Court of Dinwiddie
      County, Virginia. To Wit: All of that certain tract, piece or
      pardel of land lying and being situate in Sapony District,
      Dinwiddie County, Virginia, South of what is called Dover Spring
      Branch, containing one hundred and forty (140) acres, more or lees,
      and bounded on the North by the said Dover Spring Branch, on the
      East by the land of Charlie Pride and the land of Lee Parson, on
      the South by the land of S. T. Rideout and on the West by the land
      of Mrs. C.C. Rideout; and being the same land described in and
      conveyed by deed dated July 20, 1896, from Thomas J. Crowder and
      wife to Mary H. Carraway, duly recorded in the Clerk's Office of
      the Circuit Court of Dinwiddie County, Virginia, in Deed Book 20,
      No. 1 at page 317; and being in all respects the same real estate
      conveyed to G. Lee Parson from W. Potter Sterne, Special
      Commissioner, by deed dated the 13th day of May, 1936, and redorded
      in the aforesaid Clerk's Office in Deed Book 62, at page 24.

      LESS and EXCEPT: . That same tract or parcel of land conveyed to
      Lance V. Everett and Ann P. Everett; Husband and        by Warranty
      Deed, dated December 18, 1976, and recorded in wife,
                                                        Deed Book 182 at
      page 259, in the Clerk's Office of Circuit Court of Dinwiddie
      County, Virginia. To Wit: All that certain lot, piece or parcel
      of land lying and being situate in Sapony District, Dinwiddie
      County, Virginia, containing 2.68 acres, more or less, as shown on
      4 plat of survey made by W. G. Chappell, C.L.S., dated December 10,
      1976, which plat is attached hereto and made 4 part hereof, and on
      which plat said lot is described as follows, to-wit: Beginning at
      a spike in the center of State Highway Route No. 619, thence N 86°
      00' E 638.80 feet to an iron (set); thence 5.4° 00' E 189.00 feet
      to an iron (set); thence S 86° 00' W 638.80 feet to a spike in the
      center of said Route No. 619; thence N 4° 00' W 189.00 feet along
       the center of said Route No. 619 to a spike, the point of
       beginning.

       Being in all respects a part or portion of the same real estate
       conveyed to G. L. Parson, Jr. from G. Lee Parson, also known as G.
       L. Parson, Sr. and Virgie•r. Parson, his wife, by deed dated the
       18th day of December, 1972, and recorded in the Clerk's Office of
       the Circuit Court of Dinwiddie County, Virginia, in Deed Book 160,
       at page 61.

        AND ALSO ,LESS and EXCEPT 14.63 acres, as described in unrecorded
        survey, by Kenneth 0. Peterson, L.S. 1553 dated 9-19-1989, standing
        in the name of G.L. Parsons.

        Subject property is referred to in the Dinwiddie County tax records
        as Tax Parcel Number 101-4.




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        Case 2:25-cv-06135   Document 1-1     Filed 07/07/25BOOKPage 83 of 263e29
                                                                  EYJP!f'S      Page ID #:98
               George Lee Parson, Jr. .and Mary Elizabeth
                                                          Parson
              Exhibit B




              That same tract or parcel of land bequeathed to G. L. Parson, Jr.
              by Last Will and Testament of G. Lee Parson, Sr. (also known as G.
              L. Parson and also known as G. L. Parson, Sr.), dated May 3, 1966,
              recorded March 8, 1973, in Volume 23, page 430 through 436 of the
              Clerk's Office of Sussex Circuit Court, Sussex County, Virginia.
              To Wit: The farm that I own, situate near Concord Church in Suseex
              County, Virginia, and known as "The Walter Harrison Farm", across
              State Road No. 619, from Berry Ridout Farm, the side where the home
              part is situated and containing approximately 125 acres.

              ALSO, being that same tract or parcel of land conveyed to G. L.
              Parson, by Warranty Deed, dated February 8, 1924, and 'recorded in
              Deed Book 28 at page 519, in Clerk's Office of Circuit Court of
              Sussex County, Virginia. To Wits           all that certain tract or
              parcel of land situated in the Stony Creek Magisterial District,
              County .of Sussex, State of Virginia; containing one hundred and
              twenty five acres more or less and bounded as follows: on the
              North and West by'the Walker's Mill Road, on the East by the lands
              of C. W. Parsons and Willis Roberson, (Willis Robinson) and on the
              South by the land of B. Wesley Darns, and the public road leading to
              Stony Creek, Virginia. ,

              EXEMPTING from this tract of land all mining operations for a
            ' cemetery, situated upon 0.90 acres, more or iess and six (6) bulk
              barns, situated upon 2.00 acres more or.less.

              Subject property is referred to in the Sussex County tax records as
              Tax Parcel Number 101-7.




A.r.)




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Case 2:25-cv-06135 Document
        • BOOK 1 I.ØE  UY:101-1      Filed 07/07/25   Page 84 of 263 Page ID #:99
       George Lee Parson, Jr. and Mary Elizabeth Parson

       Exhibit.0




      That same tract or parcel of-iana-Ct3nveyed to U. L: Parson (also
      known as G. Lee Parson, Sr.), from M. L. Finney, as grantor, by
      Trustees Deed dated January 25, 1941 and- recorded in Book 38 at
      page 100 in the Clerk's Office of Sesser Circuit Court.

      The property is a small part of "The Wesley Barnes Farm", between
      the parsonage and the two branches down beside the public road and
      around the grave-yard to the road and back to the branch-again, in
      fee-simple, as found in Deed Book 11, page 464, Deed Book 5, page
      613, Deed Book 11, page 196 and Deed Book 22 page 409.

      The above stated land bequeathed and devised to George Lee Parson,
      Jr. (also known an G. L. Parson, G. Lee Parson, Jr. and G. L.
      Parson, Jr.) from the Will of G. Lee Parson, Sr. deceased, in Will
      Book 23 at page 430 dated May 3, 1966, recorded March 8, 1973 in
      the Clerk's Office of Sussex Circuit Court.

      EXEMPTING from all mining operations a one acre parcel of land
      lying. in the southerly part of this tract. This parcel of land is
      presently unsurveyed and is used as a cemetery; •

      Subject property is referred to in the Sussex County tax records as
      Tax Parcel Number-S-101-6.'




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Case 2:25-cv-06135   Document 1-1 Filed 07/07/25 BUUKPage
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    — George Lee Parson, Jr. and Mary Elizabeth Parson

      Exhibit




                                   '
     That same tract or parcel of land conveyed to 0.1.. Parson, Jr. by
     Warranty Dead, dated April 15, 1960, and recorded in Deed Book 59
     at page 519, in Clerk's Office of Circuit Court of SUOgex County,
     Virginia. To Wits All "that certain tract or parcel of land lying
     and being situate in the County of Sussex and State of Virginia
     containing sixteen and five tenths acres (16.5).more or less and
     herein after.described.as followas Beginning at an iron stob on
     the Cabin Point Road, running thence along the said Road South 79"
     15' East 983 feet, thence North 32" 00' East 343 feet along the
     said Road, thence North 7000' West 1013 feet to a pine ttee, thence
     South 41'45'. West 1537 feet to the point of beginning.

      Subject property is referred to in the Bunsen County tax records as
      Tex Parcel Number 101-13.




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Case 2:25-cv-06135    Document 1-1     Filed 07/07/25   Page 86 of 263 Page ID #:101
       George Lee Parson, Jr. and Mary Elizabeth Parson

       Exhibit E




   That same tract or parcel 'of land conveyed to G.L. Parson, Jr: .by
   Warranty peed, dated April 11, 1960, and recorded. in Deed Book 59
   at page 559, in Clerk's Office of Circuit:Court of Sussex County,
   Virginia. To Wits           all that certain tract, piece or parcel-
   of land lying and being situate in Stony Creek Magisterial
   District, Sussex County; Virginia, containing, by estimation., two
   hundred (200) acres, and bounded as follows:. On the North by G.
   Lee Parson; on the East by W. S. Barnes; on the South by the public
   road leading from Stewart's to Concord Church; on the west by R. C.
   Chappell and Said public - road leading from Stewart's to Concord
   Church and Mosley Barnes, reserving h certain road or passage-way
   which leads from the house now owned .by W. S. Barnes through said
   tract of land to the public road at the forks of the road, on of
  'which leads to Purdy, as and for an outlet of the occupants of the
   said house now occupied by W. S. Barnes, with .the right or
   privilege of the purchaser of straightening said road, if he shall
   so desire. ; and being in all 'respects-the 'identical real estate
   that was conveyed to G. Lee Parson, Sr., in the name of O. Lee
   Parson, by. deed from John H. Cole, Special Commissioner, dated June.
   1, 1927, and duly recorded in the Clerk's Office of the aforesaid
   county in Deed Book 31 at page 244.

   Subject property is' referred to in the.Sussex County tax records as
   Tax Parcel Number 101-31.




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Case 2:25-cv-06135   Document 1-1    Filed 07/07/25   Page 87 of 263 Page ID #:102
        George Lee Parson, Jr. and Mary Elizabeth Parson

        Exhibit. F




      That same tract or parcel of land conveyed to G. Lee Parson, Jr.
      by Warranty Deed, dated February 16, 1970, and recorded in Deed
      Book 73 at page 600, in Clerk's Office of Circuit Court of Sussex
      County, Virginia. To Wit: All that certain tract, piece or parcel
      of land, lying and being situate in Stony Creek Magisterial
      District, Sussex County, Virginia, containing one hundred and
      eighty-seven (187) acres, more or less, adjoining the lands of
      Markham B. Chappell; Old Eppes Tract; Green Church Road; and Wyatt
      Mill Road, being in all respects the same land which was devised
      unto Rennie B. Chappell by John E. Stewart, as will be seen by
      reference to the first clause of his last will and testament, of
      record in the clerk's Office of the Circuit Court of Sussex County,
      Virginia, except a portion thereof, containing about twenty-five
      (25) acres, which was conveyed to Rennie B. Chappell to Markham B.
      Chappell by deed recorded in the aforesaid Clerk's Office in Deed
      Book 27, at page 323; and being in all respects the same real
      estate conveyed to G. Lee Parson, Sr., in the name of G. Lee
      Parson, from John H. Cole, Special Commissioner, by deed dated the
      29th day of December, 1934, and recorded in the aforesaid Clerk's
      Office in Deed Book 34, at page 283.

       EXEMPTING from this tract of land three (3) bulk barns, situated
       upon two (2) acres, more or less.

       Subject property is referred to in the Sussex County tax records as
       Tax Parcel Number 8-101-38.




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                                 1-1    Filed 07/07/25     Page 88 of 263 Page ID #:103
          George liee Parsbn, Jr.. and Mary
                                              Elizabeth. Parson
         Exhibit G




        That same tract or parcel. of land conveyed to G.L. Parson (also
        known as G. Lee Parson, Sr.) by Warranty Deed, dated November 14,
        1959, and recorded in Deed Book 59 at page 279, in Clerk's Office
        of Circuit Court of Sussex County, Virginia. To wit: All of that
        certain track, piece or parcel of land lying and being situate in
        Stony Creek Magisterial District, Sussex County, Virginia,
        containing four and seventeen hundredths (4.17) acres by actual
        survey, and being shown and designated on a certain plat of survey,
        dated March 1, 1952, made by H.C. Frye; C.H., which said plat. of
        survey is reCorded in the aforesaid Clerk's Office in Plat Book 7,
        at page 26, and reference thereto is hereby invited for a more
        perfect description. of the real estate herein conveyed; and being
        more particularly described on said plat as follows: Commencing on
        the West side of State Highway Route No. 619 at the Southeastern
        corner of a certain lot of land owned by B.J..Rideodt, Jr.; thence
        S. 79" 30' W. 443 ft. to a point; thence South 24° 46' E. 494 ft.
        to a point; thence.N. 62° 30' E. 465 It. to a point; thence along
        Route 619 N. 30* 00' W. 370 ft. to the point of beginning; and
        being in all respects the same real estate that was conveyed to the
        parties of the first part, as husband and wife, by the entireties,
        with the right, of survivorship as at common law, by deed from B.J.
        Rideput,'Sr.' and wife, and dated March 17, 1952, and recorded in
         the aforesaid Clerk's Office in Deed Book 48 at page 477..

         The above stated land bequeathed and devised to Virgin Fraher
         Parson (also known as Nirgie F. Parson) from the Will of G. Lee
         Parson, Sr., deceased, in Will Book 23' at page 430 dated May 3,
         1966, recorded March 8, 1973 in the Clerk's Office of Sussex
         Circuit Court.

          AND ALSO the above stated land bequeathed and devised to George Lee
          Parson, Jr. (also known as G. L. Parson, G. Lee Parson, Jr. and G.
          L. Parson, Jr.) from the Will of Virgie F. Parson (also known as
        • virgie Fraher Parson), deceased, in Will Book 31 at page 314 dated
          September 25, 1973, recorded October 15, 1982 in the Clerk's Office
          of Sussex Circuit.Court.

          Subject property is referred to in the Sussex County tax records as
          Tax Parcel Number 5-1013.




                                          101
Case 2:25-cv-06135   Document 1-1     Filed 07/07/25 . Page
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         George Lee Parpon, Jr. and Mary Elizabeth Parson

         Exhibit H




               . .
        That sams tract or parcel of land conveyed to G. Lee Parson (also
        known as G. Lee Parson, Br.), by Warranty Deed, dated December 24,
         1947, and recorded in Deed Book 44 at page 126, in Clerk's Office
         of Circuit Court of OU8SOX County, Virginia. . To wit: All of that
         certain track Or parcel of land, with the appurtenances thereto
         belonging, containing. Three and-one-half (3 1/2) acres, more or
         less, lying, being and situate on both sides of the Milwaukee Road
         Little Mill Magisterial District, Sussex County, Va., and bounded
         as followst On the North, East and West by lands of Lee Parson and
         on the South by the laid of. Willie Robinson, the said tract of land
        .hereby conveyed being situate about 300 yards West of the present
         residence of said G, Lee Parson.
                                           . .
         The above stated land bequeathed and devised -to George Lee Parson,
         Jr. (also known as G. L. Parson and G. L. Parson Jr.) from the
         Will of G.• Lee Parson, Sr., deceased, in Will Book23,at page 430
         dated may 3, 1966,.recorded March 8, 1973 intthe Clerk's Office of
         Sussex Circuit Court. .

         Subject property is referred to in the Sussex County tax records as
         Tax Parcel Number 101-14.




                                        102
Case 2:25-cv-06135
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      - George Lee Parson, Jr. and Mary Elizabeth Parson

         Exhibit I




        That same tract-or parcel of land dii      dThoC.L. Par n Jr., by
        Warranty Deed, dated April 11, 1960, and recorded in Deed Book 59
        at page 559, in Clerk's Office.of Circuit Court of Sussex County,
        Virginia. To Wit:            all of that certain tract or parcel of
        land sold in bulk and not by 'acres, said to contain'fifty (50)
        acres, be it the same more or less, and being in Stony Creek
        Magisterial District Sussex County, Virginia, with general
        warranty. Bounded and described as follows, on the Worth by Public
        Road leading from Concord Church to Stony Creek, On the East by the
        'Old Man-love Tract' formerly owned by Camp Manufacturing Company,
        on the South by a branch and on the West by'eaid public road
        leading from Concord Church to Stony Creek, Va."; and being in all
        respects the identical real estate that was conveyed to G. Lee
        Parson, Sr,, in the name of G. Lee Parson, by deed from J. Walter
        Harrison and- wife,.. dated April 16, 1915 and duly recorded in the
        Clerk's Office of the aforesaid county in Deed Book 24 at page 303.

          Subject property is referred to in the Sussex County tax records as
          Tax Parcel Number 101-17.




                                        103
Case 2:25-cv-06135           Document 1-1                Filed 07/07/25 BOOK
                                                                          Page 91 Lo."!W
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                                                                                               ID #:106
            George Lee Parson, Jr. and Mary 'Elizabeth Parson

       .   Exhibit J




           That name tract or parcel of land conveyed to G. Lee Parson, Jr.,
           by Warranty Deed, dated March 22, 1960, and recorded in Deed Book
           59 at page 524, in Clerk's Office of Circuit Court of Sussex
           County, Virginia. To Wit: All that certain tract of land, with
           all the improvements thereon and the appurtenances thereto
           belonging, lying, being and situate on the East aide of the
           Nottoway River in Stony Creek Magisterial District, Sussex County,
           Virginia, containing eight hundred (SOO) acres, more or less, and
           bounded as follows:    On the north by the lands now or formerly
           belonging to Slate, C.R. Chappell, Robinson and Camp manufacturing
           Company; on the east by the lands now or formerly belonging to Otho
           Chappell, Henry Poole, G. Lee Parson, Sr. and the Wyatt Mill Road;
           on the South by the lands now or formerly belonging to J. H. Poole
           and the Nottoway River; and on the West by said Nottaway River and
           the land now or formerly belonging to the Camp Manufacturing
           Company; the land hereby conveyed is the same that Was conveyed to
           G. Lee Parson, Sr. from J. Thompson Wyatt, Spadini Commissioner, by
           deed dated June llth, 1946 recorded in the Circuit Court Clerk's
           Office of said County in Deed Book 42, at page 180; by deed from
           Francis E. Wyatt, and others, dated May 3, 1945, and recorded in
           said Clerk's Office. in Deed Book 41 at page 137; by deed from
           William E. Anderson, unmarried, dated November 7th, 1945, and
            recorded in said Clerk's Office, in Deed Book 41, at page 365, and
            by deed from Benjamin G. Anderson, unmarried, dated May 10th, 1945,
            and recorded in said Clerk's Office, in Deed Book 41, at page 136.

           The above described property was resurveyed by J. C. Shearin, dated
           March 20, 1972, recorded may 30, 1989 in Plat Book le at Page 6 in
           the Sussex County, Virginia records. The above stated deed recites
           800.0 acres which is now corrected to recite 933.30 acres which is
           an increase of 133.30 acres, stated as follows:        Tract No. 1
           contains 50.0 acres, Tract No. 2 contains 343.0 acres, Tract No. 3
           contains 379.0 acres and an open tract of land not presently
           surveyed containing approximately 161.30 acres, more or less.

            LESS and EXCEPT from this tract of land the westerly portion
            thersof,containing 487.30 acres.

            Subject property is referred to in the Sussex County tax records as
            Tax Parcel Nuiber 101-36.




                                                                          •       INSTPUMENT 4970i7,1
                                                                          =1ECORDED IN THE CLERK'S OF=ILE
                                                                                      DINNIDDIE ON
                                                                                ILLY 2! 1997 AT 05:474;
                                                                                ANNI L. WILLI.'

                                                                       'Ey:


            VIRGINIA:            In the Clerk's Office of the Circuit Court of Sussex County. The foregoing instrument
            was this day presented in the office aforesaid and is, together with the certificate of neknowledgment annexed,
            admitted to record this        7th day of             July'              19 97          At    9:19 . A. m




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Case 2:25-cv-06135                     Document
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                                                                                                             96(.- 03( •
        r,STO Lease
    •     VA 8/69
                                                         DitgD OF MINING plASII


               MN DEED OP MINING MASK including the attached Exhibits which are Incorporated hereht by this reference, Memel
         is    made       and     entered     into      on          October 13,                   •      •    1989                    by         and'
         between G. I.. Parsons Jr.. .AKA George /tee Parson. ,Tr.. AKA G; L. Parson). and AKA

         G. Lee Par.sop._ Jr.
                            .. and Mary ELIzal?eth Para_p                               •ANA Mary            pu,t,treyworti? Parsotti
                                                                                                                                   .AKA

                                                                                                                on. Jr._._ husband and wife

         Route L. B4Itt                $tOny Creek.                         _21802 •
         cum*"and WC(L1EA)MINERALS INC,,..Palawars corporation whose address Is Warner Road,P.O. Doti 1307, Green Cove
         Springs, Florida, 3204.1.CRGC1. In consideration of the mutual promliei mad* in this Leese, *rid other good and valuable
         consl&retIon,the receipt and sufficiency of which are hereby acknowledged, Loner and ACC *pill it/ &WOVE              ,
                1.      Dervai..Thast. Any word or phrase that is cepitalized and ',laird 11% quotationaln this Liame is•defined tenn
         and when it is cap talked will have the same meaning throughout this Lass.. •
                2.      /Nome. :rho purpose of this Lease is to allow RGC to explore for and, at RGC. sole discretion, to mine.
         remove, comminght, and sell Minerals from the Property, to um the Property to Mine Minerals front the'Property or other
         property, and to conduct !elated activities. "Minerals moans the following group of minerals and mineral products: Ihnenite,
         Lenscoxene, Rutile,Zircon,Stauroliter, Kysnite/Sillimanite, Monazite, Ximatune, and Carnet,and assodated byproducts. Title to
         any Minerals mined shsU, If not already vested in RCX, pass to ROC...they are levered from the Property.                 •,
                3.      OnzaLitlitasz LOBOOf herebY lease, to RGC the Property(as defined on Exhibit AL on the tonne mut
         conditions It,this Liam.
                4.      Gamtallights. Lector grants to RGC the following exdusive tight* with regard to the Property:
                       (a)       To enter the Property to survey, explore, drill, test, and sample (the foregoing ectivillea are defined is
                                "Exploration");          .
                       (b)      To clear the Property of such building, (subject to Section 21 (Compensation for Buildings)), other
                                 structures or obstacles, earth, standing timber, plants, and auch other *Inge or material that RGC,in its
                                 &tooling discretion, wielum to clear from the Property to earoCisit its right. at set out in this Section 4; to
                                 construct, relocate use, or remove roads, power and comtroinicatioit lines,.dredge pond!, tilling pond.,
                                 settling pond., pisellnes, buildinge, storage facilities; moat., telling', sign., gatm, fences.; and other
                                 structures and is Mies on the Property; to take stops to prepare for mining on the Property; and to
                                 develop, pito*, 4:roes-mins, dredge, remove, amain         , seperate, commingle, stockpile,'haul, proems,
                           •     eldp, and sell Minerals(the foregoing activities, whether Conducted on the Property or on other property
                                 In Dinwiddle and Sussex Countiecilirgthla ('Ares'),era defined as *Operettons-k.           •                    •
                       (c)       To use the Property to store, transport, or dispose of Minerals, water, tailing., and material resulting from
                                 MC.Operations; .
                       (d)       To use water horn or appurtenant to the Property and 'to drain through and from the Property and to
                                 draw into any course in the Property any water from ROC'.Operations;
                       (e)       To take all steps to accoroptish Reclamation(a.defined In Section 14)of the Property;
                       (0        To use all stamments, means of access, and righte-of•wey from and to the Property; and
                        (5)      TO use the Property for the purpOses desaibed         thle Section,'In conjunctirm with RGC'. Exploration,
                                 Operations and Rechemation on other property.
                 NotwithetancUng the foregoing. RCC la not granted the right under this. Lem. to construct or operate on the Properly a
          promoting plant forth. Anal separation of the concentrate into saleable Minerals.      . • •
                 5
                 .       Tguosaffiag.. This Leese will begin on the date first written above and will end 20 years thereafter, tulles,(a)
          the teasel. ended earlier under Section 19(Termination),    (h) the Lois.la automatically terminated by 14GC's failure, for reason.
          other than • temporary inability to obtain through diiikent efforts all necessary governmental permits and authorizations, to
         comotence *Mining (as defined in the Royalty Policy). in. the Area by the eighth anniversary of the Lease or (c) the Lease is
          autoenatIcely extended to allow !ICC to complete ongoing operation, on the Property. If so extended, tha Cease shall terminate
          upon the earlier of written notice from RCM pursuant to Section 191Tercoloationi, or the passage of X period of 180.Consecutive
          day. In which ROC conducts no Operations on the Property. 'Term' omensthe. period of time during which this tau* Is in
          eltett,and,in the ebsence of earlier termination,lndudes'both the initial 20-year term and any eitend rid term.
                 6.      Thitialj'aymefit amditdersnce Roxiky_Paymenht,• Subject to the terms and conditions of this Least,
          RGC will pay to Lessor, during lbw-fens+ of this LAW,on on before th• dame indicated the following lump aunt pXyments and
          payments per *cm of the Property retained under the Lelia at the time of the payment:

                      Payment Date                                   Pepped Typo                        Payment            G-4                  4.-
                         '                                        initial Payment . .                   42.50 per acre       GLP.
          Lease Oats
                                                                                                                                                Dpo
          Lease Date                                              Advance Royalty $1,221.88 Ira per              .c.                        .


          On or before December 31
          of each year following the
                                                                  Rental Payment                        $15 per acre        7PAsg.
                                                                                                                               MEP      •
          year this Lease Is signed

          Earlier of(a)"Mining'(as                                Advance Royalty                         $110,370.00
          defined in Royalty trolley)                                                                      lump MM.e4tItil to $1000 per acre Of
          in Aral or(b)Pin Anniverary                                                                      "Mineralized Property"(as defined in
                                                                                                           Royalty Policy).1......
                                                                                                                   •              ''...
          Tenth Anniversary if no
          "Notice of Mining (as
          defined In Section 9)given
                                                                  Advance Royalty                     AA;f1   .0.370.-00 I
                                                                                                      ',.• lump sum,equal raw. ;
                                                                                                        '-hiburralized Property,sub
                                                                                                                                        acre of
                                                                                                                                        to 10%
                                                                                                           LiOakInton"(airdiTtned in Royalty Policy)

          Fifteenth Anniversary If tto                             Advance Royalty                       s110.370 _ 011
          Notice of Mining given                                                                         lump stun,subject to 70% Limitation
                                                                                                            .
         . Notice of Mining                                        Advance Royalty                       70% of Eetintated Future Royalty
                                                                                                         Payments(as defined In Royety Mier)


          The Initial Payment and all Rental and Advance Royalty Payments paid .to Lesenr are non-refundable. The Advance Royalty
          Payment. paid to Lessor will be credited against any Royalty Payments otherwise payable purviiant to Section 7 (Royalty
          Payments)and may be prepaid by RGC. Payment to Lessor of the payment required upon Notice Of Mining will satisfy in fuE
          any obLigation RGC may thereafter have to pay she Tenth and Fifteenth Anniversary Advance Royalty Payment..
                         Itayaltacumskezit& RGC will pay to Lessor quarterly Royalty Paymenta equal to eight percent(8%)of the
          Sales Value. of Mineral., ertributed loth.Property. which RGC mines and sells. The RoyaltyPaYmmis wilt be determined and
          paid in accordance with Exhibit a,RGC.Royalty FoUcy for Virginia Operations("Royalty Policy").
                 8
                 .       Mininiantikoralte.• If the total °Ian Advance Royalty Pentads and Royalty Payments pald to Lessor under
          this Leese does not average 93,500 per acre for all of the Property from which RGC removes the topsoil In preparation•for Mining
          M   inimum   Royalty), ROC will pay to Lessor the amount by which the Minimum Royalty exceeds strchtolal.- Any such payment
          will be deterudned and paid In accordance with Clause 11 ofthe Royalty Policy. .
                 9
                 .                                            . During Exploration, Lessor and RGC will work together to accommodate
          Unmet normal activities on the Property. RGC will give Lamm at least twelVe months notice ("Notice of Irfining, if RGC.
          Mining will require Lister to cease activities on the portion of the Property described in the Notice.of'Mining.'Until the end of
          the notice period, Lessor      have the right, but not the obligation, to remove for Lessor's account any crop.,titober,-buildings,
          Idgation systems,fixtures or personalty of Lassen from that portion ofthe Property,'From the end of the notice period until•RGC •
          notifiee Lessor otherwise, Lessor will cause all activities to eats.on that portion of the Property. During Reclamation, RGC will

                                                                         105                                     II
Case 2:25-cv-06135   Document 1-1   Filed 07/07/25   Page 93 of 263 Page ID #:108




                                      106
Case 2:25-cv-06135                    Document 1-1                      Filed 07/07/25                     Page 94 of 263 Page ID #:109
       •                (b)         glther brildingg. U RGC ,roposes to remove other bulletins. on the Property.
                                                                                                                            RGC witi give Lessor not
       •                           ,Iees than six months' notice of in Intention to do so. At leapt 90 day. prior to
                                    compensate Lessor by Making a payment to Lessor equal to the approximate                 such retnoval, RGC will
                                    of that nature, as determined by the avenge of.twci appellate by                    replacement     cost of buildings
                                                                                                                 appraisers
                                    described In Section 21(ii): tenet veld 'cease using the relevant buildings 30 daysselected.           in the manner
                                                                                                                                prior to the
                                    removal and will (teditate removal in all reopects.                                                 .     . PrnPosed
                  22.       21444:4341-ChilialX If RCC learns that a third party may have a claim of ownership In any
        percentage of the Property or any payments under this Leese;RCC may deposit In a special *serene account                                 portion or
        Insurance company located in Virginb)any psymenis otherwise due in Lessor under this 11.4*AAP and give                    (with a bank or title
        the deposit. The sum. deposited. win remain In the special(MOW ACCOUStl until the claim or eontroVersy                 terror    written   notice of
        there hes been•final determination of the claim or controversy by a court or arbitrator, inctuding                         is resolved, or until
                  23. Additionaisatmx4iguintd..Bgblz if, during the Term                                             any  appeals   therefrom.
                                                                                                         of this Lease, Lessor acquires any tight or
        Interne In the Property or In any property_ adjacent or easements                                     Lennie will promptly notify M,
                                                                                   epputtenentthereto,    (t)
        arty such right or Interest acquired in the Property, which Lessor hed In this Lone already warranted                                         C 04
                                                                                                                            to
        will become part of the Property subjeet to this Leese without any additional ;lament to Lessor.,(c) ncc be part of the Property,
        any time, lease any other such right or interest on the same terms as (he terms of this Leese, and                    may,   at  RGCs option,at
        acknowledge,and deliver an Amendment to this Lease and to the Memorandum cif this Lease to RGC,seasid)                         Lessor will sign,
                                                                                                                                  to include such right
        cruet         t.                          .           .           .      •                               ..
                  24. •Entimies. •If the Property is now or later owned'In severally.or              • •.
                                                                                                       In separate tracts, RCC Win nevertheless be
        entitled to treat the Property as an undivided whole under this • Leese, with all payments _payable under the
       (either directly or pursuant le Section 23 (Multiple Owners)) to the separate owners Of the Property                             Lease to be paid
        ownership interest, measured inacree, or percentage ownership of acres, bears to the whole Property:in the proportion that their
        no event will RGC• total payment obligation' to the separate owners exceed the payment obligations                  Molded,      however, that in
        incurred under the Lease if the Property were 0Vrnetr tr.t undivided fee simple by a 51n8le owner.• •                   that lux- would have
                                                                                                                                                             -
                  25. Igatipic_Oenal. Whenever two or more partial are entitled to tecelve;my payments under this Lease,RC
        may withhold any suet'', paymentiruniesi and until all of those parties designate in a recordable instrument an agent
        to receive ad such payment,. and to execute division end' transfer'orders.on.behalf•cd all thotte.parties and their                    empowered
        successors In title. Delivery of any payment due under this LAUe to the designated agent fulfills RCCe obligittien                        respective
                                                                                                                                              to make diet
        payment to those parties. ,              .                                                       .           ..  ..      .
                  26. Assymnxrit. Both parties have the right to assign their rights and obligations under this Lease,In whole or In•
         pare provided,however,that;                                                                                         . .
                           (a)       The party making such An assignment must give the other party prior written notire thereof:.                  ..
                           (b)       The provisions of thisLease wW apply to and be binding upon the successors andaisigris of the respectbre
                                     parties;
     •                      (c)      Any change or divbion in the ownership of the Properly or of the right to retelve any pa yutenteurider this
                                     Leese. however aceompllthed, will not increase RGCs total payment obligation, under This Lease or affect
                                     11GC0 rights to conduct Explorstion, Operations or Reclamation on the Property; .
                           (d) ' Notwithstanding Section 2600,ACC may, without notice or consent, aisign.any of it. rights Or obligations
                                     to affiliates of RCC;or use the cervices of independent contractors or "snits to perform any of its right, or
                                     obligations; and                                                                 ..                  .
                           (e)        No assignment will relieve the assigning party of any obligations or liability tothe other party; unless the
                                      other,party providesa written release to the assigning party.        -      .                   .          .      .
                   27. EaccOlsuruct. Neither Pasty will bi deemed to default under this Lease during any, period in which its
         exercise or performance of any of its rights or obligations Under this Leese is _ prevented by any cause reaeonebly beyond ita
         control. Such an event Le referred to in tht• Lease as 'Force Maiture." 'Force Majeure will include, but ha not limited to, the
         following: fire, flood., donne, hurricanes,tornados, winds,other dames./ from the element., declared or undeclared war, Arden,
         labor dispute., riots; dell unreal, action of'governmental authorities. condenmetion, eminent domain, crime,,billtere to receive
         required governrnentel approval., inability to obtain water.for Operations,a eubstantist fell in the marketprices of Minerals,tack
          of access,litigaticm, arta of Cod,and acts of the public enemy. The Term of!Ma Lease will be ',tended for a period of time equal
          to the petiorf of Force Majeure..All such periods will be deemed to begin at the earliest time a party Is prevented from mcmcising
          or. perforating any of its rights or obligations byreosons of Force Majeure. •
                   28.. .ffcLawherr. Lessor and RGC represent and warrant to each other that no hroker, agent, or finder hes acted on
          II behalf In-connection withthle Lease,and that no commissions,fees, or other monies are due to any broker,agent,Or finder. In
     -, addidoit. Lessor and RGC will and do Indemnify each :other from all claims with respect to•arty brokerage, finder's or leasing •
          tOrnalisiiims in connection with this Livise or any of the transactions contemplated under this Lease. .                •
     •          . '29. - • Quidemaigios. Lessor will immediately notify'RGC of any condeautation proceeding that may affect the
                .
          Ptoperty. Lessor Will cooperate with RGC In defending or settling the same. ROC may, in ila discretion, defend its rights
        - independently of Lessor. Any condemnation award will be shared between Lessor and RGC as provided by law. Any
           condeenned Property will constitute Retested Land as of the date of condemnation,and this Leese will continue in effect as 10th.,
           remaining Property.                                  S    S   ..                                        .                        .
                   30.       .03512.111MitalaR4i0111. Subject tO the provisions of this Section any controversy;claim,or dispute aria Mg 001 01
           Or retitect to   this Leese,' or to the   formation, negotiation, or breach  thereof, will be fettled by  binding   arbitration    in Richmond,
       . Virginia before a single arbitrator, in accordance with the Cornmerdal Arbitration Ruler of the American Arbltration Aisociatlors.
           Any award of damages will be limited to actual, compensatory damages. judgment upon the award rendered by the arbitrator
           may be confirmed by,and entered irl, any court having jurisdiction thereof. Prior to initiating any arbitration, the initiating petty
           will give the other party written notice of. the claim, and will allow the other party 30 days from the date that the notice is
           received to amicably resolve the chitin.' lithe cleim is not resolved within the 30 day penod, the initiating party's sole and
           exclusive remedy will be to submit the-dispute to arbitration. The Fettles will comply with any arbitration award vnthap 30 days
           of Its issuance, or AO soon as 'practicable thereafter, and 'the Lease will continue in full force and effect. 'In no event will the
           existence of any dispute, arbitration or award suspend or otherwise affect arty party's rights or obligations under this Lease,or
           interfere in soy way with RGC•Operations.
                    31. Zialactaceace.Mill.1=SiblerSitiOM. Lessor has not, and will not, during the Term of this Lease,
            take any action or grant any right which would in any way interfere with RGCs exercise of its righti as set out in Section 4(Grant
            of Righta) of this Lease.                                                   .                                     .. .             .
                    32.. brialguakdirSconliheeinearstiox. U either party waives oi does not enforce any provision of this Lease
            en any occasion, that ration wW rot constitute waiver of: (a) that provision as to any other time, event or oceuiTenee; or(b)any
            other provision. •                                                                        .S
             •1      33. i Kolicsi. -Any notice given tti the other party under this Lease rnust be In writing'             :and sent by United States
            registered Or certified mall, return receipt requested,or via Federal Express or simper overnight corner service,addressed to the
      ' "fiddrees set forth on the dot page of this Leese.. AU notices will be deemed to have been made When deposited in the mailer with
             the coulee as provldeld above. AU notices will be.deented to have been received upon actual receipt by any person at the address
             listed above. Either party May 'change its address for the mailing Of notices by styles the other party notice of such change of
             address in the manner provided for in this Section.          ,          . ..                                    .         .
                     34. . SpktjaAsteaneyg; No Oral Modiflooliatt- This Lea's.; censtitutie the entire agreement between the
             parties rind supersedes all previous agreementa, written or oral. Lessor hereby expressly acknowledge. that, In entering into this
             Leas., Lissor hai not reliedon
                                       relied      any oral Or written statements made by RGC,'Its employees, agents or independent contractors.
             This Leese May smiyhe modified by a wtitten agreement in recordable Loot signed by Lessor and MI authorizedolficer of RGC.
                     35. chsamoLkotR. This Lease wW bi construed,interpreted and governed by the laws of Wrestle. ''
                     3e. availoors and Assigns. This Lease constitutes a Covenant running with the land and will be binding on,
             and inure to the benefit of, Latour, RGC,and Lenor's and RGCs heirs,legal representatives, executors, administrator,,successors
              and stele',as the vile maybe.            •
                     37. ae                         In the event that any court or duly appointed arbitrator deterinineS that any provision of 114
              Lease is 'unenforteable, Illegal, or in conflict with arty Federal, state, at local taw. the parties will petition (Or will hereby be
              deemed to hey* petitioned) the court or arbitrator to reform that provision In such• Way as to carry out theintent of the parties
              to the *knelt permissible under law. lithe court or arbitrator declines to reform that prevision; then that provision will be
              considered severable from the test of the Lease,the remaining provisions of the Leese will not be affected,..and this Lease will be
            - construed arid enforced as if the Lease did not contain the unenforceable or atrial orovialon...                            .

              Intend3  that  * arlatill"111"2-°801-44X-riaatignalf-goke-RulgAgablaRa3Nftlit62.
                         8' any                                                                                                   Lessor And RGC do not
                                 prti *ton In this Leese will in any way violate the Rule Against Perpetuities or any related rifle. If any such
               violation should occur, it le the intent of Leasor and RGC that the appropriate court or arbitrator will reform the provision an such
              a way es to approximate most closely the Intent of the retro Solthrn the Units permissible under such rule or related rule, and
               will enforce the Lem ror ev reformed.              •    .     .     .               .




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                                                                             107
Case 2:25-cv-06135              Document 1-1                   Filed 07/07/25                  Page 95 of 263 Page ID #:110
               39. '11temoraflibun. • As It. time this Leese la signed. tha parties will dpi
        record. in the event of•conflict between the terms of the Memorandum of                  Memorandum.of Lease which ECC will
        control.                                                                      Lease and thiS LeattlYthe terms Of this Lease  will
              40. Modgagee coximv. Lessor agrees to use Leisoel beet
                                                                                   effosi to obtain promptly. and to provide
        copy of,any consent to this LA'S/ required by the tenni of any mortgage or                                             to RcC a
        with respect to all or any part ol the Property. Such consent, however, other instrument creating rights euperior to this Lease
        effectivenses and enforceebility of the Lease asisetween Lessor and RCC. will neither affect norhe a condition precedent to the
              41. Ifgastings. Tbe headings contained in this Lease.are for the convenience•
        used In Its Mt    etadon.                                                                    of the pestles only, and will not be
               42.                 atilgatevierMILUtlic. in addition to other obligations that survive this
        In this Lease,thnpentes° obligations Under the following Sections of this Lease will                                Lease as set forth
        will not be affected by, the termination of, or expiration of                        remain In fidi force and
                                                                      the Term of, this Lease: Sections 7-9, 11, 14-1S,effeca  following,and
                                                                                                                         17; 19,22, 24-26, 30,
        32-38,and 41-43.                                                     •
               43. Ged.railli.• During the Term of this Less., each part3i will act in good faith
        and will meet with the other party to discuss and to hy to resolve amicably any issues that       to fulfill the intent of this Lease,
                                                                                                    may arise.




               Ra WITNESS W11211090P,the parties have executed this Lease under seal.,of the date first above written.

         OWNER:                                                                GC(USA)litUNERALS

         h             Ca/LA                             ISE.1141            Br
          G. L. Parson. Jr.                                                                   Vice                  President
         OhintNILm0
                                                                            (CORPORATE 'EAU
          AKA George Lee Parson, Jr.
           AKA G. L. Parson                                                                                               .. • .
                                                                             Attest:
           AKA C. Lee Parson, Jr.
                                                                             It,:                                   Secretary




           Mary Elizabeth Parson
                                           o   07
                                                --C/1011ele
                                                         l 1                 STATE OP.
                                                                             coUNTY0P
                                                                                              FLORITIA
                                                                                                  CLAY

         (Print Name)
                                                                              The foregoing Instrument was acknowledged before me                •
           AKA Mary.ButterWorth Parson                                     • 04.13          if • February          1989r 1990,
            AKA Mary B. Parson                                              • by  Daniel P. Wolcott
            AKA Mary E. Parson                                                         'President of Roc (USA) MINERALS
                                                                              aa Vice'
            AKA Mrs. C. L. Parson, Jr.
                                                                              INC., a Delaware corporation, on WNW of the
                                                                              corporation.


                                                                                                           \11Qi.
          STATE OF VIRGINIA                                                   Notary.Public .

         EirlicoUNTY OF        44                                             My Commission Expires:Notary Puhile. State of Florida
                                                                                                 'Ay Commission Expires May 21, 1993
          The fore cling Instrument was acknowledged before me                                                     *•-•
          this              day . of OAL.Rdr.---          1989,
          by G. L. Parson, Jy.. and 4ary
               Elizaketh Parson, hnsbaml and                                   INCTARIAL VALI.
               wife




           My Commtaelon Expires:

                              01151 1951
                            t4- 614
                                  1-
           Notary Public

          (NOTARIAL SEAL)




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                                                                    108
Case 2:25-cv-06135   Document 1-1   Filed 07/07/25   Page 96 of 263 Page ID #:111




                                 EXHIBIT A
                                     TO
                                MINING LEASE
                               BY AND BETWEEN



               G. L. PARSON, JR., AAA GEORGE LEE PARSON, JR..
              AKA G. L. PARSON, and AKA G. LEE PARSON, JR., and

             MARY ELIZABETH PARSON. AKA MARY BUTTERWORTH PARSON,
                 AKA MARY B. PARSON, AKA MARY E. PARSON, and
                AAA MRS. G. L. PARSON. JR.. husband and wife
                                  (LESSON)


                                     AND    ,

                           ROC (USA) MINERALS INC:
                                   (ROC)




                                      109
Case 2:25-cv-06135             Document 1-1               Filed 07/07/25             Page 97 of 263 Page ID #:112

                                                     EXHIBIT A



                Under the terse of the sbove-referenced•iiining Lease, to which this Exhibit is attached, Lessor his
      leased to RGC, end granted to IDC various rights regarding, certain Neil property (including all eineral rights
      and Minerals) referred to as the 'Property', which is situated in the        Swim         Nagisterill District, .
      Dinwiddie           County, State of Virginia, which is hereby represented and warranted by Lessor to anount to
      122.ES acres, end which is described as follows:

      That same tract or parcel of land conveyed to G. L. Parson, Jr.'
      by Warranty Deed; dated December 18, 1972, and recorded in Deed
      Book 160 at page 61, in Clerk's Office of Circuit Court of
      Dinwiddie County, Virginia. 'To Wit: All of that certain* tract,
      piece or parcel of land lying and being situate in Sapony District,
      Dinwiddie County, Virginia, South of what is called Dover Spring
      Branch, containing one hundred and forty (140) acres, more or less,
      and bounded on the North by the said Dover Spring Branch, on the
      East by the land of Charlie Pride and the land of Lee Parson,, on
      the South by the land of S. T. Hideout and on the West by the land
      of Hrs. C.C. Hideout; and being the same land described in and
      conveyed by deed dated July 20, 1896, from Thomas J. Crowder and
      wife to Mary H. Carraway, duly recorded in the Clerk's Office of
      the Circuit Court of Dinwiddie County, Virginia, in Deed Book 20,
       No. 1 at page 317; and being in all respects the same real estate
       conveyed to G. Lee Parson from W. Potter Sterne, Special
       Commissioner, by deed dated the 13th day of May, 1938, and recorded
       in the aforesaid Clerk's Office in Deed nook 62, at page 24.

     ,JESS and EXCEPT: That same tract or parcel of land. conveyed to
     '
     Lance V. Everett and Ann P. Everett; Husband and wife, by Warranty
     Deed, dated December 18, 1976, and recorded in Deed Book 182 at
     page 259, in the Clerk's 'Office Of Circuit Court of Dinwiddie
     County, Virginia. To Wit:: All that certain lot, piece or parcel
     of land lying and being Situate in Sapony District, Dinwiddie
     County, Virginia, containing 2..68 acres, more or less, as shown on
     a plat of survey made by W. G. Chappell, C.L.S.„ dated December 10,
     1976, which plat is attached hereto and made a part hereof, and on
      which plat said lot is described as follows, to-wit: Beginning at
      a spike in the center of State Highway Route No. 619, thence N 860
     00' E 638.80 feet to an iron (set); thence $ 4° 00' .E 189.00 feet
      to an iron (set);. thence S 86° 00' W 638.80 feet to a stake in the
      center of said Route No. 619; thence N 4° 00' W 189.00 feet along
      the center of said Route No. 619 to a spike, the point . of
      beginning.

        Being in all respects a part or portion of the same real estate
        conveyed to G. L. Parson, Jr. from G. Lee.Parson,'also known as G.
        L. Parson, Sr. and Virgie F. Parson, his wife, by deed dated the
        18th day of December, 1972, and recorded in the Clerk's Office of
        the Circuit Court of Dinwiddie County, Virgplia, in Deed Book 160,
        at page 61.
                                                          •
        AND ALSO LESS and EXCEPT 14.63 acres, as described in unrecorded
        survey, by Kenneth 0. Peterson, L.S. 1553 dated 9-19-1989, standing
        in the name of G.L. parsons.

         EXEMPTING from all mining.operations.a parcel of land used for a
         cemetery.                    •

         Subject property is referred to in the Dinwiddie County tax records
         as Tax Parcel Number 101-4. •




                                                             110
Case 2:25-cv-06135                Document 1-1                    Filed 07/07/25                 Page 98 of 263 Page ID #:113
            .ol
           49



                                                    Ertaurr B
                                                      'To
                                                  MINING LEASE
                                                BY AND BETWEEN
                                      L. Parson, Jr. and Mary Elizabeth Parson,
                                                 husband and Wife
                                                     (Lessor)


                                                                  AND

                                                  RGC(USA)MINERALS INC.
                                                         (RGC)

                                         RGC's Royalty Policy for Virginia Operations

                                    COPYIUGHT            RGC(USA)MINERALS INC.1989


                   Tide document sets fortis RCC's Royalty Policy for Virginia Operation. PRoyolty Policy". which le referred to Is.
                   Section 7(Royalty Payments) of the nbove-referenced Deed of Mining Leaae("Lease" and which is attached to and
                   incorporeted Into the Leaf by reference.

            ikfittiligAl. The terms defined in the body of the Lease or anywhere In this Royally Policy will have the frame meanings
            throughout 11th Royalty Policy. The following terms will have the following meanings:

            (a)     'Principal hdinerale means ilmenite, Rutile and Zircon.

            (b)     -Minor Minerals" means Minerals other than PrIndpa I Minerals. • .
            (c)     "Mineralized Property" moms that portion of the Property which RCC estbnates, using the than most current
                    drilling data 'and survey Information, contoins Minerals.bearing minds which have n minsenurn dredgtable depth
                    of IS feet and which have a cut-off grade of two percent 12%)by weight average Mineral. content. All lump sum
                    payments under Section 6 (inlOal Payment and Advance Royally Payments) of the Lenge tire based on the
                    Mineralized Property as of the Lease Date,.onci subsequent changer in the acreage of the Mineralized Property will
                     not affect the lump sum payments.
                                                                                    •                                       •
            (d)     "Soles Value per ton of each Mineral" Means the dollar value per short tors derived by dividing(i) the actual Actin,:
                     sales of each Mineral following processing by the dry plant (net of returns, safes Notes, sales discounts and
                     commissions but not net -of settlement discounts) for the calendar quarter ("Quarter") which is .the subject of the
                     Royalty Payment calculation, by (ii) the total sales tonnage for each Minerol in tint Quarter, subject to the
                     exclunon of aates to affiliates contained ln.Clause 9(Sales to Affiliates) below.
            (e)     'Lessor's Stock Account" means the account maintained by RGC In Lessor', nous* for the purpose of!rocking and
                    reporting production, inventory and sales allocations made with respect to saleable Minerals attributed to the
                    Property, and for the purpose of calculating ond accounting to Lessor, through the Stock Report described in
                    Clause 3 below,for any Royalty Payments.

            (1)     'All Stock Accounts' means the Lessor's Stock Account and all other stock accounts maintained by RGC for other
                    properties on which RGC engages in Mining(as defined in Clause6(b)(i)below).
            (8)      'Recovery Rate for any treatment of material Is the weight of material that is present after that treatment divided
                     by the weight of material before treatment,expressed AS a percentage.

      2-    askukiling_Rtivallitio, This Royalty Policy sets forth the methodology to be used in determining and reporting the
      Royalty Payments_payable to Leiser under the Lease. 13y eIgnIng the Lease Lessor agrees to that methodology,including but not
      limited to (l) RGCs method of attributing Minerals'to the Property tie set forth in Clause 6 below; and (b) RGCs method of
      calculating Royalty Payments as eet forth In CiAlt3e7(Royalty Payment Calculations) below. '

      3
      .       Siosk Ar.caunt aztd—Slaci...BePsol. From the commencement of Mining (as defined In Clause 6.R.X0) on the
       Property until such time es RCC's obligation to pay Lessor Royalty Payments has been fulfilled, RCC will establish and 'maintain
       Lessor's Stock Account and will send to besot within 30 days after the end of each Quarter a written report ("Stock Report-)on
       the status of Lessor'. Stock Account: The Stock Report will show:
             (a)      The tone of saleable Minerals attributed to the Property for the Quarter(see Clause 6 below);
            (b)       Sales from the accumulated tons of sedeable Minerals referred to in Clause 3(e) abov
             (c)      Any Advance Royalty Payment's paid during the Quarter in accordance:with.Section 6 of the Lease;
             (d)      Any Royalty Payment payable for the Quarter pursuant to Section 7(Royalty Payments)of the Leaie;
             (e)      A reconciliation of Advance Royalty Payments end Royalty Payments.to Lessor pursuant to Section 6 (Initial
                      Payment and Advance Royalty Payments)and Section 7(Royalty Payments)of the Luse.

       The Stock Report will be certified as accurate by. RCC's Operations manager or a senior financial employee. By signing this Lease,
       1,ASSOf agree.to preserve the confidentiality of the sales and production information In all Stock Reports.
       4
       .    greg&,Bstik. RGC will pay Lessor a Royalty Paynie.nt equal to eight percent(8%)of the Sales Value per ton of each
       Mineral sold that is attributed to the Properly, as reflected in the Stock Account and as reported to Lessor quatterly.in the Stock
       Report.

       5_   gpiteltty,aulrunt. Any Royalty Payments due.for Principal Minerals attributed to-the.Property will be paid within 30
       dip after the end of the Quarter In which such Principal Minerals were sold (LE. invoiced to          Vochi6er), and fur Minor
       /Amend'attributed to the Property within 30 days of the end of the -Fiscal Year"(July 1 jute 30)Inthe
                                                                                                          which theywere sold.
       €., Sokshie,..AfimmeATAttawkdicuk_ersplztx. saleable Minerals are attributed to the Properly and tO Lessor's
       Stock Account as set forth below:

             (a)       RGC wIll survey, drill, and analyze drill samplee from those portions of the Property which it plant to min*, in
                       order to estimate the tons of Principal Minerals located therein.

             (b)       Production ofsaleable Mineral. Is achieved by tis• following three stepsin RCC's Operations:
                       fil      'Mining"- extracting and delivery of mineral Sond ore toils.concentrator;.
                      (U)        'Concentrating"- retrieval of nonleatni•rdal anterthl;
                                 71075,11i
                                        .     - removal of further non-consmerdal sand and separation Into saleable Minerals.
                       Each of these steps result. In recovery and lose of saleable Minerals depending on the efficiency of each step and

                                                                      111
                       the nature of the material being treated. The Recovery Rate for each step'ado, to a small degree on a daily !seals
                       and is determined by regular sampling and riruslysis of the material as it liaises thremeh riak
Case 2:25-cv-06135               Document 1-1                       Filed 07/07/25                Page 99 of 263 Page ID #:114
                                 •
              (c)      ma Recovery Rates for a given Quarter and the estimates and survey.informa
                       6(a)shove are used to estimate the tons of saleable Principal Minetals recoveredtion compiled pursuant to Clause
                       Those tons of Principal Minerals are then entered in Lessor's Stock Account.     from the Property in that Quarter.

              (d)       Within 30 days of It,end of each Fiscal Year,      will apportion Its actual production of saleable Minor
                        for the year among All Stock Accounts. TheRGC Opportionme                                                 Minerals
                        Principal Minerals among All Stock Accounts for the year. nt will he made in proportion to the attribution of

         7
         . SkrIDULIOLP.XLIZOtalt...CaiCidatilUtd.

                        Prlod.P41 h,iln‘ntis_Echt
                       (I)      Within 30 days of the end of each Quarter MC
                                during that Quarterfrom AllStock Accounts.   will deduct the total tons of each Principal
                                                                                                                          Wend sold
                       (ii)     The tons of Principal Minerals sold will be deducted
                               (FIFO) basis. Where production of saleable                from AU Stock Accounts on a 'FIrst-In/Firet-Ciue
                                                                               Minerala Is attributed to.several stock accounts
                                date, salt, attributable to such production will
                                to the tonnage allocated on that date to such    be deducted  horn the affected clock accounts Inon the *anus
                                                                                                                                  proportion
                                                                              stock accounts.
                       (iii)    The sales thus attributed to the Property will be
                                Stock Report.                                        entered in Lesaor's Stodc:Account and reflected
                                                                                                                                       in the
                       (iv)    RGC will calculate the Sal...Value per ton for each Principal
                                                                                             Mineralfor the Quarter.      •
                       (0      The Royalty Payment payable to Lessor for the Quarter
                               ton for each Prelpal Mineral for the Quarter multiplied  will equal  eight percent(8%)of the Sete, Value per
                              •re attributed to the Property for the Quarter as reflected by tfte tons of each Principal Mineral sold which
                                                                                         in the Stock Account. .
              (b)       nstorMlnerals Split
                                Within 30 days after the end of each Fiscal Year, calctilation
                                above, will be made for Minor Minerals,and the aresult         shriller toLhat described in Clause 7(a)(v)
                                Quarter of the Fiscal?ear.                              will be reflected its the Stock Report for the last
               (c)      AdJustenents
                                At the end of each FIscalYear, RGC will compare its actual annual                    •
                                Minerals attributed to All Stock Accounts in that year.              Mineral production to the total tons of
                                                                                        it the actual produdionle leas than the
                                production, then the shortfall will be deducted proportionat                                     attributed
                                production exceeds the attributed production, then the excess ely  from All Stock Accounts. If the actual
                                                                                               will be allocated proportionately among All
                                Stock Accounts.
         8
         .      CPRIlningliag...11D4—&0412ilifle. RGC will commingle Minerals from the
         properties, may engage in Mining on more than one property in a                               Property with Minerals from
         stockpile Minerals depending on market conditions.                   Quarter, and may in RGC'e sole discretion from time toother
                                                                                                                                       time
                                                                   •
         9. adamig„4.Sktf,,,t. RGC may in its sole discretion sell part or all of      •
         Sales Value per ton of each Mineral used in calculating the Royalty Payment its Minerals to affiliates of.RIGC. In such event,the
         suet% non-affiliate sales are lees than 30% of. RGC, total sales             will be based only on RGeissales to non-affiliates. If
         calculating the Royalty Payment will equal the greater of(a) theof the Mineral durh‘g the Quarter, then the Sale. Value used in
                                                                          Sales Value based
         indexed price for the Mineral, determined by multiplying (I) the Sales.Value 'only on RGCs Lies to nomaffillates or.(b)the
         Royalty Payment times (it) the percentage change in the Producer Price Index per ton of the Mineral list used.In calculating a
         Statistics, t.S. Department of Labor(Code No.)6220209. 1983.100).               -Titanium Pigments Index of the thueau. of Labor
                                                                                Such percentage change will be based on the change in
         Index from the last month of the Quarter in which the Sales Value referred                                                      the
         Quarter for which the Royalty Payment Is being calculated.                      to in Clause (i) was used to. the last month of thie

         10. Most Pavorri Lessor. If RCC agrees, after signing this Lease, to pay a higher Initial Payment
          aggregate Advance Royalty Payments per acre (excluding any such higher payment. that                                 per acre, higher
          lease date payment which raises a lessor's total lease date payments to seven percent          result from either (t) an increase In a
          lessor's total Advance Royalty Payments and Royalty Payments or (U) variations in        (7%)  of RGC's  then-c urrent estimate of the
                or limited by Clause 12 hereof),or higher royalty rates as it. any tither leased    Advance Royalty Payments that are based
          o
          ur"                                                                                    property in the.Area,
             the store favorable lease pay Lessor any amount necessary to adjust retroactivety payments previously     RGC       within 30 days
          the more favorable levels and the more favorable levels that are prospective in nature will thereafter          received by Lessor to
                                                                                                                     apply.
         .Clause does not require diet retroactive adjustments Include the time value of money. This Clause applies to this Lease. This
          to purchases,options to purchase, purchase-leaseback arrangements or other arrangements.                       only to leases and not .

               Cornpjetion ofMining                                                      •
               (a)      RGC will send Lessor written notice when It hap completed Mining on the Property.
               (b)      The next Stock Report after such notice will contain a reconciliatio
         and Advance Royalty Payments paid to date, with(Il)the product obtained byn comparing              (I)the total of all Royalty Payments
                                                                                                 multiplying the total number of ages of the
         Property from which RGC removed the topsoil in preparation for Mining times
                                                                                                    83,5M-per-acre  average'Minimum Royalty
         Provision In Section 8(Minimum Royalty) of theLease.
               (c)       if that Stock Report reflects that all tens of Minerals attributed to the Property have already been sold,
         Report Will be ',cense' last Stock Report and rinal reconciliation, and Lessor will be paid (i) any Royalty                     that Stock
         that Quarter, and (ii) the final payment, If any, required by.the 33,500-per-acre average Minimum Royaltyl'''aynt!nts
                                                                                                                             provision
                                                                                                                                       payable for
         Payment'). The Final Payment will equal the amount,if any,by which the prodifct described in Clause                            (the "Final
         described In Clause                                                                                              (1s)(ii) exceeds the total
               (d)       If that Stock Report reflects that arty tons of Minerals attributed to the Property have not yet been sold.
         be paid any Royalty Payments payable for that Quarter, and Lessor may elect, by sending written notice to                      Lessor will
         to either: (i)forfeit all right,. to future Royalty Payments with regard to all unsold tons and                     RGC within 30 days,
         determined In accordance with Clause Mc) above; or (it) continue Lessor's Stock Account             receive  the  Final Payment, if any,
         reconciliation and Final Payment, if any, until all such unsold tons are sold and the Fulfil total existence, and defer the final
                                                                                                                  of  all Royalty Payments and
         Advance Royalty Payments tan be used in determining any Final Payment due.

               Adisuuzjitaszitx.Proatical:_21254LatlistimsdatiNtAmlioxaLty....ecomr.as: At least otte year before RGC
          commence* Mining on the Property   .,•RGC will eitimate, using the then' atoll current driAn
          tons of Minerals located therein. using the higher of this estimated tonnage or 497 b4 data        and survey Information, the
                                                                                                           tons and _applying reasonably
          expected Recovery Rates end prices, RGC wIll.In good faith estimate the total sales value of
                                                                                                       t te saleable Minerals recoverable
          front the Mineralized Property. The Advance Royalty Payment equal to "70% of Estimated Future
                                                                                                           Royalt
          Section 6 (Initial Payment and Advance Royalty Payments) of the.Lease Will be determined by(a)multi Payments*        set forth IA'
                       tirnes thteight percent 01.7 toastyate (14 multiplying the.result by seventy percent' %), t
          sales value_....                                                                                                      tat     taL
          therefrotit airAdVance Royalty Permeate prey ous y made Under the.Lease.'                                     and (c) *ducting

          13. HQ-RCESIINCAllLEIgiattglit-QT-BSACCItatallana- Because of the inherent uncertainties in making.projections and
           estimate, vadat may affect Lessor's Royalty Payments, Lessor, In deciding whether to enter Into this Lease;should not rely
           any representation, written Of oral, as to the likelihood or value .of Royalty Payments,                                    upon
                                                                                                       and Lessor should bear in mind     the
           S3,-500-per-inne average Minimum Royalty provision contained in Section 8(Minimum Royalty) of the Lease applies onlythat
           engages in Mining on the Property, and even then applies only to the total :lumber°, acres front which RGC removes the If    RGC
                                                                                                                                      topsoil
           In preparation for Mining. Lessor acknowledges that Lessor understands the foregoing sentence ancl Lessor agrees that Lessor
           Ilea not relied upon any representation, written,or oral,as to the illceUnood Or value of Royalty Payments.
                                                                •




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Case 2:25-cv-06135                   Document 1-1                           Filed 07/07/25                     Page 100 of 263 Page ID #:115

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                  1 t15'YEAR r Ott MIMS,: 1.11/1ik it. tot11ti              it.. 0.41.24 Ekldbita, w1,1611.•to inCo;porated herein by this
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                      g-   Pa r.:Itm,          L.,-          .60.Y_:E.1.1..x..4ka.trai_e.iic.5)211....Agil_tl8rY..litit..U1:14U12.tii_Par St"1...41M
               r.y... li....r f.         -AKA .                                  Lind         t1&     C         Lar*P11.....:1 , htt ,                  ill/1a!d        i
                                                              L158....Mir61
           fleurtte) and Ilfra: t1/4 "10 MINIMA tS INC. a Dela 104(0                        who.: addre.• irt Warner Road, P.O. box IS07, ezeen
                                                                                                                                                C.,toe
           Spring*, Flarida,• 22043 citC:c).          COlaideCatinli Of the mutual promiees blade lit ads Le•con, •nd other good
                                                                                                                                        and valoable
           consideration,   the receipt and anfilden.:y of wItkit •re hereby a,    :latowleased, Leanot and IteCettee a• Mimeo:
                  1.        Defifled. :raffia. Any wind or One,. ghat I..:•pltallaed'and pieced lit quinetions In ads Lease Is•defined term
           and W11411 lit., CopitaliZtd Will liatVd the 441.14 InelailintS 040,4104,41 [nib Loam,.

           tamova,
                  2.          urposc.. Th4             p‘111,012
                                                            01 this Lease is to allow KCC to explore iOf and, at RCC`s torte
                                                                                                                             dIsctetion, to mine,
                                      and sell Mineral, from the Property, to tise ate th operty tu mine hlineral• from ilte . 1 ,oprity or ‘,41,„,,
           ;novelty,   ...a It, .1.411dt1C1 I Omani a•tivitlea. "Min./Vale ulnns the t,Il.nv itt roup oi odueral. Ana
           I.C4COX.1., Rollin,. Zircon, Shall1.411s.: KYal4le/S1111111atlite, Monazite, Xenottote, and.t/emet, and £311..lciate.1 irpproducts. Title to
           any Minerals misted 111•11, if Mal ahead), yeblen I.. R(;(,).433 ty 1(1.:(:i13 they are 2444141 Pon,the Proptrity.      .
                             (turif of_4.,a13.4.            lessor hereby leases to Ri3C the Propetry I.. sit:titled on Exhibit
                                                                                                                                A), on the testa, •tut
           condition, in this lease.
                  4.           Ount.iditighte. Loaso, grant* to l<CC tho followingen1udv..Heide with regard to the Norrty:
                                          •It) VON( it,.,            te. our Val,•ccptore, dull, teat, and astople Ill.: foregoing activities
                                                                                                                                              are defined ••
                                          "Exploration");
                                          To clear the Property of such buildings (subject to Set.         -tion 21 (Compensation for Buildings)), other
                                           structure, or obstacles, earth, ntatiding timber, plant., and such other things or material that RCC, Ill ha
                                          absolute diecretion, wishes to cleat Rum the Property to exercise its Tiede a3 San inn In this               &alio.) 4; 0)
                                           t-onstruct, relocate,. use, or remove roads, poverr and contutoniolautt lines, dredge pond*, tailing pontle,
                                         '  Pealing ponds, pipelines, building', storage !scathes, renal.,                   aigns, gates fences, and other
                                           structures anti facilities on the Properly; to take nteps CO prepare for urining on tit* Proparty; And to
                                           develop, mine, crossmine, dr..1go, resnOVO, concentrate, separate, commingle, stockpile, haui,
                                           ship, Ind twit Minerals Olio foregoing activities, whether conducted on the Pruperty or on other propeity
                                           lit uniwtridie sod SISO/latiCOUntleo, Vit611,141"Atea"), aid deflit4,1 as "011etaltiOnS
                                           To use the Property to stole, tranaport, or dispose of Minerals, water, tailings, and tuateilal f.nuiting from
                                         • RC./C's Operations;
                               (dr         Tv use *valet' from of       acpUlIVIAAIII
                                                                                    AO the Property and Co diailt through and hunt          Ptoperty and to
                                            d raw into any coo.,4 ill Cho Pro:potty day water iron, ItCCa UretatiO114:
                             • (o)        TO taios  atera to Xecompllsit Reclamation (as defined u' t Section 14) of the Property;
                               (1)        T.ana.11.A30.41e1111,111431. 61E acceno, and figli1••01.w4y frontCLot to the Pi..Tartly; and
                                        To Ulf IlOe              11.4 tlie•purpO•c• 4os,741../.1 is. tlo• Sr:WM, in .3,111.4101011 With RCC• Exit's:Artois.,
                                            *Md....a and ftesthimation oil oil'It proplAty.
                    N otwitltetanants the f0reis01.6, KCC I. Allt 81•1104.1 the dila nl..atef ILls LeaSe to CanlintrUCC OZ operate on ate Property •
            pros:truing plant for the final atty.:mists% of the lin trent rate 1010 eislenble MittOt•ls.                             •                      •
                      5.          kna _gnaw.         This Lease will'begin on the date fif1t Writt1n above and will end 20 years thereafter, irides,(a)
            t he Lease is ended eailler under S,M1011 19 (Termination),(b) the Grano Is automatically terminated by RCC• failure, for reasons
            other than • toinporaty Inability U. 01,tain.throush diligent efforts all neOariary governmental isermits and Authorization., to
            commence -Mining" (as defined ill Ole Royally Policy) Iii the Area by the eialith anniversary of the'Lease, or                     1111t Lease is
            a utuinathally extended to allow ACC Co complete ongoing operationa on the Properly. 11.0 extended, the Leos, shall terminate
            u pon the earlier stf wtittor,+Mace from 1K.:C•porairant to        Sot-Ili/at 19 t'feri661l1A1i0S1), or the         a.perio4 of 180 cortassmtive
            sioyn iii which MX: conduct° Int ()pet At14/11, 4111 OW Property.                     means if,. peritai of time Mums which this Lease ia
            eifina. •11..1, I,, ate absence of        talf/illnati011,'Minded omit the Initial 2V-year term and any extended
                      6.        initiaLrayinvit and A4iimjacc jtoyakx friyairpti. St.bJst to Ito/ henna •nd :Luminous oi this Lee.e.
            RGC      ii•y to                   during the Tenn of tide. Lvea..,          Vf be1../Ce the dates Indicated II.. following lump •51.1414 payutont• /41,1
            p•ytooto• per etTe           the Pa ninnty retalue.i under lloo             at 11{C. 4111. 011114 p•yulrut:

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                           l'ayastanol (Sale                                          P•yook.oc 4}4.0                  Papowail


                  ).0
            Lama.1-                                                             Initiet Payment                        52.50 per acre


            LeSee 0.14                                                          Advance Royalty                        $75U per roe


            Os' or before liecentbet                                            Keine( Payment                         $15 p.: acne
            of each year following the
            year ads 1 a.. Li

            Edifier of (e)"trlining"Tas                                             AdVallCe Royalty                   5.6    L10U .110
            d efined In Royalty Policy/                                                                                lump 511111,14,(111, S163,ti pot At;,t of
                                                                                                                       -NlineralitedProperty".(es defined in
            In Ates.or (It) Vila, A 44444 Verary
                                                                                                                       Royalty Policy)


           Tenth Amtleetwo y 1/ 1,0                                                 Advance, Royalty                     Vi• .(100„PLI             •
           'Notice of it                                                                                                hang)      equei 1,I  iirxicri;".r .cr
                                                                                                                                                          aa
           dciittosl hi Section 91 given                                                                                Mineralized Property, subleCt 10"709.
                                                                                                                        Limitation'(as defined lii Itnyalty Polizy)


             fifteenth italltn..113:tly 1111.                                   . Advance Royalty                       s.V.„COO
             1 1.11Ce an Mining gi
             .                    ,   o,                                                                                       311111, Sa/jcct:(0 70% limitation


             Notke of kilning                                                       Adv•OCO Royalty                     7090 of Eitintated Futsite Royalty         •
                                                                                                                        Payments(a...leaned In      fivyillty

             The Initial Pa7/item .3.4d Aft it..11.•1 Alla A d           4f,,yeity Pay titetns paid to 1,s,,.'. ..,    -toiltstd.d.4, 'fite am.:e K.oyalty
             Payments paid to ler.: Will I,. Credited •grins, 11,7 Royalty l'apnenta ottnnvolav payabio 1.41310.4lt .10 Section 7 trtoyaity
             Payment*/ and W.I. he rieyaid 1.y UCC, .         1 .,VULtI/11 it. hees.tr of the payment r equttest op.). Nome ut Mining will $acirry
             •,,7           heAl       .1k..,..tt    14.0,4 to pay the Teittit and iiitevnat ittuthreisaiy Ad v:nwe itaynity Payments.

                    1.,          /foully 1'44yr:teats.   MA': toutveyts LoSior .ina‘tedy Royalty Paymonla eV.' to 4161.1 peso:in tal.,) of the
             sate. V.1110,.4 MIneiwis, a n ti/.5(4,1 to Ihe Property. which /WC M in es ;t0.1 3 .0113. Th  Royalty 1 ayrueine trill be thierritirted and
                                                                                                       The R
             paid in act:m4.11re whit Exhibit it, Iti./C'e Royalty Policy fur Virginia Operationa ('it.iyalty Policy.
                                                                                                                    ").
                    H.            frifr mArik Agyitipt.   lf ate total of ail Advance Royalty l'aythents and Ropily Paytnerits.pald to Lessor under
             Lida Ltrase slues out average 5.3,500 9.1 Airt for all of the Property from which RCC•sernoves the topsoil iii pr.:Fermi4444 lot Milting
             (-Mirth       Royalty"), R(...C. will pay cu Lee.or the amount by which the Miniotuni Royalty exceed. rucit total. Any                 paytocot
           , t li be determined atitlyaid in accurdutice sold, Clanso 11 of the Royalty Poli4y.
                    9.            ixasoriLihg                      .1.1-112,cep..
                                                                           During Exploration, Lennor and RCC: will work          togetiter.to eccuitunodate
             Leaeoes nortnal a.Alvities tan the Property. RCC will give lessor                 lean twelve 0444111/ notice eNotice Ii htinitiO if MX'.
             Mini will require Laeaor 10 C..3.1 aLtivitien on.tint Vitt tiOn Of OW Property desebined                 P.lOti.:1 Of Mining. I...ed it... end .1
             thy so. ice period. 1.233411. wjll he.< the s141.1, talIt nut 11.c addidalianl. lo lenlOvat            •CCunilt 3117 :tops, tiott•rs,
              ii figollOt, @pleas*. Amore. ot Iiet.orl.I1y of Leasor Irvin Mat portion oh the Propel ty. Frow 11.;.§14 of the itutIce petiOst until litrt.:
              names besot otherwilte,•Leanur will cause all activities to ZO1.1.1 Lot that ?damn ot the Pioperty. Owing HecIlintation,               teal




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Case 2:25-cv-06135   Document 1-1   Filed 07/07/25   Page 101 of 263 Page ID #:116




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Case 2:25-cv-06135                Document 1-1                     Filed 07/07/25                      Page 102 of 263 Page ID #:117

                            lb)                             U ItGt: plI/p0325 to reLnOve other buildInge on the Property, RCC will give Leaser nOt
                                        nee than da Annul's notice of Its intention to do so. At Least 90 days prior to ouch removal, RCC will
                                      •.compensate Lessor by making a payment to Lessor eijual to the sop:oat:mato replaceutent cost of buildinga
                                        ol that nature, as determined by the average of two appraiaals by appraistera selected in the trimuler
                                         described In Section 21(a). Lessor will cease using the relevant buildings 30 day. prior to the proposed
                                         removal and will facilitate removal tot all respects.
                 • 22.      270:_rd-i'sEty agirni_             If RCC learn.s that a third party may have a claim of ownership In any portion or
           percentage ol the l'ruperty or any payineids under this Lease, RCC. way deposit in •special tsCrOW account(with a batik or title
           insotance     company     keened   in Virginia) any   payment. otherwise slue to latsettr under this Lease and give iaissor written rimier of
           the deposit. The none depoeited will remain itt the apedal escsow account until the claint or controversy is resolved, or until
           theta has been A      final itintrnthiatinn of the claim Or conttsiversy by a court 'Jr Artritgatorr, including any appeals therefrom.
                    23.       Addifioital             iiikt.:eiCkiliirtii.Rigii.(4." If, during the Tinos of this Lease, Lesior acquires any right in
           Interest in the •Propetty or In any property adjacent or easements appurtenant thezeto, (a) Lessor will promptly notify KCC,
           any such right or interest acydred in the Property, which Lessor hail                this Lease aireudy warranted toMai. be partitc
                                                                                                                                           of the
                                                                                                                                                ,op
                                                                                                                                                  Pro
                                                                                                                                                    tipoen.
                                                                                                                                                          rtyi
                                                                                                                                                            a
           soulbei•eme past of the Property anhi,,c, 110    this          without any additional payment to ieseor,(c) RCC              at
           Sill? time.    lease   any   other  such  tight  or  interest on the  sante  t ent.. aa  the  te r15
                                                                                                             s3   Of this Least  arid  d) Lessor  win
            a:it-nowt...lg.; end deiieer an Aniemititent 10 this Lease and to the Mei:swim...twit of this Lease to RCC,SO Sa, to inClUde soch ri6itt
            Or Interest.                                                                                  .
                    24.        KntAr.ctica. the Proprity is now dc later owned itt severalty yt.1 11 separate trains, RC:C.: will neverthelea• be
           entitled to tteat.the Property as an undivided, whoa. under this Lease, with all payments payable under the LOAS2to be paid
           (eithet directly or puseuarit Ii. Section 25 (M ultiple Owners)) to the separate owner• of the Property iii          p theepropettioiithe
                                                                                                                                                   ‘
            owite:ship interest, measured In acre., or percentage ownership of acres, bears to the whole Property;                         however that Is
            tio event will "ICC. total piquient obligationa to the sepanne.owners exceed the payment obligations thai. itlaC would have
            Inclined under the Leese if Mt Property were elwacni lit undivided lee /duple by•single Metter.
                    26,        Aiiiitiplc..Quitkre. Whenever two or inure palace ate .41%144 to jeceive any pay.'ttttt mider this Lease, KCC
            may withhold any nreit payments unless and until all of.Chus. patties designate in a tec.il dettic 11tStettttlettt mt Aden& eatiposeeted
            tO les:viva               paylltent• And to esAcun. division And tgautter nide/. On behalf 01 ell Muse                          their napes-live
            successots in title. Delivery of any payment don ender this Lease to the deeignated agent fulfills lit..te• vidigetivit (0 usake that
             paymmit to IttOse perties.
                    26.        Allupirgerit flothi patties have the.‘iett to assign their rights end nblieativits under this Lease, III whole or In
             pagt; ilt.C.Videst, 1"Jc/ever, that:
                              (01         The pasty inailne ouch eli A5Si ttttteta Must give the ilthei party pilot set nun% notice the:.of;
                               04         The yrovititOns of this Lease win apply gamut be blnifing Upon the maccessurs and aaalgne of the respective

                            (e)         •'lA5ny diange or division In she ownership Of the Property or ot the right to nceive any payments under this
                                             1u..;
                                           Lease, however accomplished, will not inerms• ACC.. total      earneut        obligation. under this Lea., or •Efict
                                           RCC's tights to conduct Exploration. Operations or Reclamation on the Noperty;
                                  hi)      Notwithatandlng Section 26(a), ROC may, without notice or consent, neaten any of Its tighta or obligations
                                           to affillatee of RCC,or use the services of independent contractors or &genus to perform any of Its rights or
                                           obligations; and
                                (e)        No aasignment will relieve tiw assigning pasty of any obligations or liability to tin other party. Ludese the
                                           other patty provides• written rellergee tts [hi,assigning party.
                       27.        foror_Majcurc. Neither party will be deentedln default under this Lease Mob% any period in which its
            caercise or Fetterman:. of-any of its rticitto Or OblidallOol under this Lease la preVentest by. any cause reasoinbly Leyund It.
             control. Such an event is :dated to in tido Lease a.'force hlaleure.- Force Majeure Will unlude, but is nut ll.uiites to, the
            following: (ire, Rood', storms, liorricansa, torarnios, winds, other damage from the elements, declared or undeclared Was, Strike],
             labsgr•aloputes, (luta, Clan 0111 set, instutt of eevernittental uthotlties, condemnation eminent mutual% crime, failure to revolve
             tesitdred gOverMitental erpt0eate,inability to enteirt water for Operation.,•substantial fall in the market pticee ol Minerals, lack
             of attain, litigation, arta of Cod, and acts of tire public eoemy. The Term Of this Leas. will be extended fur., peeled of time equal
             to the petted of Force Majeure. All such periodi will.ba deemed to begin at the earlieut thin a party Is prevented from exerilaing
             or perforating ally of its rights or obligation, by reasons of Force Melanie.
                        28.       no" Broker.,Lento and RCC represent and wertant to teach other that no broker, agent, sir findet luta acted on
             its. being (is cettnection with-this Lease,aild that net commissions,fees, or other mottles are due to any broker, agent, or finder, its
             addition. Lessor and RCC will and de indemnify each other from all claims with respect to any bruketage,Tuttleeit or leasing
             eonniussions in connection with this Lease or any of the transactions contemplated under this Lease. .
                        29.- - Condgmaatiam Lessor Will inUltedillety notify KCC of any condemnation proceedino                          e that may idles, the
              rtopesty. Lessor will Cooperate with KCC in defending or settling the saute. RCC may, in us discretion, defend ite-rights -
              I ndependently        of Lessor.    Any    condemnation    award   wit(' be shared   between     Lessor   and  MCC   a• provided. by law.
              condemned Propetty Will collar:tote Hm         el eted Land as of the date of CO nst eirtilatiOn, And. this Lease will continue in effect as to the
                              Propeity.
                        30.        D6Al1iddlega1uji0A., Subj.( toll,. pluVisiOnS of Mt.Session, any controemay, claim, or dispute ariaing out of
              or telettal to dd., Leaae, or to the formation, ingoiLstiort, or breach thereof, Will be settled by binding arbitration in Richmond,
           • Virginia before.eingle arbitrator, In accordance with the Commercial Arbluatlutt Rules of the Aoterican Arbitration Anociatiots
              A ny award of datnage. will be limited tO actual, CompenslitOry dentate,. Judginent upon the inenrd rendered by the arbitratur
              may be confirmed by, and enterml,in, any roan having Jurisdiction thereof. Frcur to initiating any arbitration, lin Winning party
              w ill give the other patty written notice of the claim, and will allow the other pasty 34J day. irons the date that the 110ttee ts
              reCelved to agniOahly resolve the CIA1411. If the claims is not re...lived within 11..20 day period, the initiating party', stole cud
                             remedy will be to submit the dispute to mblitatIon. The parties will comply with any arbitration award wtthin 30 days
              of lis issuance, ug a. *004 as prictimble thereafter, and the Lease wiLl 'continue in fuU force and etifect. In no event Wilt the
              eelstence of any di•pute, arbitration it: sward .uspeltri or otherwise affect any patty's right* or obligations under this Lease or
              interfere Inlay way with RCC.Operations. .
                        31. Ariantszfrancr—WittalaCc_apautiato Lesser ha. not, and will not, during the Tern, of this Lease,
               take.atty action or grant any right which would Many way interfere with RCC. Caers:52 of its rights as act Sot in Section 4(Cunt'•
               Of Rights) of thls Lease.                       . .           .
                        32.        Ntijawlied (Antinming_irgigrx..ti                          v•ny waives or sloes itm eidutee any provision ol this Lees.
               On any ocaslurt, that action will not constitute waiver of: (a) that ptuvision AS (O ally other rinse, event or occurrence; or lb) inty
               tither 1,4'0%4611311.
                         33.       lYglico. Ally.stinice given to the other party tinder this .Lease most be in writing, and sent by United States
                 relented Or certified mail, relttlli receipt reoueated, or via Federal Express or eituilat overnight courier service, addressed to the
              ;ddress set truth On the first page ohthle Lease. AU notices will be tiktroht to isave b                mad v when deposited in the mail or with
                the courier a• provided above. All notices will be deemed to have been received upon actual receipt by any person at the address
                listed   eliev'e.  Either party   May   change  its address for the  mailing of notices   try tieing  the other party notice of suds change ol
                address its the manner provided for in this Section.'
                         34. • Entitx_rigrocuicat..N1L_QaiLltrAdiiii3Ati128.• This Lease constitutes the entire egraement between the
               (talkies and supenedes .11 previous agreements, written or oral. Lessor herell expressly acknowledges that; in entering into this
                 Lease, Lessor has not relied tin any Oral or written statements made by.RCL, its employees,•ageuts Or independent contracting.
                 This Lease MeV unly.be intalified by a written agreement ill recerdablefOrui signed by Lessor twa an antis:Pined Offh:.r of KCC.
                       • 35, Ttimix.of.Low. This Leate will be construed, interpreted and geverned by the laws of
                          3 . 5uarivecansl.m.__Aigriv. Thu Lease 'constitutes a covenant twining with the land and will he binding ..11,
                       IOW< to tile bee tilt of, Lessor. RCC,•tni Leafve• and ItCC.'s heirs, 1264 f.riweelLt•live., ra2CUtog 5,•dininlatralOra, taCCe5Ssit a
                 a t.0,'
                 and aasigns, as the Catte may be.
                          3/. • &vt biiny. In th, event that isoy court or duly appointed atbitrator deniuenes that soy provision of ltda
                 Leese I. tine:atoneable, illegal. Or Us conflict with any Federal, state, or local law, the parties will petition (or will hereby be
                 deemed to heir• petitioned) the Cullit or arbitrator to &Aunts that provision in such• way as•to carry out the Intent of the parties
                 no the eatelll permissible under law. U the coon or arbitrator declines to•referot that provieloo, then that provision will be
                 considered seeetabla how the rest of the Lease, the tentairting wovialons of the Laasl will not be affected, and this Lease will In
                 construed attd enforced.a. if the Lease slid nut contain the unenforceable or illegal ecuwieton.
                          38.        Aladificalioa.to..Curc_ilitx...Vitilialion.of.thr—flukkairuLerrieetuititA,. Lessor and KCC do not
                  intend that any provision in this LeAle Will in any War ViOlati the Rule Against Perpetuities or any related rule. If any awl%
                  violation OhOitist Occur, it I. the Intent of Lessor and         that fhirappropriale court Of.1 bitratur will refotut the provision mined.
                  a way as 151 approximate mon Ousel). the Intent of lite i               within the Slush. pet glii••it.le sander *web ants of g elated rtate, and
                  tv Odor ee (ha 1..a., as •J




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Case 2:25-cv-06135                    Document 1-1                 Filed 07/07/25                     Page 103 of 263 Page ID #:118

                39.      Iliorsurunaiun& . At the how tido Lease Is signed,the parties' wiihslica a MantOrandtun of Loo:o which ItCC will
          record. lik the evnt Of a conflict between the tem, pi' the Meutorandurn of Loose and Ulla Leaoe, the tertilS Of till. Lee3e Will
          CutilrOl.                   .
                4a. iduagggcc_ciument. L_ewoor agree. to LL3et Lenzasi'a best efforts to obtain pcetnpily, iiiTil to provide to RCC a •
          Fop),at,any Custsciat ttl tide LeAse requited by the terma of any mortgage ur other instrument creating ridhto SuperiOr IC this Lean,
          with ,..1.,.. to all or any Fait uf the Property..Such consent, liuwever, will neither affect Atn be A [Q1144.4,41 precedent to the
          effwvtivesionie and enforceability.of the L.14.1 ili between Lessor' and RCC.    '     .         .                                        .
                  41.       hauling& Th. headiniso contained in this Leaie are for the Convenience of the pettici Oilly, said Will 5{U/ 4.
          Y•AN1 ill it. illt.ipzAktius,.     '     -        .                                                                                            •
                   42.      QUigtifigni 7110:S'urvige lhalea&u. hi iiikliihiiii to other oblidationa that entvive this Lease eo an forth
          in ono let,e, the yeilies' oblidatitura %/Ude( Illa fa.14/16 SeNahizta .4 this Le e wiJI fattish' iti full force atni effect followinA
          ..iii MA 1/41 affected,'toy, the .terodnotion of, or expiration of the Twin at, ibis Lease:. Sections 7.9, 11, 14-15, 17, 19, Ti 24-7fs, 30,
          .
          .ri.-38, and 41-43..                  .                                 .        .             .
                     43.       GuitiLfaitti Durins     the Tenn of ;hie Lease, e.adi party Will eCt tit 5004 fatal IJ fulfill ate iltleill U.
                                                                                                                                            / this LedLOY,
          and Will meet With the Other petty %0•16duss and to try to se.tebie eulicoLly'soy ire... diet Okay) *rise.




                      iN   rarmos WIIESOYDN,the parties tuivw execognitIne'Lease under tee: as of time date fltst above whiten.
           QWNtL                                                                       GC(USA)arNERALS INC.:


             #J2
               3
               -                                                                     by
              C. L. Parson                 Jr.                                                       Vice                      President
                 Nainr)
                                                                                     10JRPORATE5
              AKA Ceorge .Lee Par50h, Jr,
              AKA C. L. Parsofi
              AKA C. Lee Parion, Jr.
                                                                                                                               Secteuwy           .




                                                                                     5TATHO1: _?LORIDA
                                                                                     COUNT OF     CLAY
              Mary Elizabeth Parson
           (Print Neirty)
                                                                                     The foirisoins inotcoonent leas •cifnuveled6e4 before nte
              AKA Mary -Butterworth Parson.                                          thio                  of     February.                   -1989. 1990,
              AKA Nary 11. Parson                                                    by Daniel P        Wplontr
              AKA Mary E. Parson                                                     .
                                                                                     a  .‘,/ cP • Presideut of RCC (USA) MINERALS
              AKA Mrs. C. L. Parson, Jr..                                             INC., • 'Delawore       cc:Trion:than,. on   Venal(    ul       time
                                                                                      corponnlan.




             STATE OR V IRCINL4                                                       Notary Public .

             C       /COUNTY OP,d,
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                                                                                                          U1 focruoiosiog foists May 21, 1993.
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             thii               Jay of                  •  089,
           . Dy       C. L. Polaqa,_11....,
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              N otary Pohlic


            'NOTARIAL SEAL)




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Case 2:25-cv-06135
           VA-07W               Document 1-1                     Filed 07/07/25                         Page 104 of 263 Page ID #:119
          STATE OF VIRGINIA
          COUNTY OP

                    •                                     MDAQIIMMYLP.Liggil
                  ItCC(USA) Minerals Inc., a Delaware corporation, CRCC")and                      • .


          (^Lessor") have 11,01,Ced into•Deed of Mining Lease dated        0c,..tubet 13     1989
                                               ( leaae"), the terms of which are incorporated herein by reference. The Lease provides
           among other things that;

                  1.        RCC, as tenant, has leased from Lessor, as landlord, the Propeity described on Exhibit A to the Lease whtcjt
           exhibit Is also attached hereto as Exhibit A.                                                              .•
                                                                                                                                 •
                 2.         1..Caser her granted 10 RCC the right Io. explore for and ;nine various minerals on and under The Property and to
           conduct mining'related operations on the Pt°petty. .
                 3.      The term of the Lease begin., on the date of the Lease set iorth •boet ena euntiuues(or a period of 20 years, unless.
           valuer terminated or teutporarily extended pursuant to the

                   4.       Doting its tertn, the Lease is binding upon any aUccessors to all or any postion.of LCISVe interest in the Property.

                         ' The Lessor's Amite and address are:
                              C. L. Parson, Jr. and Mary Elizabeth Parson, husband and wife
                              Route 1-, 41oX 60 -
                              Stony Creek, Virginia 23882

                        R.CC• A/0114 and address are:'RCC(USA)Minerals, Inc., Attention: Land Manager, Warner Road,P.O. Box 1307;
           Creen Cove Springs, Florida 32043.                      •
                   iN  WITNBSS WIIERBOP,               RCC      and       Lessor         have   executed   this   Memorandum     of   Lease        as
           or       October 13, 1989


            LI&NMOR.: 5Z
                       4:1    4
             G. L, Parson, Jr.
            41aNium0
           0/
            1                                                                      lts             Vice'                               President
            AKA George Lee Parson,
                                                                               (CORPORATE SEAL1
            AKA C. L. ParSon.
                AKA C. Lee Parson, Jr.
                                                                                    Attest:


                                                                                    Its:                                       Secretary


                          'Dt—le—e-1217-                                            STATE OF            FLORIDA
                                                                                                            • 'MAY
             Marl Elizabeth Parson                                                 'CITIV.COUNTYOF
           (Ps-WM.2u)
                                                                                    The hirtsgoing instrwulipt wlal acknowledged       before,, Ault
                AKA- Mary Butterworth Parson. '                                            -3 day of February
                                                                                    this                                                   19
                AKA Mary B. Parson      •                                           by        ie P. Wolcott
                AKA Mary E. parson                                                  as    Vice •                   President Cl RGC (USA)
                AKA Mrs. C. L. Parson, Jr.                                          MINERALS INC., a Delaware corporation, on behalf of the
                                                                                    corporation. '
                                                                                                                           Notary PubSt. State et timid*
                                                                                                                        My Conininsion &piles hie, 21). 199
             STAT OF VIRGINLA                                                                    stit                             hey In, iada- lost. co Iwo
                                                                                   . Notary Public
             Girrr/COUNTY OF __11            Wy •
                                                                                    (NOTARIAL SEAL(
             The foregrin_ totruntent was acknowledged before
             Ott this    IC 1.,
                              4 4ay of at..e.gia--         19 841
             by C. L. Parson, Jr., and Mary
                  E Lizabech Parson, husband and
                    w ife




                My Commission Expires:                       fq 9/    •
                                       .1
                               N
                F otary Public' -

            (NOTARIAL SEALJ




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Case 2:25-cv-06135            Document 1-1                Filed 07/07/25              Page 105 of 263 Page ID #:120



                                                        EXHIBIT A



              •    Under* the teres of the abowe7,referenced oining Lease, to which this Eabibit is attached, Lessor has
        leased to RGC, and granted to MC various rights regarding,' certain real property (including all oineral rights
        and ilinerals) referred to as the "Property', which is situated in the      StooV .Creek    Magisterial District,
        1U SSE'      County, State of. Virginia, which is hereby represented and warranted by Lessor to amount to
      * 55 OD acres, and which is described as follows: •           . •

         That same tract or parcel of land conveyed to G.L. .Parson Jr.; by
         Warranty Deed, dated April 11, 1960, 'and recorded in Deed. Book 59
         at page 5594 in Clerk's Office of Circuit Court of Sussex County,
       - Virginia. . To Wit:         all' of that certain tract or parcel of
         l and sold in bulk and not by acres, 'said to contain. fifty .(50)
         acres, be it the same more: or less, and being.. in Stony Creek
         Magisterial   District Sussex County, Virginia,       with general
         warranty. Bounded and described as follows, on the North by Public
       'Road leading from concord Church to Stany creek, On the East by the
        'Old Man-love Tract' formerly owned by Camp Manufacturing CoMpany,
         on the South by a branch and on the West' by said. public road
         l eading from Concord Church to Stony.Creek, Va."; and being in' all
         respects the identical real estate that Was Conveyed to G. Lee
         Parson; Sr., in the name of C. Lee Parson, by deed from J. Walter
         Harrison and Wife.; dated April. 16,. 1915 and duly recorded in the
         Clerk's Office of the aforesaid county in Deed Book 24.at page 303.

        Subject property is referred to in the Sussex County tax records
        as Tax Parcel Number 101-17.




                                                              118
Case 2:25-cv-06135     Document 1-1    Filed 07/07/25   Page 106 of 263 Page ID #:121




                                        EXHIBIT. A
                                          ' TO
                                       MINING LEASE
                                      BY AND'BETWEEN


                      C. L. PARSON, JR., AKA GEORGE LEE PARSON, JR.,
                     AKA• G. L. PARSON, and AKA G. LEE PARSON, JR., and
                 MARY ELIZABETH PARSON, AKA MARY BUTTERWORTH PARSON, .
                     AKA MARY B. PARSON, ABA MARY E. PARSON, and
                     AKA MRS. G. L. PARSON, JR.. husband and wife
                                       (LESSOR)                   •

                                            AND.
                                  RGC (USA) MINERALS INC.
                                          (RGC)




                                          119
Case 2:25-cv-06135            Document 1-1                Filed 07/07/25              Page 107 of 263 Page ID #:122



                                                        EXHIBIT A



                   under the terms of the above-referenced mining tease, to shich.this Ewhibit is attached, lessor has
        l eased to NC, and' granted to gGe 'various rights regarding, certain real property (incloding all mineral rights
        and rtinerals) referred to is the *Propertiy., %Kith. is situated' in the • Stony Creek     hagisterial District,
        Susses       County, State or Virginia, ghich is hereby represented and garroted 14 Lessor to mount to
          SSA° acres,. and which is described as follows:

       That same tract or parcel of land conveyed to C.L. Parson Jr., by
       W arranty Deed, dated April 11, 1960, and recorded in Deed • Book 59
       at Page 559, in-Clerk's Office of Circuit Court of. Sussex County,
       Virginia. To Wit:       • . all of that certain tract or parcel. of
       l and' sold in bulk and not by acres, said to .contain fifty- (50)
       acres, . be it .the same, more or less,, and being in Stony Creek
       Magisterial    District  Sussex County., .Virginia,. with general
       w arranty. Bounded and described as .follows, on .the North by Public
       Road leading from Concord Church to Stony Creek, On the East by the
       'Old Man-love Tract' formerly, owned by Camp manufacturing Company,
       on the South by a branch and on the West by said public road
       leading from. Concord church to Stony Creek, Va.'s; and being in -all
       respects the identical teal estate that was conveyed to C. Lee
       Parson, Sr., in the name of C. Lee Parson, by deed from 3. Walter
       H arrison and wife, dated April 16, 1915
                                              .   and duly recorded in the
       Clerk's Office of the aforesaid county in Deed Book 24 at page 303. .

        Subject property is referred to in the Sussex County tax records
        as Tax Parcel Number 101-17.




                                                              120
Case 2:25-cv-06135   Document 1-1   Filed 07/07/25     Page 108 of 263 Page ID #:123




                                   EXHIBIT A .
                                       TO
                                  MINING LEASE
                                 BY AND BETWEEN



                  G. L. PARSON, JR., AKA GEORGE LEE PARSON, JR.;
                AKA G. L. PARSON, and AKA G. LEE PARSON, JR., and

              - MARY ELIZABETH PARSON, AKA MARY BUTTERWORTH PARSON,
                    AKA MARY B. PARSON, AKA MARY F. PARSON, and
                  'AKA MRS. G. L PARSON. JR.— husband and wife
                                     (LESSOR)


                                       AND

                             RGC (USA) MINERALS INC.
                                     (RGC)




                                       121
Case 2:25-cv-06135                            Document 1-1                            Filed 07/07/25                        Page 109 of 263 Page ID #:124



                                                                               manna 13
                                                              MINING LEASE
                                                            BY AN)BETWEEN
                                              C. L. Purbolt, Jr. ifnd Mary EliZabet.h Purdue,
                                                                          itusitand alai wife
                                                                                 (Lessor)

                                                                                 ' AND

                                                                   ItCC(USA)MINERALS INC.
                                                                          ( ROC)

                                                      11(.1O'b Royalty Policy for Virgioitt Operatictais
                                                 COrYRIGIIT0ROC(USA)MINERALS INC..1989


                          This doctttttern. arta /oath RCC's Royalty Poticy for Vitgiula Own:amino Cituy.tty Policy"), which le refertett. co Li
                          Secaion 7 (Royalty Puymonts) of the above-referenced °eau of mining Lease( Leatue") and which ls attached to and
                          incorpteated into th• S.altata by reference.                           •

                Pefin...W.(4112. 'NV ter MS defined Its the body of the Lease or anywhere in this Royalty Policy will have tfie same uteanings
                throughont this Royalty Policy. The following terms will lisve Out following meanings:

                (AO.          "Principal Minerals- mean* Unteulte. Rutile and Zircon.

                (h)                                            other than Principal Minerals.
                              -Minor Minerals" nlearts Minerala'

                (,)           "htineralized Propeity" atitans that portion of lite Property which Pt..7.0 estimates, ualng the then 1.1:lOal CLLS'acOl
                              Milling data and aureey is:formed JJJJJ ..totstaits. Mitt.tals•beating sands whiCh pave a minimum dredge:side depth
                              of 15 feet and WitiCit ttl•vo t col-Off stasta of two Percent.(Tee) by weight ivetsga        coAt•atts. MI Wulf aunt
                               payments tinder Section 6 (initial Payment en?. Advance Royalty • Payments) of the .Lettae ate bases on the
                               Matorrelited Property n3 of tin 1nit3e t.te ad subsequent chanties to the acreawe of the Mineralized Property will
                               nut atfeet the lump sum payments.                            •

                (a)           "Sales Value per ton of each MInerar totans the dollar value per abort ton derived by dividing (I) the actual dollar
                              sales of cads Mineral following ?teeming by the dry plant (stet of returna, sales taxes, Wall discounts a'nd
                              conuniasions but not net of settlement di3cuiliaa) lor thecalendar splatter ("Quarter") which is the subject of the
                               Royalty Payment &nictitation, by (Ii) the total sales tonnage fur each Mineral in.that Quarter, subject to the
                               exclusion of sales to affiliutc-3 carnal:to:Lin Clause 9(Safes toA(filiates) bolete•

                  Is)     "Lessor's Stock Account".means the account maintained by RCC In Lessor's itattle fur the purpose of tracking and
                           reporting prodOction, inventory and Sale3 allocation* made with respect to saleable Mineral. attributed to the
                           Ptopetty, and for tint purpose of caicutating and accountins to I.eaeor, through the Stock Report deacribe.1 let
                           Chatoe 3 below,for any Roya!ty Paymanta.
                                                                                                              •                  •
                  It)     "All Stock Accottrus- rowans the learer's Sna:k Account end all other mo:k ace...tants uselmalated by KCC fur other
                         ' propetties on which Ird.:(2 eugagea In Minins(a3 defined In Clause 6(b)(1) below). •

                 (g)      'Recovery Rate for any tt.Aiu,,,a sit untteriol la the weight of material that is present•after that treatinarti ttielded
                          by the weight of material before ueatutent, expressee as a percentage.

       2
       .       Caktilating.B.pyaltir-t. This Royalty Policy sots forth the ntethodolugy to be used in determir.ing and reporting tits
        Royalty Permeate_ payable to Lessor under tha Lease. 1y .Ignitts the Lease Lessor &Vitas to that atethodology, including but
       •linuted to cd Reea method of attribinlitg Minerals to the Property as set forth In Clause 6 below, and Cu) RCC's method of
        catculating Royalty Payments as set forth. Clause 7 illoyalty Payment Calzulatioto) below.'

       3.      SIWL.Accouttst.aa<L,Slikcit_ite120.tt. From the commencement of Mining (as defined In Clause 6(14(1)) ou ate
        psvpeity until such time as ACC'e obligation to pay Lessor Royetty Pep:tents 1.as been fUulled, RCC will establislt and maintain
                 Stock ACCOstttt *tut will send to Least,, WILLI. 30 days alwr the end tel each Quitter a tetitteit IsFOtt ("StOrk Report") on
        the status Of LVSS4Jes.Stock Account. 1 Int Stuck %TOE: Wili SILOW:     •

                  (a)             TIt e WWI of Saidal.t(s Mittrrala etitihoted to lita•Pistfotity hut' lite Qtn1“ef (suuClause 6 below);


                  (It)            Sales Itusus tins accumtdated.tons uf aaleable Mineral. referred to in Clause 3(a)above;

                  (e)             Any Astva act Royalty Payznents paid during the Quarter in accordance with Section 6 of the Lease;

                  (a)             A ny Royalty Payment payable for the Quarter pursuant to Section 7.(Royalty Payments) of the Lease;

                   (e)            n reconciliation of Advance Royalty Payments and Ruyalty Payments to Lessor pursuent to SoKliort 6 unities
                                  Payment and Advance Royalty Payouatts) and Seeder.7(Royalty Payments) of the L*33*.

        The Stock Reyott will be certifiid as accntste by RGC• Opetationentanager or a iierdor financial employee, by signing this Lease.
        Lesaor a5t45. to pros.c re the confidentiality of Use Sales anti production istfin'osallosililalt Stock Reports.

        4.    /flagfU.,/f,dtg. RCA: telit pay. La,lOr a Raia:ty Payment evial to eight percent Wei ul.11ir Sales Valtad rat lost Of lattlts
         Wows al sold that is attributed to tlie Proinxty, as reilectet: in lit. Stock ACCoUtli attd or rsTurt.t1 in Leiser quarterly In the Swek
         Report.              .

        5.          .1fAytilty.roymcg. Any Royaity Payment, due for Principal Es1iOOIis1, ettlibuted to the Property will, be paid within 30
         Jays after the end of the Quarter It, tvlikit such Prineipal             wets e01.1 cLg, inVoictict to the purchaser), and, for
                                                                                                                                          Minor
         Mrsteral• attributed to the Property vfithIn 30 day. or the end of Mt'Freest Year"(July 1 -.)U1S2 30) its wislch they were sold.

        6.    StandbicAritydrob,..,41tribityed_whejkippecry.
                                                           .. Saleablt; Minerals are ettribdted tO the Property and to
                                                                                                                       Lessor's
        Stock Account as set faith below:

            .       (a)            RCC will survey, thin, and analyze drill samples front titits. pOitions Of the Property which it plans to mine, in
                                   order to estimate the tons of PristchialMincals lunitcd therein.

                    (h)            NUs.11,-tiOn of saleable Mittens!, 1311Clileved by the following three steps its 11CC D'Op e:a thew

                                   (I)        "Mining",-.eatt acting mid detivery of mineral satiti.ut            to the itallealitratkg:


                                  (it)        "Cosuccnt:atlt,g t   gesttutsslt Of I     llllll Orallt .ottIttri        •

                                              -Prdcessins' IV/110,n) 01113111zet noti -179.1:14tterti31 sand and oral ifOil i;i14 rah/able il.lisorrafs:

                                   Eaa, of these atops coso/te itt recovery and loss of onieable Minerals depending on the efficiency of earls
                                   the nature of she materiel being treated. Ti.. Recovery Rate for each step ratio. tea small                  step end
                                   and is determined by redular samplins and analysis of the .sstsgisl as it paean through       degree oh a'rfally basis
                                                                                                                           ithelt step.

                                                                                          -A.
                I T.C1••41.
                          •




                                                                                        122
Case 2:25-cv-06135   Document 1-1   Filed 07/07/25   Page 110 of 263 Page ID #:125




                                      123
Case 2:25-cv-06135                 Document 1-1                     Filed 07/07/25                   Page 111 of 263 Page ID #:126
        • STI)Lease
                                                                                                               q(ci         34-
          VA 8/59
                                                            DEED OF MINING LEASE


                         DI=W winin4G MASI,including the attached Exhibit, which are incorporated herein by this reference,("Lease")
         la       made      and     entered     into       on        October 13,                     .      1989                   by      and

         bdwmm G.L. Parson. Jr.. AKA GeorRe Lee. Parson, Jr., AKA G., L. Tarson, and AKA
          G. Lee_Porson. J1,. and MALy__Elitallesh Parson. AKA Mary Bytterworth Parson
                                                                                     )AKA

          Maty. B. Partion,__AKAAAryaL241:1.0A..AOSLAKA—HIL—G.. L. Parsbn. Jr,. husband and wife
          Ronte 1. Box. u. &Limy ereek.iyirginia. .23882
        ("Lessor') end RI=(USA)MINERALS INC-,a Delaware corporation whose address is Warner Road, P.Q. Box 131)7.Green Clive
         Springs, Florida, 32043 ("ROC"). In consideration of the mutual promises made in this Leave, and other good and valuable
         consideration,the receipt and sufficiency of which Cr. hereby acimowledged, Leseur.and RCC Agree as follows:
                I.         12,pia               Any word or phrase that is capitalized and placed
                                                                                               . , in quotation
                                                                                                      .
                                                                                                                    this Lease is a defined term
         and when it le csmializici will havelhe snare meaning throughout this Lease.
                2 .       riscplas.e. The purposenf this Lease I? to allow RCC to explore for and, at. RCCe BOO discretion, to mine,
         remove, commingte .and sell Mineralshoer the Property, to trot the Properly to Mine Mineral* from the Property or other
         property, and to conduct related activities. 'Minerals means the following group of minerals and minsorell product's Ilownite,
         Leucoxene, Ruth., Zircon, Stautolite Kyanite/Wilimanits, Monazite, Xtnotone, and Carnet; end associated byproduct,. Title to
         any Minerals mined Shaft, if not airee'dy vested In RGC; pats to ROC as they Cr. severed from the Property.
                 3.       Grant_011402c. lessor hereby Imre, to RGC the Property lite defined on Exhibit A), on the tenni and
         conditions in this Lease.
                 4- . Ctssint.e.11iebes. (moor grants to RGC the following            exclusive tights with regard to the Property: .
                          fa)      To enter the Property to survey, explore, drill, teal, end sample fthe fotegoing activities are defined ia
                                 '  Exploration");
                         (b)       To clear the Property of such buildings (subject to Section 21 (Compensation for Duilding,$)), other
                                   structure* or obstacles, earth, standing timber, plant., and such other things or material that RGC.in It.
                             •     Alen:dote dlecretion, wishes to clear from the Property to exeicise its rights as set out in this Section 4; to
                                   construct, relocate, use, or remove roads, power and comintenication &we,dredge ponds, tailing ponds,
                               •   settilog pond., pipelines, building., storage facilities, amnia, tailing., signs, gates, fences; and other
                                   structuter and (Ronne, on the Property; to take Inept to prepare for inining.on the Properly: and to
                                   develop, mine, erose•mine; dredge, relmee, concentrate, se),          ,commingle, stockpile, haul, process,
                                   ship, and sell Minerals (the foregoing sc.-livid'', whether conducted on lit, Property or on other property
                                   In Di:twiddle and Sumas Counties;Virginia CAren"),are defined as"Qperatioro-):
                          (c).     To use the Property to store, transport, or dispose of Minerals, Water, tailings, and material resulting from
                                   RGC'. Operations:
                         (d)       To use water from or appurtenant to the Property and to death through and from the Property and to
                                   d raw into any course in the Property any water from RCC',Operations;          .
                          (e)      To lakes!! steps to accomplish Reclanration (at defined In Section 14)of the Property;
                          (i)      To use ail easements, means of access, and rights-of-way front and to the Properly;and
                          (g)       To use the Properly for the purpose. described in this Section, in eorthanction with RGC'. Exploration,
                                   Operations end Reclamation on other property.           .
                  Notwithstanding the foregoing. RCC is not granted the right under this Lease to constririt or operate on the Property a
          processing plant for the Ansi eeperation of the concentrate into saleable Minerals.
              . 6. . Terir)_011                 •This Leese will begin on the date first written above and will mil° years thereafter, unless(a)
          tint Lease la ended earlier under Section 19 (Termination),(b)the Leate is automatically termizotted byliGCs helium,for reasons
          other than a temporary inability to obtain through diligent efforts all necessary governmental permits and authorizations, to
         . commence "Mining" (as defined in the 11%1,414 Polic-yi in the Area by the eighth anniversary of tha Leaae, or (c) the Leese is
           autometically extended to allow RCC iii complete ongoing operation. on the Property. ilia extended, the Leas•shall tennirtate
           upon the nutter of written notice from RGC pursuant to Section 17(Termination), or the passage of a period of 180 consecutive
           days In which RGC conducts no Operations on the Property. "Tenn miens the period of thmeduring which this Lease is in
           effect, and, in the absence of moiler termination, Includes both the initial 20-yearterrri And any extended tarot. ,
                  6 .       initiarsamentstAdAdpomejloyal(y taigneribt, Subject to the teems and conditions of ilds Lease,
           RC.0 will pay to Lessor, during the Tenn of thir Lease on or Ts:afore the dates indicated the blowing lump Auto payments and
        ' payments per acre of the Property retained under the LIMII• at the time of the payment:
                                                                          •
                         Payesem Dam                   •                Payment Type             •
                                                                                                         Payment
              Lease Date               •                             initial Payment                     $250 per acre
              LeaseDate                                              Advance Royally                     $750 per acre
              On or before December 31                               Rental payment    •                 $IS per acre
              of each year following the
              year this Lease le signed
              Earlier of(a)!Minine(es                                Advance Royalty                     i3,506.00"
              defined in Royalty racy)                                                                   lump sum,tripod to $1000 per acre ur
              in Area or(b) Filth Anniverary                            •                                "Mineralized Property"Las defined in
                                                                                                         Royalty Polley)
         Tenth AnrdventAry if no ••                                  Advance Royalty                     $3,500.00
         'Notice°,Mining (se                                                                             lump sum,*TIM to $1000 per acre of
         defined In Section 9)given                                                                      Mineralized Property,subject to'70%
                                                                                                         Limitation'(as defined in Royalty realty)
              Fifteenth Anniversary if no                            Advance Royalty                     S3,500.0P
              Notice of Mining given                                                                     lump aunt,subject to 70% Limitation
              Notice of Mining                                  •    Advance Royalty                     70% of Estimated Future Royalty
                                                                                                         Payments(as defined in Royally Polley)

              The Initial Payment end all Rental and Advance Royalty Payments rid to Lessor are non-refundable. The Advance Royalty
              Payment. paid to LOISOt will be credited against any Royally Ppyrnents otherwise payable pursuant to Section 7 (Royalty
              Payments) and may be prepaid by RGC. Payment to Leveot of the payment required. upon Notice of Mining will satisfy in full
              any obligation RCC may thereafter here to pay the Tenth and FUteenth Anniversary Advance Royalty Payments.
                      7.         ,
                              &owl    ky_rayinerits. RCC wW pay to Lessor quarterly Royalty Payments equal to eight percent (8%) of the
              Sates Values ot Mineralsrattributed to the Property, which ACC mines and sells. The Royalty Payorents will be determined end
              paid in accordance with Exhibit 0,RGC'. Royalty Policy for Virginia Operations CRnyalty Policy'). •
                      8.       MigiosArEsHomstty. If the total of Ali Advanie Royalty Payments and Royalty Payments paid to Lessor under
              this Lease dose not average $3,500 per acre for all of the Properly from which RCC removes the topsoil in preparation for Mining
              CMinlinurn Royalty"), RGC will pay to Lessor the amount by which the Minimum Royalty exceeds such toted. Any such payment
               will be determined end old In accordance with Clause II of the Royalty policy,
               •      9.       Lmwó the _of the..,ervpate. During Exploration, Lwow and RCC will work together to Accommodate
               Lessor's normal activities on the Property. RGC will give Lessor at least twelve months notice Chlritice of Mining') if RGCs
               Mining will require Lessor to canal activities on the portion of the Property described in the Notice of Mining. Until the end nf
               the notice period, Lessor will have the tight but not the obligation, to remove tor Lessor's account Any crops, timber, buildings,
               irrigation systems, fixtures or pereonetty of Lesser from that fortiori of the Property.• From the end of the notice       untilRt.,C
               flotilla, Lessor otherwise, LyllOr will onus, all activities to reeve on that portion of tine Property. ()wing Reclamation, RGC will


                                                                                                         ezr
                                                                       124
Case 2:25-cv-06135   Document 1-1   Filed 07/07/25   Page 112 of 263 Page ID #:127




                                      125
Case 2:25-cv-06135                Document 1-1                         Filed 07/07/25                      Page 113 of 263 Page ID #:128
                                                              If         reponse to remove other .buildinge on the Property,.RGC                  ghee Lessee not
                        (b)            FthlirWilti°14
                                        es, 1111 11X mo  .nths'    not co of Its Intention to 46.00. At least 93 day. prior to such removal, RGC will
                                                                 j(GC
                                       compensate Lessor by making a payment to Lessor equal to the approximate replacement Cost of buildings
                                       of that nature, as determined by the avemge'of two appraisals by appraIsets selected in the manner
                                        described In Section 21(a). Lessor              cease using the relevant buildings 30 deri prior to the proposed
                                .       removal and will facilitate removal in all impacts.' .
                             214,31.42arly Claim/. If.RGC •lenitT• that a third party rosy have • claim of.ownetship in any portion or .
         pimento's, of the Properly or sny payments under this L.rnee, RGC may deposit in a special esaow account (with a bank or this
         Insurance company locatedin Virginia/ any payment, otherwise due to lessor under this Leese and give UPSON written notice of
         the deposit. Th. sums deposited will remain in the. special escrow fterOlint until the claim or controversy is tesolved, or until
         there he. been a final determination of the claim or controversy bye court or arbitrator. Including nay appeals therefrom.
                     23.  Addilional ancitAtfter-AcquiLvditi,a41. u,
                                . .           — .                                               during the Term of this Levitt.. Lessor acrittites any dill! or .
                                                                                                                                                            RGC,(b)
         Interest In the Property or in any property adjacent or easements appurtenant thereto,(e) Lessor will protriptly notify
         any such right or         interest acquired   in  thy   Property,   which  .Lessor   had in this Lease already warranted to be part of the Property,
          will become part of the Properly coiled to this Lease without any additional payment to Lessor,Id'ACC may,at RGCs option, at
          any time, knee any -other such right or •interen on the ISM* leans as ihe terms of tide Lease, and id) Gary, will sign,-
                                                                                                                                           as
          acknowledge,and deliver en Amendment to this Least and to the Memorandum of this Lease to.RCt.,.so toinclude inch right
          or interest.        '                                                    •
                     24. Entiaties. U the Property is now or later owned In severalty                         or In separate tras,
                                                                                                                                 tract., RCC. will nevettheleei be
          entitled to treat the Property cc an undivided whale under WS LAI194.,                      with all payments payeble under the Lease to be paid
                                    pursuant   in Section   2.5 (Multiple   Owners))    to  the separate  owners   of the  Novelty     in the proportion that little
         (either directly or
          ownership Interest, measured in acres, or percentage ownership'of acres, bears to the whole Prilperly; provided, howe'vor, that In
                                                         obligetione     to the  separate    owners  exceed  the  payment      obUgallum    that  ACC would have
          no event wilt Mies total pnyment
          Incurred under the Leese If the Property were owned In undivided it.simple by•Angle owner.
                      25. Multiple_Ologers.    _           .Whenever two or more parties are entitled to receive tiny payment. under                (lit. Lease, RCC
          may withhold any such payments unless and until ail of those parties designate                      In a recordable instrument an Rivet empowered
                                      payments    and   to  execute    division   and   transfer  orders  MA behalf of all thou parties and their respective
          to receive all suer,
                                                                                                                    agent fulfills RGCs olsligatIon to make that
           ourcessois in title. Delivery of any payment du* under this Lease to the designated
           payment to those parties.                                          .      .
                       24. Asisgwitatt. Both parties have the right to assign their right, and obligations runiet title Lean, In whole or In'
         • part; provided,                  that:
                               (a)       The party 'linking such an assignment must give the other party prior written notice thereof;
                                tb)        heu
                                         Trt,.prletorts ol this Lease-will apply to end be binding upon the successors and assigns of the respective
                               (c)        Any   change or division in the ownership of the Property or of th• right ten receive any payments under this
                                          Leese, however eccompUsived, will not increase KG "a total payment obligations under this Lease or affect
                                          RCC's rights to.conduct ExpluteUon, Operations or Reclamation on theassign           Property;      •
                               (d)        Notwithstanding Section 26(0, RGc may, without notice or consent,'                         any of it.'Sight, or obligatIons
                                          to affiliates of R.CC,   or  use the  services  of -Independent  contractors    Or agents   to perform  any of its rights or
                                          obligations; and            •     •
                               (a)        No assignment' wiU       relieve  lire assigning   party of  sny obligations   or  liability to.Ut• other  party, cutlers the
                                          other party provides a written relent* to the assigning party.
                                 Ectiscik(cumcg, Neither party will be deemed in default tinder this Lease during any period- In which Its
            exercise or performance of any of Its right, or obligations under thin Liebe Is _prevented by any cense reasonably beyond its
            conttol. Such an event is referred to In thlr Leas. as "Force Matson,." Force Majeure will induct*, but he not limited to, the
            following: flee, flood,. storms,.hurricanes, tornados, winds,other.dernege from the eletnents, declared or undeclared war,strikes,
             labor dieputee, :lute, civil unrest, action of governmental authorities, condemnation,'eminent domain, crime, failure to receive
             required eovernmenbil approvals, inability to obtain water for OPeretions,a oubetandel Intl in the Market prices of Minerals,lack
             rif acee$s,-Iiiiiiiation, act, of Cod,and ads of the public enemy. Tire Term of this Leelm will be extended for a period of time equal
             to the pfriad of Force Majeure. AU such periodi. will be deemed to been at the earliest time a. party is prevented from exercising
             dr pettonrdng spy of Its rights or obligations by reasons of Force•Majeuse.
                        28: ao_DnAgr. Leleor end RGC represent and wanant to each other thet no broker, agent, or finder lies acted on
              Its behalf in connection with this Lease,and that no commissions,fees,or.other monies ate due to anyinCrker, agent,or finder. In
            .addlilon, Leiser and RGC will and do lridetnnily each other from all claims with reaped to any brokerage, finder's or leasing
              commissions In connection with this Lease Or any of the transactions contempInted under Ode Leese.
                        29.       cdugicatnatiati. Lessor will itrimedlately notify RGC of any Condemnation proceeding that may'allect the
              Property. Lessor will cooperate with RGC in defending or settling the same. RGC may, in its discretion, defend its rights
              independently of .Lessor. Any.condemnation sward will be shared between. Lessor and RGC as provided by law. Any
              condemned Property will constitute Released Land air of the dste of condemnation,and tins Leas. will continue In died as to the
               remaining Property.
                      • 30. ThipAtateraUticia. Subject to the provisions of this Section, any controversy,clahrt, or dispute arising out of
              or feinted to this Lens., of to the formation, negotiation, or breach thereof, will be settled by binding arbitration In Richmond,
               VIrgbila before a single arbitrator, in'accordance with the Cocnmerdal Arbitration Roles of the ArnetIcan'Arbltration.AssodatIon.
               A ny award of dnmegea will be limited to actual, compensatory &mules:Jurignteiit upon the award rendered by the arbitrator
               may be confirmed by,and entered In, any court having jurisdiction thereof. Prior to initiating any arbitration, the !Wilding patty
               will give the other party wrttten notice of the claim, and will allow the other party 30 days hum the date' that the notice is
               received to amicably resolve the claim, If the claim is not resolved within the 30 day period, the initiating petty, sole and
               exclusive remedy will be to submit the dispute to arbitration. The parties will comply with any arbitration awaid within 30 days
               of its issuance, or •s soon as practicable thereafter, and the CAMS* will (gallium in full force and effect. In no event will tire
               existence of any divine, arbilmtion or award suspend or otherwise affect any party's. rights or obligations under tide Lease, or
               Interfere In any way with RGC.Operations.
                         31. thairttorframoc_         . jIrgh_lictCk_Oprzations. Lessor has not, and will not, during the Term of this Lease,
                take any action or grant any right which would in any way interfere with RGCs exercise of Its rights as set out in Section 4(Grant
               of Rights) of this Lease.
                         32. Rojtopliccistc_CQ. wilgaBgittikeE. if either party waives or does 110t enforce any provision of this Lease
                on any occasion, that action. will not constitute waiver of: 00 that provision as to any other time, event or occurrence; or(b)any
                other provision.                                                                                                                      •
                         .33.. . ffirfica. Any notice given to the other ratty under this LeaSe                 .  01iiii be In writing, end sent by United States
                 registered'oe retailed mail, return receipt requested, or via Federal Express or eintller overnight courier- riervIce, addressed to the
                addr1.0.idlorth an the first peg* tiff this Lease. All notices will be deemed to have been made when deposited in the mail or with
                the COUri4O.Or provided above. All notices willbe deemed to have been received upon actual receipt try any person at the address •
                 Usher! abbe.. Either party may change Its address for the mailing of notices           by        giving the other party notice of such change of
                 address loth, manner provided for In this Section.                       •
                          34. Higirr.j)gceemenit.Na_Ozabifodificcttion_ 11th Lees.                          Lee constitutes the: entire agreement between the
                  parties mid eupersedes all previous agreements, written Of Oral. Lessor hereby expressly acknowledges that, in entering into this
                 Lease, Lessor lies not relied.on any oral or written statements made by Pa., its eMployees, agents or independent contractor,.
                 This Line, May only be modified bye written egreenten t in recordable fom               r signer! by Lessoenna an authorized officer of RGC.
                          35.       ChnirSnothnjer. This Lease will be construed, interpreted and governed by the law. of Virginia.
                                                                            This Leese constitutes a covenant running with the land and will be binding on,
                 and inure to the benefit of, Lessor, RGC,and Leseor's and RGCs halts, legal representatives, executor., adminiatretore,successors
                  and assigns', meths curse may be.
                          37.       SAINixtbigty. In the event that any court or duly appointed arbitrator determines that arty provision of this
                  Lease Is unenforceeble, illegal, or in conflict with any Fedeml, date, or local law,-the parties will petition 'tor will hereby be
                  deemed to have petitioned) the court or eibitiator to reform that provision In sucha way as to carry out the intent of th pat les
                   to the extent permissible under law. If the court of arbitrator decline' to Warm that provision, then that prow-Wm:1AI:be
                   conSidered severable from the rest of the Lease, the remaining provisions of the Leese will not be affected, and this Lease will be
                   construed and enforced he lf the Lease did not contain the unenforceable or illegal orovielon. • -
                           38.       Afiniiii li0/1..t0—CUCCAU—r10101i0/3_0/-1114-1444.4gaa-Rsit-feW(1461:1. Leiser and RGC di, not
                   Intend that an?, provision in this Lease will In any way violate the Rule Against Perpetuities or- any related'rule. If any such
                    violation shou d occur, It he the Intent of Lessor and IlGt., that the appropriate court or arbitrator will reform the provision in such
                   a way ea to approximate most closely the intent of the parties vrititb% the limits prrodetiblt under ouch rule or related rule, and
                    will enforce the Lease as so reformed.




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Case 2:25-cv-06135              Document 1-1                   Filed 07/07/25                  Page 114 of 263 Page ID #:129
                39.      31en.40MIETTIttL71... At tb• lime this Leese Is signed,the partier will sign i Memorandum of Lease which RGC will
         record. In the event of• conflict between the terms of the Meirtorandwit of Lease and this Leas*, the terms Of this Lease will
         control.
                40. KOLletlege C01180g. Lessor agree!' to use Lessoesthest efforts to obtain promptly. and to provide to RGC•
         copy of, any consent to this Lem required by the term, of any mortgage or other Instrument creating sights superior to this Lessee
         with respect to elf or any part of the Properly. Such consent, however, will neither affect nor be a condition precedent to the
         effectiveness and enforceability of the Lease RS birtvegvn Lessor and Rqc.
                41. 1.7(co.dings. The headings contained In this Lease are for the convenience of the parties only, and will not be
         used in It. interpr_etstion.
                42. 9_14,igudong_natZtrilistejNALL;;:asf. In addition to other obligation, that survive thls Lease as set forth
         In this Lease. Sot realm' obligations under the following Sections a thin Lease will remain in full force end effect following,and
          will not be affected by, the termination of, or expiration of the Term of, this Leen*: Sections 7-9, 11, 14-15, 17, 19, 22, 24-26, 30,
         32-38,and 41-43.
                43.       cretid
                           .     faith. During the Term of this Lease, each party will act in good faith to fulfill the Intent of this Lease,
         and will meet with the Other party to discuss.and to try to resolve amicably any issues that may arise.




                 IN WITNESS WIDIRSOP,the patties have executed this Lees. under seal as of the Mite lint above written.

          OWNER:                                                               RGC(USA)MMEIWS INC.:

                        cra                                ISAAL1               Br

           G. L. Parson. Jr.                                                    Its:      Vice                              PresId04!
         (Print Name)
           AKA George Lee Parson,;Jr.
                                                                               (CORPORAT SEAL)
                                                                                                                      •••
           AKA G.. L. Parson
           AKA G. Lee Parson, Jr.
                                                                                Attest'    lacti.ord
                                                                             • IN:                                          Secretaii_



                                                                                STATE OP  FLORIDA
                                                                                COUNTY OP --CLAY
            Mary Elizabeth Paraon
           Mint Nwno
            AKA Mary Butterworth Parson                                         The for olng Inatrument was acknowledged before me
            AKA Mary B. Parson
                                                                                this 13      day of February              , /989;              1990,
                                                                              • by Daniel P. Wolcott
            AKA Mary E. Parson
                                                                                     Vice Neildent of RGC (USA) MINERALS
            AKA Mrs'. G. L. Parson, Jr.
                                                                             • INC., a Delaware corporation, on behalf of the
                                                                                    oration.


           STATE OF VIRGINIA                                                     Notary Public ,
          01/7COVNTYOP ..444-4t-t4                                               My Corn:Masi-on IfittlemiPORK. Slate ed
                                                                                               My Comminien hpiras My 21, 19,3
           Tile foregoing Instrument wee acknowledged before in.
                                                                                                   Ileadeallas_Liss.1a4anlasa....
           this      +L      day                           1989,
           by G. L. Parson Jr . and'Hary
                                  eitrapn, hualmnd And                          (NOTARIAL SEALI
                 wife



            My Commission Expires:

             0,4isrts,--     a 6', I 1
              e-2741•••••-o-vki
            Ntiloy rubue

            NOTARIAL SEAL]




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Case 2:25-cv-06135                   Document 1-1                        Filed 07/07/25                      Page 115 of 263 Page ID #:130


                                                                  =MIT B
                                                                     11Z)
                                                               KlNENG LEASE
                                                              Bir AND BETWEEN
                                                                        Parson,
                                                     and Mary Elizabeth
                                  G. L. Parson, Jr.
                                                h usband and  wife
                                                  -    (Lessor)

                                                                          AND
                                                                         INC.
                                                       .ROC(USA)MINEEALS
                                                               (ROC)
                                                                                                Operations
                                           BCC's Royalty Policy for Virginia
                                                                    MINERALS INC.1989
                                         COPYRIGITT RGC(USA)

                                                                                                 ("Royalty Policy"), which is referred to in
                                                         Royalty Policy for Virginia Operations                    which is Attached to and
                       This document acts forth RGC'sof the eboverelerenced Deed of Mining Lease( Leese")and
                       Section 7 (Royalty  Payments)
                       incorporated into the Lease by reference.                                  •
                                                                                                                                  meaning.
                                         •                                                 this Royalty Polley will have the HMO
                                                     the body of the Lease or enywhere in meeeings:
               Thefereigidlejr. The term. defined infollowing
       /.                                                     terms  will have the following
               throughout this Royelty Policy. The
                                                                      and Zircon:
                I.)   "Prindpal Minerate" tritons ilmenite, Rutile
                                                            other  then PancipalMinewle.
             (b)      "Minor Minerals" mean. Mirterele
                                                                                                                                the then most current
                                                                         of the Property which RGC estimate., using
             (a)      "Minerelized Property' memos that portion   contains  Mine     -bearing   sands which have• rninlenum•dredgemble depth
                                                   information,
                       drilling data and  purvey
                       of 15 hit end which have* cut-off grade of two
                                                                                           19:)pty
                                                                                Efrzinvta(n,    zutriert.t /merle) M o;ntehr:Isa:a                          e
                                                                                                                                                          that
                                                                                                                                 osneterait. telitleuamsneu

                                                                                         cha nies  .41   t
                                                                                                       tla Ianeresge alibi   Mineralized      Property    will
                        M   n 1
                          Y:ee:2 3erPdrotipeSgal"snof6thetaastePere,ea
                       not effect the lump stun payments.
                                                                        nntdesnubseqUent

                                                                             duller value per short ton derived by dividing (t) the            actual dollar
                       'Sales Value per ton of each Minaret" miens the                                                               eeles dtwounts end
               Id)
                              of  eech Minerel   following   processing by the dry plant (net of return*, este/ hotel,      which    is   the subject   of the
                       saw                                          discomus) tor the celender quarter ("Quarter")
                        coutmlselons but not net of settlementthe trual sales tonnage for each Mineral in that Quarter, subject to the
                        Royalty Payment calculation, by 00                             to Affiliates) below.
                        exciueun of sales to affiliate, contained In Clause 9(Sales
                        "Leesor's Stock Account' means the      account   owintelnect  by  RGC In Lessor's name for the purpose of tracking end
              (e)                                                                            with respect to saleable M5terais attributed to the
                        reporting production. Inventory end sales allocations made
                        Property, and for the purpose of calculating        and  accounting    to Lessor, through the StoekReport described in
                        Clause 3 below,for any Royalty Payments. •                                         •
                                                                                                       stock eccounts maintained by RGC for other
              (I)       'All Stock Accounts' mean. the Leesor'a Stock Account end all other                 below). •
                         properties on which ROC engages let Mlning.(as defined In Clause 6(b)(i)

                         -Recovery  Rate' for soy  treatment   of material  la the weight  of material     that Is present after that treatment divided
              (8)
                         by the weight of material before treatment,expressed as a percentage.
                                                                                                 •
        2. CakidatineBeValtia, This Royalty Policy sets                     forththe methodology to be used ht deteendning and reporting the
        Royalty Payments_payable to Lessor under the         Lease. by Mph% the Leese Lessor agrees to that methodology, including but not
        limited to 10 ROC.      method  of  attributing  Minerals   to the  Property as set forth In Clause 6 below, and (Li) ROCs method of
        calculating Royalty Payments as set forth in Clause 7(Royalty Psyutent Calculations) below.
                                                                                                                                 •
        3. $880..A.sx028,48_00,‘L.S.toek,Sett.ort From the conglIgnedalent Of been                    Mintnit (as defined in Claw* 6(b4(0) on the
        Property until ouch time as ROC.obligation to pay Leese,       :Royalty Prtymento ha,                !Walled, RCC will establish and maintain
         Lassoes Stock Account and will emtd to Lessor within 30 days after the end of each Quarter. written report ('Stock Report') on
        t he status at Lew or's Stock Account, The Stock Report wW show:                                                                            •

                 .(s)     The tons of salenble MInerelsottributed 10th.Property for the Quarter (see Clause 6 below): .
                 (b)      Sete* from the accurst ula ted tone of saleable Minerals referred to In Clause 3(a)above;
                 (c)      Any Advance Royalty Payments paid during the Quarter In accordance with Section 6ot the Leese;
                 (d)      Any Royalty Payment payable for the Quarter pursuant to Section?(Royalty Payments)of tht; Leese;

                 (t)   A reconciliation of Advance Royalty Payments and Royalty Payment. to Lessor pursuant to Section 6 (initial
                       Payment and Advance Royalty Payments)and Section 7 Moyaily y'ayments)of the Less*.                 •
                                    •
        The Stock Report will be certified as accurate by RGC's Operations manager ore senior finitude( employee. By signing this Lease.
        LfiC01•8Teell to preserve the confidentiality of the sales and production information in all Stock Reports.

        4.        &rage( Rstk. RGC will pay Lessor a Royalty Payment equal to eight percent(WA)of the Salm Value per ton of each
            Mineral *old thetis attributed to the Properly, as reflected in the Stock Account and as reported to Lessor quarterly In the Stork
            Report. r

                  8    ag.LAtnrutg. Any Royalty Payment. due for Principal WIWI'S)/ attributed to the Property will be paid within 30'
                    .91L
            d.ve. efts: ill: end o.    e'...zr.-tee in which such Principal Minerals were sold (Le, Invoiced to the purchaser), and, for Minor
            Mmerela attributed to the Property within 30 days of the end of the"Riad Year"(July 1 - June 30)in which they were sold. '

            .
            6     ,ScskadejMingtututtkikaelijoAlkappaly. Saleeble Minetals are attributed to the Property and to Lessor's
            Stock Account IF sit forth below:
                  (a)      ROC will survey, drill, and analyze drill temples front those pp:Atone of the Property which It plans to mine, in
                           order to estimate the tons of Principal Mineral, located therein.
                  (b)       eroduction of latest:4e hiinernts Is achieved by the following three *term in ACC.OperetICHUI:
                                      "Mirdng" extracting and delivery of mineral send ore to the concentrator:
                          (ii)        'Concentrating'- removal of non-commercial materiel:
                          (tlI)       "Proceratng" - retrieval of further non-com:nen:lel sand and separation Into saleable Mineral..

                            Each of these steps result, In recovery and lose of saleable Minerals depending on the efficitmcy of each step and
                            lime nature of the materiel being treated. The Recovery Rate for each step varies to a small degree ant deity baste
                            end Is determined by regular sampling and analysis of the material sell passes through each step.


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                                                                               128
Case 2:25-cv-06135                   Document 1-1                       Filed 07/07/25                      Page 116 of 263 Page ID #:131
                     -n,. Recovery Rates for A given Quarter nod the eatimater and survey information complied pursuant to Claus*
                     6(a)above are used to estimate the tone of saleable Principal Minerals recovered from the Property in that Quarter.
                     Those tone of Principal Minerals are then entered in Lessor's Stock Account.

             (d).    Within 30 days of the and of inch Fiscal Year, RCC will &minion Its actual production of imitable Minor Minerals
                     for the year amcmg AU Stock Accounts. The apportionment will be made In proportion to the attribution of
                     Principal Mineral. among AUStock Accounts for the year.

      7
      .      BoyalktraymeCalculatiettir.
             (a)      1iinsip.aliginup.le_.5.21..4
                      (0        W ithin 30 day,ef the end of each Quarter, RCC will deduct the total tone of each Principal Mineral sold
                                during that Quarter from All Stock Accounts.
                                                                                  •                 •
                     (II)       The tons of Principal Minerals sold will be deducted horn All Stock Accounts on a "Finit-in/First•Gur
                                MFG) basis. Wherp production of saleable Minerals I, attributed to several stock accounts on the 91010
                                Mite, sales attribulabte losuch production will be deducted front the affected stock eccounts in proportion
                                to the tonnage llocated on that date to such stock accounts.
                                                                                                                                         •
                     (iii)      The sales thus attributed to the Property will be entered in Lessor', Stock Account and reflected in the
                                Stock Report.

                      (iv)      RCC will calculate the Sale. Value oer ton for each Principal Mineral for the Quarter.
                                                                                                                             •
                      (v)       The Royalty Payment payable to Lessor for the Quarter will equal eight percent(8%) of the Sales Value per
                                ton for each Principal Minafal for the Quarter multiplied try the tone of each Principal Mineral sold which
                                are attributed to the Property for the Quarter as reflected in the Stock Account.

             (b)       Mktorivlanatelokt,
                                Within 30 days after the end of each Pileal Year, a calculation slmilnr to that described In Clause 1(a)(e)
                                above, will be made for Minor Minerals, and the result will be reflected in the Stock Report for the bat
                                Quarter of the Fiscal Year.

             (e).      6-4balPlilalL.
                                 At the end of each Fiscal Year RGC will compare its actual annual
                                                                                              n      Mineral production to the total ton. of
                                 Mbergls attributed to AU Stock ACCOlinta in that year. if the actual production Is less than the attributed
                                 production, then the shortfall will be deducted promutionately from All Stock Accounts. If the actual
                                 production exceeds the attributed production, then the.excess will be allocated proportionately among Al)
                                 Stock Accounts.
       g. cornmingiing_apd Stockpiling_ RCC will commingle Minerals from Or...Prove...Ay with Mineral& from other
       properties. may engage In Mining on cnor• than one property In Quarter, and snny RC.C's sole db.:xenon front time to time
       •tockplle Minerals dependlng on market conditions.
             $,Djou42,6frilissiet. RCC may In ils sole discretion sell part or ell of Its Minerals to nIfIliatea of RGC. In such *vont. the
       Sala, Value per ton of we'd.. Mineral used in calcul•ling the -Royalty Payment wilt be based only On RCCa sales to non-affillitsa. If
       such non-afflUale sole* are les. than 30% of RCC's total sales ‘,1 the Mineral during the Quarter', then the Sale. Value used in
       calculating the Royalty Payment wilt "own the greater oil.) the Salsa Value based only on RCC's sale, to nonanfiliates or(b)the
       Indexed once for the Miner.l, deteronned by multiplying ift the Saint Value per ton of the Mineral last used in calculating a
       Karat.* Payment                an the percentage change in the Producer Price Index -Titanium. Pigments Index of the B             Bureau of Lessor
                                                                                                                                                        or
       Statteace, U5. Defartment of Labor (Code No.06220209, 1982.100). Such percentege change will be based on the change In the
       Index from the bet month of the Quarter in which the Sabs•Valua referred to In Clause CO was used to the last mortal of the
       Quarter for which the Royalty Payment Is being calculated.
                                                                                                               •
       70. Mi2ILEclagraufargife/E. U RGC. agree* after signing this Leese, to pay a higher Initial Payment per sae
                                                                                                                                                    higher
       118.4efa3i;dAadysvaorrteheR,,n
                                   oyoal
                                       retyor
                                            vagibeirettleeiser
                                                            e paaCTI:Zerhligmhyer...t
                                                                                   rozu,,ltyrate rts to'any other based properly in the- Are., liCC-vnli
                                                                                      ..1                                                               .
                                                                                           necessary to adjust rettorretively payment" previously received
       by Lessor to the more favorable levela, and tTre more favorable levels that are prospective In nature will
                                                                                                                                   thereafter apply to this
       Leave. This Clause doee not require that retroactive adjustments include the time v•itii of money. This
       Inner and not to purchase.,options to p urChAt*, purchased easebadc iffinlesnents Or other                                   Clause applies only to
                                                                                                                     arrangements.
       11. Crappidionsfid       t-
           (a)   RGC will send Lessor written notice when it has completed Mining on the Property.
              (b.)      The next Stock Report alter such notice will contain a recoocilletion comparing (I) the
        and Advance Royalty Payments Feld to data, with (U)the product Obtained by couftlpipng the                 total Of all Royalty Payment.
        Property from w-hich Ii .0 removed the topsoil In preparation for Mining name                             total number of acres of the
         provision in Section 8(Minimum Royalty)Of the Lease.                                     33,500-per-acre   average Minimum Royalty
              (c)       tf that Stock Report reflects that all tons of Minerab attributed to the Property
        Report will be Lrlifoe, last Stock Report and final reconciliation, and Lesser will be paid          have already   been sotd, that Stock
        that Quarter, and Ulf the final payment, if any, required by the S3,500.per-scre                 ti) any Royalty Payments payable for
        Payment"). The Final Payment will equal the amount,if any, by which the product       average Minimum     RoysIty   provision (the 'Final
        described in Clause 11(b)(1).                                                            described in Clause 1 nb)(ii) exceeds the total
              (d)       If that Stock Report reflects that any tons of Minerals attributed
        be paid any Royalty Payments payable for that Quarter, and Lessor may elect, to the Property have not yet been sold, Lessor will
        to either: (1)forleU all rights to futuri Royally Payments whh regard               by trending written notice to RGC within 30
                                                                                    to all unsold tons and receive the Final                days,
        determined in accordance with Clause ti() above; or till cotin                                                           Payment, any,
        reconciliation and Final Payment, if any, until all such unsold tons   nue Lessosr'  Stock Account In existence, and defer theU final
      • Advance Royalty Payment* can be used to determining arty                   are sold and the final total of all Royalty
                                                                        Final Payment due.                                         Payments and

       12.   AdMireilOctiti-Ea
       commences    Mining on the mtetki.:-.7-(214-
                                   Property, RCC        orAtrtiftWACUNtUC-110-1441V-ZCOITIVIAC- At least one year before RGC
                                                       estimate, using the then must current drilling•data
       tons of Minerals located therein, thing this information and                                         and survey information, the
                                                                     applying reasonably expected Ricovery
       In good folth 'inmate the total sales value of the saleable Minerals                                   Rates and prices.
       Royalty Payment equal to "70% of Estimated Future                     recoverable (corn the Mineralized Property. The RGC will
                                                                                                                                 Advance
       Royalty Payment.)of the Lease will be determined by Royalty Payments' set forth in Section 6 (initial Payment and Advance
                                                             (a) mulnirlying the estimated total
       royalty rate, (b) multiplying the result by                                               sales value time, the eight percent(5%)
                                                   seventy percent I. %), and (c) deducting therefrom all
       previously made under Use Lease.                                                                      Advance Royalty Payments

       LP.     ocLirntt           4friElf.kt.P..C.B.SREVErfact.40./3A- Samoa, of the Inherent bncertaInties in
       estimetea whlat may affect UMW Royalty Paymenta                                                              making orojections and
       any representation, written or oral, Its to                Lessor,in deciding whether to enter into this
                                                   the hkellhojel or Valli* of Royally Payments.                Leone, should not rely upon
       $3,500-per-scre average Minimum Royalty                                                      and  LaMar should beer in mind that the
       engages in Mining on 11.e rtorarty, it'd     provision contained in Section 8(Minimum Royalty) nr the
                                                       thten applies only to the total numt,er of acres front     Lease applies only U RCC
          prernratIon far hfining. Lessor acknowledges
                                                            that Lessor understands the foregoing sentencewhich ROC removes the topsoil
       has not telied upon any representation, written or                                                     and 1A33Cir agrees. that Lessor
                                                            oral, 05 10th. likelihood or value of Royally
                                                                                                          Payments.




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                                                                              129
Case 2:25-cv-06135   Document 1-1       Filed 07/07/25   Page 117 of 263 Page ID #:132




                                    . EXHIBIT A
                                          TO.
                                     MINING LEASE
                                    BY AND BETWEEN



                 G. L. PARSON, JR., AKA GEORGE LEE PARSON, JR.,
                AKA G. L. PARSON, and AKA G. LEE PARSON, JR., and

                MARY ELIZABETH PARSON, AKA MARY BUTTERWORTH PARSON,
                    AKA MARY B. PARSON, AKA MARIE. PARSON, and
                    AKA MRS.. O. L. PARSON. JR,. husband and wife
                                      (LESSOR)


                                           AND

                              ROC (USA) MINERALS INC.
                                      (Roc)




                                          130
Case 2:25-cv-06135           Document 1-1               Filed 07/07/25             Page 118 of 263 Page ID #:133



                                                     EXHIBIT A           •



                  Under the terns at the above-referenced Mining lease, to 'hick this Ewhibit is attached, Lessor his
       l eased to ROC, and granted to RIC various rights regarding, certain rest propertyjincluding ill sineril rights
       and Minerals) referred to as the 'Property', ohich it situtted In the       Stone Crgyk. Magisterial °Istria.,
       gasp           County, State of Virginia, Ovid is hereby represented and warrintedly lisser.to mud to Lso
       acres, Ind which is described as Mins:                                                            •

       That same tract or parcel of land conveyed to G. Lee Parion (also
       known as G. Lee. Parson, Sr.), by Warranty Deed, dated December 24,
       1947, and recorded in Deed Book 44 at page 126, in Clerk's Office
       of Circuit Court of Sussex County, Virginia. To wit: All of that
       certain track or parcel of land, .with the appurtenances thereto
       belonging,..containing Three and one-half (3 1/2) acres:,' more or
       less, lying, being and situate on both. sides of the Milwaukee Road
       Little Mill Magisterial District, susses County, Va.,.and bounded
       as follows: on the North, East and West by lands of Lee Parson and
       on the South by the land of Willis Robinson, the said tract of land
       hereby conveyed being situate about 300.yards West of the present
       residence of said C. Lee Parson.

        The above stated land bequeathed and devised to George Lee Parson,
        Jr, (also known as O. L. Parson and G. L. Parson, Jr.) from the
        Will of G. Lee Parson, Sr., deceased, in Will Book 23 at page 430
        dated May 3, 1966; recorded March 8, 1973 in the Clerk's Office of
        Sussex Circuit Court.

        Subject property is referred to in the Sussex County tax
        as Tax Parcel Number 161-14.                             records




                                                             131
Case 2:25-cv-06135
          VA 8/89              Document 1-1                      Filed 07/07/25                     Page 119 of 263 Page ID #:134
         STATE OF VIRGINIA
         COUNTY OF,...___susgez,
                                                           tahl..Q.MtiCUKQEMIN-Weigo0ai
                 KCC(l/SM MinetaIs Inc., a Detarrard corporation, CRCC-)and
                                                                                                              C
          I'Lessoe)have eider int into Deed 4i Mining Leas* dated       OCCOLLer 13, 1989 .
                                             ("Lease), the terms of which are incorpOrate4 herein by reference, The Lease provides
          among oilier things that:
                  I.       RGC, as tenant, has leased horn Lessor, as landlord, the Property described on Exhibit A to the Lease, which
          exhibit is also attached hereto a* Exhibit A. •                                                     •
                 2.        Lt330: ha• granted to !ICC the right to explore for and mine various minerals on and under
                                                                                                                         the Property and to
          conduct ad1n5-related operations on the Property.
                  3.       The term of the Less• tsvolile oh the date of the Lea.' set 101 a lt 41,1,ov* AzLd   tot•period of 20 years, ustirss
           ag lie, terintnatinl Of tetisporarity extended pursuant to the Lease.


                  4.      Doting its term, the Leale is binding upon any successors to all or any ponlon,of Lessor', intee,tln the Property.

                  5.      The Lessor's name and address are
                            C. L. Parson, Jr. and Mary Elizabech.P.arson. husband and wife
                            Route I. Box '60
                            Stony Creek, Virginia 23882

                 6.   RGCa name and address are: RGC(USA)Minerals, Inc., Attention: Land Manager, Warner Road, P.O. Box 1307, •
           Green Cm Springs, Florida 37043.                               •
                   IN  warms wilERBOP,                 RGC      and    LeftIor    .Itave' executed     this   Mentota ttdurn      of     Lease     as
           of       October 13. 1989


           Lasso. 52-,0,
                                                                                 By:                          •
           C. L. Parson. Jr.
          (Print Name)                                                           ha:           Vice                                       President
            AKA George tee Parson, Jr.
                                                                                 (CORPORATE SEAL(
            AKA C. L. Parson
            AKA C. Lee Parson, Jr.
                                                                                 Attest:

                                                                                 Its:                                 0         Secretary


                                                                                 STATE OP           FLORIDA
                                                                                                                  •

                                                                                                          CLAY
             Mary. Elizabeth Parson                                              CrlY/COUNTYOF
           (PrizaNwn4
           . AKA. Mary Butterworth Parson                                         The
                                                                                  this 11°4  "trierruwea, acknowledged beloric
                                                                                         day of                          19
                                                                                                                               nate
                                                                                                                                                 7V
             AKA Mary B. Parson                                                   by.'Mae L
             AKA Mary E. Parson                                                   al
                                                                                      Vice                              President of RGC (USA)
             AKA Mrs. C. L. Parson, Jr.                                           MINERALS INC., a     Delaware   corporation, on behalf or thr
                                                                                  corporation.
                                                                                        ou missio
                                                                                                                            ftotery Pubk. Stets of Flotide
                                                                                                                          My CanarisSion Evelio. May 21. 199:
             STATE OF V IfIGI N iA                                                                                           *weed Ifee inn rata • klir•••• am.
                                                                                  Notary Public
             El-TY/COUNTY OF
                                                                                 (NOTARIAL SEAL]
             The foregoing inatruotent was acknowledged before
             me this I    4.day of                         0At_f
             by C. L. Parson. Jr., and               Mary
                  Eltzabech Parson.'husband and
                  wife



                My Counnission Expires:        it ,t       sr, Ili 9

                                     6431              °
                '
                stray Public
             (NOTARIAL SEAL)




                 4167E1012


                                                                       132
Case 2:25-cv-06135                     Document 1-1                       Filed 07/07/25                     Page 120 of 263 Page ID #:135
    .    kSTD      ease
                                                                                                                       'q(c(
                                                                                                                           .
    e-• 'VA 809



                    Ttjug papoF MINIM 1„/LASE, *hiding the attached Exhibits which are incorporated herein by this reference,
                                                                                                                             ("Lease")
           is       made      and    entered        into .       on   •   OctOber•-• 13,       . •       ;           1989                    • by
                                                                           .       .-.. •
           between G. L.. Parson. Jr.. AKA. CeOrze •Lee. Parson,•"Jr., AKA C. L. Parson, and AKA'

              G.•Lee Parson, Tr,. and Mary Eliz_abgtb Parson.". AKA- Mary iltitte,rwortli Parson„ AKA

                                                                                                G        L.- Person           4r       hOsriand and wife

           .Boutp 1. B_ox                              -Cre•ek.._ Vitzinie 2.3882
                                                                    ••                                         •
            ("Lessor, and Roc(USA)MilaftALS INC.,a Delaware corporation Whose address is Warner Road, P.O. Box 1307, green Cove
            fipring.s, florid*, 32043("MC). in consideration. of the mutual promises made in this Lem,and other good,and valuable
            cottsideration, the receipt and sufficiency of which are hereby acknowledged,Lessor and RCC agree as follows;               •
                     1„        Dyfinsw/222/11. Arty word or phrase that la capitilized.aird Placed in quotations in this Lease faa defined term
            and   when   it is cepitilized'will have  the same  meaning  throughout   this Lease:  . •
                                                                                                                          .   .
                    2.         rutpaigg, The mien.** of thie Lease is to allow RGC to explore for end,- at RCCe solo dIscrethin to mine,
             remove, commingle, and sell Minerals from the• Property, to' use the Property to mine Minereli from the Property or other •
             property, and to conduct related activilies. "Minerala means the following group of minerals and mineral products!: Ilmenite,
             Leucoxene, Rutile, Zircon Staurolite, Kyartile/Siiiimanita, Monante, Xenotune,Ind Garnet, and essod•ted.brproducie.          .     .Title to
             any Minerals mined shall, Ii not already vested in RGC.pass to RC ea they arelevered from the Property.                                  •
            .        3.                                 UMW' hereby; leases to •RGC the Property (as -defined on 'Exhibit AL on the 'terms'and
             conditions in this Lease.  .  •  .                                           .           .  •
                     4.         Ona,rit ofRights. Lessor grants to RGC the followirg exclusive rights with regard to the Property;.            .
                               (a)     'To enter. the Property to survey, explore, drill. test, and sample (the foregoing activities are defined as
                                      '   Exploration"))                                              .
                              (3)       To Agar the Property of such buildings . gs (subject to Section 21 (Compensation for Buildings% other
                                       •structurea or obstacles, earth; standing tunbar,-plants, and:such other things or material that-RGC; in it.
                                         absolute discredon, wishes to clear from' it. Property to 'exercise its rights as set out in this Section 4; to •
                                         construct, relocate, use or remove roads; Poiver and communimtion'Enie, dredge ponds, tailing ponds,
                                         settling ?ends, pipelines, buildings, storage facilities, carols, tailings, signs, gator, fences, and *dun'
                                         stnictures and- facilities on the Property; to take step. to prepare for mining on the Property; and to
                                         develop,'mine, erase.erdne, dredge, remove,' concentrate, separate, commingle, stockpile; festal; process,
                                         Ship, and sell Minerals (the foregoing activities, whether conducted *rifle Property or *nether property .
                                         In Dinwhictle and Sussex Counties, Virginia ('Area'),are defined as'Operations";
                               (c)       To'use the Property to Clore,transport, or divas.* Mirierals,'Water;tailinga,rind material resulting from
                                          RGCs Operations;                                                            •
                               (d)       To use water front or appurtenant to the Property and .to cinin through and from the Property and to
                                          draw into arty course in the Property any  water  from  RGCs  Operations:       •
                               (e) 'To take all steps to accomplish Reclamation (as defined in Sittlan 14)of the Property;'
                               (f)       To use all essements, means of aCcen,and rights-of    -way  horn  and to the Property;and       •
                               (g)       To use the Property for the.purponia described in this 3ectiari,:in conjunction with RGC's Exploration,
                                          Operations and-Reclamation enother property. ••
                      Notwithstanding (he foregoing,'RGC is not granted the right under this Leas• to construct or operate on the Property a
            •  processing   plant for the final separation of the concentrate into saleable Minerals.            •      •
         •
              • • 5.             nrinsaggag. .This Leese will begin on the date first written above and will end 20 yeats thereafter, unless(a)
               the Lease is ended earlier under Secticm 19(Termination),(b) the Leese is        automatically terminated    by FCC's hillure, for reasons
               other than a temporary Inability to obtain through. diligent *Volta all necessary governmental perntits and authorizations, to •
               commence -Mining (as defined In the. Royalty Policy) in the Are. by'the eighth anniversary of the Lease_, or (c) the Lease is
           • automatically extended to              RGC to complete ongoing operations on the Property. if so extended, the Leese shall terminate
                                               notice &OM KC pursuant to Section 19.(Termination), or the passage of a:period of 180 consecutive
               upon the earlier of.written'notice
               days in which FCC conducts no Operations on the Property. "Term" means the period of tiine during which this Lease ia in
               effect, and,in the absence of earlier termination, Includes both the initia1.20-yeir term and any extended term. •           • •
                      6. initigilityagnotoandAdmanizakasaLrozo& sub)eci to the terms and conditions of this Lease,
               RC.4 will. pay to Lessor, during the Term of this' Lease, On or before the dein indiceted.the following lump .ount payments and
        . • payments per acre of the Property retained under the Lease at the time 01,11w payment;.
                                                                                  •
                           Paymen•Dane                                       Parnent Type                        Njoeor•

                Lease Date                                                Initial Payment •                      S250 per acre

                Lora. Date                                                Advance Royalty...                     $750 per acre

                Cht or before December 31                                 Rental Payment.                        $15 per acre
                of each year following the'
                year this Lease is signed
                Earlier of(a)"Mining'(as .                                Advance Royalty.                        S4170.00
                defined in Royalty Policy) •                                                                      lump stint, ecotal to $1030.per acre of
                in Area or (b) Fifth Anniyeraty :                                                                'Mineralized'Property"(Se defined in,
                                                                                                                 . Royalty Policy)

              Tenth Anniversary if no .                                   Advance Royalty                         c4.,170:00.
              'Notice of Mining (as                                                                          •    lump aunt,equal to $1000 per acre of
              defined in Section 9)given                                                                          Mineralized Property,sublect to'70% .
                                                                                                                  Limitation"(as defined in'llOyally Policy)
                Fifteenth Anniversary if no                  •        .   Advance Royalty,                        s4,170.00 •           "      •
                Notice of Mining &even.                                                                           lump sum,abject to 70% Litnitation
                                                                                                                                             .     .     ,
          '     Notice of Mining                                          Advance Royale);                        70% of Estimated Future Royalty
                                                                                                                  Payrnents.(es definedin Rayalty. Pc'dicy)
                                                                                                                                                    .
                                                                                                                                             •
                The Initial Payment and all Rental and Advance Royalty Payments paid to 1015.10T are nomrefundohle. The Advance Royalty
                Payments paid to Lessor will be credited s agabot. any Royalty Peptones otherwise payable pursuant to Section 7 (Royalty
                Payments) and •may be prepaid by RC.C. Payment to Lessor of the ,payment required upon Notre* of Mining'will satisfy An full
                any obligetion RGC may thereafter have to pay theTenth arid Fifteenth Anniversary Advance Royalty Payments. .
                       7.      Ilefrallit(20.3227,ffitsfi- ACC will pay to Lewur quarterly Royalty Pity...aunts equal to, eight percent(8%) of the
                Sales Value. of Minerals,.attributed to the Property, which•RCC :nines and sells.'The Royalty Payments will be determined and .
                paid in accordance with Exhibit 8,FCC's Royalty Policy for Virginia Operations("Royalty Policy").                     .       .
                       8-       Minin,411 RerAct• if the total of ail Advance Royalty Payments and Royalty Payments paid to Lessor under
                this Lease does not average $3500 pier acre for all* the Property from which RCIC removes the topsoil In preparation for Mining
               ("Minimum Royalqr"), FCC will pay to Less* the amount by which the Minimum Royalty ex.cevitt such total. Arty such payment
                will he deterznowdand aid in accordance with CI•use 11 ofthe Royalty Policy.                                     , .
                       9.                             • -      poly. During Exploration, Lessor and ACC will, work together to accommodate
                Lemsor's normal activities on the Property. FCC will giv., Lessor at least twelve months oode.:rigodoi of Mining" if ReCe
                 Mining will require Lessor to cease away:ties on the portion'of the Property described in the Notice: of Mining. Until the'End- of
                the notice period, Lessor will have the right, but not the obligation, to remove for Lessor's account any crops, timber, buildings,
              . irrigation systeint,fixtures or personalty of Lessor from that portion Of the Property. Frorn'the end of the notice.perk's( until RGC
                notifies Lessor otherwise, Lessor will cause all activities to cease on that portion of the Property. (hiring Reclamation, FCC Will '

                                                                                                                              A sk/l
                                                                              133
Case 2:25-cv-06135                      Document 1-1                          Filed 07/07/25                        Page 121 of 263 Page ID #:136
       .. work with Lessor to allow Lessor to resume Lessor's normal activities on the Property,as moon as reasonably possible and as
      • '' .permitted _by governmental reciametionreqUiremente.. Lessor will and does ind.eninify RGC from and agairot any.elainis asserted
            againstRGC arising out of the activities oil-easel or Lessor's invitees. Lessor will be solely reaponsible lot;and will bear all risk .
            of loss related to,any government allorment;aubeidy,stabilizatiOn Or conservation programs that may apply totha Propeity.
              .      10. Safety: Except it otherwise provided in this'Leaseronly RGC employees arid visitors autherized 111 writing by
            RGC will be permitted on those pads of the Property on which Operations are being conducted- All ACC-authorized visitor, and
            their vehicles will cony RGCidentification at all times that they are On the Proper :.                   ' .• . ,             •
                                                                                                                                                      •
            •        1./
                       . itardo..Coraggyindkaafelx/tajaNkteithigfiesw                                                .     Rqc    will conduct its Exploration and
            Operations    In Compliance      with ail applicable' safety laws   and   regulations.:  RGC   will and   does    itideinnify:Lessoefrocn          knd against '
            any claims(environmental or otherwiee)asserted against Lessor arising out of RGCs activities. RCC mil also indemnify Lessor.
            from, and pay Lessor       for,  actual damages   caused   by RGC     to crops,  pasture,  timber,  fences,   gate*,    reeds  and   other    Improvements
            not described in Section 21 (Compensation for Buildings), located on any portion* of the Property that'Brandt muted but are
            otherwise used by RGC in its activities. RC,C will in no event be liable for special or coneequentiaidamages,and any payments
             made pursuant to the preceding sentence will be deemed full and Complete corn eruation for the damages iii question.
                   . 12-      EiGC"cnigaLtaiklatatiii W1teJli1hgit                 r             andiWs                   'll.o Nothing in this'Lease or in' the
             relationship between Lessor and RGC•will constitute or casts'any express or,implied duty on the part Of'RGC to perform
             Exploration or Operations, or to mine the'Property at any rate, in any manner, °retell.. RGC'3 Exploration and Operations, if
             any, will occur only to the extent and at thelocalions and times, and in the method:Land manner that RGC,in 'its sole discretion, .
             may determine; provided, however, that ACC will not conduct Operations wiihin 100 feet of Leseoes.principer residence or any
              principal residence on •property edloining_the ProPerty, or in suth a way as to deprive any such residence of icceii to a public
             road, Mileities, and wafer supply until ACC'compiles with Section'11(a)iCompensetion for Bitliding* — Principal Residoor0 fin
             the case of Lessor'.principal -residence).or obtains theadjoining.property.otenee* written consent (in the case of an adjoining
             residenh ceend provided furth  further that; if RGC engagesin Mining lit the Area, thert•RCC will use Its beet efforts               , to.. mine all of the
              Mineralized Property that can be mined In a commercially reasonable manner. ,' • .                                                               .
                     13.       ComplkInce         With    1:atm.-,    RGC.    . activities  on   the, Property'   Will  be    conducted     lit  compliance         with an
             applicable Federal,Stateand local laws end•regulations; .                                                                               .                    .
                      14. Redaincitior,- ROC egtees to comply'with all State and Federal laws, regulations and perenliesPplleable to the
              Reclamation of the      Property.   _RGC   also agrees  to  post   a  bond,   to  the extent  resulted    by  liirginielaw,'      to  ensure       that all  the
              Property which RGC mutes will be reclaimed In accordance with law. ROC will and does tilde:nosily Lessolfrom and against any
              claims by State or Federal regulatory agencies arising from RGCs             (allure  to reclaim  lie accordance      with applicable      laws, excludistg.
              claims caused in part or in whole by Leisoee (allure to cooperate with •RGC•in accordance with the term. of this Lease; itGc5.
              Reclamation of any Property mined eneyinclude, bui not be limited to, refilling the mined path with tailings discharged.from the
              wet mill, dykin,g and eftnunating twitting ponds, replacing and grecting the topsoil, replantingand otherwise complying with all .
              applicable governmental reclamadon requirements("Redamaticin-). . . . •                           '                                                      .
                      /5.       Aesdit. Lessor will have the right at Lessor's experuns to appoint are independent auditor reasonably appioved by •
              RGC(which approval le hereby given if Lessor eppoints a national firm in the United States of recognized:repoted00), to audit,
               not more than once litany year,. RGCs record, relating to the determination of 'Royalty Payments foi.RGCs 7Focal Yes?!
            (currently July 1 -June 30).inunediatety pr•cedir4 ouch audit.;Lessor will instruct Lessor's auditor to send a                        copy      of his report to
               ROC at the same time that he sends his report to Lessor. Also, Leaeor will notify ROC in writing of any objections Lessor may
               have regarding     Royalty  Payments,   within:60  days  of Lessor's   receipt  of  Leoloes auditor's   ',port.        .'
                      It nam.'Tax", Will beaPpOrtioned end paid an follows; '
                               •(a) • RGC will pay the following. taxes or portions'thereof'. any mineral severance testes, related to 11GC3:
                                          Operations; property taxes, pro-rated for the portion of the Property and thetIrne period in which'Lessor
                                 . . • I. prohibited under this Lease from•conclucdhg altivities; and,any increase in property taxes attributable to
                                          the Minerals or RGC'.Operations.'                         . . • ;•• '          •     .      .
                             . (b) • Lessor will pay.all other taxes related to the Property,includIng but not limited to: any testes on Released
                                   •      Land (as cleaned In 5ect1t/n.19(TerrnbiatIon)); arty income,capitalievy;eetate;gift, eucceesion,inheritance,
                                          transfer or franchise taxer;and any tro(es iittributsble to Lessor's activities' On the Property. .                            .
                              (c) ' Leaser will send RGC copies of all aisemments tax bills.or other tax•notices related to this Property or to
                                          RGCs Operations thereon within 14 d_eys of Leisoes receipt ofthe same or in such shorter time as may be
                                          necessary to preserve the rights of RGC and Lessor to protest or appealthemene Lessor will cooperate
                                          with RGC in any such protest or appeal. RGC• may;in- its disizretIon,•puroue ouch protest or appeal
                                          Independently of Lessor.'RGC will in any event not be obligated to:pay'Many Increase i,n taxes which,
                                        • RGC is unabfeto protest or appeal due to Lassoes failure to comply with this Section 16(C) Or (l)any tax .
                                          bill which RGC does not receive at least 14 days before the bill is due. •                                         .. .
                          . (d) : RGC miy, but Is not'required to, pay                   any Mace on the Property fOr which.Lessor is responsible under
                                          Section 16(b),  and deduct   sueli taxes   paid  from   any payments    otherwise     duet°    Lessor-under        this  Lease..
                       17. Warranty ofMk:,Lessor warrants as follows: •                                                            .                   .
                               (a)        Lessor lethe tole Islet and equitable owner, lit andiVided fee!              imp's, of the mdfacie and mineral estates
                        .                  that comprise the Property without Limitation whatsoever; •.• " •                      •
                                (t3)      The'Property is free and clear of all leases; liens, encumbrances and -.subtending adverse claims and
                                        - interests, no(of record; .       ' .•      : -• . '              .      •.         .. ..                                             .
                                 CC) • Lessor has hill power aid authority to execute this*Lesse;                                  .. •           •          ,     .
                                (d)'       ROC shall have 'thit quiet and peaceful possession and enjoyment of the Property, Minerals, and the
                                           proceeds therefrom',against all persons or entities who maychum any interest therein;                          ••
                                (e)        There has beehno violation of any applicable Federal;State,or local law or regulation/elating to zoning,
                                           land use; environmental protection or otherwise with respect to the Property or activities relating thereto;
                                           and                                          0                       .
                                (1)        This Lease,and RGCs right, title and Interest hereunder,'hal)at all times be superior to, and have priority
                                         'over,any right,title or interest in the Property created during the Teem of this Lease.                        •-•
                       18. Lesser hue:rest.• In entering into this tease, RGC li relying on Lessor's warranties of title contained in Section
                17(Warranty of Title). Without Impale:Merit of thosewairenties of title, If .Les- *Or     - Owns less than the entire and undivided estate In
                the Property, ROC way (a) proportionately reduce all payments otherwise payable under this Lease,(b)offset any. prior payments
                related to the usiowned portion against any future payments payable under this Lea,., end(dexerciseany other.available rights
                or remedies:                   . ••                                                                        .                .         . .
                       19. 7      . enninettort.       RGC will have the right to terminate this Lets* with regard to all or any portion of-the•Property • .
                at anytime by sending a written notice to Lessor at least 90 days prior to such 'termination, The.termina tion. will take effect upon
                the date specified in the notice. Upon termination, ail of RGC3 rights and Obligations under this. Lease with regard to the
                Property or portion thereof specified in the notice (the 7Released'Imoll will terminate except for any Reclamation rights and'
                obligations and any Minimum Royalty or Royalty Payment obligations.arising out of Mining conducted on the Released Land
                prior to such termination. In the event of i partial termination, this. Lease will continue in effect with respect to all Property
                except the Released Land,.and,the term 'Property" will thereafter mean and include only the retained Property 'and not the
                Released Land. After termination, RGC will execute, deliver and record a release confirming the relinquishment of.the Released
                Land. Nothing in this Section.will negate any obligiitions RGC has under thi3 Lease with respect to Reaantation of the Property.
                Notwithstanding the foregoing, RGC will not terminate this.Lease In whole or In part at any time prior to the sixth anniversary
                unless RGC also term-Mateo all of its other mining leases in the Ares.         . . • .• •                      .              • • '     .•
                       20. 2Ide Doefinseitts. Lessor will promptly provide-to RGC copies Of all documents,which                                     Lessor now or in the
                future possesses, relating to Or affecting title to the .Property, including but'not limited to: title insurance policim, deeds,"
                 mortgagee, trust or security deeds, boundary agreements, judgments, liens, orders, surveys, boundary descriptions, maps, wills
                 conveymg an interest in the Property, teustinstruments,'leases,. licenses, easements and rights-of-way. Lessor Will,give
                 notice whenever Lessor learns ofany matter Which inay affect the title to the •PrOperty. .At RGC's request, Lessor will-signRGC                            and
               . deliver to RGC such additional formal aisulances or other document.; in:proper and recordable form, as may reasonably by
                 necessary to carry out the terms and intent of this Lome. Leisor.ssilinfornt-RGC immediately if Lesscitfaile tcipay or discharge
                 in a timely manner any prent‘aory note, mortgage tax; or other lien Upon the Property,.and,RGC may then pay it and Se
                 subrogated to'the rights of the holder thereof. Eicceit for any Mimi for which RGC is'liable under this Lease, RGC will have the
                 right to offoet, front any payment otherwise payable to Lessor under this Lease, all amounts paid by RGC to discharge any such
                 promissory note, mortgage,tee or other lien. • •                   .                                                  .
                      21-       ammarosietig_allmikiislina..                                                          .. .
                               (a)       Prindpiii Residenot. If RC'proposes to remove LAiteeee principal residence -on the Property, RGC will
                                        •give LeaaCe not leas than one year',•notice of its intention to cto so.
                                                                                                               . At least .180 days prior to such
                                          removal,' RGC will compensate LM. sof           by
                                                                                  making a payment to Lessor equalitoivio times•the then-present
                                         fair Madan Value of such residence (excluding:land), as determined hythe average of two appraise* one
                                         by an appraiser selected by.Lessor, and orteby.an appraise:'aelected by RGC,from a list of six M,AI or
                                          nIA7approved appraleers compiled by RGC. Lessor may. thereafter occupy the, residence until the one
                                          year noHee 'period expires, at which time Lessor will vacate the residence .to allow its removal. No
                                       ' residenee vial be ionabsocted on the Property during the Term of the Lame without t,he prior written
                                        • consent of both Lessor and RGC.         .
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               41BTEMP2




                                                                                    134
Case 2:25-cv-06135                 Document 1-1                        Filed 07/07/25                     Page 122 of 263 Page ID #:137
                         (b)          Other Buildings. If ACC: proposes to remove other buildings on the Property; RGC WiU give Lesser not
                                      less than aix months' noticeof ha intention IV do.so. At least.90 days prior to such removal, RCC will
                                      compensate Lessor brataking spar:mint tO LeSsor'equai to the approximate replace:tient cost of buildings
                                 ,    of that moire, as determined. by the average of two appraisals by appraisera
                                                                                                                                     Selected in the Manner
                                      deseribed In Section 11(a). Lessor will cease using the relevant buildings 30 days prior to the proposed
                                      removal and will facilitate removal In         respects. • •          •2. •       : •      .
                   22. Thibarltody_Claithi. If RGC learns that a third'party May.have• clahri of ownership.in any portion or .
         percentage of the Property or any payment..under this Lease, RGC may deposit.sn a special eactow account(with a bank or title
         insurance company located hi Virgmfarany payments otherwise due to Lessor under thb'Lease and give Lessor written notice of
         the deposit. The sumo deposited will remain in the special escrow account until the claim or controversy Es resolved, or until
         there has been a final determination of the claim Or controversy by a courtor arbitrator,ineluding any appeals therefrom.
                   23 . mcktionautokmirAzintimisighk. if, during the Term of this Lease,.Lessoi acquires any
                                                                                                                                                      right or .
         Interest in the Property or hi arty property adjacent or easements appurtenant thereto;(a). Lessor will promptly notify RGC,(b)
         any such right or interest acquired in the Property, which Lessor had in this Lease already warranted to be part of the Property,
          will become part of the Property subject to.thieLeasewitholit any additional payment'to Lessor,*(c) RGC may,at RC                    G •option, at •
         any time, lease any other such 'right. or interest bn the sense terms as the terms.' of this Lease, and.(di.lessor will sign,
         acknowledge,and deliver an Amendment to this Lease end to the Memorandum of thlel..ease to RGC;so ae to include euch tigris
         or interest.                                                              •     .• .        .
                             Ritteirwtiejt. It the Property is now or later owned In severalty or in separate tracts, RGC will neverthelesi be
         enthled to treat the Property in, an, undivided whole -under this usia, with all payments payable under the Lease to be paid
        (either directly Or pursuant to'Sert.tutt 25 (Multiple Owners)) to the separate owners of the.Property in the proportion that their
         ownership Interest, measured in acres, or percentage ownership of acres; bear, to the whole Property; provided,however, that in
          BO event will ACC's total payment obligations to the separate Owner] exceed the payment *obligations that .Ittlr would have
         incurred under the Lease if Ihe Property Wtrt owned In undivided fee simple by•single owner.                                                          •
                    25. Wisigar;Sgtata'                .• Whenever two.or More parties are entitled to receive any payments tinder this Lease, RCC .
          may withhold any such payments unless and until all of those parties designate in a recordable Instrument an agent empowered
          to receive ell such payments and to execute division and transfer orders on behalf Of ad those parties and their respective
          successors' In title. Delivery of any payment due under this Lease to the designated agent fulfilleRGCs obligation to make that
          payment to thooe.pa.rdea.                     . • .                                                                • . L.
                    26. Assignment. Both parties have the right to assign their rights and obligations under this Lease,in whole or in
          part; provided; however,that:               •• •
                             (a)        The.party making such an .iSsigninent must give the other party prior writtennotice thereofr.
                             (hi.             atons
                                        pa7u.io
                                       Ttipr   .
                                               ;,vi        of this Lease will apply to and be bindingupon the.successors and assigns of the respective
                                                                                                   .       . ,. .
                             (c)        Anrchange or division In the ownership of the Property or of the right to receive any payments under this •
                                 '     .Leas, how.everaccomplhhed, will not utcrease.R .'s total payment obligations under this Lease or affect
                                       • RGCs rights to conduct Exploration,Qperations Or Reelarnatton.ort the Property; • •
                             (d)         Notwithstanding Section 26(a), RGC may, without notice or consent; assign any of its rights or obligations.
                                     .. to affiliates'of RGC,Or use the services ofIndependent contractors or agents to perform-any of its right, or
                                         obligations;and          - •          •.       .        .      -      • .
                             (e)         No assignment will ielleve the assigning party of any obligations or liability to the other party, unless the
                                    , other. party provides a written release to the assigning party.
                     27. ' Eacerafamane. Neither party 'will be deemed in 'default under this Lease during any period in which its
           exercise or performance of enrol its rights or obUgstIona wider this Lease is prevented by -any cause.ressonably beyond its
           control. Such ass event is referred to in this Leas. as *Force Majeure."• Force Majeure i'Vill include, but is not limited to, the
           following Ire, floods, storms, hurticenes,tornados, wands,other damage horn the elements,declared or undeclared war,strikes,
           labor dlamites, sluts, dell unrest,'action of governmental authorities, corideninatiun, eniinent domain, crime, failure to receive
           required governmental approval., Inability to obtain water for Operations,:esubstaritial fall hi the insrket,Pticis of Minerals; tack
           of accesa,lidgation, acts of Cod,and act, of the public enemy. The Term of this Leas, will be extended for a period of time equal
         . to the pelted ch Force Majeure. All such periods will be deemed to begin at the earliest time eparty Is prevented boat exercising
        ' or performing any of Its rights or obligations by reasons of Force Majeure.-                                                      .
                     28. No Braker. Lessor and RGC represent and warrant to each other that no broker, agent, or finder has acted on
        . its-behalf its connection with this Letae,and that no           catnadasions,   fees, or other Monies    are dire to any-broker,agent,at finder. In
         'additicint Lessor and RGC will and do indemnify each other,from all claims-with respect to any brokerage; finder'• or Netting
         'commissions in connection with this Lease or any of the transactions contemplated tinder this Leitie. .
             .        21 i. Condom:illation. Lessor will immediately notify RGC of any Condemnation proceeding that may affect the
            Properly.; Le360r Will 'cooperate with RGC in defending or settling the same.'RCC may, in atedlaaetton defend its rights
            independently       of Lessor. Any condemnation award will be -shared between Lessor and RGC as provided by law. Any
            condemned Property will constitute Released Land as of the date of               Condemnation, and this Leese will continue a'effect aa to the
                                              .                                             ..       '
            rdmaining      Property.                                                                                                                     .
                  '' 30.       rAspatateaolatiaa. Subject to the provisions ef this'Section any controversy', claim,or dispute arlaing out of
            or related to this Lease, or to the formation, negotiation, Or Weed' thereof, will -be settled by binding arbitration in Richmond,
        . Virginia before a Anglo isbttntot, in accordance with the Comenerdal Arbitration Rules of the American Arbitration Association.
             Any award of damages will b. limited to actual; compensatory damages.'judgment upon the /ward rendered by the arbitrator
             may be confirmed by,and entered in,any court having jurisdiction thereof. Prfor to initiating any arbitration, the initiating party
             will give the other party written .notice of the claim, and-will allow the other party 30 dart from the date that the ;Wine is
             received to amicably resolve the claim. If the claim is .not resolved within the 30 day period, the initiating party', sole and
             exclusive remedy will be to submit the-dispute to arbitration. That:lefties will comply with any arbitration aware! within 30 days
             of its issuance, or as soon. as practicable thereafter, asid the Lease will continue in full force and 'effect, in no event will the
             existence of any dispute, arbitration or ewerd Suspend or otherwise affect any party's rights or obligations under this Lessa,-or
             interfere in any way with RCC'• Operations.                                                                           .
                      31. Najalezfereave_ With Bere's Operations Lessor has not, and will not, during the Term of this Lease,
             take any action or grant any right which.would in any way interfere with RGCs eieicise of its rights at set out in Section 4(Grant
             of Rights) of this Lease.            .                                            . , .          .               . , .           ..
                       32, -bre Implied or Coat:Maine Waiver. U either party waives or does .riot enforce any provision If this LeIlDe
         . on any occasion, that action will net constitute waiver Oh (a)that provision a, to any other time, event-or Occurrence; or(b)any.
              other provision.                                                            . .                                      .      .
                       33. Notica. Any notice given to the other parry wider this Leese-muit be in Writing: and sent by United States ,
              rjj•ist.eiled of:eertified Mill, Main receipt requested, or via Federal Express or similar overnight courier service, addressed to the
         f 11 drestl.et lett!)ain the firet peg•Of this Leese. All notices Will be deemed to.have brin mode when deposited in the meil or with
              the,iburier is provided above. All notices Will be deemed to have been received upon actual receipt by any person at the address
              listed &belle. Either party may change Its address for -the mailing of notices by giving the other party, notice of such change of
              address in the manner provided-for in this Section.              '                          .        .                    .
                       34. Engiar•Agreromod: No Oral lefpdirrarliors. This Lease constitutes                                the entire agreement between the
               parties and supersedes all previous agreements written Or           oral.   Le33.0r hereby   expressly  acknowledges    that, in entering into this
               Lease; Lesser has not relied on-any oral Or Written statements made by RCC, its employees, agents.or independent contractors.'
              This Leese crtay.bnly.lso modified by a written agreement in recordable form signed by Lessor and an authorized officer of RGC.
                       35.       __uzice.sfiettig. This Lease will be construed,interpreted and governed by the laws of Virginia.
                                 _Q
                       36. . Sz..itcessoie and Asiigns: • This Lease constitutes a covenant Awning With the land arid will be binding on,
               and inure to he benefit of, Lessor, RGC,and Lizsor's and RGC'a heirs, legal representatives, executors, adminletratois,successors        .
               and assigns,as the case may be..                                                                    .
                        37.      Saperra.bili.O. in the event that'any court or duly appointed arbitrator determines that arty provision of this
               Lease is unenfcircebble illegal, or in conflict with arty Federal;.state, or local law, the patties will petition (or will hereby be
               domed to have petitioned) the court or arbitrator to pito= that provision in such a way as to carry out the intent Of the parties
                to the extent permilsible under law. lithe court or arbitrator declines to.reforin that provision,- thin' that proviaton will be
                considered leverable from the rest of the Lease, the remaining provisions of the Lease will not -be affected, and this Lease will be
                construed and leathilmaaL
                                  enforced as if theI,Lease    did no ort :
                                                         QazcAt:j           ,t:tmt_     Nr .tctett_i=t=rovision. • •                                .       .
                        38.              •                                                                      lat..Pjametuitiott. lessor and ACC do not
                intend that any provision in °dB Lease will in any way violate the Rule Against Perpetuities or any related mile. if any such
                 violation should occur;iii. ilia intent of Lessorand RGC that the appropriate court or-arbitrator will reform the provision in such
                a way es to approximate most closely the Intent of the parties withWthe limits peradasibie under such rule or related rule, and
                 will enforce the Lease'as so rerorined- • '                                                    ..




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Case 2:25-cv-06135               Document 1-1                   Filed 07/07/25                  Page 123 of 263 Page ID #:138
               39. Magiznadjuli...At the tient this 1..esil Is signed, ibit parties will sign a' Memorandum of Leas* Which RCC will .
        record, lit the event of a conflict between'the tonne of the Memoranduai.of Lease and this Lease, the terms of'glib Lease will
        cuntroL                                                                     .                         .. •
               40. MectgagerSairig. •Lasor agrees to Use Lessees hest efforts io obtain promptly,.and to                 .            .
                                                                                                                           providito RCC a
        copy of,any consent to.title Lease required by the terms of arty mortgage or other instruinent creating tights superior to this Lease
        with respect to all or any part of'the Property. .Such consent, however, Will neither :affect nor be a condition"precedent to the
        effectiveness and enforceability of the Lease asbetween Lessor and RGC. '            ,                                     .         .
               41. ffecogiiiii. The headings contained in this Lease are for lit. convenience of.the parties only, and will not be
        used in its int retetion. •         .      •                     . •              .      •     -.                        .
               42.         ' • ajahaLacEeigej2khElam.. in addition to other obligations that survive this Leese as set forth
        in this tease, the parties' obligations under the following 'Sections of diii LeassWill remain in full force and effect following, and
         will not be affected by, the termination of. Or expiration of the Term of, this Latse Sections 74, It, 14-15, 17, 19, 22,24-26, 30,
        32-38, and 41-43.       .           .              .                                   •   .     . .                           .
             • 43. Onosibit.h. ()will; the Tenn of this Lease, each party will act in good faith•to fulfill the intent of this Lease,
        and will meet with the other party to discuss brid to try to resolve amicably any issues that array arise. :




                IN W.IIMIS WHEREOF,the parties have executed thief-ease tirufer seal an Of the date first above written.

         OWNER:                                                                         akOtTIERAI$               C.:

                                                        .113E)44.1            By:

          G. L. Parson, Jr.                                                                Vicp                     President
        (Print Name)
                                                                              ICORPORAT SEAL)
          AKA George Leg Parson, Jr.
          AKA G. L. Parson,                                                   Attest:
          AKA G. Lee Parson, Jr.
                                                                              It.: •                                 Sec tar)




                                         I"1                                  STATE 6F FLORIDA
                                                                              courTry ciF         CLAY
     7n"
       Mary Elizabeth Parson
         (Print Nante)
                                                                               The forgoing Instrument was. acknowledged, before me
           AKA Mary .Butterworth Parson                                                      day 'of February                 /989;i990, •
                                                                               this 13
            AKA Mary B. Parson                                                                        Wolcott .
                                                                             • by".
            AKA Mary E. Parson                                                 a* Vice         President of /CC (USA).* MI:MR.1.04
            AKA Mrs. G. L. Parson Jr.
                                                                                          Delaware corporation, on isettalf of the
                                                                              . corporation



           STATE OP VIRGINIA                                                   Notary Public

          61•WicouNrc op                                                       14,Clunzn    i-a•n ExPlie4letary Pubtx. State of Sonia
                                                       •
           The foregoing instrument was aeknOwledged before ms                                       My Ceihrsiuion Expires May a 1993
                                                                                                        "oar tars itarr   .
           this IS'f4,. day of.0.t.e5e.t.....    •        1989,
           by G. L. Parson,,. Jr.. at.L0- Mary
                Fliznbeth Pnysort: hunban,d, and                               1240TANAL 8EALl
                 wife        •


           My Commission Expires.
                                :
                                  q.


            N fiiiy Public

            NOTARIAL SEAL] •




                                                                     136
Case 2:25-cv-06135   Document 1-1   Filed 07/07/25     Page 124 of 263 Page ID #:139




                                   WIBIT A .
                                      TO
                                 MINING LEASE .
                                BY AND BETWEEN



                 G. L. PARSON, JR., AKA GEORGE LEE PARSON, JR.,
               AKA G. L. PARSON, and AKA G. LEE PARSON, JR., and

              MARY ELIZABETH PARSON, AKA MARY BUTTERWORTH PARSON,
                   AKA MARY B. PARSON, AKA MARY E. PARSON, and
                  AKA MRS, G. L. PARSON— JR„ husband and wife
                                    (LESSOR)


                                      AND

                            RGC (USA) MINERALS INC.•
                                    (RGO




                                       137
Case 2:25-cv-06135            Document 1-1                Filed 07/07/25             Page 125 of 263 Page ID #:140


                                                     EXHIBIT A



                Under the terms of the ebove-referenced Mining tease, to thich this Exhibit is attached, lessor his
      leased to ROC, and granted to NEC serious rights regarding, certain real property (including all mineral rights
      and Minerals) referred to as the "Property', ihich is situated in the I Stone Creek       Magisterial 'District,
      Sussex        County, State Of Virginia, Ala is hereby represented and strrented by Lessor to•tiount to
        4.11 acres, and 'hick is described as felons;

      That same tract or. parcel Of land conveyed to G.L. 'Parson -(also
      known as G. Lee Parson, Sr.) by Warranty Deed, dated November 14,
      1959, and recorded in Deed Beck 59 at page 279, in.Clerk's Office
      of Circuit Court of Sussex county, Virginia. To wit:          of that
      certain track, piece or. parcel of land lying and being situate in
      Stony Creek Magisterial District; :Sussex County; Virginia,
      containing four and, seventeen hundredths (4..17). acres by actual
      survey, and being shown and designated' on' a certain plat of survey,.
      dated March 1, 1952', made by B,C. Frye,. c.E., which said plat of
      survey is recorded in the aforesaid Clerk's Office in Plat Book 7,
      at page 26, and reference thereto is hereby invited for a more
       perfect description of the real estate herein Conveyed; and ..being
      more particularly described on said plat .as 'follows: Commencing
       on the West side of State Highway Route No. 619.at, the Southeastern
       corner of a certain lot of land owned by 13.J. Rideout, Jr.; thence
       s. 79° 30' W. 443 ft. to a point; thence Smith 24° 46' E. 494.ft.
       to a point; thence N. 62° 30' E. 465 ft..to a point; thence along
       Route 619 N. 30° 00' W. 370 ft. to the point of beginning; and
       being in all respects the same real estate that was conveyed to, the
       parties of the first part, as husband and'wife, by, the entireties,
       with the right of survivorship as at common law, by deed from. R.J.,
       Rideout, Sr. and wife, and dated March 17, 1952, and recorded in
       the aforesaid Clerk's Office in Deed Book 48 at page 477.

       The above stated land bequeathed and devised. to Virgie Fraher
       Parson (also known as Virgie F. Parson) .from.-the Will of  Lee
       Parson, Sr., deceased, in Will Book 23 at page 430 dated May 3,
       1966, recorded March 8, 1973 in the Clerk's Office ,of Sussex
       Circuit Court.

       AND ALSO the above stated land bequeathed and devised to George Lee
       Parson, Jr. (also known as G. L. Parson, G. Lee Parson, Jr. and G.
       I.. Parson, Jr.) from the Will of Virgie F. Parson (also known as
       Virgie Fraher Parson), deceased, in Will Book 31 at page 314 dated
       September 25, 1973, recorded October 15, 1982 in the Clerk's Office
       of Sussex Circuit Court.

        Subject property is referred to in the Sussex County tax records
        as Tax Parcel Number S-101-3.




                                                              138
Case 2:25-cv-06135                  Document 1-1                  Filed 07/07/25                      Page 126 of 263 Page ID #:141
      SPI.RoyPol
      VA 8/19

                                                               EXIXCBIT B

                                                          MENING LEASE •
                                                         8Y AND BETWEEN                         • •
                                    G. L. Parson, Jr. and Mary Elizabeth Parson,
                                                  husband and wife -
                                                      (Lessor)

                                                                    AND
                                        •
                                                    RGc(USA)MINERALS INC.
                                                           (ItGo)
                                        •   WIC° Royalty Policy for irlrginia OPerati01321

                                      COPYRIGHT             BeNc(USA)KINERATZINC 1989


                     This document sets forth RGC's Royalty Policy for Virginia Operations ("Royalty Policy'), which is referred to (SI
                     Section 7(Royalty Payments)of the•above-referenced Deed of Mining Lease ("Lease")•andwhichis attached to and
                     Incorporated into the Lease by referent,.      '      .
                                                                  •    .
      I
      .      DcrirligiOrtS.. The terms defined in the body of the Lease or anywhere in this Royalty Policy will hair., the Dante meanings
             throughout this Royalty Policy:, The folloiving terms will have the following meanings:

            (a)       "Principal Minerals" means lbstenlie; Rutile and Zircon.
            (b)       "Minor Mineral,." means Minerals other than Prin
                                                                    . cipal Minerals. .. '

            (c)       "Mineralized Property' means that portion of the Property which ROC estimates, using the then most current
                      drilling data and survey information, contains Minerals-bearing sands which have a ralnurium dredgeable depth
                      of IS feet and which have a cut-off grade of two percent(2%) by weight average Minerals content. Alflutrip suns
                      payments under Section 6 (Initial Payment and Advance -Royalty Payments) of the Lease are based on the
                      Mineralized Property as of the Lease Date,and subsequent changes in the acreage of the Mineraiiied Property will
                      not affect the lump sum payments.
                                                                                 •                          •
            (d)       'Sale,Value per ton of eachMinerol" means the dollar value per short ton derived by dividing (i) the actual dollar
                      sales of each Mineral following processing by the dry•plant (net of returns, safes taxes, sales. discounts and
                       commissions but not net of bettlentent discounts) for the calendar quarter cQuarterl Which is the subject *of the
                       Royalty Payment calculation, by (ii). the total lodes tonnage for each Mineral in that Quarter; subject to the
                       exclusion of sales to affiliates contained in Clause 9(Sates to Affiliates) below. .

             (e)      'Lassoes Stock Account" means the tecount maintained by ROC in Lessor's naniefor the purpose of (reeking and
                       reporting production, inventory and sales allocations made With respect to saleable Mineral, attributed to the
                       Property, and for the purpose of C'alculating and accounting' to Lessor, through the Stock Report described in
                       Clause 3 below,for any Royalty Payments.     .                    '
             (I)       "Au Stock Accounts' means the Lessor's Stock Account and all other stock accounts maintained by ROC for other
                       properties on which ROC engages in Mining(as defined*Clause6(b)(ll below).                 •
             (g)       "Recovery Rate" for any treatment of Material is the weight of material that is present after that treatment divided •
                       by the weight of material before treatmentiexpressed as a percentage.

        2.    Caculatingjimigtia.• This.Royelty Policy seta forth the methodology to be used in determining and reporting the
        Royalty Payments payable to Lessor under the Lease. By stgning the Lexie Lessor agrees to that methodology,including but nut
        limited to (i) ROC. method of attributing Minerals to the Property Ili tuft forth in Clause-6 below, and Cu) RGCs method of
        calculating Royalty Payments as set forth in Clause 7(Royalty Payment Calculations)below.

        3_     Static Azy0trrit_firld SiOCk-241b2d. From the conunencement .of Miming (as defined In Clause .6(bXll). on the
        Properiy until such time a,RGCs obligation to pay Lessor Royalty Payments has been fulfilled, RGC will establish and maintain
        Lessor's Stock Account and will send to Lessor Within 30 days after the end of each Quarter a written report ("Stock Report") on
        the status of Lessee Stock Account. The Stock Report Will ;how:
                (a)     The tons of saleable Minerals attributed to the Property for the Quarter(seiclause 6 below);     •

                (b)     Sales,from the accumulated tons of saleable Minerals referred to in Clause 3(a)above;
                (c)     Any Advance Royalty Payments paid during the Quarter in accordance with Section 6 of the Lease; .

                (d) : Any Royalty Payment payable for the Quarter pursuant to Section 7(Royalty Payments)ofthe Lease;
                (e)     A reconciliation of Advance Royalty Payments and Royalty payments to Lessor pursuant to Section 6 (initial
                        Payment and Advance Royalty Payments)end.Sectlon 7'(Royalty payments)of the Lease.
         The Stock Report will be certified sit accurate by RGCs Operations manager or a senior financial employee. By signing this Lease,
         Lessor agrees to preserve the confidentiality of the sale, and production information in all Stock Reports.

         4-    Boyaityjkk. ROC will pay Lessor a Royalty Payment equal to eight percent(8%) of the Sales Value per ton of each
         Mineral sold that ls attributed to the Property, is reflected in the Stock Account and as reported to Lessor quarterly tjt the Stock
         Report. .

         . .14mialtd,r_ormalt- Any Royalty Payments due for Principal Minerals attributed to the Property will.bepaid within 30
         6
         days SEWS the end of the Quarter in which such Principal Minerals were sold ij,sia Invoiced•to the purchaser), and,.fur Minor
         Minerals afifibitted to the Property within 30 days of the end of the'Fiscal Year"(July 1 - June 30)* Which they were sold.

         6.    adathicAfineni14_,Atirjhu s ted tj the,Ernertx. Saleable Minerals are attributed to the Property end to Lessor's.
         Stock Account as set forth below:                             • • ‘•                          •




                (a)      RGC will survey, drill .,and Saltily= drill simples froth those portions of the Property which it piaria to mine, in
                         order to estimate the tons of Principal Minerals located therein. •      :            •




                (b)      Production of saleable Minerals is achieved by the following three mope in RGCS Operations:
                        (I)         "Mining"7 extracting end delivery of mineral sand Ore to the concentrator.:
                         (ii)   •   "Concentrating" - reirtovalcif non-commercial material; •

                          ctili    'Processing" - removal of further non-commercial sand and separationinto saleable Minerals.
                                                                                                     .     .
                          Each of these steps results in recovery and Ion of saleable Minerals depending on the efficiency of each step and
                          the nature of the material being treated. The Recovery Rate for each.step wades ter.a ifftal degree on a daily laasla
                          and is determined by regular sampling and analysis of11w material cut passes through each step. '


                                                                        139
                                                                                                           •
Case 2:25-cv-06135                Document 1-1                   Filed 07/07/25                 Page 127 of 263 Page ID #:142
              Cc)       The Recovery Rates for sa. given Quartet and, the estimates and survey.information complied pursuant to GILLUM
                        6(a)above are used to estimate the tons of saleable Prinelpal MinernIs recovered !rein the Property in that Quarter.
                       •Those tons'of Principal Minerals are then entered ba Lessor's Stock Account.
                                                                                                                          •
             * V1)      Within 30 clayeyl the end ofeach Fiscal Year, RGC will apportiodita actual production of saleable hilnor Minerals
                        for the year *mons All Stock Accpunte. The apportionment will be made.in proportion to the attribution of
                        Principal Minerals among All Stock•Accounts for the year. •

        7
        .       '1.'    . P.O.PilellifLPiktriettiorts.
             (s)       rrigdp_alKneral.Sold
                       (0       Within 39 days of the end of each Quarter, RGC will deduct the total tons of each Principal viitteral sold
                               during dud qtarter front All Stock Accounts. •            •
                                                                                                          • .•
                       (i.1)   The tons of.PrinCipal Minerab'sold- will be deducted from All Stodc Accounts on.a "F.bat-in/Fuse-Out"
                               (FIF)) baste. ,Where production of saleable Minerals b attributed to several stock eccounts On thesame
                                date, sales -attributable to such production will be deducted.from the affected stock account,in proportion
                                to the tonnage allocated on that data to midietc* a eniunts.
                       (Lill    The sales thus attributed to the 'Property will be entered In Lessor's Stock Account and reflected in the
                                Stock Report.
                       (iv)      RGC will calculate the Sales Value per ton for each'Principal Mineralfor the Quarter.'.
                       (v)       The Royalty Payment payable to Leisor for the Quarter will equal sight percent (13%) of the Sales Value per
                                 ton for each Pnndpal Mineral for the Quarter multipliedlay the tons of each Principal Mineral sold which
                                 are attributed to the Property for theQuarter as reflected in the Stock Account..
              (b)        MInorlVinerab Sold
                               . Within 30 days after the end Of:reach Fiscal Year, a.calculation similar to that described in Clause 7(a)(v)
                                 alacii,e, Will:be made for Minor Minerals, and the'result will be reflected in the Stock Report for the last
                                 Quarter Of the Fiscal Year.                    •
              (c)        adjustments    •                                                  .         .
                                                             •                      •                                     •
                                 At the end of each.Fiscal Year,.RGC Will compare its actual arimial Mineral production to the total tons of
                                 Minarets attributed to All Stock Accounts In that year. If the actual production If leci•thin the attributed
                                 production, then, the ahortfall will be deducted proportionately from All Stock Accounts. If the actual
                                 production exceeds the attributed.production,then the excess will be allocated proportionately oolong All
                                 Stock Accounts. •     •       •

         8
         .       CotonsinPline and 'Stoetp.iling. • ACC will commingle Mineral, from the Property 'with Minerals from other
         properties, may engage in Mining on•more than one property in a Quarter, and triayin'RGCs sole discretion front time to time
         stockpile Minerals depending on market conditions: •
                                                                    •                            • •
         9. .Sates to Affiliates. RCC may in its sole discretion sell part or all ofits Minerals to affiliates of RCC. In such event, the
         Sales Value per ten of each Mineral used in calculating the Royalty Payment wIll be based only on =Ca sales to non-affiliates. If .
         such non-affillate sales are less titan 30% of RGCs total sales of the Mineral during the Quarter, then the &riles Vaitte.tuied in
         calculating the Royalty Payment will equal the greater of(a)the Sales Value based only on 11CC 5 sales to non-ataliatis or 0/)the
         Indexed ',ries for the Mineral, determined by multiplying (i) the Sales. Value per tan of the Mineral last used in Calculating a
         Royalty Payment times(ii) the percentage change in the Producer Price Index -Titanium Pigments Index of the Bureau of Labor
         Statistics, U.S. Department of labor(Code No.(36220209, 1982-100). Such percentage dtangrrivill bebaaed on the change in the
          index front the last month of the Quarter in which the Sales Value referred to in Clause CO was used to the laat Mona% of the
         Quarter for which the Royalty Payment is being calculated. .
                                                                                                      •
          10. got rationed Le.ssor. 11 RCC.agrees, after signing this Lease, to pay:a higher Initial .Payment per acre, higher
          aggregate Advance Royalty Payments per acre (excluding any such higher payments that result from either (i) an increase in
           lease date payment which raises a lessor's total lea,. date payments to eeven percent(7%).of RCC's then-current estimate of the
           lessor'e total Advance Royalty Payments and Royalty Payments or (Li)-variations in Advance Royalty Payments that are baaed
           upon or limited by Clause 12 hereof), or higher:royalty rates as to any other leased.proyerty in the Area, Rec will within 30 day.
           of the more favorable lease pay Lessor any amount necessary to adjust retroactively payments previously received-by Lessor to
           the more favorable lavish, and the more favorable levels that are ro,pictive in nature will:thereafter apply to this Lease.'This
          ,Clause don not require that retroactive adjustinents include the time value Of money.- This Clause applies only to-leases and!Int
           to purchases,options to purchase,purchastleasebade arrangements or other arrangement,.

          11. Ciarapiefion of
                                                                                          .
                (a)       RCC will send Lesser written notice:when It has completed Mining on the Property.                    . •.
                  )
                 0'       The next Stock Report after such notice will contain a recondliatior. comparing (I)the total of all Royalty Payments
          and Advance Royalty Payments' paid to date, with.till the product.obtained by multiplying the total number of acres of the
          Property from which RCC removed the topsoil •in preparation for'         . Mining times S3,SW.per-acris average Minimum Royalty
          provision in Section 8(Minimum Royalty) of the Lease. •
                (c)       If that Stock Report reflects that all tons of Minerals 'attributed to the Property have already beeneold, that Stock
          Report will be Lessor's last Stock Report and final reconciliation, and Lessor will be paid (i)any Royalty Payments payable for
          that Quarter, and (athe final payment, If any, required by the 53...500-per-acrie average.Minimum Royalty provision (the -Final
          Payment"). The Final Payment will equal the amount, if any, by which the product described.in CbUse 1104(U) exceeds the total
          deacribed in Clause 11(b)(0.
                (d)       If that Stock Report reflects that any tons of Minerals attributed'to the Property have not yet been sold, Lessor will
          be paid any Royalty Payments payable for that Quarter,and Lessor May elect, by sending written notice to RCC within 30 days,
          to either: (i)forfeit all rights to future,Royalty Payments with regard to all unsold tons and receive the Final'Payment, if any,
          determined In accordance with Clause 11(c) above;,of(10 continue Lessor's Stock. Account'in existence, and defer the final
          reconcWation and Final Payment, if any, until all such unsold trine are eat& and the' final total of all, Royalty Payments and
           Advance Royalty Payments can be used in.'determining lay Final Payment due.
                                                                                                    •                                  •
          12. Adatatzikwitato2017112..2115kOLF.atilaargd-Etairket.galgta.079ggi.C. At least one year before RCC
          commences Mining on the Property, RGC will estizriate, using the then Moot current drilling data and survey information, the
           tons of Minerals located therein. Using_ the higher of this Oh:rutted tonnage or 9.304                 tone and _applying reasonably
           expected Recovery Rates and prices, RGC will In good.falth Mtimate the total sales value of the saleable Minerals recoverable
           from the Mineraliaed Property. The Advance Royalty Payment equal to 70% Of Estimated Future Royalty Payments'set forth in
           Section 6 (Initlal Payment and Advance Royalty Payments)of the Lease Will be.determined by.(a) multiplying-the estimated total
           sales value times the eight percent (8%) royalty rate,(b) multiplying the result by seventy petard (70%);.and (c) deducting
           therefrom all Advance Royalty Payments preyiously made under the Lease. • .

            13. tr.a.Ecligegat.99.AVingitostliaratgatellaw, Because of theinherent uncertainties in making projections and
            estimates which *may affect Lessor's Royalty .Pnyinento,temor,in deciding whether to enter into this Lease,-should not rely upon
            any representation, written or oral, as to the Likelihood or value of'Royalty Payments, and Lessor'should bear in mind that the
            s3,503.per-acre average Minbaturn Royalty provision contained in Section 8(Mutual= Royally) of the Lease applies only If RcC
            engages in Mining on the Property, and even then applies only to the total number of acres from which RGC.removes the topsoil
            in preparation for Mining. Lessor acknowledges that Lessor understands the foregoing sentence and Lessor agree* that Lessor
            lies not relied upon shy representation, written or oral, as tat the likelihood Of valued Royalty Payments.
                                                          •                               •




            51ITEMP2*

                                                                      140
       •    VA 13/89
Case 2:25-cv-06135
           STATE OF VIRGINIA
                                        •
                                    Document 1-1                   Filed 07/07/25                              Page 128 of 263 Page ID #:143
           COUNTY OF     ,Sts,s!stejsr.

                                                           MENI9RANDUM OFMINING TAA.513
                    RGC(USA)Minerals inc., a Delaware corporation, CMG')and '


            Messer') have entered into a Deed of Mining Lease dated - ' • Pc t°tier 1,3; .1.989 .                            .
                      •                              CLea.se"), the terms Of which are incorpOrated, herein by reference. The Lease provides
            among other thinv that:                                            ..            .    .                 .
                                                                                                          . . .                 .
                    1.        liGS 6.a. ten9t, ha.1 Instil figi..i.eisor, Ai
                                                                           landlord, the Property dexcribed an Exhibit    A  to th• Itase, which
            eldlibii is alio allached.hereto as titKibit A.                   .                     .         . ••                      .
           '        2.        Lessor has granted to RQC the right to.explore im.and mine 'various minerals on and .under the.Property and to
            conduct mining-related operations on the Property.                                             •                         ,•
                                                                                                           ..
                    3.        The term of the Lease begins on•the date of the Lease set fordvabovit and continues for a period of 20;years, unless
            -earlier terminated or temporarily extended pursuant to the Lease.
                    4.       During its term,lhe Lease is binding'upon a'ny.successors to all or any portiOrt,ofLessor's interest in the Property.
                    S.       The 1.4330es name and address are;                               .                       .   .            .
                               C. L. 'Parson, Jr. and •Mary Elizabeth Parson,.husband and wife
                               Route 1, Box. 60 ..          .  .
                               Stony Creek, Virginia 23882       '

                     6. .    RGC. Mine and address are:sRC,C(USA) Minerals; Inc., Attention: Land Manager, Warner Roid, P.O.Box 1307,
             Green Cove Springs,Florida 12043.
                                           ,                                                                     .                •           ..
                     IN warms . WHERBOP,• ROC • - and                   °Lessor         have . executed . this , Memorandum . of                      Lease   as
             of       October 13, 1989

                            9.7D
                                    CRtAA                                          gdcammyainutiaswcz - *

              C. L. Parson, Jr.
            (Print Name)                                                           Its: .         .            Vice                                   President'
              AKA George Lee Parson, Jr.
                                                                                  (COEPORAT SEAL)
            . AKA G. L. Parson
              AKA G. Lee Parson, Jr.
                                                                                   Attest:

                                                                                                                                           'Secretary

                               •z                  "et—e-4--,k—                    STATE OF           FLORIDA                 •
                                                                               •




               Mary Elizabeth Parson                                                   CITY/COUNTY OF.                CLAY
              WiintNamo                                                            •                   •


                                                                                       The • foregoing instrument was acknowledged before me
                  AKA. Mary Butterworth Parson                                         thls11_ day. of February                     29 90
                  AKA Mary B. Parson                                                      Daniel • 1'. Wolcott
                                                                                       by .
                                                                                                                          •
                  AKA Mary E. Parson                                                   as    Vice                    President of RGC (USA)
                  AKA Mrs. G. L. Parson, Jr.                                           MINERALS INC, a Delaware corporation, on behalf of the
                                                                                       corporation.
                                                                                            ommissio                                     Notary Wit. State o1 floe&
                                                                                                                                      fAt Con:minion Expires May 21, 11
              STATE OF VIRGINIA                                                                                                             Itaskal     Jp . *evn*es
                                                                                       Notary Public
               C•14=f1COUNTY OF 444 -41--•
                                                                        • .            iNCTI'AR1AL'SgAL1
               The foregoing Instrument was acknowledged before
                         ‘441.clay of .h.e....egPa....L •
               me thia I 4.                                 19$
               by G, L. Parson, Jr„ and Mary
                     Elizabeth Parson. husband and
                     wife               •



                  My Commission Expires:    ce.tue.-.. Sr , 41t
                              iev,e-1
                  Notary Public
               (NOTARIAL SEAL1




                                                                         141
Case 2:25-cv-06135   Document 1-1    Filed 07/07/25    Page 129 of 263 Page ID #:144




                                     EXHIBIT A
                                       • TO    '
                                 • BIKING LE4si .
                                  BY. AND BETWEEN.

                  Q. L. PARSON, JR., AKA GEORGE LEE PARSON, JR.,
                 AKA G. L. PARSON, and AKA G. iam: PARSON, JR., and

                MAY ELIZABETH PARSON, AKA MARY BUTTERWORTH PARSON,
                   AKA MARY B. PARSON, AKA MARY E. pARSOM, and
                   AKA MRS. G. L. PARSON. JR.. husband and wife
                                  •  (LESSOR)      •




                                     •   AND
                                 •
                              RGC (USA)-MINERALS INC:
                                       (RGC)   •




                                         142
Case 2:25-cv-06135                   Document 1-1                 Filed 07/07/25                  Page 130 of 263 Page ID #:145
      • ATL)Lease
        NA 8/99




               . TH    ono OF MIND/9 MASS.including the.attached Exhibits which areincorporited herein by this reference;('Lease")
        Is      made     and   entered  into • on          October 13,                        1989.                    by     and

        betwam      G. L.' Parson. Jr.. AKA George' Lee Parson. Jr.. AKA G: L. Parson„, and AKA
        G. Lee P.                                                   Butterworth parson, AKA

        Marx B. Parson. A.. Mary E,..Pars_ori. and AKA Mrs:, qr. t Ramp. Jr . husband and wife
         Route 1. B_Ciit 611 Stony                        vjgin               23882
                                                            •
         Meteor" and RGC(USA)MINERALS INC.a Delaware corporation. whose addresi Ia Warner Road, P.O. Box 1307,
                                                                                                                                   Green Cdve
        Springs, Florida 32043 ('RGC). In consideration. of the mutual promises made in this' Lease, and other good 'and valuable
        consideration,the receipt and sufficiency of which int hereby acicnowledged,.Lessor and RGC agree as follows:,
              . I.      111:finesMatic Any word or phrase that is capitalized and placed in'quotalions in this Lease Is a defined term
        and when it is capitalized Will have the same meaning throughout this Lease.           •
                2. earpincy The purpose of this Lease lain allow RCC to *ardor* for and, at RCCs este discretion,to aline,
         remove, commingle, and sell Minerals from the Property, in use the 'Property to mint Minerals from the Property or other
         property, and to conduct related activities. 'Minerals means the following group Of inirtersls'and mineral.products! Ihrienite,
      . Lem-oxen*,           Zircon, Staurolite, Kyastite/Sillimsnite, Monazite, Xiinotune,and Carnet, and associated by-products. Title to
         any Minerals tninedahalliif not already vested Iii RCC,pass to RGC as they are severed from the Property. •             • .
                3.       arnat_digalte. Wien' hereby leases to RGC the Property (as defined on Exhibit A), on the terms and
         conditions In this Lease
                4. GrantfifRights. Lessor grants to RGC the following exclusive rights With regard to the Property:.
                  •      te)     To enter the Property to survey, explore, drill, test, and sample (the.foregoing activities are defined as
                                 "Exploratien");
                        (b)..    To dear the Property of such buildings. (subject to' Section 21 (Compensation for 'Buildings)), other
                                 structures or obstacles, earth; standing timber, plants, and such other things 'or material that RGC,(nit'
                                 absolute discretion, wishes to clear from the Property to ertereire its rights as set out in this Section 4; to
                                 construct, relocate, use or removirroads, power and commtinlea Hon Estes, dredge ponds tailing ponds,
                                 settling pond*, pipelines, buildings, storage facilities,'canals, tailings, signs, gates, fences, and other
                                 structures. end,realities on the Property; to take steps to prepare for mining oh the Property;'and to
                                 develop, mine, crow-mine, dredge, remove, concentrate, separate, commingle, stockpile, haul, process,
                                 ship, and sell Minerals (the foregoing activities, whether conducted on the Property or on other property,
                                  in PinwldcUe and Sussex Counties; Virginia cAreal,are defined 83."Operational;
                         le)     To use the Property to store, transport, or dispose of Minerals; water, tailings, and material resulting from
                                  RCC's Operations;
                        (d)      To use waterfront or appurtenant try the Property and to drain through and from the Property and to
                                  draw into any course in the Property any water from RCC's Operations;
                        (e)      To take all steps to accomplish Reclamation(as.delined in Section 14)of the Property;
                        ( 0       To use all easements, means of access,and righti-of-waY from and to the Property; and               • •
                        (g)       To use the Property for the purposes deathbed in, We Section, in conjunction with AGCs Exploration,
                                  Operations andlleebmation on other property.
                 Notwithstanding the foregoing, RCC Is not granted the right under this Lease to construct or operate on the Property a
          processing plant for the final separation of the concentrate into saleable Minerals.
                 6. rgualagsvg. This Lease villl begin on the date first written•above and will end 20 years thereafter, unless(a)
          the Leese 13 ended earlier under Section 19(Termination),(b)the Lease is automatically terminated by RCC.!allure, for reasons
          other than a temporary inability to obtain through dtligent 'Hoist ail necessary governmental permits and authorizations, to
          commence "Mining (as defined In the Royalty'Policy) in the Area by .the eighth anniversary of the'Lease, or (c) the Lease,is
         automatically extended to allow RGC to complete ensiling operations on the Property. 1(10 extended, the Leese shall terminate
          upon the earlier of written notice front RGC pursuant to Section 19 (Termination), or the passage of a period of 190 consecutive
          days in which RCC conducts no Operations on the Property. "Tenn" means the 'period of time during which this Lease is in
          effect,and,in the absence of earlier termination, includes both the Initial 70-year term and any extended tom.
                 6. • Joitial Pctrrierat and Advancefinyalo Parnell& Subject to the terrni and cenditions of this Lease,
          RCC will pay to Looser, during•the Term of this Lease, on or before•the dates indicated the following lump suni payments and '
       • payments per acre of the Property retained under the Leese at the tint* of the payment: .

                      Payment Dote                                 Paytortg Type                   Payment

         Lease Date                                             Initial Payment                    42$0 per acre

         Lease Date                                             Advance Royalty                    $750 per acre

         On or before December 31                               Rental Payment                     $15 per acre .
         of each year following the.
         year this Lease is signed

         Earlier of(a)"Mining"(as                               Adv.ance Royalty              •    5123,5100:00                 •
         defined in Royalty racy).                                                                 lump sum,ecLual to 41000 per aae of
         in Ares or(b) Fifth Antuversty                                                            "Mineralized Property"(as defined in
                                                                                                  . Royalty Peaky)

         Tenth Anniversary if no                            •   Advance Royalty                    i223.000.00
         "Notice of Mining (as .                                                                   lump sum,equal to $1000 per acre of
         defined in Section 9)given                                                                Mineralized Property,subject to"70%
                                                                                                   Limitation"(eirdefined in Royalty Policy)

          Fifteenth Anniversary if no                            Advance Royalty                          000.00
          Notice of Mining given                                                                    lump sum,subject'to 70% Limitation

             Notice of Mining                                    Advance Royalty                   70% of Estimated Future Royalty
                                                                                                   Payments(as defined In Royalty Policy)


         The Initial Payment and all Rental and Advance Royalty. Payments paid to Lessor arepayable    non-refundable. The Aele.ance Royalty
         Payments pate" to Lessor will be credited against any Royalty Payments Otherwise                    'pursuant to Section 7 (Itrialty
         Payments) and may be prepaid by RGC. Payment totessor of the payment requited'upon Nobco of Mining will satisfy in full
         any olsgation RCC may thereafter hays to pay the Tenth•nd Fifteenth Anniversary Advance Royalty Payments.
                 I
                 .                                 RGC will.pay to Lessor quarterly Royalty Payments equal to eight percent(M)of the
         Sales Values of Minerals, attributed to the Property, which RCC mines ;vitt sells. The Royalty •Paymenks will be determined and
         paid iii accordance with.Exhibit li;RC.C'e Royalty FOII4 for Virginia Operations("Royalty Policy").
               .8,       Minialliarl Royal '. If the total of all Advance Royalty Payments and Royalty Payments paid to Lessor under
         this LAsse does not average 53,500 per acre for all 011ie Property from which ,RGC.removes the topsoil in preparation      for Mining
         ("Minimum Royirlw"), RGC will pay to Lessor the'Mount by which the Minimum Royalty exceeds such total. Any such payment
         will be detcrounedand aid In accordance with Clause 11-of the Royalty Policy. • •
                 9. Lciisoc           Elm Iiihf...erlditthf, During Exploration,.Lessor and'RCC will work together to accommodate
         Lessor's normal activities.on the Property. RCC will give Lessor at least. twelve months notice Mottos of Mining") if RGC.
          Mining will require Lessor to cease activities on the portion of the Property described in the. Notice of Mining. 4.1ntli the end of
          the notice period, Lessor will have the right,.but not lit, obligation, to Meat, * for lessor's account any crops, tiatber, buildings,
          irrigation systems,fixtures or personalty of Lessor from. that portion of the Property. Fromthe end of the notice period Until RCC
          notifies Lessor otherwise, Lessor will cause all activities te.cesse on that portion of the Property. During Reclamation, RCC will


                                                                       143                                 r1
Case 2:25-cv-06135                        Document 1-1                          Filed 07/07/25                          Page 131 of 263 Page ID #:146
         work with Lessor to alloW Lessor to resume Lessor's normal activities on the Property, as ioon so reasonably possible and as
     ,.permitted_by sovenurental reclamation restuirements., Lessee will and does indemnify RGC from and againat any claims asserted
       • against RGC arising out of the activities of Lessor or Lessor's invitees. Lessor will be solely responsible for, and will bear all risk
         ofloss related to, any government allotment, subsidy,stabilization or conservation pregrame that may apply to the Property,
                   10.      &AO. Except itiotherwise.provided in this Lease, Only-                      Rce
                                                                                                          employees and visitors authorized in writing by
         RGC will be permitted on those parts of the Property on which Operations are being Conducted. All.RGC-euthoritecl visitors and
         their vehicles witl car        RGC   identification  at all times that  they  are on the-Property.        .
              •          •                             ,                        •                     ify LOW. RGC will conduct Its Exploration and
         Operations in compliance with ell applicable safety laws and'regulations.'RCC will and does indenMify Lessor from and against
         any claims(environmental or othereneeVesserted against Lessor arising out of RGC3 activities. RGC                                    Oro indemnify Lessor
         from,and pay leesorlor, actual damages caused by RGC to crops, pasture,timber„fencts, gates, eostil.and otherintprOvernentS
         not deeertM•d in Section 21-(Compensation•forfluildines),tooted on any porticins of the Property that .are not mined hut are
         otherwise toed by it,GC in its activities.:RGC will in no.event be liable for'pedal ur earmeouential damages, and any payments
          amide pursuant to the preceding sentence.will be deemed full ard.complete compensation for the damages in question.
                   12. lGC'JJgM to Detrinine W                                     j en'w                        to Miije. Nothing lfl this Lease or.in the
          relationship between Lessor and RGC will constitute or create any 'express or iptplieciduty on the part of RGC to 'perform
          Exploration or Operations, or.to mine the Property at any rate, In any manner, or at all. •RGCs'Explorothin andOperations,
          any,will occur only to the extent and at the locations &nature% andin the method. and manner that ROC,in its sole discretion,
          may determine; provided, however,that RGC will tint conduct Operations within 40 feet Of Lasroar's principal residence or any
          prindpal residence on property adjoinirsg_the Property, Of In ouch a way as to deprive any such riddance of access to a public
     • road, utiltities, and water supply until RGC complies With Section 21(a)(Compensation for Building* Principal Residence)an
          the case of Lessor's principal residence) or obtains the Adjoining property owner's written consent (in the:case of an adjoining
          residence); and provided further that, if RGC engages In Mining in the Area, then RGC will use its best efforts to Mine all of the
          Mineralized Pro erty that can be mined in a commercially reasonable manner.                                                     •                        .
           •        13_ '                 „mcirtga.cau. ROC. activities on the Property will be conducted in compliance with all
          applicable Federal. State and local laws and rest:4611one.
                    14. Raismsgisui. RGC agrees. ,comply with aU State and Federal laws, reguletions and permits eppllosble to the
          Reclamation of the Property. RGC also agrees hi post a bond, to-the extent required by Vire:de law,•to ensure that all the
          Property which RGC mines will be reclaimed in accordance with law.:RGC will and does indemnify Lessor from and against arty •
      • claims by State or Federal regulatory agencies arising from RGCs failure to reclaim -in accordance with applicablelawooncduding '
          claim, mused in part or in whole by Leeeor's failure to cooperate with RGC in accordance with the terms of this Lease. RUC'S' .
      . Reclamation of any Property mined may lnclude,hut not be limited to, refilling the Mined path with tailings dlecharged'froon the
           wet mai, dyking and eimninatIng settling ponds, replacing and grading the topsoil, replenting and otherkeise complying with.aU
          applicable governmental reclamation requirement*("Radernatien"). '                                                                       :        .
                    15. Audit bettor will have-the right if —MO- expense to appoint an independent auditor rationality approved by
           RGC(which approval lo hereby given if Lessor appal:UM a. national firm hi the United States of recognized reputation), to audit,.
           not more than once in any year, RGCs.records relating'to the aeterytirtitticrn of Royalty Par:name for KGCs• -Fiscal )'ear".
      • (currently July 1 - June 30) urenegately.preceding such audit. Lessor wW instruct Lessor', auditor to send a copy of his report to •
           ROC at the same time that he sends Ms report to Lessor: Also. Lessor will turtify.RGC in writing of any objections Lessor may
           have lording Royalty Payments, within 60 days of Lessor's receipt of Lessor's auditor's report.                                . •
                      6. 2amat. Taxes will be spudiuned and Paid as
                         • (a)          RGC will pay the following taxes or portions thereof: anti mineral severance taxes related tta. RGC's
                                        C/perations; property taxa:, pro-rated for the portion of the roperty.and the time period In.which Lessor
                                        Is prohibited under thls Lean from conducting activities; and any increase In property taxes attributable to
                                        the Minerals or ROC'Operations'.                • .      . •                •  ..      .       •                   .,.             ,
                            (b)         Leiror will pay all other taxes related to the Property,including but not limited to: any taxes on Released
                                        Land(s, defined hi Section 19(Tirmination)); any income,capital levy, estate,:gat, succession,inheritance, .
                                        transfer Or franchise taxes;and arty taxes attributable to Lessor's activate* on-the Property:
                            (c)         Lessor will send RGC Copt,* of all assessments, tax,bills or other tax notices related to the Property or to
                                        RGCs Operations thereon within 14 days of Lessor's receipt of the same or in such *barter time as may be.
                                         necessary to preserve the rights of RGC and Lessor to protest'or appeal the same. Lessor will coOperatie
                                        with RGC in any such proteat or appeal. RGC may, in its • discretion, IMMO such pnitestor appeal
                                        independently of Lessor..RGC willm any event not be obligated to pay (1) any increase in taxes which
                                     '11CC la unable to.protest or appeal due.to Lessor', failure to comply with this Section 16(c) or (ii) any tax
                                         bill which RCC doe* net receive at least 14 days before the bill is due.: • '                                              .
                             (d)         RGC may. but la not required to, pay any taxes on the Property for Which Lessor is responsible under
                                         Section 1(b) and deduct such team paid from any.payments otherwise due to Lesese under tide Lease.
                                                                                                                                                                            .
                     17. •Zaasugzserline. Leilor warrants se follows: '                               ' '            .                •                  . •
                             (a). •      LOOSOf Is the sole legal and equitable owner,-Ln undivided fee dimple, of the surface and mineral estates
                                         that comprise the Property without limitation whatsoever; • •                                     •
                             (b)         The Property is free and. clear °tell leases, liens, encumbrances and outstanding adverse.. claims                     •
                                                                                                                                                                         and
                                       . interests, not offetOfd:-                                                          • •. •.           •
                            • (c)        Lessor has full power arid authority to execute thls Leese)               .•                       .'
                              (d) :RCC shall have the quiet and peaceful poesession and enjoyment of the Property, Minerals, and the .
                       •                 proceeds therefrom,against ill persons or entities who may dam arty Interest therein; •                              •
                              (e)        There has been no violation of'sny applicable Federal, State, or local law or regulation relating to zoning,
                                         land Use, environmental protection or otherwise with respect to the Property or activities reladng thereto;
                                         and •. .         •'                                                    . . .
                              (f)        This Lease,and RGC3 right, title and interest hereunder, obeli at all times be superior to, and have priority
                                          over,any right,title or interest In the Property eroded        during   the Term of this Leese. .                .
                     /8.           rimem..Atterrift-.`In entering into this Lease, RGC Is relying on Lessor's warranties of title contained In Section
            17(Warranty of Title): Without impairment of those warrinties of title, U Lessor owns less than the entire and undivided estate in
             the Property, RGC may(a)proportionately reduce all payments otherwise payable.under this Leaset(b).offset any available                      prior payments
                                                                                                                                                                        rights .
             related to.the unowned portion against any future payments payable under this LOUR,and (c) exercise any other                        .    .      .
             or remedies.                                                         •             •
                                                                                                   .        . .                  .         •
                                                                                                                                                      . .                    .
                      19. Terminatiop. Rcx Will have the right to terminate this..Lease with regard to all                          °rimy portion of the Property
                                                                                  90.days   prior to such  lennination.      The  termination      will  take    effect  upon
             at any time by sending a written :notice to Lessor at least                                                                     Lease with regard to dm
             the del* spedderl In'the notice.'Upon teiminstion, all oi RGCs Tighti and obagallona under this
             Property or portion thereof specified in the notice (the "Released               Land") will terminate except for any Redamation.rights and
                                                    Royalty   or  Royalty  'Payment     obligations  arising  out  of  mining    conducted       on the.Released Land
             obligations and any Minimum                                                                                                                   to all Property
          . prior to such termination:. In .the event of a.. partial termination, this Lease will continue in effect with respect                Property and not the
              except the Released Land, and the term "Property"             . will thereafter   mean   and   include.   only   ate  retained.
           : •Released Land. After termination, RGC will execute, delver and record a release confirming                       the relinquishment of the Released
                                                                                                                                    to Redemption of the Property. .
              Land. Nothing in this Section will aerate any obligations RGC has under this Lease with respect
              Notwithstanding:the        foregoing,  RGC    will  not terminate    this Lease in  whole   or in  part  at any   time prior to the sixth anniversary
              union RGC silo terminates allot its other tnining leases Mehl Area. . . .                          • .      .        ..                 .               .
                      20. 21tkj2wettata.• Lessor will promptly provide to RGC copies of'all documents which                                        Lessor now or in the
                                                                                                                                             Insurance    policies;     deeds,
              future possesses, relating to or affecting title .to .the          Property,   including   but   not  ,Lirnited  to:  title
                                                                                                                                                                  maps, wills
               mortgages, trust Or security deeds, boundary agreements, judgments,liens, orders, surveys, boundary.descriptIons,
               conveying an littered In the Property, trust I:mettle:tents,'leases, licenses, easernenta and, rights-of-way.                      Lessor   :will   give   RGC
               notice whenever Lessor learns of any matter which may affect                the title to the Property...At RGC's request, Lessor. wilisten and
                                                                                         documents, in proper and         recordable     lorot,   as may      reasonably     be
               deliver to ACC each additional formal aieuranees or other                          inform ROC immediately It Lessor fails to payer discharge
           ' necessary to carry out the terms and intent of this Lease. Leseoewill                                              and   Rc.C    . may  then    pay  .  it and  be
               In a timely manner any prom                 'note,.snortgege, tax, or other het upon the.          Property,

                subrogated to the rights of the hollerr thereof. - barer:10r any taxes for which KGC is liable wider this Lease, RGC will                                   the
                tight to offset, from azy payment Otherwise payable to Lessor under ails Leese, all amounts paid by RGC to discharge arty such
                promissory note,mortgage,tax or other lien. • - • '•                   '                .         .          ,
                                                                                                '
                       21- COMM.91011;2_4e1YRIfingli• .- . ratnove teaser's principal residence:on the Property, ROC will
                                ( a)                      idrOot. • If- ROC proposes to
                                           give Easier not•lees then.one year's notice of its intention to do vo, At least Ilia days prior to such
                                           removal, RGC will compensate Lessor by yoking a payment to Lessor *aura to two times the then-present
                             -              fair market value of such residence (excluding land), as determined               by the average of two appraisals, one
                                                                                                                                 by itcc, from.list of six hiAl.or
                                            by an 'appraiser selected by Lewor, and.oncisy.an appraiser selected
                              •             nIA-appreeed appraisers compiled by             KGC..  Lessor   may    thereafte .e occupy the.residence until the one
                           •             year notice period expires, • at which time Leiser will vacate the residenc.e to .allow Its removal.. No
                                         residence ..w0 be.consbucted on the Property during the Term of this Leese without the prior Written
                                       • consent of both Lessor and RGC. .                          •




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Case 2:25-cv-06135                      Document 1-1                           Filed 07/07/25                         Page 132 of 263 Page ID #:147
                                (b) , 931(g. 1,11,gange.' U ROC pt°poses to remove other building!' on the Property, RGC will give Lessor not
      ,.                                • lees thart,six months' notice of its intentien to do.so. 'At least 90 days prior to such removal, ROC will
                            •              caritpensate Lessor by makipg a payment to Lessor Equal to the -approximate replacement cost of buildings
                                           of that nature, as determined by the .average of two appraisals by appraisers selected in the manner
                          •                deecribed in Section Ma). Lessor will cesse using the relevant buildings 30 days prior. to the proposed
                                •          removaland will facilitate removal ln all respects. ..
                     22.                                                                                                                                          .
                                  ItticizranteXiskit. .If RGC band that a third party may have a claim Of ownership in any portion Or
            percentage of the Property or any Fermenta under.this Lease, RCC may deposit In a special escrow account(with a bank or title
            mariner coinpany located in Virginia)anrpaymenta otherwise due to-Lessur under this Leese and giVe'LISSOr written notice
            the deposit. The:stuns depariled will remain in the special escrOw account until; the critics oecontroverly Ls resolved, Or until                              of
            there has been,final.deormination of the claim or controversy by a court or arbitrator;including any appeals therefrom.
                      23.. 44.5Waginma   —        jiaatAntmdmazikkouragfila..U, during the Term of this Lease Lessor acquires any right or
            Interest in the Property or in any property adjacent or easements eppurtenent thereto,(a) Lessor ;vill promptly
            any such right or interest acquired In the-Property, which Lessor had iii this Lease already warranted lob,part notify•RGC,04
                                                                                                                                                         of the Property,
            win become part of the Property subject to this Lease without any additional.payment to Lessor,(C)RGC triay,at ROC*opti                                   on,at
            any time, leas* any other such right Or interest on. the seine terms es ffie • terms of this Leeie, and id) Lenin Will
            acknowledge, and deliver-an Airiendment to this Lease and to the Memorandum'of this Lease to RGC,so as to Include suns sign,
            or interest.                                                                                                                                               right
                      24. • &Willies. If the Property is now or later owned in severalty or in separate tracts; RGC will
                                                                                                                                                          MiVenheles; be
            entitled to trent the Property.. an undivided whole under this Lease, with all payments payable under the Lease to be
          (either directly as pursuant to section 25(Multiple Owners))to the separate owners of the Property in the proportion that paid
            ownership interest, measured In acres, or percentage.ownership of eats,bears to the whole Property; provided, however, their
            no event will RGCs total payment obligations to the separate owners exceed the payment obligations.that ROC wouldthat in
            Incurred under the Lease lithe Property were owned in undivided fee simple by a.abigle owner. '. • . . . • , • have
                      25. ' gifilirkflumers. . Whenever two or more parties are entitled te receiviany payments under this Lease, RGC
             may withhold soy such payments unless and'until ail of those parties designate in a recordable instrument an agent empowered
            to receive aff, such payments and 'to execute division end transfer' orders on .behall, of all those parties and their respective
            successors in title. Delivery Of any payment due,tinder this tease to the designated 'agent hilfills RGCs obligation to make that
            payment tothose parties.                            •       .           .                                                 ,                                     .
                      26. Anggzenol.. Both parties have the right.to assign their rights and obligations under. this Lease;                             .
                                                                                                                                                           in whole Or in
            part provided,however,that:,                   • ' .         .       ...     '         • , .             ,
                                 (a)       The party making such an assignment must give the other party prior written notice thereof; . •
                                 (is)       The provisions Of this Lease will apply to and be binding upon the successors and assigns of the respective
                                            parties. .                                                                                                  •
                            . Cc)           Any change or division in the ownership of the Property or of the tight to receive any paymenteunder this
                                            Lease, however accomplished,will not increase RM.           '"i total payment .obligations undereds Leese or affect
                                            RGC's rights to conduct Exploration,Operations or Reclamation on the Property; •                             '•'
                               . id) ' Notwithstanding Section 24(a), RGC may,without notice Or consent, assign Any of its tights or obligations
                                            to affiliates of RGC,or use the services   .   of- independent contractors or agents to perform any of its rights or
                                            obligations;and            •
                                                                                                             •         .                                       •
                               • (a)        No assignment will rellevethe assigning party of any obligations'or llabillty.to the other party, unless the
                         '               . other .party provides a written teens* to the assigning party.                                                           .    •
                      27. p        snxiifitieutt. Neliher pity will be'donned in default under'this Lease during any' period in which                                      its
             concise or performance of any of ha 'rights or obligations under this Lease le prevented -by any cause tessonably beyond Its
             control. Such an event Lt referred to in this Lease es!Force Majestic.'. Farce Majeure, wig* utdude but U not Unshed to, the
             following: fire, floods, norms;hurricanes,totnadoe, winds,other damage from the clarinets, declared orundetiared War,strikes,
             labor disputes, riots, dell unrest, action of governmental authorities, condemnation, eminent domain; crime, failure to receive
          • required goverrintentni approvals, inability to obtain water forGparatIoni,a substantial fell in the market Mice. of Mineral.,lack '
             Of access litigstion, act. of Cod:and acts of the public enemy. The Term of this Leant will be extended for a period of time equal
             to the prlribd Of Force Majeure,.All such periods will be deemed to begin at the earliest time a party Is prevented from exercising •
              or performing any of Its right, or obligations by reirscms of Force Majestic. • • • '
                     . 28. • No Braker. USW and RGC represent and'warrant to each other that no broker,agent,or finder his acted on
              Its behalf In connection with this Leese,and that no.commissions,fees, or other.imonies are due to.anybroker,agent,or finder. In
         .• - addition, Lessor and RGC will and do indemnify each other from' all claims with respect to any brokerage; finder's or leasing
              comddasioes in connection with this Lege-e or any of the transactions contemplated.uncler this Leatia.                                .                          .
                                   aindgEglaapp. Lessor 'will immediately, notify liCC of any condemnation proceeding that may effect the
          . Property,'Lessor will cooperate'with" ROC in 'defending or settling the mine. RGC may, in its dIsaebon;defend Its rights
              independently of Lessor. Any condemnation award will be shared between 'Lessor and RGC as provided by law. Any
              condemned Property will'ontstitute Released Land as Of the date of condemnation,and this Louie will continue in effect as to the
              rental:dog Property.                                                                    .               , .         .
                       30.         ftwiszttaffeethe                Subject to the provisions of this Section any controversy, claim,or dispute analog out of
              or   related    to  this Lease,  or  to the  formation,   negotiation;    Or breech  thereof, will  be   settled   by   binding arbitration in Richmond,
          • Virginia before a single arbitrator, in accordance with the Commadal Arbitration Rules of the Atonic:an Arbitration AsocciatIon.
              Any award of datneges will be Limited to actual, compensatory damages'judgment upon the award rendered by the arbitrator
              may be confirmed by,and entered in, any court having jurisdiction thereof. Prior to initiating any arbitration, the initiating party
               will give the other party written notice of the claim, and will allow,the'other party 30 days irons the date that the notice is
        ' received to amicably resolve the claim.. if the claim is not resolved 'within the 30 day period, the initiating pertys sole and
              exclusive remedy will be to submit the dispute to arbitration. The parties will comply with any arbitration award within 30 days
               of its issuance, or as soon as practicable thereafter, and the Lease will continue in full force and effect. Jr. no event will the
               existence of any dispute, arbitration Or sward suspend or otherwise affect any party's rights or obligations under this' Lease, or
               interfere in any way with RGC';Operations.                  •                      . .           .                    ..                    .-.
                       31.    Nantert.u..irgh                        11G0,.0jetatiotut Lessor has not, and will.not, during the Tenn of this Lease,
                                                                                                                 exercise    of its rights. as set out in Section 4(Grant
               take any action or grunt any right which would Many way interfere with•RCCs
               of Rights)of this Leant'                       •                       ••                •                 .                    •           .
                     • 32. No hatslietiar Csratinisirtg Waiver- if either party waives or does•not enforce any pro-vision of this Leese
               on any occasion, that action.will               constitute waiver Of: (a) that provision as to any other time, event or oceurente; or(b)any
                                                     . not. .
               other provision. .                                     .                                             .                         .•            ..
                        33. •I -.NOOK,          .4y     notice   given to the other, party under this Lases-Must be in writing, and sent by United Stela
                reglittpieci.cir tertified Mali; reum-fecelpt requested, or via Federal Express or similar overnight courin service, addressed to the
                addlesh set froth on the first page of this Lease. All notices will be deemed to have been made when deposited in the mail or.with
                the courier as provided ais-Cni.e. Al) nciticee will be deemed to have been received upon actual receipt by any. person at the address
                Listed above. Either party May tharige its address for the Mailing of notices by giving the other party notice of such. change                      ,         of
             'address In the Manner provided for to this Seeder+. ' -                               •          . .
                        34,                   ,A,grment: No                                            This Lease   constitutes     the   entire agreement       between    the
                parties ond.Supersedes all previous agreements, written or oral.. Lessor hereby expressly acknowledges that', in entering into this
                Lease,Leseer has not relied on any oral or written statements'made by RGC, its esoplOyeea, agents or independent contractors.
                This Leeie May only be modified by a written agreement in recordable fotrn signed by'Lessor and s.n authorized officer of ROC.
                       .35. -.. Choice 42a4iie.• This Lease will be construed,interpreted and governed by the law,of Virginia.                                         '
                        36. . 'S.igiottaga...4ati4ti1gjal. This Lease consdhates•covenant running With the'tend and will be binding on,
                 and inure to the benefit of, Leseur, RCC„ and Lesset's end RCC's heir*, legal representatives, executors, administrators,successors
                 and antes,as the esse!maybe:                       .               .      .                             .
                         3i. Semenovitay 'In the event that any court'or duly appointed ittbittfater:dettrratinea that any provision of this
                 Leese le unenforceable, I/legal, Or Ili conflict with any Federal, etate,.or local kW.; the parties will petition (or will hereby he
                 deerneci to 614:petitioned)the court or arbitrator toreforni that provision in such a way as to carry out the intent of the parties
                 to the eident•penntssible under law. if the cotut or 'arbitrator declines to reform that provision, then that provision will be
                 considered severable from the rest of the Leese,theaemaining provision. of the Lease will rust be affected,and'this Lease will be
                 corutrued and enforced as if the Lease dance contain the unenforceable or ill al provinon.                               .. .
                . '.     38- . MOdifaxifivAla                         Ahy Tiolatiort.,0                                                           LeisOT and EX do not
                  Intend that any •provision hi this Leasi will in any was' violate the Rule Against                   Perpetuities'Or      any related rule.'if any Poch,
                  violation should occur,it Is the intent of Lessor and RCC that the apptopriate court or arbitrator wilt reform the provision in scb                       u
                  a way as to approximate most closely. the'intent of the parties.wiih he limits permlimible under such rule or reis                            oted 7.1.,and
                  will enforce the Lease as soreformed. '                  "    . •                          .             ,            .




             428TEMP2                                                                                                                                        •(.1'.;1:
                                                                                                                                                                     .I   !,       •

                                                                                     145
Case 2:25-cv-06135                 Document 1-1                   Filed 07/07/25                   Page 133 of 263 Page ID #:148

              39.        Meragmagiv.. At the Um* this Lassa is signed, the parties will sign iMemo6ndum of Leila whkh pr,c will
        record, in the event of a conflict between the terms of the Memorandum of Lease and this Lease, the lanais of this Lease will
        central.
               40. difiatleaat—Cimdisig Lessor agrees to use Lessor'. best effotts to obtain promptly, and.to provide to
        copy of,any consent to this Lease required by the terms,of any MortgageOr .other instrument creating       MOO                    RGC    a
                                                                                                                            superior to this Lease
        with respect to all or any pert of the property. Such consent, however, will neither affect nor be a condition.precedent to the
        effectiveness and enforceability of the Lease aslbetWeeit Lessor arid RGC.'                •
               41. figgsLinsg. .The headings .containedln this Lease are for the convenience of the patties only, and will not be
        used in its interpretation.
               42 . co wit, ...,AL.        That . th rt,d2c_ThigiAgim. In addition to other obligations that survive
                                                                                                                            thii Lease as set forth
        In this 1,.eaae, the parties' obligations uncles'the following Sections of this Lease will-remain in ftill force end effect following, and
         will not be affected by, the termination of, or expiration of the Term Of, this tease: Sections 7-9,1.1,
                                                                                                                       14-15, 17 19 22 24-26,30,
        32,38,and 41-43.
                                                                                                      •
               43. atosaailit. During the Term of this Lease, each party will act in good faith to fulfill the intent of this Le1341,
         and will meet with the other party to discuss and to try to resolve amicably any issues that may arise.




                1N.W1INESS WHEREOF,the parties have executed thus tease under SOO as of the date first above written.. •

         0
         ;71;                                                                   RGC(USA)MINERALS

                                                    11. _MEAL
          G. L. Parson             Jr.                                          Its,        Vice                        President
        (Print Maine)
                            •                                                   icoRpostA iv.A6
           AKA George Lee Parson, Jr.
           AKA G. L. Parson                                                     Attest:
           AKA G. •Lee Parson, Jr.
                                                                             • It,                                       Seerittliry



                                                                                STATE OF FLORIDA
                                                                                COUNTY OF ' CLAY
           Mary Elizabeth Parson
         (Print Name)
                                                                                 The foregoing instrument was acknowledged before at.
           AKA Mary .Butterworth Parson                                          this 13       day of February                 iteiy, 1990
           AKA Mary B. Parson
                                                                                 by Daniel P. Wolcott
           AKA Mary E. Parson                                                    /as Vice        President of RUC (USA) MINERALS
           AKA Mrs. G. L. Parson, Jr.
                                                                                 INC, a Delaware- corporation, on behalf of the
                                                                                . corporation.               ,


                                                                                 Not      Publie ;
                                                                                                         OSS\S-.
          STATE OPVIRGINIA          •

          Orr/COUNTY OF 414..+-44.4.74                                           My CornadssiONEVaili MSc, State el Rotas
                                                                                                                Wes May 11.'1993
          The foregoing instrument was acknowledged before me                                     th Commissiontn4.ides blown
                                                         1989,
                                                                                                     two,
          this I if        day of ett...eaer.,--
          by G. L. Parson. Jr.. and Mary
                  ltribprh Par.prin, htinband_ nuri                              (NOTARIAL SEAL1
               wife



           My Commission Expires:

             Mtitat.,                1911
           4t
            o      r;'
                   ‘  Uts41"1: R   621AL

          (NOTARIAL SEAL!




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Case 2:25-cv-06135   Document 1-1   Filed 07/07/25    Page 134 of 263 Page ID #:149




                                   EXHIBIT A
                                      TO .
                                 MINING. LEASE
                                BY AND BETWEEN



                 G. L. PARSON, JR., AKA GEORGE LEE PARSON, JR.,
               AKA G. L. PARSON, and AKA G.' LEE PARSON, JR., and

              MARY ELIZABETH PARSON, AKA MARY BUTTERWaRTH. PARSON,
                  AKA MARY B. PARSON, AKA MARY E. PARSON, and
                 AKA MRS. G. L. PARSON. JR.. husband and wife
                                   (LESSOR)


                                      AND    .

                            RGC-(USA) MINERALS INC.
                                    (RGC)




                                       147
Case 2:25-cv-06135             Document 1-1                 Filed 07/07/25           Page 135 of 263 Page ID #:150

                                                     EXHIBIT A



                seder rhe.tezes of the'shoes-Fefersaced dining ZOOMS, to which thie *b it is attached, idessor has,
      leased to ROC, and granted to ICC various rights ragard,iog, certain real property (incledleg 411 ainszai right.
      and Minerals) referred to as the *Property', Shich is situated to the       atone Creek   sagisteria District„
      susses      crusty, state of Virginia. which is hereby represented led warronted 14 Lesser to enocatte.
      ass-00   acre.. .mid which Is described as follows'


      That same tract or parcel of land conveyed to G. Lee Parson, Jr.,
      by Warranty Deed, dated March 22, 1960, and recorded in Deed Book
      59 at page 524, in Clerk's Office of Circuit Court of Sussex
      County, Virginia. To Wit: All that certain tract of laud, with
      all the improvements thereon and the appurtenances thereto
      belonging, lying, being and situate on the East side of the
      Nottoway River in Stony Creek Magisterial District, Sussex County,
      Virginia, containing eight hundred (800) acres, more or less, and
      bounded as follows:    On the north by the lands now or formerly
      belonging to Slate, C.R. Chappell, Robinson and Camp Manufacturing
      Company; on the east by the lands now or formerly belonging to Otho
      Chappell, Henry Poole, G. Lee Parson, Sr. and the Wyatt Mill Road;
      on the South by the lands now or formerly belonging to J. U. Poole
      and the Nottoway River; and on the West by said Nottoway River and
      the land now or formerly belonging to the Camp Manufacturing
      Company; the land hereby conveyed is the same that was conveyed to
       G. Lee Parson, Sr. from J. Thompaon Wyatt, Special Commissioner, by
       deed dated June 11th, 1946 recorded in the Circuit Court Clerk's
       Office of said County in Deed Book 42, at page 180; by deed from
       Francis E. Wyatt, and others, dated May 3, 1945, and recorded in
       said Clerk's Office in Deed Book 41 at page 137; by deed from
       William E. Anderson, unmarried, dated November 7th, 1945, and
       recorded in said Clerk's Office, in Deed Book 41, at page 365, and
       by deed from Benjamin G. Anderson, unmarried, dated May 10th, 1945,
       and recorded in said Clerk's Office, in Deed Book 41, at page 136.

       The above described property was resurveyed by J. C. Shearin, dated
       March 20, 1972, recorded may 30, 1989 in Plat Book 18 at Page 6 in
       the Sussex County, Virginia records. The above stated deed recites
       800.0 acres which is now corrected to recite 933.30 acres which is
       an increase of 133.30 acres, stated as follows:        Tract No. 1
       contains 50.0 acres, Tract No. 2 contains 343.0 acres, Tract No. 3
       contains 370.0 acres and an open tract of land not presently
       surveyed containing approximately 161.30 acres, more or less.

        LESS and EXCEPT from this tract of land the westerly portion
        thereof,containing 487.30 acres.

        Subject property is referred to in the Sussex County tax records as
        Tax Parcel Number 101-36.




                                                              148
Case 2:25-cv-06135                  Document 1-1                     Filed 07/07/25                       Page 136 of 263 Page ID #:151
      SPL Roy Pot
      VA 8/(9

                                                       •           VOMIT B .
                                                                      TO
                                                                 MINING LEASE •
                                              •                 BY AND BETWEEN
                                     G. L. ?arson, Jr. and Mary Elizabeth Parson,
                                                       •        hU.S,band and wife            •
                                                   •                Cloeasor)
                                                                    AND
                                                           ncic(USA)MINERALS INC.
                                                                   (RGC)          •
                  •                         R(C'e Royalty Polley for Virginia Opeeeations
                                       COPYRIG.HT CACC(USA)MINERALS INC.1989
                      This document sets forth RGCs Royalty Policy for Virginia
                      Section 7(Royalty Payments)of the above-referenced Deed ofOperations CRoyalty Policy"), which is referred to in
                                                                                 Mining Lease(Leaser)and which is attached to and
                      incorporated-into the Lease-by reference.  '
      I.    Pewit'ion.s. The terms defined in the body of the Lease or anywhere tofu, Royalty PoUcy will have
            throughout this Royalty Policy. The following terms will have the fallowing meanings:             the same meanings

           (a)        "Principal Mineral? means amenite,Rutile and Zircon.          •
                                                               •
           (b)        "Minor Minerals" means Minerals other than Principal Minerals. .            .
           (e)        "Mineralized Property" means that portion of the Property which Rpc esthnites, using the then most current
                      drilling data and survey information, containis Minerals-bearing lands which have a mitt liun dredgeable depth
                      of 15 feet and which have-a cut-off grade of two percent(2%> by weight average Minerals content. Alt lump sum
                       glrenilz..ritc7pestlyclo.n.f6th(eltalePailet!anitulast
                                                                          AnduveantnecehaRilrin        *off MI/Testa
                                                                                                                  e are ti;ro
                                                                                                                           sepderotyn the
                                                                                                acreage the Mineralized                ijl
                       not affect the lump sum payments.           • .                                       •
                                                                               .
            (d)        "Sales Value per ton of each Minstar means the dollar vales per short tors derived by'dividing (1) the actual dollar
                       sales of each Mineral .1allowing processing by the dry plant (net of returns, safes taxes, sales discounts and
                       commissions but not net of settlement discounts) for the calendar -quarter ("Qurata") which is the Subject of the
                        Royalty Payment calculation, by (ii) the total sales tonnage for each Mineral in that Quarter, subject to the
                       exclusion of sales to affiliates contained in Clause9(Sales to Affiliate.) below.
                                                                                                                                •
            (e)        "Lessor's Stock Account" means the account maintained by RCC Irt Lessor's name for theyurpose of tricking and
                       reporting productioz. inventory and ,she ailocationis made with respect to saleable Minerals attributed to the
                       Property, and Lou the purpose of calculating and accounting to Lessor,.through the. Stock Report described in
                       Clause 3below,for any Royalty Payments.
            (.0       . 'All Stack Account? means the Iowa's Stock Account and another stock accounts maintained by RGC for other
                         properties on which RGC engages ln Mining(as defined in Clause 6(b)(i) below).

            (g)        "Recovery Rate'for any treatment of material is the weight Of material that la present !titer that treatment divided '
                       by the weight of material before treatment,expressed as a percentage.'

       2. rakx442fingitoyatiej. This Royalty Polley sets forth the methodology to be.used in determining and reporting the
       Royalty Payments payable to Lessor under the Lease. By signing the Lease Lessor agrees to that methodology,including.but not
       limited to (i) RGC it method of attributing Minerals to the Property as set forth In Clause 6 below, and (h) RCCs method of
       calculating Royalty Payments'as set forth in Clause 7(Royalty Payment Calculation's) below. .

       3. aga_Aricat                      ioth_itogrt. Prom the commencement of- Mining (as defined in Clause 6(h)(i)) on the
       l'roperty until euch time as RCC's obligation to pay Lessor Royalty Payments lies been fulfilled, RGC will establish and maintain
       Lessor's Stock Account and will send to Lessor within'30 days after the end of each Quarter a written. report (*Stock Report') on
       the status of Lessor's.Stock Account.'The Stock Report will show:
            (a)         The torts of saleable Minerals attributed loth* Property forth.Quarter(see Clause 6 below);
             (b)        Sales from the accumulated tons of ealeable Minerals'referred to in Clause 3(a)above
             (c)        Any Advance Royalty Payments paid during thaQuarterin accordancewith Section 6.of the Lease;
             (d)        Any Royalty Payment payable for the Quarter pursuant to'S•ction 7(R
                                                                                          .oyalty Payments)of the Lease;
             (e)        A reconciliation of Advance Royalty Payments and Royalty Payments to Lessor pursuant to Section 6 (initial
                        Payment and Advance RoyaltyPaymentd and Section 7(Royalty Payments)of the Lease.
        The Stock Report will be certified as accurate by RCCs Operations manager or a.stinior financial employee. By signing this Lease,
        Lessor agrees to preserve the confidentiality of the sales and production information in all Stock Reports. .

        . Royal& ikat. RCC. will pay Lessor• Royalty Par:hint equal to eight percent(890 of the Sales Value per ton of each
        4
        Mineral sold that is attributed to the Property, as reflected in the Stitch Account and as reported to Lessor quatterlyin the.Stuck
        Report.                                                                              •      •

        5
        . Emit"P-CIVItakt- Any Royalty Payments due for Principal Minerals attributed to the Property will be paid within 30
                    the Quarter in which such Principal Minerals were sold (Le, invoiced to the purchaser), and,fur Minor
        days after the end of
        Minerals attributed to the Property within 30 days of the end of the "Fiscal Yam"(July I..-june 30)in which they were sold.
        6. saleable Mits            is.4fdhukcLdQ4nt                            saleable hilnerale are attributed to the Property and to Lessees
        Stock Account as set forth below:                                                                                       •
                                                            •                                             • •
              (a)        RCC will survey, drill, and analyze drill samples from those portions of the Properly which It'plans to mine, in
                         order to esti:swat the tons of Principal Minerals located therein..
              (b)        Produdlon of saleable Mineral,Is achieved in,the following three steps.In RGCs Operations:
                        (1)        "Mining"- extracting and delivery of mineral sand Ore to the concentrator).
                         cw        "Coneentrating--removal of non-commercial material                 *

                                   "Procas.sing".- removalef Itallier non-commercial sand and separation into saleable Minerals.

                          Each of these steps results In recovery and loss of saleable Minerals depending on the efficiency of each etep and
                        • the Atha* of the material being treated.
                                                                 . The Recovery-Rate for each step varies to a small degree,on a daily basis
                          and is determined by regular sampling and analysis of the material ash passes through each step. •
                                                                         149
Case 2:25-cv-06135              Document 1-1                    Filed 07/07/25                     Page 137 of 263 Page ID #:152
              Cc)     The Recovery Rates for a given Quarter and the estimates and survey information compiled -pursuant to Clause
                      6(e)above are used to estimate the torts of saleable-Principal Minerals recovered from the-Property in that Quarter.
                      Those tons of Principal Minerals'ere then entered in Lesectea Stock ACcount.
              (d)     Within 30 days of the end of each'Fiscal Year, ROC will apportion its actual production of saleable Minor Minerals
                      for the year among AU Stock Accounts. The apportionment wfl,1 be made in proportion to the attribution of
                      Principal Minerals among All Stock Accounts for the year.

        7
        .     Bact4yPayme.otCaktilaliant
                       Esinsigattuanelaud
                                                       .                                       •
                     (i)        Within 30 days of the end of each Quarter, RGC will.dedud the total tons of each
                                                                                                                       Principal Mineral sold
                               during that Quderfront All Stoat Accounts.
                                                                                                                                   •
                      (11)      The tons of Pzindpal Minerals sold will- be deducted horn All Stock Accounts on a ."First-In/Firet.Out"
                               (FIFO) basis. Where production of saleable Minerals-Is attributed to several stock accounts
                                                                                                                                 on the same
                                date; salea attributable to such production will be deducted from'the affected s' tock accounts in
                                to the tonnage satin:Med on that date to nigh stock accounts. .                                    proportion

                      (iii)     The sales thus attributed to the Property will be entered in Lessor's Stock Account and reflected in the
                                Stock Report.
                      (iv)      RGC will calc.ulate the Sales Value per ton for each PrindpalMineralfor the Quarter.
                      (v)       The Royalty Payment payable to Lessor for the Quarter will equal eight percent(8%)of the Sales Velum per
                                ton for each Prutcipal Mineral for the Quarter multiplied by the tons of,each Prindpal Mineral sold which
                                are attributed to the-Property for the Quarter as reflected in the Stock Account.
              (b)      Minor Minerals Sold'
                                Within 30 days after the end of each Fiscal Year, a calculation Similar to that described in Clause 7(a)(v)
                                above, will be made for Minor Mineral*, and the result will be reflected In the Stodc.Report- for the last
                                Quarter of the Fiscal Year.   :.                                                           •
              (c)      kidiustmente
                                At the end of eadt Rend Year, RCC will compare its actual annual Mineral production to the total tone of
                                Minerals attributed to AU Stock Accounts in that year. If the actual producton Is less than the attributed
                                production, then the shortfall will be deducted proportionately -from AU- Stock Accounts. If the actual'
                                production exceeds the attributed production;then the excess will be allocated proportionately anions All
                                Stock Accounts, • .

         8.    Ctitnmiagling_ansi_fitgrkpliing.. RGC will c,occurdriglo'Minerals from the Property with Minerals from other
         properties, may engage in Mining on attire-than one property Ina Quarter, and mayin RGC's.sole discretion from time to time
         sloe     Minerals depending on market conditions.

         9.     Saks to                    Itcc may In its sole discretion sell past or all of its Minerals to affiliates of RGC. In such event, the
         Wee Value per ton of each Mineral used in calculating the Royalty Payment will be based only on- RGC's sales to non-affiliates. If
         such non-liffillatit sales ere lees than 30% of RCC's total sales of the Mineral during the Quarter, then the Sales Value used in •
         calculating the Royalty Payment will equal the greater of(a)the Sales Value based only on RGCe sales to non-affiliatot or (b)the
         indexed price for the Mineral, determined by multiplying (I) the Sales Value per ton of the Mineral last used in'ctileulating a
         Royalty Payment times(U)the percentage change in the Producer Price index •Titanium Pigments lndex of the Bureau of ULF=
         Statistics, U.S. Department of Labor (Code NO.-06220209,1982.100). Such percentage chenge will be based on thechange in the
         Index from the last month of the Quarter in which the Sales Value referred to in'Clauie (1) was used to the last month of the
         Quarter for which the Royalty Payment is being caleuhted.
          JO_ Mint ravored Lesson If RGC agrees, after eIgning this. Lease, to pay a higher Initial Payment per acre, higher
          aggregate Advance Royalty Payments. per acre (excluding any such higher payments that result from either (I) en increase In a
          lease date payment which raises a lessor's total lease date payments to seven-percent(7%)of RGC's then-current estimate of the
          lessor', total Advance Royalty Payments and Royalty Payments or           Vatiatiene in Advance Royalty Payments that are based .
          upon or limited by Clause 12 hereof), or higher royalty rates as to any other leased property in the Area, RGC will within 30 days
          of the More favorable lease pay Lessor any amount necessary to adjust retroactively payments previously received by Lessor to
          the more favorable levels, and the more favorable levels that are prospective in nature will thereafter apply to this Lease, This
         .Clause does not require that retroactive adJuatments include the time value of money.'This Clause applies only to lessee and not
          to purchases,options to purchase, purchase-leaseback arrangements or other arrangements.         •

         11. alnilildifaValf-Arlliing-          •
                (a) • RGC will send Leaser Written notice when it has completed MLnin On the Property.
                 (b)      The next Stock Report after inch nonce willcontain a..recOndliation comparing (I)the total of all Royalty Payment,
          and Advance Royalty Payments paid to date, with (ii)the product obtained by multiplying the total number of acres of the
          Property from which RGC removed the topsoil In -preparation for Mining times $3,500.per-acr• average Minimum Royalty
           provision in Section 8(Minium-in Royalty) of the Lease.          •     •
                 (C)      U that Stock Report reflects theta!" tons of Minerals attributed to the Property have already been sold, that Stock
           Report will be Lessor's last Stock Report and final reconciliation, and Lessor will he paid (i) any Royalty Payments payable for
           that Quarter, and (10.the final payment;if any, required by the $3,500-per-acre average Minimum Royalty provision (the "Final
           Payment"). The Final Payment,will equal the amount,if any, by which-the prodact described- inClause 1101)(ii) exceeds the total
         • described in Clause 11(b)(0.
                 (d)      If that Stock Report reflects that any tons of Minerals attributed -to the Property have not yet been sold, Lessor will
           be paid any Royalty Payments payable for that Quarter; and Lessor may elect, by sending written notice to RGC within 30 days,
           to either: forfeit all rights to future RoYalty Payments 'with regard to all unsold tons and receive the Final Payment, if any,
           determined in accordance wlth..Cleuse 11(c) above; or (Ii)continue Lessor's Stock Account in existence, and defer the final
           reconciliation and Final Payment, if any, until .all such unsold tons are sold and the anal total of all Royalty Payments and
           Advance.Royalty Payments can be used an determining any Final-Payment due. .

          12.                                                                             LyayzacZl        . At least One year before RGC
          commences Mining on the Property, RGC will estimate using the _then most current ridging data and survey information, the
          tone of Minerals located therein. .Gsing_the higher of this estimated tonnage-or .1V+4 .1J4,,    tons and _applying reasonably
          expected Recovery Rates and prices,Itcrc will in.good.falth estimate the total sales value of the saleable Minerals recoverable '
          from the Mineralized Preperty. The Advance Royalty Paymeni equal     to'70% of Esti:anted Future Royalty payments  ...et ronh tn
                                                                                      be determined by (a)on/Riming the estimated total
          Section G (Initial Payownt and .Advence Royalty Payments) of the Loess will
          sales value times the el5ht percent Ole/ rayalty rate, M multiplying the result by seventy polecat (705), and (e) deducting
           therefrom all Advance Royalty Payments-previouity made under Um i.eise;.

           13. kfillidriamemlAtiliiattastmmadifillf. Because of the inherent uncertainties in making projections and
           estimates which may affect'Lessees Royalty.Payments, Lessor,ire dedding whether to enter into tide Lease,should not rely upon
           any representation, written or oralL as to the likelihood or value of Royalty Payments, and•Lessor should bear -lit mind that the
           $3,500-per-acre overage. Minimum Royalty provision contained in Seaton 8(Minimum Royalty) of the Leese-applies-only it RCC
           engages in Mining on the Property, and even then applies only to tlw total mthiber of acres from which RCC removes the topsoil
           In preparation for Mining.. Lessor acknowledges that Lessor understands the foregoing sentence and Lessor agrees that Lessor
           lies not relied upon any representation, written or Oral,is tirthe likelihood or value of Royalty Payments.
                                                                                                                          •




                                                                     150
Case 2:25-cv-06135               Document 1-1                    Filed 07/07/25                  Page 138 of 263 Page ID #:153
        STATE OF VIRGINIA
        COUNTY OP     'Sow,x
                                                      IMERASPIKQEMON—P—VASI
                ROC(USA)Minerals Inc.,a Delaware corporation,(RGC)and

        cLesace)have entered into a Deed of MiningLease dated           0çtober 13, 19,89
                                                Mewl, the terms of which are incorporated herein by reference. The Lease rovides
        among other things that:
               1.        RGC, as tenant, has leased from Lessor, as landlord,'the Property described on Exhibit A to the
        exhibit is also attached hereto as EN hibit A.                                                                   Lease, which

             2.      Lessor has granted to RGC the right. to•explore for and mine various minerals on and under the Property and, to
        condud mining•related operations on the Property.
               3.      The term of the Lease begins on the date nt the Lease set forth above and continue; for a period of 20 years,
        earlier terminated or temporarily extended pursuant to the Lease.                                                            unless

                .4.     During its term, the Leaae is binding upon soy successors to all or any ponion,of Lessues interest in the Property.
                 5.     The Lessoes name and address are:
                          G. L. Parson, Jr. and Mary Elizabeth Parson, husband and Wife
                          Route 1, Box 60
                          Stony Creek, Virginia 23882

              6.      RGCs neat, and address are: RGC(USA)Minerals, Inc., Attention: Land Manager, Warner Road,P.O.Box 1307,
         Green Gave Springs,Florida 32043.
                 IN WITNPSS WHEREOF,• RGC                  and     Lessor     have    executed     this , Memorandum       of    Lease        as
         of       October 13,. 1989

         LESSOR:
                                ,(7)
                                  . 61,24
                                                                     •      By:
          G. L. Parson, Jr.
        (Print Name)                                                                       Vice                            _      President
          AKA George Lee Parson, Jr.
                                                                         (CORPORATE S         LI
          AKA G. L. Parson
          AKA G. Lee Parson, Jr.
                                                                            Attest:           4-8V;
                                                                                              1

                                                                            Its:-                                        Secretary

                                                                            STATE OF             FLORIDA

           Mary Elizabeth Parson .                                          Cmycout•ii-Y OF • CLAY.
         (Print Name)
                                                                            The foregoing instrument was acknowledged before me '
           AKA. Mary Butterworth Parson                                     this 13 day of .Ppbru.ary              •         • 1990
           AKA Mary B. Parson                                               by • Darti6,1 P. Wolcott .
           AKA Mary E. Parson.                                              as        Vice                    President of IlGG (USA)
           AKA Mrs. G. L. Parson, Jr.'                                      MINERALS. INC., a. Delaware 'corporation, on behalf of the
                                                                            corporation.
                                                                                Commis •     iris:               Notary Public. Shia of Ronda
                                                                                                             My Commission Espirito May 21, 1493
          STATE OF VIRGINIA                                                                                                               bee
                                                                             Notary Public
          GM/COUNTY OP
                                                                            (NOTARIAL SEAL).
          The foregoing instrument was acknowledged before
          me this I st4s, day of
          by G. 2.. Parson, Jr., and Nary
               Elizabeth Parson. husband and
               wisfe                            •



           My Corrirninion Expires: C:54(7-1.0.--- cl•     r 11I


              Notary Public
          (NOTARIAL SEAL)




                                                                     151
Case 2:25-cv-06135                   Document 1-1                  Filed 07/07/25                    Page 139 of 263 Page ID #:154
           •
          STD Leto*
          VA 8/89



                 THIS DEED OF MINING LEASE,inducting the attached.Exhibit, which are incorporated herein.bythis reference,Memel
          is    made     • and       entered   • into.       On       October 13,          "           • • 09              •        • • by   and

          between G. L. Parson. jr... AKA Georse Lee SarsOn_..Jr., AKA C. L. Parson; and AKA

          G. Lee Parann. Jr.. and Mary Elizabeth Paraon. AKA Maxv Butterworth _Parson...AKA
          Mary B. Parson. AKA Mary E. Parson. find AKA Mrs- G. L. Parson. Jr.: husband and wife
                          •            •       •                                                     •
          Route 1 . Sox 60 .Stony Creek—N-UPLniia             23882        .                              •
                                                  . .                                         •                       .
          FLessor) and ROC(USA)MINERALS INC.. Delaware corporation whose address is Warner Road, P.O. Box 130,Green Cdve
           Springs, Florida, 32043 ("ROC). In consideration of the mutual procrilies made in this Lease, and other good and valuable
         . consklirsdort,the receipt and suffidency of which are hereby acknowledged, Lessor and RGC epee as follows:                       . .
                  / . . • Dgriglest2crzn/1. Any word or phrase that Is capitalized and Placed in quotations in this Leese I.. defined tents
           and when it is capitalized will have the same meaning throughout this Lease.           •                       • .- •         .
                  2 .      &Mete- The purpose of this Lease Ii to allow ECC to explore for and, at RGCs sole discretion,,to mine,
           remove, commingle, and sell Minerals from the Property,•to use the Property to mine Minerals front the Property or other
           property, and to conduct related activities. 'Minerals means the following group of minerals and mineral product.: Ill:tenni,
           Leucoxene, Rutile,.Zircon, Staurolite, Kyardie/Sillimanito, Monciiite, Xenotuni, and Carnet,end aaeodated by-products.
                                                                                                                                .      . Title to
           any Minerals mined shall, If not already vested in RGC, pass to RGC as they are severed from the Property.
             .. 3.         anzatipt.Lease. Lessor hereby leases to RGC the Property (ea defined on Exhibit A), on the ternts and
           conditions in this Lease.            •
                 .4.       Canankollirgbfg.. Letior grants to RGC the following exclusive rights with regard to the Propertr •            -
                         (a)       To inter the Property to survey, explore, drill, test, and sample (the foregoing activities are defined as
                                • '"lixploration"); ..     •
                         (b)       To clear the Property of such buildings (subject to Section .21 (Compensation for Buildings)), other
                                   structures or obstacles, eatth, standing timber, plant., and such other things Or material that RGC, its
                                   absolute discretion, wishes to clear from the Property to exercise Its rights as.set out in this Section 4; to.
                                  .construct, reloc-ate, use, or remove roads,power.and communication Tines, dredge ponds, tailing pond.,
                                   settling ponds, pipelines, buildings, storage facilities, canals, fallings,.signs, gates, fencer, and other
                                   structures and faallIties on the Property; to take steps to .prepare for mining on the Property; and to
                                   develop, mine, croas•cnine, dredge, remove, concentrate, separate, commingle, stockpile, haul, proems,
                                   ship, and sell Minerals (the foregoing activities, whether conducted on the Property or on other property
                                   in Oinwid die and Sussex Countiee, Wrgbda ('Area");are defined II!"Operations);          • •         . ••
                          (c)      To use the Property to store, transport, or dispose of Minerals, water,tailings,and material resulting from
                                   ACC,Operations; • .                                                                • . .                  . •
                          (d)     .To use water from or appuitenent to the Property and to drain through and front the Property and to
                                   draw into any course in the Property any water from RGCs Operations:           •• • .
                          (e)      TO take all step,to accomplish Reclamation(as defined in Section'14)of the Prciperty;
                         (0 . To Use all easements,means of access,andtights-of-way from and to the Property;and •                   .    .
                         (g) • To use the Property for the purposes described In this Section, in conjunction with RGC'a Exploration,
                           .       Operations and-Recbroation on other property.                          .           .
               • Notwithstanding the foregoing, RGC is not granted the right.under this Lease.to construct or operate on the Property a
           processing plant for the final separation of the concentrateinto saleable Minerals. ' . . • .            • ..
                  6 .•   ra-,..0. 24g.          This Leas* will begin an the date first written above and will end 20 years thereafter,Unless(a)
           the Leasele ended earlier under Section 19(Termination),(b)the Leise is auternatically terminated by RCes failure, for reasons
           other than a temporary inability to obtain through diligent efforte all necessary governmental permits and authodiations, to
           commence "Mining"(as defined In the Royalty Policy) Et the Area by the eighth anniversary of the Lease, or (c) the Lease is
           automatically extended to allow RGC to complete ongoing operations on the Property. If so extended, the Lease shall terminate
           Upon the earlier of written notice from RGC pursuant to Section 15(Termination), or the passage of aperiod of 180 consecutive
           days in which RGC'conducts no Operations on the Property. "Term" means the period of time during which this'Lease is in
           effect, and,In the ebsence of earlier termination,Includes both the Initial 20/ear term and any extended term. • • •'
              , 6.        Ini4aZiyineri1stngUi,dommjlogdfxrm109191. 'Subject to the terms and conditions of this Leese,
           RGC will pay to Lessor, during the Term of this'Lease an or before the dates indicated the following lump spin payments and
           payments per acre of the Property retained under the Leese at the time of Wept/merit: .                                .
                                                                                                              •                           .•
                   •Paymeist Dase                                   • • Pariseme lyre '                Payment -       .
          Lease Date    '        •                           •     Initial Payment           •   .•    nth Per icre • •
          Lease Date                                     •         Advance Royalty, $l.,4.3.,1.9S VatPer acre '
          On or before December 31                                 Rental Payment • ••,' '• •    •    . $19 per *ere
          of each year following the•
          year this Lease Is signed •                                                                                              MEP
          Earlier of(a)"Mining'(as                                 Advance Royalty                     $107,000.00
          defined In Royalty Policy)                                                                  lump sum,equal to $1000 per acre of
          In Area or(b)Fifth Anniverary                                                               "Mineralized Property"(as defined in
                                                                                                      Royalty Policy)
          Tenth Anniversary If no                                  Advance,Royalty.                    S107.000.00
       . 'Notice of Mining (as .                                                                       lump SUM,equal to S1000 er acre of
        . defined in Section 9)given                                                                   Mineralized Property,subject to 70%.
                                                                                                       Limitation"(as defined in Royalty Policy)
          Fifteenth Anniversary if no •                            Advance Royalty .                   $107.000.00
          Notice of Mining given                                                                       lump sum,Subject to 70% Limitation •
          Notice of Mining                                        • Advance Royalty              " 70% of Estimated Future Royalty
                                                                                                   Payments his defined lit !lordly Policy)

          The Initial Payment and all Rental and Advance Royalty Payments paid to Lessor are non-refundable, The Advance Royalty
          Payments paid to Lessor will be credited against any Royalty• Payments otherwise payable pursuant to Section 7 (Royalty
          Payments)and may be prepaid by ROC: Payment to Lessor of the payment required upon Notice of Mining Will satisfy in full
          any obligation RGC may thereafter have to pay theTenth and Fifteenth Anniversary Advance Royalty Payments.
              . 7.        RayaletEcoanatts. RCC will pay to. Lessur.quarterly Royalty Payments equal to eight percent(5%) of the
          Sales' Valiies of Minerals,attributed to the Property, which RGC mines and sells. The Royalty Payments vigil be dstennined and
          paid in accordance with Exhibit B,RGCs Royalty Policy for Virginia Operations("Royalty Policy"). .         • - ' •             •
                • 8. • ifinkNoLgemtee. .lithe total of all Advance Royalty Payments and Royalty Payments paid to Leiser under
          this Lease does not average $3,500 per acre for all of the Property frontwhich RGC removes the topsoil in preparation for Mining
         ("Minimum Royalty, RGC wW pay to Leiser the amount by which the Minimum Royaltreiceeds such total. Any such payment
          will be determined and aid in accordance with Clause Ii ofthe Royalty Policy.. .          .
            •     9- •                    si_take-Ilvitzty. During Exploration, Lessor and RGC will work together to accommodate
          Lessor'. normal activities on the Property. GC will give Lessor at least twelve months notice ("Notice of Mining") if RGC',
          Mining will require tASSOT to cease &divides'on the'portion of the Property described in the Notice of Mining. •Untft. the end of
          the notice period. Lessor will have the right, but not the obligation, to remove for Lessor's account any dope, timber, buildings,
          irrigation systems,fixtures or personalty of Lessor from that portion of the Property. From the end ofthe notice period until RGC
          notifies Lessor otherwise, Lessor will cause all activities to cease on that portion.of the Property. During Reclamation, RGC will
                                                          •                      •


                                                                       152
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Case 2:25-cv-06135                        Document 1-1                            Filed 07/07/25                          Page 140 of 263 Page ID #:155
                                                                                               _
                                                      •                       •                                                •
             wink with Lessor to allow Lessor to resume Lessor, normal activities on the Property,as soon as reasonably possible and..
             perinitted_by   governmental      reclamation requirements.    Lessor will  and  does    indemnify       RGC    from   and against any claims asserted
             against RGC arming out of the activities.of Lessor or Lessor's invitees. Lessor will be solely responsible for, and will bear all risk
             ofloss related to, any government       allotment, subsidy, stabilization or'conservation programs that may apply to the Property.
         •         • 10.. : Safety. Except as otherwise provided in this Lease, only Rcc employees and visitors authorized in writing:by
             RGC will be permitted on those parte of the Property on which Operations are being conducted. All RGC-authorized visitors and •
             their vehicles will cany RGC identification atall times that they are on the Propert .                     '       •' . • •          . • •              .           • '
                ' //. 'ROC to Coniply With Safetaaatos.antl to buitorso                                                 . RGC.will conduct its. Exploration and
             Operations in compliance with all applicable safety laws and regulations. RGC will and does indemnify Lessor from and against •
             any chains(environmental or otherwise)asserted against Lessor arising out RGCs activities...11GC will also indemnify .LesaM •
             from, and pay Lessor for, actual damages Mused by RGC to dope;pasture, timberrferices, grates, roads and other improvements •
             not described in Section 21 (Compensation for Buildings), located on any portions of the Property that are net Mined but are
             otherwise-used by RGC in Its activities. RGC will In no event:be liable for special:or consequential damages,and Any payments
         • made pursuant to the preceding sentence tvilkbe deemed hill and complete corn emotion for the damages In question.                                               •         •
                   . 12.                                                                                                           Nothing in-this Lease or in the •
             relationship   between     Lessor   and  ROC  will  constitute or  create any   express      or   implied    duty   on   the   part   of   RGC       to  Perform .
             Exploration or Operations, or to mine the Property at any rate, In any mannvr,-or at all. RC,Cs Exploration and Operations,•                                                .
      ' any,will occur only to the extant and at the locations and times, and in the methods and manner that RGC.In its sole discretion, • •
             may determine; provided, however,that RGC will not conduct Operations within 200 feet of Lessor's principal residence.or any.
      ' • prindpal residence on property adjoining the Property, or in such a way as to deprive any such residency of armee to a public
      '• road, utihities, and water supply until RCC complies with Section 21(n)(Compensation for Buildings — Principal Residence)(In.
        • .the case of Lessor's principal residence) or obtains the'adjoining property ownees Written consent (lit the case of an adjoining
             residence); and provided further that, II RGC engages in Miring in the Area, then RGC will use he beat efforts to mine all of the •
             Mineralized Projserty.that can be mined in a commercially reasonable'manner. •                            t -       . .•      .. • • •         •       '• •
            ' •      13. Compiianr,c WJth Lows. RGCs activities on the Property will be 'conducted in CoMpliarice with all '
        :applicable Federal,State and local lows and regulations.                                             .         . .           : •,•             .• •              •
                     14. Redwriatio6. RGC agrees,to comply with all State and Federal Imes;regulations and.pennitsopplicable to the
             Reclamation of the Property. RGC ALSO agrees to post a bond, to the extent required'by Virginia law, to ensure that all the .. •
       • Property which RGC mines will be reclaimed In accordance with law. RGC will and does indemnify Lesser from and against any.
           .claims by Slate or Federal regulatory'geodes arising from.RGC's failure to reclaim in- accordance with applicable law*,excluding .
           • claims caused in part or in whole by Leisoes failure to cooperate with Rqc in accordance with the terms of this Lease. RCM: •
             Reclamation of any Property mined may include, but not be limited to, refilling the mined path with tailinge,discharged from the
             wet mill, dyking and eliminating settling.pends, replacing and trading the topsoil; replanting and otherwise complying with all.
             applicable goverrunental reclamation requirements("Reclamation 1:                    •
              . 16. Audit. Lessor will have the right at Lessor's expense to appoint an independent auditor reasoniblyapproved by .
         • RGC(which approval is hereby given if Lessor appoints a national firm in the United States of recognized reputation), to audit,
             not more than once in any year, RGCs records relating to the deteradruition'of Royalty Payments for RCCe 'Fiscal Year'
          • (currently July 1 - June 30)immediately preceding such audit.• Lessor will instruct Lessor's auditor to send a'copy of his report to •
             RGC at the same time that he sends his report to Lessor. Also, Lessor will notify RGC in. writing of any objections Lessor may'
         - have regarding- Royalty Payrnerits„within 60 days of Lassoes receipt of                        auditor's report.               ; •               4• •            -
                   • /6.      ran& Taxes will be apportioned and paid as folloWs:                    •            .. •                                             •
                                                                                                                                                                               .". •
                             *(a)        RGC will pay the following.taxa or portions thereof: any Mineral severance taxes related to FCC'.' •
                                   . Operations; property taxes, pro-rated for the portion of the.Property and the time period in which Lessor'
                                    • . Is prohibited under this Lease from conducting activities;ond any.increase in property taxes attributable to •
                                      • the Minerals or RGCs Operations.                                                                  • • .                      .        .
                             (b)         Lessor will pay all other taxes related to the Property, Including but Mat limited to: any taxes,on Released • •
                                         Land as defined in Section 19.(Terrolnation));.any income;capital-levy, estate,gift,succession, inheritance,
                                         tranifer or franchise taxes;and any taxes attributable to Lessor's activities on the Property. .                              ,.          •
                                       .Lessor will send RGC copies of all assessments, tax Nils or:other tax notices related .to the Property or to
                                         RGCs OPerations thereon within 14 days of Lessor', receipt of the same or in such shorter time as may be
                                         necessary to preserve the right, of RGC and Lessor to p          .rotest or appeal the same.'Lessor.will cooperate .
                                         with RGC in any such protest or appeal: RGC May, in its discretion, pursue such protest -or appeal .
                                         independently of Lessor. RGC will szi any event not be obligated to pay (1) any increase In-taxes which • •
                                         RGC is unable to protest or appeal due to Lessee failure to comply with this Section 16(c) or.(11) any tax •
                                         bill which RGC does not receive at least 14 days before the bill is due. '•                                      •               ' • .• •
                             (d)         RGC may, but la not required to,'pay any taxes on the Property for which Lessor Is responsible under
                                         Section 16(b),and deduct such taxes paid from any payments otherwise due to LQIII1Or under.this Lease.                                      •••
                     17.      InifiliMaterfigiCr Lessor warrant* a.follows:.                           • •. • ••          .• • • . ..• • • •• • • •                         ..
                      ; • . (a)        • Lessor Is the soli legal and equitable owner, in undivided fee simple, of the surface and mineral estate, .
                                         that comprise the Property without limitation whatsoever;                 .•     .: • • . .'• •                      .       • : .
                             (b) . The Property is free and dear of all leases, liens, encumbrances and outstanding adverse claims and •
                                • ., Interests,lid of record;                     .      •    •• •           •
                            . (c).       Lessor has full power and authority to execute this Lease; • • •                         • •          -         ..        •
                       • . • (d) • RGC shall have the quiet and peaceful possession arid enjoyment of the Property', Minerals, and the
                                      " proceeds therefrom,*phut all persons or entities who may claim any interest therein..                                           •             •
                             (e)            ere has been no violation of any applicable Federal, State or local'law or regulation relating to zoning,
                                         There
                                         land use, environmental protection or otherwise with respect to the Property or activities relating thereto;
                            • :          and                    .                               .                                                 •  •.• •       ..          • .
                             (o•        This Lease,and RGCs right, title and interest hereunder, ahall at all dines be superior to, and have priority
                    ••              . •'over,any right,title or interest in the Property created during the Term of this-Lease. '                                 • .
                     18. 1.eatier rnierea. In entering Into this Lease, RGC is relying on Lesior's warranties of title contained in *Section
             17(Warranty of Title). Without impairment of those warranties of title, if Lessor owns less than the entire and undivided estate in
             the Property,RGC may(a)proportionately reduce 1111 payments otherwise payable under this Lease,(b)offset any prior payments
             related to the unowned portion aganutany future payments payable under this Lease, and (c) exercise any .other                        -,
                                                                                                                                                            available rights
        . or remedies.              ' .        • .
         ' . • /9..            Terrnisigtisa. RGC wilt have the right to terminate this Lease with ragar& to all or any portion of the Property . •
             at any time by sending a written notice to Lessor at least 00 days_prior to such termination. The termination will take effect upon. •
             the date spedfied in the notice. Upon termination, all of FCC's rights and obligations under this Lease-with regard- to the •
             Property or portion thereof specified.in the notice (the —Released Land") will terminate except for any Reclamation rights and
             obligations and any Minimum Royalty or -Royalty Payment obligations arising out of mining conducted on the Released Land
             prior to such ternunatIon. In the event of a partial termination, this Lease will continue in effect with reaped to all Property                                             •
             except the Released land, and the term "Property" will thereafter -mean and include only, the retained Property and not ,the •
      • Released Land. After termination, RCC will execute, deliver and record a release confirming the relinquishment of the Released •
             Land: Nothing in this Section will negate any obligations RGC has under this Lease with respect -to Reclamation of the'Property. ...
             Notwithstanding the foregoing, RGC Will not terminate this Lease in whole or in part at any timepilor to the sixth anniversary• '-
             unless RCC also terminates all of its other mining leases in the Area.                 .           .                ,.               •-             •            .
                .    20. • *, 2.5tJe DOCUM{IlaS, Lessor will promptly provide to RGC copies of aU documents which Lessor now or in the •
             future possesses, relating. to or. affecting title to the Property, including but not limited to: title insurance policies, deeds,•
             mortgages, trust or security deeds, boundary agreements,judgment*, liens, orders, surveys, boundary descriptions, maps, wills
             conveying an Interest in the Property, trust Instruments, leaser, licenses,.easements and rights-of-way. Lessor will give RGC •
             notice whenever Lessor learns ofany matter which may affect the title to the Property,                   :At RGCs request, Lessor will sign and
      . deliver to RGC such additional formal assurances or other documents, in proper and recordable form, as may reasonably -be
       • necessary to carry outthe terms and intent of this Lease.' Lessor will inform-RGC immediately if Lessor fat to pay or discharge
              Lit a timely manner any promissory, note, mortgage, tax,or other lien upon the Property, and RGC may then pay it and be
        . subrogated to the rights of the holder thereof. Except for any taxes for which RGC is liable under this Lease, RGC will have the
             tight to offset,from s:ny payment otherwise payable,to Lessor under this Lease, all amounts.Paid by RGC to discharge any such
      , promissory note, mortgage,tax or other lien.                                                                                      . .
                     21. Compensation                                    . • '                                              -                   •              "
                      • .• (a) . principal Residence, if RCC proposes to remove Lessor', principal residence on the Property, RGC will
                                   .           -Lessor not lees than one year's notice of its intention to do so. At least •1110 'days prior to such •
                                         removal,RGC will compensate Lessor by snaking                       ant to Lessor equal to two tithes the then-present
                                         fair market value of suebresidmce                        a rim s determined by the average of two appraisals;one
                                    . • by an appraiser selected by Lessor, and one by an appraiser selected by RGC,from a list of six MAIor
                                          MA-approved appraisers compiled by RGC. Lessor may thereafter occupy the residence until.the one
                                          year 'retire period expires, at which time Lessor will vacate the residence to allow its removal. No
                                          residence will be constructed on the Property•during the Term of this Lease without the. prior written
                                          conient of both Lessor and RGC-•           . •         •.        •      • ••                  •                        .             .
                                                                                       .    -
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Case 2:25-cv-06135                  Document 1-1                      Filed 07/07/25                    Page 141 of 263 Page ID #:156
                               ' •(b) • . pther BWiçlings. If RGC Proposes to remove other buildines on the PrOpetty. RGC will give Lessor hot •
                                                                                                                                                                .
                                       .• besthan six months'.notice of Re intention to do's's. • At least 90 days prior to such removal, RGC will :
                                       •    compensate Lessor by making a Payment tiaeases equal to the approximate replacement cost of buildings
                                          • of that nature, as determined by the average of two appraisal.,by appraisers selected in the manner
                                      .. described in Section 21(a). Lessor will cease using the.relevant buildings 30 der prior to the proposed
                                    • • . removal and will facilitate removal in all respects. .        ,• •         . •-•           . .        • .
                        22         Thkg-L8gdy_Cla.thig. If RGC learns that a'third party may have a debit of Ownership in any portion or .
                 percentage of the Property or any payments under this Lease, RGC may deposit in a special escrow account(with a bank or title
                 baurance company located in Virgunalany payments otherwise due to Lessor under this Lease and give Lessor written notice of .
             . the deposit. The SUMO deposited will remain in the .pedal escrow account until the claim or controversy Is resolved, or until
                 there hem been a final.determinatIon of tire claim or confroversy by a court or arbitrator,including any appeals therefrom...               '
                                  AddigiergaiWgi_MMACI3.14lagi-818.&4 14 during tiiir Term of this Lease               Lease, Lesser acquires any.right or ,
             • Interest in the Property or in any property adjacent or easements appurtenant thereto,(a) Lessor                  promptly trod/ RGC,(b)
               .any such right or interest acquired In the Property, which Lesser had in this Lease already warranted to be part of the Property, •
                 will become part of the Property subject to this Lease without any additional payment to Lessor,(c)RGC may,at RGCs opt(on,at • •'.
                 any time, lease any other such tight or interest on the sante terms as the terms of this Leese, and id) Lessor. will                        : •
                 acknOwledge, and deliver an Antendment to this Lease and to the Memorandum of this Leese to RGC,so as to include such right
              • or interest.             ' •         •  • •  ,   ..  •                         .
                     . 24. • Ratiatics." u the Property is' now or later owned in severalty,or in Separate tracts, RGC will neverthelese be
           • entitled to treat the Property as art undivided whole under this Lease, with all payments _payable undei the Lease to be paid
               (either directly or pursuant Co Section 25 (Multiple Owners)) to the separate owners of the Property In the proportion that their
           . ownership interest, measured in acres, or percentage ownership of acres, bears to the whole Property; provided,however, that in
                 no event will RGCs total payment obligations to the separate owners exceed the payment obligations that,RGC would have
             • Incurred under the Lease if the Property were owned in undivided fee simple by a single owner. .                     ; •-         .           ,
           •
                   . 25.          Matipkfhpiters. Whenever two or more parties are entitled to receive any payments under this Lease,RGC
                 may withhold any such payments unless and until all of those partlea designate in R recordable hutrumentain agent empowered
             • to receive all such payments and to.execute division and transfer orders on behalf of ell those parties and their respective
                successors in title. Delivery of any payment-due under this Lease to the designated agent fulfills. RGes:obligation to make that •'
                 payment to those parties.                ..       •                   .•          •
                        26.' Megpsirkerti. Both parties have the right to essign their rights and obligations under this Lease, in whole or                    .
           . • part; provided; however,that:                •                                                            '                                 • • . .•
                      •         (a)        .The party making such an arsignMent must give the other pa rtyprior written notice thereob• • •       •     •.
                                 (b)        The provisions of this Lease will apply to and be binding upon the successors and assign' of the respective •
                                            parties;           • •                      • .    •         .• •    ••.      . • •.      ,          .• . • •
                               ' (c)                                        • •
                                            Any change Or division in the ownership of the Pro_perty or'of the right to receive any payments under this ••
                                     •      Lease, however accomplished, will not increase ReR's total payment obligation,uncles this.Lease or ailed . • .
                                            RGCs rights to conduct Exploration,Operations or Reclamillon on the Property;.                       • '• • . •
            •
                                (d)         Notwithstanding Seaton 26(a), RGC may,without notice or consent, assign any of its rights or obligations. •
                                  • . • • to affiliates of RCC,or use the services of independent. „ contractors or agente.to perform any of its rights'or
                                    .• • . obligations;and •           .'1 • • . • •
                                (  e)       No assignment will relieve the assigning party of any obligations or liability toils, other party, unless the
                   . .                      *thee party provides a written release to the assigning party.: •                  „• •      • •• • • • • . • .
                   ,    27. forgeJlionsee. Neither party will be deemed in default under this Lease during any period in which its•
                 exercise or performance of Any of its. rights or obligations under this Lease Is_ prevented by .any.cause reasonably beyond ita •
            • controL Such an event is referred to in this Lease as "Force Majeure.' Force Majeure will include, but is not limited to the
                following: fire, floods,storms, hurricanes, tornados, winds,other damage from the.elements, declared or undeclared war,strikes, •'
                 labor disputes, :lots, civil unrest, action of governmental authorities, condemnation, eminent domain, crirne,lailure to receive
               • required governmental approvals, inability,to obtain water for Operations,a 'substantial fall in the market prices of Minerals,lack
            . of access,ltigatIon,acts of God,and ects of the public enemy. The Term of this Lease will be.extended for a period of time equal
                 to the period of Force hisjeure.• All such periods will be deemed to begin at the earllest time party is prevented from imernsing :
          : • : or perforating an of its rights or obligations by reasons of Force Maleure, „ •                      . -                     •      • •
                        28.                          Lessor and RGC represent and warrant to each oiher that no broker, agent, or finder has acted on.
               ,Itslieltelf in connection with this Leasedand that no commissions,fees, or other monies are due to any broker, agent,or finder. In
               • addition, Lesser and RGC will and do indemnify each other from all claims with respect tit any. brokerage,'finder's or leasing:
                 commissions In connection with this.Lesse or any of the transactions contemplated under this Lease.              •      . ••        .•
                        29. "" • auldentrugtion. LessOr will immediately notify RGC of any condemnation .proceerlino'thet• may affect the
                 Property. Lessor will cooperate with RGC in defending or settling the same. RGC may, in its discretion, defend its rights '
            ' independently of Lessor. Any condemnation award will be shared between Lessor and RGC as provided by law. Any
                 corideirtrted Property will constitute Released Lends,of the date of condemnation,and this Leese will continue in effect as to the
             • reinaleing Property. • -               •
                       „30.• • Dmplite_Resolittisa. Subject to the provisionit.of this Section, any controversy,claim, Or dispute arising out of , •
         •       or related to this Lease, or to th• formation, negotiation, or broach thereof, will be settled by. binding arbitration in Richmond, '
              • -Virginia before a single arbitrator,in accordance with the Commercial Arbitration Rulai of the American Arbitration Association. •.
       •          Any award of damages will be limited to actual, compensatory damages. Judgment upon the award rendered by the arbitrator
                  may be confirmed by,and entered in,any court having jurisdiction thereof: Prior to initiating any arbitration, the initiating party •
                  win give the other party written notice of the Claim, and will allow the other party 30 days from the date that the notice is u. •
                  received to amicably resolve the clitim, lithe claim- Is not resolved within the 30 day penod, the initiating party's 'sole and
           • • exclusive remedy will be to submit the dispute to arbitration. The parties will comply with any arbitration award within 30 days
                 of its Issuance, or as soon as ?meth:able thereafter, and the Lease will continue in full force and effect. In no event will the •
              . existence of any dispute_, arbitration or award suspend or otherwise affect any party's rights or obligations under this Lease, or •
                  interfere in arty way with RGC's Operations.                                    •.                              •           •. . .• .
            •       • • .34        ,thaagrfizirrice_nialar,&12peratigna: Lessor has not, and will not, during the Term of this Lease,
           ' take any action orgrant any right which would in any way interfere with RGC's exercise of itirights as getout in Section 4(Grant

                   . 32. •argimpUsglixrdiatitugrelagez. it either party waives Or does not :enforce any provision of this Lease .
               on any occasion, that action will not constitute waiver of: (a) that provision as to any other time, event or occurrence; or(b)any.
               other provision. -        ••      .                                   • •
               •




                    • 31,- ffigigri. Any notice given to the other party under this Lease'rnust be in writing, and sent by United States .
                registered br certified mail, return receipt requested, or via Federal Express Or similar overnight courier aervice, addressed to the
                address set forth on the first page-of, this Lease. All notices will be deemed to have been tirade when deposited In the mail or with
                the courier as provided above. Ail notices will be deemed to have been received upon actual receipt by any person attire address . •
                listed above. Either party may change its address for the :stalling of notices   _ .
                                                                                                    by giving the other .• party
                                                                                                                              . notice of such change Of .
              • address In the manner provided for in this Section. .                          •
             •'                 EntimAgmementjyajkaLifidificatim, This Lease constitutes the entire agreement between the
            •
                parties and supersedes all previous agreements, written or oral. Lessor hereby expressly acknowledges that;In entering into this •
                 Lease, Lessor has not relied on any oral or written statements made by RCC, its employee., agents or independent contractors. .•
                This Lease may only be modified by a written agreement in recordable form signed by. Lessor and an authorized officer of RGC. .
                       35.      chousestima. This Lease will be construed,interpreted and governed by the laws of Virginia;                      .• • -• .
                       34       ifiammstimy_gAdAmigng. This Costae constitutes a covenant running with the land and will be binding on,
            • and !mire to the benefit of, Lessor. RGC,and Lessor's and ROC' heirs,legal           representatives, executors,  administrators, succ
                                                                                                                                                   . ewes
                 and stairs,as the =se Filly be. • . •                               .                              • • •,• •                •
                                                                                                                                                        •   •

                       37_      SeveraNii&_ in the event that any court or -duly appointed arbitrator determines that any provislcm of this '
                 Ledae I. unenforceable, illegal, or in conflict with any Federal, state„ or local law, the parties will petition.(or will hereby be
           • deemed to have petitioned) the court Or arbitrator to reform that provision in such a way as to carry out the intent of the pertlei
                 to the extent permissible under Law. If the court or arbitrator declines to reform that _provision, then that provision will be           •
              ••considered severable horn therm! of the Lease,the remaining provisions of the 4/2150 will not be affected, and this Lease will be •.•
                 construed and enforced as if the Lea., did not contain the unenforceable or ill        provision.                   ..
                  .     38.• AfelittratinafrLIZuer.ainxrarga                                             ig0.-Errcrituitikg. -Lessor and.RGC do not •
                 Intend that arty provision in this' Lease will in any way...delete the'Rule Against Perpetuities or any related rule. U any such .
                 violation should occur, It Is the Intent of Lessor and ACC that the aooxcptlate court or arbitrator will.reform the provision in such     •
           ' a way is to approximate mast closely                                             e limits permissible under such rule•or related nil., and
                                                     osely Wit intent of the parties within tire
                 will enforce the Leese as so reformed.            •          • .•                . • •••.       •       •     • •      •
                                                         .    .
                                                                                         •




                                    •                                                                            • ...• , •



            . 4111TEMP2
                   •




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Case 2:25-cv-06135             Document 1-1                       Filed 07/07/25                 Page 142 of 263 Page ID #:157
                                                              -    •       . .          .                                    .•     •      •     .
               39:        Mernorandim., • At                                                                           of
                                                  lb.tin.this Lease Ls signed, the partieiwill sign a' Memorandum Lease which ACC will' •.
         record. In the event of a conflict between the terms of the Memorandum of Lease and this Lease, the terms of
         control.       . . : .                                                                                                  this Lease will
                                                               .      ..      .. . .          .        .     .     .     .      . .                 .
             • 40. Mortmatoe:Consent.• Lessor agrees to use Leisot's                best efforts to obtain promptly, and to provide to ACC a
         copy of,any consent to this Lem required by the terms of any mortgage or other instrument creating rights
          with respect to al/ or any part of the Property. Such consent, however, will neither affect nor be a condition superior   to this brans --
         effectiveness and enforceability of the Lease aslsetween Lessor and ACC.-                                             precedent to the
                                                                                                                ..               .
                41. Headings.. The headings contained in this Lease are for the.convenience of the parties.only, and will. not be.
         used in its int retttion.        •        •  • . •.                                    ..                                  .
               • 42. -             * najlaiZegalitralthaegic in addition to'other abilgations that survive;this.Leaseas set
         In this Lease, the parties' obligations under the following Sections of this Lease will remain in full force and effect following,forth
                                                                                                                                             and
                                                                                                                                                   • • -
         will not be affected by, the termination of, or expiration of the Term of,. this Lease; Sections 7-9,11, 14-15, 17, 19, 22,
         32-38,and 41-43.                                                                                                               24-26, 30,
                                                                       . ..                                         . ..     .       .
              ' 43.      AWE- Fria& During the Term of this Leak each party will act in good faith to fulfil the intent cil this Lease,
         and will meet with the otherparty to discuss and to try to resolve amicably any taloa that may arise. •
                                     •
                                                                                                                   . .
                                         •                             •




               IN WITNESS                    the parties have executed this Lease under stales of the date first above written.


                                                                             .    RGC(USA)MINERALS

                                                            MALI                 C`=
                                                                                  By:

           G. L. Parson, Jr.                                                      hr            Vice                   President
         (Print None)
                                                                                  ICORPORA       BAL./
             AKA George Lee Parson, Jr.
             AKA G. L. Parson                                                     Attest:
             AKA G. Lee Parson, Jr.




                                                 tte-A-416Arii                    STATE     ATILORIDA
                                                                                            .
                                                                                                                   —
                                                                                  COUNTY OP . CLAY
           Mary Elizabeth Parson'       •
         (Print Name)
                                                                                  The foregoing inatrument was acknowledged before me '
           AKA Mary •Butterworth Parson                                                         day • of February. •             pm- 1990,
                                                                                  this13
           AKA Mary B. Parson                                                                                            •
                                                                                  by Daniel P. Wolcott
           A1CA Mary E. Parson                                                                    President Of ACC (USA) MINERALS
                                                                                  as Vi f;
           AKA Mrs. G. L. Parson, Jr.
                                                                                  INC., a' Delaware corporation, on behalf of the .
                                                                                       ration..


                                                                                                            t'\NIISNQL
         STATEOPVIRGINIA •                                                        Notary Public .   •   .     •• • '•

         .GPFOCOUNTYOF                                                            My cma.FLis310
                                                                                               - 1 ExPirOblry PtMs. State .01   1.10a& .
                                                                                                    Oki Comitission• Expires May..71 1993.
         The foregoing instrument was acknowledged before me
         this / 41, day of                              1989,
         by G. L. Parson. Jr.. and Mary •                   •
              Elizabeth Parsnn, husband and
              wife



          My Commission Expires:
                             1-
                             0           q    9/
                14'Yea0I          1(j2e,
          Notary Public

         . INOTARIAL.SEAL)
         •




                                                                       155
Case 2:25-cv-06135   Document 1-1   Filed 07/07/25      Page 143 of 263 Page ID #:158




                                   EXHIBIT A.
                                : MINING LEASE .
                               ..BY'AND .BETWEEN

                G. L. PARSON, JR., AKA GEORGE LEE PARSON, JR.,
               AKA G. L. PARSON, and AKA G. LEE PARSON, JR., and
              MARY ELIZABETH PARSON, AKA MARY BUTTERWORTH PARSON,
                  AKA MARY B. PARSON, AKA MARY E. PARSON, and
                 AKA MRS. G. L. PARSON. BR.. husband and wife

                                 .    AND '
                                     . .            •
                            RGC (USA) MINERALS. INC.
                                     (two.




                                       156
Case 2:25-cv-06135             Document 1-1              Filed 07/07/25             Page 144 of 263 Page ID #:159




                     •      •                                                                               •
                 ' Indy the terns of the sbove-reftrencii Mining Lease, to which this Exhibit is attached, Lessor his
        laid to IOC, and grunted to DOC various rights regarding, certain reel property (including all Mineral rights
      ' and Minerals) referred to is the 'Property', Aid is situated in the . ' Stour Creek. • . Magisterial District,
         Sussex            County, State Of Virginia, which is hereby represented and warranted by Lessor to emegal to
       . 125.00 acres,                                                                                                 .
             . .       . which
                       tad    . .is described
                                     .         as.folio's:
                                                    .
         - • '                 •

        That same tract or parcel of land bequeathed to G. L. Parson, Jr.
        by Last Will and Testament of G. Lee Parson, Sr. (also known as G.
        L. Parson and.also.knoin as G. L. Parson, Sr.), dated May 3, 1966;
        recorded March 8, 1973, in Volume 23, page 430 through 436,of . the
        Clerk's office of Sussex. Circuit Court. Sussex County,. Virginia.   .
        To Wit: The farm that I own, situate near Concord Church in Sussex
        County; Virginia, and known as "The Walter Harrison Farm", across •
        State Road No. 619, from. Berry Ridout Farm, the • side where the home
        part is situated and containing approximately 125 acres.

       ALSO, being that saMeAract or parcel of land conveyed to .G. L.
       Parson, by Warranty Deed, dated February 8, 1924, and recorded in
       Deed Book 28 at page 519, in•Clerk's.Office - of Circuit Court of.
       Sussex County, Virginia: .To Wit-           all that certain tract
       Or parcel of land situated in the Stony Creek MagisterialrDistriet,: .
       County of Sussex, State -of Virginia; •containing.one hundred and
       twenty five acres, more or less - and .bounded.as            On the
       North and West by the Walker's Mill Road, On the,East by the lands
       of C. W. Parsons and Willis Roberson,.(Willis Robinson) and on the .
       South by the land of B. Wesley Barns: and the public road leading
       to Stony Creek, Virginia:      •
                                                                  •
       EXEMPTING from this tract of land all. mining operations for a. .
       cemetery, situated upon 0.50 acres, more or less and six (6) bulk -
       barns, situated upon 2.00 acres more or less.
                                                                     •. . .
       Subject property is referred to in the Sussex County tax records'
       as Tax Parcel Number 101-7.




                                                              157
Case 2:25-cv-06135                                        Document 1-1                   Filed 07/07/25                 Page 145 of 263 Page ID #:160
         SPL Roy Pol
     • • VA 8/89 • '

                                                                              EXIBBIT-13 •
                                                                                  TO •
                                                                            MINING LEASE                        •
                                                                        • BY AND
                                                             G. L. Parson, Jr. andB3
                                                                                   Mary                                  Parson,
                                                                                    husband and safe
                                                                                       (LeattOr)



                                                                    •        RGC(USA)MINERALS INC.
                                                                                    (RUC)
                                                                   RGC's Royalty Policy for Virginia Operationa
                                                               COPYRIGHT40 RGC(USA)MINERALSINC.1989

                                 This document sets forth RGCs Royalty Policy for Virginia Operations ("Royalty Policy"), which lereferred to in •
                                 Section 7(Royalty Payments)of the above-referenced Deed Of Minixig Lemur(Lease")and which is Attached to arid •
                                 incorporated into the Lease by reference.
                                                                                                                   . . , . .
     .               I. .12efirritions. The terms defined in the body of the Lease or anywhe'rein this Royalty Policy will have the same meanings
                       .• throughout this Royalty Policy. The following termswill have the following meanings: • -   •
                                     (a)     . "Principal Mineral? means Bitten
                                                                             . Re,Rutile and Zircon:. ., • •                •
                                     .(b)    . *Minor Mineral? means Minerals other than Prindpal Minerals..        .
                                                                                                           .                        ..             . .-
             •   • (c)       "Mineralized Property.' means that portion of the Property which RGC estimates, using the then most current
                             drilling data and survey information, contains Minerals-bearing sands which have a minimum dredgeable depth
                  •          of IS feet and which have a cut-off grade of two percent(2%) by weight average Minerals content. All lump sum -
                             payments under Section 6 (Initial Payment and Advance Royalty Payments) of the Leese ere based on the .
       •                    •Minerilized Property as of the Lease Date, and subsequent changes In the acreage ..       of the Mineralized Property will
                             not affect the lump sum payments:            - , "•.           . . .                                  .                  .
                                                                          .     • •            •                   , •          • -        ..
                   (d)       "Sales Value per ton of each Mineral" means the dollar value per short ton'dersved by dividing (1) the actual dollar .. .
                             sales of each Mineral following processing by the dry • plant (net of returns, safes taxes, sales discounts and.
                             commissions but not net of settlement discounts) for the calendar quarter ("Queries") which is the'subject of the • •
                             Royalty Payment calculation, by OD the total sales tonnage for each Mineral in that Quarter, subject to the .
                 •           exclusion of sales to affiliates contained in Clause 9(Sales to Afailain)below. ' .           .
                                                                                                                         ..       .              . ..
                                                                                                                                       '    •
                    (e)    • 'Lessor's Stock Account" means the account Maintained by RCC in Lessor's name for the purpose of tracking and
                           • reporting production, inventory and isles alloceitions sriade with respect to salable Minerals attributed to the
                           . Property, and for the purpose of calculating and accounting to Lessor, through .the Stock Report described In
                             Clause 3below,for any Royalty Payments. •              , . ' • .                                                    .
                                                           • •• •                                        •                  • •      •            • •
                    (1)      "AU Stock Account? means.the Lessor'. Stack Account and all other stock account. maintained by RGC for other .
                              properties on which RGC engages in .Mining   . (its defined in Clausefi(b)fi) below).  '     .   .
                                                                  .                                   •
                    (g) . 'Recovery Rate" for    . any treittment•of material le the.weight of materiel that in present alter that treatment diVided '
                              by the weight of material before treatment,expressed 14 a percentage..• .            . •. . -. . '• , • ..' . .
                                    .                    .                 .                  .    .             .               ..                     •. ,
            2. Ogralating.Rtzyn1tir,4. This Royalty Policy setsforth the methodology to be used in determining and reporting the
            Royalty Paymenbuiayabie to Lessor under the Lease. By signing the Lease Lessor.egrees to               that methodology,   including but not '
         'limited to(1) RGes method of attributing Minerals to the Property as set forth it Clause 6 below,end (ii) RGCs method of
     •      calculating Royalty Payments as set forth in Clause 7(Royalty Payment Calculations)below.
          .                                                                                             .. .                                  •
            3. Siorianylitat_argLIStstriairoxt From the commencement of Mining (as defined in Claim fi(b)(i)), on the .2 .
        • Property until such time as RGCs obligation to pay Lessor Royalty Payments has been fulfilled, RGC will establish and maintain . •
            Lessor's Stock Account and will send to Lessor within 30 days after the end of.each.Quarter it written'repert (*Stock Report") on
             ... status of Lessor's Stock Account. The Stock Report will show:• .
         • the                                                                                        • -.              .
                     •   '           . la)     The.tons of saleable Minerals attributed to the Properly for the Quaiter(see Clause6below);'
                                     (b)     • Sales from the accumulated tons of rateable Minerals referred to in Clause 3(a)above; .   .:   • .
                                 •   (c)       Any Advance Royalty Payments Paid during the Quarter in accordance with Section 6 of. the Lease; • ...
                                      (d)     •.Any Royalty Paymentpayable for the Quarter pursuant to SectiOn 7(Royalty Payment.)of the...Lease; . . ,
                         (e)       A reconciliation of Advance Royalty Payment, and Royalty PaYments tO Lessor pump:int to Section i (Initial
                                   Payment and Advance Royalty Payments);and Section 7(Royalty Payments)of the Lease.'
                                       •                                                                                             • . ••     • .• '
                 •


                     . -. .
                    The Stock Report will be certified as accureteby RGCs Operations manager or a senior financial employee. By     .   igning thb Lease,
                  - Lessor agrees to preserve the confidentialty of the sales and production .information
                                                                                               .          in all Stock Reports • ; •
                                                            •                 .    .       .             . .              .     . ..            •    . •
                   .4. Roygity_Thift. RGC will pay Lessor a Royalty Payinent equal to eight percent (II%) of the Raton Value per ton of each
                    Mineral sold filial, attributed to the Property, as reflected In the Stock Account and as reported to Lessor  quarterly  In the Stock:
                 , Report.                      .                   . • .                 . ..    .            .                                       .
                                                                                                                            ..     • • . •        •
         •


                 • g.     aregVigyyjjati. Any Royalty Payments due for Principal Minerals attributed to the Pro            . pony will be paid withht 30
                 'days after the end of the Quarter in which 'such Principal minerals were sold (id, invoiced to the purchaser);and, for Minor .
                    Minerals attributed to the Property within 30 days of the end of the "Fiscal Year"(July 1 -June 30)in which they were sold. .

         •               6.            alkahklifingtatdiklinitailiak..ftiterb. Saleable Minerals are attributed to the'Property and to Lessor's
                         Stock Account as art forth below: .                        . . .       •  '    •
                                                                                                                                           " .
                                                                                                                                   . .
                                      (a)      RCC will survey, drill, and analyze drill samples from those portions of the property which it plans to mine, in
                                              'order to estimate the tons of Principal Minerals located therein.   •                       •
                                                           •                                                   •
                                      .(b)     production Of saleable Minerals is achieved by the following three steps in Rpc.Operations:
                                              (i)        'Mining',extracting and delivery of mineral sand ore lathe concentrator;'
                                                                                    •    • ••
                             •                  Olt      "Concentrating".- removal of non-onernercisl aiateriab.
                                                                                                                                . •              •
                                               (iii)     "Processing'-removal offurther non-commercial eand and separation int° saleableMinerals.
                                             . Each of these steps results in tecoVerY and loss of saleable Minerals deperiding'an the efficiency of each step and
                                               the nature of the material being treated. 'The Recovery Rate for each step
                                                                                                                       '  ,arise to a smell degree on a daily basis •
                                               and is determined by regular sampling and analysis ofthe material sa il passes through,sm.&step.



                                                                                              158
Case 2:25-cv-06135                      Document 1-1                   Filed 07/07/25                 Page 146 of 263 Page ID #:161
                                                                                                  ..   . .. . ...
              • (e)   The Recovery Rates for, given Quarter and the estimates and survey Information
                   .  6(a)above are used to estimate the tons of saleable Principal Minerals recovered       compiled pursuant to Clause
                   .. Those tons of Principal. Minerals are then entered in Lessor's Stock Account.    from the Property in that Quarter '
                                                                                                     • ' •"                .                .
                                                                                        • •• .             •            .           ... •
                (d) - Within 30 days of.the end of each Racal Year; RGC will apportion Its actual production
              •       for the year among All Stock Accounts..Ilia apportionment will be made in                  of saleable Minor Minerals
                   '. Principal Minerals amen All Stock Accounts for the.year. ' -                       proportion to the attribution of
                                                                                                 •           . . .               .. .
                            ••
          7
          . BackePayment Caladatiorks.
                         aingRapairsaimst •                                                                             •
                                                                                        • • •     •          •
                         O) . Within 30 days of the end of each Quarter, ROC will, deduct the total ton* of each'Principal Mineral
                          •   during that Quarterfrom All Stock 48CC01111t1S.                                                      sold
                                                                                . •,       •                , • .;
                         al/            • The tons of Prinelpil Minerals sold will be deducted from All Stock Accounts on
                                                                                                                              a•Mrst-In/First-Out"
                                        (Fla)) basis: Where production of saleable Minerals Is attributed.to several. stock accounts
                                   •      date,sales attributable toeuch production will be deducted from the affected stock accounts inon the sante
                         •                to the tonnage allocated on that datete such stock accouriti..,•                               proportion
                                                                                                           .••,• .
                                                                                                                 •
                                                                                                                                         •
                        (ift)             The sales thus attributed to the Property will be entered in Lessors Stock Account and reflected in the • .
                                          Stock Report. .      ' • • .. • • •
                        •.(lv)   RGC will calculate the Sales Value per ion for each Principal Mineral for the Quarter.
                                                                                                                            •     •
                        (v)     The Royalty Payment payable to Lessor for the Quarter will akal eight percent(8%)of the Sides Value tsar•
                                ton for each Principal !bimetal for the Quarter multiplied by e tons of each Principal Mineral cold which
                                are attributed to the Property for the Quarter as reflected In the Stock Account.                 ••
                         Minor Minerals Spi4                                            •
                                                                                                                                                 •.

                             .     ' Within 30 days after the'end of each Fiscal Year, a calculation similar to that,described in Clause 7(aXv)
                                     above, will be made for Minor Minerals and the result will be reflected in the Stock'Repart for the tut
                                 • , Quarter of the Fiscal Year.
               (c)       Adjustments             • .
                                                                                                                       •. . ,.
                                         - At the end of eachfiscal Year, ROC will compare Its actual annual Mineral production to the total tons of
                                        • Minarets attributed to All Stock Accounts in that year, If the actual produclion is less than the attributed
                                       • production, then the shortfall. will be deducted proportionately front All Stock Accounts. If the actual
                                           production exceeds the attributed production, then the CX063 Will be allocated proportionatelyamong All
                                           Stock Accounts.                                                            • • ••         . . • •
         8
         . commingling and StOvApiling..-R.Gc will commingle Minerals ham. 'the Property With Minerals from                     titer
          properties, may engage in Mining on more than one property hi a Quarter, and may in RGCs sole discretion from time to time
          stockpile Minerals depending on market conditions.

          9
          . Sales to Affiliated. RGC may in its solediscretion sell pert or all of its.MineraLs to affiliates of RGC.'In such event,the
           Sales Value per ton of each Mineral used in calculating the Royalty Payment will be tesed only on RGC,sales to non-effiliates. If
           such non-aMat• sales are less than 30% of RGC', total sales of the Mineral during the Quarter, then the Sales Value used in
           calculating the Royalty Payment will equal the greater of(a)the Sales Value based only on RGC'S sales to non-affiliates or (b)the
           indexed price for the Miners!, determined by multiplying (i) the Sales Value per ton of the Mineral last used in calculating a
           Royalty Payment times (11) the percentage change in the Producer Price Index -Titanium Pigments Index of the Bureau of Labor
           Statistics, U.S. Department of Labor (Code No. 6220209, 1982-100). Such percentage change Win be based on the change in the
           Index hoar the last month of the Quarter in which the Sales Value referred to in C' ause (i) was used to the last month of the
          Quarter for which the Royalty Payment is being calculated. . •                                         • .
                                                                                                  .                          . .
         '10. Most Favored Lessor. If ACC agrees, after signing this Lease, to .pay a higher Initial Payment.per acre,                 higher
           aggregate Advance Royalty Payments per acre(exduding any such higher payments'that mita from-either(Dan Increase in a
         • lease date payment which raises a lessor's total lease date payments to seven percent(7%)Of.RGC's then-current estiMat• of the
           lessor's 'total Advance Royalty Payments and Royalty Payments.or(Li) variations 1.11 Advance Royalty Payments that are based
           upon or limited by Claus.12 hereof),or higher royalty rates as to any other leased property in the Area, RGC will within 30 days
           of the more favorable lease pay Lessor any amount necessary to adjust retroactively payments previously_ received by Lessor to
           the more favorable levels, and the more favorable levels that are prospective in nature will thereafter apply to this Lease. This
           Clause does not require that retroactive adjustments Include the time value of money. This Clause applies only to teases and not
           to purchases,options to purchase,purchase-leaseback arrangements or other arrangements. • . • .
                                           •                                                                                         •
               rillalaktifillie4fifiing.
                                                               . .
                 (a) • '.RGC will send Lessor written notice when it ha's completed Mining on the Property. '            '.           ..
           • . • (b) '. The next Stock Report after such notice will contain a reconciliation comparing(0 the total Of all /loyalty Payments
           and Advance Royalty Payments paid to date, with (ft)the product obtained by multiplyilig.the total number of acres of the
           Property from which RGC removed the topsoil in preparation for Mining times. $3500-per-acre average ..Mialeuuri Royalty
           provision in,Section 8(Minimum Royalty) of the Lease. •                            , •      .•   . . ..•      .... ,•    .      •      .
         -       (e)       U that Stock Report reflects that all tons of Minerals attributed to tbe Propert have already been sold, that Stock
           Report will be Lessor's last Stock Report And final reconciliation, and Lessor will be paid ft any Royalty Payments payable for
           that Quarter, and (Utile cued payment, if any, required by the $3,5001ser-acre average Minfilltarn Royalty, provision (the 'Final,.
           Payment"). The Final Parent will equal the amount,if any,by which the product described in Clause 11(b)(ii) exceeds the total
           described
             - • (d)       If that Stock Report reflects that any ions of Minerals attributed to the Property have riot yet liseeneold, Lessor will
           be paid any Royalty'Payments payable for that Quarter,andlessor may elect, by seading written notice to RGC Within 30 days,
           to either: (i)forfeit all rights to future Royalty Payments with regard to all unsold tons and receive the Final Payment, if any,
           determined In accordance with Clause 11(c)•above; or OD continue Lessor's Stock Account in existence, and defer the final
           reconciliation and Final Payment, if any, until all such unsold tons are sold and the Anal total of all Royalty Payments and
           Advance Royalty Payment,can be used in -determining any Final Payment due.'        ' •           ' '                              .
                                                          .               .- ' ..                                                         . .
         • 11 4dga           Kajtul eaymzzt 7Ofp                                                               " At least one year before RGC
           commences Mining on the Property, RGC will estimate, using the then most current,drtliling data and survey Information, the'
           tons of Minerals located therein. Using_ the higher of this estimated tonnage or ''s   , I 7-37       tons and.applying reasonably
         • expected Recovery Rates and prices, RGC will In good faith estimate the total sales value of the saleable Minerals recoverable
         'front the Mineralized Property. The Advance Royalty Payment equal to '70% of Estimated Future Royalty Payment.'set forth In
           Section 6(Initial Payment and AdVance Royalty. Payntents) of thelease will be determined by(a) multiplying the estimated total
           sales'value times the eight percent(8.%) royalty rate,.(b) multiplying the'result by seventy percent (70%), and (c) deducting
           th.erefrom all Advance Royalty Payments previously made under the Lease. .. •
                                                  .                     •    •. .        - ••• .                   •                       ..
           13. NoAdiangrataatitigitticoakirticntsdion,t..Beatuse.Olthe inherent uncertaloties in Making projection& and
           estimates which may affect Lessor's Royalty Payments, Lessor;in deciding Whether to enter Into this Lease, should not rely upon
           any representation, written or oral, as to the likelihood or Woe of Royalty Payments. and Lessor should bear In mind that the
           $3500-pereere average-Minholun Royalty provision contained in Section 8(Minimum Royalty) of the Lease applies only If RGC
           engages in Mining on the Property,'and even then applies only to the total number of acres from which RGC removes the topsoil
           In preparation for Mining. Lessor acknowledges that Lessor understands the foregoing sentence and Lessor agrees that Lessor,
           Iris not relied upon any representation, written or oral, as to thelikelihood or value of Royalty Payments.     - •            .
                . .              . ..      .            .      .. .                                            . . .            •
                               •                                                  •••. .




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Case 2:25-cv-06135               Document 1-1                      Filed 07/07/25               Page 147 of 263 Page ID #:162
          STATE OF VIRGINIA .
        • COUNTVOF       Sunntsx • •
                     •
                                                           MEMORANIX/KOF MINING LEAS$
               'ROC(USA)Minerals Inc., a Delaware corporation;("RCM and

        .rLessor'')have entered into a De'ed of Mining Lease dated •          Oc.talse.r• •13. 1989 •
                                                 • ("Lease), the terms of which are incorpinated hereiti by reference. The Ins, provides
        .among other things that: ..
                                                                                                                  •.
                1. • RGC, as tenant, has leased from Lessor, as landlord, the Property desaibed on'Exhibit A to the Lease, which
         exhibit is also a' ttached hereto as Exhibit A. .       . .                                                     S.
                2.      Lessor has granted to RCC the right to explore for and mine various minerals on and under the Property and to
       . conduct mining-related operations on the Property. • •
                                                                                                    .      .
             • 3. • The term of the Lease begins on the date of the Lease set forth above an.d continues for.a period of 20 years,unless
         earlier terminated or temporarily extended pursuant to the Lease.            -
          .     4.       During 1t8 term,the Lase is binding upon any successors to aS or any portionnf Lessor's interest In the Properti..
                       The Lessor's name and address are:
                        • C. L..Parson, 3r.• and Mary Elizabeth Parson, husband and wife
        •
                          Route 1, Box 60           •     • •     • • . •
                       • Stony Creek,, Virginia                 .
                                                .      •      .• . .             •         . . •                .
            .      . RGC's name and address are RGC(USA)Mineral; Inc., Attention: Lend Manager, Warner Road, P.O.Box 1307,
          Green Gov* Springs,Florida 32043. •                        •   •. • • •  •   •
                IN WITNESS  *IIEREOP, RGC                    and    Lessor     have   executed * • this   Mentor:U:4i=    ..of   Leas
                                                                                                                                   .. as
                 October 13, 1989 • •  •                     ••




         G. L. Parson, Jr.
        (Prim Name)
          AKA George Lee Parson,
          AKA G. L. Parson
          AKA G. Lee Parson, Jr.




                                                                             STATE OF'       FLORIDA

          Mary Elizabeth Parson                                              crrucOUNTY OF          CLAY
        (Print Name)         • .•   .
                                                                             The foregoing instrument wai acknowledged before me
          AKA. Mary Butterworth .Parson                                      thisj3. jay of February                        19 90 ,
                                                                                                                   .
          AKA Mary B. Parson                                                 by nap;al P         Wni CrItt       •
          AKA Miry E. Parson                                                 as        Vi rP .           .   President of RGC (USA)
         'AKA Mrs. G. L; Parson, Jr.'                                        MINERALS .INC., a Delaware corporation, on behalf, of the
                                                                             corporation. '
                                                                                Control   1L tree •              •      NOW/ WA,Stale of %Ma
                                                                                                                     My Commission Expiies May 21, 1993
          STATE OF VIRGINIA                                                                                              leaLA 114... T.,t., 1......,, 6,,,,
                                                                             Notary Public
          CITY/COUNTY
                .     OF 1,444-4-4-1
                                                                             (NOTARIAL SEALi
          The foregoing instrument was acknowledged before
          me this _12Ltday of a..PATFe.—               19            ,
          by G. L. Parson. Jr.. and Mary
              Elizabeth Parson. hu band and
               wife



          My Oemmission Expires; atAtt--.....J         J    °lei

         • %,:..-":114rws,
        . Notary Public
         (NOTARIAL SEAL1




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Case 2:25-cv-06135                Document 1-1                    Filed 07/07/25                   Page 148 of 263 Page ID #:163
        STD Lee**
        VA 8/139
                                                         DIMD OF MINING UKASE


                 THE pimp cit MINING LEASE,letcludiog.the attached Exhibiti which areincorporaled
                                                                                                             herein by thL,
                                                                                                                              reference,byrLeaasne"d)
                 made      and    entered       'into   on          Oc.tober 13.,                         1989 • •
                                                '
         between •G.          yarson, Jr,. 141            _Geome Lee Parson, Jr.', AKA G. L. PartiOria and AKA
         G       Le                                                                                    IlutterWO       th Parson              AKA
                                                                                                                               husband and wife
          Route 1 '1)..ox (D. Stony Cre_ek.• timini                          2.1.8.412 •
         rLesaorl and REX(.SA)MINERALS'INC.,a•DeEtware corporation Who...add:els is Warner Road; P.O.'Box 1307, Green Cove
         Spring., Florida, 32043 CRCC.I. In consideration of the mutual prothises made in this •Lesuse,.and• other good and .valuabie
         conskleratIon,the reeelpt and sufficiency of which are hereby acknowledged,Lessor and RGC +erases follows:
               1.        ragfirteit.renriA. Any word or phrase that It capitalized and placed in qisolations la.thie 1.41eee is a' defined term
       " and when it fa capitalized will have the same meaning throughout this Lease. •          .
               2 .       eigame. The_ purpose of this Lease is to allow RCC to explore for and, at ROC'. sole discretion, to mine,
         remove. commingle and sell Minerals". front the Property, to use the Ptyperty to mine Minerals from the Property or other
         property, and to oot;duct related salvia's. "Mineral. means the following group of minerals arid mineral products: Ibnenita,
         Leuccotene, Rutile, Zircon, Stattrollte. Kystnite/Sillithanite, Monazite, Renotune, and Garnet, and eseochated by-products. Title to
         any Minerals mined shall, if not aireadrvested in RGC, peas to RCC as they are severed from the.Property.
               3 . . Gr,Fultiticanc. Lessor s hereby knaes to RGC the Property (as defined on Exhibit A), on the terms and
         conditions In this Lease.             .           •
                4.       (frant,olliiititts. Lessor grants to RGC the following exclusive rights with regard to the Property:
                        (a)       To enter the   Property  to survey, explore, drill, teat, and *ample (the foregoing activities are defined as
               •                  *Exploration");                                                  •
                        (b)       To CieRf the Property of such buildings (subject to Section 21 (Compensation for Buildings% other
                                  structures of o acles earth, standing timber, plants, and such other things or material that dGC,irt.its
                                  absolute discretion. weshee to clear from the Property, to exercise its rig, his as set out In this Section 4; to
                                  construct, relocate, use or remove roads, power-anti communication KUM', dredge pond.; tailing ponds,
                                  settling ponds, pipeline., buildings, storage facilities, canals, teilings, signs, gates,'fences, and Other
                                  kructure. and !talkies On the Property; to take mop, to prepare for CAMAS on the Property; and to
                                   develop, mine,.crOsemine, dredge., remove, concentrate, eel:mode, commingle, stockpile, haul, process,
                                   ship, and sell Minerals (the foregoing             whether conducted on the Pro_pertY or on other property
                                  In.Dinwiddi and,Su mot Counties,Virginia (*Aren'),ere defined est "Qperatlona*);
                        (c)        To ute the Property to store, transport, or dispose ai Minerals, water,            a" nd material resulting from
                                   RGCeOperationt;
               •         (d)      To use water froth or appurtenant to the Properly and •Cri drain through and front the Property and to
                                   thaw into any mute.irs the Property any water from RGCs Operations; •
                        (e)        To take all steps to accomplish Reclamation(as dean...din Seetion.14)of the Property; .         •
                        ( 0        TO use     easement., means Of access,and rights-ohway irons and to the Property;and
                         (g)       To use the Property for the.purpOies deelathed          fld3 Seeder', Lel conjunction with RGC's Exploration,
                                   Operationsandltechimation on other property.
                 Notwithstanding the foregoing, RGC ia'not granted the tight under this Leese to construct or operate on the Property•
          processing plant for the final eeparation of the concentrate into saleable Minerals.
                          l nsfidegfeg. This Lea's' will begin on the date rim written above and will end 20 years thereafter, Ulthtel(a)
          the Les*. Is wide; earliSr under Section 19 (Termination),(b) the Lieu is automatically terminated by RCCe /Whim for reason.
          other than a temporary Inability to obtain-through diligent efforts all necthaary gomirnmental permits and authorizations, to
          commence Wining'(as defined             the Royalty Polley) in the Area by the eiehth anniversary of the Lease or (c) the Lease ft
          automatically extended to allow RGC to complete ongoing Operations or. the Property. If so extended, the 1:aase ahall terminate
           upon Si.. earlier of written notice from RGC pursuant to Section 19(Termination), or the,pasaage of a period of 180 consecutive
           day. in which RGC conducts no Operationa an the                    'Term* means the period of time during which this Lase Is in
          effect, and,in the absence of earlier termination,Includes both the initial 20-year term.anthanxextended term.
                 6 .      InituaPaynscitt and:Advance Ikea* PayraCDU. Subject to the terms and conditions of this LasSe,
           RGC will pay to Lessor, dosing the Tam Of title Lease, on Or before the date* indicated the following hoop aunt payments and
           payments per acre of the Property retained under the Lease auto'time of Ulf payment:

             •          Payment Date                                   Parnent Type                    Payment
             Lease Date                                            initial Payment                     S250 per acre
             Lease Date                                            Advance Royalty                     $750 per acre
             Oil Of before December 31                             Rental Payment                      $IS per acre
             of each year following the
             year We Lease is signed

             Earlier of(a)'Minin_g'(as                              Advance Royalty                  S10,000.00
             defined irl Royalty Fatty)                                                              lump sum,equal to $1000 per acre of
             in Area or(b)Fifth Anntverary                                                           'Mineralized Property'(as defined in
                                                                                                     Royalty Policy)

         Tenth Anniversary If no                                    Advance Royalty                    $10.00.00
         'Notice of Mining (as                                                                         lump sum,equal to 81000 per AMR of
         defined in Section 9)given                                                                    Minernllzed Property,eutoect to"70%
                                                                                                       Limitation'(as defined la Royalty Policy)
             Fifteenth Anniversary if no                            Advance Royalty                     g10,000.00
             Notice of Mining given                                                                     lump stun,subject to 70% Li.mitatiort

             Notice of Mining                                     • Advance Royalty                     70% of Estimated Future Royalty
                                                                                                        Payments(as defined in Royalty Policy)

             The Initial Payment and all Rental and Advance Royalty Payments paid to Lessor are non-refundable. The Advance Royalty
             Payments paid to Lessor will be credited against any Royalty Payments otherwise payable pursuant to Section. 7 (Royalty
             Payments)end tray be prepaid by RGC. Payment to Lessor of the payment-required upon Notice of Mining will eatisfy Iii fuU
              any obligation RCC may thereafter have to pay the Tenth and Fifteenth Atudversary Advance Royalty Payments.
                     7.      g1zsb1x.,.eayznenffI. RGC will pty to Lessor quarterly Royalty Payment. equal to eight percent (8%) of the
             Sales Value* of Minerals, attributed to the Property, which RCC Mines and Hos The Royalty Payments wW be deterniined and
              Feld in accordance with Exhibit 8,RGCs Royalty Policy for Virginia Operation* rRoyalty Policy"). .
                     : jkliainuun Rizycilty, if the total of all Advance Royalty Payments and Royalty Payment, paid to Lessor under
                     8
              this Lethe dots not average $3,500 per acre for all of the Propettj
                                                                                ,,frorn which RGC removes the topsoil In preparation forMining
             (-Minimum Royairyl, RGG will pay to Lessor the amount by which the Minimum Royalty exceeds such total. Any each yeyns.na
              will be determined and "id in accordancewith Clause II of the Royelty Policy.
                      a.               a riaa                         During Exploration, Lawlor and.RCC will work together to accommodate
              Lereoee normal ectleftfeo on the Property. ,RGC will give Lessor it least twelve months notice ("Notice of Mining") If RGC.
              Kiang will requite Lege°, to cease activides on the portion of the Property described in'the Notice of Mining. vow the end of
              the Dollies period, Lessor will have the right, but not the obligation, to remove for Lassoes account any crops, timber, buildings,
              Irrigation eyetems, fixtures or personalty of Lessor from that portion-of the Property. From the and of the notice period until RCC
              notWes Lessor otherwise, Lessor tell] cause all activities to cease on that portion of the Property. During &taw:nation, RGC. wW



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Case 2:25-cv-06135                   Document 1-1                        Filed 07/07/25                       Page 149 of 263 Page ID #:164
       work with Lmsor to allow lesser to resume.Cesium's Lessor           nonnel activities on the Property, ea goon as reasonably possible and as
       permitteci_by goveromentel reclamation requirements.                            and doe* indentnthIRGC from and agstriat any claims Asserted -
       i' gitrist RCC Atrial:1 out of theactivities oflmsor or Leseoes invitee.. Lester will be solely responsible for, and will bear all risk '
       Ca lees related to,any government allotment,subsidy, stabilization or conservalicin progrmns that may apply to the Property. •
             • 70.          Sgfret. Except as otherwise provided in this Lease, only RGC employees and visitors authorized In writirtg by
        ACC will be permitted on those parts of the Property on Which OperationsProperty.        ere being conducted. All RGC-authorized.vilitors and
                                                                                                                 •
        their vehicle.     will carry RGC !demi/10010n at NU:dines that they are on tit*                                        •
                                                                                                                       RGC .411 conduct its Exploration and.
        opendio„in compliance with all applicable safety laws and regulations. RGC will and does Indemnify Lessor from and ag,ainst •
         any deism (environmental or otherwiee) asserted against Leaser arisintout of RGC.                                   'RGC will. also indemnify . ssor
         from„snd pay Lessor for, setual damagea taused by RGC to crops, pasture,timber, fences, gates, roads and other improvements
         not described in Section 21 -(Compensation for Buildings), located- on any portions of the ?ruperty- that are not mined but are
         otherwise used by RGC in Its activities. RGC will in no event he liable for special or consequential-damages, and any payments
          made pursuant to the preceding sentence will be deemed full and complete COMO !Math:01 forthe'dorniges n question.
                            .FICIgliRkfAtAtaktarlj/K_VidAer_s_Ya&t.. •                                         tgLIM
                                                                                                                   .ii .       Nothing in this Lease or In the
          relationship between Lessor end ROC will constitute or create any                  express or implied duty en the part of RCC to perform
                                                                                                                 att..  ttc.Ca
          Exploration Of Operations, Or to mine the Property             at any rare. in any manner, or at                       Earth:motor. end Operation.,
          any, will occur only to the tratent end at-the locations and         times. and in the method* and manner that ROC,in its felf discretion,
          imy determine; provided, however, that ROC Property      will not conduct Operations within 200 feet of Lessor's principal residence or any
          principal resident.. on property adkiintng_the                    ,.or such.a way as to deprive any loch residence of acres, to a public
          road, utilities, and water supply until ROC complies With Sectionproperty       21(a)(Compensation for Buildings — Principal Resilience) On
                                                             or obtains  the adjoining              owner's written comma ((IS the Case Of an adjoining
          the ease of Lessee. principal -residence)                                     in the Area, then RGC wIl useits beet *Hotta to mine ail of the
           residence))    and  provided    further  that, U  RGC   engages  in Mining
           Mineralized Property that can be mined M., commercially              reasonable   manner.   „                       •     .     .      ,
                    13.             gpàoe WijF.Lag. Rtes activities on the Property will be conducted in compliance with ail
           applicable Vederal.State and        local taws and   regulations.
                     14. RdpsratUion. RGC agrees to comply with all State end Federal lows; regulations                            and permits applicable to the
                                                                                                                      by Virginia law, to ensure that all the
           Reclamation of the Property. RGC *Int agree.to post a bond, to .the extent required
       . Property which ROC mines will be reciainied in              accordance   with  law.  RGC    will  and does    indent's:tip Leseor from and against any
           dolma By State or Federal regulatory amities arising'horn ROC',faiiiireto reclaim in accordance with applicable laws,excluding
            claims caused In part.or In whole y               See. failure to cooperate with RGC in accordance with the term, of this Lease. RGC.
            Reclamation of any Property mined may include, bite not iscrlirnited to, realling the mined path with tailings discharged from the.
          .wet mill,dyking and eliminattne.settling ponds, replacing and grading the topsoil, reptentMg end otherwise complying with all
          • applicable governmental mclaotation.requuernents declamation?.
                     15. Audit. LOOSOf Will have the right at Lessor'. expense                to appoint an Independent auditor reasonably approved by •
            RGC(which approval Is hereby given if Leseor oppoints a national                firm in the United States of recognized reputation), to audit,
             not more than once in any year, RGC'.•tecordi relating                to the  determination     of Royalty Payment& for'RGCei 'Fiscal Year*
          (currently July t -lune 30)irnmedbitely preceding             sod% Audit. Lessor will instruct Lessee auditor to send a copy of his report to -
             RGC at the same time that he sends his report to Lesior. Also, Lessor will notify ROC In writing of-any objection. Lessor may
            have regarding Royalty Payment., within 60 day. of Lessees reeeipt,ol.LeSsoes,auditor's report., •
                     16. AWES. Taxes will be appintioned.erfel paid as fellows:
                        •     (a)        ROC will ,pay the following taxes or portions thereof: any mineral eeverence taxes related to RGC'
                                         Operations.; property taxes, pro-rated for the portion ,if the Property and the time period in which Lerma,
                                       . Is prohibited under Ude Lease from conducting activities; and any Increase In property taxes attributable to •
                                         the Minerals or RGC'.Operations.
                              (IS)       LOSSOf will pay all other taxer related to the Property, including but not limited to: any taxes on Released
                                         Land (as dazed in Section 19.(Termination)); any incorne, cavils( levy,estate,gift,succession, Inheritance,
                                         transfer or franchise teXt3;and any taxes attributable to LOOSOT's aCtiVaiOS on the Property. ,
                              (c)        Lessor will Send RGC copier of all assessmtmts, tax bills or other tax notices retnted to the Property or to
                                          RCC's Operations thereon within 14 tfays'Of Lesiot's receipt of the acme vein such shorter time as may be
                                         necessary to preserve the rights of RGC -and .Lessor to protest or appeal.the same. Lessor will cooperate .
                                          with RGC in any such prolest.or appeal. RGC may, in its .discretion, pursue such protest or appeal
                                        .indtsendently oi Lesser. RCC will in any 'event not be obligated to pay (I) any increase La taxes which
                                        • ROPC IS unable to protest or appeal due to Lassoes-failure to comply with this Section 16(c) or (ii) any tax
                                          bill which (1CC does notreceive atheist 14 days before the bill Is due. '
                              (d)         RGC May, but is not required to, pay any taxes on the Property for which. Lessor is responsible u' nder
                                 '        Section 16(b),and deduct such taxes paid from any payments otherwise due to Leaner under this Lease.
                     , 17. fauxunlyAntte. Lessor warrants as foliewo
                              (s)         Lesser Is the sole legal and equitable owner, in undivided fee Ample, of the surface and Mineral estates
                                          that comprise the Property without limitation whatsoever: '
                              (b)         The Property Is free and clear. of all (casts, item, encumbrances and outstanding adverse claims and
                                          Interests,not Of record;                                .       .                                           •    -
                              (e)         Leen:stiles full power and authority to execute till* Lena%                                   •
                              (d)         ROC    shall have   the  quiet  and  peaceful   possession    and  enloyMent       Of the*. Property, Minerals. and the
                                          proceed, therefrom,against all persons or entities who may clasm any interest therein;                    ' .             •
                               (e)        There has been no.viorietiortof any applictble Federal. State;or local law or regulation relating to zoning,
                            •             land  use, envirenteeetal    protection or  otherwise   with   respect  to  the   Property   or activities relating thereto;
                                          and •        -
                              (f)         This Lease,and RGC5 right,title and- intents',hereunder, shall at all times be superior to, and have priority
                                          over,any right, title Or istlerest in the Property created during the Tenn of this Lease. •
                       18. Urgem....alszori1 • l. .1n entering into this Leas.. R5:C ts relying On Lessor's warranties of title contained in Section
               17(Warranty of Title). Without impairment of those warranties of title;i1 Lessor OWINS less than the entire and undivided estate in
               the Property. RGC may(a)proportionately reduce alipayments otherwise payable under this Lease,(b)offset any prior payments
              related to the unowned portion against any future payments payable under this Lease;and (c) exercise any other available rights
               or remedies.                                                                                                                                       •
                       19. :Termination. RGC will have the right to terminate this Lease with regard to-all or any portion of the Property
               at any time by sending fl written notice to USSIOT at least 90 days prior to such termination. The termination will take effect upon
               the date specified in the notice. Upon terminStion, all of ROCa rights and obligations under this Leese with regard to the ,
               Property or portion thereof specified in the notice (the 'Released Land) will'terminate except for any Reclamation tights and
               obligations and any Minimum Royalty or Royalty Payment Obligations arising out of mining conducted art the Released Land
                prior to such termination. In the event of a parfial termination, this-Lease will continue 111 effect with respect to all Property
                except the Released Land, end the tercnI"Propettr will thereafter mean and include only the retained Property end. not the
                Released Land. After termination, RGC will execute, deliver and record a release confirming the relinquishment of the Released
                Land. Nothing in this Section            negate any obligations RCC.has under this Lease with respect to Ream:nation of-the Property.
                Notwithstanding the foregoing; RGC will not terminate this Lease in whole,or to part at any time prior to the sixth anniversary
                unless ROC she terminates all of It. other miningimam in the Area.                                                                •      •
                        20. aritie Document!. LAMM will promptly provide to ACC copies of all documents which Lesser now or in the
              • future possesses, relating to or effecting title to the Property, including but not limited to: title insurance policies:: deeds,
                 mortgages, trust or aecurtty deeds, boundary agreements, tadgments, liens, orders, surveys, boundary descriptions, maps, wills
                conveymg SO interest in the Property, trust °instrumento, eases, licenses,.esseinents and rights-ol-way.. Lessor will give RGC
                notice whenever Lessor learns o(any 'rioter which may /afoot the title to the Property. At RGCs request. Lessor Witrifig11 and
                deliver to ROC such additional formal assurances or other documents', in proper and recordable form, as may reasonably be
                 necessary to carry out the terms and intent di this Lease. Lessor will inform RG,Immediately if Lessor fails to pay or discharge'
                 le a timely manner any pcornissory note,. mortgage, tax, or other lien 000n the Property, and RGC may then _pay it and be
                subrogated tethe rights of the holder thereof. except for any taxes (Of which RCC Is !table under this'Lease. RGC will have the
                 right to offact, from any payment otherwise payable to Lessor under this Lease, all amounts paid by RCC to discharge any such
                 promissory note; mortgage,tax or other lien.
                                                            .LiVirAagl•             •
                                  ftri      Zihxtcipal Rtdcnct: if RGC.proposes to remove Lessor's Principal residence on the Property. RGC will
                                            give Lessor not less than one year's notice of its intention to do -so. At least -180 days prior to such
                                            removal, RGC will compensate Lessor try •ausking *payment to Lessor equal to two tbnes the then-present
                                            fair market value Of atieh residence(occluding land% ea determined brit,               * iever•60 of two aPPreisals•
                                            by an appraiser *elided by Lessor, and oneby.1111 appraiser selected by RGC,'home list oirsix MAI or
                                   •         MA-approved. appraisers compiled by ROC. Lessor may.thereafter occupy the residence- until the one
                                            year hoUce period exPiree, at which tine Leiser will vacate the residence to allow Its -removal.' No
                                            residence va be constructed on the Property during the Tenn Of this Lease without the prior written
                                            consent Of troth Lessor and RGC. '
                                                                                                                          •
             4l6TEMP2



                                                                               162
Case 2:25-cv-06135                      Document 1-1                              Filed 07/07/25                           Page 150 of 263 Page ID #:165
                               (b)         Qther 13uil4inek If RGCpropoaes to reirtowt-other bulidinge.on the Property. RGC will give Lessor not •
                                           less than six months' notice of its intention to do to. At Iasi 90 days prior to such removal, RGC will
                               •           compensate Lessee by malting a payment to Lessor equal to the approiumate.yeplacement cost of buildings
                                           of that nature, as determined by the average of two. appraisals. by appraisers selected in the manner
                           •              'described in Section 21(a). Lessor will caucusing the relevant buildings 39 days prior to the.proposed
                                        * removal and Will facilitate removal in all respects.                   .
                      22 .       nicassitLaging. If RGC learna that. k third party may have a clalin of ownership In any portion or
           percentase oldie Property Or any                payment*    under   this   Lease, RGC    may   deposit in a specitaeLcro      anvdr gafvco
                                                                                                                                                    om:
          tnsurance company located in Virginia) any payments otherwite due to Lessor under this                                                     :1 ::ivritrIttbaetil nkoot.cl
                                                                                                                                                                               rl eitoll
           the deposit. The Sumo deposited will remain in the special escrow account until the claim or controversy is. resolved, or until
           there has       been  a final  determination      of the claim  or  controversy    by  a court  or  arbitrator,  Including      any  lipped'   therefrom.
                     :23 . kismianakjargutftAzAwarcsiiiighu. IL .during the Tenn of this Lease Lester actiesiras any right or
           interest in the Property Or In any property adjacent or easements appurtenant thereto,(a) Linnet ;Still pftluinpay notify RGC;(b)
           any such right or interat acquired in the Property, which Lessor had in this !Asia already warranted tote part of the Property,
            will become part of the Property sublect to this Lease without any additional payment to Lessor,(ci RCC may,at RGCs option, at .
           any UM*, lease any other such tight or interest On the mune terms as the terms of. this'Lease, and (d) isSZOT Will sip.
        . aCk/lOW11141511, and deliver an Amendment to this Lease and to the Memorandum of this Lease to RCC,so re to include such ngnt
            or interest.
                 • 24. • Katipttioit. If the Property Is now or later.ewned in severalty or in separate tracts,. ACC will neverthelesi be
            entitled to treat the Property am an undivided whole under this Lease, with elf payments Ipaysble under the Lease to be 'mid '
          .(either directly or pursuant lo Section 2S•,(Multip1e Owners)) to the separate owner, of the Property in the proportion that their
         • ownership Interest, measured In acres or percentage ownership alarm,                            bear, to the whole Pmperty; provided,however, that in
            no event will RGCs total payment Obligation"                     to the separate owners exceed the payment obligations that RCC would have '
            Incurred under         the  Luse    if the  Property   were  owned     in.undiviried   fee eimple    by a single owneri..
                   . 25. . Mitheidsg_Qtrzricaf. Whenever two or moreParties are entitled to receive •ny payments under this Lease, RGC
            may withhold any iiitch 'payment. unless and until all of                   those  parties  designate    in•recordable Instrument an agent empowered
            to receive all such payments and to execute division and transfer Orders on behalf of all those parties and. their respective .
            successors in title. Delivery of any payment dui under this Lease to the designated agent fulfilliRCCs obligation to make that ,
             payment 10 those parties.                                                                                                   .. .
             •          26. Airatintroent. Both parties have the right to assign their rights and obligations under this Lettae,,in whole or In
             part; provided,however,that:                   '                                               .
                                 (a)         The party.malting such an assignment must give the other party.prior written notice thereof;
         •                       (b)         The provolone of this Lease will apply to and be binding upon the:successes. and assigns of the respective
                                             parties;                                                                                                              .       .
                                 (c)         Any change or division In the ownership of the Property ot of the right to receive any payments under this
                                             Lease, however accomplished, will not increase RGL.7a total payment obligation& under this                        .   Lase
                                                                                                                                                                      . or affect
                                              RGC's rights to conduct Exploration,Operations or Reclamation on the Property;
                                 (d)          Notwithstanding Section 15(e), RGC may,without notice or consent, assign any of its right& or oblisetions
                                              to affiliates of RGC,or use the services of independent contractors or agents to pedorrn any of ha rights or
                                              obligations; and                                   .                                                               . .
                                  (e)         NO assignment will relieve the assigning party of any obligations Or liabiliti to the other party, unless the •
                                 .       .    other   party   provides  a Written    release to the  aligning     party.  •                      ,               .
                     .
          •             27. Fsgrcji(agnim. Neither party will be deemed in default under this Lease during any period in which Its
               exercise or performance of any of Its               rights or   obligations    under   this  Leapt   in prevented      by    any   muse   teesonebly      beyond ha
               control. Such an event is referred to In this l-ease as 'Force Maleure.". Force Majeure will include, but le not limited to, the
               following: tire, flood., storm*, hurricanes, tornados, winds, other damage from the elements, declared or undeclared war,strikes,
        . labor dispute*, riot., civil unrest, action of government...I authorities, coridesinsitiOn, eminent clorrialri, crime, failure to receive
               saquhvid governs:I-motel approvals, tnabilny to Obiab't water for Operations,a substantial fall in the trierket prices of Mineral.,lack .
               discrete litigation, acts of Cod,and acts of the public enemy. t &Term of this Lease 4411 be extended for e period of time equal
               to the 1sec-tad of Force Misjeure. All •uch periods will be deemed to begin at the earliest time• party is prevented-from exercising
               or performing e_ny of its rights or obligations by reasons of Force Majeure. -                                     •      ,
                         28. IV Broker. Lessor and ROC represent and warrant to each other that no broker, egent, or finder has acted on
                ita behalf in connection with this          Lease,  and  that  no   commissions,    feel, or  other  monies      ire due   to any broker, Alien!, or finder. kt
              .addition. Lessor end RGC will and do indemnify each Other from all claims with respect to any brokerage, finder's or leasing
                commissions
                    •             In connection with this Leas'a or any of the transactions contemplated under this•Lease.'                                            .
                      . 29- Condemnation. Les* Will inttnediately.notibj RGC of any condemnation proceeding that may affed•the
                Property. Lessor will cooperate with RGC in defending or settling the same. RGC may, in sta discretion, defend its tights
                independently at Lessor. Arty condemnation award will be shared between Lessor and RGC as provided by law. Any
            'condemned Property will constitute Released Land as of the date of condemnation,end this Lease will continue in effect as to the
                remaining Property. •                                                                      i' '                                                                  .
           .         30. ,m,putatmian. Subject                                •




                                                                                to the provisions of this Section, any controversy, delay or dispute arising out of
                or    related  to  this. Lease,   or  to  this formation,  negotiation,     or breach   thereof,   will  be  settled    by   binding   arbitration    in Ri.di.mond, '
           . Virginia before a single arbitrator, in accordance with the Conunercial Arbitration Rule. of the Arrieflosn Arbitration Alsociation.
                 Any award of d•magm will be limited to actual, coaipectutoiy damages. JudgMent upon the award rendered by the arbitrator
                 may be COrtfirMed by,and entered in, any court having jurtsdiction'thereof; Prior to initiating any arbitration, the initiating party ,
                 will give the other party written-notice of the claim, and will'allovi the other party 30 day* from the date that the notice LS •
                 received to amicably resolve the claim. if the claim is not resolved within the 30 day period, the liViliaijneparifj sole and
         ' exclusive remedy will be to submit the dispute to arbitration. The parties will comply with any arbitration award'within 30 days
                 of its Issuance, Of es soon Ai practicable thereafter, and.the Lease will continue in hill force and effect.,in no event will the
                 existence of any dispute, arbitration or award suspend or otherwise effect any party* rights or obligations under this Lease, or .
                 interfere in any way with RGCs Operations.                       •
                         . 31. Niantafezzamgazugnzabrortiona, Lessoi has not, and will not; during the Term of this Lease,
                 take any action or grant any right       . which. would
                                                                      .            , way interfere with RGCs exercise of its rights as set out in Section 4(Grant
                                                                              ,in.any
                 of Rights)et this Lasso.                                           ... .                                             .              .                .
                           32.       No /in:Zed Or COrstiorring WarOcr. If either party waives or does not enforce any provision of this Lease
                 on any occasion, that action will not eonotitutawalver of:-(a) that provision as to arty other time, event or *emu-renal;                   .     .         or(b)any
                 other provision.    ,,,. _. _           .                                                              .•.                                .                  .
                           33. ..! ailim..)
                                         ...          Any.notice given to the other party under this Lease Inuit be in writing, and sent by United States
                  registered or certified Mill,'return ieceipt requested, or via Federal Express or alt11111: overnight courier vervice, addressed to the
               'address sit forth an'the first page of this tease. AU notices will be deemed to havebeen made when deposited in the mail or with
                  the courier as provideclibove. AU notices will be deemed to have been received upon actual receipt by any person at the addresa
                  listed above. Either party May change Its address for the mailing of oodces by giving the other party'notice Of such change of
                  addrest in the manner provided for in this Section. .                    ,..                           . ..                            • .
                            34. latimagrgaroport: No Oral..afargcrazou. This Lease corotitutee the entire agreement between the
                   partial and supersedes all previous agreements, written or oral. Lessor hereby expressly acknowledges that, In entering Into this
                   Lmtse,•Lesstif hen not relietion any oral Of written statements made by KC,its employees, agents or independent contractars.
                   This Leone may only be modified by a Written agreement in recordable orm signed by Lessor and an authorized officer of RGC.
                    •       35. . aoce..of.Z..ckw. This Lease will be construed,interpreted and governed by the laws of Virginia. '-                                    -
                                        - .
                       3:1 sLiataimuntAingal                                   TM!L61110 constitutes A.coVenant running with the lend and will be binding on,
                   and Inure to the benefit of, Leseor, RGC,and Lessor's and RCC's help,legal represantatives, executors, adrninletratora,successors
                   and assigns,as the case may be.                                                                ,.      .        .
                                                                                                                                                                                     '
                             37. .'Senseralaity. in the event that any.court or duly appointed arbitrator determines that.any provision of this
                    Lease ie   unenforceable,       Illegal, or  In conflict with any      Federal,   state,  or  local law,     the parties will petition (or will hereby be
                    deemed to have petitioned) the court or arbitrator to reform that'provislon in such a way as to carry out the intent of the parties
                    to the extent permissible under law. If the count of arbitrator declines to reform that provision, than that. provision will be
                    considered **actable from the test of the Lease;the remaining provisions of the Lease will not b."Sleeted, and this Lortlie will be
         . • construed and enforced ae II the Lease did riot contain the unertforceable or Ul el provielon. . ..                                    '              .                   .,
                             38.                                                                                                                          Lessor and RGC do not
             •      intend    that  any   provision    in  this  Lease  will  in  any   way  violate   the  Rule   Against   'Perpetuities      or  any  related   rule.     U   arty   such
                     violation should occur,it le the Intent of Lessor and RGC that the appropriate court or arbitrator will reform the provision us such
                    a way as to approximate most closely the intent of the.partior withbi the limits pesinissibie under such rule or related rule, and
                     will enforce the tease as so reformed.                 .                                                 .,




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Case 2:25-cv-06135
            .
                                  Document 1-1                     Filed 07/07/25                   Page 151 of 263 Page ID #:166
                                              .
             39. Hatrastasixin. At the time this Lease Is signed,the parties will sign ti Mernoranelsim of LeSttis which ROC will
       record. in the event of a conflict between the terms of the'&temorandutn of Lease and this Lease, the terms of this Lease Will

       .       40. MortragoLagutizat. Lessor agrees to use Lessor's best. efforts to obtain promptly, and, to provide.to ROC a
        copy of, any consent to this Lease recitdred by the terms of any mortgage's:a other Lnstrument aesting rIght.'s superior to add Lease
        with respect to all or any part of the Property. Such consent, however, will neither affect nor be a condition precedent to the
        effectiveness and enforcestnlity of the Lease as between Lessor and RGC.                                            .
               41.• uggedinsi, The headings contained In this Lease are for the convenience of the patties only, and will not be
       • used in its list ret!tion.                                                                                                 •
                42.              'ivat.§...terderaiiildan• in addition to Other obligations that survive this Lease as set forth
         In this Lease, the parties' obligations under the following Sections of this Lesse•wiR remain In full force and effect following,and
         will not be affected by, the termination of, or expiration of the Tenn of, this Lease: Sections 7-4, 11, 14-15, 17, 19, 22,24-26,39,
         32-38,and 41-43.             .               .
                43.    pcod &A.                                                       .                      .
                                            During the Tenn of this' Lease, each party will act in good faith to fulfill the Intent of this Lease,
         and will meet with the other party to discuss end to try to tesolve amicably any Issues that may arise.            . .




                                                                                    .       •
                 nv ?grams winateop,the parties have'estecuted this Lease under seal as.of the date first above written.

           OWNER

           ;2; `4 •(4 :At..4.4                              faEALI
             G. L. Parson, Jr.                                                   Its:       Vice                         Ptesident
           (Pdnitstsmo   '
             AKA  George Lee Parson, Jr.
                                                                                (CORPORATE SEAL)
             AKA G. L. Parson                                                    Attest:
             AKA G. Lee Parson; 'Jr'.
                                                                                 he:                                     Secrentiy


                                                                                 STATE cit FLORIDA
                                                                                 COUNTY OF     CLAY
             Mary Elizabeth Parson
           (Pant Nun.)
                                                                                 The forgoing instrument was aciusowledged before me •
             AKA Mary .Butterworth Parson
                                                                                 thin 13      day Of February,                —ppm 1990.
             AKA Mary B. Parson
                                                                                 by -Daniel P. Wolcott
             AKA Mary E. Parson                                                       ce   Preeideni of ROC (USA)      MINERALS
             AKA Mrs., G. L. Parson, Jr.
                                                                                 INC, a Delaware corporation, • on behalf of the
                                                                                    oration.           • .


            STATE OF•YIEGINIA                                                     Notary Public ,

            amcouNrY OP            '                                              My CorncnissiONOTruedru. Stet oi Pe"
                                                                                              My Commission Expires May 21. 1993
            The foregoing instrument was acknowledged before me. '                               Iwo,. Then Teosh Loewe fay
            thte             day of                      • 1989,                                                                •

            by G, L. Parson. Jr.. and Mary
                 Elizabeth Parson. husband AAA                     •             [NOTARIAL SEAL)
                 wife :




            My Commission Expires:




             Notary Public

            • [NOTARIAL SEAM




                                                                               -4.
             41STEMP2.


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Case 2:25-cv-06135                  Document 1-1                       Filed 07/07/25                  Page 152 of 263 Page ID #:167
                                                                                                                            Hb5,
          STD Lease
          VA 5/59
                                                            DEED OF MINING LEASE

                                                                            •    ..
                                                                                                             capv
                  THE pgrEDOFk421141a5G LEA-SE;including the attached Exhibits which are incorporated herein by thi. reference,
                                                                                                                               ("Lease)
          is      made       and     intend,      into     on           October 13,                             089                        by      and

          between G         T,     ytion      Jr.        AKA George Lee Pars;an_ Jr., AKA G. L. Parson, and AKA

           G     Lee Parsnn. Jr.. and tary 4ilikeLLEersnr                                     .; i-ry Butte_rw9ztll Payspn 'AKA

           Mary E— Parson                 AKA Mary _E; Parson,_and AP). Mrs.: G. L., PaTun_ Jr., husband and wife


                       and occ(um)a,narKRALS INC.,•Delaware corporetion'whom address Is Warner Road,P.O. Box 1307, Green Cove
          Spring., Florida, 32043 ("RGC"). In consideration of the mutual promises Made In this Lease, and other good and valuable
           coosideration, the receipt and sufficiency of which are hereby acknowledged. Lemur and RCC agree.. follows:                   •
                  1.         Drfintstrenna. Any word or phrase that is capitalized and placed in quotations in this Lease le i defined term •
       .   arid when   it is capitalized will have  the sante meartingthroughOurinis   lease             •
                  2.         eurpits4 The purpose of this Leas. is. to allow RCC to explore for and, at RCC-s.sole discretion, to mine,
           remove, commingle, and set' Mineral* front the Property.          to use the Property to mine Minerals from the Property or other
           property,   and   to conduct related setivitles. "Mine.nris mesti. the'(flowing irroL.   P o acni
                                                                                                          mnee
                                                                                                             ,re
                                                                                                               anledaanstoo
                                                                                                                          ctne
                                                                                                                            t.cralrrpoludete: .
                                                                                                                                i b.          11.isetinet
                                                                                                                                                       u
                                                      Kysnite/SOUrnenite,  Monazite,  Xenotune,
           Unscoaene, Rutile, Zircon, Sunarolite,                                                                                                        to
           any Minerals mined shall, If not already vested in RGC, peas to RCC a they are severed from the.Property.
                  3_         arjzok_of Lease_ Lessor hereby lease, to RGC the Property (as defined on. Exhibit Al, on the tenzus and
         • conditions in this Lease:
                  4 .         Grant ofRigh.k. Lessor grant, to RGC the following exclusive rights with regard to the Property:
                             (a)      To enter the Property to survey. explore, drill, test, and sample (the foregoing activities ere defined as
                                   '   Exploration");
                            (b)       To clear the Property of such buildings (subject to Section 21 (Compensation for Buildings)), other
                                      structures or obstacles, earth, standing turibm, piants, and such other thing, or material that KCC,ins it.
                                      absolute discretion, wisheato clear from the Property to exercise it, rights... set out in.this. Section 4; to
                                      construct, relocate, use, or remove roads, power and communication fines, dredge pond*, tailing pond.,
                                      settling ponds, pipelines, buildings, storage facilities, canals, tailings, signs, gates, fence., •nd other.
                                      structures and facilities on the Property; to take step, to prepare for mining on the Property; and to
                                       develop, mine, a-o.s.mine, dredge, remove, concentrate, asp...ate, commingle, stockpile, haul, procees,
                                       ship, and ad U Minerals (the foregoing'activitim, whether conducted on the Property or on other property
                                       in Dirswiddle and Suseex Counties, Vitgirsia (-Are."), are defined as "Operetta:ie."):
                             (e)      To isee lb. Propartyro store, transport, or dispos• of Minerals, water, tailings, and material resulting from
                                       ROC.Operation.;
                             (4)      To use water from or appurtenant to the Property and to drain through and from the Property and to
                                       drew into any course in the Property any wafer from MC.Operations;               •
                             (e)       To take all steps to accomplish Reclamation(as defined in Section 14) of the Property; •
                             (f)       Tons.aU easements, means of access,indrights.of-way from and to the Property;and
                             ( g)      To use the Property for the purpome described in this Section, in conjunction with ROC. Exploration,
                                     . Operations and Roe-Unladen on other property.
                    N otwithstanctLng the foregoing. RGC is not granted the right under this Lease to construct or operate on the Property a
             processing plaint for the final separation of the concentrate into saleable Minerals.       • .       •
                              rerransif.artp. This Leone Will begin on the date first wrItten.above arid will end 20 yarns thereafter, unless (a)
             the Lease is ended earlier under Section 19 (Tertninetionl, fb)    the Lea's. is automatically:terminated    by RGC.LaMar", for reasons
             other then • temporary inability tothe     obtain through diligent efforts all necessary governmental permits and authorizations, to
             cornone•
                   w       "'Mining (es defined            Royalty policy)in the Area by the eighth anniversary of the Lease, or.(c) the Lame is
             a utometiolly extended to allow RCC to complete Ongoing operations on the Property. if so extended, the Leas* shall terminate
             upon the earlier of written notice from RGC pursuant to Section 19 (Termination); or the passage of a.period of ISO consecutive
             days in which RGC conduct* no Operations on the Property. 'Terse mn              eas the pined of ti e during which this Lease is in
             effect, and,in the absence of earlier termination, includes both the initial 20-veer tertn.ancLang extended term,
                                        Payment       and   Advance     Rqyaity_Payme04.           Subject to the terms; and conditions of this Leese,
             RGC wilt pay to Lemor,.during the Trim of this Lame, on or before the date. indl.ted the following Itunp•Surn payment. and
          - payments per acre of Lb.Property retained underthe Leese at the acne of the payment

                         Paysocca Deer                                     Nyman..Type                       Payment

               Lease Date                                               Initial Payment.                    $250 per acre

               Lass. Vete                                               Advance Royalty                     $7S0 per ace

               On or before December 31                                 Rental Payment                       $15 per acre
               of each year following the
               year this Lease is signed

               Earlier of(a)"Mining'(as                            .    Advance Royalty                      Sl.0 000.00
               defined in Royalty P' olicy)                                                                  lump stun,equal to $1000 per acre of
               in Area or(b)Fifth Antuverary                           •• •                                  "Mineralized Property"(as defined in
                                                                                                             Royalty Policy)
                                                                                                                                       •
             Tenth Anniversa7if AO                                      Advance Royalty       .              S10:000 00
            'Notice of Mining (a.                                                                            lump su.m,equal-to $1000 pare -creel
             defined bi Section 9)given                                                                      Mineralized Property,aubiect to"70%        .
                                                                                                             Lirniiation-(as defined in Royalty Policy)
               Fifteenth Anniversary if no                              Advance Royalty                      510.000.00
               Notice of Mining given                                                                        lump stint,subject to 70%. LianitatiOn
                                      •                                                                                                          .
               Notice of Mining                                         Advance Royalty .                    70% of Estimated Future Royalty
                                                                                                             Payment*(as defined in Royalty Policy)

               The Initial Payment and all Rental and Advance Royalty Payntents paid to Lessor are non-refundable. The Advance Royalty
               Psymerue paid to Lessor' will be credited against any Royalty Payments otherwise payable pursuant to Section 7.(Royalty
               Per:ciente) and may be prepaid by RGC. Payment to Lessor of the payment required upon Notice of Mining will satisfy in
               any obligstton RGC may thereafter have to pay the Tenth end Fifteenth Anniversary Advance Royalty Payments.                      full
                       7.     acaulty,egoacata., RCC will pay to Lemur quarterly Royalty Payments equal to eight percent(81) of the
               Sales Value. of Minerals mtributel to the Property, which ACC mines and sells. The Royalty Payroent• will b• deteernined and
               paid in accordance with Exhibit 9,RCP's Royaity Polley for Virginia Operation.("Royally Policy").
                       8_      bilnizman Rovalb... If the total of all Advance Royalty Payments and Royalty Payments paid to LOsor under
               title Leese does not average $3,500 per acne for all ofthe Property from which RCC remoeeetire topsoil in preparation for Mining
               ("Minimum Royalty'), RCC will pay to Lessor the amount by which the Minknum Royalty exceeds such tole!. Any such payment
                will be determined and paid in accosdance with Claos• 11 ofthe Royalty Policy.
                       9,              jaraclie_tke,2azizacetc. During Exploration, Lessor-and RCC will work together to accorninodete
               levee/. normal mtivitim on the Property. ROC wilt give Lessor at least twelve month* erotica    er    ("Notice of Mining") If RGCs
                Mining will require Lemur to onset ectivitlea on the portion of the Property described in the Node.of Mining. Until the end of
                the notice period, Lessor will have the right, but not lh• obligation, to remove for Lessor'. account any crops,timber, branding.,
               irrigation systems, fixtures or personalty of Lessor from that portion of the Property. From the mid Of the notice period until RGC
               notifies Lesace otherwise, Lessor will cause all activities to tease on that portion of the Property. During Reclamation, RGC Will

                                                                                                                     r‘h



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Case 2:25-cv-06135                          Document 1-1                     Filed 07/07/25                 Page 153 of 263 Page ID #:168
     •   SPL Roy Pei
         VA II/S9

                                                           •
                                                               •           twainT
                                                                           • TO
                                                                       MINING LEAS
                                                                      BY AND BETWERN
                                             G. L. Parson, Jr. and Mary lizabeth Parson
                                                           husband and wife
                                                                            (10e1380r)



                                                                   RGC(USA)MINRRALS•INC.
                                                                          (RGC)
                                                     RGG's Royalty Policy for Virginia Operatiorta
                                              . COP(R1GRT0RGC(USA)MINERALS I;NC... 1989
                              This document sato forth RGC's Royalty Policy for Virginia Operation.("Royalty         Policy"),
                                                                                                                   which is referred to in
                              Section 7(Royalty Payment.)of the above•refecenced Deed of Mining Lease( Lease")and which is attaehed to and
                              incorporated into the 'Lease by reference.. •

           I.     DefirtifiOra. The terms defined In the body of the Lease or anywhere in Ns Royalty Policy will have the sante meanings
                  throughout this Royalty Policy. The following terms will hive the following meaninge:

                (a)           "Prindpai Minerals' means Amanita,Rutile and Zircon.

                  (ts)        "Minor Mineral.' means Minerals other than Principal Minerals..

                  (c)          'Mineralized Property" means that portion of the Property which RGC estimates, using the then most current
                              . drilling data and survey idol-Megan, contain. Minerals-bearing sande which have it ininuntun dredgeable depth
                                of 15 fiet end which have a cut-off grade of two percent (2%)by weight average Minerals content. All Lump sum
                                      ents under Section 6 (Initial Payment and Advance Royalty Payments) of the Lease are .based on the
                                Mineralized Property as of the Lease Date,and subsequent changes in the acreage of the Mineralized Property will
                                not effect the lump turn payments.
                  (d)       "Sales Value per ton of each Mineral" mean. the dollar value per abort.:on derived by dividing (1) the actual dollar
                          • ...tee of each Mineral following processing by the dry plant (net of returns, 'sales taxes, sales dIsconnts and
                            coati:Weston& but not net of settlement discount.) for the calendar quarter.("Quarter') which Ls the subject of the
                             Royally Payment calculation, by (V) the total .ales tonnage for each Mineral in that Quarter, subject to the
                             exclusion of isles to affilietes contained In Clause 9(Sales to Affiliates) below.
                  (e)          "Lessor's Stock Account" means the account maintained by ACC.In Lessees name for thepurpose of tracking and
                               reporting production, inventory and aales allocations made with respect to saleable Minerals attributed to the
                               Property, and for the purpose of calculating and accounting to Lessor, through the Stock Report descsibed in
                               Clause 3!mime,for any Royalty Payments. .
                                                                                  •
                   (I)         *All Stock Accounts' means the Lessen/a Stock Account and a other stock accounta maintained by RGC for other •
                                properties on which RCCangages in Wrangles defined InClause 6(b)(0 below).                       .
                   (g)      'Recovery Rate' for any treatment of material lathe weight of material that Is present after that treatinent'divided'
                            by the weight of-material before treatment,expressed as a percentage.     .
                                                                                                  •                                       .
             2
             .     C sdcaanejtoycatiej.          This  Royalty  Policy SCis forth the methodology to be used in determining and reporting the
             Royalty Payrneme_payable to Lessor under the Lease. By signing the Lease Lessor agrees to that znethodo/ogy, Including but not
             limited to (i) ROCA method of ottributirA•Minerals to the Property es set forth in Clause 6 below, and (is) ACC's method of
             calculating Royalty Payments as act forth in Clause 7(Royalty Payment Calculations)below.
                               •                                                                                                            •
             3.      Stock Account and Stoc)Lni020. From the commencement of Mining (as defined in Clause 6(b)U)) on the
              Property until such lime aaRGCs obligation to pay Lcsior Royalty Payments has been fulfilled, RGC will establish and maintain
             "Lessos's Sleek Account and will send to LessOS wilhfs, 30 der.after the end of each Quarter a written report ("Stock Report")on
              the status of Lessor's Stock Account. The Stock Report willshow:                                          •
                    (s)            The tons of saleable Minerals attributed to the Property for the Quarter(see Clause 6 below);
                                                                                                                                •
                    (b)            Sales from the accumulated tons of saleable Mineral; referred to in Clause 3(a) above;
                                   Any.Acivance Royalty Payments paid during the Quarter in accordance with Section 6 of the Leaio;
                    (d)            Arty Royalty Payment payable for the Quitter pursuant to Section 7(Royalty Payments)of the Lease;
                    (e)            A reconciliation of Advance Royalty Payments and Royalty Payment. to Lessor pursuant to Section 6 (initial
                                   Payment and Advance Royalty Payments)and Section 7(Royalty Payments)of the Lease.
              The Stock Report will be certified as accurate by RGC". Operations manager orat senior firiancial employee. By signing title
                                                                                                                                           Lease,
              Lessor agrees to preserve the confidentiality of the sale* and production information in all Stock Reports.
              4
              . Brogly...&04, ACC will pay Lessor a Royalty Payment equal to eight percent(8%)of the Sales Value per
                                                                                                                                        ton of each
              Mineral sold that IS attributed to the ,Property, as reflected in the Stock Account and, as reported to Lessor quarterly in the Stock
              Report.
                                       .                 •
              . Airagtx_parileg. Any Royalty Payment. due for Principal Minerals attributed to the Property will be paid within 30
              5
              day. after the end of the quarter in which such Principal Minerals were sold (Les Invoked to the purchases-),end, for Minor
              Mineral. attributed to the Property within 30 days of the end of the"Fiscal Year"(July I - June 30)in which they were Sold. .
                    sambie ingtvio'Attributccue the Pxonerty. Saleable Minerals ace
                                                                                                         attributed to the Property and to Lessor's
              Stock Account as set forth below:       •'
                 •
                    (a)      RGC will survey, drill, and analyze drill samples from those portions of the Property which it plans to Amine, in
                        •    order to eatirnate the tons of Prindpel Minerals located therein. •     •

                         04         Production of saleable Minerals Is achieved by'the following three atepa In RGC.Operatic:sat
                                              "Mining"- extracting and delivery of cnineral sand ore to the.concentrator;
                                   (li)       "Concentrating'.removal of non-,Fonunecclat ateteciel;
                                   (11.1)      7Ptocrain
                                                       •       -removal of further non-commercial acrid and separation Into saleable Minerals.
                                     Each of thrum steps result, in recovery and loss of saleable Mineral, depending on the efficiency of each *top and
                                     the nature Of the material being treated. The Recovery Rate for eta step varies to a small degree On a daily 'stab
                                     and is determined by regular sampling and analysis 01.lhe material as It passes through eath step.




                                                                                  166
Case 2:25-cv-06135             Document 1-1                   Filed 07/07/25                  Page 154 of 263 Page ID #:169
             (c)     The Recovery Rate* for a given Quager snd the estimates and 'artery information compiled pursuant to Clause
                     6(4 above me lilted to egimate the teas of saleable Principel Minerals recovered from the Property in that Quintet.
                     Those tons of Principel MI/meats are then entered In Lessor's Stock Account.
                                                                                                                    •
            (d)       Within 30 days of the end of each Fiscal Year,RGC will Apportion its actual•productlon of saleable Minot Minerals
                      for the Tent, among AU Stock Accounts. The appertionznenst will be made in proportion to the attribution of
                      Principal Minerals among All Stock Accounts for the year.

               Readtgworaezaaalsalsaium                               •
             (a)      ailldilialaillLeAlaBid
                     (1)      Within 30 day. of the end Of *lick Quarter, RGC will deduct the total tent of each Principal Mineral sold
                              durinigthat quitter from AU Stock Accounts. ,
                                .       .
                              The tons of Principal Minerals sold Will be deducted from All Stock Accounts on a ."'First-In/Fitat-Qur
                              (Fig)) basis. Where production of ealeable Minerals is attributed to several stock accounts on the same
                               date, sites attributable to Such reduction will be deducted from the affected stock accounts in proportion
                               to the totiringe allocated on that date to such stock accounts.    '

                      (Ill)    The sales thus attributed to the Property will be entered.in Lesttor's Stock Account and reflected in the
                               Stock Report.

                      (iv)      RGC will calculate the Sales Vein, per ton for each:Principal Mineral Icor the Quarter. •

                       (v)      The Royalty Pernent payable to Lessor for the Quarter will equal eight percent(8%)of the Sete* Wu,per
                                ton for each Principal Mineral for the Quintet multiplied by thetans of each Prindpal Mineral sold which
                                are attributed to the Property for the Quarter as reflectedin the Stock Account.

               (b)      Minot Minerals Sold
                                Within 30 days rater the end.of eiveh Piecet Year, mm calculation similar to that described in Clause 7(eXv) '
                                above, will be made for Minor Minerals, and the result will be reflected in the Stock Repoli for the last
                                Quarter of the Fuca! Year. '

               (t)      ArtNotinellts
                                         •                                                                    •
                                 At the end of each Fiscal Year, RGC will compare'its actual annual Mineral production to the total tone of
                                 Mineral. attributed to All Stock A.ccenuits lit that year. If the actual production is lee than the attributed
                                 production, then the shortfall will be deducted proportionately from All Stock Account. If the actual
                                 production exceed, the attributed ptodUctIon, then the excess wail be allocated proportionately among All
                                 Stock Accounts.

          8.     Cizzartga3lint7 and_atizapiling. RGC will commingle Minerals from. the Property with Mtrierals from other
          properties, may engage In Mining on more than one property In ri Quarter, and may In ACC* sole dlecretion from time to time
          sitocaplie Minerals depending on market conditions.

          9-     Soles tO AJ7iiiate. RGC may In its sole discretion sell part or all of its Minerals to affiliates of RGC. In suds event,the
          Sales Value per ton of each Mineral used In calculating the Royalty Payment Will be based only on RGC's sales to non-affiliates. If
          ouch non-afallate sales are less than 30% of.RCCe totel sales of the Mineral during the Quarter, then the Sales Value used In
          calculating the Royalty Payment will equal the greater of(a) the Sales Value based only on RCC's sales to n0n41fi11ates or (b)the
          Indexed price for the Mineral, deters:mm.1:d by multIplying (i) the Sates Value per ton of the Mineral last used in oikulatIng a
          Royalty Payment times (II) the percentage change In the Producer Price Index zTitaniunt Pigments Index of the Bureau of Labor .
          Statistics, Us. Department of Labor (Code Nit- 06220209, 1982.100). Such percentage change will be based On the change in the
          Index from the last month     athe Quarter In which The Sales Value referred to in Clause (i) was used to the lag month of the
          Quartet for which the Royalty Payment is being calmilated.

                 Z403e aoJirgjLLcggQC If RGC agrees, after signing this Leese, to pay h higher Initial Payment per acre, higher
           aggregate Advance Royalty Par:merits per acre (excluding any such higher payments that result kern either.(1) an iacrease in a
           Wale date payment which raises a lessor's total leas, date payments to seven percent(7%)of RGCs then-current estimate of the
           lessor's total Advance Royalty Payments and Royalty Payments or (ii) verintions in AdFance Royalty Payments that are based
           upon or limited by Clause 12 hereof), or higher royalty rates es to any other leased property in the Ares, RGC will within 30 days
           of the more favorable lease pay Lessor any amount necessary to adjust retroactively payments previously received by. Lessor to
           the more favorable levels, and the more favorable levels that are prospective In nature will thereafter apply to this Lease. Thia
           Clause does not require that retroactive adlustments include the time value of money. Thls Clause applies only to leases and not .
           to purchases, options to purchase, purchase-leaseback arrangements or other arrangements.

           11. ContAgialt Ofiattil3g-
                  (e)      RGC will send Leseor written notice when it has completed Mining on the Property.
                 (b)       The next Stock Report after mach notice will contain a reCoriciliation 'comparing %the total of all Royalty Payments
            end Advance Royalty Payments paid to date, with (Ii) the product Obtained by multiplying the total number of acres of the
          . Property from which RGC removed the topsoil in preparation for Mining times' S3„Sifti -per-ace average Minimum Royalty
            provision in Section 8(Minimum Royally) of flit Lease.
                  (e)       If that Stock Report reeds that mu tons of Minerals attributed to the Property have already been sold, that Stock
            Report will be Lessor's last Stock Report and fine! reconciliation, and Lessor will be paid (i)any P.oyalty Payments payable for
            that Quarter, And (1.0..the final payment, If any, required by the 53,S00-pet
                                                                                        ,  Aere average MiltillAtrri Royalt1 provision (the "Fusal
            Payment"). The Final Payment will equal the amount,if any, by which the prodect described                 11040.1)   exceeds the total
            described In aause 11(bXI).
                  (d)       U that Stock Report reflects that any tons of Minerals attributed to the Property have not yet been sold, Lessor will
            bephid soy Royalty Payments payable for that Quarter, and Lessor may elect, by sending written make to RGC within 30 days,
            to either: ii)forfeit ail rIghti to future Royalty Payments with regard to ell unsold tons and receive the Final Payment, if any,
            determined in accordance with Clause 11(c) above; or (Li) continue Lessors• Stock Account In iedsterste, end defer the final .
            reconciliation and Final Payment, U any, until all such unsold tons ire sold, and the final total of all Royalty Payments and
             Advance Royalty Payments can be used in determining any Final Payment due.

            12. AriefALIMACllffititt.F.J2.)272C111: 70% oasfirmakdZ01731033*Y_P.SLYpieD&C, At least one year before RGC.
            commences Mining on the PrOperty. RGC will estimate, using the then most current ;inkling data and survey information, the
            tons of Minerals located therein. Using the higher of this eeliznated tonnage or lb             tons and applying reasonably
            expected Recovery Rates and prices, RC will in good faith estimate the total sales value of the saleable Minerals recoverable
            from the Mineralized Property. The Advance Royalty Payment equal to 70% of Estimated Future Royalty Payments'set forth in
            Section 6 (Initial Payment and Advance Royalty Payments) of the Leese will be determined by (a) multiplying the estimeted total
            gales value times the eight percent (3%) royalty rate, BY) multiplying the result by seventy percent (70%2, and (c) deducting
            therefrom all Advaace Royalty Payments previously made under the Lease.

            13. Naktiati
                      . osny
                           itrialtitir_rejkimgicaggam. Because of the inherent uncertainties in making proyegioree arta
             estitiatel whiclimay affect Lessor', Royally Payments,Lessor,In dedcling whether to enter into this Lease,shonld not rely upon
             any representation, written or oral, as to the likelihood or Vahle of Royalty Payments, and Lessor atonid bear in mind that the
             5300-per-acre average Minimum Royalty provision contained in Section.8 (Mintenurn Royalty) of the Lease applies only if RCC
             engages in Mining on the Property,'and even then'e polka only to the total number of acres from which ROC removes Abe topsoil
             in preparation for Mining. LeSSOr acknowledges that Lessor onderstand• the foregoing sentence and Leta-or Agree, that Lessor
              has not relied upon any representetion, written or oral,as to Cl.. IlkellIcaxl or value of Royalty payments.




                                                                   167
Case 2:25-cv-06135   Document 1-1   Filed 07/07/25     Page 155 of 263 Page ID #:170




                                   EXHIBIT A
                                       TO
                                  MINING.LEASE
                                 BY AND BETWEEN.




                  G. L. PARSON, JR., ARA GEORGE LEE PARSON, JR.,
                AKA G. L. PARSON, and ARA G. LEE PARSON, JR., and

               MARY ELIZABETH PARSON, AKA MARY BUTTERWORTH PARSON,
                    AKA MARY B. PARSON, AKA MARY E. PARSON, and
                   AKA MRS. G. L. PARSON, JR.; husband and wife
                                     (LESSOR)


                                       AND

                             RGC (USA) MINERALS INC:
                                     (Hoc)




                                       168
Case 2:25-cv-06135            Document 1-1                Filed 07/07/25             Page 156 of 263 Page ID #:171

                                                   'EXHIBIT A


                 Under the terns of the above-referenced lining Lease, to which this Exhibit is attached, Lessor .has
      l eased to IMC, and granted to UGC various rights retarding, certain reel. property (including all nineralsriphts
      and Minerals) referred to as the 'ft-epode, which is situated in the       stony,cre# • Ingiaterial District,
      Sussex             County, State of Virginia, which is hereby represented and sweated by Lessor to asountjo
      li DO acres, and which is *scribed. as !Wows:
           • •
       That Same tract or parcel of land conveyed to G. L. Parson. .(also
       known as G. Lee Parson, Sr.), from'M.                                                   asgrantor, by
        Trustees Deed dated January 25, 1941. and: recorded iD Book' 38 at
        page 100 in the Clerk's Office of SussexCircuit Court. . •

       The property is a small part of "The Wesley. Barnes•parm", between
       the parsonage:and the two branches down beside the public road and
       around the grave-yard to the road and back to the branch again, in
       fee-simple, as found in Deed Book 11, page 404, Deed. Book 5, page
       613, Deed Book 11, page 196 and Deed Book 22 page:409.       .•
                                    •              •
       The above stated land bequeathed and devised to.George Lee - Parson,
       Jr. (also known as 0. L. Parson, G —Lee Parson,.. Jr. and q.
       Parson, Jr.) from the Will of 0: Lee Parson,' Sr. deceased, in Will.
       Book 23 at page 430 dated May 3, 1966, recorded March 8, 1973 in
       the Clerk's Office of.Sussex Circuit Court.

       EXEMPTING from all mining operations a one acre parcel of land
       lying in a southerly direction from the Present cemetery adjacent
       to this tract of land. This parcel of land is presently unsurveyed
       and is to be used as a cemetery. .

      . Subject property is referred to in the Sussex County tax records
        as Tax Parcel- Number S-101-6.




                                                              169
Case 2:25-cv-06135              Document 1-1                    Filed 07/07/25                       Page 157 of 263 Page ID #:172
         STATE OF VIRGINIA
         COUNTYOF       SusseA

                                                       tgatiRMILIThrtirataRica
                 RGC(USA)Mineral's Inc., a Delaware corporation,MC)and


          armor')have entered into e Deed of Mining Lease dated             OC.C.Ohe r 13 198,9
                                                (-Lease), the terms of wktich are incorporated herein by reference. The
                                                                                                                          Lease provides
         .among other things that:
                                                                          •
                 I.        ROC, as tenant, has leased from Lessor, as landlord, the Property described ort Exhibit A to the
                                                                                                                            Lease, which
          exhibit Is also attached hereto as Exhibit A.

               2.       Lessor has granted to RGC the right to explore for and &Inc various minerals on and under the Property and
                                                                                                                                   to
          conduct ralning-relided operations on the Property.'
                                                                                                                              • ..
                •3. • The term of the Lease begins on the date ofthe Lease set forth above and continues for a period of 20 years; unless
          earlier terminated ortemporerilreatended pursuant to the Lease.
                  4. *   During its term,the Lease is binding upon any successors to all or any portion,of Lessees interest in the Property. •
                  S.      The Lessor's name and &dares,are:
                             C. L. 'Parson, Jr. and Mary Elizabeth Parson, husband and .wife
                             Route 1, Box 60
                           • Stony Creels, Virginia 23882

               6.      ROCe name and address are;-RGC(USA)Minerals, inc., Attention; Land Manager,Warner Road,P.O. Box 1307,
          Green Cove Springs,Flodda 32043.
                   IN WIINESS WHEREOF,.• ACC                and     Lessor     have       executed    this   Memorandum        of      Less,      as
           of       October 13; 1989


           LESSOR:7j                                                                      MINERALS INC.:

                                                                             By:
           C. L. Parson, Jr.
          (Print Name)                                                       Its.                Vice
                                                                                                                                        President
            AKA George Lee Parson, Jr.
                                                                             (CORPORATE SEAL]
            AKA C: L. Parson   •
            AKA C. Lee Parson, Jr.
                                                                             Attest: *

                                                                             Its:                                                   -
                                                                                                                             Secretary        •

                                , j)
                         gJdLLdZL                                            STATE OF         FLORIDA
                                                                                      •
             Mary Elizabeth Parson                                           C1TY/COUNTY OP                  CLAY
           (Print Name)  •
                                                                              The foregoing instrument was acknowledged before me
                AMA. Mary Butterworz.h Parson.                                this 13_ day of FpbruAry                   n90
                AKA Mary B. Parson.                                           by Daniel P. Wolcott
                AKA Mary E. Parson                                            as             Vice           President of ROC (USA)
                AKA Mrs. C. L. Parson,. Jr.                                   MINERALS INC, a Delaware corporation, on behalf of the
                                                                              corporation.
                                                                                   OIIILZIL1     11
                                                                                                  , 24: " Elam Pall&c, State of Raab
                                                                                                         My Gsramission Expires May 21, 1991
            STATE OF VIRGINLA                                                                                         11.ea4e4 Ibio troy Fein -        rst.
                                                                              Notary Public
               Pt/COUNTY OP
            -61,                                .
                                                                              (NOTARIAL SEAL)
             The foregoin Instrument was acknowledged before
             me this I Cr    ay al                        199ct
             by G. L Parson._ Jr., and Mary
               .  Elizabeth Paraqn, husband and
                  wife



                                                          .i 1 e1 c1 1
                My Co:1=4351o. Exp keg
                                 N.
                Notary Public      •

                NOTARIAL SEAL]




                                                                     170
Case 2:25-cv-06135              Document 1-1                       Filed 07/07/25                      Page 158 of 263 Page ID #:173
              STD Lame
              VA 8189 . •


                                                               .                                                                       •

                       TiPST,B32313 Of.h          lç LEASE. including the atteched E"thilsits.Which ere incorporated,herein by thiS reference,(••• Leese)
            • la    • 'Made       and '. ;entered        into '• On         •                  13 i             •               • 1989                     b • •       .4 '•

                 between C. L. Parson. Jr.. AKA Ceo,r at Lee 'Parson.- Sr                                           AKA G. L.'Marian, and AKA

                 q. Lee Parson Jr.                          1.18rY           abeth                     AKA iaxt Butlerworth Parson?.. AKA .
                 Mary B        Parsn AU:KayE                         Parson         a:11,6:AICA Mr,s       C    L.. ift_ri0j1.••
                                                                                                                       .      . Jr                   - Itusbn51..and td
                 jioute• 1.. B,41t...6Q. Stony'Cr                  c    Ljrainia -::21(182:. • .                        •
              ("Lessor") and RCC(USA)MIN5RALS ENC,it Delaware corporation wheate address.la Wainer.R.Oact,'P.O. Box 3307,Crain drive
             . Springs,'Florida, 32043 ("PCc).'lncon,Ideretion of the mutual.proinieee.'snide. this ••Leese'...gad'other good and valuable
                consideration, the:receipt and suffidency of which             heiel:6# acknowledged;Leseur en&RçC agree aatollows: , . • ' • • '
               , •       1.     •DgrArkatrajnit: Any Word or phrete that le capitalized end placed iitistattoro In 114.Lahr Is a'defined teem
              . and when it is capitalized will-haveats .ante meaning throughout                           . '.,:• .                 • • ;•      •     .• • - , •
                       •         $1,aggit. The purpos• of. this Lee,. I. to allow RC to exPlore for and,.it• ACC's...sista ..ftscretlon, to mine,
                remove, commingle,, and 'ten Minerals front the'Property,to the the Property to nine Minerals.front:the Property Or other •
                property, and in conduct releted aciltiitles. 'Mineral. .meens the fatiohing.group.of minerals and:mineral products; nmenite,•
                Lauccutene,Ruth.,Zircon, Stsurpine„ Kyantee/Stilliztenits;hionazite,.)ceno tune, efta CHnit;041 aleoclated.hrproducts. Title to
             • any Minerals mined shell;li notelready vested in:R.CC,        . Fake 1.6 RCC as thefiresiVe
                                                                                                   ..              red from the PrOpertY..:         •     • ; • ••
                 •       3.•     GrilatLej4xmg.: Leasor hereby instal to'RCC tha:Property'(ts defined on 549dit:A:), on the terms and .
                condition,in this Lease.                                                .
                                                                                      , .           ..•
                       •         Orrarit natieltki. Lessor:grinte to fiCC the Following-aschtsAve right* withregard to.dte Pro
                                (a) • to enter'the •ProPer        - ty: to survey; explote,'.491,dest;'and ":"P1.0':       Rh 175°"*          ."1"
                                                                                                                                                 ."                     &.
                                                                                                                                                              •• • •• •
                                (b) • •'To clear the ,Property of such buildings.(subject • to 'Section 23 (coMpensatioa 'Jai, Buildings)),•other
                                      •     struitures or obstaeles,:-eirth,,standing'ilmber, plants, end such othee thlogetra material that MC,in its
                                   '.       absolute discretion, wishes to deer from the Property tO;exercise Its rights as set out (it this Section 4; to •
                                     . . -construct,•relacate, the, or remoye roach, power• and 'cornmanication..gnat, dredge •pands, tailing ponds,
                                   • - •• • eettlIne ponds, 'pipeline), buildingai,storage,facilities,                 .tel Wag's, 'signs,'gates, fence.; and other .
                                        - struetures and facilities on the Property: to take..steps to..prepare for mining eui-the. Property;.and to .
                                             deveinp; none, ortawoune,       dredge,,  samesige,• emir/Moat*,     aspirate,   coottningie,:;atoceptle, haul, process,•
                                             ship, an51 Weil Minerals (the lotegoing•ictivities, whether conducted On the Property* on other property
                                            • Oinwiddleand Snassre Counties, Virginia ('Area),ire                                              •
                                (e)          To Use the.Property to store, transport, or.dispas    . •of.Mth . trail, water, tailings, and znithhial resulting from
                                             RCCs.ciparaticins; .         '        ,                                              .      .•
                                (d); To use water grom. or appurtenant to the Property and to drain through and from the Property and to
                                             draw into sny'esiurie in the Property arty widerfrom RCCs Opeiatione; ,•                                         •
                                 (el         To take all steps to loconiplish•Reclama Ron(is defined In Section 14)6f the Property; -                     • •
                                (  0         To  use  all easements,   means  of'access, and  rights-701.wiy-frain   and   to the Property:    and •     .
                              . (8)          To use the,Property for the,ptirposes.desmibedLi. this. Section, in conjunction With RCC's Exploration,
                                             Operations artdRecianuition on other property, ••                         .      •      • • ...•         ,       ..
                          Notwithstanding'(he foregoing,,K.C. is hid &tinted the right under this List* to eonstruCt or,operate on the Property a
                  prem....ins plant  for the   final :erred-  o n of thrconcentrate  into  saleable  Minerels.       „  • •-       • • •  •        •       .•          ,
                        • 5... ..Termliaggsag. Title U..,.wiii hogin,ort the date first written above and will end 20 years thereafter, unless(a)
                  the Lease la ended earlder.under Seethe" to'germination), Cu) the Laa.e I. uuruotstk.Uy                  terminated    by   MCs     failure,for reasons
                  other than • temporary- inability to obtain through dings:it effeirts: necessary.governmental purnit• and authorizations, to
                'continence "Mining (aefiefinsclin the Royalty Paley) Fri the Ace. by the-elkhlh..anniVeriary of the Lassa, or (e) the Lame Is
                   autornetically extended to allow MC to complete ongoing operations on the Property: If ao un tended, the Lea** shall terminate •
                   upon the earlier of written notice'from RCC pursuant to Section 19 (Terinlriation), Or the pasties* Of a Period of 180 consecutive
                   days'in which RGC.conducti. no. 0i:hoidens on the NI-Tarty.'„"Terni! meths the period of time during Which Ode Lease I. in
                   effect,and,in the absence of earilerrerinistation,include, both the initial Z(ilyeactin..ro and any extended term.
                     • 5. • Initial Pcsynrielit And Advance Royalty Payiltgitkr. *Subject to the ienne and conditions of,this Leese
                   RCC will.pay to Lessor, dfir-Ing the-Term of this Leese; Orior,b•fori the dates Indicated this following lump suns paymenti anci
               • payments per aere Of the PrOpertyretelned tinder the Lease at the time ofthe payment: • •' • • •'                                                   •


                              Paynanot Dam                                          '.. . . .llPe • , .., -. .            "
                   Lease Date • '                                                . initial Payment •.    '    . '$259 per .  t.,....
                                                                                                                                           ,
                                                                                                                                          .. GLP,
                                                                                                                                                          . . ofi„)
                   Lease Date
                      .       .
                                  .                                             ''. AdvanC•  Royalty:' $.88.0.20 • z?gs$  ,
                                                                                                                         pg ar..........,    .
                                                                                                                                                               .
                   On or before'December 31                                                                                        .       .
                   of each year following the                                                                                                           MEP        .
                   year this tease Is signed,                                                                       .                          . •

                   Earlier of(a)"Mining".lea                                      Adv•nce Royalty.''.                          g 1,6 500:BO '
                   defined in Royalty trolley) .                                   • •                                         lump sum,equal to Slb30 per acre of
                   In Area or(b)Fin•Anruvetary                                                      •                       • "Mineralized-Property-(as'defined in
                                                                                                                             • 1°Y•117..P0..Ii.cY/ •
                Tenth Atudvenarr lino •                                           Ad4anie Royalty
                                                                                                .                           'S 16.599.0Q • •            •   •
                -NotIce'of Mining (as                                                                                        lump sum,equal to $3000 per acre of •
             • 'defined ln Section 9)given
             :                                                                                                               Mineralized Property,subject to in%
                                                                                                                             Limitaticiir(a! defined In Royalty Policy)

                    Fifteenth Anniversary UM)                                                                                   s 16 •500..00 :: •
                    Notice of /dining given                                                                                     tuienp'Urn,aubjeet to 70% Limitation
             •


                   'Notice of Mining.         •                                   Advance Royalty '                           .10% of Esthneted Vaunt Royalty
                                                                                                                             -;Payments(aidefined in itoyalty:Poiicy)

                                                              .     .
                     The initial Payment and all Rental and Advance Royalty Payments paid to Lessor are noMrenuidable.• The Advance Royalty
                     Payment...paid to Lesior will be credited against any Royalty.Payments othMrwise,payabli.ciurivant to Section 7(Royalty
                      Paymente)and May be prepaid by RG.C.           .'Paymarit to Lessor of: the payment racittired upon NotiOa.of Mining         satisfy in full
                      any obligation RCC may thereafter havata Pay the Tentliand Fifteenth Anniversary Advante,RoyaityPnytnents. • .
                            • -/.." • • • Biyillite-DAYEftglits...'RCC win pay          Leseor             Royalty .Payments equal La eight percent (E96) of the
                      Sales'White of M neisisL attributed to the-Property, which.11CC Mlithiand selia...The Royalty Payetiems will be determined and
                       paid In  accordance    with F.,thiblt.
                                                            8,  FiCc's Royalty Policy for Vir5inin,C4•41ellane (119YellY Policy").     .                   . .
                   •     . -it • • ArtoiTunfRovtaty. if the'total of ell Advanie.icoyaLty Peritents and Royalty Payments ?hid to Lessor under
                       this Lease does not average 53,500per sou for all of The Property front which RGC removes'the tOpeoll In preparation for Mining
                     ( "Minimum• Royalty"), IFIGC•wW pay to Lessor the amount by which the Minimum Royalty -exceeds such tOtaL Any such payment
                       will be determined and 'aid in accordance witliChusse 11 ofthe Royalty Policy                      " •
                      '       9.'         I       8 ppeq,Clbraettimni-tr.- During Exploration, Lessor'end RCC will work together to accommodate
                       Lessor's normal activities On the Peopeciy..        Rc..0 WIll giveleesof.4t   last  twelve   month.  mince Melee of Mining") RCCs
                       Mining will requite Lesthr to cease orethefties on the portion SE she Property described ist the Nodes.ofMining:. LINO the end of
                     . the notice period, Lessor will haee.the'rlght, but       natthi.obllgstlan;  to  remove  for,Leiwor's actount:any_crops, timber, buildings
                       Irrigation systems,fixtures or personalty of Lessorfront thet•portion tif the Property. Root the'end 0(0w notice period until MC
                      .norigtee Ineeor otherwise, Lessor will'cause all activitiss Locea..      on  kb
                                                                                                     . at portion o/
                                                                                                                   . the property,        Rechtmation, RCC Will
                                                                           . •• . •• .
                                                               -
                                                                        171                                                 u.
Case 2:25-cv-06135   Document 1-1   Filed 07/07/25   Page 159 of 263 Page ID #:174




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Case 2:25-cv-06135                Document 1-1•                        Filed 07/07/25
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                                                                                                            Page 160 of 263 Page ID #:175
                                                                                                                .
                            •    N.
                                  .
                                                '       ga. if ROC:propose, to.rentove.other bnildinge On Om.Property,
                                           are thaws montist.,notice of It. intention lode so.. Mind !Orley.                              itcx ivio
                                                                                                                                       give Lester not
                                                                                                                     'prier to @nth removal, ROC will .
                                          compensate Lesion by Making a payment to 1,41ter *414il tothi.approximate vrplaternenecest of Mdidingo
                     .         .•     " of lUt nature, ao• determined by the eeerage 'of.two appraitala by appratsers..seletted hi the manner
                                          described In Section 21(s). Treace will cease using dur.relevaitt MiAdings-.30 days p or to the proposed
                                          removal end Mil facilitate removal In all respects. ..• . •     ••:..   ....     • -     •    .
                     '22.         Therattaktim        . . If. Bc.c learns .that &Mint party Mei:ha vila claim Of ownership In any portion or
               perceotaee of Ow         petty in eity payments under this Lease RGC May deposit In a special elcrOWeeeklunt(WM aMmk or title
               Inaurance company located In Virguth)ony payments otherwise due• tit Lessor under,tide Leese and'siva Lessor written notice of
               the deposit. the mime deposited tv,U,1 remain in the special escrow account until•the'clahh or controversy Is resolved, or until
               them has been•ansideterosination of the cialin at tonftoverty by a.Court orOtbilistor,Including any appeals therefrom..
                      23.        Additiana      juktA8teviaiwrediggtat If,dtiring'the term of this Lear, Lessor acquire, any right or
            , interest in the Property orIn any'properly. adjacent or easements appurtenant thereroge) Lector .iviii promptly notify RQC,.(b)
               any soch.right or interest Acquired in the Property, which Lester Wits tide Leers _Weedy warranted to be.part of the Property,
                willbeceme pat of the Property lubject.to•this Leese typhoid any addition"! payment to laisor,ic)ROC.May,at ROCs option; at
          -    any time, leas* any other such sight or interest on, the.lame terms as fluilerrns'of this Lees*, lend (d)'Lessor selll•.1go,
               acknowledge,end done*: in Amendment to this Least Lend to the Mentorendum ofthls Lea's to RGC,so ae.to,include such right
               or interest..       .    ••      • -                .      .          . •. • ••                             .
                       gt Zraiectio. it the Property Is now or later. owned in.ievittnity Or in Separete hada RGC will.nevertheleasi be
                entitled' to treat the Property as an undleided. whoie tinder this Lease;.with oil payments piyable under.the Leis* to be paid
             • (either directly or pursuant M Section 25 eduhiple °Mites)/ to the sepaeate'owners of the Property In the proportion that their
                ownership Interest, measured In Acres,or percentage ownership Dinned, bean lath, whole Properly; provided,however,that in
                no event will RGes total payment obligations to the separate owners •excied the payment obligallints *het ROC would have
                Incurred under the Lease viho Property Were owned In undivided fetellitple by a 'single.ovine,.              • .. . .                  -
               .       25. • IirpitipirSumfrers. , Whenever two or mini parties ire entitled to tective•any paymenta under this louse,RGC
                may withhold any such payment. unless end until' oll of thas..parties designate 1p,a recordahhanotrninent an agent empowered
                to Maitre all rich payntente and to execute division and transier olden. on bahall of all them parties and their respective
                SOCCOlterS lit title.,()slivery of any paymentdue under thhi Lease to the designated.agent fulfills R.G.c'e Obligation to make that
            . payment to thole parties.             •            . .                     .                ..            under..         .
                       26 ' Apstorjett. Both parties have the right to assign sheir'rlehte"end nbligitions                      thh Loam In whole or in
                 p t provided', however.:thett         •• •        ' ••                                  • ...
                                   fat ''The pasty makingauch an Otlageteird mutt eve she Other paid)     ,prior written notice/there*          '
                                . (b) , The provisions al this Leste.wp apply to and be binding upon the succesiore aid asslges of the respective
                                 (c) • Any change or division In the ownership of the Preperty•ot of the Sight to receive any payments under this
                                           Leese, however accomplished,will not Maoism ftWo total Payment obligations !Ander this Lem* or alitai
                                      , • RGCa rigida to conduct exploratiory Operations or Rechuriellort oath!Property; -
                                (  d) .. Notwithitanding'hection 26(0, RGC may, Without notice or-content, assign.any of its rights or obligations
                                    -    . to affiliates of RGC,.or ore the eervices of indeptirdent•congactoraor agents to perform any of toned.or
                           .               obligations;end - .         •     . •                   . ..          ,
                                (e) . . No essignenent will ttMeve the assigning party of any obligationi.or4044 to thir other party, unless the
                        .              . other patty provider 4 written ramie to the..areisning party.'          . -     ,      -
                          27. . gavr).0:nrikno Neither party will he donnid in defiult under this .Leare during any period in which Its
           ' exercise or perfect:pence of any of.its.rights or obligations under INS Lew is preVented, by any alum reasonably beyond its
                 'control. Such so event it referred to in this Lease.. 'Forts Msliure.!...Focc• Maraute will Include;. but Ii not Limited to, the
                . 'following: fire, Rood.,storms,htirricanes, tornidos, wincli,Cither &maga front the elements, declared Of tutdiclared War,strikes,
               . labor dispute', rims, dell smelt, octIon of governmental authorities, ron.tieutneilon, iminent'domain, exime,•fallure to receive
             -.-•• requirmi•governmantal approvals, Mobility to obtain water.for Operations,*a Substantial hit In the market pion of Minerals,tack
           *i' .• of attest:litigation, ado of Cod,and acts ofthe public enemy. The Tercii alibis Lease Mil be extends:Ira a MIMI of dine equal
          ...- or  to the perlodof Rine MilieUre..All tech periods will badeemed to begin at Opt•earliest
                      performing an of ha r ghts.or Obligations by reasons offorceMajettre..
                                                                                                              .ilmipasty
                                                                                                      . .'. . .,
                                                                                                      .
                                                                                                                   a.. . . is prevented from'roe:doing
                                                                                                                          . • .. .•
                ..                • 28. • ivo Broker. Lesior and RGC represent and warrant*each other that no broker,                        . .agent, or finderhas acted on
          . • its Mihail In ceonection with lidi'Liise,and that no Conical/skins, fee., or...other moniesaredue to any broker,agent. Or finder. in
          ' ' 1.• addition, Lestior and RCC will and do Indemnify each other from Ai ctilms with respect to any brokerage, finder's or leasing
            • .. conimissiont in connection with this Lear,os any of the bans/Wens tonteinplated tinder this Lees,. ., ' •                                              .
                                    29.. . Canikomfa2i0/1. Liner Will inunediateliootify RGC of any ,condecnnatiOn proceeding. that may affect the
                      'Property.'Lessor will:cooperate with RGC In defending or settline•the tame.                           ROC    may,   in he discretion, defend its right,
                        independently of Letter. Any. condemnation award wilf be shared between ,$:4114g and RGC• is ,.provided by law. Any
                        rendentned Property wlll CORI Mut/44104watt Land as of the dote ofcondintruitioo,    . •,,       . . .and  this
                                                                                                                                      . Letter
                                                                                                                                        ..    . wittcontipue
                                                                                                                                                   .,          in!ilea as to the
               •        reotaining Property.              .                         . .. .... •            -                         .                            •           -
                 .             • 310.        ibtiatg      AntakutiOji.    Sublect 10th. Previsions      of this Section,    any  controvemy,etahrt,   or  dispute arising Out of
                        or related to this Joe at to the formation, negotiation, or breach thereof,.WW be tented:by binding arbitration in Riehmond,
                  . Virginia before•stniteaibitrater,  '            In accindance with the CoMMerdal Arbitration Rules of the Amiritsit Arbitration Asiociatton.
             •           Any award Of.damages will be limited to actual, compensatory.dioCages. judgment Upon tits award 'tendered by the arbitrator
                   . may be confIrnted by,and entered'in, any court having Nrisdiction thereof. Prior to Initiating...ay erbitration,theInitiating party
              .          will give the other party written'notice of the deign,-and wilianow the other piny 30 days born the 'date that thir.notice is
                     . received to'amicably resolve the:claim. If the claim h not'resolved within the 30 Clay -period, thelnitiSting patty's cote end
                        exclusive remedy               ba to submit the dispute to •tbltretlen. The Fettle, will cocnply.with airymbitratiorf•award within 30 days
                         of its issuance, or'a'     as coon a• practicable'thereafter, and this. 14111ft will continua in full force and effect. In no event will the
                         existence pinny dispute, Sibiu:Mon or award suspend or otherwise affect any pasty, rights or obligations under this Least or
                         interfere in any way with RGCs Orierations. .
                        .            31- na-AlAgrigt4M-2.44-liCer-1-lbaantiOna. Letter his not, and whl not, du:Mg:the TennOf tide Lease,
                         take any action or grant any right Which would In any way Interfere with RGC'.exercise of it. rights as it'o4 In Section 4(Grant
                         of Righ(s)sof till. imps ••              ,                      • . :.• . .'
                                • 22. . •No..9npiod fir C74711,fity.1492,9Nlier. :If either ;wetly 'velvet or does not enforce attic provision ei this Lease
                        .on any occasion, that action will' not:constitute waive of: (s)that provision ss'to any other time, event or occurrence;*r(b)toy
                . '•• .ciiksprovision. .                 • : •           '• , '' '', • . .               • •                           ..
                   ..... ,..."•-.2. 9.;.. • ....41Balsza. Any notice given to the,other...party .under this Lease'must be in writing; arid tent by Linked States
                        -        tiered or certified meg,repini.receipt replotted, or, vim Federal Express.or simber overnight eourierServicr,addressed to the
                           4th... sit forth on the Blot pig* Of thiti Leese.-All notices' will be deemed...ID have been made Whon deposited In the snail or with
          ' .•%:'. the idurier ae provided above. AU notices will be deemed to hovebein received upon actual receipt bynny person at the address
          .               listed abova Either party may change Its address for the wailing of. notices                   11.100,ns the other party notice of such change of
                          address hi the tostinsz provided far In this Section. •                                  , - • • • • • .,- . .- •. .- ..      .
               .
                          •. . 34        ., .sa    z i
                                                     t mAgnxiticatjytacriLlirstifiartios,' Mai.'Lease constitutes the *mini agreement between the
                           parties and supertedo efl previous agreements           written  or  oral..  Lessor   hereby    mpresaly   acknowledges     that„in'entoring 4,10 II&
                           Lease,i,essot has net relief on any order written statements made by'ICC, its employees, agents or independent contractors.
                           This Leese May otti}9se modified bye.written igieetnerit.irt recordable f.orrnalgnedbylessor and an authorized officer of RGC..
                     •           .... .75... gagicejzate0.•This Leal* will be*.cOnstruedinterprotirIand governed by the taws of Virginia.
                   ' . 3i.i...                  Stecpstors and 4.ss.igns. TWA tease ceristinnes a revenant running with the lancinad. Will be binding on,
                           And inure to the enefit Of, Lessor; RCP,and 1-essee and RGCs 440.5'1 repreaentatIvei,executort;Identaktratore;surceases.
                           *ad atoigna,as %hectic may be. .. • '. . , •••• : . '                    .2 - .- •• ..', , • . ' . , 1
                                      37.         o              - In the ;vent that tiny court or duly.eppointed arbitrator determines         . . that any revision Of this
                            Lease is unenforceab e, Illegal, or in conflict with any Pederati elate, or local law, the patties. will petition (or .vrifl hereby be
                            datatunt to have petitioned).the taut( oi arbitrator to teform dutt,provision in such• ways. to miry Out the intent of the parties
                            to the extent permissible under law. Al'the coon or arbitrator:deillom to reician that provielon,.then 'that provision will be
                            considered Severable from the reit of the Leila,the remaining provtalons of tholes"' win not be/effected;andlhle Leine will be
                            construed and enforced as If04 Lease did not contain the unenfoiteable or III al revision. '• '                           ,. .• ..          •
                                      - 38. . MonifificsagaitalurcAnY-Yitialioxii                             .        . . .sat-ettnetraligil.. ISmanr and 11t3C do must
                            Intend that arty provision in this.tome will in any way violate'the Rule Againet PeitetRides'Or any' related rule. If any such
                             violation atonic! occisr. ,ill. the Intent of Lessor and RGC that the approPiiate court or etbitnitar Will telOwn the provision ut ouch
                           •way m to approximate most cloiely the intent of the parties                   . the lifniti.pertnissible tinder suCh rule or related rule, and
                                                                                                     . withM
                             will enforce the-Lease so cc reforcited. - • ' • • . • . . . .                             ..     • . . . .         .
                                          •                                                      ...                         '


                      411/TEMPI .                                                                                                                           .

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Case 2:25-cv-06135               Document 1-1                    Filed 07/07/25                    •
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                 .. 39 Mozoo?Thiwn, • Afthitinie.tide Leine is signed,the pods* wilJ sign i hisratirandini of Lein which Rcc tom •
              record. (a the event o a conflict between(helium of the fdernorandtran Cl Leaee and-On Lesnoin tame
              ontuoL                                                                                                                     of On Lease KS
                                                            .
                    -40. waroger      .       anaga Lame.opees        .                                                          ..
                                                                          to nee Leclot'a bast. efforts to obtain promptly,:and.to provide
              copy of,any consirol to thic Lan retfloVert by the terms of any menage or other frontward                                           to RGC• .
             . wtik respect to all or any pad of the Property.. Stich consent, however, will neither affect creatingrighta          superior to this Lease
                                                                                                                   nor be a'condition precedent to the .
              effectiveness and enforceability ofthe Leen eabdween 1.111140# and SO.C: • *.            •                .
                    . 41.. Acadina, tfi• braidinii,cootained in thic.Lerde at for the convenience                  of the parties only, and will not be
               used Intl.irti=601... imiaittAutatt4iveilasts.                                                       .    .
                     .42.                                                          Inaddhlon to other.obligasions that istdvne this•Laaas al Id•forth
              la thla Lease,the patties' oblige       update to wing Section. adds Lane willcentain In loll &diem sheet following.
               tv14 not be affected by, the terailnation of.,•Or.eapiratIort of the Terra of, this Leirats:."Sections 7-9, It; 1412,                   end
               32-30,and 11-41                                                                                                         l7, 19, XI, 2416,39,•
                                                    .     .                                . .         .                     .      .
                      4.1. ..regusi FAO During tba Tina of this PM.,each petty teill act In good faith to fulfill.the intent of this Lease,
               and will toed with the olhirparty to.thscractalaitotry.to reaolv* ain't:ably any naves thai niaP Arlie.              .'
                                                                                      .                               .




                      flilf411122F3 WKIERLOP,,the pasties have'Nonrated this kaice tinder seal es piths did* filet above tvdtten.

                 OWNSS:

                              O    ilt.A...e
                                                                  Js'AL1
         '        G. L. Parson. Jr.
                 ChUANww00
                   AKA George Lee Parson, Jr.
                   AKA G. L. Parson
                   AKA G. Lee Parson, Jr.
                                                                                       he                                     .• Secretor(



                                                                                       STATE OF FT ffl  iA
                 "
                 61           ,
                              4 41a                                                    COUNTY OP    CT.AY
                   Mary Elizabeth Parson
                 (PrbOlva0          •
                                                                                       .The taverns instronent was admowlidaed before me
                   AKA Mary .Butterworth parson                                         this .13    day of February               . noo,                 1990
                 'AKA,Mary,B: Parson                                                  • by    Daniel P Flolqott." •
                    AKA Mary E. Parson     •  •
                                                                                            Vi • riespi•At 'at ...KC (USA) MINERALS
                  . AKA . Mrs. G. L..larion, Jr..                                      .INC., • Petews,re corporation, on •behalf of the
                                                                                       "
                                                                                        c• oration.

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                 .STATEOP    yum1A.                                                     N      yPubftc .

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                  Theiferrs 'Indianan% Was acknowlectird listen *ne                                                e
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                 . by        jlaysRn..4r...and 4aTy.
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                   tolyCoctwilailost ?Apices:     •

                                        PB 119 1
                   Notary Public

                  (NOTARIAL SEAL]




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Case 2:25-cv-06135                          Document 1-1                   Filed 07/07/25                 Page 162 of 263 Page ID #:177
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                                                                       KSHIBIT
                                                                          TO
                                                                     MINING LRAn
                                                                    BY AND BETWEEN
                                              C. L. Parson, .3r. and• Mary Elizabeth Parson,
                                                                     husband and wife
                                                                            0:01%8911     •

                                                                              ANI)
                                                               RGC(USA)ICINTERAIS
                                                                      (RGC)
                                                     RGC's Royalty Policy for Virgini* Operatic:KM
                                                 COPYRIGHT@ RGC(USA)MINRRALSINC.1989

                                 This dorm:nerd set. forth RGCe Royalty Policy for 'Virginia operation. rRoyelty Policy), which I. referred to in
                    •            Section 7(Royalty Payments) of the above-referenced Deed of Mining Lease(Ismael and which ie attached to and
                                 Incorporated into the Lease by reference.

                12c,fin:42w. The tcrsna defined IA the body of the Lease or anywhere In This Royalty Policy will have the same meanings
                throughout this Royalty Policy. The following term. will have the following meanings:
               (a)               "Principal Minerals' means Ihnenite,Rutile and Zircon. .

               (b)               'Minor Minerals'12%tAILI Minerals'other than Principal Minerals.

                .(c)
                   'Mineralized Property' means that portion of the Property, which RGC mai:nate:, uaingiat    the then most current
                   .drilting data and survey information, contain* Minerals-bearing sands which .have a Mir% wn dridgeable depth
                    of 15 feet and which haves cut-off grade of two percent(2%) by weight average Minerals content. All lump aunt •
                    payments under Section 6 (Initial Payment and Advance Royalty Payments) of the Lease are .based on the
                    Mineralized Property as of the Lease Date,and subaeluent changes in the acreage of file Mhieralized Property will
                    not effect the lump sum payments.
                                                             •             •
               (d) '  Sates Value per ion of each Minerar means the dollar value.per short ton derived by cilvidIng CO the actual dollar
                    sales of each Mineral following processing by the dry plant (net of returns, sales faxes, 1§1.41 discounts and
                     commissions but not net of settlement discounts/10r the calendar quarter ('Quarter") which Li the subject of the •
                     Royalty Payment calculation, by (Ii) the total mita tonnage. for each Mineral in that .Quarter, subject to the
                     exclualon of sales to affiliates contained in Clause 9(Sales to Affiliates) below.
                                                                                                            •
               (a)  `La*saes Stock Account' mean, the account maintained by,RGC In Lessor'. nesse for the purpose of tracking and •
                     reporting production, Inventory 'and sales allocations made with respect to saleable Minerals attributed to the
                     Property, and for the pusycat of.mlculating and accounting to Lessor, through the Stock Report described In
                     Clause 3 below,for any Royalty Payments.

                 (0               "Ail Stock Account? mean. the Lessor's Stock Account and all other Itbetc accounts maintained by RGC for other
                                  properties's= which RGC.engages in Mining     delisted In Clause 6(b)(i) below).

                                  "Recovery Rate' for any treatment of material la the weight of material that is present after that treatment divided -
                                  by the weight of material before treatment; expressed as a percentage.

         2.     CGIC14413,1fule2gYlatkl- This Royalty Policy sets forth the methodology to be used in determining and reporting the
         Royalty Payment. payable to Lessor under the Lease. By signing the Lease Lessor &stets to that methodology,including but not
         limited to (1) liGCs method of attributing Minerals to the Property as set forth In Clause 6 below, and (n) RCC'a method of
        'calculating Royalty Payments as set forth in Clause7(Royalty Payment Calculations)below;
                                                                                                                     •
         3. StreckArgingasza_Stach Report. From the commencement of Mining (as defined in Clause 6(bRI)) on the
         Property until such time as RGCs obligation toisay Leaser Royalty Paymenta has been fulfilled, RGC will establish and maintain
          Lessor's Stock Account and will send to Lessor within 30 days after the and of melt Quarter a written report("Stock Report") on
          the status of Lessor's Stock Account. The Stock Report will show:

                        (a)        The tons of saleable Minerals attributed to the Property for the Quarter(see Clan..6 below);

                                   Sabra from the accumulated tons of saleable Minerals referred to in Clause Xi)above;    •       •

                        (c)        Any Advance Royalty Payments paid during the Quarterin accordance with Section 6 of the Lease;

                         CO         Any Royalty Payment payable for the Quarter pursuant to Section?(Royalty !ailments) of thelea.e;

                        (e)         A reconciliation of Advance Royalty Payments and Royalty, Payments to Lessor pursuant to Section 6 (Initial
                                    Payment and Advance Royalty Payments)sod Section?(Royalty Payments)of the Lease.

             The Stock Report will be certified a.accurate by RGCa Operations manager or a senior financial employee. By signing this Lease,
             Lessor agrees to preserve the confidentiality of the palm and production information In all Stock Reports.

          . irsocattjtjac. RCC will pay Lessor a Royalty Payment equal to eight percent(8%)of the Sales Value per ton of each
          4
          Mineral sold That Is attributed to the Property, as reflected in.the Stock Account and as reported to Lessor quarterly in the Stuck
          Report.
             5
             .     . 1041/Zasualccg. Any Royalty Payment. due for Principal Minerals attributed to the Property will be paid within 30
             days after the end of the Quarter in which such Principal Minerals were sold (Ls invoked to the purchaser), and, fur Minor
             Minerals attributed to the Property within 30 days of the end of the 'Pistol Year'Uuly 1 -jur.e 30)In which they.were sold. ..

             6
             .           Syklathlasfiricral,, tAttrikuksilsati                 verty.'Saleable Minerals are attributed to the Property and to Lessor's
             Stock Account as set forth below:                       •


                                                                                      •
         •               (a)         RCC will survey, drill, and analyze drill earnplee from those podions of tha Property which It piens to mine, in
                                     order to estimate the tone of Principal Minerals located therein.'
                         (b) •       Production of saleable Minerals Is achieved by the following three steps In RCC.Operetloaic

                                            'Mining"-'adverting and delivery of mineral sand ore to the concentrates;
                                            '           .
                                             Concentrating 'removal of non-connasercial materiel;
                                            '                              . non-commercial sand and sepaxaion Into saleable Minerals.
                                             Processing"- removal of further
                                     Each of these steps results in recovery arid loss of saleable Minerals depending on the efficiency of each step and
                             •       the nature of the material being treated. The Recovery Rata for each step varies to a small degree on a daily !seats
                                     and Is determined by regular sampling and analysis of the Material as It pusses through each step.


                                                                                175
Case 2:25-cv-06135                Document 1-1                      Filed 07/07/25                    Page 163 of 263 Page ID #:178

            •'(c)        The Recovery Rates for a given Quarter and
                         6(a)above are used to estimate the tons       the estirnatea and surrey Won:nation compil
                                                                 of saleable                                           ed pursuant to Clans.
                         Those tons of Principal Minerals are then entered Principal Minerals recovered front the Property in that Quarter.
                                                                           in Lessor's Stock Account.
               (d)       Within 30 day. of th• end of each File.! Year, RCC
                         Ice the year ansoag All Stock Account                will apportion Its actual production of saleabl
                                                                 s. The                                                       e Minor Minerals
                         Principal lvilnernia among All Stock Account, forapportionment will be made in proportion to the attribution of
                                                                           kilo yair.
         7
         .      &WIRY PcsgYrize/Xt Caitiikg*on.%
                                                                •
               (a)     • rrinciAKMerala Solcl

                        (I)       Within 30 days of the end of each Quarter
                                  during that t iasterfrom All Stock Account, RCC will deduct the total tens of each Principal Mineral sold
                                                                               s.
                        (ii)      The tons of Principal Minerals sold
                                                                         will be deducted from All Stock Accoua
                                 (FIFO) bash. Where production of saleable                                         ta on •'First-In/First-Our
                                  date, sales attributable to ouch production Misterala is attributed to ;several stock accounts on the same
                                  to the tonnage allocated on that date toauch'will be deducted horn the affected stock
                                                                                stock accounts. .                       accounts in proportion
                        (iii)     The sales thus attributed to the Property will
                                 Stock Report.                                      be entered in Lessor's Stock Accoun
                                                                                                                         t and reflected In the
                        (iv)     RCC will calculate the Sales Value per ton
                                                                             for each Principal Mineralfar the
                                                                                                                 Quarter:
                        (v)     The Royalty Payment payable to Lessor for
                                 ton for each Pi:nap:it Mineral for the Quarterthe Quarter will  equal eight percent
                                                                                  multiplied by the.tout of each (8%)of the Sales Value  .per
                                are attributed toil.. Property for lite Quarter as reflected In the Stock Account.PrinrdPal Mineral *OM W/443
               (b)       Minor tvilnuals Sokl
                                  Within 30 days after the end of each Fismt Year,
                                  above, will be made for Minot Minerals, and     •calculation similar: to that deicrib
                                                                               the result will be reflected In the' Stocked in Clause 7(eXv)
                                  Quarter oft!,. Fiscal Year.'                                                            Report for the last
               (r)        Adjustments
                                  At the end of each Fiscallear,RGC will compare
                                  Minerals attributed to All Stock Accounts In Iliat its actual annual Mineral production to.the total tom of
                                                                                     year. If the actual production le lea* than:ther
                                  production, then- the shortfall will be deducted proport  ionately front Al,! Stock Accounts. If theattributed
                                  production exceeds the attributed produaicrm'then the excess                                            actual
                                  Stock Accounts.                                                 wall be allocated proportionately among
                                                                                  •
                                                                                                                                             All
         8.    agIarafrillin4g-134A-S-radiailiag.
         properties, may engage in Mining on more thanRCC     will commingle Minerals from the Propert with
                                                         one property In Questa.,and may in ItCCe soleydiscret Minerals from other
         stockpile Minerals depending on market conditi ons.                                                   ion from time to time
                                                                                      •




          9. .daki..0.41filkfrot, ACC may in its sole
          Sales Value per ton of each Mineral used In calculatdiscreti        on sell part or all of lts Minerals to affiliates of
          such non-an/We sales are less than 30% of RCC'eing           the Royalty Payment will be based Only ort RCC'e Rc.C. in such event the
                                                                                                                                   sales
          calculating the Royalty Payment will equal the            total   sales  of the Mineral during theQuarter, then the to non-affiliates. If
                                                            greater*/(a) the Sales Value based only ori                                Sales•Value used In
          Indexed price for the Mineral, determined                                                               MC* sales.to norvaffillates or (b)the
                                                         by multiplying (i) the Sales Value per ton
          Royalty Payment times (II) the percentage change                                                     Of the.Mineral last used. In calculating a
          Statistics, U.S. Pepe:talent of Labor(Code No. in the Producer Prim Index -Titanium Pigments Index of the Bureau of Labor
          Index from the last month of the Quarter in width' U622.0209, 1982-100). Such percentage change wilt
          Quarter for which the Royalty Payment is being            the Sales Value referred to in Clause (1). was be          batetd on the change in the
                                                                                                                            used to the last mond' of the
                                                             Calculated.
          10. it1O3t Favored lessor, If RCC
          aggregate Advance Royalty Paymenta per agrees, after signing this Urea., to pay a higher Waal Payment per acre, higher
                                                        acre (occlud
          lease date payment which raises a lessor's total lease ing any such higher payinents•tlost result from either (i) an Increase in •
          lessor's tool Advance Royalty Payments and Royaltydate payments to seven percent(7%)of ACC's then-marent estimate of the •
                                                                        Payments or CU):variations in Advance Royalty.Paystie
                                                                                   to                                                    nts that are based
          Ortileoilatiotitf:tOryaZalts!2pha Lester
                                              fi ot highera roc2;Ilthrcaetsessatays aaacTunlIfk.gcvie                                               30
          ihe snore favorable levels, and the more favorab                                                 tr,oga2ftfvg,fieotlyu :invlevdtiyi't tc.
         :Clause does nut require that nacruaaive adjustn le levels that are prospective In nature will thereafter apply.to'dda Lease.
          to pu(chases, options to purchase,puichaee-lease  tents include the tune value of money. This                                                This
                                                               back arrangement* or other arrangements. Clause applies only to leases and not
          11- Completion
               (a)       FCC will send Lessor
                0?)      The neat stock g•postwritten     notice when it has completed Mining on the Property,
                                                  after such apace will contain
         and,Advance Royalty Payments paid to dm*, with (ii)                      a reconciliation comparing (i)
         Property from which RCC removed the topsoil in prepara        the product obtained by enuttipl isg thetotal  total of all Royalty Payments
                                                                            tion. for sMining dints 33,SWper               number of acres of the
         provasion in Section 8(Minimum Royalty) of the Lease.                                           '     -acre average Minimum Royally
               (e)           htaeStock Reportreflects that all tons
         Report will be Lessor's last Stock Report and (hiel reconcilig Miriam's 'attributed to the Property have already
                                                                          iation, and Lessor will be paid (i) any              been sold, that Stock
         that Quarter, and (U)_M. final payment, if any, require                                                    Royalty Payments'payable for
         Payment"). The Final Payment will equal the anusuan d by the $3,500-per-ace average Minimum Royalty provision (the 'final
         described In Clause ll(b)(1).                             ,if any, by which the pd act described in
                                                                                                                 Clause 11(b)(ii) exceeds the total
               (d)       If that Stock Report reflects that ;my tons of Mineral
         bepaist any Royalty Payments payable for that Quarter                    * attributed to the Property have not yet beers
                                                                                                                                    sold, Lessor
         to either: (i)forfeit all rights to future Royally Paymen ,and Lessor. may elect, by sending written notice.,to RCC within 30 days,
         determined in accordance with Clause 11(c) above;           t. with regard to all unsold tone and receive the Final
                                                                    Or GO continue Lessor'. Stock Accoun
                                                                                                                                    paymen  t, if any
         reconciliation.and Final Payment, if any, until                                                      t in. existence, and defer the final
                                                              all
         Advance Royalty Payments can be used in determi such unsold tons are sold and the: final total of ell Royalty Payments and
                                                                ning any Futalfayment due.
         12 4riclaItdr...86CO11fLE0=
                                          0/It21.1256.9fErdirniati212Lrairrakatitict
         cossunences Mining on the Property, RCC                                           1,P               At least one tezbme:ore FCC
         tone of Minerals located therein. Using thewill estimate using the then moat current  drilling data arid survey         tiers, the
         expected Recovery Rates and prices, RCC higher of title esiiniated tonnage or '51.38L             tons  and applying reasonably
                                                    will
         from the Mineralized Property. The Advance in good faith estimate the total sales value of the saleable Mineral& recoverable
         Section 6(Waal Payment anti Advance Royalty   Royalty Payment antral to'70% of Eatimated Future
                                                                                                           Royalty Payments set forth in
         sales value times the eight percent (8%) royaltyPayments)of the Lease will be determined by(a) multiplying the estimated total
                                                           rate,(b) multiplying the result by seventy
         therefrom all Advance Royalty Payment& previou                                                 percent (70%Y, and (c) deducting
                                                         sly made under the Lease.
         13- tirQftellahee OliEstinusfes or 1!••?1VWIStalkftt Because of
         estiznat:ia which may affect Leasode Royalty                                    the inhefent uncertainties in making projections
                                                                                                                                           and
         any'representation, written or oral, as to thePaymen  ts, Lessor,in deciding whether to enter into Oda Lease,
                                                        threliltood or value of Royalty Payments, and Lessor             should not rely upon
         $3,500-per.acre average Minimum Royalty provish         contain                                         should beat in mind that the
         engages in Mining on tile Property, and even        in          ed In Section 5(Mntlan u.nt Royalty) of the Lease applies only
                                                        then                                                                            if RCC
         In preparation for Mining. Leaser ac.knowledges applies only to the total number of saes front which FCC removes the topsoil
                                                             that 1.,1110r Understands the foregoing sentence and lessor
         has nut relied upon any representation, written or oral,aa                                                         agrees that Lessor
                                                                     to the likelihood or value of Royalty Payments.




                                               ; :          •
         51Inter/



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Case 2:25-cv-06135   Document 1-1   Filed 07/07/25   Page 164 of 263 Page ID #:179




                                   EXHIBIT A
                                       TO
                                  MINING LEASE
                                 BY AND BETWEEN



                 G. L. PARSON, JR., AKA GEORGE LEE PARSON, JR.,
                AKA G. L. PARSON, and AKA G. LEE PARSON, JR., and

               MARY ELIZABETH PARSON, AKA MARY BUTTERWORTH PARSON,
                   AKA MARY B. PARSON, AKA MARY E. PARSON, and
                   ARA HRS. G. L. PARSON. JR.. husband and wife
                                    (LESSOR)


                                       AND

                             ROC (USA)-MINERALS INC.,
                                     .(RGC)




                                       177
Case 2:25-cv-06135            Document 1-1                Filed 07/07/25             Page 165 of 263 Page ID #:180


                                                      EXRIBIT A'



                 ender the terms or the abase.referesaced Mining ieeee, to which this tchibit is'sstmehsa; Lesser Usi
       leased to Bps, and granted to vac various rights regarding, certain zeal property (int:ladles ail mineral sights
       and Minerals) referred to se the *Property., which ie situated in the     Stony Creek •   XagistAvrial Distect,
       Sunset            County, Site of Virginia, which is hereby represented and warranted by ieeser to omomot to
       16.6    sexes, and which in described se followea     .


       That sane tract or parcel of land conveyed to G. L. Parson, Jr. by
       Warranty Deed, dated April 15, 1960, and recorded in peed Book 59
       at page 579, in Clerk's ()Moe of Circuit Court of Sussex County,
       Virginia. To Wit: All "that certain tract or parcel of land lying
       and being situate in the County of Sussex and State of Virginia
       containing sixteen and five tenths acres (16.5) more or less and
       herein after described as follows: Beginning at aa iron stob on
       the Cabin Point Road, running thence along the said Road South 79'
       15' East 983 feet, thence North 32* 00' East 343 feet along the
       said Road, thence North 7°00' West 1013 feet to a pine tree, thence
       South 41°45' West 1537 feet to the point of beginning.

        Subject property is referred to in the Sussex County tax records as
        Tax Parcel Number 101-13.




                                                              178
Case 2:25-cv-06135                Document 1-1                   Filed 07/07/25                    Page 166 of 263 Page ID #:181
         STATE OF VIRGINIA
         COUNTYOF       suesex'

                           •                    EgibiSZKAKIZatiAltilMaLf6a
                 RCC(USA)Wounds Irin,•Delaware corporation,("ROC,and

         ci sor have entered Into e Deed of Mining Leese dated      0;.tober ).3                   1949
                                           CLeasel, the terms of which are Incorporated herein by reference. The
         amors other things that:                                                                                Lease prcnoides

                1.        ACC, as tenant, has leased from l,essor, as landlord, the Property described on Exhibit
         exhibit is also attached hereto as Exhibit A. ••                                                         A to the Lease, which

               2. .      Lessor ha* granted to RGC the right to explore for and nine various 'varietal* on
         eoriduet nsizting-related operations on the Property.                                             and kinder the Property and to

                3.      The term of the Lease begily on the date f the 1..ease set forth above and
         earlier terminated or temporarily extended pursuant to the Lease.                         cOntinues(or a period of 20 years, unless

                 • 4.     (hiring its term,the Leaseis binding upon any successors'to all or any pertionsof                    •
                                                                                                              Lessor's.interest in the Property.
                  5,      The Lessor's name and address are:
                             C. L. Parson, Jr. and Mary Elizabeth Parson, husband and wife
                             Route 1, Box 60
                             Stony. Creels, Virginia 23882

               6.      RGCa 11411Xl• and address ersn'ILGC(USA)Minerals, Inc., Attention: Land Manager, Wagner Road,
          Green Cove Springs, Florida 32043.                                                                        P.O.Box 1307,

                  IN WITNESS WHEREOF,                RGC     and     Lessor     have    executed    this , Memorandum           of    Lease    as
          of       October 13, 1989


         =Mt
                                 • CPer-01..4
                                                                              By:
           G. L. Parson, Jr.
         (Print Narne)                                                        Its              Vice                                    President
           AKA Ceorge Lee Parson, Jr:.
                                                                              ICORPOKATESEALI
           AKA G. L. Parson
           AKA C. Lee Parson, Jr.
                                                                              Attest*

                                                                              Its:


                                                                              STATE OP       FLO* •A
                                                                                                      CLAY
            Mary E j.za.b th Parson                                           CITY/COUNTY OF
          (Print NUM
                                                                              The fotageing instrument was acknowledged befogs, am
            AMA. Mary Butterworth Parson                                      this 13' day of • February •                          0
            AKA Mary B. Parson                                                by    Daniel?. Wolcott
            AKA Mary E. Parson                                                as          Vice                President of RGC (USA)
            AKA.Mrs. G. L.'Parson, Jr..                                       MINERALS INC., a Delaware calporeticm, on behal1 of the
                                                                              corporation.
                                                                                                         " Notary Palk, State of Brad
                                                                                  Commlw       cpkes
                                                                                                         M Commission Espies May 2), 1993
                                                                                                            •bads4 bus Issit Wash...en bos
          'STATEOFVIRGLNIA .               .
                                                 •                             Notary Public •
           EiTA7COUNTY OF ...(1.14.44-4-."•/
                                                                               [NOTARIAL SEAL1
           The foregoing instrument was acknowledged before
           ate this _I le4-1,day of                     19         g9
           by C. L. Parson. Jr., and Mary
                E lizabeth Parson. husband and
                   wife



               My Commission EXpires:
                                         ac,6_,
                                          d. .2 , NC
                               N.
                otAry Public


            (NOTARIAL SEALI




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                                                                                                    MEV       :Pe         (   lAt
Case 2:25-cv-06135                    Document 1-1                   Filed 07/07/25                  Page 167 of 263 Page ID #:182
            STD Lease
            VA 8/89
                                                             DEED OF MINING LEASE                            C PV
                     TEllS DEED OP MINING LEASE,including the attached Exhibits which are incorporated herein by this reference,("Lease")

            La       made      and     entered    . Into    on          October 13,                           1989                      by    and
            between _C. 42 ParsonA_Jr., AKA Goroe_Lee ParpoA, Jr.. AKA G. L. Parson, and AKA
            G.        e                                                                              a     Butterworth Parson                AKA
            Mary B            Parson. AKA Mary E,'Parsoli. and AKA Mrs- C.L                               Parson. Zr... husband and wife
       •                             n
             Route 1. Box 61,_51.g.......y_Saaa1                 jr.gliiia_22.852
           ("Lessor") and RGC(USA)MINERALS INC.,* Delaware corporation whom address Ito Warner Road, P.O. Box 1307, Green Cdve
            Springs, Florida, 32043 ("RGC"). In consideration of the mutual promises made in this Lease, and other good and valuable
            consideration,the receipt and sufficiency of which are hereby acknowledged, Letsor end RGC agree ae follows:.
                      1.    Df1aCCM/3/18. Any word or phrase that ii capitalized and placed in quotations 111 this ',easels•defined term
            and when it is capitalized will have the same meaning throughout this Lease.
                    2.      &cogs. The purpose of this Leslie Is to allow RGC•to explore.for and, at RGC't tole dlicretion, to minq.
            remove, commingle, end sell Minerals from the Property, to use the Property to mine Minerals front the Property or other
            property, and to conduct related activities, "Minerals mean. he following group of minerals and mineral products: Ilmeotte
            Leucoxerte, Rutile, Zircon,Stattrolite, Kyanito/Sirthrtanite, Monazite, Xeriatime, end Garnet, and assodated by-product,. Title to
            any Minerals mined shall, If not already vested in ROC, peas to RGC as they are severed from the Property.
                    3.       OrAnLeienv. Lessor hereby leases to kcc the Property (as defined on Exhibit A), on the terms and
            conditions in this Lease.
                    4.       atantaltights. Lessor grants to RGC the following exclusive rights with regard tu the Property:
             •              (a)      To enter the Property to survey, explore, drill, test, and sample (the foregoing activities are defined as
                                   '   Exploration"):
                            (h)      To .clear the Property of such buildings (subject to. Section 21 (Compensation for Buildings)), other
                                     structures or obstacles, earth, standing timber, plants, end such other thing. or Material that RGC, in It.
                                     absolote discretion, wishesto clear from the Property to exercise it, rights as set out,M•this Section 4; to
                                     construct,.relocate use, or remove roads, power and earnmunication lines, dredge ponds. tailing ponds,
                                     settling ponds, pipelines, bu.Udings, storage facilities, canals, tailings, signs, gates, fences, and other
                                     structures and 'faalitles on, the Property; to take step, to prepare for mining on the Property; and to
                                      develop, mine, erme-mtne, dredge, remove, concentrate, seperate, commingle, stockpile, haul, process,
                                      ship, and sell Minerals (the foregoing activities, whether conducted on the Property or on other property
                                      In Dinwiddle and Stumm Counties, Virginia ("Areal,are defined is "OperatIons");
                            (c)       To use the Property to store, transport, or dispose of Minerals, water, tailings, and material resulting from
                                      RGC's Operations;
                            (d)       To use water from or appurtenant to the Property and to drain through and frotr! the Property and to
                                      draw into any course in the Property any water front RGCt Operations;
                            (e)       To take all steps to accomplish Reclamation(as defined in Section 14)of the Property;
                            (1)       To use all easements, means of access,and di/heti-a-way froMand to the Property;and
                            (5)       To use the Property for the purpose. described in this Section, in conjunction with RGCs Exploration,
                                      Operations'anti-Reclamation on other property.
                     Notwithstanding the foregoing, RGC is not granted the right under this Lease to construct or operate on the Property a
              processing plant for the final eeparation of the concentrate into saleable Minerals. '
                     5 .       Tem   ofLease. This Lease will begin on the date first Written above and will end 20 years thereafter, unless (a)
              the Lease is ended earlier under Section 19 (Termination),(h)the Leese is automatically tercninatedby ROC'. failure, for reasons
              other  than a temporary    inability to obtain through diligent efforts all necessary governmental permits and authorizations. I.,
              commence -Mirung"(as defined in the Royalty Policy) in the Area by the eighth anniversary of the Lease, or (e) the Lease is
              automatically  extended   to allow RGC to complete ongoing operations on the Property. If so extended, the Lease shall terminate
               upon the earlier of written notice from RGC pursuant to Section 19 (Termination), or the passage of a period of 180 consecutive
               days in which RGC conducts no Operations on the Property. 'Tertn" Means the period of time during'Which this. Lease Is in
              effect, and,in the abtencs of earlier terminaHon,Includes both the initial 20-year term and any extended term.
                     6.      •jatiargymentsuystAgigange_lkycaLnumtepo. Subject to the terms and condittona of this Lease,
               11GC will pay to Leiser, during the Term of this Lease, on or heforethe dates Ind cated the following lump @loin payments and
           ' payment. per acre of the Property retained under the Least it the time of the payment:

                           Piremali Daft                                  Payment Type                    Payment
                 Leese Date                                            initial Payment                    5250 per acre          GLP
                                                                                                                                    .     r7 a 4)ii)
                 Lease Date                                            Advance Royalty      $842. 1.1 wrt9ta per tem

                 On or before December 31                              Rental Payment                     $15 per acre
                 of each year following the                                                                                         MEP
                 year this Lease is signed

                 Earlier of(a)"Mining."(as                             Advance Royalty                    5 145.000.00
                 defined In Royalty Policy)                                                               lump aunt,equal to 51000 per acre of
                 in Area or(b) Fifth Annsverary                                                           "Mineralized Property"(as defined in
                                                                                                          Royalty Policy)

                 Tenth Anniversary if no                               Advance Royalty                    5 145 000.00
                 "Notice of Mining (ea                                                                    lump sum,equal to 51000 per acre 9t
                 defined in Section 9)given                                                               Mineralized Property, subject to "707.
                                                                                                          Limitation"(as defined in Royalty Policy)

                 Firteenth Anniversary if no                            Advance Royalty                   $ 145,000.00
                 Notice of Mining given                                                                    lump sum,subject to 70% Llmitation

                 Noticedf Mining                                        Advance Royalty                    70% of Estimated Future Royalty
                                                                                                           Payments(as defined In Royalty Policy)


                 The Initial Payment end all Rental and Advance Royalty Payments paid to Lessor are non-refundable. The Advance Royalty
                 Payments paid to Lessor will be credited against any Royalty Payments otherwise payable pursuant to Section 7(Royalty
                 Payments)and may be prepaid by RGC. Payment to Lessor of the payment required upon Notice of Mining will satisfy in full
                 arty obligation RGC may thereafter have to pay the Tenth and Fifteen tlt Anniversary Advance Royalty Payments. •
                         7
                         .       Bilyalta0=8/1,48. RGC will pay to Lessor quarterly Royalty Payments equal to eight percent (8%) of the
                 Sales Values of Minerals, attributed to the Property, which ACC mines and sells. The Royalty Payments will be determined and
                 paid in accordance with Exhibit B,.RGCs Royalty Policy for Virginia Operations (i'Royillty Policy").
                        8.       mkaimemEctrzw.            If the total of all AdvanctRoyalty Payments and Royalty Payments paid to Lessor under
                 this Lease does not average 53,500 per acre for all of the Property from which RGC removes the topsoil in preparation for Mining
                 CMinintuni Royalty'), RGC         pay to Lessor the amount by which the Minimum Royalty exceeds such told, 'Any such payment
                 will be determined and old In accordance with Clause II of the Royalty Policy.
                        9 .                 tier gillw-erpperiy. During Exploration, Lessor and RGC will work together to accommodate
                 Lessor's normal activities on the Property. RGC will give Lessor at least twelve months notice ("Notice of Mining") if RCCs
                  Mining will require Lessor to cease activities on the portion of the Property described in the Notice of Mining. Until the end of
                  the notice period, Lessor will have the right, but.not the obligation, to remove for Lessor's account any cropa, timber, buildings,
                 irrigation systems, fixtures or personally of Lessor from that portion of the Property. From the end of the notice period until Rt..C.
                  notifies Lessor otherwise, Lettor will cause all activities to cease on that portion of the Property. During Reclamation, RGC will




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Case 2:25-cv-06135                   Document 1-1                      Filed 07/07/25                    Page 168 of 263 Page ID #:183
       work with Lessor to allow Lessor to resume Lessmos normal activities on the Property, as goon a. r.eelonably ?erosible and as
       permItted_by governmental reelarnatien retuirecnents. Lessor.will and does indemnify CC from and against any clainuasserted
       against RUC arising out of the activibes °Ileum or Leasees invitees. Lessor.will be s.oiely responsible for, and will bear all nok
      ;of 1011 related to, any government allotment, subsidy,stabdszahon or conservation prosrarns that may apply to the Property.
                         &ik t Except as otherwise provided in this Lease, only RGC employees and Visitors authorized in writing hy
       RGC will be Permitted on those parts of the Property on which Operations are being conducted. 'All RGC-aut hot-lead visitor* and
       their vehicles will carry RGC Identification at all times that they are on the Propert                      .    '
                11.' RUCALCOMPLY-irdi-iSafte2111011014312-1046:7110                                             RCC will conduct its Exploration and
       Operations In compliance withall applicable safety laws and regulations: .RGC will and does-indemnify Lessor from and.,
       any claims(environmental or otherwise) asserted against Lessor atiaing out of RGCs activities.'RCC will also indemnify line.
       from, arid pay Lessor for, actual damages caused by RGC to crops, pasture, timber, fences, gates, roads and other improvements
       not described in Section. 21 (Compensation for Buildings), located on any portione of the PrOperly that are .not mined but are
       otherwise used by RGC in its activities. RGC will in no event be liable for special Or consequenHal daolagea, and any.payments
       made pursuant to the preceding sentence will be deemed full and complete corn +Mutton for the damages in question.
                la       Rete's Right                                                                 , to_stioe. Nothing in thi: Lease or In the
       relationship between Lentoe and fIC.:C will constitute,or create any 'express or.implied duty oit the'part of RGC to perform.
        ExpIoratIon or    Operation*,    or to  Mina the  Property  at any  rate, in  any  manner, or at all. 'RGC', Exploration and .Operarions, if
       any, will occur only to the.extent and at the location* and times, and (oft. methods and manner.that RGC,hilts.sole discretion,
        may determine; provided, however, that RGC will not 'conduct Operations within 200 feet of Lessor's principal residence or any
        principal residence on property adjoining the Property,-or in such a way as to deprive any such residence of leteSS tit a public
        road, utiltities and wafer supply until RGC complies with Section 21(a)(Compensation for Buildings— Principal Reeideoce)(in
        the case of Lessor's principal residence) or obtains the adjoining property owner's written consent (In'the Cele of an adjoining
        residence); and provided further that, Lf RCC engages ln Mining in the Area, then RGC will use Its best efforts to Mine all of the
        Mineralized Property that can be mined in a commercially reasonable manner. •
                13. Co,pJpoe Trial Laws. RGC. activities on. the Property Will be conducted itt. compliance with all
        applicable Federal. State and local laws and regulations. . .                    • '
                14. Rectamation,. RGC areert to comply with all State and Federal laws, regulations and permits epplicable to the
        Reclamation of the Property. RGC also agrees to post a bond, to the extent required by Virginia law, to ensure that all the
        Property, which RGC mutes will be ceclaimed in accordance with law. RGC will and doe/indemnify Lessor from and against art@
        claims by State or Federal regulatory agenciei arising from RGCs failure to reclalm.in accordance with applicable !Owe, excluding
        claims caused in part or in whole by Leggett's failure to cooperate With RGC in accordance with the terms of this Leese. RC.C'. -
         Reclamation of any Property mined may Include, but not be limited to, refilling the mined.path With tailings discharged from the
         wet mill, dykirtg and *Emulating settling ponds, replacing and grading the topsoil, replanting and otherwise complying with all •
         applicable governmental redsniation requtrements('Redamation").
                 15.      Audit. Lessor will have the right at Lessor's expens• to appoint an independent auditor rtmsOnal.iyapprov:,l ly
         RGC(which approval is hereby given if Lessor appoints a national (inn in the United States of recognized repu(ation), to audit,
         not retire than once in any year RGes records relating to the determination of Royalty Payment: for RGCs 'Fiscal Year
       (currently July 1 - June 30)immediately preceding such audit. Latuir will instruct Lessor's auditor to send a copy of hie report to
         RGC at the same time that he sends his report to Lessor. Also, Lessor will notify RGC in writing of any objections Lessor may
         have regarding Royalty Payments, within 60 days of Lessor's receipt of Lassoes auditor's report. ••
                 16. Ihm. Taxer will be apportioned and paid as fellows:                       •            .
                       •  GO       RCA: will pay the following taxes or portions thereof: arty mineral sevetence taxes related to RGCs
                                   Operations; property taxes, pro-rated for the portion of the Properiy sad the tim• period in which Lessor .
                                   Is prohibited under this Lease trout conducting activities; and any increaseln property-taxes attributable to
                                   the Minerals or RGC.Operations. "'
                         (b)       Lessor will pay all other taxes related to the Property, including but not liMited to: any taxes on Released
                                   Land (as defined in Section 19(Terntination)); any income, capital levy:,estate,sift, succession,inheritance,
                                   transfer or franchise taxes;and any taxes attributable to Lessor's activities owthe Property.             •
                         (c)       Lessor will send RCC copies Of all assessments, tax bilk or. other tax notices related to the Property or to
                                   RCCs Operations thereon within 14 days of Lessor's receipt of the same or in Such shorter time as may be
                                    necessary to preserve the rights of RGC and Lessor to protest or appeal the same.' Lessor will cooperate
                                 . with RGC in any such -protest or appeal. RGC may, in its discretion, pursue such proteit or .appeal
                                   independently of Lessor. RGC will in any event not be obligated to pay (I) any increase in loxes which
                                    RGC is unable to protest or appeal due to Lassoes failure to comply with this Section 16(c) or (ii) any tax
                                    bill which RGC does not receive at lust 14 days before the bUl is due.                    . •
                           Ida      RCC may, but Is not required to; pay any taunt on the Property foc which Lessor is responsible under
                               • Section 16(b), grade-duct such taxes paid from any payments otherwise due to Lessor under this Lease.
                 17. Wawatity_ofillie. Lessor werraots a.follows;                          .
                         (a)        Lirisor' Is the solelegat and equitable owner, in undivided fee simple, of the sitzface and mineral estate.
                                    that comprise the Property without limitation whatsoever;
                         (b)        The Property        free and dear of all leases,.liens, encumbrances and eotstandorg adeeise claims and
                                    interest., not of record;                          , .
                           Cc)      Lessor he* hill power and-authority to execute this Lease; ,
                         (d)        RGC shall have the quiet and peaceful possession and enjoyment of th; Properly, Minerals, and 'the
                                    proceeds therefrom, against all persons or entities who may.claim any interest therein; •
                          (e)       There het been no violation of any epplicable Pederal,'State, or local law or regulation relating to zoning,
                                    land use, environmental protection or otherwise with .         respect to the Property or activities relating thereto;
                           If)      andla Leese,and RGCa tight, title and interest hereunder, shall at all times be superior to, and hive priority
                                    Th
                                  'over,any right,title or interest in the Property created during the Tenn of this,Lease.                   • .'
                  18. Ulmer Interred. In entering into thirs Lease, RGC is relying on Lessees warranties-of title contained in Section
          17(Warranty of Title). Without impairment of those warranties of title, if Lessor Owns less thanthe entire and undivided.aotate in
          the Property. RGC may(a)proportionately reduce all paynienta otherwise payable under this Lease,(b)offset any prior payments
          related to the unowned portion against any future payments payable under this                       and (c)exerciseany other available rights
          or remedies.                                                                                         .
                  19. • Termination. RGC will have the right to terminate'this Lease with regard to all or any portion of the Property
          at any time by sending a written       notice to Lessor at least 90 days   prior to such   termination.  The termination will take effect upon
          the date specified in the notice. Upon termination, all of RGCs rigor, and obligations under this Lease with regard to the
          Property or portion thereof apecllied in the notice (the 'Released Land") wW ternunate except for any -Reclamation rights and
          ohlsgations and any Minimum Royalty or Royalty.Payment obligations arising out of mining conducted on the Released Land
           prior to such termination. In the event of as partial termination, this Lease will continue in effect with reaped to all Property
          except the Released Land, and the term 'Property" will thereafter mean and include only the retained Property and not the
           Released Land. After termination, RGC will execute,-dellver attd record a release confirming the relinquishm.mt of the Released
           Lend. Nothing in this Section will negate any obligations RGC has-under this Lease with respect to Reclamation of the Property.
           Notwithstanding the foregoing. RGC will not terminate this Lease in whole or it; part at any time prior to the sixth annivezury
           unless RGC also terminates all of its other mining leases in the Area.              .
                  20. 21‘14AKumatt. Lessor will promptly provide to RGC copies of all documents Which Leaser one, or it, the
           future possesses, relating to or affecting title to the Property, including, but not 'Milted to: 'title !mutant:I 'policies, deeds,
           mortgages, trust or aecunty deeds. boundary agreements, judgments, liens, onfers, surveys, boundary descriptlona, maps;wills
           conveying an interest in the Property, trust instruments, leases, licenses, gage-manta and rights-of-way. Leosor, will give RC,C
           notice whenever Lessor learns of any matter whiclimay affect the title to the Property. At RGC's request, Lessor atria sign and
           deliver to RGC such additional formal assurances or other, documents, in proper and recordable form, aa may reasonably be
           necessary to.carry out the terms and intent of this Leaae. Lessor will Inform /ICC immediately if Lessor tails to payer discharge
           in a timely manner any promissory not., mortgage, tax,'or.other lien upon the Property, and RCC may then pay it and Be
           subrogated to the rights of the holder thereof. Except for any taxes for which RGC is liable Under this Lease, RGC will -have the
            right to offset, from any payment otherwise payable to Lessor under this Lease, all amounts paid by. RGC to discharge any such
            promissory note, mortgage,tax or other lien.                                         .
                  21.      QuttaraosituatacHuildin.fa-                                                              •         •
                         (a)    • Principal esidence. If aGC proposes to remove Lassoes principal residence on the Property,'RGC will
                                   give Lauer not less than one year's notice of its intention to do so: At least 100 days prior to such
                                   removal, RGC will compensate Lessor by making a payment.to Lessor equal to two time,the then-present'
                                   fair market value of such'residence (excluding land), as determined by the average Of two appraisals, one
                                   by an appraiser selected by Lessor, and oneloy an appraiser selected by RGC,front a list of rile MM or
                                   MA-approved appraisers compiled by RGC. Lessor may thereifter occupy the residence'until the one
                                   year nollte period expires,'at which time Lesser will vacate' the' residence to allow Its, removal. Na
                                   residence will be consbucted on the Property during the Term -of this Lease without the •prior written
                                 , consent of both Lessor and RGC.                   •

           4l8TEMP2



                                                                            181
Case 2:25-cv-06135                Document 1-1                     Filed 07/07/25                   Page 169 of 263 Page ID #:184
                       09           Other Building:a. U RCC proposes to remove other buildings on the Property, RGC will give Lessor not
                                    less than slit months' notice of its intention to do so. At least 90 days prior to such removal, RCC will
                                    compensate Lessor by making a payment to Lessor equal to the approximate replacement coat of
                                                                                                                                           buildings
                                    of that nature, as 'determined by,the average of'two appraisals by 'appraisers selected in the Manner
                                    described in Section 21(e). Lessor will cease using the relevant buildings 30 Clays prior to the proposed
                                    removal and will facilitate removal in all respects.
                  22       220-ZeW301.17111•Mts. If RCC learns that a third party may have • claim of ownership in any portion or
        percentage of the      Property   or any payments under this Lease, RGC may deposit in a special escrow account (with a bank or title
        insurance company located in Virginia) any psyments otherwise due to Lessor under Ulla Lease and give Lessor written moire                 of •
        the deposit. The sums deposited will remain in the special escrow account until the 'claim or controversy is resolved, or until
        there bag been a final determination of the claim or controversy by a court or arbitrator, including any appeals therefrom,
                  23. AticatietwijostilltimApacimk&ghts. (1, during the Term of this Lease, Lessor acquires any right or
        interest in the Property or In any property adjacent OS easement5. appurtenant thereto,(a) Lessor will promptly. notify RGC, od
         any such right or interest acquired In the Property, which Lessor had in thia Lease already warranted' to he part of the prnrcriy,
         will become part of the Property subject to this Leese without any additional pr,rneut to Lessor,              RCC may, at FCC's(Tams, 91
         any time, lease any other such right oi interest on the same terma as the term, of this Lease, and (d) Lessor will sign
         acknowledge, and deliver an Amendment to this Lease and to the Memorandum of this Lease to RCC,3055 to include such right
         or Interest.
                  24. sail:idiot. if the Property.is now or later owned in severalty or In separate tracts, RGC will nevortheleai tie
         entitled to treat'the Property as an undivided whole under this Lease, with all payments payable under.the Lease to be Field
        (either directly or rinnia et         Section 25 (Multiple Owners)) to the separate owners of the Property Iit.the proportion that their
         ownership Interest, measured in acres, or percentage ownership decree, bears to the whole Property; provided, however, that In
         no event will RGC'e total payment obligations to the separate owners exceed the payment obligations that RGC would have
         Incurred under the Leese If the Property were owned In undivided fee simple bye single owner.
                   26.      Mgdpk_Quzogra. Whenever two or more parties are entitled to receive any payments under this Lease, RCC
         may withhold tiny such payments unless and until ailed those parties designate in a recordable Instrument an agent empowered
         to receive all such payments arid to execute division and transfer orders on behalf of all those parties and their respective
         successors In title. Delivery of any payment due under this Lease to the designated agent fulfills RGC's obligation to make that
         payment to those parties.
                   26. Autignawilit. Both parties have the right to assign their lights and obligations under this Lease, in whole Or IS1
          part; provided, however,that:
                           (a)     , The pert); making such an assignment must give the other party prior written notice thereof;
                           (b)       The provisions of this Lease will apply to and be binding upon the successors and assigns of the respective
                                      parties;
                            (c)       Any change or division In the ownership of the.Properly or of the right to receive any payments under this
                                      Lease, however accomplished, wW not increase RCT.:'s total payment obligations under 'hie Lease or affect
                                      RGC's rights•to conduct Exploration, Operations or Reciarnation on the Property;'
                            (d)       Notwithstanding Section 26(a), RGC may, without notIce.or consent, assign any of Its rights or Obligation.
                                      to affiliates of RGC,or use the services of independent cOrstrartme or agents to perform any of its rights or
                                      obligatione;and
                            (e)       No assignment will relieve the assigning party of arty obligations or liability to the other party, sudeas she
                                      other party provides a written release to the assigning party.
                    27. F_accrAWrixe. Neither party will be deemed in default under -this Lease during any period in which its
           exercise or performance of any of ha rights or obligations under this Lease Is •prevented by any muse reasonably beyond It Is •
           control. Such an event Is referred to in this Lease as "Force Majeure." Force Majeure will include, but Is not limited to, the
           following: fire, floods, storms, hurricenes, tornado*. winds,other damage from the elements, declared or undeclared war,strikes,
           labor dieputee, riots, civil u most, Fiction of governmental authorities, condeninarion, eminent domain, crime, Wittye to receive
           required governmental Approvals, Inability to obtain water for Operations,• substantial fell In the market prices of Minerals,lack
           of dices, litigation, act, of God,and acts of the public enemy. The Term of this Lease will be extended for a period Of time equal .
           to the petiod- of Force Majeure, Ali such periods will be deemed to begin at the earliest time a rany Is prevented from exercising
           or performing an of Its tights or obligations by reasons of Force Majeure
                                  B         . Lessor and-RGC represent and warrant to each other that no broker, agent, or finder has acted on
         • ifs litehalf in connection with this Lease, and that no cOmmissions,fees,or other monies are due to any broker,agent, or finder. In
        ..addition tailor sod RGC will and do indemnify each other front all claims with respect to arty brokerage, finder's or leasing ..
        - conuniseions In connection with this Lease or any of the transactioiss contemplated under this Lease.
                    29. •-coulemnation. Lessor will immediately notify.RGC of any condemnation proceeding that may affect the
            Property. Lessor will cooperate with RGC in defending or settling the same. RGC may, in its discretion, defend its rights
            independeility of Lessor. Any condemnation award will be shared .between Lessor and RGC ae provided by law. Any
            condemned Property will constitute Released Land as of the date of condemnation;and this Lesee will continue lit effect as to the
            reenathint Properly.          ;                                                          •
                      30. Disinikiwargion.                  Subject to the provisions of this Section, any controversy, claim, or dbpute arising out of
            or related'to this Lease, or to the fortnstion, negotiation, or breach thereof,, will be settled by binding arbitration in Ricbmond,
        . Virginia before a single arbitrator, in aceordance with the Commercial Arbitration Rules of the American Arbitration Association.
            Any award of damages will be limited to actual, compensatory damages. Judgment upon the award rendered by the arldtietor
            may be confirmed by, and entered in, any court having jurisdiction thereof. Prior to initiating any arbitration, theittit Ealing carry
             will give the other patty written notice of the claim, and will allow the other party :ill day, from the date that the maw., 0.
             received to amicably reanive the claim. If the claim is not'reaolved within the 311 day period, the Initiating pertys sole and
             exclusive remedy will be to submit the dispute to arbitration. The parties wW comply with arty arbitration award within 311 daya
            of its issuance, or ao soon as practicable thereafter, and the Lease will continue in hall force and effect. Intro event will the
            existence of any dispute, arbitration or award suspend or otherwise affect any party's rights or obligations under this Lease, cc
             Interfere in any way with RGC's Operations,                                                                           .•
                      31. No.Interfereaccirgbilacjalpszroiiona. Lessor has not, and will not, during the Term of this Lease,
             take any action or grant any right which would in any way interfere with RGCs exercise of its rights as set out In Section 4(Grant
             of Rights) of this Lease.
                      32. 14lp Implied or Cortlinuipg Waiirer. If either party waivea or does not enforce any provision of this Lease
             on any occasion, that action sviul not constitute waiver of: (a)that provision as to any other time, event or occurrence; or(b) any
              other provision.                                                                  •      ..
                      33. diejm"          .1Any notic iven to the other party under this Lease must be in writing, and sent by United Stades
              registered or certified mail,           receipt requested, or via Federal Express or stroller overnight courier.service, addressed to the
              ad-dresi set forth On the fitat pige of this Leese. All notices will be deemed to have been made when deposited In the mail or with
              the courier at provided above,•All notices will be deemed to have been received upon ,dual receipt by any person at the address
              listed above. Either party May change its address for the mailing Of notices byliving the other party notice of such change of
              address In the manner provided for in this Section.                                                                    •
                       34. • E.atio.Agasanalt.1/022MUiitiadififft4011. This Lease constitutes • the entire agreetnent between the
              parties and supersedes all previous agreements,written or oral. Lessor hereby eicpreSslyacknowledges that, in entering into this
               Lease..,Lessor has not relied on any oral or written statements made by 11CC, itsemployees, agents at' independent contractors.
              This Lease may only be modified by a written agreement in recordable form signed by Lessor and annuthorited officer of RCC.
                       35. f2wicr.of141.1g. This Lease will be construed,•interpreted and governed by the laws of Virginia. •
                  .te.• sicatirmaas_musligm..This                        Lease <0113691.1te5 a covenant running with Use land and wilt be billtii/Ig 991,
               and inure to the benefit of, Lessor, RGC,and Lessor's and RGC's heirs, legal representativel, em•ClIterS, adelLSIStr Atom rueoisSo:
               and assigns,as the case m1ty be.
                       37.                      . In the event that any court or duly appointed arbitrator determines that any provision of this
          • Lease Is unenforceable, illegal, or in CIPtIlliCt With any Federal, state, or lootl law, tho parties will petition (or will hereby be
               deemed to have petitioned) the court or arbitrator to reform that provision in such a way as to carry out the Intent of the parties
               to the ir.rtent permissible under law.. If the court or arbitrator declines to reform that provision, then that provision will t:e
               conaldieed severable from the rest of the Lease, the remaining provisions of the LOSSE will not be affected, and this Leah: will be
               construed and enforced as lithe Leese did'not contain the unenforceable or ill al   eroUision.         •                             •
                        38.                                                                                 .LeSnietifiget. Lessor and RGC do riot
               Intend that any provision in this Lease will in any way violate the Rule Against Perpetuities'or any related nil.: If any such
                violation should occur,it is the intent of Lessor end RGC that the appropriate court or arbitrator will reform theprovislon hrouch
                a way ea to approximate nittst closely the intent of the parties vvltjsfsi the !halite pirrxrdeelble under such rule or related rule, and
                will enforce the Lessees.° reformed.




             418TEMP2




                                                                        182
Case 2:25-cv-06135               Document 1-1                    Filed 07/07/25                  Page 170 of 263 Page ID #:185
              39-       Mensucormitwt. • At the time thia Lease is signed; the parties will sign a' Memorandum
                                                                                                                   of Leant width RGC will
        record. In the event of a conflict between thesiensts of the Memorandum of Lease and this
        control                                                                                          Lease, the ternu of this Lease will
               40. Martgagecefinfigig. Lessor agrees to use Lessor's best efforts to obtain promptly, and to provide
        coy),of, any consent to this Lease required by the terms of any mortgage or other instrument creating rights               to RGC a
                                                                                                                       superior to this Lease
        Wsth respect to all or arty past of the Property. such. consent, however, will neither affect nor be a condition
        effectiveness and enfocceabdIty of the Lease asbetweentes or and ACC.                                               precedent  to the
               41. Hdingi The.headings contained in this Lease axe for the convenience of the pasties only, and will
        used in its interEute.tIon.                                                                                                    not be
               42.                       ThataiirtiPt Thit Lease_ In addition to other obligations that alttViva this Leases.
        in this Lease, the pectin'. obligations under the fellowiniSections of this Leaae will remain in full(ores and effect        set forth
        will not be affected by, the termination of, or expiration of the Term of, this Lease: Sections 7-9, 11, 14-15, 17, following, and
        32-38,and 41-43.                                                                                                    19, 22, 24-28, 33,
               43. Good Faith. During the Tenn of this Lease, each party.win an in good faith to fulfill the !Moat of this Le...,
        and will meet with the other party to discuss and to try to resolve amicably any iaaura that may arise.
                                                                                                                    •




               IN MIME WHEREOF,the parties have executed this Lease undet seal as of the date first above written.

         OWNER:                                                              RGC(USA)MINERALS INC.:


                t.                                       ISE41,1           . By.

          G. L. Parson, Jr.
         Wrintlimm0'
           AKA George Lee Parson, Jr. •
           AKA G. L. Parson
           AKA G. Lee Parson, Jr.




                                                                              STATE OF         FI.011IDA
                                                                              cowry OF            CT.iItY
          Mary Elizabeth Parson
        (Print Name)
                                                                              The foregoing instrument was acknowledged before In.
           AKA Mary .Butterworth Parson                                       this 13       eiSy of February             ' —1989T            1q90,
           AKA Mary B. Parson                                                          narti 01 P. Wolcott
                                                                              by
           AKA Mary E. Parson                                                      • *di re   Piraident of RGC (USA) MINERALS
           AKA Mrs: C. L. Parson, Jr.                                        . INC., a Delaware corporation, on behaU of the
                                                                              corporation.




          STATE OF VIRGINIA                                                    Notary Public

          CaPce/COUNTY OF                                                      My                  .NatpyPublk,StateoflhM,
                                                                                              'My Commission Egivas kW 21, 1991
                                                                                          .    .14%jiridcli Thon55 Ns• Wu...Is..
          The foragoin instrument was aticnowledged Wore me
          this I g4k day of R.e..1041-A._              1989,
          by G. L. Parson. Jr.. and Mary
               Pjizabeth Parson, husband and                                  (NOTARIAL SEALI
               wife



           My Commission Expires:      ckts,e„ .I,/ I 9 it

             otary Public

            NOTARIAL SEALI




                                                                      183
Case 2:25-cv-06135               Document 1-1                     Filed 07/07/25                  Page 171 of 263 Page ID #:186
        STATE OF VIRGINIA
        COUNTY OF      Sue RP it

                                                       REMQEMQUIti.QUILNE.0466
                RGC(USA)Minerals Inc.,a Delaware corporation, MC,and
                                                                                                     C
        'Lem?)have entered into a Deed of Mining Lease dated
        (                                                            October 13. 1989
                                        ("Lease'), the. terms of which are Incorporated herein by. reference. The itala provides
        among other things that:
                1.        RGC, as tenant, has leased horn Leasor, as landlord, the Property described on Exhibit A to the Lease, which
         exhibit is also attached hereto PS Exhibit A.
                                                                                             •      •
                2.        Lessor has granted to RGC the right to captors for and mine various minerals on and under the Property and to
         conduct mining-related operations on the Property.
                3.      The term of the Lease begins on the date of the Lease set forth above and continues for a period of 20 years, unless
         earlier terminated or temporarily extended ptuattant to the Lease.
                 4.      During its term, the Lease Is binding upon any successor,to all or any portion,of Lessee interest in the Property.
                 S.      The Lessor's name and address arr.
                           G. L. Parson, Jr. and Mary Elizabeth Parson, husband and wife
                           Route 1, Box 60
                           S tony Creek, Virginia 23882

              6.      RGC'e name arid address are: RGC(USA)Minerals, Inc., Attention: Land Manager, Warner Road, P.O. Box 1307,
         Green Cove Springs, Florida 32043.
                  IN WITNESS WHEREOF,• RGC                  and    Lessor      have    executed    this   Memorandum       of     Lease       as
          of       October 13, 1989



                          .41 Cad-LA all
           G. L. Parson, Jr.
         (Print Name)                                                       Its:              Vice                                President
           AKA Ceerge Lee Parson, Jr.
                                                                            (CORPORATE SEAL)
           AKA C. L. Parson
           AKA C. Lee Parson, Jr.
                                                                             Attest:

                                                                            .Ita.                                         Secretaty '','•


                                                                             STATE OP     :FLORIDA

            Mau Elizabeth Parson                                             CITY/COUNTY OF
                                                                                                                CLAY
          (Print Name)
                                                                             The foregoing Instrument was acknowledged before me
               AKA. Mary But terworth. Parson                                this 1 3 day of Pphritary                      , 19 91) ,
               AKA Mary B. Parson .                                          by    •flarripl P     Wnlrort
               AKA Mary E. Parson                                            as '         Vi rp              President of RGC (USA)
               AKA Mrs. G. L. Parson, Jr.                                    MINERALS INC., a Delaware corporation, on behalf of the
                                                                             corporation.
                                                                                   OMMISSi
                                                                                                                   Notary PubSt. State of Florida
                                                                                                              lity Commission Expires May 2), 1993
           STATE OF VIRGINIA                                                                                                              mains
                                                                              Notary Public
           6F4(/COUNTY OF
                                                                              INOTARIALSEAL)
            The foregoing instrument was acknowledged before
            ttle this I Wi..day of ri-e..eota.L.-        19 g          .
            by G. L. Parson. Jr.. and Mary
                  Elizabeth Parson, husband and
                   wife                           •



               My Commission Expires:                 a 9 •1 • /5,91
               Notary Public
               [NOTARIAL SEAL)




                                                                       184
Case 2:25-cv-06135   Document 1-1   Filed 07/07/25   Page 172 of 263 Page ID #:187




                                 EXHIBIT A .
                                     TO
                                MINING LEASE
                               BY AND BETWEEN



               G. L. PARSON, JR., AKA GEORGE LEE PARSON, JR.,
              AKA G. L. PARSON, and AKA G. LEE PARSON, JR., and

             MARY ELIZABETH PARSON, AKA MARY BUTTERWORTH PARSON,
                 AKA MARY B. PARSON, AKA MARY E. PARSON, and
                AKA MRS. G. L, PARSON, JR., husband and wife
                                  (LESSOR)


                                     AND

                           RGC (USA) MINERALS INC.
                                   (Roc)




                                      185
Case 2:25-cv-06135   Document 1-1   Filed 07/07/25   Page 173 of 263 Page ID #:188




                                   EXHIBIT A
                                       TO'
                                  MINING LEASE .
                                 BY AND BETWEEN



                 G. L. PARSON, JR., AKA GEORGE LEE PARSON, JR.,
                AKA G. L. PARSON, and AKA G. LEE PARSON, JR., and

               MARY ELIZABETH PARSON, AKA MARY BUTTERWORTH PARSON,
                   AKA MARY B. PARSON, AKA MARY E. PARSON, and
                  AKA MRS. G. L. PARSON, JR., husband and wife
                                    (LESSOR)


                                     • AND

                             RGC (USA)'MINERALS
                                     (RGC)




                                      186
Case 2:25-cv-06135             Document 1-1               Filed 07/07/25              Page 174 of 263 Page ID #:189
                                                      EXHIBIT A'



                 Ceder the terse of the above.referenced Mining Lease, to which this Cabibit is attached. Zolosor.bes
       loosed to Robm and granted to ROC various right's regarding, certain real property (incledinS all wimeril rights
       and Minerals) referred to se the •propertr,'which I. eituatud in the. • Stony creek       magisterial District.
       Sealer            County, State of virgitia, which in hereby'reprnsented and warranted by Lesser to sent to
       20040 ecres.'end which I. described ee'followat

       That same'tract or parcel of land.conveyed to G.L. Parson, Jr. by
       Warranty Deed, dated April.11, 1960, and recorded in beed.Book 59
       at page 559, in Clerk's Office of Circuit
                                              .   . Court of Sussex County,
       Virginia. To Wit:           all that6ertaintract, piece or parcel
       of land lying and being situate .in Stoni. Creek Magisterial
       District,. Sussex County, Virginia,. containing, by estimation, two
       hundred (200) acres, and bounded . aelollows: ,On the North by G.
       Lee Parson; On the East by W. S.. Barnes; on the South by the public
       road leading from Stewart's to Concord Church; on the West by R. C.
       Chappell and said public road leading.from Stewart's to Concord
       Church and Wesley Barnes, reserving a,certain road or passage-way
       which leads from the house now owned by W. S. Barnes. through said
       tract of land to. the public road at the forks .øf the road, on of
       which leads to Purdy, as and for an outlet of the occupant* of the
       said house now occupied by W. S. Barnes, with the right or
       privilege of the purchaser of straightening said.road, if he.shall
       so desire."; and being in all respects the identical real, estate
       that was conveyed to G. Lee.Parson, Sr., in the name of G. Lee
        Parson, by deed from John H. Cole, Special Commissioner, dated June
        1, 1927, and duly recorded in the Clerk's Office of. the aforesaid
        county in Deed Book 31 at page 244.

        Subject property is referred to. in the Sussex County tax records as
        Tax Parcel Humber 101731. '




                                                               187
Case 2:25-cv-06135                   Document 1-1                   Filed 07/07/25                  Page 175 of 263 Page ID #:190


                                                                 no3-larr B
                                                                  TO
                                                             MINING LEASE
                                                            BY AND RETInial
                                                                         —
                                      C. L. Parson, Jr. and Mary Elizabeth Parson,
                                                    husband and wife
                                                                   (Lessor)
                                                   •                  AND

                                                       rtGe(USA)MINERALS INC..
                                                                    (MC)
                                             RGC's Royalty Policy for Virginia Operations
                                         COPYRIGHT@ RGC(USA)MINEMSINC.1989

                      This document sets forth RGC's Royalty Policy for Virginia Operations ("Royalty Potter), which le referred to iii
                      Section 7(Royalty Payments)of the above-referenced Deed of Mining Lease( Leaee-)and which Is attached to and
                      Incorporat ed into the Lease by reference.

             nerlifiOrt.l. The terms defined in the body of the Lease or anywhere in this Royalty Policy will have the same meanings
             throughout this Royalty Policy. The following terms will have the following meanings:

             (e)      "Principal Minerals' means 0atenite, Rutile and Zircon.
             (b)      'Minor Minerals" means Minerals other than Principal Minerals.
             (c)      "Mineralized Property" means that portion of the Property which RCC estimates, using the then most current
                      drilling chit. and purvey itiforination, coniaina Minerels-bearing sands which have a minimum dredgesble depth
                      e(15 feet end which have a cut-off grade of two percent(2%)by weight average Minerals content. All lump sum
                       payments under Section 6 (Initial Payment and Advance Royalty Payments) of the Lease are based on the
                       Mineralized Property as of the Lease Date, and subsequent changes us the acreage of the Mineralized Property will
                       not affect the lump sum payments.
             (d)         'Sale* Value per ton of each Mineral' means the dollar value per shore ton derived by'dividing (I) the actual dollar
                         sales of each Mineral following processing by the dry plant (net of returns, sales taxes, sales discount, and
                         couuntealons but not net of settlement discounts) for the calendar quarter ("Quarter") which Is the subject of the
                          Royalty Payment calculation, by (Li) the total. Fates tonnage for each Mineral in.that Quarter, subject to the
                          exclusion olaales to affiliates contained In Clause9(Sales to Affiliates) below.

             (e)         "Lessor',Stock Account" means the account maintained by RCC In Lessor's name for the purpose of trackbig and
                         reporting production, inventory and sates allocations made with respect to saleable Mtrierala attributed to the
                         Property, and for the purpose of calculating and accounting to Lessor, through .the Stock Report described in
                         Clause 3 below, for any Royalty Payments.
             (I)         "Ali Stock Accounts" means- the-Lessor's Stock Account and all other stock accounts maintained by RCC for other
                         properties on which RCC engages-In Mining(as defined in Clause 6(b)(i) below).

              (g)        'Recovery Rate" for any treatment of material le the weight of material that is present suet !het treatment divided
                         by the weight of material before treatment, expressed as-a percentage.                                       •

       2
       .      falculating_Royaitia. This Royalty Policy sets forth the-methodology-to be used in determining and reporting the
        Royalty Payments payable to Lessor under the Lease. By signing the Lease Lessor agrees to that methodology, Including but not
        limited to (i) RCC 3 method of. attributing Minerals to the Properly as set forth in Clause 6 below, and (4) RCC's method of
        calculating Royalty Payments as set forth in Clause 7(Royalty Payoient Calculations) below.     .

        3.     StathAraaitaLOACLSOCaUgepol. From the commencement of Mining (as defined in -Clause 6(b)(0) on the
        Property until such time as RCC'a obligation to pay Lessor Royalty Payments has been fulfilled, RCC will establish and maintain
        Leasofa Stock Account and will send to Lessor within 30 days slier the end of each Quarter a written report ('Stock Report") on
        the status of Lessor's Stock Acceurit. The Stock Report will chow:
               (a)        The tons of saleable Minerals attributed to the Property for the Quarter(see Clause6 below);
               (b)         Sales from the accumulated tone of saleable Minerals referred to in Clause 3(a)above;

               (c)         Any Advance Royalty Payments paid during the Quarter in accordance with Section 6 of the Lease;

               (d)         Any Royalty Payment payable for the Quarter pursuant to Section 7(Royalty Payments)of the Leese;

               (e)         A reconciliation of Advance Royalty Payments and Royalty Payments to Lessor pursuant to Section 6 (Initial
                           Payment and Advance Royalty Payinentd and Section 7(Royalty Payments)of the Lease.
         The Stock Report will be certified as accurate by FCC's Operations manager or i senior financial employee. Ily signing this Leaae.
         Lessor agree. to preserve the confidentiality of the sales and production Information in all Stock Reports.

               Roycab,Bats. RCC will.pey Lessor a Royalty Payment equal to eight percent OM of the Sates Value per tonthe          of each
         4.                                                                                                                         Stock
         Mineral sold that is attributed to the Property, as reflected in the Stock Account and as reported to Lesser quarterly in
         Report.
                                                                            attributed to the Property will be paid within 30
         . .natzi&rairurtg. Any Royalty Payments due for Principal Minerals "(Le.
         5                                                                        invoiced to the purchaser), and, for Minor
          days after the end of the Quarter in which such Principal Minerals were sold
          Minerals attributed to the Property within 30 days of the end of the"Fiscal Year'(July 1.June 30 in which they were sold.

          ¢.       Sataghlejgarierr*Aticthistesligibr„aggtxty. Saleable Minerals are attributed to the Property and to Lessor's
          Stock Account asset forth below:
                (a)          RCC will survey, drill, and analyze driU samples from those portions of the PropertyWhich it plane tci mine, in
                             Order to estimate the tons of Principal Minerals located therein.
                   (b)       Production of saleable Mlneralale .echleved by the following three steps in ROCs Operations:

                                      "Mining"-- extracting and delivery of mineral sand ore to the.concentrator;
                                       *Concentrating",removal of non-commercial material:

                                       "Processing .removal of further non-commercial sand and separation hit° asletutile Minerals.
                                                                                                    depending on the .1(1 jeticy of v..1, step And
                              Each of these steps results in recovery and loss of saleable Minerals       varies to a ...nail    ,„ a daily lusts
                              the nature of the material being treated. The Recovery Ratefor each step
                              and Is determined by regular etunpling and analysis of the material as It passes through encl. rt


                                                                         188
Case 2:25-cv-06135               Document 1-1                    Filed 07/07/25                  Page 176 of 263 Page ID #:191
             .4      The Recovery Rates for a given Quarter and the estimates and survey:information compiled pursuant
                     6(a)above are used to estimate the tons of saleable Principal Minerals                                   to Clause
                                                                                            recovered from the Property in that Quarter..
                     Those tons of.Prindpal Minerals are then entered In
                                                                          Lessor's Stock Account.
           (d)       Within 30 days of the end of each Fiscal Year,RCC will apportion its actual production of saleable Minor !itinerate
                     tor the year among All Stock Accounts. Tito apportioninent will be made
                                                                                                   in proportion to the attribution of
                     Principe/ Minerals among All Stock AeCotutte for the year.

       7
       .     Roysay_Payment C.4xlcu4atipos •
            (a)      Psincipal Minerals Sold
                    (I)      Within 30 days of the end of.each Quarter, RCC will deduct the total tone of
                                                                                                          each Principal Mineral sold
                             during that Qtarter front All Stock Account,.

                    (ii)     The tons of Principal Minerals sold will be deducted from All Stock Accounts on a
                                                                                                                      'First-In/First-Our
                             (FIFO) basis. Where production of saleable Minerals Is attributed to several stock accounts
                              date, sales attributable to much production will be deducted from the affected stock           on the sable
                              to the tonnage allocated on that date to such stock accounts.                        accounts in -proportian
                                                                                                .
                     WI) • The sales thus attributed to the Property will be entered in Lessor's Stock Account and
                                                                                                                   reflected lit the.
                           Stock Report.
                    (iv)      RGC will calcidatethe Sales Value per ton!or each Principal Mineral for the
                                                                                                             Quarter.
                    (v)       The Royalty Payment payable to Lessor for the Quarter will equal eight percent
                              ton for each Principal Mineral for the Quarter niultiplied by the tans of          (8%)of the Sales Value per
                                                                                                          each Principal Mineral sold which
                              are attributed to the Property for the Quarter as reflected in the Stock Account.
            (b)       Minor Minerals Sold,
                              Within 30 days after the end of each Fiscal Year; a calculation similar to that described In
                              above, will be made for Minor Minerals, and the cesult will ba reflected in the Stock        Clause 7(e)(v)
                                                                                                                      Report for the lest
                              Quarter of the Fiscal Year..
             (e)      adjustments
                              At the end of each Fiscal Year, RGC will compare its actual annual Mineral production to the total tons of
                              Minerals attributed to All Stock Accounts in that year. If the actual production Is less than the attributed
                              production, then the ehortbill will be deducted proportionately front All Stock Accounts, lithe Actual
                              production exceeds the attributed productian, then the excess will be allocated proportionately among All
                              Stock Accounts.

       8. Poramingliae giruUktapjfine. RCC will commingle Minerals from the Property with Minerals
                                                                                                                       from other
       properties, may engage in Mining on more than one property its a Quarter, and may In RGCs sole discretion from time to time
       stockpile Minerals depending on market condition..

       9. Sales to ill/Mates. RCC may In Its sole discretion cell part or all of Its Minerals to affiliates of RCC. In such event,the
       Sales Value per toss of each Mineral used in CalCIllaiing the Royalty Payment will be based'only on RGCs sales to
                                                                                                                         non-affiliates. ft
       such noneffillate sales are less than 30% or RCCs total sales of the Mineral during the Quarter, then the Sales
                                                                                                                           Value
       calculating the Royalty Payment will eeual the greater of(a)the Sales Value based only on RCC's sales to non-affillates orused IA
                                                                                                                                   (b) the
       indexed price for the Mineral, determined by multiplying (i) the Sales Value'per ton of the Mineral last used in calculating a
       Royalty Payrrumt times (ii) the percentage change in the Producer Price Index -Titanium Pigments Index of the BureatCof Labor
       Statistics, U.S. Department of labor (Code No. U6220209, 1382=100). Such percentage change will be based on the change in the
       Index front the last month of the Quarter in which the Sales Value referred to in Clause (i) was used to the lest: 111031[h of the
       Quarter for which the Royalty Payment is being calculated.

              gost Favored Lessor. if RGC.agrees, after signing this Lease, to pay a higher Initial Payment per acre, higher
        aggregate Advance Realty Payments per acre (excluding ahtsuch higher payments that result from either (i) an incr.... In a
        lease date payment which raises a lessor', total lease date payment. to seven percent(7%) of RGCs then-current estimate of the
        lessor'. total Advance Royalty Payments and Royalty Payments or Sii) variations in Advance'Royalty ?Armenia that are hissed
        upon or limited by Clause 12 hereof), or blgber royalty rates es to any other leased property in tht Area, RCC wilt within 30 days
        of the more favorable lease pay Lessor any ninottnt necessary to adjust retroatIvely paymcots previously received by Lessor .    to
        the more favorable levels, and the more favorable levels that are pruspectrse in nature will thereafter apply to this Lease. Tins
        Clause does not require that retroactive ad iusterients include the time value of money. This Clause applies only to leases and not
        to purchases, options to.purchaee, purchase-leaseback arrangements or other arrangements.

        IL Completion ofidining.
              (a)       RGC will send Lessor writ Len notice when It has completed Mining on the Property. '
              (b)       The next Stock Report after such notice will contain a reconciliation comparing (I)the total of all Royalty Payments
        and Advance Royalty Payments paid to date, wills (ii) the productobtained by multiplying. the total nurnher of acres of the
        Property from which ACC removed the topsoil in preparation for Mining tin-tea $3,5(i0-per-acre average Minimum Royalty
        provision in Section 8(Minh:MUM Royalty) of the Lease.          .
              (c)        If that Stock Report reflects that all tons of Minerals 'attributed to the Property have already been sold, thaeStock
        Report will be Lessor  '  s last Stock Report and final reconciliation, and Lessor will he paid (i) any Royalty Payments payable for
        that Quarter, and (Ii).the final payment, if any, required by the S3,500-per-acre average Minimum Royalty provision (the "Final
        Payment"). The Final Payment will equal the amount, if any, by which the prodact described in Claim' 11(b)(ii) exceeds the total
        described in Clause IlOslli). •'
               (d)       U that Stock Report reflects that any tens of Minerals attributed to the Property have not yet been'sold, Lessor will
         be paid any Royalty Payments payable for that Quarter, and Lessor may elect, by sending written notice to ACC within 30 days,
         to either: (i)forfeit all rights to future Royalty Payments with regard to all unsold tons and receive the Final Payment, if any,
         determined in accordance with Clause 11(c) above; or (ii) cotutnue Lessor's Stock Account In existence, and de(er the final
         reconciliation and Final Payment, if any, until all such unsold tone are sold and the final totel of all Royalty Payments and
         Advance Royalty Payments can be used in determining any Final Payment due.

         12.                                                                              tiereayeneatd7, At leect one year %refiner, RC.C.
         commences MIrting on the Preperty, RCC will estimate, using the then :most current drilling data and swvey 11%10=3th:sae the
         tons of Minerals located therein. Uein& the higher of this estimated tonnage or 601,91-s         tone and applying reasonably
         expected Recovery Rates and prices, RCC will In good faith estimate the total sales value of the saleable Minerals recoverable
         from the Mineralized Property. The Advance Royalty Payment equal to "70%     of Estimated Future Royalty Payntenle set forth in
         Section 6(Initial Payment and Advance Royalty Payments) of the Lease will be determined by (it) multiplyine theestiteated tutal
         sales value times the eight percent (5%) royalty rate, (b) multiplying the result by seirenty percent (710%); and (c) deducting
         thereftom all Advance Ruyalty Payments previously made under the Lease.

         13. laRelignosalfackliggegLoragpmelikalm. Because of'the inhefent uncertainties in making projections and
         estimates which may affect Let130ell Royalty Payme.nts; Lessor,In deciding whether to enter into this Lease,•hould not rely upon
         any representation, written or oral,es to the likelihood or value of Royalty Payments, and Lessor ohould bear in mind that the
         53,500-per-acre average Minimum Royalty provision contained In Section 8(Muunium Royalty) of the Lease applies only if RCC
         engages in Mining on the Property,and even then applies only to the total number of acres Irons which RCC remove. the topsoil
         us preparetion for Mining. Lessor acknowledges that Lessor underateeris the foregoing -sentence and 'Lessor agrees diet Lessor
         has nut relied upun any representation, written or oral, as to the llkelittoOd or value of Royalty Payments. '




                                                                      189
Case 2:25-cv-06135   Document 1-1   Filed 07/07/25    Page 177 of 263 Page ID #:192




                                  EXHIBIT A
                                      TO  •
                                 MINING LEASE
                              • BY AND BETWEEN



                G. L. PARSON, JR., AKA GEORGE LEE PARSON, JR.,
               AKA G. L. PARSON, and.AKA C. LEE PARSON, JR:, and

              MARY ELIZABETH PARSON, AKA MARY BUTTERWORTH PARSON,
                  AKA MARY B. PARSON, AKA MARY E. PARSON, and
                  AKA MRS. G. L. PARSON. JR.. husband and wife
                                   (LESSOR)


                                      AND

                            Rag (USA) MINERALS INC.
                                    (RGC)




                                      190
Case 2:25-cv-06135               Document 1-1                     Filed 07/07/25                    Page 178 of 263 Page ID #:193

         STD Leant
         VA 8/09
                                                          DEED OF MINING LEASE


               rasDEO Op MINING =ASK including the attached Exhibits which are incorporated herein by this reference,(i,euse")

         y     made      and      entered      into     on           October 13,                by  and     09.

         between G. L        parsOn         Jr., AKA Gep Re Lee Pareon—jr.; AKA G. LI Parson, and AKA

         C. Lee Parson. Jr.. and   a t PAiz eth arSpn.        ary      erwo th Pa son AKA
                                      •
         bayy B. Payspp, AKA tfary p. Parson, andAKAEr_s_. G. L. Parson._ 4.r.— husband
                                                                                      _ and wife
         Route 1, Box 60— St0n3 Creek. .lirstinia                             23482
        (  "Licsor")and ROC(USA)MINERALS INC...a Lbstaware corporation whose address is Warner Road,P.O. a*X 1307,Green Cove
          Springs, Florida, 32043(MCC"). In consideration of the mutual promise made in this Lease, and oth..               t good and valuable
          coosideration,the receipt and suflidency of which are hereby acknowledged,Lessor and RGC agree as follows:
                  1.       DafmcgaarrnA. Any word or phrase that is capitalized and placed IA quotations in this Lease!.a defined term
          and when it is capitalized win have the same moaning throughout this Lease.
                  2.       ruippsz. The purpose of title Lease is to allow RGC to explore for and, at Rcc.. goo gbc,,,,tjort. to mins.
           remove, commingle, and seli Minerals from the Property, to use the Property to mine Wovela from the Property or other
             copetty. and to conduct related activities. 'Minerals means the following group of minerals arid minerel produced Zftnenite,
         t   ottoomito.&out zircon,stauxonla,)(yank*/                     Monezite,)(onetime,end Garnet, end aaeociated by-products. Title to •
           any Minerals mined shalt ft not already vested in RCC,pas. to RCC as they are *severed from the Property.
                  3.       OniaLcpagate,. Leasor hereby leases to RGC the Property (as defined:on Exhibit A), on the terms and
           condidons in this Lexie.
          •       4.       coins ofRight& Lessor grants to RGC the following exclusive rights with regard to the Property:
                          (a)       To enter the Property to survey, explore, drill, test, and sample (the foregoing actinties are defiped as
                                  '  Exploration");
                          (s)       To  clew the Property of such buildings (subject to Section 21 (Compensation foe BuAlelings)), other
                                    structures or obstacles, earth, standing timber, plants, and such other things or material that RGC,in its
                                    absolute discretion,, wish.. to clear from the Property to esterdot It. rights as let out in this Seen(' nt 4; to
                                    construct, relocate, we, or remove roads, power and communication UAell• dredge ponds, tailing ponds,
                                    settling poods, pipelines, buildings, stoups frdlitl , canals, t.iling., signs, gate., lee   .,and cab.,
                                    snuctures and facilities on the Property; to take steps to prepare for mining on the Property: and to
                                    develop,'mine, cross-mint, dredge, remove, 'concentrate, aeparate, commingle, stockpile, haul; process,
                                    ship, and sell Minerals (the foregoing activities, whether conducted on the Property or on other property
                                    In Dinwiddie and Sussex Counties, Virginia rAren"),are defined as—Operational;
                          (c)       To use the Property to store, transport, or dispose of Minerals,'water, tai/ings,and material resulting from
                                    RGCs Operations;
                          (d)       To use water from or apptutenant to the Property and to drain through mad from the Property and to
                                    draw into any comae In the Property any water from RGCs Operations: .
                          (e)       To take all steps to accomplish Reclamation(as defined in Section 14)of the Property;
                          (0        To use all easements,means of access,and i ts-of-way from and to the Property;and
                           (5)      To use the Propertyfor tire purposes des         ed in this Section, in osnjuaction with RCC'. Exploration,
                                    Opn-atiC011and            don on other property.
                    Notwithstanding the foregoing, RGC Is not granted OW 1411 under this Lease to construct or operate on the Property•
            processing plant for the final separation of the concentrate into saleable Minerals.
           .        if
                     .      Taiastiezagg. 'This Lease will begin on the date first written above and will end 20 years thereafter, unless(a)
            the Leese is ended earlier under Section 19(Termination),(b)the Lease is automatically terminated by RCCe failure, for reasons
            other than a   temporary   inability to obtain through diligent efforts all necessary govertunental permits and authorizations,to
            woman*     .-mining (.  a defined'In the Royalty Policy) in the Area by the eighth anniversary of the Lease, or Id the Lease            is
            automatically  extended   to allow RGC to complete ongoing operations on the Property. If so extended, the Lease shall terminate
            upon the earlier of written notice from RGC pursuant to Section 19 (Termination), or the passage of a period of 180 consecutive
            days in which RGC conduct. no Operation. ors the Property. 'Term" means the period of time during which this Lease is in
            effect, and,in the absence of earlier termination,include. both the initial 20-year term and any extended term.
                   6 .                                                                       . Subject to the terms and conditions of this Leta*,
            RGC will pay to Lessor, during the Term of this Leask on or before the dates Indicated the following lump sum payments and
        •   payments   per acre of the Property  retained under the Lease  at the time of the payment:

                     Paystreat Deb.                                    Per:nest Typo                    Payment
          Lease Date                                                Initial Payment                     52.50 per acre
          Lease Date                                                Advance Royalty                     $75o per acre
          On or before December 31                                  Rental Payment                      $15 per acre
          of Each year following the
          year this Lease is signed
          Earlier of(a)"Mining'(at                                  Advance Royalty                     $65,000.00
          defined in Royalty Policy)                                                                   lump aunt,equal to 51Cc0 per etre of
          In Area or(b)Fifth Anniverary                                                                "Mineralized Property"(as defined in
                                                                                                       Royalty Policy)
          Tenth Anniversary if no                                   Advance Royalty                     $65,000.00
          -Notice of Mining"(as                                                                         lump sum,equal to $1000 tw acre of
          defined in Section 9)given                                                                    Mineralized Pro arty,eub ct to/0%
                                                                                                        Limitation'(as        in Royalty Policy)
          Fifteenth Anniversary if no                               Advance Royalty                     $65,000.00
          Notice of Mining given                                                                        lump sum,dibjed to 70% Limitation
          Notice of Mining                                          Advance Royalty                     70% of Estimated Puture Royalty
                                                                                                        Payments(as defined to Royalty Poncy)

          The Initial Payment and all Rental and Advance Royalty Payments paid to Lessor are non-refundable. The Advance Royalty
          Payment. paid to Lessor will be credited against any Royalty Payments otherwise payable pursuant to Section 7 (Royalty.
          Payments) and may be prepaid by RGC. Payment to (stator of the payment required upon Nonce of Mining will satisfy in fun
          any obligation RGC may thereafter have to pay the Tenth and Fifteenth Anniversary Advance Royalty Payments.
                  7
                  .       13472filatiLaiaffilaistat. •FtGC will pay to Lessor quarterly Royalty Payments equal to 41t1 percent(8%) of the
          Sales Values of Minerals, attributed to the Property, which RGC mines and sells. The Royalty Payments will be determined and
           paid in accordance with Exhibit B, RGCa Royalty Policy for Virginia Operations("Royalty Policy').
                          Afillinpurt Royalty. U the total of all Advance Royalty Payments and Royalty Payments paid to Lessor under
           this lease does not average $3,500 per acre for all of the Property:from whichItCC removes the topsoil In preparation for Mining
          ("Minimum     RoyalV)    RCC wM pay to Lessor the amount by which the Minimum Royalty exceeds such totaL Any such payment
                                'psid in accordance with Clause 11 ofthe Royalty Policy.
           will he determined ertd
                                                                   During Exploration, Lestor and RCC will work together to accommodate
           Lessor's normal activities on the Property. IGCC‘Y.-will give Lessor at least twelve months notice (Notice of Mining") if RGCs
           Mining Will require Lessor to cease activities on the portion of the Property described in the Notice of Mining. Limn the did of
           the notice petiod. Lessor will have the tight, but not The obligation, to remove for Lassoes account any crops,timber, buildings,
           irrigation systems,fixtures or personalty of Leaaor from that portion of the Property. From the end of the:soda period until RGC
          'notlftes Lessor otherwise, Lessor will cause all activities to cease on that portion of the Property. Priming Reclamation, RCC will



                                                                        191
                                                                                                                         V1'1    n
Case 2:25-cv-06135                   Document 1-1                          Filed 07/07/25                  •
                                                                                                           Page 179 of 263 Page ID #:194
                                                                                                    on the Property, as soon as reasonably pouible and as
        work with Lessor to allow Lessor to resume Lessor's normal activities
        pe itted by go            meth redaination r uireznents. Lesser willand does indemnify RGC from and against any claints asserted
                                                                                       Invitees. Lessor will be solely responsible for, and-will beat-all risk
        against RGC arising out of the activities'oflessor or Lesser',
                                                    allotment, subsidy,stabilization or conservation programs that may apply to the Property.
        ot loss related to, ra_ty government
             ; 10.           gnie.
                               A       Except as otherwise provided in this Lease, only RGC employees and visitors authorized in writing by
                                                                Property o' n which Operations are being conducted. All RQC-authorized visitant and
        ROC will be permitted on those partial the                                                                   1•
                                                              at all times that they are on tl Propertv.
        their vehicles will carry RGC identification
                  11. Rreata921,Phargb..tiad21-1410And-teandttrna                                                        • RGC will conduct its Exploration and
                                                                          laws and :nitrations. RQC will and does indemnify Lessor from and against
        Operations in compliance with ell applicable safety
                                                                        against Lessor arising out of RGCs activities. RGC will also indemnify Uessor
        anyclaints(environmental or otherwise) asserted                             to crops, pasture,timber,fences, gates, roads and other improvements
        from and pay Lessor for, acteal damages =wed by RGC located on any portions of the Property
         stat Jacnbe4 in section 21          (Compensation       for  Buildings),                                                       that are not mined but are
                                 RGC   in   its Activities. RGC    will  lit  no event   be liable for special or consequential damage-a, and any payments
         otherwiel used by                                                                   complete   compensation     for  the
        ' nude pureuant to the p rec?din sentence will be deemed full and                                                         daNna
                                                                                                                                     ctligir
                                                                                                                                           ragfnil:re
                                                                                                                                                    tbelisticm.unie
                  12.                                                                                                                                               or in the
                                                                                or   create   any  express  or.imptied     duly   on  the   part    of RGC to perform
          relationship between Laser and RGC will constitute                                         manner,
          Exploration or     Operations,     or  to  mine  the  Property    at  any   rate,  In any            QT at  all.  RGC'e   Exploration        anclOperations,      if
          arty,will occur only to the extent and at the locations and                times, and in the methods and manner that RGC,in its sole discretion,
          ina determine;      provided,     however,    that RGC     will  not  conduct     Operations    within 207   feet of  Lewes      principal      residence    or any
          mindpal residence on property adjoining_ the Property,                  or in such a way as to deprive any such residence of access to a public
                                                                                with Section 21(a)(compensation for Vttildirip — Principal Residence)(in
          reed,%UMW's', and warar supply until RGC complies                 the  adjoining     property owner's written corusant On the case of an adjanIng
           the care   of Leesor's   principal    'residence) or  obtains
           residence): and provided further that, If RGC            engages in Mining in the Area,then RGC willuse its best efforts to mine all of the
                                            can   be mined  in a  commercially       reasonable    manner.
           Mineralized Property that
                   13. compliance With Lam: RGC. activities on the Property will be conducted in compliance with all
           applicable Federal. State and local laws and regulations.                  .
                   J4            ws..        '"ki• RGC agrees to comply with sill State and 'Federal laws, regulstions and permit. applies's)e to the •
            Reclamation of the Property. RGC abo agrees to post a bond,law.                    to the extent required by Virginia law, to ensure that all the
            Property which RGC crakes will be reclaimed in accordaece with                          RGC will and does indemnify Loeser foran arid against any
            claims  by State  or  Federal   regulatory   agencies   arising    from   RGCs    .failure to reclaim in accordance With applicable law.,excluding
            claims caused in part or in whole by Leerior's fidlw-e              to cooperate     with  RGC in accordance with the terms of this Lease. RGC'
            Reclamation of any Property mined may include, but not be limited to. Willing the mined                         path with tailings cliacharged been the
            wet Oa,dyking and eliminating settling ponds,                replacing     arid  kradhig  the  topsoil, replaraing and otherwise cornplytng with all
            applicable   governmental      reclamation    requirements      rRedarnation       ).
                    16. Audit. Lessor will have the right at Lessor's expense to appointUnited                  an independent auditor reasonably approved by
                                                                                                                        States of recognized remttattont to audit,
            RGC (which approval is hereby given if Leaser appoints a nationaldetermination        fkor in the
             not more    than   once  in   any    year, RGCs     records     relating   to  the                   of Royalty payment,. fur Rtc,                          year
                                                                                                                                                                            .
          (currently July 1 - fume 30)llnmediatelv preceding such audit. Lessor will instruct Lessor's auditor to send a copy of his report to
             RGC at the sante time that         he sends  his  report   to  Lessor.    Also,   Lessor  will notify RGC     in  writing  of  any    o          ons  Lessor  may
             have regarding Royalty Payments, within 60 days of Lessor's receipt of Lessor's auditor's report.
                    .16.      lamses. Taxes will be apportioned and paid as follows:
                            (a)         RGC will pay the following taxes or portions thereof: any mineral severence taxes rotated to 11GC3
                                        Operations; property taxes, pro-rated for the portion of the Property and the time period in which Lessor
                                        Is prohibited under this Lease from conducting activities; and any increase in property taxes attributable to
                                        the Minerals or RGCI Operations.
                            (b)         Lessor will pay all other nixes related to the Property, Including butnot limited to: any taxes on Released
                                        Land (es darted In Section 19(Termination)ls an litroirt• caPtini                         estate,gift,succession,inheritance,
                                        transfer Or franchise taxes; and any taxes sttribetable to 1.0;b0f1 activities on tbe Property.
                             (c)        Lessor will send RGC copies of all assessments, tax bills or other tax notices related to the Property or to
                                        RGCs Operations thereon within 14 days of Lessor's receipt of the emote or in such shorter time as may be
                                         necessary to preserve the rights of RGC and Lessor to protest or appeal the same. Lessor will cooperate
                                         with RGC in any such protest or appeal. RGC may, in Its discretion, pursue such protest or appeal
                                        inclqeendently of Lessor. RGC will hi any event not be obligated to pay (I) any incense in taxis which
                                         RGC is unable to protest or appeal due to 1..essor's failure to comply with this Section 16(c) or fib any tax
                                         bill which RGC does not receive at least 14 -days before the 1411 1s due..
                             (d)         RGC     arty, but is not required to, pay arty taxes on the Piop...ty for which Lessor Is responsible under
                                .        Section 16(b),and deduct such taxes paid from any payments otherwise due to Lessor under this Lease.
                     17. Ytaizaatrientic Lessor warrants as follows:
                             (a)         Lessor is the sole legal and equitable owner, in undivided fee Simple, of the surface and mineral emotes
                           •             that comprise the Property without limitation whatsoever;                                  .
                               es)       The Property is free and dear of all leases, liens, encumbrances and outstanding adverse claims and
                                         Interests, not of record;                 •
                             (c)         Lessor has full power and authority to execute this Lease:.
                             (d)         RGC shall have the quiet and peaceful possession and enjoyment of the Property, Minerals, and the
                                         proceed.Therefrom, against all persona or entities who may dams any interest therein;
                             (e/         There has been no violation of any applicable' Federal, State, or focal late or regulation relating to zoning,
                                         land use, environmental protection or otherwise with respect to the Property or activities relating thereto
                                          and
                              (f)        This Lease,and RGC's right, title arid Interest hereunder, shall at all times be superior to,and have priority
                                       ' over,any.right,title or interest In the Propenrcreated during the Term of this Lease.
                     18. Legs        , r_7:2-#4.0.4 In entering into this Lease, RGC is relying on lessor's warranties of title contained in Section
              17(Warranty of Title). Without impairment of those warranties of title, if Lets= OVOQS less than the entire and undivided estate In
              the Property, RGC may(a)proportionately reduce all payments otherwise payable under this Lease,(is) offset any prior payments
              related to the mune-nod portion against any future payments payable under thia Lease, and (c) exercise any other available rights
              or remedies. •
                     19. Termination. Rc,c will have the right to terminate this Lees* with regard to all or any portion of the Property
              at any,time by sending a written notice to Lessor at least 90 days_prior to such termination. The termination will take effect upon
              the date specified in The notice. Upon terminetion, all of RGC's rights and obligations under this Lease with regard to the
              Property or portion thereof specified In the notice (the 'Released Lane.) will.terminate except for any Reclamation'rights and
              obligations and any Minimum Royalty or Royalty Payment obligations arising out of mining conducted on the Released Land
              prior to such termination. In the event of a partial termination, this Lease will continue in effect with respect to all Property •
              except the Released Land, and the term -Propestf will thereafter mean and include only the retained Property and not the
               Released Lard. After teradnation, RGC                  execute, deliver and record a release confirming the relinquishment of the Released
              Land. Nothing in this Section will negate any obligations RGC has under this Lease with respect to Redionation of the Property.
              Notwithatandrag the foregoing, RGC will not terminate this Lease in whole or in part at any time prior to the sixth anniversazy
               unless RCC also terminates all of its other mining leases in the Area.
                     21). ntle Document& Lessor will promptly provide to RGC copies of all dOcurinenb which Lessor now or in the
              future poetesses, relating to or effecting tide to the Property, Including but not limited to: title insurance policies, deeds,
               mortgages, trust or security deeds;boundary agreements, Judgments, liens, orders, surveys, boundary descriptiona, maps, wills
               conveying an interest in the Property, trust instruments, leases,' licenses, easements and rightn-of-way. Lessor will give RG'C
               notice whenever Lessor learns of any matter which may affect the title to the Property.. At RGCs request, Lessor will-81v and
              deliver to RGC such additional formal assurances or other documents, in proper and recordable form, as may reasonably be
               necessary to carry out the terms and intent of this Lease. Lessor will infornil4GC immediately if Lessor fails to pay or 4scharge
               in a timely manner any promissory note, mortgage, tax, or Other lien upon the Property, and RGC may then_ pay it and be
               subrogated to the rights of the holder thereof. Eicrept for any taxes for which RGC is liable under thb Lease, RGC will have the
               right to offset, front any payment otherwise payable to Lessor under this Lease, all amount* paid by RGC to discharge any such
               promissory note, mortgage,tax or other lien.
                     2L        egmatmsatimfiE.DmidiSit-                                                       .
                              (a)         principal Residence. If RGC proposes to remove Lassoes prindpal residence on the Property, Rqc will
                                          give Lessor not less than one year's notice of its intention to do so. At least ISO days prior to such
                                          removal,RGC will compensate Lessor by snaldng a payment to Lessor equal to two times the then-present
                                          fair market value of such residence(excludInqnd),as determined b the average of two appraisals, one
                                          by sit appraiser: selected by Leeson and one    an ?praiser to       by RGC, fi-oe.a.net       Newt er
                                          ritA-epp.w.We epiereltew computes by RGC.'Lessor may thereafter occupy The residence until the one
                                          yeas :Vallee period expires, at which time Leases will vacate the residence to allow its removal. No
                                          residence wW be constructed on the Property during the Term of this Laura without the prior written
                                          consent of both Lessor and RGC.


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Case 2:25-cv-06135                 Document 1-1                       Filed 07/07/25                     Page 180 of 263 Page ID #:195
                                                                                                                                     '• •

                         (b)          Other BUildirtga. If RGC proposes to ternOVe other buildings on the Property. RGC will give Lessor not
                                      less than six months" notice of its intention to do so. At least 90 dor prior to such removal, RGC will
                                      compensate Lessor by making *payment to Lessor equal to the approximate replacement cost of buildings
                                       of that tutus*, as determined by the average of two apprusaff by appraisers selected in the manner
                                     'dot:rased In Section 21(a). Lessor will cease using the relevant bulfdinga 30,days prior to the proposed
                                       removal and will facilitate removal In all respects.                                •   .
                 22.        ThingLEuetagsairam. If RGC learns that a third party may.have a dein; Of ownership in any portion or
                       of  the  Property     or any    payment.    under this Lan.. RGC may deposit In 0 special e0CrOW atcotun (with a bitilk Or title
        percentage
        insurance company located in Vffpnb)         :•       any payments otherwise due to I.411110r under this Lease and give Lessor written notice of
                                                             mown in the   "    odd ercrow account until the claim or.controversy is
        the deposit. The swine deposited will                                                                                               resolved, or until
        there has been a final determination of the claim or controversy by a court or arbitrator,including arty appeals therefrom.
                  23. iidditiapia and Ajjer-Acarrired Right4,- If, during the Term of this Lease, Lessor
                                                                                                                                        acquires any right or.
        interest in the Property or in any property adjacent or easements appurtenant thereto,(a) Lessor will promptly notify RGC,fb)
        any such right or interest acq,uhe.f in the?roperty, Which Lessor had in this Lease already warranted to be part of the Property,•
         will become past of the Property subject to this Lease without any additional payment to Lessor,(c)RGC may,at ACC* option, at
         any time, lease any other such right or interest on the same tenni as the terms of this Lease, and i•d) LAMM will                                       -
         e nowledge, and deliver an Amendment to this Lease and to the Mernorandlim of thin Lease to RGC,so as to ineleie such rig                          -lit
         or interest.
                  24,        Bio*"..fims. If the Property is now or later owned in severalty or in separate tracts, RGC will neverfftekse be
         entitled to treat the Property as an undivided whole under this Lease, with all paymenta_payabLe under the Lease to be paid
        (either directly or pursuant to Section 25 (Multiple Owners)) to the separate owners of the Property in the proportion that their
         ownership interest,inewpured in acres, or percentage ownership of acne,bears to the whole Property; provided, however, that in
          no event will RGCs total payment obligations to the separate owners exceed the payment obligations that RC Would have
         Incurred under the Lease if the Property were owned in undivided fee simple by•single owner.                                                 • .
                   25.        kruitirge Otoracrjf Whenever two or more partiesare entitled to receive any payments under this Lease, RGC
          may withhold any such payments unless and until all of those parties designate in a recordable instrument an agent empower.;
                                                                                                 orders on behalf of all those.panies and thee respective
          to receive all such payments and to•execute division and transfer
          successors in title. Delivery of any payment due under this Lease to the designated agent fulfills RGCs obligation to melte that
          payntent to those parties.
                   26.        Assignment. Both parti            . es have the right to assign their rights and obligations under this latex,in whole or in
          part; provided, however,than
                             (a)         .The party    making    such an assignment must give the other party prior written notice thereof;
                             (b)          The provisions of this Lease.wlli apply to and be binding upon the successors and assigns of the respective
                                          pulses;
                             (c)          Any change or division In the ownership of the Property or of the right to receive any payments under this
                                          Lase,however accomplished, will nee Increase RGC's total payment obligations under this Lease or affect
                                          ROC,rights toconduct Exploration, Operations or Rednenation on the Property;
                             (4)         'Notwlthstanding Section 26(a), ROC may, withaut notice or consent, assign any of It. rights or obligations .
                                          to affiliates of RGC,or use the services of independent contractors or agents to perform any of its rights or
                                          obligations;and
                             (a)          No assignment will relieve the assigning party of any obligations or liability to the other party, witless the
                                           other party providese written release to the assigning party.
                    27-        Erszer...Macisti, Neither party Will be deemed in default under this Leese during any period in which it,
           exercis' or     performance       of any of its rights or obligations under this Lease is prevented by any cause reasonably beyond its
           control. Such art event is referred to in this Lease winds,         as "Force Majeure. Force Majeure will include, but is not limited to, the
           following: axe,floods.          storms,  hurricanes, tornados,             other damage from the eleenertm, declared or undeclared war,anikes,
                                                                                                   condemnation, eminent domain, crime, &lives to receive
           labor dispute*, duo, dell unrest, action of governmental authorities,          9p/rations, it substantial fall in the market prices of Minerals,leek
            required   governmental         approvals,    inability  to obtain water  for
           of access,litigation, acts of God,and acts of the public enemy. The Term of tide Lease will be extended for •.period of time equal
            to the 13,Ii0d-of Force Mejeurs. AU such periods will be deemedMajeure.         to begin at the earliest time II party is prevented.hcan exercising
            or performing any of Us rights or obligations by reasons of Force
                    28.. ItIo Broker. Lessor and          ftc,c          represent and warrant to each other that no broker, agent, or finder ltas acted on
        . lts behalf in connection with this Least,and that no commissions,fees, or Other monies are chit to anybroker, egent,or finder. In
          • addition,   Lessor      and   RGC   will   and   do  indemnify   each•other from all claims with respect to any brokerage, &lobes or leasing
            cominlasioriiin connection with this Lease dr any of the transactions contemplated under this Lease.
                    2 9.. refliffieffifilidaff, Lessor will immediately notify RGC of any condemnation pa:ices:Una that may affect the
            Property.. Lessor will cooperate with RGC. in defending or settling the same. RGC may, in its discrettort                          defend It. rights .
            ladepencleatb, of Lessor. Any condemnation award will be.shared                          between Lessor and Rcc as provided by law. Any
            condemned        Property     will coneatute     Relemieed  Land SI  of the data Of  condemnation,  and  this  Lease will continue in effect as to the
             reinahrine Proper     .ty.
                     3a         Dpipuse Resolglion,. Subject to the provisions.of this               Section, any controversy,claim,or dispute arising out of .
             Or related to this Lease or to the formation, negotiation or breath thereof, will be settled by binding arbitration in Richmond,
         . Virginia before a single atbitiator, in accordance with the            '  Commercial Arbitration Rules of the American Arbitration Association.
           .Any award of damages will be limited to actual, compensatory damages. Judgment upon the award rendered by the arbitrator
             may be confirmed by,and entered in,any court having jurisdiction thereof. Prior to titillating any arbitration, the initiating party
             will give the other party written notice of the claim, and will allow the other party 50 day* from the date that the notice in •
             received to andobly resolve the claim- If the claim is not resolved within the 30 day period, the initiating party's sole and
             exclusive remedy will be to submit the dispute to arbitration. The parties will comply with any arbitration award within 30 any,
             of its issuance, or si soon as practicable thereafter, and this Lease will continue in full force and effect. La no event will the •
             existence ofany dispute, arbitration or award suspend or otherwise affect any party's rights or obligations under this Lease, or
             Interfere in any way with RGCs Operations.
                     31 .       No ingerfirence With RGC's Operptionz Lessor has not, and will not, during the Term of this Lease,
             take any action or grant any right Which would in any way interfere with RGCto exercise of it. rights as set out in Section 4(Grant •
             of Rights) of this Lease.
                     32.        .14lo Implied or CordUtustvg    '          WOioer. If either parry waives or'does not enforce arty provision of this Lease
              on any occasion,'that action will not constitute waiver of: (a)that provision as to any other time, event or occurrence; or(b)any
              other provision.                              '
                              • trOcce. Any,n?tic# ir,iven to the other patty uncior this Lease must be in writing, and seat by United States
              registered'  or  certified   fiwil, return   receipt  requested, or via Federal Express or'sienlier overnight courier service, addressed to the
              address sat faith on the firs; page of this Lease. All notices will be deemed to have been made when deposited In the mail or with
              the courier as    provided     abeve.     All "nOtices will be deemed to have been received upon actual receipt by any person at the address
                     above. Either party may change Its address for the mailing of notices by giving the other party nouce of such change of
              address in the manner provided for In this Section.
                      34.        Flake Agreement: No Oral ifodificatio4. This Lease constitutes the entire agreement between the
              parties and supersedes all previous agreements, written or oraL Lamar hereby expressly acknowledges that, In entering into this
              Lease, tenor has not relied on any oral or written statements made by RGC, its employees, agents or independent contractors.
              This Lease may'enlybe modified to,a written agreement in recordable form signed byl.essor and an authorized officer of RGC.*
                      35..       Ohofee.ofLow. This Lease will be construed,interpreted and governed by the laws of Virginia.
                •     36.• SettomelLtOBLikaleZi§,.
                                     1:                                   This lease consum es a covenant running with the land and will be binding on,
              and Ines* to the           efit of, Lessor, RGC,and Lesson's and RGCs heirs, legal representatives, executers, administrators,successor. .

                   $
               and asid.es,
                        -Ar• •
                               as  the  case Ina
                                              .    be.        •
                                                    . In the event that arty court or duly appointed arbitrator determines that any ,provisicai of this
               Leese is airenforieable, illegal, or in conflict with any Federal, state, or local law, the parties will petition (or will hereby be
               deemed to have petitioned) the court or arbitrator to reform that provision In such a way as to carry out the intent of the parties .
               to the envie pennIssPole under taw. If the court or arbitrator declines to reform that provision, then that provision will be
               considered severable from the rest of the Lease, the remaining.proviidons of the Lease will not be effected, &Mikis Lease will be
               construed and enforced as if the Lease did not contain the usta rceable or illegal provision. •
                       3&                                                                                                                 Lessor and 11t5C do not
               intend that any provision in this Lease will in any way violate the Rule Against Perpetultiei or any related rtile. U any such
                violation should occur,it is the intent of Lessor and            RGC  that the  appropriat, court or  arbitrator will reform the. provision in such
                a way as to approxiniate most dowdy the intent of the parties witItfn tfOt limits permissible under such rule or related rule, and
                will enforce the Lee..as so reformed.
                                                                                              •



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Case 2:25-cv-06135               Document 1-1                      Filed 07/07/25                     Page 181 of 263 Page ID #:196
                •        Wensonogigin. At the time this Lease is aired,the parties will sign a Memorandum of Lease which RCC will
                                                                       the einorendum of 1.01311 arid this Lean, the terms of title iaaie will
          record. in the avant of e conflict between the tams of
          control.
                •        mortraer,_Comt. Lessor agrees to use Lassoes best efforts to obtain promptly, and to provido to RCC a
                                                                      of any mortgage or other instrument creating rights =petits:to this Lease
          copy of,any consent to this Lease required by the termsconsent,
                                                   Property. Such              however, will neither affect nor be a condition precedent to the
          with respect to all or any part of theLeese   as between   Lessor   and RCC.
          effectiveness and enforceability of the                            Leese  are for the convenience of the patties only, and will not be
                 41. • laguija. The           headings  contained   in  this.
           used in its WV:salaam mliaogemouti
                                          i                          eggic  .
                  a.                •                   -        -             In addition to other obliga
                                                                                                         .tions that survive this Lease's set forth
                                                  under the following Sections of this Lease will remain in full fem  .   and affect kominr.and
           in this Lease,the parties' obligation
                                         termination of, or expiration   of the Term   of, this Leese  Sections 74, II, 14-15, 17,
           will not be affected by, the
           3243,and 41-43.
                  43. Gasiiailk. During the Term of this Lease, each                 party will ac lit good faith to fulfill the intent of this Lee.se,
                                                               to try to resolve amicably any issues that may arise.          •
           and will meet with the other party to diacuse and




                    IN WITNE:6 vateniog,the parties have executed this Lease under seal as of the date first above written.

              OWNER:                                                                R.GC(USA)MINERALSINC.:

                      •      C?LtA_A                           ISAAL1               By.          tt
                G. L. Parson? Jr.
              (9ititt Name)
                 AKA George Lee Parson, Jr.
                 AKA G. L. Parson
                 AKA G. Lee Parson, Jr.




                                                  g    e-1-'44geALI                 STATE OP FLORIDA
                                                                                    COUNTY OP   CLAY
               Mary Elizabeth Parson
              MrintNum0 .
                                                                                    The flying Instrument wes acknowledged before me
               AKA Mary .Butterworth Parson                                                    am, Of February
                                                                                    this                                       —00.— 1990,
               AKA Mary.B. Parson                                                   by ra-Erel P. Wolcott
               AKA Mary E. Parson                                                    as    Vice President of RCC (USA) MINERALS
               AKA Mrs. G. L. Parson, Jr.
                                                                                     INC., a Delaware corporation, on behalf Of the
                                                                                          ration.


              sTATEOPNIORGNIA                                                        Notary Public

              cmocourTryop                                                           My Conintission Eppinintary %bk
                                                                                                                   .guts ef &Ada
                                                                                                                                      iS.193
              The &main hwtxurnent was acknowledged before me                                            At Commission Eyrie May
              this / 4.4.. day 01 040V.-..-              1989,                                              *miss 1111 thq Mcg..10...10r
              by C. L. Parson. Jr.. and Mary
                   Elizabeth Paxson._husband and                                     NOTARIAL SEALI
                   wife



              • My Conunisslon Expires:
                                       fr i /9 91
                                ("‘t

              !NOTARIAL SEALI




                                                                                 - 4-
               413TEMP2




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                                          195
                                      EXHIBIT A
                                          TO
                                     MINING LEASE
                                    BY AND BETWEEN .
                  G. L. PARSON, JR., AKA GEORGE LEE PARSON, JR.
                AKA G. L. PARSON, and AKA G. LEE PARSON,' JR., and
               MARY ELIZABETH PARSON, AKA MARY BUTTERWORTH PARSON,
                   AKA MARY B. PARSON, AKA MARY E. PARSON, and
                  AKA MRS. G. L. PARSON, JR., husband and wife
                                    (LESSOR)
                                          AND   .
                                RGIC (USA) MINERALS INC.
                                          1RGC)
Page 182 of 263 Page ID #:197     Filed 07/07/25    Document 1-1   Case 2:25-cv-06135
Case 2:25-cv-06135             Document 1-1                Filed 07/07/25               Page 183 of 263 Page ID #:198

                                                        EXHIBIT A



                 lieder the terns of the above-referenced Hieing likes* te.which this MAMMA is attached, LIWUMMC bee
       leased to Ref, axml gromitad to ROg'Imucious rights regsimling, cerLata real pr.:warty (iseluding     oinuuel nights
       and Ninacale) referred to as the .Prcsortys, which ie situated is the        Stet/Creek        Magietocia).Ddidriet,
       611NOWL           County, State of Virginia, which im hereby represented =den:ranted by.iesear to *meant to
       1S7..00  acres, and which is described as follesms •


       That same tract or parcel of land conveyed to G. Lee Parson, Jr.
       by Warranty Deed, dated February 16, 1970, and recorded in Deed
       Book 73 at page 600, in Clerk's Office of Circuit Court of Sussex
       County, Virginia. To Witt All that certain tract, piece or parcel
       of land, lying and being situate in Stony Creek Magisterial
       District, Sussex County, Virginia, containing one hundred and
       eighty-seven (187) acres, more or less, adjoining     the lands.of
       Markham B. Chappell; Old Eppes Tract; Green Church Road; and Wyatt
       Mill Road, being in all respects the same land which was devised
       unto Nannie B. Chappell by John E. Stewart, as will be seen by
       reference to the first clause of his last will and testament, of
       record in the clerk's Office of the Circuit Court of Sussex County,
       Virginia, except a portion thereof, containing about twenty-five
       (25) acres, which was conveyed to Nannie B. Chappell to Markham B.
       Chappell by deed recorded in the aforesaid Clerk's Office in Deed
        Book .27, at page 323; and being in all respects the same real
        estate conveyed to G. Lee Parson, Sr., in the name of G. Lee
        Parson, from John H. Cole Special Commissioner, by deed dated the
        29th day of December, 1914, and recorded in the aforesaid Clerk's
        Office in Deed Book 34, at page 283.

        EXEMPTING from this tract of land three (3) bulk barns, situated
        upon two (2) acres, more or less.

        Subject property is referred to in the SusSex County tax records as
        Tax Parcel Number S-I01-38.




                                                                196
Case 2:25-cv-06135                 Document 1-1                  Filed 07/07/25                  Page 184 of 263 Page ID #:199
       sit.&IN!
       VA 8/89       ,

                                                             . !WOMB
                                                                 • To      .
                                                            'MINING
                                                           BY        LitASE
                                                               AND BETWEEN
                                     G. L. Parson, Jr. and Mary Elizabeth Parson,
                                                   b ukband and wife   •  •
                                                                   ase3804

                                                         AND
                                               RGC(USA)MINERALSINC.
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                                          RGColtoysItyPolyforVirgistiaCeperationa
                                        COPYRIGHT RGC(USA)MINERAISINC.3.989
                      This document yeti forth =Cs Royalty Policy for Virginia Operations("Royalty Policy"), whirls is referred to in
                      Section 7(Royalty Pay     its) of the above-referenced Deed of tlnipg Lease(Lease") and which is attached to and
                      incorporated into the Lease by reference.                                                                      •
                                                                                                                   •
        1.    /2gfigkikeru. The terms defined in the body of the Lease or anywhere in this Royalty Policy will have the same meanings
               throughout this Royalty Policy. The following terms will have the following meanings:

             (a)         "frindpal Mineral? means lIntenite,Rutile and Zircon.
              (b)        "Minor Minarets" means Minerals other than Principal Minerals.
              (c)        "Mbutralized Property' means that portion of the Property which RCiC estimates, using the than most current
                         drilling data and survey Information, contains Minerals-bearing sands which have e minionun dredge-able depth
                         of 15 feet and which haves cut-off grade of two percent(2%) by weight average Minerals content. All lump sum
                          payments under Section 6 (Initial Payment and Advance Royalty Payments) of the Lease ere larted on the
                          Mineralized.Property as of the LAR20 Date,and subsequent changes in the acreage of the Mineralized Property will
                          not affect the lump sum payments.
                                                                                                                         •
              (dl)       "Wes Value per ton of each Mineral" means the dollar value per short ton derived by dividing (i) the actual dollar
                          sales of each Mineral following processing by the dry plant last of returns, sales taxes, sales discounts and
                          commissions but not net of settlement discounts) for the calendar quarter ("Quarter') which Is the alibied of the
                          Royalty Payment calculation, by (U) the total sales tonnage for each Mineral in that Quarter, subject to the
                          exclusion of sales to affiliates contained in Clause 9(Sales to Affiliates) below.
                                                                                                                 •
              (e)        'Lessor's Stock Account" mesa the account maintained by ROC in Lessor's name for the purpose of traeldng and
                          reporting productioa, inventory and sales allocations made with respect to saleable Minerals attributed to the
                          Property, and for the purpose of calculating and accounting to Lessor, through the Stock Report described ip
                          Clause3below,for any-Royalty Payments.

              (f)         "All Stock Account? means the Lessor's Stock Account and all other stock amounts maintained by RGC for other
                          properties an which RCC engages in Mining(as defined in Clause 6(b)(i)below).

                 •(s)     "Recovery Rate" for any treatment of material is the weight of material that is present after that treatment divided'
                          by the weight of material before treatment,expressed as a percentage.

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         .      Calcuialing.Roytatica. This Royalty Policy sets forth the methodology to be used in determining and reporting the
         Roxelty Payments payable to Lessor under the Less.. By signing the loam. Lessor agrees to that methodology,including but not
         &tinned toll) RGCs method of attributing Minerals to the Property as set forth iii Clause 6 below,and (is) RGG's method of
         calculating Royalty Payments as set forth in Clause 7(Royalty Payment Calculations) below.

         3
         .      Stock Account and Stock -Report. From the commencement of Mining (a. defbied in Clause 6(b)(l)) on the
         Property until such time as RGC's obligation to pay Lessor Royalty.Payments has been fulfilled, RGC will establish and maintain
         Lessor's Stock Account and will send to Lataer within 30 dsys after the end of each Quarter a written report ("Stade Report')on
         the status of Lessor's Stock Account. The Stock Report will show:    "

                 (a)      The tons of saleable Minerals attributed to the Property for the Quarter(see Clause 6below);
                 (b)      Sales from,the accumulated tons of *saleable Minerals referred to in Clause 3(a)above;
                 (c)       Any Advance Royalty Payments paid during the Quarter in accordance with Section 6 of the Leas

                 (d)       Any Royalty Payment payable for the Quarter pursuant to Section 7(Royalty Payments)of the Leave
                 (e)       A reconciliation of Advance Royalty Payments end Royalty Payments to Lessor pursuant to Section 6 (Initial
                           Payment and Advance Royalty Par:newel-and Section 7(toyalty Payments)of the Lease.
          The Stock Report Will be certified as accurate by ROC.Operations manager or a senior financial employee. By signing this Lease,
          Lessor agrees to preserve the confidentiality of the gala and production information in all Stock Reports,

          4
          .     Romity_Ba.k. ROC will pay Lessor a Royalty Payment equal to eight.percant(a%) of the Sales Value per ton of each
          Mineral sold that Is attributed to the Property, as reflected in the Stock Account and as reported.to Lessor quarterly in the Stock
          Report.
          5
          . B.costhoar's                 Any Royalty Payments due for Principal Minerals attributed to the Property will be peld within 30
        . days 'Liter the end of the Quarter in. which such Principal Minerals were sold (Le,invoiced to .the purchaser), and, fill' Minor
          Mbterale attributed to the Property wain 30 days of    the
                                                                  end of the"Part'Year (July 1•June 39)an which they were solcL

          6
          .        Saleable brioacklo Attributed to the rropertt. Saleable Minerals are attributed to the Property and to Lessor's
          Stock Account as set forth below:        •   •




                  (a)       ROC will survey, drill, and analyze drill samples from those portions of the Property which it plans to mine,in
                            order to estInsate the tons of Principal Minerals located therein.

                  (b)       Production of saleable Minerals Is achieved by the following three steps In RGCa Operations:

                                   'Mining"-extracting and,delivery of mineralsand ore to the concentrator;
                                   'Concentrating'•removal of non-eornmendal nutterial;

                           (iii)     "Processing'-removal of further non-commercial sand arid separation into saleable Minerals.
                            Each cif these steps results in recovery sad loss of saleable Minerals depending on the efficiency of each step and
                            the nature of the ntaterLII being treated. The Recovery Rate for each step varies to a small degree on a daily basis
                            and is determined by regular sampling and analysis of the material as It passes through each elev.



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Case 2:25-cv-06135              Document 1-1                   Filed 07/07/25             •
                                                                                          Page 185 of 263 Page ID #:200

                 (c)    The Recovery Rates lore given Quarter and the estimates and survey information compiled pursuant to Clause
                        6(a)above are used to estimate the tons of saleable Principal Minerals recovered frame* Property in that Quarter.
                        Those tons of Principal Minerals are then entered in Lessor's Stock Account.

                 (d)    Within 30 days of the end of each Pisral Year,ACC will apportion its actual production of saleable Minor Mineral+
                        for the year among All Stock Accounts. The apportionment will be made In proportion to tire attribution of
                        Principal Minerals among AU Stock Accounts lot the year.

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         .        Beefy Payrterrt caktriertioni.           .

                 (a)    Principal Minerals $014

                        (i)      Within 30 days of the end of each Quarter, RGC will deduct the total tons of each Principal l'atteral sold.
                                 during that Itaxtez from All Stock Accounts.

                        00      The torts of Prindpal Minerals sold will be deducted from All Stock Accounts on a *Pirat-In/First.Our
                                (FIFO) basis. Where production of erasable Minerals b attributed to several stock accounts on the same
                                 date,sales attributable to such production will be deducted from the affected stock acconnts ht proportion
                                 to the tonnage allocated on that date to such stock accounts.

                        (il1)    The sales thus attributed to the Property will be entered in Lessor's Stock Account and reflected in the
                                 Stock Report.

                        (iv)     RGC will calculate the Sales Value per ton for each Principal Mineral for the Quarter.
                        (v)     .The Royalty Payment payable to Lessor forth.Quarter will equal eight percent(8%)of the Sale. Value per
                                 ton for each Prmdpal Mutertd for the Quarter multiplied by the tons of each Prindpal Mineral sold wifidt
                                 are attributed to the Property for the Quarter as reflected in the Stock Account.

                  (b)     Miner Minerals Sc4l
                                  Within SO days after the end of each Fiscal Year, calculation stellar to that described in armee 76)(v)
                                  above, will be nude for Minor Minerals, and the result will be reflected in the Stock Report for the last
             •                    Quarter of the Fiscal Year.

                  (c)     Adlustmenta

                                  At the end of each Fiscal Year,RGC will compare its actual annual Mineral production to the total tons of
                                  Minerals attributed to All Stock Accounts in that year. If the actual producaon Is less than the attributed
                                  production, then the ahortfsil will be deducted proportionately,from AU Stock Accounts..If the actual
                                  production exceeds the attributed production, then the execs, will be allocated proportionately among AU
                                  Stock Accounts. •

          8
          .      Commingling ansl S                  g. RGC will eommingle Minerals train the Property with Minerals from other
          pr erties may engage in MIrthIg on more than one property In a Quarter,and may in RGCs sole discretion from time to dine
          stoacplle Minerals depending on market conditions.

          9
          .      5 sks....t2.21ffiliggcl. RGC may in Its sole discretion sell part or all of its Minerals to affiliates of =C. In such event, the
          Sales Value per ton of each Mineral used in calculating the Royalty Payment will be based only on RGCe sales to non-affiliates. If
          such rien-afrdlate sales are less than 30% of RGCs total sales of the Mineral during the Quarter, then the Sales Value used in
          calculating the Royalty Payment will equal the greater of(a)the Sales Value based only on RGCe sale, to non-affillates or (b)the
          indexed jorice for the Mineral, determined by multiplying (i) the Sales Value per ton of the Mineral last used in calculating a
          Royalty Payment times (Li)the percentage change in the Producer Price Index -Titanium Pigments Index of the Bureau of Labm•
          Statistics, US. Department of Labor(Code No.416220209, 1982.400). Such percentage change will be based on the change In the
          Index from the last month of the Quarter in which the Sales Value referred to in Clause (0 was used to the last month of the
          Quarter for which the Royalty Payment is being calculated. .

          /O. Most Favored Lessor If RGC agrees, after signing this Lease, to pay ii higher Initial Payment per acre, higher
          aggregate Advance Royalty Payments per acre (excluding any such higher,payments that result from either Cl) en Increase In a
          leas.date payment which raises a lessor's total least date payments to seven percent(7%) of RGC's then-current estimate of thst
          lessor's total Advance Royalty Payments end Royalty Payments or (Li) variants:re in Advance Royalty Payments that are based
          upon or limited by Clause 12 hereof), or higher royalty rates as to any other leased property in the Area, RGC will within 30 days
          of the more favorable lease pay Lessor any amount necessary to adjust retroactively payments previously received by Lessor to
          the MOTO favorable levels, and the more favorable levels that are prospective In suture will thereafter apply to this Lease. This
          Clause does not require that retroactive adjustments include the time value of money. This Clause applies only to leases and not
          to purchases,options to purchase,purchase-iesseback arrangements of other arrangements.

           LI. Completion oadining.
                 (a)       RGC will send Lessor written notice when It has completed Mining on the Property.                                   •
                 (b)       The rtext Stock Report after such notice will contain a reconciliation comparing (1)the total of all Royalty Payments
           and  Advance    Royalty  Payments    paid to date,  with (ii) the product obtained by multiplying the total number of acres of the
           Property from which RGC removed the topsoil in preparation for Mining time. S3,.- ..per-atre average Minimum Royalty
           provision In Section 8(Minimturt Royalty)of the Lease.
                 (c)       If that Stock Report reflects that all tons of Minerals attributed to the Property have already been sold, that Stock
           Report will be Lessor's last Stock Report and final reconciliation, end Lessor will be paid (i) any Royalty Payments payable for
           that Quarter, and (1.1)the final payment, if any, required by the 53,500-per-acre average Minimum Royalty provision (the -Final
           Payment"). The Final Payment writ equal the amount,if any,by which the prod0ct described hi Clause 11(b)(ii) exceeds the total
           described in Clause 110411).
                 (d)       if that Stock Report reflects that arty tons of Minerals attributed to the Property have trot yet been sold, Lessor will
           be paid any Royalty Payments payable for that Quarter,and Lessor may elect.by sending written notice to RGC within 30 days,
           to either: (i)forfeit all tights to future Royalty Payments with regard to all unsold tons end receive the Final payment if any,
           determined in accordance with Clause 11(c) above; or (8)continue Lessor's Stock Account In existence, and defer the final
           recorteillation and Final Payment, if any, until all such unsold tons are sold arid the final total of all Royalty payments and
           Advance Royalty Payments can be used in determining any Final Payment due.

           12. .agancgitogrily...fsoanagLaffejtEilizacttaMtmakizgattYswngate. At least one year before RGC
             commences Mining on the Property, RGC will estimate, using the then most current " data and survey information, the
             tons of Minerals located therein. Using the higher of this estimated tonnage or        a        tons and amoying reasonably
             expected Recovery Fates and prices, RGC will In good faith estimate the toted ealea value o the saleable Minerals recoverable
             from the Mineralized Property. The Advance Royalty Payment equal to'70% of Estimated Future Royalty Payments" set forth In
             Section 6(Initial Payroent and Advance Royalty payments) of the Lease will be determined. by (a)muitiplyang the estimated total
             sales value times the eight percent (8%) royalty rate, (b) multiplying the result by seventy percent (7(1%), and (c) deducting
             therefrom all Advance Royalty Payments previously made under the Lease.

             13. NeJklisumcwattimaltistr-Broenstaktiam. BOCAVOe Of the Inherent uncertainties in making projections and
             estimates which may affect Lessor's Royalty eymts,Lessor, hr deciding whether to enter tato this Lease,should not rely upon
             any representation, written or oral,as to the iikelihood or value of Royalty Payments, and Lessor should bear in mind that the
             53S00-per-acre average Minimum Royalty provision contained in Section 8(Minimum Royalty) of the Lease applies only if RGC
             engages in Mining on the,Property,and even then applies only to the total number of acres front which RGC removes the topsoil
             in preparation foe Mining. Lessor acknowledges that Lessor understands the foregoing sent.wice and Lessee ajosaa, that La...,
             tiaa net relied upon any representation,written or oral,as tu•the likelihood or value cei Royalty Payments.




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Case 2:25-cv-06135   Document 1-1   Filed 07/07/25   Page 186 of 263 Page ID #:201




                              EXHIBIT D




                                      199
  Case 2:25-cv-06135                     Document 1-1                                Filed 07/07/25                      Page 187 of 263 Page ID #:202
June,30 2023

To: Iluka Resources, Inc. Via registered agent: CT Corporation System 1200 S'Pine Island Road Plantation, FL 33324

Dear Sir:

You are hereby notified that the royalty payment address of.PO Box 170225 Boston, MA-02117 with corresponding
Street address'of 133 Clarendon St #170225 Boston, IVlA-02117 which were previously changed are now changed to.481
N Santa Cruz Ave #178 Los Gatos, CA 95030; accordingly, the 7548 South US Hwy 1.#198 Port St Lucie, FL 34952 address
for Betty has been replaced by this 481 N Santa Cruz Ave #178 Los•Oatos, CA 95030 address and the 2625 Alcatraz Ave
#179 Berkeley, CA 94705 address for Laurence has been replaced by this 481 N Santa Cruz Ave #178 Los Gatos, CA 95031
address. •
               . .
As we previously notified you,the OCtober.13,4989 Deeds of.Mining.Lease. entered into by George Lee Parson, Jr. and
Mary.Elizabeth.ParSiin and.ROC,(USA) Minerals, Inc may be rescinded in central Los Angeles,'CA, Culver City, CA,
Berkeley/a;San Francisco, CA, and Santa Clara County, CA and the Superior Court for Santa Clara County, CA is the.
repository for all reScission.nipney. For reference, there are ten leases that the minerals Conveyed by the 97 Deedwere
conveyed subject to, and said:leases have memorandums of record in the Clerk's Office of the Circuit Court of Sussex
County, Virginia and the Clerk's Office ofthe Circuit Court of Dinwiddie County, Virginia, and we hereby again notify you
that said leases may be rescinded and hereby notify you.that such rescission may be in any of the following venues:
Culver City, CA, Berkeley,*CA,.or San Francisco,.CA.,

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Betty P. drihain Thi.s.dOCOmentiS.not a waiver of.any rights held by Laurence J. Graham. This document is not a waiver
Of any claims held by Laurence J. Graham. All fights are reserved
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Sincerely, .

Betty P. Graham for Betty- P. Graham: apIthit                                        R4t
Laurence J. Graham for Laurence J. Graham:

Laurence J. Graham as attorney7in-fact for Betty P. Graham:




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           Case 2:25-cv-06135
 June, 30 2023                                                                Document 1-1                                               Filed 07/07/25                       Page 188 of 263 Page ID #:203

 To: Iluka Resourc4 Inc. Via registered agent: CT COrporation System 1200 S Pine Isiand Boad Plantation, FL 33324

 •Dear Sir:

 You are hereby notified that the royalty payment address of PO Box 170225 Boston, MA 02117 with corresponding
 street address of 133 Clarendon St #170225 Boston, MA 02117 which were previously changed are now changed to 481
,N Santa Cruz Ave #178 Los Gatos, CA 95030; accordingly, the 7548 South US Hwy 1 #198 Port St Lucie, FL 34952 address
 for Betty has been replaced by this481 N Santa Cruz Ave #178 Los Gatos, CA 95030 address and the 2625 Alcatraz Ave
 #179 Berkeley, CA 94705 address for Laurence has been replaced by this 481 N Santa Cruz Ave #178 Los Gatos, CA 95030
 address.

 At we previously notified you,the October 13; 1989 Deeds of Mining Lease entered into by George Lee ParsOn,Jr. and
 Mary Elizabeth Parson and RGt(USA) Minerals, Inc, May berescindedoincentral Los Angeles;CA, Culver City, CA,.
 Berkeley, CA,San Francisco, CA,and Santa Clara County, CA and the Superior Court for Santa Clara County, CA is the
 repository:forall rescission money. For reference;there are ten leases that the Minerals conveyed by the 97 peed were
 Conveyed subject to,..and said ieaSes have memorandums of record* in the Clerk's Office of the Circuit Court of Sussex • •
 County, Virginia and the Clerk's Office of the Circuit Court of Dinwiddie County, Virginia, and we hereby again notify you
 that said leases.rnay be rescinded .and.hereby notify you that such rescission May be in any ofthe following venues:
'Culver Citi, CA, Berkeley, CA,et-San Francisco, CAI 0,1)(1 <C/ C\t 6•••  0%(&•(.0 tits* •                   a‘j.30)a_3                                                                                                             • 13
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 Betty 13,. Graham                  not a.waiver of any rights held by Laurence J. Graham. This document is not a waiver
 Of any claims held by Laurence J. Graham. All rights are reserved.
-Of
'Sincerely,

 Betty P. Graharn.for 6etty P. Graham:                                    .8
 Laurence J. Graham for Laurence 1: Graham:

 Laurence J. Graham as attorney-in-fact for Betty P. GrahaM:


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Case 2:25-cv-06135        Document 1-1      Filed 07/07/25     Page 189 of 263 Page ID #:204
Page 1 of 3


Iluka Resources,Inc. do its registered agent CT Corporation System at 1200 S Pine Island Road
Suite 250 Plantation, FL 33324.

This letter will be mailed by USPS certified mail Adult signature requested to Iluka Resources,
Inc. do its registered agent CT Corporation System at 1200 S Pine Island Road Suite 250
Plantation, FL 33324 and served,

1/30/24

Officers:

We have not received any indication that you are ready to admit to the liability that you have to
us so we write this letter.

Iluka Resources,Inc.(hereinafter "Iluka") is already in receipt of a copy of Betty P. Graham's
FLORIDA GENERAL DURABLE POWER OF ATTORNEY dated 7/18/2014; I, Laurence J.
Graham,am Betty P. Graham's Agent(also known as her attorney-in-fact); I have the powers to
bring, prosecute, and settle all claims held by Betty P. Graham. Betty P. Graham may be
referred to as "Betty" herein. I may be referred to as "Laurence" herein,

I,Betty.Patrick Graham, may be referred to as Betty P. Graham herein; and,I. Betty Patrick
Graham may be referred to as Betty herein.

Betty P. Graham and her sisters Julia P. Boyd (also KnOwn as Julia H. Parson), and Ann P,
Everett were conveyed title, in equal shares, to tangible real property minerals ofevery kind and
character located below the surface often parcels ofland totaling more than 1,150 acres ofland
by a certain Deed Of Gift dated the 19th Day of May 1997 which is recorded in the Clerk's Office
ofSussex County, VA in Deed Book 155 Page 637 and the Clerk's Office ofDinwiddie County,
VA in Deed Book 410 Page 204,(hereinafter "the 97 Deed")which, by its written language,is
said to be drafted by one attorney who,although we did not know it atthe time, had a history of
performing Work for RGC(USA)Minerals, Inc.(hereinafter,"RGC"); but, we did know that he
was working on the 97 Deed with RGC and that the McGuire Woods law firm was involved.

With the conveyance oftitle to more than 1,150 acres ofsubsurface minerals located below
surface of ten parcels of land, the 97 Deed also conveyed the right ofingress and egress, and
possession at all times for the purpose of mining, drilling and operating for said minerals and the




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Case 2:25-cv-06135       Document 1-1       Filed 07/07/25      Page 190 of 263 Page ID #:205
Page 2 of 3


maintenance of facilities and means necessary or convenient for Producing, treating and
transporting such minerals; furthermore,the 97 Deed also transferred all of Betty's parent's
royalties due under ten certain October, 13 1989 Deeds of Mining Lease to Betty P.'Graham,
Julia P. Boyd, and Ann P. Everett except for the next two annual advance royalty payments; said
ten certain October, 13 1989 Deeds ofMining Lease were.signed by Betty's father George L.
Parson, Jr. and Betty's mother Mary E. Parson and RGC and are intertwined; therefore,they are
one contract and are also known as the 1,169.86 acre lease by Betty, her parents, and RGC since
the recording ofthe 97 Deed, memorandums of said leases being of record in the Clerk's Office
ofthe Circuit Court of SuSsex County, Virginia and the Clerk's Office of the Circuit Court of
Dinwiddie County, Virginia (hereinafter "the Leases"). The 97 Deed severed the 1,169.86 acre
lease from the 1,196.61 acre lease that Betty's parents and RGC entered into.

Accordingly, Betty P. Graham, Julia P. Boyd, and Ann P. Everett were each conveyed title to a
separate one-third share ofthe tangible real property minerals located below the surface of ten
parcels ofland totaling more than 1,150 acres of land by the 97 Deed together with the right of
ingress and egress, and possession at all times for the purpose of mining, drilling and operating
for said minerals and the maintenance of facilities and means necessary or convenient for
producing,treating and transporting such minerals, and each ofthem also received one-third of
the royalties due under the Leases by the 97 Deed except for the next two annual advance royalty
payments.

We allege that the Leases, pertaining to the one-third.share ofthe minerals conveyed to Betty P.
Graham by the,97 Deed which were located below the surface:often parcels of land totaling
more than 1,150 acres ofland and later recovered, as saleable minerals,from the ore that Iluka
extracted from those ten parcels ofland,have been rescinded; however, ifIluka currently claims
that said Leases, pertaining to the one-third share ofthe minerals conveyed to Betty P. Graham
by the 97 Deed which were located below the surface often parcels ofland totaling more than
1,150 acres ofland and later recovered, as saleable Minerals,from the ore that Iluka extracted
from those ten parcels of land, have not been rescinded, they are claiming that it has a diny to
deliver royalties and our address for receipt of all such royalties is 2210 W Sunset Blvd PMB
201 Los Angeles, CA 90026 c/o Laurence John Graham; if Iluka currently claims that any of
the ten October 13, 1989 Deeds of Mining Lease,(pertaining VI the one-third share of the




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Case 2:25-cv-06135       Document 1-1       Filed 07/07/25      Page 191 of 263 Page ID #:206
Page 3of 3


minerals conveyed to Betty P. Graham by the 97 Deed which were located below the surface of
the ten parcels ofland listed in the 97 Deed that were later recovered, as saleable minerals,from
the ore that Iluka extracted from those ten parcels ofland), have not been rescinded, Iluka is
thereby claiming that it has a duty to deliver royalties and our address for receipt of all
such royalties is 2210 W Sunset Blvd PMB 201 Los Angeles, CA 90026 c/o Laurence John
Graham however, this change is made without any agreement from us that the Leases,
pertaining to the one-third share ofthe minerals conveyed to Betty P. Graham by the 97 Deed
which were located below the surface often parcels ofland listed in the 97 Deed and later
recovered, as saleable minerals,from the ore that Iluka extracted from those ten parcels of land,
have not been rescinded as we allege that they have been rescinded; accordingly, all changes
made herein are done with the reservation of all rights and claims; all rights are reserved.

You have been served our 1/7/24 VERIFIED AMENDED COMPLAINT FOR RESCISSION
OF CONTRACT[S]; AND,DEMAND FOR JURY TRIAL As you know, you are involved in a
massive fraud that is clearly one oflargest examples of criminal racketeering by corporations in
the modern era and it has caused us severe harm and loss; we are going to getjustice against you;
and, DuPont de Nemours,Inc.; and, The Dow Chemical Company(also known as Dow,Inc.);
and, The Chemours Company; and, Corteva, Inc.; and, DOES 1-25, inclusive in court as we are
going to file the 1/7/24 VERIFIED AMENDED COMPLAINT FOR RESCISSION OF
CONTRACT[S]; AND,DEMAND FOR JURY TRIAL in the SUPERIOR COURT OF
CALIFORNIA FOR THE COUNTY OF SAN FRANCISCO.

Sincerely,

Betty Patrick Graham for Betty Patrick Graham:

Laurence J. Graham as attorney-in-fact for Betty P. Graham:                         luk142"p‘

Laurence J. Graham as Agent for Betty P. Graham:

Laurence J. Graham for Laurence J. Graham:                        ,
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Laurence John Graham for Laurence John Graham:




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     Case 2:25-cv-06135              Document 1-1           Filed 07/07/25          Page 193 of 263 Page ID #:208

ATTORNEY OR PARTY WITHOUT ATTORNEY:
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                                                                                                     FOR
Laurence John Graham

     TELEPHONE NO.: (954) 288-5138
     EMAIL ADDRESS: grahamlarrybettyQgmail. corn
      ATTORNEY- FOR:
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
 'STREET ADDRESS:
  MAILING ADDRESS:
 CITY AND ZIP CODE:
     BRANCH NAME:
   PLAINTIFF: Laurence J. :Graham                                                             CASE NUMBER:
 DEFENDANT: E.I. 'Du Pont De Nemours and Company, Iluka
                  Resources, Inc           The Dow Chemical Company,

                                                                                              Ref. No. or File No.:
                             DECLARATION OF MAILING


1.    I, Louis Pardo,am at least 18 years of age and not a party to this action.

2.    Documents mailed:

      Letter

3.    A true copy of the documents were sealed in an envelope and placed in the United States mail with First Class postage
      prepaid as follows:

      Date:                      1./30/2024
      Location:                   MIAMI BEACH, FLORIDA
      Addressed:                  Iluka Resources, Inc. By serving CT Corporation Systems as its statutory
                                  registered agent, 1200 S. Pine Island Road, Suite 240, Plantation, FL
                                 .33324

4.    Person performing mailing:

      Name:                       Louis Pardo
      Firm:                       COURTESY FLORIDA PROCESS SERVERS
      Address:                  . Payment Center, -P.O. Box 40-3621, Miami Beach, FL 3:3140
      Telephone Number:           (888) 319-2205

5.    I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.


Date:



                     Louis Pardo
                     PRINTED NAME)                                                         (SIGNATURE)




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                                                    DECLARATION OF MAILING                               Job Number JGS-2024000638


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      Case 2:25-cv-06135                   Document 1-1               Filed 07/07/25     Page 198 of 263 Page ID #:213
                                                                                                      III 1111111111111111111111111101JIT
ATTORNEY OR PARTY WITHOUT ATTORNEY:                                                                      FOR COURT USE ONLY
Laurence Cohn Graham

     TELEPHONE NO.:(954) 2E18-5138
     EMAIL ADDRESS: granartlarrybetty@gmail.com
     ATTORNEY FOR:
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
  STREET ADDRESS:
  MAILING ADDRESS:
 CITY AND ZIP CODE:
     BRANCH NAME:
  PLAINTIFF: Laurence J. Graham                                                                   CASE NUMBER:
DEFENDANT: E I. Du Pont De Nemours and Company, Iluka
             Resources, Inc., The Dow Chemical Company,
                                                                                                  Ref. No. or File No.:
                                  PROOF OF PERSONAL SERVICE--CIVIL


1.     I am over 18 years of age and not a party to this action.
2.     I served the following documents:
       Letter

3.     I personally served the following persons at the address, date, and time stated:
       a. Name: Donna Mock
       b. Address: 1200 S. Pine Island Road, Suite 24C, Plantation, FL 33324
       C. Date:1/30/2024
       d. Time: 2:10 pra

4.     lam
                a.      not a registered California process server.

5.     My name, address, telephone number, and, if applicable, county of registration and number are:
       CARLOS PARDO
       COURTESY FLORIDA PROCESS SERVERS
       Payment Center, P.O. Box 40-3621, Miami Beach, FL 33140
       Telephone number: (886) 319-2205
       Registration Number: SPS # 519
       County: Broward County, Florida

6.     I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.


Date:



                         CARLOS PARDO
 (TYPE OR PR NT NAME OF PERSON WHO SERVED THE PAPERS)                          (S GNATURE OF PERSON WHO SERVED THE PAPERS)




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Fonts Aparwod for optima( Use
  Judicial Councr of California
P05-020 New Janua y I. 20051                       PROOF OF PERSONAL SERVICE--CIVIL                          Job Number JGS-2024000636


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Case 2:25-cv-06135        Document 1-1       Filed 07/07/25      Page 199 of 263 Page ID #:214
                                                                                             Z%. 1 D fls
  Page lof3


  Iluka Resources,Inc. do its registered agent CT Corporation System at 1200 S Pine Island RoatIC:5*.
                                                                                                    19
  Suite 250 Plantation, FL 33324.

  This letter will be mailed by USPS certified mail Adult signature requested to Iluka Resources,
  Inc. c/o its registered agent CT Corpo'ration System at 1200 S Pine Island Road Suite 250
  Plantation, FL 33324 and served,

  1/30/24

  Officers:

  We have not received any indication that you are ready to admit to the liability that you have to
  us so we write this letter.

  Iluka Resources,Inc.(hereinafter "nuke")is already in receipt of a copy of Betty P. Graham's
  FLORIDA GENERAL DURABLE POWER OF ATTORNEY dated 7/18/2014; I, Laurence J.
  Graham,am Betty P. Graham's Agent(also known as her attorney-in-fact); I have the powers to
  bring, prosecute, and settle all claims held by Betty P. Graham. Betty P. Graham may be
  referred to as "Betty" herein. I may be referred to as "Laurence" herein.

    Betty Patrick Graham,may be referred to as Betty P. Graham herein; and, I Betty Patrick
  Graham may be referred to as Betty herein.

  Betty P. Graham and her sisters Julia P. Boyd (also Known as Julia H.Parson), and Ann P.
  Everett were conveyed title, in equal shares, to tangible real property minerals ofevery kind and
  character located below the surface often parcels ofland totaling more than 1,150 acres ofland
  by a certain Deed ofGift dated the 19th Day of May 1997 which is recorded in the Clerk's Office
  ofSussex County, VA in Deed Book 155 Page 637 and the Clerk's Office ofDinwiddie County,
  VA in Deed Book 410 Page 204,(hereinafter "the 97 Deed")which, by its written language, is
  said to be drafted by one attorney who, although we did not know it at the time, had a history of
  performing work for RGC(USA)Minerals, Inc.(hereinafter,"RGC"); but, we did know that he
  was working on the 97 Deed with RGC and that the McGuire Woods law firm was involved.

  With the conveyance of title to more than 1,150 acres ofsubsurface minerals located below
  surface of ten parcels of land, the 97 Deed also conveyed the right of ingress and egress, and
  possession at all times for the purpose of mining, drilling and operating for said minerals and the




                                                212
Case 2:25-cv-06135       Document 1-1        Filed 07/07/25     Page 200 of 263 Page ID #:215



 Signed in Miami Beach, Florida on Feb 10,2024 and then mailed to Iluka Resources,Inc. do its
 registered agent CT Corporation System at 1200 S‘Pine Island Road Suite 250 Plantation, FL
33324 from Miami Beach January, 28,2024 by USPS Priority Express overnight letter with
 signature requested and then served c/o CT Corporation System at the same address at
 approximately 9AM on 2/12/24.
 Officers: Lluka Resources, Inc. is already in receipt of a copy of Betty P. Graham's FLORIDA
 GENERAL DURABLE POWER OF ATTORNEY dated 7118/2014;I, Laurence J. Graham,am
Betty P. Graham's Agent(also known as her attorney-in-fact); I have the powers to bring,
 prosecute, and settle all claims held by Betty P. Graham. Betty P. Graham and her sisters Julia
P. Boyd (also Known as Julia H. Parson),and Ann P,Everett were conveyed title, in equal
 shares, to tangible real property minerals of every kind and character located below the surface
 often parcels ofland totaling more than 1,150 acres of land by a certain Deed of Gift dated the
 10Day of May 1997 which is recorded in the Clerk's Office of Sussex County, VA in Deed
 Book 155 Page 637 and the Clerk's Office of Dinwiddie County, VA in Deed Book 410 Page
 204,(hereinafter "the 97 Deed") With the conveyance of title to more than 1,150 acres of
 subsurface minerals located below surface often parcels ofland,the 97 Deed also conveyed the
 right ofingress and egress, and possession at all times for the purpose of mining, drilling and
 operating for said minerals and the maintenance offacilities and means necessary or convenient
 for producing, treating and transporting such minerals; furthermore,the 97 Deed also transferred
 all of Betty's parent's royalties due under ten certain October, 13 1989 Deeds of Mining Lease to
 Betty P. Graham, Julia P. Boyd,and Ann P. Everett except for the next two annual advance
 royalty payments; said ten certain October, 13 1989 Deeds of Mining Lease were signed by
 Betty's father George L. Parson, Jr. and Betty's mother Mary E. Parson and RGC and are
 intertwined; therefore,they are one contract and are also known as the 1,169.86 acre lease by
 Betty, her parents, and RGC since the recording of the 97 Deed, memorandums of said leases
 being of record in the Clerk's Office ofthe Circuit Court ofSussex County,Virginia and the
 Clerk's Office ofthe Circuit Court of Dinwiddie County, Virginia (hereinafter "the Leases").
 Iluka is hereby notified that my 133 Clarendon St #170225 Boston, MA 02117 royalty payment
 address is hereby changed to 2625 Alcatraz Ave PMB 179 Berkeley, CA 94705; this is now my
 only royalty payment address and this change is made with the reservation of all rights    d
 claims; accordingly, all rights are reserved. Sincerely, Laurence J. Graham.
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Case 2:25-cv-06135   Document 1-1        Filed 07/07/25         Page 201 of 263 Page ID #:216


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Case 2:25-cv-06135                 Document 1-1             Filed 07/07/25           Page 202 of 263 Page ID #:217



 ATTORNEY OR PARTY WITHOUT ATTORNEY:                                                                  FOR COURT USE ONLY
 BETTY P. GRAHAM, LAURENCE J GRAHAM AND LAURENCE J GRAHAM
 929 Alton Road
 Suite 500
 Miami Beach, FL 33139
     TELEPHONE NO.:
      ATTORNEY FOR:
 SUPERIOR COURT OF CAUFORNIA, COUNTY OF SAN FRANCISCO
   STREET ADDRESS: 400 MCALLISTER STREET
   MAILING ADDRESS:
  CITY AND ZIP CODE: SAN FRANCISCO, 94102
      BRANCH NAME: SAN FRANCISCO
  PLAINTIFF: LAURENCE J GRAHAM ON BEHALF OF HIMSELF AND AS                                    CASE NUMBER:
             ATTORNEY-IN-FACT FOR BETTY P. GRAHAM, AND AS                                     C.GC-24-611963
             AGENT FOP, BETTY P GRAHAMLAURENCE J GRAHAM
 DEFENDANT: DUPONT DE NEMOURS INC. ET AL.
                                                                                              Ref. No. or File No.:
                                  PROOF OF SERVICE


1.    I am over 18 years of age and not a party to this action.

2.    Received by ACCURATE SUPPORT RESOURCES on 2J11/2024 at 8:30 pm to be served on ILUKA RESOURCES INC, R/A
      CT CORPORATION SYSTEM,1200 S PINE ISLAND RD.„ PLANTATION, FL 33324.

3.   Served the within named corporation by delivering a true copy of the LETTER with the date and hour of service endorsed
     thereon by me to DONNA MACH / SERVICE OF PROCESS MANAGER / CT CORP.as Registered Agent of the within
     named corporation, in compliance with State Statutes.

4.    Date and Time of service: 2/12/2024 at 9:00 am

5.    I am not a registered California process server.

6.    My name, address, telephone number, and, if applicable, county of registration and number are:
     Name: Richard Lang
     Firm: ACCURATE SUPPORT RESOURCES
     Address: P.O. Box 350096, Ft. Lauderdale, FL 33335
     Telephone number: (954) 761-9977
     Registration Number: Spa 4259
     County: Broward County

7.   I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.


Date:



                   Richard Lang
 (TYPE OR PRINT NAME OF PERSON WHO SERVED THE PAPERS)                    (SIGMA   RE OF PERSON W   SERVED THE PAPE




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                                                         PROOF OF SERVICE                               Job Number ARL-2024000108




                                                                  215
Case 2:25-cv-06135       Document 1-1       Filed 07/07/25     Page 203 of 263 Page ID #:218




  Signed in Miami Beach,Florida on Feb 10,2024 and then mailed to Iluka Resources,Inc. c/o itsAZ
  registered agent CT Corporation System at 1200 S Pine Island Road Suite 250 Plantation, FL
  33324 from Miami Beach January,28,2024 by USPS Priority Express overnight letter with
  signature requested and then served do CT Corporation System at the same address at
  approximately 9AM on 2/12/24.
  Officers: Iluka Resources,Inc.is already in receipt ofa copy ofBetty P. Graham's FLORIDA
  GENERAL DURABLE POWER OF ATTORNEY dated 7/18/2014; I, Laurence J. Graham,am
  Betty P. Graham's Agent(also known as her attorney-in-fact); I have the powers to bring,
  prosecute, and settle all claims held by Betty P. Graham. Betty P. Graham and her sisters Julia
  P.Boyd(also Known as Julia H.Parson),and Ann P,Everett were conveyed title, in equal
  shares,to tangible real property minerals ofevery kind and character located below the surface
  often parcels ofland totaling more than 1,150 acres ofland by a certain Deed ofGift dated the
  19th Day ofMay 1997 which is recorded in the Clerk's Office ofSussex County, VA in Deed
  Book 155 Page 637 and the Clerk's Office ofDinwiddie County, VA in Deed Book 410 Page
  204,(hereinafter "the 97 Deed")With the conveyance oftitle to more than 1,150 acres of
  subsurface minerals located below surface often parcels ofland,the 97 Deed also conveyed the
  right ofingress and egress, and possession at all times for the purpose ofmining,drilling and
  operating for said minerals and the maintenance offacilities and means necessary or convenient
  for producing,treating and transporting such minerals; furthermore,the 97 Deed also transferred
  all of Betty's parent's royalties due under ten certain October, 13 1989 Deeds ofMining Lease to
  Betty P. Graham,Julia P. Boyd,and Ann P. Everett except for the next two annual advance
  royalty payments; said ten certain October, 13 1989 Deeds ofMining Lease were signed by
  Betty's father George L.Parson, Jr. and Betty's mother Mary E.Parson and ROC and are
  intertwined; therefore,they are one contract and are also known as the 1,169.86 acre lease by
  Betty, her parents, and RGC since the recording ofthe 97 Deed, memorandums ofsaid leases
  being ofrecord in the Clerk's Office ofthe Circuit Court ofSussex County, Virginia and the
  Clerk's Office ofthe Circuit Court ofDinwiddie County, Virginia(hereinafter "the Leases").
  Iluka is hereby notified that my 133 Clarendon St #170225 Boston, MA 02117 royalty payment
  address is hereby changed to 2625 Alcatraz Ave PMB 179 Berkeley, CA 94705; this is now my
  only royalty payment address and this change is made with the reservation ofall rights   d
  claims; accordingly, all tights are reserved. Sincerely, Laurence J. Graham:
                                                                                      .i)(31.211



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 Case 2:25-cv-06135                 Document 1-1             Filed 07/07/25            Page 204 of 263 Page ID #:219



 ATTORNEY OR PARTY WITHOUT ATTORNEY:                                                                    FOR COURT USE ONLY
 BETTY P. GRAHAM, LAURENCE J GRAHAM AND LAURENCE J GRAHAM
 929 Alton Road
 Suite 500
 Miami Beach, FL 33139
     TELEPHONE NO.:
      ATTORNEY FOR:
                                                                                                                         '
 SUPERIOR COURT OF CAUFORNIA,COUNTY OF SAN FRANCISCO
   STREET ADDRESS: 400 MCALLISTER STREET
   MAILING ADDRESS:
  CITY AND ZIP CODE: SAN FRANCISCO, 94102
      BRANCH NAME: SAN FRANCISCO
  PLAINTIFF: LAURENCE 0" GRAHAM ON BEHALF OF HIMSELF AND AS                                      CASE NUMBER:
             ATTORNEY-IN-FACT FOR BETTY P. GRAHAM, AND AS                                        C.GC-24-611963
             AGENT FOR BETTY P GRAHAMLAURENCE J GRAHAM
 DEFENDANT: DUPCNT DE NEMOURS INC. ET AL.
                                                                                                 Ref. No. or File No.:
                                  PROOF OF SERVICE


1.    I am over 18 years of age and not a party to this action.

2.    Received by ACCURATE SUPPORT RESOURCES on 2/12/2024 at 8:30 am to be served on ILUKA RESOURCES INC, R/A
      CT CORPORATION SYSTEM,1200 S PINE ISLAND RD.„ PLANTATION,FL 33324.

3.    Served the within named corporation by delivering a true copy of the LETTER with the date and hour of service endorsed
      thereon by me to DONNA MACH / SERVICE OF PROCESS MANAGER / CT CORP as Registered Agent of the within
      named corporation, in compliance with State Statutes.

4.    Date and Time of service: 2/12/2024 at 9:05 am

5.    I am not a registered California process server.

6.    My name, address, telephone number, and, if applicable, county of registration and number are:
     Name: Richard Lang
     Firm: ACCURATE SUPPORT RESOURCES
     Address: P.O. Box 350096, Ft. Lauderdale, FL 33335
     Telephone number: (954) 761-9977
     Registration Number. Sps #259
     County: Broward County

7.    I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.


Date:



                    Richard Lang
 (TYPE OR PRINT NAME OF PERSON WHO SERVED THE PAPERS)                     (SIGNATURE OF PERSON




                                                                                                                             Page 1 of 2


                                                         PROOF OF SERVICE                                 Job Number ARL-2024000110




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Case 2:25-cv-06135       Document 1-1       Filed 07/07/25
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                                                                Page 205 of 263 Page ID #:220




  Signed on 2/12/24 and then mailed to Buka Resources,Inc."iluka" do its registered                     d"At
  Corporation System at 1200 S Pine Island Road Suite 250 Plantation,FL 33324 from Orlando,)0             p
  FL on 2/12t24 by USPS certified mail hardcopy!en= receipt adult signature requested and              916
                                                                                                         . rft,
  served do CT Corporation System at the same address at approximately 9AM on 2/12/24.
  Officers: Betty P.Graham and her sisters Julia P.Boyd (also Known as Julia H.Parson),and
  Ann P,Everett were conveyed title, in equal shares,to tangible real property minerals ofevery
  kind and character located below the surface often parcels ofland totaling more than 1,150 acres
  ofland by a certain Deed ofGift dated the 19th Day of May 1997 which is recorded in the
  Clerk's Office ofSussex County,VA in Deed Book 155 Page 637 and the Clerk's Office of
  Dinwiddie County, VA in Deed Book 410 Page 204,(hereinafter "the 97 Deed")With the
  conveyance oftitle to more than 1,150 acres ofsubsurface minerals located below surface often
  parcels ofland,the 97 Deed also conveyed the right ofingress and egress, and possession at all
  times for the purpose of mining,drilling and operating for said minerals and the maintenance of
  facilities and means necessary or convenient for producing,treating and transporting such
  minerals; furthermore,the 97 Deed also transferred all ofBetty's parent's royalties due under ten
  certain October,13 1989 Deeds ofMining Lease to Betty P. Graham,Julia P. Boyd,and Ann P.
  Everett except for the next two annual advance royalty payments; said ten certain October,13
  1989 Deeds ofMining Lease were signed by Betty's father George L.Parson,Jr. and Betty's
  mother Mary E.Parson and RGC and are intertwined; therefore,they are one contract and are
  also known as the 1,169.86 acre lease by Betty, her parents,and RGC since the recording ofthe
  97Deed,memorandums ofsaid leases being ofrecord in the Clerk's Office ofthe Circuit Court
  ofSussex County,Virginia and the Clerk's Office ofthe Circuit Court ofDinwiddie County,
  Virginia(hereinafter"the Leases"). Iluka is here again notified by this letter and was notified by
  my prior letter mailed on 2/10t24 with USPS Tracking#EI046316457US,which is served
  herewith and will be arriving to Mika this morning on 2/12/24,that my 133 Clarendon St
  #170225 Boston, MA 02117 royalty payment address has been changed to 2625 Alcatraz
  Ave PMB 179 Berkeley,CA 94705 and that this is now my only royalty payment address and
  Mika is hereby notified that 2625 Alcatraz Ave PMB 179 Berkeley,CA 94705 is also my
  correspondence address and that these changes are made with the reservation of all rights
  and claims; accordingly,all rights are reserved.
  Sincerely, Laurence J. Graham: 09               2,,,tjtew,„, a/fa/ay--


                                                218
Case 2:25-cv-06135            Document 1-1           Filed 07/07/25          Page 206 of 263 Page ID #:221



 Signed on 5/31/24 in Miami,FL and then mailed to Iluka Resources, Inc."Iluka" do its registered agent CT
 Corporation System at 1200 S Pine Island Road Suite 250 Plantation, FL 33324 from Miami,FL on 5/31/24 by
 USPS certified mail hardcopy return receipt adult signature requested and served do CT Corporation System at the
 same address.
 Officers:
 Betty P. Graham and her sisters Julia P. Boyd(also Known as Julia H.Parson), and Ann P. Everett were conveyed
 title, in equal shares, to tangible real property minerals ofevery kind and character located below the surface often
 parcels ofland totaling more than 1,150 acres ofland by a certain Deed of Gift dated the 19th Day of May 1997
 which is recorded in the Clerk's Office ofSussex County, VA in Deed Book 155 Page 637 and the Clerk's Office of
 Dinwiddie County, VA in Deed Book 410 Page 204,(hereinafter "the 97 Deed") With the conveyance of title to
 more than 1,150 acres of subsurface minerals located below surface often parcels ofland,the 97 Deed also
 conveyed the right of ingress and egress, and possession at all times for the purpose of mining, drilling and operating
 for said minerals and the maintenance offacilities and means necessary or convenient for producing, treating and
 transporting such minerals; furthermore, the 97 Deed also transferred all of Betty's parent's royalties due under ten
 certain October, 13 1989 Deeds of Mining Lease to Betty P. Graham, Julia P. Boyd, and Ann P. Everett except for
 the next two annual advance royalty payments; said ten certain October, 13 1989 Deeds of Mining Lease were
 signed by George Lee Parson, Jr. and Mary E. Parson and RGC and are intertwined; therefore, they are one contract
 and are also known as the 1,169.86 acre lease by Betty, her parents, and RGC since the recording of the 97 Deed,
 memorandums of said leases being ofrecord in the Clerk's Office ofthe Circuit Court of Sussex County, Virginia
 and the Clerk's Office ofthe Circuit Court of Dinwiddie County, Virginia(hereinafter "the Leases"). With the
 reservation of all rights and claims, Iluka is hereby notified that we are replacing all previously provided addresses
 with one single address; accordingly, all previously provided royalty payment addresses and correspondence address
 are hereby replaced with PO Box 470213 San Francisco, CA 94147 do Laurence J. Graham and notify you that
 these changes are made with the reservation ofall rights and claims; accordingly, all rights are reserved. This letter
 is not a waiver ofany rights held by Betty P. Graham and is not a waiver ofany claims held by Betty P. Graham and
 this letter is not a waiver ofany rights held by Laurence J. Graham and is not a waiver ofany claims held by
 Laurence J. Graham. Also, this letter is not a waiver ofany rights held by Betty Patrick Graham and is not a waiver
 of any claims held by Betty Patrick Graham. All rights are reserved.
 Sincerely,

 Betty Patrick Graham for Betty Patrick Graham:     8,0            atricA,(1/talia,--7,
 Laurence J. Graham as attorney-in-fact for Betty P. Graham:

 Laurence J. Graham as Agent for Betty P. Graham:                       .C8A0114,s

 Laurence J. Graham for Laurence J. Graham:                                    AzLitta ,
                                                                                       t k
 Laurence John Graham for Laurence John Graham:             40—/vver               Aakept4,\


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          Case 2:25-cv-06135          Document 1-1          Filed 07/07/25               Page 207 of 263 Page ID #:222

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       •    Thank you for your business.
    •     .
          Tell us about your experience, .
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   or scan tjiis code with-your mobile device.




              or call 1-800-410-7420




                                                                220
    Case 2:25-cv-06135          Document 1-1                    Filed 07/07/25                   Page 208 of 263 Page ID #:223




                                         VERIFIED RETURN OF SERVICE

      State of                                                                                                       County of



                                                                                                     IIIIIIIIIIIIMMIJI1111II
      Case Number.

      Plaintiff:
      Betty Patrick Graham and Laurence J. Graham
      vs.
_     Defendant:
      Hulce Resources, Inc.

      For:
      Laurence J. Graham
      Laurence John Graham and Betty Patrick Graham

      Received by COURTESY FLORIDA PROCESS SERVERSon the 3rd day of June, 2024 at 11:08 am to be
      served on fluke Resources, Inc. By serving CT Corporation Systems as it's statutory registered agent,
      1200 S.Pine Island Road,Suite 240,Plantation, FL 33324.

      I,CARLOS PARDO,do hereby affirm that on the 3rd day of June,2024 at 11:52 am, I:

      CORPORATE: served by delivering a true copy of the LETTER with the date and hour of service
      endorsed thereon by me,to: Donna Mock as Registered Agent at the address of: 1200 S. Pine Island
      Road,Suite 240, Plantation, FL 33324 on behalf of liuka Resources, Inc., and informed said person of
      the contents therein, in compliance with state statutes.


      Under penalty of perjury, I declare that I have read the foregoing affidavit and that the facts stated in it are
      true and correct, that lam a sheriff appointed, SPECIAL PROCESS SERVER IN GOOD STANDING for
      the in the county in which service was effected In accordance with Florida Statutes, and have no interest in
      the above action pursuant to F.S. 92.525(2).




                                                                               CA LOS PARDO
                                                                               SPS #519

                                                                              COURTESY FLORIDA PROCESS SERVERS
                                                                              Payment Center
                                                                              P.O. Box 40-3621
                                                                              Miami Beach, FL 33140
                                                                             (888)319-2205

                                                                               Our Job Serial Number:JGS-2024005404




                                   Copyright01902-2024 DrearnBuIlt Sollware, Inc.-Process Server's Tonlbox V9.0a




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Case 2:25-cv-06135            Document 1-1           Filed 07/07/25          Page 209 of 263 Page ID #:224



  Signed on 5/31/24 in Miami. FL and mailed to fluke Resources,inc."Ihdta" do its registered agent CT Corporation
 System at 1200 S.Pine Island Road.Suite 250 Plantation,FL 33324 from Miami,FL on 5/31/24 by USPS certified
  mail hardcopy return receipt adult signature requested and will be served to duke on Monday do its registered agent
 CT Corporation System at 1200 S.Pine Island Road Suite 250 Plantation, FL 33324.
 Officers:
  Betty P. Graham and her sisters Julia P. Boyd(also Known as Julia H.Parson),and Ann P,Everett were conveyed
 title, in equal shares,to tangible real property minerals ofevery kind and character located below the surface often
  parcels of land totaling more than 1,150 acres ofland by a certain Deed of Gift dated the 19th Day of May 1997
  which is recorded in the Clerk's Office ofSussex County,. VA in Deed Book 155 Page 637 and the Clerk's Office of
  Dinwiddie County, VA in Deed Book 410 Page 204,(hereinafter "the 97 Deed")With the conveyance oftitle to
  more than 1,150 acres ofsubsurface minerals located below surface often parcels offend,the 97 Deed also
 conveyed the right ofingress and egress,and possession at all times for the purpose of mining, drilling and operating
 for said minerals and the maintenance offacilities and means necessary or convenient for producing,treating and
  transporting such minerals; furthermore, the 97 Deed also transferred all of Betty's parent's royalties due under ten
  certain October, 13 1989 Deeds of Mining Lease to Betty P.Graham, Julia P. Boyd,and Ann P.Everett except for
  the next two annual advance royalty payments;said ten certain October, 13 1989 Deeds of Mining Lease were
 signed by George Lee Parson, Jr. and Mary E. Parson and ROC and are intertwined; therefore, they are one contract
  and are also known as the 1,169.86 acre lease by Betty, her parents. and RGC since the recording ofthe 97 Deed,
  memorandums ofsaid leases being ofrecord in the Clerk's Office ofthe Circuit Court of Sussex County. Virginia
  and the Clerk's Office ofthe Circuit Court of Dinwiddie County, Virginia(hereinafter "the Leases"). With the
  reservation ofall rights and claims, Iluka is hereby notified that we are replacing all previously provided addresses
  with one single address; accordingly. all previously provided address including, but not limited to, royalty payment
  addresses and correspondence addresses are hereby replaced with PO Box 470213 San Francisco, CA 94147 and
  notify you that these changes are made with the reservation ofall rights and claims; accordingly, all rights are
  reserved. We have both been receiving mail at PO Box 470213 San Francisco, CA 94147;however, ifany mail sent
  to Betty P.Graham at this address gets returned to sender, send it again to Betty P. Graham do Laurance J. Graham
  at PO Box 470213 San Francisco,CA 94147. This letter is not a waiver ofany rights held by Betty P. Graham and is
  not a waiver ofany claims held by Betty P.Graham and this letter is not a waiver ofany rights held by Laurence J.
  Graham and is not a waiver ofany claims held by Laurence J. Graham. Accordingly, this letter is not a waiver of
  any rights held by Betty Patrick Graham and is not a waiver ofany claims held by Betty Patrick Graham. All rights
  are reserved.
  Sinceraly,
  Betty Patrick Graham for Betty Patrick Graham:6                 Pakfr.A

 Laurence J. Graham as attorney-in-fact for Betty P. Graham:

 Laurence J. Graham as Agent for Betty P. Graham:

 Laurence J. Graham for Laurence J. Graham:

 Laurence John Graham for Laurence John Graham:




                                                         222
       Case 2:25-cv-06135           Document 1-1         Filed 07/07/25         Page 210 of 263 Page ID #:225
Signed on 2/08/2025 and mailed by United States Postal Service PRIORITY MAIL EXPRESS,signature required with tracking
# ER 121 593 885 US to:

Iluka Resources,Inc.
do Karen Jennings Evans, Esq.
Hunton Andrews Kurth LLP
50 California Street, Suite 1700
San Francisco, CA 94111

Officers: You are already in receipt of Betty P. Graham's DURABLE POWER OF ATTORNEY dated 7/18/2014 which was
executed in Massachusetts and the 9/29/03 Settlement Agreement both of which authorize Laurence J. Graham to act on Betty
P.Graham's behalf which he does herein. Betty P. Grahain and her sisters Julia P. Boyd(also Known as Julia H.Parson), and
Ann P, Everett were conveyed title, in equal shares, to tangible real property minerals of every kind and character located below
the surface often parcels of land totaling more than 1,150 acres of land by a certain Deed ofGift dated the 19th Day of May
1997 which is recorded in the Clerk's Office of Sussex County, VA in Deed Book 155 Page 637 and the Clerk's Office of
Dinwiddie County, VA in Deed Book 410 Page 204,(hereinafter "the 97 Deed"). The 97 Deed also transferred all of Betty's
parents' royalties due under ten certain October 13, 1989 Deeds of Mining Lease,(the "Leases")and lessor rights in the Leases
to Betty P. Graham,Julia P. Boyd, and Ann P. Everett except for the next two annual advance royalty payments. As you are
aware, we are litigating in the United States District Court for the Northern District of California(Case#: 2:24-cv-01551-RFL)
and the United States District Court for the Central District of California(Case #:2:24-cv-09444-FLA-SK)and we contend that
the portion ofthe Leases pertaining to the one-third share ofthe minerals conveyed to Betty by the 97 Deed and later recovered,
as saleable minerals,from the ore that was extracted from the ten parcels ofland listed in the 97 Deed has been rescinded;
however, you are claiming that said portion ofthe Leases has not been rescinded; therefore, you are claiming that you have a
contractual duty and fiduciary duty to pay royalty payments under the Leases and deliver reporting about the minerals extracted
from the ten parcels of land listed in the 97 Deed,and the saleable minerals recovered from the ten parcels of land listed in the
97 Deed, and deliver other correspondence. With the reservation of all rights and claims, we hereby notify you that PO Box
470213 San Francisco, CA 94147 c/o Laurence J. Graham is our address for receipt of all correspondence, royalty payments,
etc.; accordingly,PO Box 470213 San Francisco, CA 94147 c/o Laurence J. Graham shall be our address for royalty payments
for any portion of the Leases for which a recovery cannot be made by our current and all future actions for relief under Cal.
Civil. Code Sec.'1692. This letter is not a waiver ofany rights held by Betty Patrick Graham and is not a waiver ofany claims
held by Betty Patrick Graham. This letter is not a waiver of any rights held by Betty P. Graham and is not a waiver of any
claims held by Betty P. Graham. This letter is not a waiver of any rights held by Laurence J. Graham and is not a waiver of any
claims held by Laurence J. Graham. This letter is not a waiver ofany rights held by Laurence John Graham and is not a waiver
of any claims held by Laurence John Graham. All rights are reserved.
Sincerely,

Betty Patrick Graham for Betty Patrick Graham:     I.Qt1jjairrskjit'2fr—OLACZ/rYt.
Betty P. Graham for Betty P. Graham:     112m,     ;_. f 24i.ctilacryi
                                                   v •
Laurence J. Graham as attorney-in-fact for Betty P. Graham:

Laurence J. Graham as Agent for Betty P. Graham:            °a             40.41—A---,
Laurence John Graham as Agent and attorney-in-fact for Betty P. Graham:

Laurence J. Graham for Laurence J. Graham:        020
                                                    '71,0t/
                                                          1
                                                          4,                 e...*-A4t"..,.

Laurence John Graham for Laurence John Graham: )6-4,425---,48Ajeribv-




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       Case 2:25-cv-06135            Document 1-1           Filed 07/07/25         Page 211 of 263 Page ID #:226
Signed on 2/10/2025 and mailed by United States Postal Service PRIORITY MAIL EXPRESS,signature required with tracking # ER
121 594 143 US to:

Iluka Resources,Inc.
do Karen Jennings Evans,Esq.
Hunton Andrews Kurth LLP
50 California Street, Suite 1700
San Francisco, CA 94111

Officers: You are already in receipt of Betty P. Graham's DURABLE POWER OF ATTORNEY dated 7/18/2014 which was
executed in Massachusetts and the 9/29/03 Settlement Agreement both of which authorize Laurence J. Graham to act on Betty P.
Graham's behalf which he does herein. Betty P. Graham and her sisters Julia P. Boyd (also Known as Julia H.Parson), and Ann P.
Everett were conveyed title, in equal shares, to tangible real property minerals of every kind and character located below the surface of
ten parcels of land totaling more than 1,150 acres ofland by a certain Deed of Gift dated the 19th Day of May 1997 which is recorded
in the Clerk's Office of Sussex County, VA in Deed Book 155 Page 637 and the Cleric's Office of Dinwiddie County, VA in Deed
Book 410 Page 204,(hereinafter "the 97 Deed"). The 97 Deed also transferred all ofBetty's parents' royalties due under ten certain
October 13, 1989 Deeds of Mining Lease,(the "Leases") and lessor rights in the Leases to Betty P. Graham, Julia P. Boyd,and Ann P.
Everett except for the next two annual advance royalty payments. As you are aware, we are litigating in the United States District
Court for the Northern District of California(Case#: 2:24-cv-01551-RFL) and the United States District Court for the Central District
of California(Case #:2:24-cv-09444-FLA-SK)and we contend that the portion ofthe Leases pertaining to the one-third share ofthe
minerals conveyed to Betty by the 97 Deed and later recovered, as valuable minerals, from the ten parcels ofland listed in the 97 Deed
has been rescinded; however, you are claiming that said portion ofthe Leases has not been rescinded; therefore, you are claiming that
you have a contractual duty and fiduciary duty to pay royalty payments under the Leases and deliver reporting about the valuable
minerals extracted from the ten parcels of land listed in the 97 Deed, and the saleable minerals recovered from the ten parcels ofland
listed in the 97 Deed, and deliver other correspondence. With the reservation of all rights and claims, we hereby notify you that PO
Box 470213 San Francisco, CA 94147 do Laurence J. Graham is our address for receipt of all royalty payments and Laurence J.
Graham's correspondence address; accordingly,PO Box 470213 San Francisco,CA 94147.c/o Laurence J. Graham shall be our
address for royalty payments for any portion ofthe Leases for which a recovery cannot be made by our current and all future actions
for relief under Cal. Civil Code Sec. 1692 and is our only royalty payment address. We also notify you that 4647 Kingswell Ave Ste
 105 Los Angeles, CA 90027 do Laurence J. Graham is Betty P. Graham's correspondence address. This letter is not a waiver ofany
rights held by Betty Patrick Graham and is not a waiver of any claims held by Betty Patrick Graham. This letter is not a waiver of any
rights held by Betty P. Graham and is not a waiver ofany claims held by Betty P. Graham. This letter is not a waiver ofany rights
held by Laurence J. Graham and is not a waiver ofany claims held by Laurence J. Graham. This letter is not a waiver ofany rights
held by Laurence John Graham and is not a waiver ofany claims held by Laurence John Graham. All rights are reserved.
Sincerely,

Betty Patrick Graham for Betty Patrick Graham:                      Via Bizailairn
Betty P. Graham for Betty P. Graham:                       P
Laurence J. Graham as attorney-in-fact for Betty P. Graham:

Laurence J. Graham as Agent for Betty P. Graham:
                                                                      a             z
Laurence John Graham as Agent and attorney-in-fact for Betty P. Graham:

Laurence J. Graham for Laurence J. Graham: .

Laurence John Graham for Laurence John Graham:




                                                                224
      Case 2:25-cv-06135           Document 1-1          Filed 07/07/25       Page 212 of 263 Page ID #:227
Signed on 2/08/2025 and mailed by United States Postal Service PRIORITY MAIL EXPRESS,signature required with tracking
# ER 121 593 885 US to:

Iluka Resources,Inc.
do Karen Jennings Evans, Esq.
Hunton Andrews Kurth LLP
50 California Street, Suite 1700
San Francisco, CA 94111

Officers: You are already in receipt of Betty P. Graham's DURABLE POWER OF ATTORNEY dated 7118/2014 which was
executed in Massachusetts and the 9/29/03 Settlement Agreement both of which authorize Laurence J. Graham to act on Betty
P.Graham's behalf which he does herein. Betty P. Grahain and her sisters Julia P. Boyd (also Known as Julia H.Parson), and
Ann P. Everett were conveyed title, in equal shares, to tangible real property minerals of every kind and character located below
the surface often parcels of land totaling more than 1,150 acres ofland by a certain Deed ofGift dated the 19th Day of May
1997 which is recorded in the Clerk's Office of Sussex County, VA in Deed Book 155 Page 637 and the Clerk's Office of
Dinwiddie County, VA in Deed Book 410 Page 204,(hereinafter "the 97 Deed"). The 97 Deed also transferred all of Betty's
parents' royalties due under ten certain October 13, 1989 Deeds of Mining Lease,(the "Leases")and lessor rights in the Leases
to Betty P. Graham,Julia P. Boyd, and Ann P. Everett except for the next two annual advance royalty payments. As you are
aware, we are litigating in the United States District Court for the Northern District of California(Case#: 2:24-cv-01551-RFL)
and the United States District Court for the Central District of California(Case #:2:24-cv-09444-FLA-SK)and we contend that
the portion of the Leases pertaining to the one-third share ofthe minerals conveyed to Betty by the 97 Deed and later recovered,
as saleable minerals,from the ore that was extracted from the ten parcels ofland listed in the 97 Deed has been rescinded;
however, you are claiming that said portion ofthe Leases has not been rescinded; therefore, you are claiming that you have a
contractual duty and fiduciary duty to pay royalty payments under the Leases and deliver reporting about the minerals extracted
from the ten parcels of land listed in the 97 Deed,and the saleable minerals recovered from the ten parcels ofland listed in the
97 Deed,and deliver other correspondence. With the reservation of all rights and claims, we hereby notify you that PO Box
470213 San Francisco, CA 94147 do Laurence J. Graham is our address for receipt of all correspondence, royalty payments,
etc.; accordingly,PO Box 470213 San Francisco, CA 94147 do Laurence J. Graham shall be our address for royalty payments
for any portion ofthe Leases for which a recovery cannot be made by our current and all future actions for relief under Cal.
Civil. Code Sec. 1692. This letter is not a waiver ofany rights held by Betty Patrick Graham and is not a Waiver ofany claims
held by Betty Patrick Graham. This letter is not a waiver of any rights held by Betty P. Graham and is not a waiver of any
claims held by Betty P. Graham. This letter is not a waiver of any rights held by Laurence J. Graham and is not a waiver of any
claims held by Laurence J. Graham. This letter is not a waiver ofany rights held by Laurence John Graham and is not a waiver
ofany claims held by Laurence John Graham. All rights are reserved.
Sincerely,

Betty Patrick Graham for Betty Patrick Graham:

Betty P. Graham for Betty P. Graham:      Batyf 21-yzctAaryrt
                                                   v
Laurence J. Graham as attorney-in-fact for Betty P. Graham:                 ,Z

Laurence J. Graham as Agent for Betty P. Graham:

Laurence John Graham as Agent and attorney-in-fact for Betty P. Graham: 40

Laurence J. Graham for Laurence J. Graham:             l'`'2 .-            ".
                                                                     A.01.314

Laurence John Graham.for Laurence john Graham:



                                                            225
      Case 2:25-cv-06135        Document 1-1        Filed 07/07/25        Page 213 of 263 Page ID #:228




                                 Rap mao LAW FIRM,p.c.,
(757)648-1376- Office                     4604 Berrywood Road                                     K.Reed Mayo
(757)648-1379- Fax                                                                     Rmayo@reecirnayalow.com
                                         Virginia Beach,VA 23464


                                              February 12,2023


        Mr.LaUrence J.Graham
        481 N.Santa Cruz Ave.#178
        Los Gatos,CA 95030

        7548 South US Hwy 1, #198
        Port St.Lucie,FL 34952
                        Re:   Deka ReseAcetinc.: Payment of Royalties Held in Escrow

        Dear Mr. Graham:

               I am writing to see if I can make arrangements to deliver a check to you for over $2.5


               As you may know,because ofdisputes over the ownership ofroyalties initially assigned to
        your mother by your grandparents, Iluka Resources Inc.("Iluka") for many years deposited the
        royalties into an escrow account. As a result of various intexpleader actions,much ofthose funds
        were paid outto various creditors and to your brother directly. Last September,the Sussex Circuit
        Court entered an order holding(among other things)that the balance of royalties being held in
        escrow belong to you.

                Rather than paying those funds over to Florida or some other state as unclaimed property
        (to be held until you claim them),I would like to see ifIluka can pay those funds to you directly.
        To ensure that you actually receive the funds,however, Mika will need to deliver its check to you
         In person,confirm your identity with a state orfederal government issued ID bearing your picture,
          and have you sign an acknowledgement that you received the check.-

                 Are you willing and able to meet these conditions? Please call((757 648-1376)or email
          me at Rmayo@reedmavolaw.com and let me know.

                 Thank you in advance.


                                                      V    truly yours,

                                            /e.
                                                      K.Reed Mayo
          ICRW0200




                                                       226
     Case 2:25-cv-06135        Document 1-1         Filed 07/07/25       Page 214 of 263 Page ID #:229



                                  REED MAYO LAW FIRM,RC,
(757)621-2216- Office                     4604 Berrywood Road                                       K. Reed Mayo
(757)720-3548 - Fax                                                                       Rmayo@reedmayolaw.corn
                                         Virginia Beach, VA 23464


                                                  April 12,2023


       Mr. Laurence J. Graham
       481 N. Santa Cruz Ave.#178
       Los Gatos, CA 95030


                        Re:   Iluka Resources Inc.: Payment ofRoyalties Held in Escrow

       Dear Mr. Graham:

               I am following up on my letter ofFebruary 12, to which I have received no response.

                Given your lack ofresponse; Iluka Resources Inc.("Iluka") would like to.pay the funds to
       California under its Unclaimed Property Law until you step forward to claim them. (I previously
       was in contact with the state of Florida, but it indicated that California should receive the funds
       given that your last known address is the one above in Los Gatos). Iluka is.shutting ciQW11 its
       operations here and will be closing its offices permanently,so it would like to dispose ofthe funds
       it is holding for you.

               Before it can pay the funds to'California, however,Iluka must not hear from you for three
       years. That is because the funds must go "unclaimed"for that period. Thus, every time you send
       a new letter,the three-year time period will start again. For this reason,I ask that you refrain from
       sending any letters or contacting Ilulca until I notify you in November 2025(which is three years
       after your last letter, dated October 25,2022)that the funds have been paid over to California.

               Thank you in advance.


                                                     Very truly yours,



                                                     K.Reed Mayo
       ICRM/0200




                                                       227
    Case 2:25-cv-06135           Document 1-1       Filed 07/07/25        Page 215 of 263 Page ID #:230



                                    RUT)MAYO LAW
(757)621-2216 - Office                     4604 Berrywood Road                                       R.Reed Mayo
(757)720-3548 - Fax                                                                        Rmayo@reedmayolaw.com
                                          Virginia Beach, VA 23464


                                                   April 26, 2023

       Mr. Laurence J. Graham
       481 N.Santa Cruz Ave.#178
       Los Gatos, CA 95030


                         Re: •   Mika Resources Inc.: Payment of Royalties Held in Escrow

       Dear Mr. Graham:

               I am following up on my letter ofFebruary 12, to which I have received no response.

                 Given your lack ofresponse,llulca Resources Inc.("Iluka") would like to pay the funds to
        California under its Unclaimed Property Law until you step forward to claim them. (I previously
        was in contact with the state of Florida, but it indicated that California should receive the funds
        given that your last known address is'the one above in LoS Gatos). Iluka is shutting down its
        operations here and will be closing its offices permanently,so it would like to dispose ofthe funds
        it is holding for you.

               Before it can pay the funds to California, however,Iluka•must not hear from you for three
        years. That is because the funds must go "unclaimed"for that period. Thus,every time you send
        a new letter,the three-year time period will start again. For:this reason,I ask that you refrain from
        sending any letters or contacting Iluka until I notify you that the funds have been paid over to
        California. That will be no earlier than March 2026, which is three years after your last
        correspondence.

               If you would prefer to get the funds sooner, we can arrange to have a check delivered to
        you in person. At that time, we will need to confirm your identity with a state or federal
        government issued II) bearing your picture and have you sign an acknowledgement that you
        received the check. Please contact me only if you want to pursue this option.

               Thank you in advance.


                                                      Very truly yours,



                                                      K.Reed Mayo
        KRM/0200




                                                       228
Case 2:25-cv-06135         Document 1-1          Filed 07/07/25           Page 216 of 263 Page ID #:231



                                                                                                  ILILIKA

 June 12,2023

 BY CERTIFIED MA1L/RETURN RECEIPT

 Mr. Laurence J. Graham
 481 N.Santa Cruz Ave.#178
 Las Gatos,CA 95030


                                     Notice of Termination of Mining Lease

  Dear Mr. Graham:
        _
 This letter shall serve as formal written notice from Iluka Resources Inc., a Delaware corporation, as
 successor by merger to RGC(USA) Minerals Inc.("Iluka"), of its election to terminate that certain Deed of
  Mining Lease dated October 13,1989, as amended by First Amendment to Deed of Mining Lease dated June
 30,1994, made by and between G. L. Parson,Jr. and Mary Elizabeth Parson, husband and wife, and RGC
 (USA) Minerals Inc., as assigned by Assignment of Mineral Leases effective as of October 6,2006, made by
 and between G. L. Parson,Jr. and Mary Elizabeth Parson and Ann P. Everett, and as assigned (as to future
 rents) by Assignment of Mineral Leases dated September 29,2008, made by and between G. L. Parson,Jr.
 and Mary Elizabeth Parson and Ann P. Everett and Julia H. Parson (collectively, the "Leak"),such termination
 to be effective as of September 30,2023: Enclosed is an executed copy of the Memorandum of Termination
 of Mining Lease which we plan to record in the Clerk's Office of the Circuit Court of Sussex County, Virginia,
  within the next few weeks.

 We appreciate the opportunity you have given us to do business with you on this parcel over these past
 several years.

 Please don't hesitate to call me if you have any questions or concerns.

 Kind Regards,




 Ryan Inocco
 US Country Manager

 Enclosure




                                                                                      Lease No.961-1033
                                                                                      Parcels 101-A-17 84 101-A-17A


                                          Iluka Resources Inc. — VA Operations

                                    12472 St John Church Rd., Stony Creek, VA 23882

                                               Phone: 434.348.4300



                                                     229
Case 2:25-cv-06135              Document 1-1        Filed 07/07/25         Page 217 of 263 Page ID #:232

                                                                                                 C
   Prepared by and return to:                                   Tax Map No.: • 101-A-17. 101-A-17M and
                                                                               101-A-17A
   Hunton Andrews Kurth LLP
   951 East Byrd Street
   Richmond,Virginia 23219
   Mtn: Daniel M.Campbell,Esquire


                                MEMORANDUM OF TERMINATION OF MINING LEASE

           THIS MEMORANDUM OF TERMINATION OF MINING LEASE(this"Memorandum")dated as of
   June 12,2023 made by and between ANN P.EVERETT as the lessor under the Lease and as a mineral rights
   owner,JULIA H.PARSON also known ofrecord as JULIA P. BOYD,ANN P.EVERETT,TRUS1hb FOR
   CHRISTOPHER LANCE EVERETT AND LEE RANDOLPH EVERETr UNDER AGREEMENT DATED
   DECEMBER 12, 1994,LAURENCE J. GRAHAM,and LUKE P. GRAHAM,collectively as mineral rights owners,
   and ILUKA RESOURCES,INC,a Delaware corporation,as successor by merger to ROC(USA)Minerals Inc.
  ("lluka"). recites and provides:   • _ .

                                                     RECffALS:

           WHEREAS,by Deed of Mining Lease dated October 13,1989,is amended by First Amendment to Deed
   ofMining Lease dated June 30, 1994,made by and between G.L.Paxson,Jr. and Mary Elizabeth Parson,husband
   and wife,and RGC(USA)Minerals Inc.,as assigned to Ann?.Everett by Assignment ofMineral Leases dated
   October6,2006,and as further assigned(as to future rents payable underthe Lease)by Assignment of Mineral
   Leases dated September 29,2008, made by and between G.L.Parson,Jr. by Christopher L. Everett; his attorney-in-
   fact,and Mary Elizabeth Parson by Arm P.Everett. her attorney-in-fact,and Ann P.Everett and Julia H.Parson
  (collectively,theLease"),Iluka leased certain mat property identified as Tax Map Parcels 101-A-17 and 101-A-
   17A located in Sussex County, Virginia(the "Property"). The Lease is evidenced by that certain Memorandum of
   Mining Lease dated October 13, 1989,and recorded in the Clerk's Office ofthe Circuit Court of Sussex County,
   Virginia(the "Clerk's Office")on August 17, 1990,in Deed Book 124 atpage 513,and by Memorandum of First
   Amendmentto Mining Lease dated June 30, 1994,recorded in the Clerk's Office on August 30, 1994,in Deed Book
   14131 page 215,and by Assignment of Mineral Leases dated October 6,2006,recorded in the Clerk's Office on
   October 7A). 2006in Deed Book 225 at page 460.

             By Deed ofGift dated December 12, 1994,and recorded in the Clerk's Office on December 22, 1994,in
   Deed Book 143 at page 250, G.L. Parson,Jr. and Mary Elizabeth Parson,conveyed all of their right title and
   interest in and to a 1.0 acre portion ofthe Property known as"Dinlc's House Lot" identified as TM # 101-A-17A to
   Julia P.Boyd,now known as Julia H.Parson.

            By Deed of Gift dated May 19, 1997,and recorded in the Clerk's Office on July 7,1997,in Deed Book 155
   at page 626,Georgelee Parson,It and Mary Elizabeth Parson,Conveyed all oftheir right title and interest in and to
   the minerals underlying the Property,to Betty P. Graham, Ann P.Everett and Julia P. Boyd,in equal shares,subject
   to the terms ofthe Lease.

           By Deed dated May 18,1998,and recorded in the Clerk's Office on May 28, 1998,in Deed Book 160 at
   page 596,0. L. Parson,Jr. and Mary Elizabeth B Parson,conveyed the remaining 54 acre portion ofthe Property to
   Ann P.Everett, as Trustee for Christopher Lance Everett and Lee Randolph Everett under Agreement dated •
   December 12, 1994.

          By Deed of Gift dated October 23,2000,and recorded in the Clerk's Office on November 2,2000,in Deed
   Book 175 at page 181,Betty P. Graham conveyed all of her right title and interest in the minerals to Laurence J.
   Graham and Luke P. Graham.

            WHEREAS,fluke has tetminated the Lease,and by this Memorandum liuka now desires to provide record
   notice ofthe termination ofthe Lease.



                                                          -1-




                                                        230
Case 2:25-cv-06135           Document 1-1           Filed 07/07/25         Page 218 of 263 Page ID #:233




                                                 TERMINATION:

            I. Recitals. The foregoing Recitals are hereby incorporated herein and made a pan'hereofto the
 same extent as ifsetforth in NI*this Memorandum. .

             2. Termination ofLesSe. Pursuantto Section 19 ofthe Lease, Attica berebY.corffinasthat the Lease
 and all rights and obligations ofthe parties thereunder are terminated effectivens ofSeptember 30,2023;and hereby
 provides notice ofits release and relinquishment ofall right, title, and interest,ifany,it has or may have in the
 Property pursuant to the Lease.


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                      Signatures and NataryAclmowledgementApjaears on:FollowingPagesJ




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Case 2:25-cv-06135          Document 1-1         Filed 07/07/25        Page 219 of 263 Page ID #:234




                                                      11Ttka:

                                                      ILUKA RESOURCES INC.,a Delaware corporation,
                                                      successorhy merger to RGC(USA),hfmeralsInc., a
                                                      Delaware comoratio •


                                                      By:
                                                      Name:. Ryan
                                                      Title: US ComMy Manager"


  COMMONWEALTH OF VIRGINIA,
  COUNTY OF SUSSEX,to-Wit:

       The foregoing instrument was acknowledged before me this 12th day ofJune,2023,by Ryan Inocco,as US
   PCM211.11.ManaNtofBulca_Resoutcesino,a Delaware tarp011itinil alr•P4'ccrit-hy rumger_toRGC(11S4Kmengs
 • Inc.,a Delaware corporation,onliehar ofthe corporation.



          My commission.expires: December 31,2026


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Case 2:25-cv-06135   Document 1-1   Filed 07/07/25   Page 220 of 263 Page ID #:235




                              EXHIBIT G




                                      233
Case 2:25-cv-06135   Document 1-1     Filed 07/07/25   Page 221 of 263 Page ID #:236




           DISTRICT COURT OF APPEAL OF THE STATE OF FLORIDA
                                 FOURTH DISTRICT
                                  July Term 2007

                             LAURENCE GRAHAM,
                                 Appellant,

                                         V.

        FLORIDA DEPARTMENT OF CHILDREN AND FAMILIES, and
      CATHOLIC CHARITIES OF THE DIOCESE OF PALM BEACH,INC.,
                             Appellees.

                                    No. 4D07-996

                              [ December 5, 2007 ]

    HAZOURI, J.

       Appellant, Laurence J. Graham (Laurence Graham), appeals the
    following orders entered by the trial court: (1) Judgment of Guilt on
    Order to Show Cause Why Laurence Graham Should Not be Held in
    Contempt of Court; (2) Order Appointing Plenary Guardian of Person and
    Property Over Betty Pat Graham (Betty Graham)/Letters of Plenary
    Guardianship of Person and Property of Betty Pat Graham; and (3)
    Denial of Laurence Graham's Motion for Continuance. Luke Graham,
    Laurence's brother, is the only appellee who filed an answer brief in this
    case, in which appellee, Catholic Charities of the Diocese of Palm Beach,
    Inc. (Catholic Charities), joined. We reverse.

       On November 8, 2005, the Department of Children and Families
   (DCF), filed a petition for appointment of plenary guardian, alleging that
   Betty Graham, Laurence and Luke Graham's mother, was incapacitated
    by mental illness. The petition alleged that Betty, a 61-year old woman,
    was presently located in a psychiatric facility in Fair Oaks Pavilion on the
   campus of Delray Medical Center. The petition alleged further that Betty
    had over $500,000 of real estate assets and $350,000 in a Merrill Lynch
    account. DCF claimed that Laurence and Luke Graham were trying to
    hide Betty from one another and get her assets in their respective names.
    However, DCF determined that Luke is the son who most has Betty's
    best interests in mind. Finally, the petition alleged that the situation is
    an emergency because DCF learned that the Merrill Lynch account was
    closed, and the money was suspected to be in Laurence's name.




                                        234
Case 2:25-cv-06135   Document 1-1   Filed 07/07/25   Page 222 of 263 Page ID #:237




   Simultaneously, DCF filed a petition for appointment of emergency
   temporary guardian, raising the same allegations.

       The trial court appointed Catholic Charities as Betty's emergency
   temporary plenary guardian. Upon Catholic Charities' petition following
   its discovery that $200,000.00 was transferred from Betty's joint account
   with her son Laurence, made payable to "Laurence Graham ITF Betty
   Graham," the trial court entered an order securing Betty's assets,
   freezing her accounts, and directing Betty's financial institutions and
   accountant(s) to provide information to Catholic Charities.

      Shortly thereafter, Laurence Graham filed a petition for appointment
   as Betty's guardian. Laurence alleged he was being denied access to
   Betty and was denied his right to exercise health care decisions for Betty
   in violation of a health care advance directive ("the Directive") executed
   by Betty on July 22, 2006, designating Laurence as her health care
   surrogate. Catholic Charities filed a verified petition for an order
   compelling Laurence to disclose Betty's location and show cause why he
   should not be held in contempt of court. The trial court granted the
   petition and entered an order accordingly. The order mandated that
   Laurence appear before the trial court on a date certain, to show cause
   why he should not be held in indirect criminal contempt of court.
   Laurence filed a response to the order to show cause, motion to dismiss
   order and request for statement of particulars, but did not appear before
   the trial court. Luke Graham filed a petition to be appointed as Betty's
   permanent plenary guardian. The trial court granted the petition,
   appointing Luke Graham as temporary plenary guardian of Betty's
   person and property.

      Thereafter, Laurence filed an emergency motion for continuance of the
   hearing on the petition for appointment of a permanent guardian and
   motion for order for rule to show cause. His counsel claimed he did not
   have adequate time to prepare for the hearing because he had just been
   retained by Laurence Graham, and there was additional evidence
   necessary for the court to make a meaningful determination of the
   issues. The trial court denied the motion for continuance. After the
   hearing, the trial court denied the motion to dismiss and request for
   statement of particulars, and entered a judgment of guilt on the order to
   show cause why Laurence Graham should not be held in contempt of
   court. Specifically, the trial court stated:

               As to the merits of the alleged contempt, the Court
         finds that Laurence Graham is in fact in violation of the
         Court's Orders, voluntarily and freely, knowing at all times


                                      -2-


                                      235
Case 2:25-cv-06135    Document 1-1      Filed 07/07/25   Page 223 of 263 Page ID #:238




          that he has been in violation, and having at all times the
          ability to comply with the Court's Orders. The Court is
          convinced beyond a reasonable doubt, based on the record
          before it, that Laurence Graham is in contempt of Court as
          described in the Order to Show Cause, i.e., his participation
          in the removal and disappearance of Betty Pat Graham from
          this jurisdiction and his subsequent failure to immediately
          disclose her location, in violation of this Court's Order
          Appointing     Emergency Temporary       Guardian (dated
          November 8, 2006) and the Letters of Emergency Temporary
          Guardianship (dated November 9, 2006), both of which
          delegated plenary emergency temporary guardianship
          powers to Catholic Charities of the Diocese of Palm Beach
          Inc.

    The trial court scheduled sentencing, and ordered Laurence Graham to
    appear in person with Betty Graham at that time.

       At the sentencing hearing, the trial court withheld sentencing for 90
    days. The trial court encouraged the parties to determine what is best
    for Betty during that time and "revise these proceedings with the Court
    in its guardianship capacity rather than in its contempt capacity if
    necessary." This appeal followed.'



    1 Sheridan Weissenborn (Weissenborn), Betty Graham's attorney, previously
    filed a petition for writ of certiorari in this court, attempting to seek review of
    the lower court's denial of a motion to discharge an emergency, temporary
    guardian and to dismiss the guardianship proceedings, but the petition actually
    sought review of the trial court's denial of Weissenborn's ore tenus request to
    substitute counsel. See Weissenborn v. Graham, 963 So. 2d 275, 276 (Fla. 4th
    DCA Aug. 1, 2007). The trial court had found that Weissenborn had no
    standing to bring motions on behalf of Betty Graham. Id. This court denied the
    petition, but Weissenborn filed for rehearing, arguing that the guardianship
    proceedings pending below violated Betty Graham's right to due process of law.
    Id. This court denied rehearing on the basis that Weissenborn was not properly
    substituted as counsel and was actually working on behalf of Laurence
    Graham, and thus, was not permitted to represent Betty Graham. Id.
    Although this court denied rehearing, it wrote to address Weissenborn's claim
    that Florida's continued exercise of jurisdiction in the case violates due process
    because Betty Graham is living in California. It concluded that "[Laurence's]
    improper act of subsequently removing Betty from Florida to a 'secret location'
    cannot divest the Florida court of jurisdiction." Weissenborn, 963 So. 2d at
    279.



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                                           236
Case 2:25-cv-06135   Document 1-1   Filed 07/07/25   Page 224 of 263 Page ID #:239




      Laurence Graham argues first that the trial court erred in finding him
   guilty of indirect criminal contempt on two grounds: (1) the court failed
   to comply with the procedural requirements of Florida Rule of Criminal
   Procedure 3.840; and (2) there was no evidence that he violated a court
   order. Because we agree with the first ground, we do not reach the
   second.

      Failure to strictly follow the dictates of Rule 3.840, governing indirect
   criminal contempt, constitutes fundamental, reversible error. Hagan v.
   State, 853 So. 2d 595, 597 (Fla. 5th DCA 2003).

      Laurence Graham argues that the trial court's order is based upon a
   statement from Catholic Charities, which is not in affidavit form and was
   not issued upon personal knowledge, that he did not receive notice of the
   contempt proceedings, and that he was not properly served. Rule
   3.840(a) provides:

         The judge, on the judge's own motion or on affidavit of any
         person having knowledge of the facts, may issue and sign an
         order directed to the defendant, stating the essential facts
         constituting the criminal contempt charged and requiring
         the defendant to appear before the court to show cause why
         the defendant should not be held in contempt of court. The
         order shall specify the time and place of the hearing, with a
         reasonable time allowed for preparation of the defense after
         service of the order on the defendant.

   Fla. R. Crim. P. 3.840(a). We reject without comment Laurence's
   arguments concerning an insufficient affidavit and lack of notice, but
   agree with his contention that he was not properly served.

       The order indicates that copies were furnished to Laurence and his
   attorney; however, this is insufficient service under Rule 3.840. In Giles
   v. Renew, 639 So. 2d 701 (Fla. 2d DCA 1994), the Second District
   reversed an adjudication of guilt for indirect criminal contempt where the
   trial court and state did not strictly comply with Rule 3.840 in serving
   the appellant with the order to show cause. The court held: "Giles was
   entitled to have the order served upon him, not sent by facsimile to his
   attorney." Giles, 639 So. 2d at 702; see also Transp. & Gen. Ins. Co., Ltd.
   v. Receiverships ofIns. Exch. of the Am-s., 576 So. 2d 1351, 1352 (Fla. 1st
   DCA 1991) (concluding that the trial court erred in denying appellant's
   motion to dismiss order to show cause in the absence of proper service of
   process). It is undisputed here that Laurence was not personally served
   with the order to show cause and thus, reversal is warranted. See Van


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                                       237
Case 2:25-cv-06135   Document 1-1   Filed 07/07/25   Page 225 of 263 Page ID #:240




    Hare v. Van Hare, 870 So. 2d 125, 127 (Fla. 4th DCA 2003) (reversing
    order of criminal contempt for lack of compliance with Rule 3.840).

       Laurence Graham contends next that, in appointing Luke Graham as
    Betty's temporary plenary guardian, the trial court effectively revoked
    Betty's valid Directive, and did so without the necessary proof under
    section 765.105, Florida Statutes (2007), and without notice and a
    hearing, in violation of section 744.3115, Florida Statutes (2007). We
    agree in part.

       "Statutory interpretation is a question of law subject to de novo
    review." BellSouth Telecomm. Inc., v. Meeks, 863 So. 2d 287, 289 (Fla.
    2003).

       Section 744.3115, Florida Statutes (2007), governing advance
    directives for health care, states:

          In each proceeding in which a guardian is appointed under
          this chapter, the court shall determine whether the ward,
          prior to incapacity, has executed any valid advance directive
          under chapter 765. If any advance directive exists, the court
          shall specify in its order and letters of guardianship what
          authority, if any, the guardian shall exercise over the
          surrogate. Pursuant to the grounds listed in s. 765.105, the
          court, upon its own motion, may, with notice to the
          surrogate and any other appropriate parties, modify or
          revoke the authority of the surrogate to make health care
          decisions for the ward. For purposes of this section, the
          term "health care decision" has the same meaning as in s.
          765.101.

   In appointing Luke Graham as Betty's temporary plenary guardian, an
   act which effectively revoked her Directive, the trial court failed to comply
   with the requirements of section 744.3115. The court failed to determine
   whether the Directive was valid before appointing a guardian. When the
   trial court appointed Catholic Charities as Betty's emergency temporary
   guardian, it accepted the Directive as valid, when it stated in its order:
   "The guardian shall not exercise any authority over any health care
   surrogate appointed by any valid advance directive executed by the Ward
   pursuant to Chapter 765, Florida Statutes, nor designate a health care
   surrogate pursuant to Chapter 765, Florida Statutes, except upon
   further order of this Court." However, when the trial court issued its
   letters of plenary guardianship appointing Luke as Betty's temporary
   guardian, it stated that Luke's authority under the letters "shall exist


                                       - 5-



                                       238
Case 2:25-cv-06135   Document 1-1   Filed 07/07/25   Page 226 of 263 Page ID #:241




   irrespective of any valid advanced [sic] directive executed by the Ward
   under Chapter 765 of the Florida Statutes." These letters essentially
   revoked Betty's Directive without expressing which grounds supported
   revocation and absent evidence of any of the grounds set forth in section
   765.105. See § 744.3115, Fla. Stat. (2007).

      We reject Laurence Graham's claim that he did not receive proper
   notice, as the letters were provided to Laurence's attorney, and there is
   no authority for the proposition that any specific form of notice was
   required.

      Luke Graham argues in response that this court should interpret
   section 744.331(6)(b), Florida Statutes (2007), as mandating that "[a]
   person possessing a health care surrogate has the burden to come
   forward, present that instrument to the court, and permit the parties and
   the court to address the issue of the instrument's validity." Section
   744.331(6)(b) provides:

          When an order determines that a person is incapable of
          exercising delegable rights, the court must consider and find
          whether there is an alternative to guardianship that will
          sufficiently address the problems of the incapacitated
          person. A guardian must be appointed to exercise the
          incapacitated person's delegable rights unless the court finds
          there is an alternative. A guardian may not be appointed if
          the court finds there is an alternative to guardianship which
          will sufficiently address the problems of the incapacitated
          person.

   § 744.331(6)(b), Fla. Stat. (2007). Nothing in this section places the
   burden on a health care surrogate to come forward with the instrument
   to prove its validity, and Luke Graham asserts no authority to that effect.
   Moreover, section 765.202(7), Florida Statutes (2007), provides: "A
   written designation of a health care surrogate executed pursuant to this
   section establishes a rebuttable presumption of clear and convincing
   evidence of the principal's designation of the surrogate." Luke Graham
   does not argue that the Directive was not executed properly pursuant to
   section 765.202 and there is no evidence of such. The Directive, as it
   appears in the record, complies with the dictates of section 765.202, and
   thus it "establishes a rebuttable presumption of clear and convincing
   evidence" of Betty's intent to designate Laurence as her health care
   surrogate. Accordingly, no authority mandates that Laurence come
   forward and establish the validity of the Directive.



                                       -6-


                                      239
Case 2:25-cv-06135   Document 1-1   Filed 07/07/25   Page 227 of 263 Page ID #:242




       Therefore, we reverse and remand on this issue for a determination by
    the trial court of whether Betty's Directive is valid, and if so, what
    grounds under section 765.105 require its revocation.

       After finding Laurence in contempt, the trial court found that Betty's
    incapacity was established and appointed Luke Graham as her
    temporary plenary guardian. Laurence claims the trial court erred in
    doing so without sufficient evidence of Betty's incapacity pursuant to
    section 744.331, Florida Statutes. We agree.

      A trial court's ruling on mental capacity cannot be disturbed "unless
   the evidence shows it is clearly erroneous." Fleming v. Fleming, 352 So.
   2d 895, 898 (Fla. 1st DCA 1977) (citing Waterman v. Higgins, 28 Fla.
   660, 10 So. 97 (1891)). "In the adjudicatory hearing on a petition
   alleging incapacity, the partial or total incapacity of the person must be
   established by clear and convincing evidence." § 744.331(5)(c), Fla. Stat.
   (2007). Further, section 744.331(5)(a), Florida Statutes (2007), states:

          Upon appointment of the examining committee, the court
          shall set the date upon which the petition will be heard. The
          date for the adjudicatory hearing must be set no more than
          14 days after the filing of the reports of the examining
          committee members, unless good cause is shown. The
          adjudicatory hearing must be conducted at the time and
          place specified in the notice of hearing and in a manner
          consistent with due process.

       Laurence Graham relies on LeWinter v. Guardianship of LeWinter, 606
    So. 2d 387 (Fla. 3d DCA 1992), which is analogous to the instant case.
    In LeWinter, the Second District reversed a finding of incapacity and the
    appointment of a guardian, concluding that there was no competent
    evidence to support the order. The court found that although the report
    of the examining committee established under section 744.331(3)(a)
    contained findings that the ward lacked the capacity to perform the
    functions that served the basis for the guardianship, it was filed over six
    weeks before the hearing, and there was evidence that the ward's
    condition had improved in the meantime. LeWinter, 606 So. 2d at 388.

       Similarly, in the instant case, two of the three examining committee
    reports were filed two months or more before the hearing. The hearing
    took place on February 8, 2007. One report was filed on November 21,
    2006, and another on December 8, 2006. Further, Laurence Graham
    submitted a sworn affidavit dated January 20, 2007, from Dr. Clyde
    Rouse Jr., who was Betty's previous psychiatrist for 2 years, and again


                                       -7-



                                       240
Case 2:25-cv-06135   Document 1-1   Filed 07/07/25       Page 228 of 263 Page ID #:243




   evaluated her in January 2007, stating that Betty's condition had
   improved. Dr. Rouse claimed, inter alia: "She looks very well and shows
   no evidence of any psychiatric symptoms. She reviewed her health care
   advance directive with me and verbally acknowledged that she had
   named her son Larry as her surrogate in that document." He also stated
   that her condition improved due to medication and in his opinion she "is
   perfectly competent to make financial decisions, to execute any legal
   documents such as power of attorney, health care advance directives,
   etc." Notably, a report by Dr. David Trader, board certified in general
   psychiatry and geriatric psychiatry, dated February 14, 2007, a few days
   after the hearing in question, indicated that "[t]tle present examination
   suggests that Betty Graham has sufficient mental capacity to make
   financial, medical, testamentary and general personal decisions at this
   time."

      Because Dr. Rouse's report indicated an improvement in Betty's
   condition and the committee member reports were filed two months prior
   to the hearing, the record evidence failed to establish Betty's incapacity
   by clear and convincing evidence. Thus, we reverse and remand with
   directions to dismiss the guardianship proceeding. See LeWinter, 606
   So. 2d at 388.

      We need not reach Laurence's argument that the trial court erred in
   denying his motion to continue, as this argument is moot in light of the
   foregoing.

       Reversed and Remanded with Directions.

   STONE and STEVENSON, JJ., concur.

                              *        *             *

     Appeal from the Circuit Court for the Fifteenth Judicial Circuit, Palm
   Beach  County; John        L. Phillips, Judge; L.T. Case             Nos.
   502006GA000650XXXXSB & 502006MH002068XXXXSB.

       Joseph S. Shook of Law Office of Joseph S. Shook, Coral Gables, for
    appellant.

      Edward A. Shipe, Boca Raton, for appellee Luke Graham.

     Ronald E. Crescenzo of Casey Ciklin Lubitz Martens & O'Connell,
   West Palm Beach, for appellee Catholic Charities of the Diocese of Palm
   Beach, Inc.


                                       -8-


                                       241
Case 2:25-cv-06135   Document 1-1   Filed 07/07/25   Page 229 of 263 Page ID #:244




                              EXHIBIT H




                                      242
 Case 2:25-cv-06135         Document 1-1        Filed 07/07/25          Page 230 of 263 Page ID #:245




                                                                              ILUKA RESOURCES INC.




 August 20, 1999



 Amendment Section
 Division of Corporations
 409 E. Gaines Street
 Tallahassee, FL 32399

 Re:     Application By Foreign Profit Corporation to File
                                                           Amendment to
         Application for Authorization to Transact Business in
                                                               Florida
 Dear Sir/Madam:                                                                  011
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 Enclosed please find the following:

1. Application to Amend Authorization to Transact
                                                            Business in Florida;
2. Original Certificate of Amendment from the State
                                                               of Delaware; and
3. $52.50 check to cover filing fee, Certified Copy and
                                                                 Certificate of Status.
If you have any questions please call me at(904
                                                        ) 529-5001.
Sincerely,



  L.Scott
Administration Manager - US

JLS/c1

Endosure


                                    ILUKA RESOURCES INC.
                         1223Warner Road, Green Cove Springs, Florida 32043
                             Tel: 1 904 2849832 Fax: 1 904284 4008
                                                                                                3t Oil
                                                                                   V.SHEPARD Wt 7
                                                    243
          Case 2:25-cv-06135           Document 1-1           Filed 07/07/25         Page 231 of 263 Page ID #:246



                            •
                      , PROFIT CORPORATION
  APPLICATION BY FOREIGN PROM CORPORATION TO FILE AMENDMENT TO
   APPLICATION FOR AUTHORdATION TO TRANSACT BUSINESS IN FLORIDA
                                                (Pursuant to s. 607.1504, F.S.)


                                                         SECTION I
                                                  (1-3 MUST BE COMPLETED)



1.      RGC (USA) Mineral Sands Inc
                             Name of corporation as it appears on the records ofthe Department of State.


2.      Del aware, USA                                                  3_ May 24, 1984
                     Incorporated under laws of                                Date authorized to do business in Florida




                                                  SECTION J11
                                   (4-7 COMPLETE ONLY THE APPLICABLE CBIANGES)

4.If the amendment changes the name of the corporation, when was the change effected under the laws of
     itsjurisdiction ofincorporation?         July 30, 1999                            —
5.      Iluka Resnurces Inc.                                          •.
  Name of corporation after the amendment,adding suffix "corporation" "company" or "incorporated?"or appropriate abbreviation, if
  not containd in new name of the corporation.


6. If the amendmentchanges the period of duration, indicate new period of duration.

        n/a
                                                           New Duration

7.If the amendment changes the jurisdiction ofincorporation,indicate new jurisdiction.

        n/a
                                                          New Jurisdiction


                                                                                     Aupust 20, 1999
                                  Signature                                                    Date


           Jimmie I— Scott                                                         Direct9r
                         Typed or printed name                                                 Title




                                                                  244
Case 2:25-cv-06135              Document 1-1                         Filed 07/07/25                           Page 232 of 263 Page ID #:247




                                                    Statelk:e.laware                                                                              PAGE   1


                                Office ofthe Secretary of State


         I, EDWARD J. FREEL, SECRETARY OF STATE Or THE STATE OP

    DELAWARE, DO HEREBY CERTIFY THE ATTACHED IS A TRUE AND CORRECT

    COPY OF THE CERTIFICATE OF AMENDMENT OF "RGC (USA) MINERAL
                                                               SANDS

    INC.", CHANGING ITS —NAME _FROM-TRGS,AUSA) MINERAL SANDS
                                                             INC." TO

    "ILUKA RESOURCES INC.Up-FILED IN THIS —OFFICE ON THE THIRTIET
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    DAY OF JUL!, A.D. 19.99, AM 2:30 O'CLOCKp:M.
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                                                                                    Edward J. Freel, Secretory ofState
      2035818         8100                                                                                                                      9925154
                                                                                    AUTHENTICA.TION:
      991341917                                                                                                                                 08-17-99
                                                                                                                      DATE:

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                    Case 2:25-cv-06135   Document 1-1   Filed 07/07/25   Page 233 of 263 Page ID #:248

JLt.                iRH 14. 13      ALSTON & BIRD LLP 216   ,            TEL:404 881 47.7              P.003/005
           141•••



       •            •
                                                            -


                                           CERTIFICATE OF AMENDMENT
                                                       OF
                                         CERTIFICATE OF INCORPORATION
                                                      FOR
                                          RGC(USA) MINERAL SANDS INC.



                  RGC(USA) Mineral Sands Inc., a corporation organized and existing under and
           by virtue of the Delaware Genera/ Corporation Law (the "Corporation'', DOES HEREBY
           CERTIFY:

                  FIRST:       That on 24 June, 1999 the Board of Directors a the Corporation
           adopted resolutions setting forth a proposed amendment of the Certificate of
           Incorporation of the Corporation, declaring said amendment to be advisable and
           submitting the proposed amendment to the sole stockholder of the Corporation for its
           consideration and approval. The proposed amendment is as follows;

                  NOW,'THEREFORE, BE IT HEREBY RESOLVED that paragraph 1 of the Certificate
           of incorporation of the Corporation is hereby amended in its entirety to read as follows:
                                                                —
                 "1.aTii.!Lia_r__„netifthe corporationis Iluka:Resourtes
                                                              _          Ine."

                 SECOND:       That thereafter on 24 June, 1999, the stockholders of the
           Corporation adopted the proposed amendment by written consent in accordance with
           Section 228 of the Delaware Corporation Law.

                  THIRD:        That said amendment was duly adopted in accordance with the
           provisions of Section 242 of the Delaware General Corporation Law.

                  IN WITNESS WHEREOF, RGC(USA) Mineral Sands Inc. has caused this certificate
           to be signed by a duly authorized officer this 24th day of June, 1999.



                                                                  RGC(USA) Mineral Sands Inc.




                                                                         Secretary/Director




                                                            246
               Case 2:25-cv-06135            Document 1-1         Filed 07/07/25          Page 234 of 263 Page ID #:249


2012 FOR PROFIT CORPORATION ANNUAL REPORT                                                                FILED
                                                                                                       Mar 15, 2012
DOCUM ENT# P25152                                                                                   Secretary of State
Entity Name: RGC(USA) MINERALS INC.


Current Principal Place of Business:                                New Principal Place of Business:
12472 ST. JOHN CHURCH ROAD'
STONY CREEK, VA 23882 US

Current Mailing Address:                                            New Mailing Address:
1301 RIVERPLACE BOULEVARD
SUITE 2601
JACKSONVILLE. FL 32207 US
FEI Number:XX-XXXXXXX         FEI Number Applied For( )     FEI Number Not Applicable()        Certificate of Status Desired( )

Name and Address of Current Registered Agent:                       Name and Address of New Registered Agent:
CT CORPORATION SYSTEM
1200 S PINE ISLAND RD
PLANTATION, FL 33324  US

The above named entity submits this statement for the purpose of changing its registered office or registered agent, or both,
in the State of Florida.
SIGNATURE:
                    Electronic Signature of Registered Agent                                           Date



OFFICERS AND DIRECTORS:
Title:          PD
Name:           BLACKWELL, MATTHEW B
Address:        12472 ST. JOHNS CHURCH ROAD
City-St-Zip:    STONY CREEK, VA 23882 US

Title:
Name:           WILSON, CAMERON
Address:        12472 ST. JOHN CHURCH ROAD
City-St-Zip:    STONY CREEK, VA 23882 US

Title:          VD
Name:           DARROCH, GLEN
Address:        12472 ST. JOHN CHURCH ROAD
City-St-Zip:    STONY CREEK, VA 23882 US

Title:
Name:           MULLINS, JOSEPH D
Address:        1301 RIVERPLACE BOULEVARD,SUITE 2601
City-St-Zip:    JACKSONVILLE, FL 32207 US

Title:
Name:           GREEN, SIMON
Address:        12472 ST. JOHN CHURCH ROAD
City-St-Zip.    STONY CREEK, VA 23882 US




I hereby certify that the information indicated on this report or supplemental report is true and accurate and that my electronic
signature shall have the same legal effect as if made under oath; that I am an officer or director of the corporation or the receiver
or trustee empowered to execute this report as required by Chapter 607, Florida Statutes: and that my name appears above, or
on an attachment with all other like empowered.
SIGNATURE: JOSEPH MULLINS                                                                                      03/15/2012
            Electronic Signature of Signing Officer or Director                                                  Date

                                                                      247
Case 2:25-cv-06135   Document 1-1   Filed 07/07/25   Page 235 of 263 Page ID #:250




                               EXHIBIT I




                                      248
 Case 2:25-cv-06135   Document 1-1    Filed 07/07/25    Page 236 of 263 Page ID #:251




Port Examiner

Supplier Name           Search hcre                                Search




Bill of Lading

 Shipper                       Consignee                       Notify Party

 ILUKA RESOURCES               CARBON RESOURCES,               CARBON RESOURCES,
 LEVEL 23, 140 ST              LLC                             LLC
 GEORGE'S TERRACE              2535 JASON COURT                2535 JASON COURT
 PERTH WA 6001                 OCEANSIDE CA 92056              OCEANSIDE CA 92056
 AUSTRALIA                     U NITED STATES                  U NITED STATES




Details

 Bill of Lading No.          Vessel            Voyage       Place of        Port of
                             Name              No.          Receipt         Loading
 M5CUF1863328
                             KOTA           415N            FREMANTLE       Taoranga,
                             PELANGI                                        New
                                                                            Zealand


 Port of        Place of     N umber           Gross        Total           Arrival
 Discharg       Delivery     of Pieces         Weight       Volume          Date

                                         249
 Case 2:25-cv-06135   Document 1-1       Filed 07/07/25    Page 237 of 263 Page ID #:252

 e                             577 BAG         276574 KG                    2015-03-07


 Long Beach,
 California




Customs Declaration

 Container No.        Number of                  Net Weight           Declared Value
                      Pieces
 CARU9764353
                      38 PCS




 Description of Cargo

 268.624 MTS ACTIVATED CARBON ECO STANDARD FRE IGHT PREPAID PACKED IN BAGS
 SHIPPING LINE GRANTS 14 DAYS FREE DETENTION TIME AT PORT OF D ESTINATION
 ACTIVATED CARBON NETT WEIGHT: 18.2 04MT



 Container No.        Number of                  Net Weight           Declared Value
                      Pieces
 FCIU8836168
                      39 PCS




 Description of Cargo

 ACTIVATED CARBON NETT WEIGHT: 18.091MT



 Container No.        Number of                Net Weight             Declared Value
                      Pieces


                                           250
    Case 2:25-cv-06135   Document 1-1   Filed 07/07/25   Page 238 of 263 Page ID #:253



L   GLDU7303400          38 PCS



1
    Description of Cargo

    ACTIVATED CARBON NETT WEIGHT: 17.681MT



    Container No.        Number of              Net Weight          Declared Value
                         Pieces
    MEDU8029030
                         36 PCS




    Description of Cargo

    ACTIVATED CARBON NETT WEIGHT: 17.311MT



    Container No.        Number of              Net Weight          Declared Value
                         Pieces
    MEDU8147963
                         40 PCS




    Description of Cargo

    ACTIVATED CARBON NETT WEIGHT: 17.701MT



    Container No.        Number of              Net Weight          Declared Value
                         Pieces
     MEDU8329802
                         38 PCS




    Description of Cargo


                                          251
Case 2:25-cv-06135   Document 1-1   Filed 07/07/25   Page 239 of 263 Page ID #:254

ACTIVATED CARBON NETT WEIGHT: 17.921MT



Container No.        Number of              Net Weight          Declared Value
                     Pieces
MEDU8476697
                     38 PCS




Description of Cargo

ACTIVATED CARBON NETT WEIGHT: 18.094MT



Container No.        Number of              Net Weight          Declared Value
                     Pieces
MEDU8616757
                     40 PCS




Description of Cargo

ACTIVATED CARBON NETT WEIGHT: 17.943M1



Container No.        Number of              Net Weight          Declared Value
                     Pieces
MEDU8783625
                     40 PCS




Description of Cargo

ACTIVATED CARBON NETT WEIGHT: 17.917MT



Container No.        Number of            Net Weight            Declared Value
                     Pieces


                                      252
Case 2:25-cv-06135   Document 1-1   Filed 07/07/25   Page 240 of 263 Page ID #:255

MSCU7709571          39 PCS




Description of Cargo

ACTIVATED CARBON NETT WEIGHT: 17.953MT



Container No.        Number of              Net Weight          Declared Value
                     Pieces
MSCU8117474
                     38 PCS




Description of Cargo

ACTIVATED CARBON NETT WEIGHT: 18.083M1



Container No.        Number of              Net Weight          Declared Value
                     Pieces
TCNU7278684
                     38 PCS




Description of Cargo

ACTIVATED CARBON NETT WEIGHT: 17.591MT



Container No.        Number of              Net Weight          Declared Value
                     Pieces
TGHU6178933
                     39 PCS




Description of Cargo


                                      253
 Case 2:25-cv-06135   Document 1-1   Filed 07/07/25     Page 241 of 263 Page ID #:256

 ACTIVATED CARBON NETT WEIGHT: 17.835MT



 Container No.           Number of         Net Weight              Declared Value
                         Pieces
 TGHU7516763
                         38 PCS




 Description of Cargo

 ACTIVATED CARBON NETT WEIGHT: 18.001MT
                                                                                        -
 Container No.           Number of           Net Weight            Declared Value
                         Pieces
 TGH U8779717
                         38 PCS




 Description of Cargo

 ACTIVATED CARBON NETT WEIGHT: 18.298MT




Container Data

 Container      Load Status                           Container Dimensions
 No.
                Loaded                            40'00" L x 9'00" H x 800" W
 CARU9764353




 Container      Load Status                       Container Dimensions

                                       254
 Case 2:25-cv-06135   Document 1-1   Filed 07/07/25      Page 242 of 263 Page ID #:257

  No.           Loaded                                40'00" L x 9'00" H x 8'00" W


  FCIU8836168




  Container     Load Status                           Container Dimensions
  No.
                Loaded                                40'00" L x 9'00" H x 800" W
  GLDU7303400




  Container     Load Status                           Container Dimensions
  No.
                Loaded                                4000" L x 9'00" H x 8'00" W
  MEDU8029030




I Container     Load Status                           Container Dimensions
I No.
                Loaded                                4000" L x 900" H x 8'00" W
  MEDU8147963




  Container     Load Status                           Container Dimensions
  No.
                Loaded                                40'00" L x 9'00" H x 8'00" W
  MEDU8329802




  Container     Load Status                           Container Dimensions
  No.
                Loaded                                40'00" L x 9'00" H x 8'00" W
  MEDU8476697




                                       255
Case 2:25-cv-06135     Document 1-1   Filed 07/07/25     Page 243 of 263 Page ID #:258


Container     Load Status                          Container Dimensions
No.
              Loaded                               40'00" L x 900" H x 800" W
MEDU8616757




Container     Load Status                          Container Dimensions
No.
              Loaded                               40'00" L x 9'00" H x 8'00" W
MEDU8783625




Container     Load Status                          Container Dimensions
No.
              Loaded                               40'00" L x 900" H x 8'00" W
MSCU7709571




Container     Load Status                          Container Dimensions
No.
              Loaded                               4000" L x 9'00" H x 8'00" W
MSCU8117474




Container     Load Status                              Container Dimensions
No.
              Loaded                               40'00" L x 9'00" H x 8100" W
TCNU7278684




Container     Load Status                              Container Dimensions
No.
              Loaded                               40'00" L x 9'00" H x 8'00" W
TGHU6178933



                                        256
Case 2:25-cv-06135   Document 1-1   Filed 07/07/25     Page 244 of 263 Page ID #:259


Container     Load Status                            Container Dimensions
No.
              Loaded                             4000" L x 900" H x 800" W
1GHU7516763




Container     Load Status                            Container Dimensions
No.
              Loaded                             40'00" L x 9'00" H x 800" W
1GHU8779717




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                                       257
 Case 2:25-cv-06135   Document 1-1        Filed 07/07/25   Page 245 of 263 Page ID #:260




Port Examiner

Supplier Name    v      Snasch hcre ...                               Search




Bill of Lading

 Shipper                        Consignee                         Notify Party

 ILUKA RESOURCES                CARBON RESOURCES,                 CARBON RESOURCES,
 LEVEL 23, 140 ST               LLC                               LLC
 GEORGE'S TERRACE               2535 JASON COURT                  2535 JASON COURT
 PERTH WA 6001                  OCEANSIDE CA 92056                OCEANSIDE CA 92056
 AUSTRALIA                      U NITED STATES                    U NITED STATES




Details

 Bill of Lading No.           Vessel            Voyage         Place of        Port of
                              Name              No.            Receipt         Loading
 MSCUFT849871
                              ANL               411N           FREMANTLE       Taoranga,
                              BAREGA                                           New
                                                                               Zealand


 Port of        Place of      N umber           Gross          Total           Arrival
 Discharg       Delivery      of Pieces         Weight         Volume          Date

                                            258
    Case 2:25-cv-06135   Document 1-1       Filed 07/07/25      Page 246 of 263 Page ID #:261

    e                             206 BAG            94287 KG                    2015-01-05      '


    Long Beach,
    California
                                                 -




Customs Declaration
               -




    Container No.        Number of                   Net Weight            Declared Value
                         Pieces
    FCIU8791422
                         41 PCS




    Description of Cargo

    ACTIVATED CARBON STANDARD
                                                                                                "4




    Container No.        Number of                   Net Weight            Declared Value
                         Pieces
    MEDU8267022
                         41 PCS
,


    Description of Cargo

    ACTIVATED CARBON STANDARD




                                              259
Case 2:25-cv-06135   Document 1-1   Filed 07/07/25   Page 247 of 263 Page ID #:262


Container No.        Number of            Net Weight            Declared Value
                     Pieces
MEDU8572561
                     41 PCS




Description of Cargo

91.637M1S ACTIVATED CARBON STANDARD FREIGHT P REPAIDPACKED IN BAGS
SHIPPING LINE GRANTS 14 DAYS FREE DETENTION TIME AT PORT OF DESTINATI ON
ACTIVATED CARBON STANDARD



Container No.        Number of            Net Weight            Declared Value
                     Pieces
MSCU9536393
                     41 PCS




Description of Cargo

ACTIVATED CARBON STANDARD



Container No.        Number of            Net Weight            Declared Value
                     Pieces
TRLU6855799
                     42 PCS




Description of Cargo

ACTIVATED CARBON STANDARD




                                      260
 Case 2:25-cv-06135   Document 1-1   Filed 07/07/25      Page 248 of 263 Page ID #:263




Container Data

 Container     Load Status                            Container Dimensions
 No.
               Loaded                             4000" L x 9'00" H x 8100" W
 FCIU8791422




 Container     Load Status                            Container Dimensions
 No.
               Loaded                                 40'00" L x 9'00" H x 8'00" W
 MEDU8267022




 Container     Load Status                            Container Dimensions
 No.
               Loaded                                 40'00" L x 9'00" H x 8'00" W
 MEDU8572561




 Container     Load Status                            Container Dimensions
 No.
               Loaded                                 4000" L x 9'00" H x 8'00" W
 MSCU9536393




 Container     Load Status                            Container Dimensions
 No.
               Loaded                                 40'00" L x 9'00" H x 8'00" W
 TRLU6855799




                                       261
Case 2:25-cv-06135   Document 1-1   Filed 07/07/25   Page 249 of 263 Page ID #:264




    US Customs Import Data from Port Examiner • Pax Mercatoria MMXXIV • Contact




                                       262
 Case 2:25-cv-06135    Document 1-1    Filed 07/07/25   Page 250 of 263 Page ID #:265




Port Examiner

Supplier Name                                                      Search




Bill of Lading

 Shipper                       Consignee                       Notify Party

 TRONOX MINERAL                M/S. CARBON                     UNIVERSAL SHIPPING
 SALES PTY LTD                 RESOURCES LLC.,                 INC
 1 BRODIE HALL DRIVE           2535 JASON COURT P.             2855 S. RESERVOIR ST.
 BENTLEY WA                    0. BOX 4444                     POMONA CA UNITED
 AUSTRALIA                     OCEANSIDE CA                    STATES
                               U NITED STATES
 Tel: 93651333
                               Tel: 6309930




Details

 Bil l of Lading No.          Vessel           Voyage       Place of        Port of
                              Name             No.          Receipt         Loading
 OOLU2020474490
                             00CL              1 5E         FREMANTLE     Kao Hsiung,
                             MEMPHIS                                      China
                                                                         (Taiwan)


                                         263
 Case 2:25-cv-06135   Document 1-1      Filed 07/07/25   Page 251 of 263 Page ID #:266


 Port of       Place of        Number         Gross           Total       Arrival
 Discharg      Delivery        of Pieces      Weight          Volume      Date
 e
                               88 BAG         36564 KG                    2014-12-15
 Long Beach,
 California




Customs Declaration

 Container No.        Number of               Net Weight            Declared Value
                      Pieces
 00LU8494437
                      44 PCS
                                                                                         i


 Description of Cargo

 ACTIVATED CARBON RC830



 Container No.        Number of                  Net Weight         Declared Value
                      Pieces
 00LU8957721
                      44 PCS
                                                                                         i


 Description of Cargo

 ACTIVATED CARBON RC830




                                           264
 Case 2:25-cv-06135   Document 1-1   Filed 07/07/25     Page 252 of 263 Page ID #:267




Container Data

 Container     Load Status                            Container Dimensions
 No.
               Loaded                             4000" L x 900" H x 800" W
 00LU8494437




 Container     Load Status                            Container Dimensions
 No.
               Loaded                                 40'00" L x 9'00" H x 800" W
 00LU8957721




     US Customs Import Data from Port Examiner • Pax Mercatoria MMXXIV • Contact




                                        265
Case 2:25-cv-06135   Document 1-1   Filed 07/07/25   Page 253 of 263 Page ID #:268




                               EXHIBIT J




                                      266
Case 2:25-cv-06135      Document 1-1       Filed 07/07/25      Page 254 of 263 Page ID #:269




  1                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
  2                                    San Francisco Division
  3
  4    LAURENCE J. GRAHAM;and BETTY                         CASE NO.: 3:24-CV-01551-AGT
       PATRICK GRAHAM,
  5
  6                  Plaintiffs,

  7    V.

  8  DUPONT DE NEMOURS,INC.; THE DOW
     CHEMICAL COMPANY;DOW,INC.;
  9
     CORTEVA,INC.; THE CHEMOURS
 10  COMPANY;  ILUKA RESOURCES,INC.;
     TRONOX,LLC;TRONOX PLC;
 11 HUNTSMAN CORPORATION;KRONOS
    (US),INC.;ICRONOS WORLDWIDE,INC.;
 12 TITANIUM METALS CORPORATION;
     VENATOR MATERIALS,LLC; VENATOR
 13
     MATERIALS,PLC;OCCIDENTAL
 14  PETROLEUM  CORPORATION;1NEOS
     PIGMENTS USA INC.; KINDER MORGAN,
 15 INC.; AND DOES 1-25,
  16                 Defendants.
  17
  18
            DECLARATION OF JOSEPH MULLINS IN SUPPORT OF ILUKA RESOURCES1
  19               INC.'S MOTION TO DISMISS PLAINTIFFS'COMPLAINT

 20           1.      My name is Joseph Mullins. I am over 18 years ofage,ofsound mind and otherwise
 21    competent to make this Declaration, which I submit in support ofthe Motion to Dismiss Plaintiffs'
 22    Complaintfor Lack ofPersonal Jurisdiction and Inappropriate Venue filed in this litigation by Iluka
 23    Resources, Inc.("Iluka").
 24           2.      The facts stated in this Declaration are based on information known to me through
 25    my work as U.S. Corporate Counsel/Secretary for Iluka. I have served in this role since 2003. If
 26    called as a witness,I could competently testify to these statements.
 27
 28
                                                        1                                3:24-cv-01551-AGT


                                              267
Case 2:25-cv-06135      Document 1-1       Filed 07/07/25      Page 255 of 263 Page ID #:270



  1            3.    Iluka is incorporated in Delaware. Iluka's headquarters is located at 12472 St John
  2   Church Road, Stony Creek, Virginia 23882, which is also the site of IluIca's mineral separation
  3   plant.
  4            4.    Iluka is in the mining business. Iluka mined surface heavy mineral sands for
  5   minerals like zircon,ilmenite, and staurolite on various properties in Sussex County and Dinwiddie
  6   County, Virginia.
  7            5.    Iluka supplied minerals within a geographic market that almost exclusively included
  8   consumers of mineral sands products primarily in Ohio, Delaware, South Carolina, Alabama,
  9   Tennessee, New York,and New Hampshire.
 10            6.    Iluka does not generally purchase any goods or services from within California or
 11   directly supply any goods or services into California.
 12            7.    Iluka does not maintain an office in California or conduct any business in California.
 13            8.    Iluka does not own,lease, or use any real property in California.
 14            9.    IluIca does not solicit business from within California or initiate business in
 15   California. IluIca's affiliate Iluka Resources(TN)LLC,a Tennessee limited liability company,has
 16   conducted mineral sands exploration in California. IluIca Resources, Inc. is the sole member and
 17   the manager ofIluka Resources(TN)LLC. Iluka Resources(TN)LLC's exploration never led to
 18   the development ofany business in California.
 19            10.   Iluka does not employ any persons in California, and does not have any independent
 20   contractors or agents conducting business on its behalfin California.
 21            11.   I have been at Iluka since 2002. During my tenure, to the best of my knowledge,
 22   Iluka has never supplied minerals or any other good to any entity in California.
 23            12.   Iluka has been trying to pay royalties to Plaintiffs Betty Pat Graham and Laurence
 24   J.Graham for almost two decades.
 25            13.   Ms. Graham's parents, G. L. Parson and Mary Elizabeth Parson (the "Parsons")
 26   were the owners ofcertain real property in Dinwiddie and Sussex Counties in Virginia. In the late
 27   1980s and early 1990s,the Parsons entered into approximately ten mining leases(the "Leases"),in
 28
                                                       2                                 3:24-cv-01551-AGT


                                              268
Case 2:25-cv-06135      Document 1-1           Filed 07/07/25   Page 256 of 263 Page ID #:271



  1   Virginia, pursuant to which Iluka had the right to mine the Parsons' properties in Dinwiddie and
  2   Sussex Counties(the "Property").
  3           14.    The Parsons had three daughters,including Betty Pat Graham. On or about May 19,
  4   1997, the Parsons executed a Deed of Gift in favor of their three daughters. The Parson Deed of
  5   Gift conveyed to each daughter a one-third interest in the minerals on or under the Property. In
  6   addition,it conveyed to the daughters the right to receive future royalty payments under the Leases.
  7           15.    Pursuant to the Leases, Iluka mined the Property and processed the minerals from
  8   the Property in Stony Creek, Virginia. Iluka has calculated and distributed all royalties pursuant to
  9   the Leases at its offices in Virginia.
 10           16.    On or about October 23,2000,Betty Pat executed a Deed ofGift(the"Graham Deed
 11   ofGift")in favor of her two sons, Luke Graham ("Luke")and Laurence J. Graham ("Larry").
 12           17.    In early 2002,Betty Pat and Luke filed a Bill of Complaint against Larry seeking an
 13   order rescinding and setting aside the Graham Deed of Gift on the grounds that it was executed
 14   under duress. Iluka was made a defendant in that litigation so that it could be ordered to pay all
 15   royalties into court pending resolution ofthe case.
 16           18.    In 2003,Betty Pat,Luke,and Larry entered into a confidential settlement agreement
 17   that resolved the rescission litigation. The terms of the 2003 Settlement Agreement were not
 18   disclosed to Iluka. As part ofthe settlement,the Court entered an order disbursing the funds Iluka
 19   had deposited into court and validating the Graham Deed of Gift.
 20           19.    Notwithstanding the 2003 Settlement Agreement, Betty Pat did not direct Ilulca in
 21   writing or otherwise to pay her share offuture royalties to her sons. In February 2004,faced with
 22   conflicting demands for payment of the royalties, Iluka exercised its rights under the Leases and
 23   began depositing the royalties allocable to Betty Pat into an escrow account at The Bank of
 24   Southside Virginia, pending a resolution ofthe various parties' entitlement to the funds.
 25          20.     Since 2005, Iluka has filed and served several interpleader actions in Virginia
 26   successfully seeking to interplead additional royalties that had been deposited into escrow. Despite
 27   being appropriately served, neither Betty Pat nor Larry entered appearances or otherwise made
 28

                                                         3                               3:24-cv-01551-AGT


                                                 269
Case 2:25-cv-06135       Document 1-1       Filed 07/07/25      Page 257 of 263 Page ID #:272



  1   claims to the funds. Only Luke entered an appearance and made a claim to 40-50% ofthe royalty

  2   funds.
  3            21.    On September 26, 2022, after Iluka had interpled the last of the proceeds from the

  4   minerals on the Graham property, the Virginia court entered a final order declaring that Larry was
  5   entitled to over $2.5 million in royalties based on the 2003 Settlement Agreement.

  6            22.    Although Iluka has repeatedly sought to meet with Larry to pay over the funds, he

  7   has ignored those offers. In response to Iluka's outreach efforts, Larry has asked Iluka to contact

  8   him or send money to him at various P.O. boxes in Florida, Massachusetts, New York, and

  9   California.
 10            I declare under penalty of perjury that the foregoing is true and correct to the best of my

 11   knowledge.
 12   Executed this 19th day of March 2024.
 13

 14                                                  By:
 15                                                        Jo ph Mullins
 16
 17

 18

 19

 20
 21

 22

 23
 24
 25
 26

 27
 28

                                                       4                                 3:24-cv-01551-AGT


                                               270
          Case 2:25-cv-06135   Document 1-1   Filed 07/07/25   Page 258 of 263 Page ID #:273



                                                                                                    •




 Americas Sales of Domestic Production.- 2004

     Viai.Ohouses

•Customers
    Major rivers
 AB States




                                                          Americas Sales of Domestic Production - 2004
                                                                               (USD 96,000,000)
                                                                       Domestic               Export




                                                271
       Case 2:25-cv-06135             Document 1-1           Filed 07/07/25     Page 259 of 263 Page ID #:274
                                                                                                Reserved for Clerk's File Stamp
                 SUPERIOR COURT OF CALIFORNIA
                    COUNTY OF LOS ANGELES
 COURTHOUSE ADDRESS:                                                                                      FILED
Stanley Mosk Courthouse                                                                         Superior Court of California
                                                                                                  County of Los Angeles
111 North Hill Street, Los Angeles, CA 90012
                                                                                                      06/02t2025
                  NOTICE OF CASE ASSIGNMENT                                                             EMItile Of1 rICErt deo!rt
                                                                                          By.           G. Robinson     Deputy
                         UNLIMITED CIVIL CASE

                                                                                 CASE NUMBER:

 Your case is assigned for all purposes to the judicial officer indicated below. 25STCV15972


                          THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

               ASSIGNED JUDGE               DEPT      ROOM                    ASSIGNED JUDGE                     DEPT             ROOM
   V     Gail Killefer                      37




    Given to the Plaintiff/Cross-Complainant/Attorney of Record   David W. Slayton, Executive Officer / Clerk of Court
    on 06/02/2025                                                        By G. Robinson                                       , Deputy Clerk
                (Date)
LACIV 190(Rev 6/18)         NOTICE OF CASE ASSIGNMENT — UNLIMITED CIVIL CASE
LASC Approved 05/06
                                                                  272
        Case 2:25-cv-06135              Document 1-1           Filed 07/07/25          Page 260 of 263 Page ID #:275
                                  INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or if a party has not yet appeared, within 15 days ofthe first appearance.

TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.

*Provisionally Complex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
returned to an Independent Calendar Courtroom for all purposes.




LACIV 190(Rev 6/18)          NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE
                                                                   273
LASC Approved 05/06
      Case 2:25-cv-06135           Document 1-1         Filed 07/07/25       Page 261 of 263 Page ID #:276

                  Superior Court of California, County of Los Angeles
                  ALTERNATIVE DISPUTE RESOLUTION (ADR)INFORMATION PACKAGE

  THE PLAINTIFF MUST SERVE THIS ADR INFORMATION PACKAGE ON EACH PARTY WITH THE COMPLAINT.

  CROSS-COMPLAINANTS MUST SERVE THIS ADR INFORMATION PACKAGE ON ANY NEW PARTIES NAMED
  TO THE ACTION WITH THE CROSS-COMPLAINT.


WHAT IS ADR?
Alternative Dispute Resolution (ADR) helps people find solutions to their legal disputes without going to trial. The Court
offers a variety of ADR resources and programs for various case types.

TYPES OF ADR

   • Negotiation. Parties may talk with each other about resolving their case at any time. If the parties have
     attorneys, they will negotiate for their clients.

   • Mediation. Mediation may be appropriate for parties who want to work out a solution but need help from a
     neutral third party. A mediator can help the parties reach a mutually acceptable resolution. Mediation may be
     appropriate when the parties have communication problems and/or strong emotions that interfere with
     resolution. Mediation may not be appropriate when the parties want a public trial, lack equal bargaining power,
     or have a history of physical or emotional abuse.

   • Arbitration. Less formal than a trial, parties present evidence and arguments to an arbitrator who decides the
     outcome. In "binding" arbitration, the arbitrator's decision is final; there is no right to trial. In "nonbinding"
     arbitration, any party can request a trial after the arbitrator's decision.

   • Settlement Conferences. A judge or qualified settlement officer assists the parties in evaluating the strengths
     and weaknesses of the case and in negotiating a settlement. Mandatory settlement conferences may be ordered
     by a judicial officer. In some cases, voluntary settlement conferences may be requested by the parties.

ADVANTAGES OF ADR

   • Save time and money. Utilizing ADR methods is often faster than going to trial and parties can save on court
     costs, attorney's fees, and other charges.
   • Reduce stress and protect privacy. ADR is conducted outside of a courtroom setting and does not involve a
     public trial.
   • Help parties maintain control. For many types of ADR, parties may choose their ADR process and provider.

DISADVANTAGES OF ADR
   • Costs. If the parties do not resolve their dispute, they may have to pay for ADR, litigation, and trial.
  • No Public Trial. ADR does not provide a public trial or decision by a judge or jury.

WEBSITE RESOURCES FOR ADR
  • Los Angeles Superior Court ADR website: www.lacourt.org/ADR
  • California Courts ADR website: www.courts.ca.gov/programs-adr.htm




LASC CIV 271 Rev. 11/24
For Mandatory Use                                                                                               Page 1 of 3


                                                           274
       Case 2:25-cv-06135         Document 1-1         Filed 07/07/25        Page 262 of 263 Page ID #:277
Los Angeles Superior Court ADR Programs for Unlimited Civil (cases valued over $35,000)
Litigants should closely review the requirements for each program and the types of cases served.

   •   Civil Mediation Vendor Resource List. Litigants in unlimited civil cases may use the Civil Mediation Vendor
       Resource List to arrange voluntary mediations without Court referral or involvement. The Resource List includes
       organizations that have been selected through a formal process that have agreed to provide a limited number of
       low-cost or no-cost mediation sessions with attorney mediators or retired judges. Organizations may accept or
       decline cases at their discretion. Mediations are scheduled directly with these organizations and are most often
       conducted through videoconferencing. The organizations on the Resource List target active civil cases valued
       between $50,000-$250,000,though cases outside this range may be considered. For more information and to
       view the list of vendors and their contact information, download the Resource List Flyer and FAQ Sheet at
       www.lacourt.orq/ADR/programs.html.
       RESOURCE LIST DISCLAIMER: The Court provides this list as a public service. The Court does not endorse,
       recommend, or make any warranty as to the qualifications or competency of any provider on this list. Inclusion
       on this list is based on the representations of the provider. The Court assumes no responsibility or liability of any
       kind for any act or omission of any provider on this list.

   •   Mediation Volunteer Panel(MVP). Unlimited civil cases referred by judicial officers to the Court's Mediation
       Volunteer Panel(MVP)are eligible for three hours of virtual mediation at no cost with a qualified mediator from
       the MVP. Through this program, mediators volunteer preparation time and three hours of mediation at no
       charge. If the parties agree to continue the mediation after three hours, the mediator may charge their market
       hourly rate. When a case is referred to the MVP,the Court's ADR Office will provide information and instructions
       to the parties. The Notice directs parties to meet and confer to select a mediator from the MVP or they may
       request that the ADR Office assign them a mediator. The assigned MVP mediator will coordinate the mediation
       with the parties. For more information or to view MVP mediator profiles, visit the Court's ADR webpage at
       www.lacourt.orq/ADR or email ADRCivil@lacourt.orq.

   •   Mediation Center of Los Angeles(MCLA)Referral Program. The Court may refer unlimited civil cases to
       mediation through a formal contract with the Mediation Center of Los Angeles(MCLA), a nonprofit organization
       that manages a panel of highly qualified mediators. Cases must be referred by a judicial officer or the Court's
       ADR Office. The Court's ADR Office will provide the parties with information for submitting the case intake form
       for this program. MCLA will assign a mediator based on the type of case presented and the availability of the
       mediator to complete the mediation in an appropriate time frame. MCLA has a designated fee schedule for this
       program. For more information, contact the Court's ADR Office at ADRCivilPlacourt.orq.

   •   Resolve Law LA(RLLA) Virtual Mandatory Settlement Conferences(MSC). Resolve Law LA provides three-hour
       virtual Mandatory Settlement Conferences at no cost for personal injury and non-complex employment cases.
       Cases must be ordered into the program by a judge pursuant to applicable Standing Orders issued by the Court
       and must complete the program's online registration process. The program leverages the talent of attorney
       mediators with at least 10 years of litigation experience who volunteer as settlement officers. Each MSC includes
       two settlement officers, one each from the plaintiff and defense bars. Resolve Law LA is a joint effort of the
       Court, Consumer Attorneys Association of Los Angeles County (CAALA), Association of Southern California
       Defense Counsel (ASCDC), Los Angeles Chapter of the American Board of Trial Advocates (LA-ABOTA), Beverly
       Hills Bar Foundation (BHBF), California Employment Lawyers Association (CELA), and Los Angeles County Bar
       Association (LACBA). For more information, visit https://resolvelawla.com.




LASC CIV 271 Rev. 11/24
For Mandatory Use                                                                                                Page 2 of 3

                                                           275
       Case 2:25-cv-06135         Document 1-1         Filed 07/07/25       Page 263 of 263 Page ID #:278

   • Judicial Mandatory Settlement Conferences(MSCs). Judicial MSCs are ordered by the Court for unlimited civil
     cases and may be held close to the trial date or on the day of trial. The parties and their attorneys meet with a
     judicial officer who does not make a decision, but who instead assists the parties in evaluating the strengths and
     weaknesses of the case and in negotiating a settlement. For more information, visit
     https://www.lacourtorg/division/civil/C10047.aspx.


Los Angeles Superior Court ADR Programs for Limited Civil (cases valued below $35,000)
Litigants should closely review the requirements for each program and the types of cases served.

   •    Online Dispute Resolution (ODR). Online Dispute Resolution (ODR) is a free online service provided by the Court
        to help small claims and unlawful detainer litigants explore settlement options before the hearing date without
        having to come to court. ODR guides parties through a step-by-step program. After both sides register for ODR,
        they may request assistance from trained mediators to help them reach a customized agreement. The program
        creates settlement agreements in the proper form and sends them to the Court for processing. Parties in small
        claims and unlawful detainer cases must carefully review the notices and other information they receive about
        ODR requirements that may apply to their case. For more information, visit https://my.lacourtoreodr.

   •    Dispute Resolution Program Act(DRPA) Day-of-Hearing Mediation. Through the Dispute Resolution Program
        Act (DRPA),the Court works with county-funded agencies, including the Los Angeles County Department of
        Consumer & Business Affairs (DCBA)and the Center for Conflict Resolution (CCR), to provide voluntary day-of-
        hearing mediation services for small claims, unlawful detainer, limited civil, and civil harassment matters. DCBA
        and CCR staff and trained volunteers serve as mediators, primarily for self-represented litigants. There is no
        charge to litigants. For more information, visit https://dcba.lacounty.qov/countywidedrp.

   • Temporary Judge Unlawful Detainer Mandatory Settlement Conference Pilot Program. Temporary judges who
     have been trained as settlement officers are deployed by the Court to designated unlawful detainer court
     locations one day each week to facilitate settlement of unlawful detainer cases on the day of trial. For this
     program, cases may be ordered to participate in a Mandatory Settlement Conference (MSC) by judicial officers at
     Stanley Mosk, Long Beach, Compton, or Santa Monica. Settlement rooms and forms are available for use on the
     designated day at each courthouse location. There is no charge to litigants for the MSC. For more information,
     contact the Court's ADR Office at ADRCivil@lacourt.org.




LASC CIV 271 Rev. 11/24
For Mandatory Use                                                                                               Page 3 of 3


                                                          276
